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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF DELAWARE
     -------------------------------------------------------------------x
                                                                        :
                                                                        :
     In re:                                                             : Chapter 7
                                                                        :
     XCELIGENT, INC.,                                                   : Case No. 17–12937 (CSS)
                                                                        :
                                       Debtor.                          :
                                                                        :
                                                                        :
     -------------------------------------------------------------------x
                                                                        :
                                                                        :
     In re:                                                             : Chapter 7
                                                                        :
     EPROPERTYDATA.COM, LLC                                             : Case No. 17–12938 (CSS)
                                                                        :
                                       Debtor.                          :
                                                                        :
                                                                        :
     -------------------------------------------------------------------x
                                                                        :
                                                                        :
     In re:                                                             : Chapter 7
                                                                        :
     KARNES RESEARCH COMPANY, LLC,                                      : Case No. 17–12939 (CSS)
                                                                        :
                                       Debtor.                          :
                                                                        :
                                                                        :
     -------------------------------------------------------------------x

                         GLOBAL NOTES, METHODOLOGY AND SPECIFIC
                    DISCLOSURES REGARDING THE DEBTORS’ SCHEDULES OF
                ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                                      Introduction

             Xceligent, Inc. (“Xceligent”), ePropertyData.com, LLC (“ePD”), and Karnes Research
     Company, LLC (“Karnes”, and collectively, the “Debtors” ) with the assistance of their advisors, have
     filed their respective Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial
     Affairs (the ”Statements, and together with the Schedules, the “Schedules and Statements”) with the
     United States Bankruptcy Court for the District of Delaware (the ”Bankruptcy Court”), pursuant to
     section 521 of title 11 of the United States Code (the ”Bankruptcy Code”) and Rule 1007 of the Federal
     Rules of Bankruptcy Procedure (the ”Bankruptcy Rules”).

            These Global Notes, Methodology and Specific Disclosures Regarding the Debtors’ Schedules of
     Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”) pertain to, are
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     incorporated by reference in, and comprise an integral part of the Schedules and Statements. The Global
     Notes should be referred to, considered, and reviewed in connection with any review of the Schedules
     and Statements.

                    The Schedules and Statements have been signed by Glenn Soendker, the duly authorized
     and designated representative of the Debtors (the “Designated Representative”). The Designated
     Representative has relied upon the efforts, statements, and representations of various personnel
     employed by the Debtors and their advisors, and has not (and could not have) personally verified the
     accuracy of each statement and representation contained in the Schedules and Statements, including
     statements and representations concerning amounts owed to creditors, classification of such amounts,
     and creditor addresses.


                                                       Global Notes

     1.         Except where otherwise noted the information provided herein is presented as of the beginning
                of business on December 14, 2017 (the “Petition Date”).

     2.         While the Debtors have made every reasonable effort to ensure that the Schedules and
                Statements are accurate and complete, based upon information that was available at the time of
                preparation, inadvertent errors or omissions may exist and the subsequent receipt of information
                and/or further review and analysis of the Debtors’ books and records may result in changes to
                financial data and other information contained in the Schedules and Statements. Moreover,
                because the Schedules and Statements contain unaudited information, which is subject to further
                review and potential adjustment, there can be no assurance that the Schedules and Statements are
                complete or accurate.

     3.         The Debtors reserve the right to amend the Schedules and Statements as may be necessary or
                appropriate in the Debtors’ sole and absolute discretion, including, but not limited to, the right to
                assert offsets or defenses to (which rights are expressly preserved), or to dispute, any claim
                reflected on the Schedules as to amount, liability or classification, or to otherwise subsequently
                designate any claim as “disputed,” “contingent” or “unliquidated.” These Global Notes will
                apply to all such amendments. Furthermore, nothing contained in the Schedules shall constitute
                a waiver of the Debtors’ rights with respect to these chapter 7 cases and specifically with respect
                to any issues involving substantive consolidation, equitable subordination and/or causes of action
                arising under the provisions of chapter 5 of the Bankruptcy Code and other relevant non-
                bankruptcy laws to recover assets or avoid transfers, or an admission relating to the same.

     4.         Any failure to designate a claim listed on the Schedules as “disputed,” “contingent” or
                “unliquidated” does not constitute an admission by the Debtors that such amount is not
                “disputed,” “contingent” or “unliquidated.” Additionally, the dollar amounts of claims listed
                may be exclusive of contingent and additional unliquidated amounts. Further, the claims of
                individual creditors are listed as the amounts entered on the Debtors’ books and records and may
                not reflect credits or allowances due from such creditors to the Debtors or setoffs applied by such
                creditors against amounts due by such creditors to the Debtors with respect to other transactions
                between them. The Debtors reserve all of their rights with respect to any such credits and
                allowances.

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     5.         Some of the Debtors’ scheduled assets and liabilities are unknown and/or unliquidated. In such
                cases, no amounts are listed or the amounts are listed as “undetermined,” “unknown,” “none
                calculated” or to similar effect. Accordingly, for this and other reasons the Schedules may not
                fully reflect the aggregate amount of the Debtors’ assets and liabilities.

     6.         At times, the preparation of the Schedules and the Statements required the Debtors to make
                assumptions that may affect the reported amounts of assets and liabilities, the disclosures of
                contingent assets and liabilities, and/or other items. Actual results could differ from those
                estimates. Pursuant to Fed. R. Bankr. P. 1009, the Debtors may amend the Schedules as they
                deem necessary and appropriate to reflect material changes. In addition, the Debtors, for the
                benefit of their estates, reserves the right to dispute or to assert offsets or defenses to any claim
                listed on the Schedules.

     7.         Given the differences between the information requested in the Schedules and the financial
                information utilized under generally accepted accounting principles in the United States
                (“GAAP”), the aggregate asset values and claim amounts set forth in the Schedules may not
                necessarily reflect the amounts that would be set forth in a balance sheet prepared in accordance
                with GAAP.

     8.         With respect to Schedule A/B, questions 6-8, the advance fee amount paid by Xceligent to the
                Debtors’ bankruptcy counsel, Young Conway Stargatt & Taylor, LLP, on an earned upon receipt
                basis does not constitute an interest of the Debtors in property and is thus not listed in response
                to Schedule B, questions 6-8. This payment is listed in response to Statement question 11.

     9.         With respect to Schedule A/B, question 15, Xceligent’s ownership interest in Karnes and ePD
                has been listed as an undetermined amount because the fair market value of such ownership is
                dependent on numerous variables and factors.

     10.        With respect to Schedule A/B, questions 38-41, the Debtors have not verified the physical
                existence of all assets listed in response thereto; it is possible at least some assets may have been
                discarded, disposed of, or otherwise transferred or abandoned prior to the Petition Date.

     11.        With respect to Schedule A/B, question 55, the Debtors do not own any real property. The
                Debtors have listed their real property leases in Schedule A/B, question 55. A detailed listing of
                the Debtors’ leasehold improvements is attached to the Xceligent Schedules as “Schedule
                Question 55”.

     12.        With respect to Schedule A/B, question 73, the Debtors were provided coverage under various
                insurance policies as of the Petition Date, but did not ascribe a book value to any of their
                insurance policies.

     13.        With respect to Schedule A/B, questions 74 and 75, the Debtors have not listed any causes of
                action against third parties, although it is possible such causes of action may exist. Among other
                things, the Debtors have not analyzed and listed any potential actions arising under chapter 5 of
                the Bankruptcy Code. The Debtors on behalf of their estates, reserve all of their rights with
                respect to any causes of action they may have, whether or not listed as assets in the Schedules
                and Statements, and neither these Global Notes nor the Schedules and Statements shall be
                deemed a waiver of any such causes of action.
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     14.        The claims listed on Schedule D arose or were incurred on various dates; a determination of the
                date upon which each claim arose or was incurred would be unduly burdensome and cost
                prohibitive. Accordingly, such dates are not included. All claims listed on Schedule D,
                however, were incurred before the Petition Date. Reference to the applicable loan agreements
                and related documents or other instrument creating the purported lien is necessary for a complete
                description of the collateral and the nature, extent, and priority of liens. Nothing in the Global
                Notes or the Schedules and Statements shall be deemed a modification or interpretation of the
                terms of such agreements. Except as specifically stated on Schedule D, real property lessors,
                utility companies, equipment lessors, and other parties that may hold security deposits have not
                been listed on Schedule D. Nothing herein shall be construed as an admission by the Debtors of
                the legal rights of the claimant or a waiver of the Debtors’ rights to recharacterize or reclassify
                such claim or contract. Moreover, the Debtors have not included on Schedule D parties that may
                believe their claims are secured through setoff rights, letters of credit, surety bonds, or statutory
                lien rights.

     15.        The Debtors have used reasonable efforts to report all general unsecured claims against the
                Debtors on Schedule E/F, based upon the Debtors’ books and records as of the Petition Date.

     16.        Determining the date upon which each claim on Schedule E/F part was incurred or arose would
                be unduly burdensome and cost prohibitive and, therefore, the Debtors do not list a date for each
                claim listed on Schedule E/F. Furthermore, claims listed on Schedule E/F may have been
                aggregated by unique creditor name and remit to address and may include several dates of
                incurrence for the aggregate balance listed.

     17.        The Debtors have included all employees terminated as of the Petition Date, as well as those
                employees terminated within two years of the Petition Date on Schedule E/F. Such employees
                may have unliquidated claims that include, among other things, claims for unpaid and accrued
                paid time off, bonuses, severance, benefits and unpaid wages. The Debtors are unable to
                determine the amount of these claims, or if any of these claims may be entitled to priority under
                sections 507(a)(4) and 507(a)(5) of the Bankruptcy Code.

     18.        The Debtors have not determined whether, and to what extent, any of the creditors identified on
                Part 1 of Schedule E/F are actually entitled to priority under section 507 of the Bankruptcy Code.
                The Debtors reserve the right to assert that claims identified on Part 1 of Schedule E/F are not
                claims that are entitled to priority.

     19.        With respect to Schedule E/F, the Debtors have not included taxing authorities that might assert
                claims in currently unknown amounts.

     20.        The Debtors, on behalf of their estates, hereby reserve all of their rights to dispute the validity,
                status or enforceability of any contract, agreement, lease or document set forth on Schedule G,
                including but not limited to those that may have expired or may have been modified, amended,
                and supplemented from time to time by various amendments, restatements, waivers, estoppel
                certificates, letters and other documents, instruments, and agreements which may not be listed on
                Schedule G. Any contract, agreement, lease or document listed on Schedule G may contain
                certain renewal options, guarantees of payment, options to purchase, rights of first refusal, and
                other miscellaneous rights. Such rights, powers, duties and obligations are not set forth on

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                Schedule G. Certain executory agreements may not have been memorialized in writing and
                could be subject to dispute. In addition, the Debtors may have entered into various other types of
                agreements in the ordinary course of business, such as supplemental agreements,
                amendments/letter agreements, and/or confidentiality agreements. Such documents may not be
                set forth on Schedule G. The Debtors, on behalf of their estates, reserve all of their rights to
                dispute or challenge the characterization of the structure of any transaction, or any document or
                instrument related to a creditor’s claim. In the ordinary course of business, the Debtors may
                have entered into agreements, written or oral, for the provision of certain services on a short-term
                or at-will basis. Such contracts may not be included on Schedule G. However, the Debtors, on
                behalf of their estates, reserve their rights to assert that such agreements constitute executory
                contracts.

     21.        Listing a contract, lease, agreement or other document on Schedule G does not constitute an
                admission that such contract, lease, agreement or other document is an executory contract or
                unexpired lease, and omitting any contract, lease, agreement or other document from Schedule G
                does not constitute an admission that such contract or agreement is not an executory contract or
                unexpired lease. On behalf of their estates, the Debtors reserve all rights to challenge whether
                any of the listed contracts, leases, agreements or other documents constitute an executory
                contract or unexpired lease, and to add additional contracts, leases, agreements or other
                documents to Schedule G. Any and all of the Debtors’ rights, claims and causes of action with
                respect to the contracts and agreements listed on Schedule G are hereby reserved and preserved.

     22.        With respect to Statement question 1, the Debtors’ fiscal year has historically ended on
                September 30th. For the current year, although the Debtors remained operational until
                December 14, 2017 as noted in response to question 1, gross revenue is presented through and
                including November 30, 2017, the most recent month-end close. Gross revenue is presented
                without netting for operating expenses.

     23.        Statement 3 includes any disbursement or other transfer made by or on behalf of all the Debtors
                within 90 days before the Petition Date except for those made to insiders (which payments
                appear in response to Statement 4) and made as part of regular and ordinary course payroll
                disbursements.

     24.        With respect to Statement questions 4 and 30, the listing of any person or entity is not intended
                to be nor shall it be construed as a legal characterization of such party as an insider, and does not
                act as an admission of any fact, claim, right or defense, and all such rights, claims and defenses
                are hereby reserved by both the Debtors and such persons or entities.

     25.        With respect to Statement question 4, the amount of compensation paid to the officers and
                directors of the Debtors during the period stated therein is listed therein in aggregate form. In
                addition, certain expense reimbursement information has not been provided because the Debtors
                are no longer able to access the software used to record and track employee expense
                reimbursements. More detailed information can be obtained from the Debtors’ books and
                records.

     26.        With respect to Statement question 6, in the ordinary course of business certain of the Debtors’
                creditors may have setoff all or part of amounts owed by the Debtors against security deposits,

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                retainers or payables owed to the Debtors. The Debtors did not historically maintain a record of
                such setoffs, so they are not listed. Additionally, bank fees deducted from bank accounts of the
                Debtors are not listed in response to Statement question 6.

     27.        With respect to Statement question 7, any information contained in Statement 7 shall not be a
                binding representation of the Debtors’ liabilities with respect to any of the suits and proceedings
                identified therein.

     28.        With respect to Statement question 10, the Debtors occasionally incur losses for a variety of
                reasons, including theft and property damage. The Debtors, however, do not have records of
                losses that do not have a material impact on the Debtors’ businesses or are not reported for
                insurance purposes.

     29.        With respect to Statement questions 26(a) through 26(c), the Debtors have excluded rank and file
                accountants and bookkeepers in response to this question, instead listing the officer who
                supervised them.

     30.        With respect to Statement question 26(d), the Debtors have provided financial statements in the
                ordinary course of their businesses to various financial institutions, creditors, landlords, and
                other parties within two years immediately before the Petition Date. Considering the number of
                such recipients and the possibility that such information may have been shared with parties
                without the Debtors’ knowledge or consent or subject to confidentiality agreements, the Debtors
                have not disclosed any parties that may have received such financial statements for the purposes
                of Statement 26d.

     31.        With respect to Statement question 28, all of the Debtors’ officers and directors were terminated
                or resigned from those positions effective upon, or shortly after, the filing of the Debtors’
                bankruptcy cases, but are listed herein to the extent still in those positions as of the filing of the
                Debtors’ chapter 7 bankruptcy petitions. Prior to their resignation, the board designated the
                Designated Representative to complete certain specified tasks related to these chapter 7 cases
                notwithstanding such resignations, including completion of the Schedules and Statements.

     32.        With respect to Statement question 30, the amount of compensation paid to the officers and
                directors of the Debtors during the period stated therein is listed in aggregate form in response to
                Statement question 4. More detailed information can be obtained from the Debtors’ books and
                records.

     33.        The Debtors and their past or present officers, employees, attorneys, professionals and agents
                (including, but not limited to, the Designated Representative), do not guarantee or warrant the
                accuracy, completeness, or currentness of the data that is provided herein and shall not be liable
                for any loss or injury arising out of or caused in whole or in part by the acts, errors or omissions,
                whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
                communicating or delivering the information contained herein. The Debtors and their past or
                present officers, employees, attorneys, professionals and agents (including, but not limited to, the
                Designated Representative) expressly do not undertake any obligation to update, modify, revise
                or re-categorize the information provided herein or to notify any third party should the
                information be updated, modified, revised or re-categorized. In no event shall the Debtors or

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                their past or present officers, employees, attorneys, professionals and/or agents (including, but
                not limited to, the Designated Representative) be liable to any third party for any direct, indirect,
                incidental, consequential or special damages (including, but not limited to, damages arising from
                the disallowance of any potential claim against the Debtors or damages to business reputation,
                lost business or lost profits), whether foreseeable or not and however caused arising from or
                related to any information provided herein or omitted herein.




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 Fill in this information to identify the case:

 Debtor name            Xceligent, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF DELAWARE

 Case number (if known)              17-12937 (CSS)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $            92,633.65

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $    114,817,237.72

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $     114,909,871.37


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $         1,201,460.97


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            25,700.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       62,686,135.85


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         63,913,296.82




 Official Form 206Sum                                                Summary of Assets and Liabilities for Non-Individuals                                                                               page 1
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    Fill in this information to identify the case:

    Debtor name         Xceligent, Inc.

    United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

    Case number (if known)         17-12937 (CSS)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing


   Official Form 206A/B
   Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
   Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
   Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
   which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
   or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

   Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
   the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
   additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

    For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
    schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
    debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


    Part 1:        Cash and cash equivalents


 1. Does the debtor have any cash or cash equivalents?
       No. Go to Part 2.

 2. Cash on hand
  The Debtor has two petty cash boxes.               One is located at the corporate headquarters in Blue Springs, MO ($500), and the other is located at a leased
  premises in Sedalia, MO ($150).

 3. Checking, savings, money market, or financial brokerage accounts (Identify all)
      Name of institution (bank or brokerage firm)           Type of account                            Last 4 digits of account number
      3.1. Bank of America                                     Operating Account _                      8051                            $0
      3.2. Bank of America                                     Sweep Account        _                   9991                            $0

 4. Other cash equivalents (Identify all)
      4.1. None                                                                                                               _         $                           _



 5. Total of Part 1                                                                                                                             $650.00

      Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


    Part 2:         Deposits and Prepayments

6. Does the debtor have any deposits or prepayments?
    ☐ No. Go to Part 3.
     Yes. Fill in the information below.

                                                                                                                                            Current value of
                                                                                                                                            debtor’s interest
7. Deposits, including security deposits and utility deposits
    Description, including name of holder of deposit
    7.1. Deposits (see attached Schedule Question 7.1)                                                                                  $ 105,037.00                 _




   Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                             page 1
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   Debtor           Xceligent, Inc.                                                          Case number (If known) 17-12937 (CSS)
                    Name



  8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
       Description, including name of holder of prepayment
         8.1. Prepaid Leases - The last payment on each of the debtor’s leases with PCM and VAR. PCM is
              primarily computers, monitors, servers and office cubicles.     VAR is for virtual machine software.                 $45,887.13
         8.2. Prepaid Support - Prepaid subscriptions to software services that support the debtor’s internal
              systems and production (see attached Schedule Question 8.2).                                                         $481,337.34
         8.3. Prepaid Data - Prepaid data subscriptions with Dun & Bradstreet, Digital Map, Google Maps, Pictometry,
              Data Scout Pro, and the Information Market, which were used in the services offered to customers.                    $219,387.64
         8.4. Prepaid Miscellaneous (see attached Schedule Question 8.4)                                                           $124,448.28
         8.5. Prepaid Monthly Office and Equipment Leases (see attached Schedule Question 8.5)                                     $114,445.34

  9. Total of Part 2.
         Add lines 7 through 8. Copy the total to line 81.                                                                        $985,505.73



   Part 3:          Accounts receivable

  10.     Does the debtor have any accounts receivable?
          ☐ No. Go to Part 4.
           Yes. Fill in the information below.
  11.     Accounts receivable
                                                                                                                     Current value of debtor’s
                                                                                                                     interest
              11a. 90 days old or less:      $1,540,971.47        – Unknown                             =            $1,540,971.47
                                             face amount             doubtful or uncollectible accounts
              11b. Over 90 days old:         $77,369.18           – Unknown                             =            $77,369.18           _
                                             face amount             doubtful or uncollectible accounts
   12.     Total of Part 3
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                     $ 1,618,340.65


Part 4:        Investments


13. Does the debtor own any investments?                                                               Valuation method               Current value of debtor’s
        ☐ No. Go to Part 5.                                                                            used for current value         interest

         Yes. Fill in the information below.

14. Mutual funds or publicly traded stocks not included in Part 1
     None                                                                                                                          $                          _

15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
including any interest in an LLC, partnership, or joint venture

     Name of entity:                                                                 % of ownership:
     15.1._ ePropertyData.com, LLC                                                   100%                                          Undetermined
     15.2._ Karnes Research Company, LLC                                             100%                                          Undetermined               _

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
instruments not included in Part 1
             None

  Official Form 206A/B                          Schedule A/B Assets - Real and Personal Property                                  page 2
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 Debtor       Xceligent, Inc.                                                         Case number (If known) 17-12937 (CSS)
              Name




17.   Total of Part 4
                                                                                                                            $0             _
      Add lines 14 through 16. Copy the total to
      line 83.

 Part 5:      Inventory, excluding agriculture assets

18.   Does the debtor own any inventory (excluding agriculture assets)?

           No. Go to Part 6.
           Yes. Fill in the information below.


19.   Raw materials
         None

20.   Work in progress
        None

21.   Finished goods, including goods held for resale
          None

22.   Other inventory or supplies
         None

23.   Total of Part 5
                                                                                                                                 $0    _

24.   Is any of the property listed in Part 5 perishable?
          N/A

25.   Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         N/A

26.   Has any of the property listed in Part 5 been appraised by a professional within the last year?
         N/A


 Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)


27.   Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
       No. Go to Part 7.
      ☐ Yes. Fill in the information below.

28.   Crops—either planted or harvested
           None

29.   Farm animals Examples: Livestock, poultry, farm-raised fish
           None

30.   Farm machinery and equipment (Other than titled motor vehicles)
           None

31.   Farm and fishing supplies, chemicals, and feed
           None

32.   Other farming and fishing-related property not already listed in Part 6
           None

33.   Total of Part 6.
                                                                                                                                  $0
Official Form 206A/B                        Schedule A/B Assets - Real and Personal Property                             page 3
                              Case 17-12937-CSS               Doc 23          Filed 01/02/18             Page 12 of 352

             Debtor       Xceligent, Inc.                                                          Case number (If known) 17-12937 (CSS)
                          Name




34.   Is the debtor a member of an agricultural cooperative?
          N/A

35.   Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         N/A

36.   Is a depreciation schedule available for any of the property listed in Part 6?
           N/A

37.   Has any of the property listed in Part 6 been appraised by a professional within the last year?
         N/A


Part 7:         Office furniture, fixtures, and equipment; and collectibles

38.   Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
            ☐ No. Go to Part 8.
             Yes. Fill in the information below.

General Description                                                Net book value of      Valuation           Current value of debtor’s
                                                                   debtor’s interest      method used for     interest
                                                                                          current value
                                                                   (Where available)
39. Office furniture
See attached Schedule Question 39                                  $311,045.60            Cost less           $311,045.60
                                                                                          depreciation
40 Office fixtures
See response to Schedule Question 39

41 Office equipment, including all computer equipment and
communication systems equipment and software
See attached Schedule Question 41                                  $365,043.25            Cost less           $365,043.25
                                                                                          depreciation

42.   Collectibles
          None

43. Total of Part 7.
Add lines 39 through 42. Copy the total to line 86.                                                           $676,088.90


44.   Is a depreciation schedule available for any of the property listed in Part 7?
       Yes

45. Has any of the property listed in Part 7 been appraised by a professional
within the last year?
        No


Part 8:         Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

          No. Go to Part 9.
          Yes Fill in the information below.

              General Description                                                      Net book value of    Valuation method     Current value of
                                                                                       debtor’s interest    used for current     debtor’s interest
              Include year, make, model, and identification numbers                                         value
              (i.e., VIN, HIN, or N-number)                                            (Where available)




            Official Form 206A/B                      Schedule A/B Assets - Real and Personal Property                                page 4
                              Case 17-12937-CSS                       Doc 23     Filed 01/02/18          Page 13 of 352

Debtor           Xceligent, Inc.                                                             Case number (If known) 17-12937 (CSS)
                 Name



 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
 See attached Schedule Question 47 (leased automobiles)                                  $656,741.44        Cost less              $656,741.44
                                                                                                            depreciation

 48. Watercraft, trailers, motors, and related accessories Examples: Boats,
 trailers, motors, floating homes, personal watercraft, and fishing vessels
            None

 49.      Aircraft and accessories
              None
 50. Other machinery, fixtures, and equipment (excluding farm machinery
 and equipment)
          None

 51. Total of Part 8.
 Add lines 47 through 50. Copy the total to line 87.                                                                                $656,741.44


 52.   Is a depreciation schedule available for any of the property listed in Part 8?
           Yes

 53. Has any of the property listed in Part 8 been appraised by a professional within the last
 year?
           No

Part 9:          Real property
54. Does the debtor own or lease any real property?

          No. Go to Part 10.
          Yes Fill in the information below.


55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

Description and location of                    Nature and extent       Net book value of debtor's   Valuation method used     Current value of
property Include street address or             of debtor’s interest    interest                     for current value         debtor’s interest
other description such as Assessor             in property             (Where available)
Parcel Number (APN), and type of
property (for example, acreage,
factory, warehouse, apartment or
office building), if available.
Office Lease at 5784 Lake Forrest              Lease                   $0                                                     $0
Drive, Suite 236, Atlanta, GA 30328
Office Lease at 103 SE Magellan Dr.,           Lease                   $0                                                     $0
Blue Springs, MO 64014
Office Lease at Liberty Park Plaza,            Lease                   $0                                                     $0
150 S Limit, Sedalia, MO 65301
Office Lease at Plaza of the                   Lease                   $0                                                     $0
Americas
600 and 700 N. Pearl Street
Dallas, TX 75201
Regus Lease at 30700 Russell Ranch             Lease                   $0                                                     $0
Road, Suite 252, West Village, CA
91362
Condo Lease at 435 E 76th St, PHB              Lease                   $0                                                     $0
7th Floor, New York, NY 10021
Condo Lease at 232 E 50th St, Unit             Lease                   $0                                                     $0
1, New York, NY 10021
                                th
Office Lease at 5200 W. 110 Street,            Lease                   $0                                                     $0

Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                           page 5
                            Case 17-12937-CSS                 Doc 23        Filed 01/02/18           Page 14 of 352

Debtor        Xceligent, Inc.                                                             Case number (If known) 17-12937 (CSS)
              Name



Overland Park KS 66211
Apartment Lease at 200 E. Illinois,          Lease              $0                                                           $0
Suite 3611, Chicago, IL 60611
Office Lease at 98 Inverness Drive           Lease              $0                                                           $0
East, Suite 150, Englewood, CO
80112
Desk Space Lease at 6600 France              Lease              $0                                                           $0
Ave, Suite 485, Edina, MN 55435
Office Lease at 319 SE AA Hwy, Blue          Lease              $0                                                           $0
Springs, MO 64014
Regus Lease at 2100 West Loop,               Lease              $0                                                           $0
Suite 800, Houston, TX 77027
Leasehold improvements at                    Owned              92,633.65                       Cost less depreciation       $92,633.65
Debtor’s various leased properties
(see attached Schedule Question 55)

56. Total of Part 9.
     Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

                                                                                                                                   $92,633.65
57.   Is a depreciation schedule available for any of the property listed in Part 9?
       Yes

58.   Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

 General description                                         Net book value            Valuation method used for    Current value of debtor’s
                                                             of debtor's               current value                interest
                                                             interest(where
                                                             available)

 60. Patents, copyrights, trademarks, and trade
 secrets
                                                             Undetermined                                           Undetermined
 The debtor has the following trademarks: Spaceful
 (Serial Nos. 87200495 and 87200504); Xceligent (Serial
 Nos. 87246449 and 76068349 and Reg. No. 2709777); X
 (Serial Nos. 87246495 and 78202143 and Reg. No.
 30000612); Building Data Everywhere (Serial Nos.
 87246528 and 86886596 and Reg. Nos. 5240645 and
 5040051); and CDX (Serial No. 78197882 and Reg. No.
 2784417)

 61. Internet domain names and websites
 www.xceligent.com, www.standuptocostar.com, and             Undetermined                                           Undetermined
 www.commericalsearch.com

 62. Licenses, franchises, and royalties
           None

 63. Customer lists, mailing lists, or other
 compilations
          None




Official Form 206A/B                           Schedule A/B Assets - Real and Personal Property                           page 6
                            Case 17-12937-CSS                  Doc 23         Filed 01/02/18            Page 15 of 352

Debtor        Xceligent, Inc.                                                              Case number (If known) 17-12937 (CSS)
              Name



 64.    Other intangibles, or intellectual property
           Database, brand name, new markets, and             $0                       Cost less depreciation             $0
           customer relations

 65.    Goodwill
           None

 66.    Total of Part 10.
          Add lines 60 through 65. Copy the total to line                                                                 $0
          89.

 67.    Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
        No
 68.    Is there an amortization or other similar schedule available for any of the property listed in Part 10?
       Yes
 69.    Has any of the property listed in Part 10 been appraised by a professional within the last year?
        No


Part 11:      All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
        No. Go to Part 12.
        Yes Fill in the information below

71.     Notes receivable
           None
72.    Tax refunds and unused net operating losses (NOLs)
       Description (for example, federal, state, local)
                                                                                                              9/30/2000                  $4,241,671
          Federal NOLs
                                                                                                              9/30/2001                  $6,315,627
                                                                                                              9/30/2002                  $2,410,654
                                                                                                              9/30/2003                  $3,960,097
                                                                                                              9/30/2004                   $740,870
                                                                                                              9/30/2005                  $1,296,833
                                                                                                              9/30/2006                   $815,593
                                                                                                              9/30/2007                  $1,215,878
                                                                                                              9/30/2008                  $2,300,053
                                                                                                              9/30/2009                  $2,199,110
                                                                                                              9/30/2010                  $2,246,438
                                                                                                              9/30/2011                  $4,532,463
                                                                                                              9/30/2012                 $13,756,057
                                                                                                              9/30/2013                 $18,555,332
                                                                                                              9/30/2014                 $21,423,065
                                                                                                              9/30/2015                  $1,498,863
                                                                                                              9/30/2016                 $23,266,270


                                                                                                                                        Undetermined
73.     Interests in insurance policies or annuities




Official Form 206A/B                        Schedule A/B Assets - Real and Personal Property                                   page 7
                          Case 17-12937-CSS                    Doc 23         Filed 01/02/18      Page 16 of 352

Debtor       Xceligent, Inc.                                                         Case number (If known) 17-12937 (CSS)
             Name




 74. Causes of action against third parties (whether or not a
 lawsuit has been filed)
                                                                                                                             Undetermined
       Nature of claim
       Amount requested            $                 _

 75. Other contingent and unliquidated claims or causes of action
 of every nature, including counterclaims of the debtor and rights to
 set off claims
                                                                                                                             Undetermined_
       Nature of claim                                                   _
       Amount requested            $                 _

 76.   Trusts, equitable or future interests in property
                None

 77. Other property of any kind not already listed         Examples: Season
 tickets, country club membership
          None


 78.   Total of Part 11.
       Add lines 71 through 77. Copy the total to line 90.                                                                   $110,774,874.00

 79.   Has any of the property listed in Part 11 been appraised by a professional within the last year?
        No




Official Form 206A/B                       Schedule A/B Assets - Real and Personal Property                       page 8
                                  Case 17-12937-CSS                             Doc 23             Filed 01/02/18                   Page 17 of 352

Debtor          Xceligent, Inc.                                                                                   Case number (If known) 17-12937 (CSS)
                Name




Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                            Current value of                      Current value of real
                                                                                                  personal property                     property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                $650.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                            $1,090,542.73

82. Accounts receivable. Copy line 12, Part 3.                                                                $1,618,340.65

83. Investments. Copy line 17, Part 4.                                                                                    $0.00

84. Inventory.          Copy line 23, Part 5.                                                                             $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                             $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                        $676,088.90

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $656,741.44


88. Real property. Copy line 56, Part 9.........................................................................................>                           $92,633.65


89. Intangibles and intellectual property. Copy line 66, Part 10.                                             Undetermined

90. All other assets. Copy line 78, Part 11.
                                                                                              +       $110,774,874.00


91. Total. Add lines 80 through 90 for each column                                                $114,817,237.72                   + 91b.                 $92,633.65




92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 114,909,871.37




Official Form 206A/B                                   Schedule A/B Assets - Real and Personal Property                                                 page 9
                                    Case 17-12937-CSS                      Doc 23          Filed 01/02/18             Page 18 of 352

 Fill in this information to identify the case:

 Debtor name         Xceligent, Inc.

 United States Bankruptcy Court for the:             DISTRICT OF DELAWARE

 Case number (if known)             17-12937 (CSS)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                       Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                   that supports this
                                                                                                                       Do not deduct the value     claim
                                                                                                                       of collateral.
       Aramark Refreshment
 2.1
       Services                                      Describe debtor's property that is subject to a lien                  Undetermined              Undetermined
       Creditor's Name                               Vending machines

       4420 E. 142nd Street
       Grandview, MO 64030
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                           No
       Creditor's email address, if known                 Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                              No
       Various                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
            No                                             Contingent
            Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative            Disputed
       priority.




 2.2   Aureon                                        Describe debtor's property that is subject to a lien                  Undetermined              Undetermined
       Creditor's Name                               Firewalls and access points
       7760 Office Plaza Drive
       South
       West Des Moines, IA 50266
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                           No
       Creditor's email address, if known                 Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                              No
       Various                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
            No                                             Contingent


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 5
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 Debtor       Xceligent, Inc.                                                                           Case number (if know)   17-12937 (CSS)
              Name

            Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative            Disputed
       priority.




 2.3   Avid Communications, LLC                      Describe debtor's property that is subject to a lien                  Undetermined      Undetermined
       Creditor's Name                               Packet Layer/Air Fiber on roof at Overland
                                                     Park Office
       PO Box 414800
       Kansas City, MO 64141
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                           No
       Creditor's email address, if known                 Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                              No
       Various                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
            No                                             Contingent
            Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative            Disputed
       priority.




 2.4   Comcast                                       Describe debtor's property that is subject to a lien                  Undetermined      Undetermined
       Creditor's Name                               Routers

       PO Box 34744
       Seattle, WA 98124-1744
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                           No
       Creditor's email address, if known                 Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                              No
       Various                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
            No                                             Contingent
            Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative            Disputed
       priority.




 2.5   DataBank Holdings, Ltd.                       Describe debtor's property that is subject to a lien                  Undetermined      Undetermined
       Creditor's Name                               Activio back up appliance

       PO BOx 73220
       Dallas, TX 75373-2200
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                           No
       Creditor's email address, if known                 Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                              No

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 5
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 Debtor       Xceligent, Inc.                                                                           Case number (if know)      17-12937 (CSS)
              Name

       Various                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
            No                                             Contingent
            Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative            Disputed
       priority.




 2.6   Enterprise Fleet Services                     Describe debtor's property that is subject to a lien                       $641,192.50     Undetermined
       Creditor's Name


       PO Box 800089
       Kansas City, MO 64180
       Creditor's mailing address                    Describe the lien
                                                     Vehicle Leases
                                                     Is the creditor an insider or related party?
                                                           No
       Creditor's email address, if known                 Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                              No
       Various                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
            No                                             Contingent
            Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative            Disputed
       priority.




 2.7   PCM Leasing Corp                              Describe debtor's property that is subject to a lien                       $533,522.14     Undetermined
       Creditor's Name                               Office equipment including computers,
                                                     servers, office cubes, photography
       2727 Cherry Street                            equipment
       Kansas City, MO 64108
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                           No
       Creditor's email address, if known                 Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                              No
       Various                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
            No                                             Contingent
            Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative            Disputed
       priority.




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 5
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 Debtor       Xceligent, Inc.                                                                           Case number (if know)    17-12937 (CSS)
              Name

 2.8    Time Warner Cable                            Describe debtor's property that is subject to a lien                  Undetermined       Undetermined
        Creditor's Name                              Router
        PO Box 60074
        City of Industry, CA
        91716-0074
        Creditor's mailing address                   Describe the lien

                                                     Is the creditor an insider or related party?
                                                           No
        Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                             No
        Various                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
             No                                            Contingent
             Yes. Specify each creditor,                   Unliquidated
        including this creditor and its relative           Disputed
        priority.




 2.9    VAR Technology Finance                       Describe debtor's property that is subject to a lien                       $3,363.33     Undetermined
        Creditor's Name                              Computer Equipment
        1310 Madrid St.
        Suite 101
        Marshall, MN 56258
        Creditor's mailing address                   Describe the lien

                                                     Is the creditor an insider or related party?
                                                           No
        Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                             No
        Various                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
             No                                            Contingent
             Yes. Specify each creditor,                   Unliquidated
        including this creditor and its relative           Disputed
        priority.




          Wells Fargo Vendor
 2.10
          Financial Svcs, LLC                           Describe debtor's property that is subject to a lien                    $23,383.00        Undetermined
          Creditor's Name                               Ricoh Copies

          PO Box 650016
          Dallas, TX 75265
          Creditor's mailing address                    Describe the lien

                                                        Is the creditor an insider or related party?
                                                             No
          Creditor's email address, if known                 Yes
                                                        Is anyone else liable on this claim?
          Date debt was incurred                             No
          Various                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account number




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 4 of 5
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 Debtor       Xceligent, Inc.                                                                           Case number (if know)      17-12937 (CSS)
              Name

          Do multiple creditors have an                 As of the petition filing date, the claim is:
          interest in the same property?                Check all that apply
               No                                            Contingent
               Yes. Specify each creditor,                   Unliquidated
          including this creditor and its relative           Disputed
          priority.



 2.11     AT&T                                          Describe debtor's property that is subject to a lien                    Undetermined        Undetermined
          Creditor's Name                               Routers

          PO Box 5019
          Carol Stream, IL 60197

          Creditor's mailing address                    Describe the lien

                                                        Is the creditor an insider or related party?
                                                             No
          Creditor's email address, if known                 Yes
                                                        Is anyone else liable on this claim?
          Date debt was incurred                             No
          Various                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account number

          Do multiple creditors have an                 As of the petition filing date, the claim is:
          interest in the same property?                Check all that apply
               No                                            Contingent
               Yes. Specify each creditor,                   Unliquidated
          including this creditor and its relative           Disputed
          priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                $1,201,460.97

 Part 2: List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 5 of 5
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 Fill in this information to identify the case:

 Debtor name         Xceligent, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         17-12937 (CSS)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

    1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.

              Yes. Go to line 2.

     2. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors
        with nonpriority unsecured claims, fill out and attach the Additional Page of Part 2.
        Priority creditor's name and mailing
        address                                     As of the petition filing date, the claim is: Check all that
 2.1                                              apply.                                                         Amount of Claim- $350,000
        Douglas Curry                                    Contingent
        9701 South Perdue Road                           Unliquidated                                            Amount entitled to Priority -
        Grain Valley, MO 64029                           Disputed                                                $12,850.00 (507(a)(4))

           Date or dates debt was incurred                     Basis for the claim: Severance
           Last 4 digits of account number                     Is the claim subject to offset?      No           Yes

           Priority creditor's name and mailing
           address                                            As of the petition filing date, the claim is: Check all that
 2.2                                                        apply.                                                             Amount of Claim- $175,000
           Erin Curry                                              Contingent
           9701 South Perdue Road                                  Unliquidated                                                Amount entitled to Priority -
           Grain Valley, MO 64029                                  Disputed                                                    $12,850.00 (507(a)(4))


           Date or dates debt was incurred                     Basis for the claim: Severance
           Last 4 digits of account number                     Is the claim subject to offset?      No           Yes

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims
     3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
        unsecured claims, fill out and attach the Additional Page of Part 2.

           See Attached Schedule E/F

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


            N/A




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 2
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 Debtor       Xceligent, Inc.                                                                     Case number (if known)       17-12937 (CSS)
              Name

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                     25,700.00
 5b. Total claims from Part 2                                                                       5b.   +   $
                                                                                                                               63,834,628.97

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                         5c.       $                   63,860,328.97




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Xceligent, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         17-12937 (CSS)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
           No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
           Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

      See Attached Schedule G




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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                                 Case 17-12937-CSS                   Doc 23      Filed 01/02/18        Page 26 of 352

 Fill in this information to identify the case:

 Debtor name         Xceligent, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         17-12937 (CSS)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

      No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
      Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
      None

             Column 1: Codebtor                                                                 Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                              D
                                               Street                                                                                E/F
                                                                                                                                     G

                                               City                  State      Zip Code


    2.2                                                                                                                              D
                                               Street                                                                                E/F
                                                                                                                                     G

                                               City                  State      Zip Code


    2.3                                                                                                                              D
                                               Street                                                                                E/F
                                                                                                                                     G

                                               City                  State      Zip Code


    2.4                                                                                                                              D
                                               Street                                                                                E/F
                                                                                                                                     G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                         Page 1 of 1
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                                             Xceligent Schedule Question 7.1 Deposits
 Date
Deposit                                                                                                         Amount of
 Made                                          Description and Location of Backup                                Deposit

 1/28/2010   Empire Gas Utility Deposit (Sedalia, MO)                                                           $    2,000.00
 2/25/2010   Sedalia Water Dept Utility Deposit (Sedalia, MO)                                                   $      150.00
10/11/2013   Regus Lease Deposit (Westlake Village, CA)                                                         $    1,258.00
10/15/2014   Regus Lease Deposit (Russell Ranch Pkwy, CA)                                                       $       40.00
 11/1/2015   Regus Lease Deposit (Westlake Village, CA)                                                         $      100.00
10/14/2013   Atlanta Board of Realtors Educational Foundations, Inc, Lease Deposit (Atlanta, GA)                $      700.00
 11/1/2013   Walnut Street Partners Lease Deposit (Blue Springs, MO)                                            $   22,500.00
  5/1/2014   Walnut Street Partners Lease Deposit (Blue Springs, MO, additional suite)                          $    2,500.00
  9/1/2014   Walnut Street Partners Lease Deposit (Blue Springs, MO, additional suite)                          $   10,000.00
 9/16/2014   Guesa (Sedalia, MO)                                                                                $    1,000.00
10/14/2014   98 Inverness LLC Lease Deposit (Denver, CO)                                                        $    2,200.00
  4/1/2015   Aspen Realty - AIR Commercial Real Estate Assoc Lease Deposit (Englewood, CO)                      $    2,027.00
 5/11/2015   Plaza of the Americas Lease Deposit (Dallas, TX)                                                   $   10,225.16
 7/12/2016   435 E 76th St Condo, Danielle Court Refundable Moving Fee Deposit (New York, NY)                   $      500.00
 7/14/2016   232 E 50th, NY Condo Lease Deposit (New York, NY)                                                  $   13,000.00
 7/31/2016   ConEd Utility Deposit (New York, NY)                                                               $      640.00
10/12/2016   Regus Lease Deposit (Houtson, TX)                                                                  $      550.00
 12/2/2016   YRC Lease Deposit (Overland Park, KS)                                                              $   28,402.51
  5/1/2017   Regus Lease Deposit (Houston, TX)                                                                  $    6,684.40
 7/31/2017   Lease Deposit (Chicago, IL)                                                                        $      500.00
10/30/2017   COMED Utility Deposit (Chicago, IL)                                                                $       60.00




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                                           Xceligent, Inc. Schedule 8.2 - Prepaid Product Support
               Vendor                       Description                         Add'l Description               Service Period          Balance
Alteryx, Inc                 Alteryx Enterprise Solution                                                     10/1/17-9/30/18        $   134,623.95
Auth0, Inc.                  Authentication for CCIM Apps                                                    6/15/17-6/14/18        $      7,780.50

Avangate                     2yr Protection                            Bennett AMEX                          12/30/15-12/29/17      $        36.28
Bedrock                                                                                                      1/16-17-1/15/18        $       637.50
Box, Inc,                    7 Licenses                                1Year                                 5/17/17-5/16/18        $       962.50
BrightEdge Tech              Subscription for CommercialSearch         Quarterly Pmts                        10/30/17-1/29/18       $     6,800.00
Browserstack.com             1yr Subscription                          Neal Shaw AMEX                        12/9/16-12/8/17        $       265.00
Browserstack.com             1yr Subscription                          Neal Shaw AMEX                        2/20/17-12/8/17        $        81.12
Comodo Security              1yr Subscription                          IT & Security Manager                 4/1/17-3/31/18         $       933.36
Crossware Ltd                K Crowder AMEX                            1 Year                                9/1/17-8/31/18         $     3,632.44
DataBank Holdings            Managed Data Protection                                                         Monthly                $     9,161.41

Digicert                     Crowder AMEX                              SSL Cert for Atlas & other services   1/18/17-1/17/18        $        74.41
Elasticsearch                3Yr Subscription                          $16,500/year                          Yr2: 4/30/17-4/29/18   $     6,875.00
Elasticsearch                3Yr Subscription                          $16,500/year                          Yr1: 4/30/18-4/29/19   $    16,500.00
Infragistics                 4 Lic Ultimate UI for Windows             Corp MC                               11/22/17-11/21/18      $     3,446.17
           Iron Mountain     Safe Beneficiary, Depositor                                                     06/19/17- 06/18/18     $       935.02
Iron Mountain                Depositor                                 Beneficiary - JLLA                    04/04/17-04/3/18       $       666.64
JetBrains - Corp AMEX        ReSharper Subscription                    2 Years                               03/02/16-03/01/18      $       283.50
JetBrains - K Crowder AMEX   Enterprise Server - TeamCity              Subscription - 1 year                 11/16/17-11/15/18      $       957.38
KnowBe4, Inc.                18 month Protection                       Kevin Mitnick Security                12/12/16-5/11/18       $     1,350.00
LogicMonitor                 J McQuown MC                                                                    3/1/17-2/28/18         $     3,205.78
LogMeIn Inc                  1yr Subscription                          Crowder AMEX                          12/20/16-12/19/17      $       182.63
MaxQ                         Charge It &                               Doc Agent Support                     12/13/16-12/12/17      $       147.33
MaxQ Tech                    Mtc Plan                                  1/2 mo @ at beg & end                 9/19/17-9/18/18        $     6,063.33
MixPanel                                                                                                     11/1/17-4/30/18        $     5,750.00
Mozenda                      1-year                                                                          1/1/17-12/31/17        $       172.92
N2W Software Inc             Backup software for AWS                                                         6/30/17-6/30/18        $     4,375.00
Net Standard                 1 year subscription                                                             1/1/17-12/31/17        $       652.43
OctoPerf                     License - Support                                                               1/31/17-1/30/18        $     1,333.30
Octopus Deploy               Developer App Tool                        Neal Shaw AMEX                        02/10/17-02/09/18      $       166.70
Open VPN Tech                Remote Log In - K Crowder AMEX            2 Years                               10/20/16-10/19/18      $       872.75
PCM Sch 194                                                                                                  1/1/17-12/31/17        $     5,432.00
Pluralsight                                                                                                  5/31/17-5/30/19        $     5,999.82
Prevue Assessments           Employee Cand.                            Assessmts (start w/ 50 May '13)                              $     4,625.00
Promevo.com                  1yr Subscription                                                                12/16/16-12/16/17      $       233.36
Prophix Software Inc.        Maintenance for Software                                                        2/1/17-1/31/20         $    11,934.00
Prophix Software Inc.        Maintenance for Software                  Update in Licenses                    5/15/17-1/31/20        $       895.39
Prophix Software Inc.        Consulting Inv 43969                      120 Hours @ $180/hr                   Until hours are used   $    21,600.00
Qualaroo - N. Shaw AMEX      Insights Professional                     Yearly Subscription                   3/2/17-3/2/18          $       597.00
Redgate - Developer Bundle   3 yrs support/upgrades                    8 user licenses                       6/6/16-6/6/19          $     3,183.55
Redgate - Prompt Pro         3 yrs support/upgrades                    15 user licenses                      6/14/16-6/14/19        $     1,033.98
SalesForce                   Sales Software                                                                  8/15/17-8/14/18        $    99,495.25
Segment                                                                Billed quarterly                      11/1/17-1/31/18        $     3,791.67
                                                                       Subscription/Support Vanguard
Siren Solutions              SINDICE                                   Node                                  10/5/17-10/4/18        $    25,000.00
Slack.com - 1year subscr.    145 Seats Messaging App/Software          Corp AMEX                             2/25/17-2/24/18        $     2,903.49
Tableau                      Software for Analytics/Maint Drivers      50/50 Split                           2/8/17-2/7/18          $     1,533.30
Tableau                      Software for Analytics/Maint Drivers      50/50 Split                           4/30/17-2/7/18         $     1,834.00
Tableau                      Software for Analytics/Maint Drivers      50/50 Split                           1010/17-2/7/19         $     1,011.37
Trek10                       Consulting for AWS                        3 months/80 hours                     9/20/17-12/19/17       $     2,666.68
VersionOne                   Ultimate Edition Subscription             Used to manage prod dev & mtc         2/1/15-1/31/18         $     2,464.20
ZAPPYSYS.COM                 SSIS Powerpack Pro Edition                K Crowder MC                          9/1/17-8/31/18         $     4,857.75
Zendesk                      Enterprise Annual Svc                                                           9/30/17-9/29/18        $    56,144.00
Zoho Corp                    Manage Engine Subscription                                                      4/2/17-4/1/18          $     4,432.64
Zoho Corp                    Manage Engine Subscription                7.5 mos to run with current term      8/17/17-4/1/18         $       744.54




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                                           Xceligent, Inc. Schedule 8.4 - Prepaid Miscellaneous
             Vendor                                     Description                              Service Period             Balance
Airfare                             Prepd airfare                                     Monthly JEs                       $     1,908.80
Atlanta Comm Bd of Realtors         2017 Sponsor                                      1/1/17-12/31/17                   $       833.37
B Wilson/C Campbell Airfare         Prepaid Airfare in Nov for Dec                                                      $       796.31
Birmingham Assoc of Realtors        2017 Annual Sponsorship                                                             $       416.63
BISNOW                              Marketing                                         4/1/17-3/30/18                    $    22,071.00
Carol Campbell Hotel                Prepaid Hotel in Nov for Dec                                                        $     1,275.96
CARW Agreement                      Association sponsorship - COMASS                  4/1/17-12/31/17                   $     2,666.64
CCIM FL Chptr                       Broward (South FL)                                                                  $       166.63
CIBS                                Comm Industrial Brokers Society                   1/1/17-12/31/17                   $       208.36
Connecticut Chptr                   2016-2017 Annual Sponsorship                                                        $       166.72
CRCBR (Charlotte Region CBR)        2017 Sponsor                                      1/1/17-12/31/17                   $     1,458.37
CREW                                2017 Annual Sponsor                               1/1/17-12/31/17                   $       833.37
CREW San Antonio                    2017 Sponsor                                      1/1/17-12/31/17                   $       250.00
CTCAR                               Annual Sponsorship                                1/1/17-12/31/17                   $       125.00
Digital Media Training, Inc.        Annual Training Plan                              2/1/17-12/31/17                   $       500.00
 DMCAR                              Association Fees - Large Firm Subsidy              Jan '17 - Dec '17                $     1,393.37
DMCAR                               Association sponsorship - Quarterly payments       Jan '17 - Dec '18                $    12,532.03
Experian - Fraud Protection         3 Years                                                                             $    31,479.45
Greater Las Vegas Assoc             Annual Sponsorship                                8/2017-7/2018                     $       666.68
ICSC Membership Dues                Doug Curry                                        4/1/16-3/31/19                    $       960.00
ICSC NY                             Dec 2017 Sponsorship                              Dec-17                            $     3,225.00
Justin Lacy Hotel                   Raleigh Adv Boards                                                                  $        90.95
M Jaramillo                         Reimb for CCIM Dues                               1/1/17-12/31/17                   $        70.87
NAIOP 2017 Dues                     Karnes                                            1/1/17-12/31/17                   $        95.62
NAIOP 2017 Dues                     Karnes                                            1/1/17-12/31/17                   $        55.38
NAIOP Central FL Chapter            Holiday Party Sponsorship                         Dec-17                            $       600.00
NAR (NATASS)                        2017 Annual Mktg Fee                              1/1/17-12/31/17                   $       416.63
NAR (National Association of
REALTORS)                           Royalty Payment                                   1/2017, 4/2017, 7/2017, 10/2017   $     5,536.51
NY CCIM                             Sponsorship                                       Annual Team Sponsor               $       166.63
PR Newswire                         Sam Lewis AMEX                                    12/20/16-12/19/17                 $       678.58
RANE Corp                           Basic Subscription                                3/1/17-2/27/18                    $     4,500.00
SARD                                StandUp to Costar Campaign                        9/1/17-12/31/17                   $    25,000.00
Scottsdale Area Assoc of Realtors   The Commercial Forum Sponsor                      Annual Sponsor                    $        91.63
SIOR S Nevada Chptr                 Bronze Corp Sponsor                                                                 $       104.13
TASC                                Admin Fees                                        11/1/17-1/31/18                   $       373.33
TASC                                Renewal Fee                                       11/1/17-10/31/18                  $       359.33
The News Funnel                     New York Sponsorship                              Dec-17                            $     2,375.00




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              Xceligent, Inc. Schedule 8.5 - Prepaid Office and Equipment Leases
         Vendor                   Description             Add'l Description      Amount
GUESA LLC               Sedalia Office                 Rent                 $       3,333.34
ABREF                   Atl Board of Realtors          Rent                 $         700.00
Blue Springs Rent       Walnut Street Partners         Rent                 $      37,690.00
Farmingdale Apts        Chicago Apt #2                 7/25/17-4/23/18      $       1,884.33
MNCAR Rent                                                                  $       1,500.00
Oakhill Land Co         AA Office - BS                 05/15/16-12/14/17    $       4,649.83
Optima Chicago Center Exec Chicago Apt                 3/8/17-6/1/18        $       5,517.00
PCM                                                    PCM Pmts             $      38,036.15
                        Dallas/CCIM Office Rent        07/01/15-09/30/2019
POTA JV, LLC            (Dallas 70%; CCIM 30%)         70%DAL,30%CCIM       $      (2,700.94)
Regus                   Westlake/Burbank CA            Rent                 $       1,024.56
VAR                     VAR Resources                                       $         892.42
WBCMT/SUMMIT            Karnes                                              $       3,015.31
YRC                     Overland Park, KS Office       1/1/17-12/31/20      $      18,903.34
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                                                     Xceligent Schedule Question 39 - Furniture, Fixtures, and Equipment
         Category              Date Acq                                          Description                                   Cost            Depreciation        Value
Furniture Fixtures Equip   8/30/2001      SERVER RACK                                                                      $      987.00   $          987.00   $         -
Furniture Fixtures Equip   10/1/2001      CONVENTION BOOTH EQUIP                                                           $   17,223.00   $       17,223.00   $         -
Furniture Fixtures Equip   3/10/2008      Projector                                                                        $      685.74   $          685.74   $         -
Furniture Fixtures Equip   6/7/2008       HP LaserJet P41014n Printer                                                      $      833.75   $          833.75   $         -
Furniture Fixtures Equip   1/1/2009       Ricoh Aficio MP6000SP Copy Machine                                               $   17,180.64   $       17,180.64   $         -
Furniture Fixtures Equip   1/1/2009       Ricoh Aficio MP5000SP Copy Machine                                               $   11,619.36   $       11,619.36   $         -
Furniture Fixtures Equip   1/20/2011      Portable Air Conditioner                                                         $      620.77   $          620.77   $         -
Furniture Fixtures Equip   1/20/2011      Portable Air Conditioner                                                         $      620.77   $          620.77   $         -
Furniture Fixtures Equip   1/24/2011      Projector                                                                        $      593.83   $          593.83   $         -
Furniture Fixtures Equip   2/2/2011       Casio Green Slim Projector XJ-A140                                               $      865.79   $          865.79   $         -
Furniture Fixtures Equip   12/1/2011      Projector                                                                        $      534.99   $          534.99   $         -
Furniture Fixtures Equip   1/1/2012       Optima Multi Media Projector                                                     $      541.74   $          541.74   $         -
Furniture Fixtures Equip   4/16/2012      Optoma Pro260X Multimedia Projector                                              $      534.10   $          534.10   $         -
Furniture Fixtures Equip   4/26/2012      (6) Worksmart Sculptured Task Chairs Blue                                        $      709.58   $          658.90   $       50.68
Furniture Fixtures Equip   4/26/2012      (8)WorkSmart Sculptured Task Chairs Blue                                         $      946.11   $          878.54   $       67.57
Furniture Fixtures Equip   5/29/2012      Conference Technologies video conf equipment                                     $   19,025.01   $       17,439.60   $    1,585.41
Furniture Fixtures Equip   6/1/2012       (2)Ricoh Copiers MP5500 Sedalia                                                  $   16,488.00   $       14,917.72   $    1,570.28
Furniture Fixtures Equip   6/12/2012      ricoh Copier MP4502 Indep                                                        $   13,536.00   $       12,246.83   $    1,289.17
Furniture Fixtures Equip   6/15/2012      Square One chairs LS office                                                      $    3,974.27   $        3,595.75   $      378.52
Furniture Fixtures Equip   6/21/2012      Digium phone network equipment                                                   $    1,078.29   $          975.59   $      102.70
Furniture Fixtures Equip   7/1/2012       Polycom SoundPoint system config                                                 $   11,940.86   $       11,940.86   $         -
Furniture Fixtures Equip   8/1/2012       Ricoh Copier MP5500 LS Office                                                    $    7,740.00   $        6,818.55   $      921.45
Furniture Fixtures Equip   8/7/2012       (6)WorkSmart Sculptured task chairs                                              $      727.14   $          640.59   $       86.55
Furniture Fixtures Equip   9/1/2012       SchoolsIn 48 blue fabic folding chairs                                           $    1,005.60   $          873.93   $      131.67
Furniture Fixtures Equip   9/1/2012       Epson XGA 3LCD Projector                                                         $      582.99   $          582.99   $         -
Furniture Fixtures Equip   9/1/2012       Epson Powerlite X12 Projector                                                    $      448.15   $          448.15   $         -
Furniture Fixtures Equip   9/1/2012       Epson Powerlite X12 Projector                                                    $      448.15   $          448.15   $         -
Furniture Fixtures Equip   9/25/2012      Optima Multimedia Projector                                                      $      536.24   $          536.24   $         -
Furniture Fixtures Equip   10/1/2012      Trade Show Booth yescomusa                                                       $    1,008.36   $        1,008.36   $         -
Furniture Fixtures Equip   10/1/2012      Print Big Solutions (3) Posters                                                  $      847.83   $          847.83   $         -
Furniture Fixtures Equip   1/15/2013      Square One 8' conference table cherry                                            $      642.89   $          528.08   $      114.81
Furniture Fixtures Equip   1/15/2013      Square One Credenza 4 door cherry                                                $      857.18   $          704.09   $      153.09
Furniture Fixtures Equip   1/15/2013      Square One High back conference chairs blk                                       $    4,955.62   $        4,070.71   $      884.91
Furniture Fixtures Equip   1/15/2013      Square One 10' conference table cherry                                           $    1,270.14   $        1,043.34   $      226.80
Furniture Fixtures Equip   3/1/2013       (35)Polycom IP335 phones                                                         $    3,948.00   $        3,149.00   $      799.00
Furniture Fixtures Equip   3/1/2013       (15)Office Star Worksmart Task Chair                                             $    1,789.50   $        1,427.33   $      362.17
Furniture Fixtures Equip   3/19/2013      32 Credenza's 32 pencil drawers                                                  $    6,037.30   $        4,815.46   $    1,221.84
Furniture Fixtures Equip   3/29/2013      (7)Two drawer lateral files                                                      $    2,329.58   $        1,858.13   $      471.45
Furniture Fixtures Equip   3/29/2013      (1)L-desk,(2)peds,desk shell,return shell,box file                               $      714.20   $          569.67   $      144.53
Furniture Fixtures Equip   4/1/2013       (10)Optoma TX542-3D XGA 3D DLP Projectors (Sch138)                               $    4,471.10   $        3,513.01   $      958.09
Furniture Fixtures Equip   4/5/2013       Square One 33 preowned task chairs                                               $    1,430.22   $        1,123.76   $      306.46



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                                                     Xceligent Schedule Question 39 - Furniture, Fixtures, and Equipment
         Category              Date Acq                                         Description                                       Cost            Depreciation        Value
Furniture Fixtures Equip   5/1/2013       (25) Polycom Phone (Sch 140)                                                        $    3,053.38   $        2,362.75   $      690.63
Furniture Fixtures Equip   6/1/2013       Square One furniture bldg 12                                                        $    9,737.55   $        7,419.09   $    2,318.46
Furniture Fixtures Equip   8/1/2013       Costco Progrid High Back chairs 12                                                  $    2,141.99   $        1,581.00   $      560.99
Furniture Fixtures Equip   8/1/2013       Square One 5 credenzas                                                              $    1,013.42   $          747.98   $      265.44
Furniture Fixtures Equip   8/6/2013       8 Black fabric chairs LS #725508 Staples                                            $      606.67   $          447.79   $      158.88
Furniture Fixtures Equip   8/9/2013       Square One 2 66x30 desk                                                             $    1,585.61   $        1,170.35   $      415.26
Furniture Fixtures Equip   10/1/2013      Ricoh MP5000 SP                                                                     $    6,432.48   $        4,594.65   $    1,837.83
Furniture Fixtures Equip   10/21/2013     Projector from Best Buy                                                             $      595.36   $          425.25   $      170.11
Furniture Fixtures Equip   11/21/2013     Blue Springs Kitchen                                                                $    3,781.82   $        2,656.28   $    1,125.54
Furniture Fixtures Equip   12/5/2013      12 Pro Grid High Back Chairs                                                        $    2,000.99   $        1,381.65   $      619.34
Furniture Fixtures Equip   2/3/2014       Business Furniture Atlanta 1                                                        $    1,712.00   $        1,141.33   $      570.67
Furniture Fixtures Equip   2/3/2014       Business Furniture Atlanta                                                          $    2,006.25   $        1,337.51   $      668.74
Furniture Fixtures Equip   2/13/2014      Staples Epson EX5220 XGA Projector                                                  $      544.99   $          544.99   $         -
Furniture Fixtures Equip   3/24/2014      Staples-Epson EX5220 lumens projector                                               $      539.99   $          539.99   $         -
Furniture Fixtures Equip   4/4/2014       1 of 6-Staples-Haydn Black Fabric Task Chair                                        $      105.63   $           67.91   $       37.72
Furniture Fixtures Equip   4/4/2014       2 of 6-Staples-Haydn Black Fabric Task Chair                                        $      105.63   $           67.91   $       37.72
Furniture Fixtures Equip   4/4/2014       3 of 6-Staples-Haydn Black Fabric Task Chair                                        $      105.63   $           67.91   $       37.72
Furniture Fixtures Equip   4/4/2014       4 of 6-Staples-Haydn Black Fabric Task Chair                                        $      105.63   $           67.91   $       37.72
Furniture Fixtures Equip   4/4/2014       5 of 6-Staples-Haydn Black Fabric Task Chair                                        $      105.63   $           67.91   $       37.72
Furniture Fixtures Equip   4/4/2014       6 of 6-Staples-Haydn Black Fabric Task Chair                                        $      105.63   $           67.91   $       37.72
Furniture Fixtures Equip   4/4/2014       Staples-Optoma DDW236e WXGA multimedia projector                                    $      504.81   $          504.81   $         -
Furniture Fixtures Equip   4/7/2014       Epson EX5220 Projector                                                              $      532.49   $          532.49   $         -
Furniture Fixtures Equip   4/14/2014      Staples-Epson EX5220 XGA wireless projector                                         $      539.54   $          539.54   $         -
Furniture Fixtures Equip   4/22/2014      Square One Interiors-12' conference table-Blue Springs                              $      841.97   $          541.26   $      300.71
Furniture Fixtures Equip   5/22/2014      Staples-3 Black Legal 4drawer filing cabinets-Blue Springs                          $      934.49   $          589.62   $      344.87
Furniture Fixtures Equip   6/19/2014      Office furnishings purchased from Larry Stucker for Blue Springs office             $    5,000.00   $        5,000.00   $         -
Furniture Fixtures Equip   7/1/2014       SquareOne Interiors-45 pre-owned parts to build 45 workstations-Sedalia             $   14,395.51   $        8,740.13   $    5,655.38
                                          Square One Interiors-Parts needed to add electrical to existing workstations-Blue
Furniture Fixtures Equip   7/1/2014       Springs                                                                             $    2,266.67   $        1,376.19   $      890.48
Furniture Fixtures Equip   7/1/2014       Square One Interiorss-12 Purple Task Chairs-Blue Springs                            $      650.28   $          394.82   $      255.46
Furniture Fixtures Equip   7/1/2014       CCIM furniture                                                                      $    2,500.00   $        2,500.00   $         -
Furniture Fixtures Equip   10/28/2014     Square One Interiors-Workstations in Blue Springs                                   $   48,892.49   $       27,938.56   $   20,953.93
Furniture Fixtures Equip   10/28/2014     Square One Interiors - 4 Appollo Adjustable Height Stool in Blue Springs            $    1,067.00   $          609.72   $      457.28
Furniture Fixtures Equip   10/28/2014     Square One Interiors 15 2-Lite Black Mesh Back Chairs in Blue Springs               $    3,173.68   $        1,813.52   $    1,360.16
Furniture Fixtures Equip   10/28/2014     Square One Interiors 10 2-Lite Black Mesh Back Chairs in Blue Springs               $    2,115.78   $        1,209.00   $      906.78
Furniture Fixtures Equip   10/28/2014     Square One Interiors 27 2-Lite Black Mesh Back Chairs in Blue Springs               $    5,712.65   $        3,264.36   $    2,448.29
Furniture Fixtures Equip   10/28/2014     Square One Interiors - 8' conference table espresso in Blue Springs                 $      345.43   $          197.40   $      148.03
Furniture Fixtures Equip   10/28/2014     Square One Interiors - 10' conference table espresso in Blue Springs                $      467.52   $          267.16   $      200.36
Furniture Fixtures Equip   10/28/2014     Square One Interiors - 12' conference table espresso in Blue Springs                $      580.68   $          331.80   $      248.88
Furniture Fixtures Equip   11/12/2014     Best Buy - Epson Powerlite 1761W Multimedia pro projector                           $      801.42   $          627.77   $      173.65
Furniture Fixtures Equip   11/21/2014     1 of 30-Square One-30 High Back Mesh Conference Chairs                              $      293.82   $          230.19   $       63.63



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Furniture Fixtures Equip   11/21/2014    2 of 30-Square One-30 High Back Mesh Conference Chairs                          $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    3 of 30-Square One-30 High Back Mesh Conference Chairs                          $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    4 of 30-Square One-30 High Back Mesh Conference Chairs                          $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    5 of 30-Square One-30 High Back Mesh Conference Chairs                          $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    6 of 30-Square One-30 High Back Mesh Conference Chairs                          $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    7 of 30-Square One-30 High Back Mesh Conference Chairs                          $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    8 of 30-Square One-30 High Back Mesh Conference Chairs                          $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    9 of 30-Square One-30 High Back Mesh Conference Chairs                          $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    10 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    11 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    12 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    13 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    14 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    15 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    16 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    17 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    18 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    19 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    20 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    21 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    22 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    23 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    24 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    25 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    26 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    27 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    28 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    29 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   11/21/2014    30 of 30-Square One-30 High Back Mesh Conference Chairs                         $      293.68   $          230.06   $       63.62
Furniture Fixtures Equip   12/1/2014     1 of 4-Adjustable Height Tables - Silver Finish No Tops                         $    1,497.42   $          820.02   $      677.40
Furniture Fixtures Equip   12/1/2014     2 of 4-Adjustable Height Tables - Silver Finish No Tops                         $    1,497.41   $          820.02   $      677.39
Furniture Fixtures Equip   12/1/2014     3 of 4-Adjustable Height Tables - Silver Finish No Tops                         $    1,497.42   $          820.02   $      677.40
Furniture Fixtures Equip   12/1/2014     4 of 4-Adjustable Height Tables - Silver Finish No Tops                         $    1,497.42   $          820.02   $      677.40
Furniture Fixtures Equip   12/1/2014     Karnes - Furniture and Fixtures                                                 $    7,612.00   $        7,612.00   $         -
Furniture Fixtures Equip   12/1/2014     1 of 11-2 Lite Black Mesh Back Chairs                                           $      234.63   $          128.49   $      106.14
Furniture Fixtures Equip   12/1/2014     2 of 11-2 Lite Black Mesh Back Chairs                                           $      234.63   $          128.49   $      106.14
Furniture Fixtures Equip   12/1/2014     3 of 11-2 Lite Black Mesh Back Chairs                                           $      234.63   $          128.49   $      106.14
Furniture Fixtures Equip   12/1/2014     4 of 11-2 Lite Black Mesh Back Chairs                                           $      234.63   $          128.49   $      106.14
Furniture Fixtures Equip   12/1/2014     5 of 11-2 Lite Black Mesh Back Chairs                                           $      234.63   $          128.49   $      106.14
Furniture Fixtures Equip   12/1/2014     6 of 11-2 Lite Black Mesh Back Chairs                                           $      234.63   $          128.49   $      106.14
Furniture Fixtures Equip   12/1/2014     7 of 11-2 Lite Black Mesh Back Chairs                                           $      234.63   $          128.49   $      106.14



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Furniture Fixtures Equip   12/1/2014     8 of 11-2 Lite Black Mesh Back Chairs                                           $     234.63   $          128.49   $      106.14
Furniture Fixtures Equip   12/1/2014     9 of 11-2 Lite Black Mesh Back Chairs                                           $     234.63   $          128.49   $      106.14
Furniture Fixtures Equip   12/1/2014     10 of 11-2 Lite Black Mesh Back Chairs                                          $     234.63   $          128.49   $      106.14
Furniture Fixtures Equip   12/1/2014     11 of 11-2 Lite Black Mesh Back Chairs                                          $     234.63   $          128.49   $      106.14
Furniture Fixtures Equip   12/23/2014    2 of 18-Grey Laminate Tops/Black T legs                                         $     268.51   $          147.05   $      121.46
Furniture Fixtures Equip   12/23/2014    3 of 18-Grey Laminate Tops/Black T legs                                         $     268.51   $          147.05   $      121.46
Furniture Fixtures Equip   12/23/2014    4 of 18-Grey Laminate Tops/Black T legs                                         $     268.51   $          147.05   $      121.46
Furniture Fixtures Equip   12/23/2014    5 of 18-Grey Laminate Tops/Black T legs                                         $     268.51   $          147.05   $      121.46
Furniture Fixtures Equip   12/23/2014    6 of 18-Grey Laminate Tops/Black T legs                                         $     268.51   $          147.05   $      121.46
Furniture Fixtures Equip   12/23/2014    7 of 18-Grey Laminate Tops/Black T legs                                         $     268.51   $          147.05   $      121.46
Furniture Fixtures Equip   12/23/2014    8 of 18-Grey Laminate Tops/Black T legs                                         $     268.51   $          147.05   $      121.46
Furniture Fixtures Equip   12/23/2014    9 of 18-Grey Laminate Tops/Black T legs                                         $     268.51   $          147.05   $      121.46
Furniture Fixtures Equip   12/23/2014    10 of 18-Grey Laminate Tops/Black T legs                                        $     268.51   $          147.05   $      121.46
Furniture Fixtures Equip   12/23/2014    11 of 18-Grey Laminate Tops/Black T legs                                        $     268.51   $          147.05   $      121.46
Furniture Fixtures Equip   12/23/2014    12 of 18-Grey Laminate Tops/Black T legs                                        $     268.51   $          147.05   $      121.46
Furniture Fixtures Equip   12/23/2014    13 of 18-Grey Laminate Tops/Black T legs                                        $     268.51   $          147.05   $      121.46
Furniture Fixtures Equip   12/23/2014    14 of 18-Grey Laminate Tops/Black T legs                                        $     268.51   $          147.05   $      121.46
Furniture Fixtures Equip   12/23/2014    15 of 18-Grey Laminate Tops/Black T legs                                        $     268.51   $          147.05   $      121.46
Furniture Fixtures Equip   12/23/2014    16 of 18-Grey Laminate Tops/Black T legs                                        $     268.51   $          147.05   $      121.46
Furniture Fixtures Equip   12/23/2014    17 of 18-Grey Laminate Tops/Black T legs                                        $     268.51   $          147.05   $      121.46
Furniture Fixtures Equip   12/23/2014    18 of 18-Grey Laminate Tops/Black T legs                                        $     268.51   $          147.05   $      121.46
Furniture Fixtures Equip   12/23/2014    1 of 19-Seating Black Mesh Back/Seaet                                           $     223.26   $          122.25   $      101.01
Furniture Fixtures Equip   12/23/2014    2 of 19-Seating Black Mesh Back/Seaet                                           $     223.33   $          122.29   $      101.04
Furniture Fixtures Equip   12/23/2014    3 of 19-Seating Black Mesh Back/Seaet                                           $     223.33   $          122.29   $      101.04
Furniture Fixtures Equip   12/23/2014    4 of 19-Seating Black Mesh Back/Seaet                                           $     223.33   $          122.29   $      101.04
Furniture Fixtures Equip   12/23/2014    5 of 19-Seating Black Mesh Back/Seaet                                           $     223.33   $          122.29   $      101.04
Furniture Fixtures Equip   12/23/2014    6 of 19-Seating Black Mesh Back/Seaet                                           $     223.33   $          122.29   $      101.04
Furniture Fixtures Equip   12/23/2014    7 of 19-Seating Black Mesh Back/Seaet                                           $     223.33   $          122.29   $      101.04
Furniture Fixtures Equip   12/23/2014    8 of 19-Seating Black Mesh Back/Seaet                                           $     223.33   $          122.29   $      101.04
Furniture Fixtures Equip   12/23/2014    9 of 19-Seating Black Mesh Back/Seaet                                           $     223.33   $          122.29   $      101.04
Furniture Fixtures Equip   12/23/2014    10 of 19-Seating Black Mesh Back/Seaet                                          $     223.33   $          122.29   $      101.04
Furniture Fixtures Equip   12/23/2014    11 of 19-Seating Black Mesh Back/Seaet                                          $     223.33   $          122.29   $      101.04
Furniture Fixtures Equip   12/23/2014    12 of 19-Seating Black Mesh Back/Seaet                                          $     223.33   $          122.29   $      101.04
Furniture Fixtures Equip   12/23/2014    13 of 19-Seating Black Mesh Back/Seaet                                          $     223.33   $          122.29   $      101.04
Furniture Fixtures Equip   12/23/2014    14 of 19-Seating Black Mesh Back/Seaet                                          $     223.33   $          122.29   $      101.04
Furniture Fixtures Equip   12/23/2014    15 of 19-Seating Black Mesh Back/Seaet                                          $     223.33   $          122.29   $      101.04
Furniture Fixtures Equip   12/23/2014    16 of 19-Seating Black Mesh Back/Seaet                                          $     223.33   $          122.29   $      101.04
Furniture Fixtures Equip   12/23/2014    17 of 19-Seating Black Mesh Back/Seaet                                          $     223.33   $          122.29   $      101.04
Furniture Fixtures Equip   12/23/2014    18 of 19-Seating Black Mesh Back/Seaet                                          $     223.33   $          122.29   $      101.04
Furniture Fixtures Equip   12/23/2014    19 of 19-Seating Black Mesh Back/Seaet                                          $     223.33   $          122.29   $      101.04
Furniture Fixtures Equip   12/23/2014    1 of 18-Grey Laminate Tops/Black T legs                                         $     268.50   $          147.04   $      121.46



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Furniture Fixtures Equip   1/14/2015     1 of 19-Mahogany Desks - Blue Springs                                           $     477.66   $          255.84   $      221.82
Furniture Fixtures Equip   1/14/2015     2 of 19-Mahogany Desks - Blue Springs                                           $     477.65   $          255.90   $      221.75
Furniture Fixtures Equip   1/14/2015     3 of 19-Mahogany Desks - Blue Springs                                           $     477.65   $          255.90   $      221.75
Furniture Fixtures Equip   1/14/2015     4 of 19-Mahogany Desks - Blue Springs                                           $     477.65   $          255.90   $      221.75
Furniture Fixtures Equip   1/14/2015     5 of 19-Mahogany Desks - Blue Springs                                           $     477.65   $          255.90   $      221.75
Furniture Fixtures Equip   1/14/2015     6 of 19-Mahogany Desks - Blue Springs                                           $     477.65   $          255.90   $      221.75
Furniture Fixtures Equip   1/14/2015     7 of 19-Mahogany Desks - Blue Springs                                           $     477.65   $          255.90   $      221.75
Furniture Fixtures Equip   1/14/2015     8 of 19-Mahogany Desks - Blue Springs                                           $     477.65   $          255.90   $      221.75
Furniture Fixtures Equip   1/14/2015     9 of 19-Mahogany Desks - Blue Springs                                           $     477.65   $          255.90   $      221.75
Furniture Fixtures Equip   1/14/2015     10 of 19-Mahogany Desks - Blue Springs                                          $     477.65   $          255.90   $      221.75
Furniture Fixtures Equip   1/14/2015     11 of 19-Mahogany Desks - Blue Springs                                          $     477.65   $          255.90   $      221.75
Furniture Fixtures Equip   1/14/2015     12 of 19-Mahogany Desks - Blue Springs                                          $     477.65   $          255.90   $      221.75
Furniture Fixtures Equip   1/14/2015     13 of 19-Mahogany Desks - Blue Springs                                          $     477.65   $          255.90   $      221.75
Furniture Fixtures Equip   1/14/2015     14 of 19-Mahogany Desks - Blue Springs                                          $     477.65   $          255.90   $      221.75
Furniture Fixtures Equip   1/14/2015     15 of 19-Mahogany Desks - Blue Springs                                          $     477.65   $          255.90   $      221.75
Furniture Fixtures Equip   1/14/2015     16 of 19-Mahogany Desks - Blue Springs                                          $     477.65   $          255.90   $      221.75
Furniture Fixtures Equip   1/14/2015     17 of 19-Mahogany Desks - Blue Springs                                          $     477.65   $          255.90   $      221.75
Furniture Fixtures Equip   1/14/2015     18 of 19-Mahogany Desks - Blue Springs                                          $     477.65   $          255.90   $      221.75
Furniture Fixtures Equip   1/14/2015     19 of 19-Mahogany Desks - Blue Springs                                          $     477.65   $          255.90   $      221.75
Furniture Fixtures Equip   1/14/2015     1 of 25-Black Mesh Back/Seat - Blue Springs                                     $     215.95   $          115.70   $      100.25
Furniture Fixtures Equip   1/14/2015     2 of 25-Black Mesh Back/Seat - Blue Springs                                     $     215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015     3 of 25-Black Mesh Back/Seat - Blue Springs                                     $     215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015     4 of 25-Black Mesh Back/Seat - Blue Springs                                     $     215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015     5 of 25-Black Mesh Back/Seat - Blue Springs                                     $     215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015     6 of 25-Black Mesh Back/Seat - Blue Springs                                     $     215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015     7 of 25-Black Mesh Back/Seat - Blue Springs                                     $     215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015     8 of 25-Black Mesh Back/Seat - Blue Springs                                     $     215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015     9 of 25-Black Mesh Back/Seat - Blue Springs                                     $     215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015     10 of 25-Black Mesh Back/Seat - Blue Springs                                    $     215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015     11 of 25-Black Mesh Back/Seat - Blue Springs                                    $     215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015     12 of 25-Black Mesh Back/Seat - Blue Springs                                    $     215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015     13 of 25-Black Mesh Back/Seat - Blue Springs                                    $     215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015     14 of 25-Black Mesh Back/Seat - Blue Springs                                    $     215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015     15 of 25-Black Mesh Back/Seat - Blue Springs                                    $     215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015     16 of 25-Black Mesh Back/Seat - Blue Springs                                    $     215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015     17 of 25-Black Mesh Back/Seat - Blue Springs                                    $     215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015     18 of 25-Black Mesh Back/Seat - Blue Springs                                    $     215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015     19 of 25-Black Mesh Back/Seat - Blue Springs                                    $     215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015     20 of 25-Black Mesh Back/Seat - Blue Springs                                    $     215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015     21 of 25-Black Mesh Back/Seat - Blue Springs                                    $     215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015     22 of 25-Black Mesh Back/Seat - Blue Springs                                    $     215.98   $          115.69   $      100.29



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Furniture Fixtures Equip   1/14/2015      23 of 25-Black Mesh Back/Seat - Blue Springs                                     $      215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015      24 of 25-Black Mesh Back/Seat - Blue Springs                                     $      215.98   $          115.69   $      100.29
Furniture Fixtures Equip   1/14/2015      25 of 25-Black Mesh Back/Seat - Blue Springs                                     $      215.98   $          115.69   $      100.29
Furniture Fixtures Equip   2/1/2015       1 of 5-Polycom SoundStation IP5000 - Blue Springs Conf Rm                        $      276.50   $          202.75   $       73.75
Furniture Fixtures Equip   2/1/2015       2 of 5-Polycom SoundStation IP5000 - Blue Springs Conf Rm                        $      276.50   $          202.77   $       73.73
Furniture Fixtures Equip   2/1/2015       3 of 5-Polycom SoundStation IP5000 - Blue Springs Conf Rm                        $      276.50   $          202.77   $       73.73
Furniture Fixtures Equip   2/1/2015       4 of 5-Polycom SoundStation IP5000 - Blue Springs Conf Rm                        $      276.50   $          202.77   $       73.73
Furniture Fixtures Equip   2/1/2015       5 of 5-Polycom SoundStation IP5000 - Blue Springs Conf Rm                        $      276.50   $          202.77   $       73.73
Furniture Fixtures Equip   2/3/2015       Ricoh Aficio MP6001SP                                                            $    9,571.20   $        5,013.47   $    4,557.73
Furniture Fixtures Equip   2/7/2015       1 of 15-Polycom Soundpoint IP 331 Phone - Blue Springs Conf Room                 $       99.99   $           73.36   $       26.63
Furniture Fixtures Equip   2/7/2015       2 of 15-Polycom Soundpoint IP 331 Phone - Blue Springs Conf Room                 $       99.99   $           73.33   $       26.66
Furniture Fixtures Equip   2/7/2015       3 of 15-Polycom Soundpoint IP 331 Phone - Blue Springs Conf Room                 $       99.99   $           73.33   $       26.66
Furniture Fixtures Equip   2/7/2015       4 of 15-Polycom Soundpoint IP 331 Phone - Blue Springs Conf Room                 $       99.99   $           73.33   $       26.66
Furniture Fixtures Equip   2/7/2015       5 of 15-Polycom Soundpoint IP 331 Phone - Blue Springs Conf Room                 $       99.99   $           73.33   $       26.66
Furniture Fixtures Equip   2/7/2015       6 of 15-Polycom Soundpoint IP 331 Phone - Blue Springs Conf Room                 $       99.99   $           73.33   $       26.66
Furniture Fixtures Equip   2/7/2015       7 of 15-Polycom Soundpoint IP 331 Phone - Blue Springs Conf Room                 $       99.99   $           73.33   $       26.66
Furniture Fixtures Equip   2/7/2015       8 of 15-Polycom Soundpoint IP 331 Phone - Blue Springs Conf Room                 $       99.99   $           73.33   $       26.66
Furniture Fixtures Equip   2/7/2015       9 of 15-Polycom Soundpoint IP 331 Phone - Blue Springs Conf Room                 $       99.99   $           73.33   $       26.66
Furniture Fixtures Equip   2/7/2015       10 of 15-Polycom Soundpoint IP 331 Phone - Blue Springs Conf Room                $       99.99   $           73.33   $       26.66
Furniture Fixtures Equip   2/7/2015       11 of 15-Polycom Soundpoint IP 331 Phone - Blue Springs Conf Room                $       99.99   $           73.33   $       26.66
Furniture Fixtures Equip   2/7/2015       12 of 15-Polycom Soundpoint IP 331 Phone - Blue Springs Conf Room                $       99.99   $           73.33   $       26.66
Furniture Fixtures Equip   2/7/2015       13 of 15-Polycom Soundpoint IP 331 Phone - Blue Springs Conf Room                $       99.99   $           73.33   $       26.66
Furniture Fixtures Equip   2/7/2015       14 of 15-Polycom Soundpoint IP 331 Phone - Blue Springs Conf Room                $       99.99   $           73.33   $       26.66
Furniture Fixtures Equip   2/7/2015       15 of 15-Polycom Soundpoint IP 331 Phone - Blue Springs Conf Room                $       99.99   $           73.33   $       26.66
Furniture Fixtures Equip   2/28/2015      Green Chair - IKEA                                                               $      433.41   $          317.83   $      115.58
Furniture Fixtures Equip   2/28/2015      2 Leather Chair - IKEA                                                           $      323.70   $          237.38   $       86.32
Furniture Fixtures Equip   2/28/2015      Coffee Table (Birch)                                                             $      161.85   $          118.69   $       43.16
Furniture Fixtures Equip   2/28/2015      Leather Couch - IKEA                                                             $      867.91   $          636.46   $      231.45
Furniture Fixtures Equip   2/28/2015      Small Round Table - IKEA                                                         $       54.30   $           39.82   $       14.48
Furniture Fixtures Equip   2/28/2015      Mirror - IKEA                                                                    $       43.44   $           31.86   $       11.58
Furniture Fixtures Equip   2/28/2015      Round Table - NFM                                                                $      434.41   $          318.56   $      115.85
Furniture Fixtures Equip   2/28/2015      Rugs - NFM                                                                       $    1,032.66   $          757.28   $      275.38
Furniture Fixtures Equip   2/28/2015      Wall Art                                                                         $    2,059.32   $        1,510.16   $      549.16
Furniture Fixtures Equip   2/28/2015      Leather Chair - NFM                                                              $      325.54   $          238.74   $       86.80
Furniture Fixtures Equip   2/28/2015      Leather Ottoman - NFM                                                            $      145.89   $          106.99   $       38.90
Furniture Fixtures Equip   2/28/2015      End Table - NFM                                                                  $      185.08   $          135.74   $       49.34
Furniture Fixtures Equip   2/28/2015      Mobile TV Stand - 2                                                              $      596.48   $          437.43   $      159.05
Furniture Fixtures Equip   2/28/2015      Breakroom Chairs - NFM                                                           $      391.88   $          287.39   $      104.49
Furniture Fixtures Equip   2/28/2015      Table - NFM                                                                      $      149.93   $          109.96   $       39.97
Furniture Fixtures Equip   2/28/2015      Barstools - NFM                                                                  $      299.84   $          219.89   $       79.95
Furniture Fixtures Equip   2/28/2015      Chairs - NFM                                                                     $      535.48   $          392.70   $      142.78



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Furniture Fixtures Equip   3/5/2015       Ricoh MP8001 Copier - Blue Springs                                              $    1,295.70   $        1,295.70   $         -
Furniture Fixtures Equip   3/5/2015       1 of 10-Mesh Black High-Back Chair                                              $      139.47   $           99.92   $       39.55
Furniture Fixtures Equip   3/5/2015       2 of 10-Mesh Black High-Back Chair                                              $      139.44   $           99.94   $       39.50
Furniture Fixtures Equip   3/5/2015       3 of 10-Mesh Black High-Back Chair                                              $      139.44   $           99.94   $       39.50
Furniture Fixtures Equip   3/5/2015       4 of 10-Mesh Black High-Back Chair                                              $      139.44   $           99.94   $       39.50
Furniture Fixtures Equip   3/5/2015       5 of 10-Mesh Black High-Back Chair                                              $      139.44   $           99.94   $       39.50
Furniture Fixtures Equip   3/5/2015       6 of 10-Mesh Black High-Back Chair                                              $      139.44   $           99.94   $       39.50
Furniture Fixtures Equip   3/5/2015       7 of 10-Mesh Black High-Back Chair                                              $      139.44   $           99.94   $       39.50
Furniture Fixtures Equip   3/5/2015       8 of 10-Mesh Black High-Back Chair                                              $      139.44   $           99.94   $       39.50
Furniture Fixtures Equip   3/5/2015       9 of 10-Mesh Black High-Back Chair                                              $      139.44   $           99.94   $       39.50
Furniture Fixtures Equip   3/5/2015       10 of 10-Mesh Black High-Back Chair                                             $      139.44   $           99.94   $       39.50
Furniture Fixtures Equip   4/21/2015      25.54 cu ft Side by Side Refrigerator                                           $      843.42   $          421.71   $      421.71
Furniture Fixtures Equip   5/1/2015       Refrigerator for Suite 105, FL2                                                 $      947.35   $          462.41   $      484.94
Furniture Fixtures Equip   5/20/2015      1 of 3-Desks - SquareOne                                                        $      249.77   $          170.67   $       79.10
Furniture Fixtures Equip   5/20/2015      2 of 3-Desks - SquareOne                                                        $      249.76   $          170.66   $       79.10
Furniture Fixtures Equip   5/20/2015      3 of 3-Desks - SquareOne                                                        $      249.76   $          170.66   $       79.10
Furniture Fixtures Equip   5/20/2015      1 of 10-Black Mesh Chair - SquareOne                                            $      211.77   $          144.67   $       67.10
Furniture Fixtures Equip   5/20/2015      2 of 10-Black Mesh Chair - SquareOne                                            $      211.77   $          144.70   $       67.07
Furniture Fixtures Equip   5/20/2015      3 of 10-Black Mesh Chair - SquareOne                                            $      211.77   $          144.70   $       67.07
Furniture Fixtures Equip   5/20/2015      4 of 10-Black Mesh Chair - SquareOne                                            $      211.77   $          144.70   $       67.07
Furniture Fixtures Equip   5/20/2015      5 of 10-Black Mesh Chair - SquareOne                                            $      211.77   $          144.70   $       67.07
Furniture Fixtures Equip   5/20/2015      6 of 10-Black Mesh Chair - SquareOne                                            $      211.77   $          144.70   $       67.07
Furniture Fixtures Equip   5/20/2015      7 of 10-Black Mesh Chair - SquareOne                                            $      211.77   $          144.70   $       67.07
Furniture Fixtures Equip   5/20/2015      8 of 10-Black Mesh Chair - SquareOne                                            $      211.77   $          144.70   $       67.07
Furniture Fixtures Equip   5/20/2015      9 of 10-Black Mesh Chair - SquareOne                                            $      211.77   $          144.70   $       67.07
Furniture Fixtures Equip   5/20/2015      10 of 10-Black Mesh Chair - SquareOne                                           $      211.77   $          144.70   $       67.07
Furniture Fixtures Equip   6/1/2015       1 of 12-Polycom 2200-46157-0024 VVX 400 Business Telephone                      $      134.45   $           89.67   $       44.78
Furniture Fixtures Equip   6/1/2015       2 of 12-Polycom 2200-46157-0024 VVX 400 Business Telephone                      $      134.45   $           89.63   $       44.82
Furniture Fixtures Equip   6/1/2015       3 of 12-Polycom 2200-46157-0024 VVX 400 Business Telephone                      $      134.45   $           89.63   $       44.82
Furniture Fixtures Equip   6/1/2015       4 of 12-Polycom 2200-46157-0024 VVX 400 Business Telephone                      $      134.45   $           89.63   $       44.82
Furniture Fixtures Equip   6/1/2015       5 of 12-Polycom 2200-46157-0024 VVX 400 Business Telephone                      $      134.45   $           89.63   $       44.82
Furniture Fixtures Equip   6/1/2015       6 of 12-Polycom 2200-46157-0024 VVX 400 Business Telephone                      $      134.45   $           89.63   $       44.82
Furniture Fixtures Equip   6/1/2015       7 of 12-Polycom 2200-46157-0024 VVX 400 Business Telephone                      $      134.45   $           89.63   $       44.82
Furniture Fixtures Equip   6/1/2015       8 of 12-Polycom 2200-46157-0024 VVX 400 Business Telephone                      $      134.45   $           89.63   $       44.82
Furniture Fixtures Equip   6/1/2015       9 of 12-Polycom 2200-46157-0024 VVX 400 Business Telephone                      $      134.45   $           89.63   $       44.82
Furniture Fixtures Equip   6/1/2015       10 of 12-Polycom 2200-46157-0024 VVX 400 Business Telephone                     $      134.45   $           89.63   $       44.82
Furniture Fixtures Equip   6/1/2015       11 of 12-Polycom 2200-46157-0024 VVX 400 Business Telephone                     $      134.45   $           89.63   $       44.82
Furniture Fixtures Equip   6/1/2015       12 of 12-Polycom 2200-46157-0024 VVX 400 Business Telephone                     $      134.45   $           89.63   $       44.82
Furniture Fixtures Equip   7/1/2015       AIR Furniture                                                                   $   37,226.60   $       24,197.29   $   13,029.31
Furniture Fixtures Equip   7/1/2015       Frosted Glass Divider Panels - SquareOne                                        $    5,574.76   $        3,623.59   $    1,951.17
Furniture Fixtures Equip   11/1/2015      1 of 3-Mahogany Desks - SquareOne                                               $      654.61   $          381.85   $      272.76



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Furniture Fixtures Equip   11/1/2015      2 of 3-Mahogany Desks - SquareOne                                               $     654.60   $          381.85   $      272.75
Furniture Fixtures Equip   11/1/2015      3 of 3-Mahogany Desks - SquareOne                                               $     654.60   $          381.85   $      272.75
Furniture Fixtures Equip   2/22/2016      1 of 15-Costco ProGrid Manager's Chair                                          $     176.55   $           94.17   $       82.38
Furniture Fixtures Equip   2/22/2016      2 of 15-Costco ProGrid Manager's Chair                                          $     176.48   $           94.13   $       82.35
Furniture Fixtures Equip   2/22/2016      3 of 15-Costco ProGrid Manager's Chair                                          $     176.48   $           94.13   $       82.35
Furniture Fixtures Equip   2/22/2016      4 of 15-Costco ProGrid Manager's Chair                                          $     176.48   $           94.13   $       82.35
Furniture Fixtures Equip   2/22/2016      5 of 15-Costco ProGrid Manager's Chair                                          $     176.48   $           94.13   $       82.35
Furniture Fixtures Equip   2/22/2016      6 of 15-Costco ProGrid Manager's Chair                                          $     176.48   $           94.13   $       82.35
Furniture Fixtures Equip   2/22/2016      7 of 15-Costco ProGrid Manager's Chair                                          $     176.48   $           94.13   $       82.35
Furniture Fixtures Equip   2/22/2016      8 of 15-Costco ProGrid Manager's Chair                                          $     176.48   $           94.13   $       82.35
Furniture Fixtures Equip   2/22/2016      9 of 15-Costco ProGrid Manager's Chair                                          $     176.48   $           94.13   $       82.35
Furniture Fixtures Equip   2/22/2016      10 of 15-Costco ProGrid Manager's Chair                                         $     176.48   $           94.13   $       82.35
Furniture Fixtures Equip   2/22/2016      11 of 15-Costco ProGrid Manager's Chair                                         $     176.48   $           94.13   $       82.35
Furniture Fixtures Equip   2/22/2016      12 of 15-Costco ProGrid Manager's Chair                                         $     176.48   $           94.13   $       82.35
Furniture Fixtures Equip   2/22/2016      13 of 15-Costco ProGrid Manager's Chair                                         $     176.48   $           94.13   $       82.35
Furniture Fixtures Equip   2/22/2016      14 of 15-Costco ProGrid Manager's Chair                                         $     176.48   $           94.13   $       82.35
Furniture Fixtures Equip   2/22/2016      15 of 15-Costco ProGrid Manager's Chair                                         $     176.48   $           94.13   $       82.35
Furniture Fixtures Equip   3/7/2016       1 of 12-High Back Manager's Chair - G. Soendker AMEX                            $     187.64   $           96.90   $       90.74
Furniture Fixtures Equip   3/7/2016       2 of 12-High Back Manager's Chair - G. Soendker AMEX                            $     187.59   $           96.93   $       90.66
Furniture Fixtures Equip   3/7/2016       3 of 12-High Back Manager's Chair - G. Soendker AMEX                            $     187.59   $           96.93   $       90.66
Furniture Fixtures Equip   3/7/2016       4 of 12-High Back Manager's Chair - G. Soendker AMEX                            $     187.59   $           96.93   $       90.66
Furniture Fixtures Equip   3/7/2016       5 of 12-High Back Manager's Chair - G. Soendker AMEX                            $     187.59   $           96.93   $       90.66
Furniture Fixtures Equip   3/7/2016       6 of 12-High Back Manager's Chair - G. Soendker AMEX                            $     187.59   $           96.93   $       90.66
Furniture Fixtures Equip   3/7/2016       7 of 12-High Back Manager's Chair - G. Soendker AMEX                            $     187.59   $           96.93   $       90.66
Furniture Fixtures Equip   3/7/2016       8 of 12-High Back Manager's Chair - G. Soendker AMEX                            $     187.59   $           96.93   $       90.66
Furniture Fixtures Equip   3/7/2016       9 of 12-High Back Manager's Chair - G. Soendker AMEX                            $     187.59   $           96.93   $       90.66
Furniture Fixtures Equip   3/7/2016       10 of 12-High Back Manager's Chair - G. Soendker AMEX                           $     187.59   $           96.93   $       90.66
Furniture Fixtures Equip   3/7/2016       11 of 12-High Back Manager's Chair - G. Soendker AMEX                           $     187.59   $           96.93   $       90.66
Furniture Fixtures Equip   3/7/2016       12 of 12-High Back Manager's Chair - G. Soendker AMEX                           $     187.59   $           96.93   $       90.66
Furniture Fixtures Equip   4/1/2016       1 of 12-ProGrid High Back Managers Chair - Costco                               $     173.68   $           86.86   $       86.82
Furniture Fixtures Equip   4/1/2016       2 of 12-ProGrid High Back Managers Chair - Costco                               $     173.71   $           86.85   $       86.86
Furniture Fixtures Equip   4/1/2016       3 of 12-ProGrid High Back Managers Chair - Costco                               $     173.71   $           86.85   $       86.86
Furniture Fixtures Equip   4/1/2016       4 of 12-ProGrid High Back Managers Chair - Costco                               $     173.71   $           86.85   $       86.86
Furniture Fixtures Equip   4/1/2016       5 of 12-ProGrid High Back Managers Chair - Costco                               $     173.71   $           86.85   $       86.86
Furniture Fixtures Equip   4/1/2016       6 of 12-ProGrid High Back Managers Chair - Costco                               $     173.71   $           86.85   $       86.86
Furniture Fixtures Equip   4/1/2016       7 of 12-ProGrid High Back Managers Chair - Costco                               $     173.71   $           86.85   $       86.86
Furniture Fixtures Equip   4/1/2016       8 of 12-ProGrid High Back Managers Chair - Costco                               $     173.71   $           86.85   $       86.86
Furniture Fixtures Equip   4/1/2016       9 of 12-ProGrid High Back Managers Chair - Costco                               $     173.71   $           86.85   $       86.86
Furniture Fixtures Equip   4/1/2016       10 of 12-ProGrid High Back Managers Chair - Costco                              $     173.71   $           86.85   $       86.86
Furniture Fixtures Equip   4/1/2016       11 of 12-ProGrid High Back Managers Chair - Costco                              $     173.71   $           86.85   $       86.86
Furniture Fixtures Equip   4/1/2016       12 of 12-ProGrid High Back Managers Chair - Costco                              $     173.71   $           86.85   $       86.86



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Furniture Fixtures Equip   4/2/2016       TV & Mount - BJ's                                                               $      744.08   $          372.05   $      372.03
Furniture Fixtures Equip   5/1/2016       1 of 5-ProGrid High Back Manager's Chair - Costco (Glenn AMEX)                  $      193.67   $           93.60   $      100.07
Furniture Fixtures Equip   5/1/2016       2 of 5-ProGrid High Back Manager's Chair - Costco (Glenn AMEX)                  $      193.67   $           93.60   $      100.07
Furniture Fixtures Equip   5/1/2016       3 of 5-ProGrid High Back Manager's Chair - Costco (Glenn AMEX)                  $      193.67   $           93.60   $      100.07
Furniture Fixtures Equip   5/1/2016       4 of 5-ProGrid High Back Manager's Chair - Costco (Glenn AMEX)                  $      193.67   $           93.60   $      100.07
Furniture Fixtures Equip   5/1/2016       5 of 5-ProGrid High Back Manager's Chair - Costco (Glenn AMEX)                  $      193.67   $           93.60   $      100.07
Furniture Fixtures Equip   5/3/2016       100 ProGrid High Back Manager's Chair - Costco (Glenn AMEX)                     $   15,632.71   $        7,555.81   $    8,076.90
Furniture Fixtures Equip   5/19/2016      Ricoh MP6001SP - AA Building                                                    $    8,749.80   $        4,229.07   $    4,520.73
Furniture Fixtures Equip   6/1/2016       PCM Sch 184 - 87 Serpentine Workstations                                        $   50,727.33   $       23,672.76   $   27,054.57
Furniture Fixtures Equip   7/1/2016       Refrigerator + Ice Maker - Glenn AMEX - Factory Direct                          $    3,207.38   $        1,443.33   $    1,764.05
Furniture Fixtures Equip   7/1/2016       IKEA Furniture - NY Condo                                                       $    8,619.63   $        3,878.84   $    4,740.79
Furniture Fixtures Equip   7/1/2016       8ft Rectangular Banquet Tables - 21pk                                           $    2,084.49   $          938.02   $    1,146.47
Furniture Fixtures Equip   7/1/2016       1 of 2-12pk Pro Grid Manager's Chair                                            $    2,084.49   $          938.02   $    1,146.47
Furniture Fixtures Equip   7/1/2016       2 of 2-12pk Pro Grid Manager's Chair                                            $    2,084.49   $          938.02   $    1,146.47
Furniture Fixtures Equip   7/1/2016       Upholstered Stacking Chairs - 120pk                                             $    3,126.74   $        1,407.04   $    1,719.70
Furniture Fixtures Equip   7/1/2016       1 of 3-72X24 Espresso Desk - PCM Sch 186                                        $      843.34   $          379.50   $      463.84
Furniture Fixtures Equip   7/1/2016       2 of 3-72X24 Espresso Desk - PCM Sch 186                                        $      843.33   $          379.51   $      463.82
Furniture Fixtures Equip   7/1/2016       3 of 3-72X24 Espresso Desk - PCM Sch 186                                        $      843.33   $          379.51   $      463.82
Furniture Fixtures Equip   7/1/2016       1 of 36-Comps Workstations - PCM Sch 186                                        $    1,191.23   $          536.06   $      655.17
Furniture Fixtures Equip   7/1/2016       2 of 36-Comps Workstations - PCM Sch 186                                        $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       3 of 36-Comps Workstations - PCM Sch 186                                        $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       4 of 36-Comps Workstations - PCM Sch 186                                        $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       5 of 36-Comps Workstations - PCM Sch 186                                        $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       6 of 36-Comps Workstations - PCM Sch 186                                        $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       7 of 36-Comps Workstations - PCM Sch 186                                        $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       8 of 36-Comps Workstations - PCM Sch 186                                        $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       9 of 36-Comps Workstations - PCM Sch 186                                        $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       10 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       11 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       12 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       13 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       14 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       15 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       16 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       17 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       18 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       19 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       20 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       21 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       22 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       23 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27



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Furniture Fixtures Equip   7/1/2016       24 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       25 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       26 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       27 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       28 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       29 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       30 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       31 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       32 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       33 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       34 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       35 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       36 of 36-Comps Workstations - PCM Sch 186                                       $    1,191.40   $          536.13   $      655.27
Furniture Fixtures Equip   7/1/2016       1 of 87-Serpentine Workstations - PCM Sch 187                                   $      609.17   $          274.16   $      335.01
Furniture Fixtures Equip   7/1/2016       2 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       3 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       4 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       5 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       6 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       7 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       8 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       9 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       10 of 87-Serpentine Workstations - PCM Sch 187                                  $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       11 of 87-Serpentine Workstations - PCM Sch 187                                  $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       12 of 87-Serpentine Workstations - PCM Sch 187                                  $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       13 of 87-Serpentine Workstations - PCM Sch 187                                  $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       14 of 87-Serpentine Workstations - PCM Sch 187                                  $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       15 of 87-Serpentine Workstations - PCM Sch 187                                  $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       16 of 87-Serpentine Workstations - PCM Sch 187                                  $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       17 of 87-Serpentine Workstations - PCM Sch 187                                  $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       18 of 87-Serpentine Workstations - PCM Sch 187                                  $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       19 of 87-Serpentine Workstations - PCM Sch 187                                  $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       20 of 87-Serpentine Workstations - PCM Sch 187                                  $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       21 of 87-Serpentine Workstations - PCM Sch 187                                  $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       22 of 87-Serpentine Workstations - PCM Sch 187                                  $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       23 of 87-Serpentine Workstations - PCM Sch 187                                  $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       24 of 87-Serpentine Workstations - PCM Sch 187                                  $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       25 of 87-Serpentine Workstations - PCM Sch 187                                  $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       26 of 87-Serpentine Workstations - PCM Sch 187                                  $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       27 of 87-Serpentine Workstations - PCM Sch 187                                  $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       28 of 87-Serpentine Workstations - PCM Sch 187                                  $      608.81   $          273.96   $      334.85



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                                                    Xceligent Schedule Question 39 - Furniture, Fixtures, and Equipment
         Category              Date Acq                                       Description                                     Cost           Depreciation        Value
Furniture Fixtures Equip   7/1/2016       29 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       30 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       31 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       32 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       33 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       34 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       35 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       36 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       37 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       38 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       39 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       40 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       41 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       42 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       43 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       44 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       45 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       46 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       47 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       48 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       49 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       50 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       51 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       52 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       53 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       54 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       55 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       56 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       57 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       58 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       59 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       60 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       61 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       62 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       63 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       64 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       65 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       66 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       67 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       68 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       69 of 87-Serpentine Workstations - PCM Sch 187                                  $     608.81   $          273.96   $      334.85



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                                                     Xceligent Schedule Question 39 - Furniture, Fixtures, and Equipment
         Category              Date Acq                                          Description                                   Cost            Depreciation        Value
Furniture Fixtures Equip   7/1/2016       70 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       71 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       72 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       73 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       74 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       75 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       76 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       77 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       78 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       79 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       80 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       81 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       82 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       83 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       84 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       85 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       86 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       87 of 87-Serpentine Workstations - PCM Sch 187                                   $      608.81   $          273.96   $      334.85
Furniture Fixtures Equip   7/1/2016       Sled Base Stacking Chair - 32Pk                                                  $    1,667.59   $          750.42   $      917.17
Furniture Fixtures Equip   9/1/2016       PCM Shc189 120 Polycom ip 331 Phone                                              $    7,489.20   $        3,120.50   $    4,368.70
Furniture Fixtures Equip   9/27/2016      Innovative Tech solutions - AC for Telecom Unit                                  $    3,793.48   $        2,634.35   $    1,159.13
Furniture Fixtures Equip   10/1/2016      Training Table - School Outfitters                                               $    2,810.92   $        1,124.36   $    1,686.56
Furniture Fixtures Equip   10/4/2016      1 of 2-ProGrid High Back Chairs - 12pk                                           $    2,084.49   $          833.80   $    1,250.69
Furniture Fixtures Equip   10/4/2016      2 of 2-ProGrid High Back Chairs - 12pk                                           $    2,084.49   $          833.80   $    1,250.69
Furniture Fixtures Equip   12/1/2016      Ricoh Aficio MPC4502-RM New York                                                 $    8,702.40   $        3,190.88   $    5,511.52
Furniture Fixtures Equip   12/1/2016      Cynergy Signs - 24x24 Aluminum Plaque                                            $    1,224.84   $          748.51   $      476.33
Furniture Fixtures Equip   2/1/2017       (18) Office Chairs - Everything Office Inc                                       $    7,916.30   $        2,638.77   $    5,277.53
Furniture Fixtures Equip   2/1/2017       Conference Table - Amazon (B Weller AMEX)                                        $      938.35   $          312.78   $      625.57
Furniture Fixtures Equip   2/9/2017       Ricoh MP4502                                                                     $    8,702.40   $        2,900.80   $    5,801.60
Furniture Fixtures Equip   2/15/2017      Ricoh MP8001 Printer - PCM                                                       $    2,259.25   $          753.08   $    1,506.17
Furniture Fixtures Equip   3/9/2017       12pk ProGrid High Back Chairs - Costco (VISA)                                    $    2,084.49   $          660.09   $    1,424.40
Furniture Fixtures Equip   3/9/2017       18 Black Mesh Chairs - Costco (VISA)                                             $    1,969.48   $          623.67   $    1,345.81
Furniture Fixtures Equip   3/10/2017      IKEA Furniture - K Talbot AMEX                                                   $    4,954.12   $        1,568.80   $    3,385.32
Furniture Fixtures Equip   3/16/2017      12pk ProGrid Chairs - Visa                                                       $    2,151.99   $          681.47   $    1,470.52
Furniture Fixtures Equip   4/1/2017       (3) 12-pk ProGrid High Back Chairs - Costco (VISA)                               $    6,530.97   $        1,959.29   $    4,571.68
Furniture Fixtures Equip   4/1/2017       LG 55in TV - Amazon - B Weller AMEX                                              $      535.94   $          160.78   $      375.16
Furniture Fixtures Equip   4/1/2017       3 Beds - Amazon - B Weller AMEX                                                  $    2,742.45   $          822.74   $    1,919.71
Furniture Fixtures Equip   4/14/2017      (2) 12pk ProGrid High Back Chairs                                                $    4,363.98   $        1,309.20   $    3,054.78
Furniture Fixtures Equip   4/14/2017      (20) Bria Swivel Tilt Desk Chairs                                                $    2,181.78   $          654.54   $    1,527.24
Furniture Fixtures Equip   4/14/2017      (24) Classic Eames Replica Chairs - Amazon - Corp MC                             $    4,975.00   $        1,492.50   $    3,482.50
Furniture Fixtures Equip   4/24/2017      6 Alera Elusion Mid-Back Chairs                                                  $      886.06   $          265.82   $      620.24



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                                                     Xceligent Schedule Question 39 - Furniture, Fixtures, and Equipment
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Furniture Fixtures Equip   5/1/2017       Furniture for OP Office - Working Spaces, Inc.                                   $   36,647.59   $       10,383.49   $   26,264.10
Furniture Fixtures Equip   5/1/2017       1 of 5-55" 4K Westinghouse Smart TV - PCM 198                                    $      399.99   $          113.33   $      286.66
Furniture Fixtures Equip   5/1/2017       2 of 5-55" 4K Westinghouse Smart TV - PCM 198                                    $      399.99   $          113.33   $      286.66
Furniture Fixtures Equip   5/1/2017       3 of 5-55" 4K Westinghouse Smart TV - PCM 198                                    $      399.99   $          113.33   $      286.66
Furniture Fixtures Equip   5/1/2017       4 of 5-55" 4K Westinghouse Smart TV - PCM 198                                    $      399.99   $          113.33   $      286.66
Furniture Fixtures Equip   5/1/2017       5 of 5-55" 4K Westinghouse Smart TV - PCM 198                                    $      399.99   $          113.33   $      286.66
Furniture Fixtures Equip   5/1/2017       1 of 5-65" 4K Westinghouse Smart TV - PCM 198                                    $      599.99   $          170.00   $      429.99
Furniture Fixtures Equip   5/1/2017       2 of 5-65" 4K Westinghouse Smart TV - PCM 198                                    $      599.99   $          170.00   $      429.99
Furniture Fixtures Equip   5/1/2017       3 of 5-65" 4K Westinghouse Smart TV - PCM 198                                    $      599.99   $          170.00   $      429.99
Furniture Fixtures Equip   5/1/2017       4 of 5-65" 4K Westinghouse Smart TV - PCM 198                                    $      599.99   $          170.00   $      429.99
Furniture Fixtures Equip   5/1/2017       5 of 5-65" 4K Westinghouse Smart TV - PCM 198                                    $      599.99   $          170.00   $      429.99
Furniture Fixtures Equip   8/1/2017       (4) Racetrack Tables - SquareOne                                                 $    1,422.93   $          332.02   $    1,090.91
Furniture Fixtures Equip   8/1/2017       (9) Whiteboards - SquareOne                                                      $    4,868.60   $        1,136.01   $    3,732.59
Furniture Fixtures Equip   10/1/2017      Office Furniture for OP Office - Working Spaces                                  $   19,087.19   $        3,817.44   $   15,269.75




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                                      Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                  Description                       Cost             Depreciation         Value
                                  (4) SQL SERVER 2000 ENTERPRISE 1
Computer Hardware   2/1/2004      PROCESS LICENSE                            $       8,000.00   $         7,800.00   $       200.00
Computer Hardware   2/1/2004      PCM 035                                    $       6,239.65   $         6,083.66   $       155.99
Computer Hardware   5/5/2004      SERVER                                     $       2,110.72   $         2,057.95   $        52.77
Computer Hardware   10/31/2005    DELL POWER VAULT                           $       1,985.22   $         1,985.22   $          -
Computer Hardware   10/31/2005    DELL POWEREDGE 2650 SERVER                 $       1,743.90   $         1,700.30   $        43.60
Computer Hardware   10/31/2005    DELL POWEREDGE 2650 SERVER                 $       1,975.56   $         1,926.17   $        49.39
Computer Hardware   10/31/2005    DELL POWEREDGE 6650 SERVER                 $       6,684.73   $         6,517.62   $       167.11
Computer Hardware   10/31/2005    DELL POWEREDGE 6650 SERVER                 $       6,684.73   $         6,517.62   $       167.11
Computer Hardware   10/31/2005    DELL POWEREDGE 6650 SERVER                 $       6,684.73   $         6,517.62   $       167.11
Computer Hardware   10/31/2005    DELL POWEREDGE 2650 SERVER 1               $       2,409.41   $         2,349.18   $        60.23
Computer Hardware   10/31/2005    DELL POWEREDGE 2650 SERVER 2               $       2,409.41   $         2,349.18   $        60.23
Computer Hardware   10/31/2005    DELL POWEREDGE 2650 SERVER 3               $       2,409.41   $         2,349.18   $        60.23
Computer Hardware   10/31/2005    DELL POWEREDGE 2650 SERVER 4               $       2,409.41   $         2,349.18   $        60.23
Computer Hardware   10/31/2005    DELL POWEREDGE 2650 SERVER 5               $       2,409.41   $         2,349.18   $        60.23
Computer Hardware   10/31/2005    SWITCH                                     $       1,452.16   $         1,415.86   $        36.30
Computer Hardware   10/31/2005    9500 Product Documentation                 $      55,453.09   $        54,066.76   $     1,386.33
Computer Hardware   5/23/2006     55)                                        $       1,206.48   $         1,206.48   $          -
Computer Hardware   5/23/2006     55)                                        $       1,206.48   $         1,206.48   $          -
Computer Hardware   5/23/2006     55)                                        $       1,206.48   $         1,206.48   $          -
Computer Hardware   5/23/2006     55)                                        $       1,206.48   $         1,206.48   $          -
Computer Hardware   7/6/2006      CISCO 1841 ROUTER & T1 (SCH 56)            $       1,350.00   $         1,350.00   $          -
Computer Hardware   6/28/2007     (SCH62)                                    $       1,882.00   $         1,882.00   $          -
Computer Hardware   6/28/2007     (SCH62)                                    $       1,977.00   $         1,977.00   $          -
Computer Hardware   6/28/2007     (SCH62)                                    $       3,429.00   $         3,429.00   $          -
Computer Hardware   8/10/2007     LATITUDE D531 (SCH64)                      $       1,509.00   $         1,509.00   $          -
Computer Hardware   8/10/2007     LATITUDE D531 (SCH64)                      $       1,509.00   $         1,509.00   $          -
Computer Hardware   8/10/2007     LATITUDE D531 (SCH64)                      $       1,509.00   $         1,509.00   $          -
Computer Hardware   8/10/2007     VOSTRO 1000 (SCH66)                        $         786.00   $           786.00   $          -
Computer Hardware   8/10/2007     VOSTRO 1000 (SCH66)                        $         786.00   $           786.00   $          -
Computer Hardware   9/12/2007     DELL 1800 MP DLP PROJ (SCH68)              $         679.00   $           679.00   $          -
Computer Hardware   9/12/2007     DELL 1800 MP DLP PROJ (SCH68)              $         679.00   $           679.00   $          -



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                   Description                      Cost             Depreciation         Value
Computer Hardware   9/12/2007       DELL 1800 MP DLP PROJ (SCH68)             $         679.00   $           679.00   $           -
Computer Hardware   9/12/2007       DELL 1800 MP DLP PROJ (SCH68)             $         679.00   $           679.00   $           -
Computer Hardware   9/12/2007       DELL POWEREDGE 2650 SRVR (SCH67) $                2,547.00   $         2,547.00   $           -
Computer Hardware   9/12/2007       DELL POWEREDGE 2650 SRVR (SCH67) $                2,547.00   $         2,547.00   $           -
Computer Hardware   9/12/2007       (SCH67)                                   $       3,453.00   $         3,453.00   $           -
Computer Hardware   9/12/2007       4-DELL VOSTRO 1000 NTBKS (SCH67)          $       3,144.00   $         3,144.00   $           -
Computer Hardware   9/12/2007       DELL PRECISION M90 (SCH69)                $       2,005.00   $         2,005.00   $           -
Computer Hardware   11/12/2007      DELL PRECISION M90 (SCH70)                $       2,781.75   $         2,781.75   $           -
Computer Hardware   11/12/2007      VL TLPS MSTR CONNECTION (SCH70)           $       2,352.03   $         2,352.03   $           -
Computer Hardware   6/20/2008       Dell PE-2850 533 FBD 2U Server            $       1,223.63   $         1,223.63   $           -
Computer Hardware   9/9/2008        Baseline Switch transceiver 46M dup       $       1,445.00   $         1,445.00   $           -

Computer Hardware   9/24/2008       5500G Port Baseline Switch Trans (Sch76)   $    11,844.00    $        11,844.00   $           -
Computer Hardware   10/1/2008       Fibre/Sata Drives (Sch078)                 $     2,317.60    $         2,317.60   $           -
Computer Hardware   10/8/2008       Computer Geeks Video Card                  $       597.00    $           597.00   $           -
Computer Hardware   11/3/2008       Stallard Dell Poweredge6650 & 850          $     1,657.00    $         1,657.00   $           -
Computer Hardware   1/8/2009        Foundry Serveriron XL                      $       835.00    $           835.00   $           -
Computer Hardware   2/27/2009       3Com Switch for Sedalia                    $       788.00    $           788.00   $           -
Computer Hardware   3/1/2009        (2)Dell Vostro 1510 Intel Core 2 du        $     4,998.00    $         4,998.00   $           -
Computer Hardware   3/1/2009        (4)Dell LattitudeD520(Sch81)               $     9,595.00    $         9,595.00   $           -
Computer Hardware   3/1/2009        Dell poweredge R900 (SCH 082)              $    21,904.00    $        21,904.00   $           -
Computer Hardware   4/1/2009        (4) Dell Precision 390 (Sch 083)           $     1,936.00    $         1,936.00   $           -
Computer Hardware   5/1/2009        19" LCD Display (45) (Sch084)              $     5,580.00    $         5,580.00   $           -
Computer Hardware   6/17/2009       (5)DEll Vostro 1520 (3)1720 (Sch85)        $     6,107.00    $         6,107.00   $           -
Computer Hardware   7/13/2009       (1)Dell Poweredge R900 W/ralis (1)Q        $     7,573.00    $         7,573.00   $           -
Computer Hardware   7/15/2009       (24) 19" LCD Display (Sch 87)              $     2,976.00    $         2,976.00   $           -
Computer Hardware   11/1/2009       Dell Vostro 1720 (Sch 88) 2/5              $     1,075.00    $         1,075.00   $           -
Computer Hardware   11/1/2009       Dell Vostro 1720 (Sch 88) 3/5              $     1,075.00    $         1,075.00   $           -
Computer Hardware   11/1/2009       Dell Vostro 1720 (Sch 88) 4/5              $     1,075.00    $         1,075.00   $           -
Computer Hardware   11/1/2009       Dell Vostro 1720 (Sch 88) 5/5              $     1,075.00    $         1,075.00   $           -
                                    4 Cisco Switches 3 Dell Precision 390
Computer Hardware   1/1/2010        (Sch90)                                    $      1,790.00   $         1,790.00   $           -
Computer Hardware   2/1/2010        Dell Vostro 1720 (5) (Sch 91)              $      4,515.00   $         4,515.00   $           -


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Computer Hardware   2/1/2010        Windows Server Std 2008 (Sch 92)          $      11,042.70   $      11,042.70   $           -
                                    (3)Dell Vostro 1720 (4)Dell Vostro 1520
Computer Hardware   5/1/2010        (Sch094)                                  $       6,729.00   $       6,729.00   $           -
                                    (40)Polycom Soundpoint IP 330 SIP VoIP
Computer Hardware   6/1/2010        Phone                                     $       4,391.56   $       4,391.56   $           -
Computer Hardware   6/1/2010        (5)Dell Vostro 1015                       $       3,740.00   $       3,740.00   $           -
                                    (10)Dell Precision 670 WrkStations Dual
Computer Hardware   6/1/2010        VGA                                       $       4,220.00   $       4,220.00   $           -
                                    792589 Cisco ASA 5510 w/SW 3FE
Computer Hardware   7/1/2010        3DES/AES                                  $       2,331.99   $       1,923.90   $       408.09
Computer Hardware   4/1/2011        Dell Vostro 3500 (3) (SCH 99)             $       2,154.00   $       2,154.00   $          -
Computer Hardware   4/8/2011        Server location:Indep                     $       1,200.00   $       1,200.00   $          -
Computer Hardware   7/1/2011        Dell Mobile Precision M4600 (Sch100)      $       2,363.99   $       2,363.99   $          -

Computer Hardware   7/1/2011        Dell Poweredge 2950 Dual 5160 16GB Mem    $      1,024.00    $       1,024.00   $           -
Computer Hardware   8/1/2011        Dell Mobile Precision M4600 (sch 101)     $      1,528.00    $       1,528.00   $           -
Computer Hardware   10/1/2011       Poweredge R410 Chassis (Sch 102)          $      8,247.00    $       8,247.00   $           -
Computer Hardware   10/1/2011       HP Compaq Microtowers (13) (Sch 103)      $      1,495.00    $       1,495.00   $           -
Computer Hardware   10/1/2011       HP Compaq 6910p laptop (6) (Sch 103)      $      1,530.00    $       1,530.00   $           -
Computer Hardware   10/1/2011       19" LCD Monitors (26) (Sch 103)           $      1,690.00    $       1,690.00   $           -
Computer Hardware   10/11/2011      IPAD MC769LL/H Black 16GB WIF             $        540.49    $         540.49   $           -
Computer Hardware   10/24/2011      Dell Laptop for Doug Curry                $        988.06    $         988.06   $           -
Computer Hardware   12/1/2011       AMS Sata Expansion FrameVSphere V5        $     16,991.00    $      16,991.00   $           -
                                    Cisco SGE2010P 48 Port Poe Gigabit
Computer Hardware   2/7/2012        Switch                                    $        938.01    $         938.01   $           -
                                    Cisco SGE2010P 48 Port Poe Gigabit
Computer Hardware   2/7/2012        Switch                                    $        938.01    $         938.01   $           -
                                    Cisco SGE2010P 48 Port Poe Gigabit
Computer Hardware   2/7/2012        Switch                                    $        938.02    $         938.02   $           -
                                    HP 15.6" Pavilion Laptop 6GB Memory 640
Computer Hardware   2/24/2012       GB Hard dr                                $        580.79    $         580.79   $           -
Computer Hardware   3/1/2012        Dell Optiplex 390 Desktop (Sch 108)       $        710.50    $         710.50   $           -
Computer Hardware   3/1/2012        Dell Optiplex 390 Desktop (Sch 108)       $        710.50    $         710.50   $           -
Computer Hardware   3/1/2012        Dell Optiplex 390 Desktop (Sch 108)       $        710.50    $         710.50   $           -



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                                      Xceligent Schedule Question 41 - Office Equipment
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Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.50   $           710.50   $           -
Computer Hardware   3/1/2012       Dell Optiplex 390 Desktop (Sch 108)       $        710.79   $           710.79   $           -



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                     Description                     Cost           Depreciation         Value
Computer Hardware   3/13/2012       Dell Vostro 3555 Laptop                   $         696.22   $         696.22   $           -
Computer Hardware   4/10/2012       Apple Mac Book Pro 13" laptop             $       1,195.25   $       1,195.25   $           -
                                    PCM Brocade 3800 16 Active Ports Fibre
Computer Hardware   4/20/2012       Switch                                    $         626.32   $         626.32   $           -
Computer Hardware   4/26/2012       Lenovo 15.6" IdeaPad Laptop 6GB Silver    $         600.86   $         600.86   $           -
Computer Hardware   5/1/2012        IPAD 4G 16GB WAR6002                      $         680.87   $         680.87   $           -
Computer Hardware   5/1/2012        IPAD 4G 16GB WAR6002                      $         680.87   $         680.87   $           -
Computer Hardware   5/1/2012        IPAD 4G 16GB WAR6002                      $         680.87   $         680.87   $           -
Computer Hardware   5/1/2012        IPAD 4G 16GB WAR6002                      $         680.87   $         680.87   $           -
Computer Hardware   5/1/2012        IPAD 4G 16GB WAR6002                      $         680.87   $         680.87   $           -
Computer Hardware   5/1/2012        IPAD 4G 16GB WAR6002                      $         680.87   $         680.87   $           -
Computer Hardware   5/1/2012        IPAD 4G 16GB WAR6002                      $         680.87   $         680.87   $           -
Computer Hardware   5/1/2012        IPAD 4G 16GB WAR6002                      $         680.87   $         680.87   $           -
Computer Hardware   5/1/2012        IPAD 4G 16GB WAR6002                      $         680.87   $         680.87   $           -
Computer Hardware   5/3/2012        Vostro 3750 Laptop 6GB (Sch 109)          $       1,018.00   $       1,018.00   $           -
Computer Hardware   5/3/2012        Vostro 3750 Laptop 6GB (Sch 109)          $       1,018.00   $       1,018.00   $           -
Computer Hardware   5/3/2012        Vostro 3750 Laptop 6GB (Sch 109)          $       1,018.00   $       1,018.00   $           -
Computer Hardware   5/3/2012        Vostro 3750 Laptop 4GB (Sch 109)          $         748.00   $         748.00   $           -
Computer Hardware   5/3/2012        Vostro 3750 Laptop 4GB (Sch 109)          $         748.00   $         748.00   $           -
Computer Hardware   5/3/2012        Vostro 3750 Laptop 4GB (Sch 109)          $         748.00   $         748.00   $           -
Computer Hardware   5/3/2012        Vostro 3550 Laptop 6GB (Sch 109)          $         948.00   $         948.00   $           -
Computer Hardware   5/3/2012        IPAD 4G 16GB WAR6002                      $         680.86   $         680.86   $           -
Computer Hardware   5/3/2012        IPAD 4G 16GB WAR6002                      $         680.86   $         680.86   $           -
Computer Hardware   5/3/2012        IPAD 4G 16GB WAR6002                      $         680.86   $         680.86   $           -
Computer Hardware   5/18/2012       50" LCD HDTV and TV mount                 $         722.06   $         722.06   $           -
Computer Hardware   6/8/2012        Apple Mini Mac desktop                    $         609.03   $         609.03   $           -
Computer Hardware   6/18/2012       Mac Mini (2)View Sonic Monitors           $       1,395.72   $       1,395.72   $           -
Computer Hardware   6/21/2012       Cisco Ethernet switch Lee's Summit        $         660.99   $         660.99   $           -
Computer Hardware   6/27/2012       6 Sony Cameras from Walmart               $       1,076.92   $       1,076.92   $           -
Computer Hardware   6/27/2012       Dell D520 Laptop (Sch 110)                $       4,784.00   $       4,784.00   $           -
Computer Hardware   6/28/2012       Smart UPS 750VA 8 outlet rack             $         528.45   $         528.45   $           -
Computer Hardware   7/1/2012        Vostro 3750 Laptop (Sch 111)              $         823.71   $         823.71   $           -



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                                      Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                  Description                      Cost            Depreciation         Value
Computer Hardware   7/1/2012       Vostro 3750 Laptop (Sch 111)              $        823.71   $           823.71   $           -
Computer Hardware   7/1/2012       Vostro 3750 Laptop (Sch 111)              $        823.71   $           823.71   $           -
Computer Hardware   7/1/2012       Vostro 3750 Laptop (Sch 111)              $        823.71   $           823.71   $           -
Computer Hardware   7/1/2012       Vostro 3750 Laptop (Sch 111)              $        823.71   $           823.71   $           -
Computer Hardware   7/1/2012       Vostro 3750 Laptop (Sch 111)              $        823.74   $           823.74   $           -
Computer Hardware   7/1/2012       Vostro 3750 Laptop (Sch 111)              $        823.71   $           823.71   $           -

Computer Hardware   7/1/2012       (32)Lenovo ThinkPad T61 lapto refurbished   $    8,257.36   $         8,257.36   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -
Computer Hardware   7/1/2012       Optiplex 390 Dt13-2120 (Sch 115)            $      997.00   $           997.00   $           -



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Computer Hardware   7/1/2012        Optiplex 390 Dt13-2120 (Sch 115)           $         997.00   $           997.00   $           -
Computer Hardware   7/1/2012        Optiplex 390 Dt13-2120 (Sch 115)           $         997.00   $           997.00   $           -
Computer Hardware   7/1/2012        Optiplex 390 Dt13-2120 (Sch 115)           $         997.00   $           997.00   $           -
Computer Hardware   7/1/2012        Optiplex 390 Dt13-2120 (Sch 115)           $         997.00   $           997.00   $           -
Computer Hardware   7/1/2012        Optiplex 390 Dt13-2120 (Sch 115)           $         997.00   $           997.00   $           -
Computer Hardware   7/1/2012        Optiplex 390 Dt13-2120 (Sch 115)           $         997.00   $           997.00   $           -
Computer Hardware   7/1/2012        Optiplex 390 Dt13-2120 (Sch 115)           $         997.00   $           997.00   $           -
Computer Hardware   7/1/2012        Optiplex 390 Dt13-2120 (Sch 115)           $         997.00   $           997.00   $           -
Computer Hardware   7/1/2012        Optiplex 390 Dt13-2120 (Sch 115)           $         997.00   $           997.00   $           -
Computer Hardware   7/1/2012        Optiplex 390 Dt13-2120 (Sch 115)           $         997.00   $           997.00   $           -
Computer Hardware   7/1/2012        Optiplex 390 Dt13-2120 (Sch 115)           $         997.00   $           997.00   $           -
                                    Startech.com Rackcons1701 lcd rack
Computer Hardware   7/16/2012       console                                    $         805.14   $           805.14   $           -
Computer Hardware   8/1/2012        LifeSize Room 220 10x camera phone         $      14,268.00   $        14,268.00   $           -
Computer Hardware   8/1/2012        LifeSize Room 220 10 camera-phone          $      14,268.00   $        14,268.00   $           -
Computer Hardware   8/1/2012        LG executive all in One (Sch 119)          $       2,133.57   $         2,133.57   $           -
Computer Hardware   8/1/2012        LG executive all in One (Sch 119)          $       2,133.57   $         2,133.57   $           -

Computer Hardware   8/1/2012        SMART Board 885 UX60 Projector GO W       $       6,697.00    $         6,697.00   $           -
Computer Hardware   8/1/2012        Smart Board 885 UX60 Projector GO W       $       6,697.00    $         6,697.00   $           -
Computer Hardware   8/1/2012        Sharp 70" edge LED 120hz w/table          $       2,569.00    $         2,569.00   $           -
Computer Hardware   8/1/2012        Sharp 70" Edge LED fusion Adj Wall        $       2,767.00    $         2,767.00   $           -
Computer Hardware   8/1/2012        Audio/video Switching equip and rack      $       3,807.00    $         3,807.00   $           -
Computer Hardware   8/1/2012        LC Executive all in One 100-000H-0        $       2,133.57    $         2,133.57   $           -
Computer Hardware   8/1/2012        Vostro 3550 Laptop (Sch 116)              $         778.00    $           778.00   $           -
Computer Hardware   8/1/2012        Vostro 3550 Laptop (Sch 116)              $         778.00    $           778.00   $           -
Computer Hardware   8/1/2012        Vostro 3550 Laptop (Sch 116)              $         778.00    $           778.00   $           -
Computer Hardware   8/1/2012        Vostro 3550 Laptop (Sch 116)              $         778.00    $           778.00   $           -
Computer Hardware   8/1/2012        Vostro 3550 Laptop (Sch 116)              $         778.00    $           778.00   $           -
Computer Hardware   8/1/2012        Vostro 3550 Laptop (Sch 116)              $         778.00    $           778.00   $           -
Computer Hardware   8/1/2012        Vostro 3550 Laptop (Sch 116)              $         778.00    $           778.00   $           -
Computer Hardware   8/1/2012        Vostro 3550 Laptop (Sch 116)              $         778.00    $           778.00   $           -
Computer Hardware   8/1/2012        Vostro 3550 Laptop (Sch 116)              $         778.00    $           778.00   $           -


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       Category         Date Acq                    Description                      Cost             Depreciation         Value
Computer Hardware   8/1/2012        Vostro 3550 Laptop (Sch 116)               $         778.00   $           778.00   $           -
Computer Hardware   8/1/2012        iPad WI-FI 16 GB Black + Apple Care        $         598.00   $           598.00   $           -
Computer Hardware   8/1/2012        iPad WI-FI 16 GB Black + Apple Care        $         598.00   $           598.00   $           -
Computer Hardware   8/1/2012        iPad WI-FI 16 GB Black + Apple Care        $         598.00   $           598.00   $           -
Computer Hardware   8/1/2012        iPad WI-FI 16 GB Black + Apple Care        $         598.00   $           598.00   $           -
Computer Hardware   8/1/2012        iPad WI-FI 16 GB Black + Apple Care        $         598.00   $           598.00   $           -
Computer Hardware   8/1/2012        iPad WI-FI 16 GB Black + Apple Care        $         598.00   $           598.00   $           -
Computer Hardware   8/1/2012        iPad WI-FI 16 GB Black + Apple Care        $         598.00   $           598.00   $           -
Computer Hardware   8/1/2012        iPad WI-FI 16 GB Black + Apple Care        $         598.00   $           598.00   $           -
Computer Hardware   8/1/2012        iPad WI-FI 16 GB Black + Apple Care        $         598.00   $           598.00   $           -
Computer Hardware   8/1/2012        iPad WI-FI 16 GB Black + Apple Care        $         598.00   $           598.00   $           -
Computer Hardware   8/1/2012        Sequel Server Replacement                  $       6,175.00   $         6,175.00   $           -
Computer Hardware   8/1/2012        Sequel Server Replacement                  $       6,175.00   $         6,175.00   $           -
Computer Hardware   8/1/2012        Life Size team 220 10xcamera-phone         $      11,098.00   $        11,098.00   $           -
Computer Hardware   8/1/2012        Sharp 70" Edge LED 120 hz w/table          $       2,569.00   $         2,569.00   $           -
Computer Hardware   8/1/2012        SMART Board 885 w/UX60 Projector           $       6,697.00   $         6,697.00   $           -

Computer Hardware   8/1/2012        Computer Audio Video Switching Equipment   $      1,619.00    $         1,619.00   $           -
Computer Hardware   8/1/2012        LG Executive All in One 1000-00H-00384     $      2,133.57    $         2,133.57   $           -
Computer Hardware   8/1/2012        LG Executive All in One 1000-00H-00384     $      2,133.57    $         2,133.57   $           -
Computer Hardware   8/1/2012        LG Executive All in One 1000-00H-0384      $      2,133.57    $         2,133.57   $           -
Computer Hardware   8/1/2012        LG Executive All in One 1000-00H-0384      $      2,133.57    $         2,133.57   $           -
Computer Hardware   8/1/2012        LifeSize CS100 Clear Sea Server            $     11,849.00    $        11,849.00   $           -
Computer Hardware   8/1/2012        (10)Lenovo thinkPad T61 laptop             $      2,499.90    $         2,499.90   $           -
Computer Hardware   8/1/2012        (35)Polycom Soundpoint IP 331              $      2,380.00    $         2,380.00   $           -
Computer Hardware   8/1/2012        (35)Optiplex 390DT Windows Server          $     38,325.00    $        38,325.00   $           -
Computer Hardware   8/1/2012        (40)Plantronics M175CR BIN Headset         $      1,293.77    $         1,293.77   $           -
Computer Hardware   9/1/2012        Dell Vostro 3750 Laptop                    $        967.22    $           967.22   $           -
Computer Hardware   10/1/2012       Inspiron 5520 15R Notebook (Sch 129)       $      1,366.99    $         1,366.99   $           -
Computer Hardware   10/1/2012       Inspiron 5520 15R Notebook (Sch 129)       $      1,366.99    $         1,366.99   $           -
Computer Hardware   10/1/2012       Inspiron 5520 15R Notebook (Sch 129)       $      1,366.99    $         1,366.99   $           -
Computer Hardware   10/1/2012       Inspiron 5520 15R Notebook (Sch 129)       $      1,366.99    $         1,366.99   $           -



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                    Description                      Cost           Depreciation         Value
Computer Hardware   10/1/2012       Inspiron 5520 15R Notebook (Sch 129)      $       1,366.99   $       1,366.99   $           -
Computer Hardware   10/1/2012       Inspiron 5520 15R Notebook (Sch 129)      $       1,366.99   $       1,366.99   $           -
Computer Hardware   10/1/2012       Inspiron 5720 17R Notebook (Sch 129)      $         868.99   $         868.99   $           -
                                    Dell XPS8500 AOC 23" LED monitor (Sch
Computer Hardware   10/1/2012       130)                                      $       1,194.98   $       1,194.98   $           -
                                    Dell XPS8500 AOC 23" LED monitor (Sch
Computer Hardware   10/1/2012       130)                                      $       1,194.98   $       1,194.98   $           -
                                    Dell XPS8500 AOC 23" LED monitor (Sch
Computer Hardware   10/1/2012       130)                                      $       1,194.98   $       1,194.98   $           -
                                    Dell XPS8500 AOC 23" LED monitor (Sch
Computer Hardware   10/1/2012       130)                                      $       1,194.98   $       1,194.98   $           -
                                    Dell XPS8500 AOC 23" LED monitor (Sch
Computer Hardware   10/1/2012       130)                                      $       1,194.98   $       1,194.98   $           -
                                    Dell XPS8500 AOC 23" LED monitor (Sch
Computer Hardware   10/1/2012       130)                                      $       1,194.98   $       1,194.98   $           -
                                    Dell XPS8500 AOC 23" LED monitor (Sch
Computer Hardware   10/1/2012       130)                                      $       1,194.98   $       1,194.98   $           -
                                    Dell XPS8500 AOC 23" LED monitor (Sch
Computer Hardware   10/1/2012       130)                                      $       1,194.98   $       1,194.98   $           -
                                    Dell XPS8500 AOC 23" LED monitor (Sch
Computer Hardware   10/1/2012       130)                                      $       1,194.98   $       1,194.98   $           -
                                    Dell XPS8500 AOC 23" LED monitor (Sch
Computer Hardware   10/1/2012       130)                                      $       1,194.92   $       1,194.92   $           -

Computer Hardware   10/1/2012       (7)Sandisk 240GB SSD Extreme (Sch 130)    $       1,189.93   $       1,189.93   $           -
                                    (3)Vertex 3VTX3-25SAT3-240-SSD (Sch
Computer Hardware   10/1/2012       130)                                      $         569.97   $         569.97   $           -
Computer Hardware   10/1/2012       Wall Racks for Computer Hardware          $         709.80   $         709.80   $           -
Computer Hardware   11/1/2012       Dell Computer for Doug Curry              $       1,566.58   $       1,566.58   $           -
Computer Hardware   12/1/2012       SGE20109 Cisco 48Pt POE                   $         880.70   $         880.70   $           -
Computer Hardware   12/21/2012      NetStandard 2wan 5 port switch            $         563.16   $         563.16   $           -
Computer Hardware   1/3/2013        SRB conduit for network connection        $       2,500.00   $       2,500.00   $           -
Computer Hardware   1/7/2013        Hitachi 6 gb hard drive                   $         527.99   $         527.99   $           -
Computer Hardware   1/22/2013       Cisco Linskys 48 port switch              $         957.99   $         957.99   $           -




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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                    Description                      Cost            Depreciation         Value
                                   iPad w/Retina display WIFI16G +Apple Care
Computer Hardware   2/1/2013       (Sch135)                                   $        598.00   $           598.00   $           -
                                   iPad w/Retina display WIFI16G +Apple Care
Computer Hardware   2/1/2013       (Sch135)                                   $        598.00   $           598.00   $           -
                                   iPad w/Retina display WIFI16G +Apple Care
Computer Hardware   2/1/2013       (Sch135)                                   $        598.00   $           598.00   $           -
                                   iPad w/Retina display WIFI16G +Apple Care
Computer Hardware   2/1/2013       (Sch135)                                   $        598.00   $           598.00   $           -
                                   iPad w/Retina display WIFI16G +Apple Care
Computer Hardware   2/1/2013       (Sch135)                                   $        598.00   $           598.00   $           -
Computer Hardware   2/4/2013       Lifesize passport HD Video System          $        820.00   $           820.00   $           -
Computer Hardware   2/4/2013       LifeSize LG Video Conferencing System      $        949.00   $           949.00   $           -
Computer Hardware   2/8/2013       Dell Latitude E5530 (Sch 134)              $        918.20   $           918.20   $           -
Computer Hardware   2/8/2013       Dell Latitude E5530 (Sch 134)              $        918.20   $           918.20   $           -
Computer Hardware   2/8/2013       Dell Latitude E5530 (Sch 134)              $        918.20   $           918.20   $           -
Computer Hardware   2/8/2013       Dell Latitude E5530 (Sch 134)              $        918.20   $           918.20   $           -
Computer Hardware   2/8/2013       Dell Latitude E5530 (Sch 134)              $        918.20   $           918.20   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                  $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                  $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                  $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                  $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                  $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                  $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                  $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                  $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                  $        999.00   $           999.00   $           -



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                                      Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                      Cost            Depreciation         Value
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                 $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                 $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                 $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                 $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                 $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                 $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                 $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                 $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                 $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                 $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                 $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                 $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                 $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                 $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                 $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                 $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                 $        999.00   $           999.00   $           -
                                   Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013       (Sch 137)                                 $        999.00   $           999.00   $           -



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                                        Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                     Description                      Cost             Depreciation         Value
                                    Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013        (Sch 137)                                  $         999.00   $           999.00   $           -
                                    Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013        (Sch 137)                                  $         999.00   $           999.00   $           -
                                    Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013        (Sch 137)                                  $         999.00   $           999.00   $           -
                                    Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013        (Sch 137)                                  $         999.00   $           999.00   $           -
                                    Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013        (Sch 137)                                  $         999.00   $           999.00   $           -
                                    Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013        (Sch 137)                                  $         999.00   $           999.00   $           -
                                    Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013        (Sch 137)                                  $         999.00   $           999.00   $           -
                                    Optiplex 3010 Desktop w/2 22" monitors
Computer Hardware   3/1/2013        (Sch 137)                                  $         999.00   $           999.00   $           -
Computer Hardware   3/1/2013        Dell Latitude E5530 (Sch 136)              $         934.95   $           934.95   $           -
Computer Hardware   3/1/2013        Dell Latitude E5530 (Sch 136)              $         934.95   $           934.95   $           -
Computer Hardware   3/1/2013        Dell Latitude E5530 (Sch 136)              $         934.95   $           934.95   $           -
Computer Hardware   3/1/2013        Dell Latitude E5530 (Sch 136)              $         934.95   $           934.95   $           -
Computer Hardware   3/1/2013        Dell Latitude E5530 (Sch 136)              $         934.95   $           934.95   $           -
Computer Hardware   3/21/2013       (2)Apple Mac Mini' 2.0 GHz Intel Core      $         514.50   $           514.50   $           -
                                    (2)Element 46" LCD 1080p 60 Hz HDTV and
Computer Hardware   3/28/2013       mounts                                     $         967.96   $           967.96   $           -
Computer Hardware   3/29/2013       VIZIO E series Razor LED 60" HDTV          $       1,042.24   $         1,042.24   $           -
Computer Hardware   4/1/2013        Dell Latitude E5530 (Sch 139)              $         924.32   $           924.32   $           -
Computer Hardware   4/1/2013        Dell Latitude E5530 (Sch 139)              $         924.32   $           924.32   $           -
Computer Hardware   4/1/2013        Dell Latitude E5530 (Sch 139)              $         924.32   $           924.32   $           -
Computer Hardware   4/1/2013        Dell Latitude E5530 (Sch 139)              $         924.32   $           924.32   $           -
Computer Hardware   4/1/2013        Dell Latitude E5530 (Sch 139)              $         924.32   $           924.32   $           -
Computer Hardware   4/1/2013        Cisco 48 Port rack                         $         695.00   $           695.00   $           -
Computer Hardware   4/1/2013        LifeSize 200 Video Conferencing Bldg 12    $       2,447.24   $         2,447.24   $           -
Computer Hardware   4/1/2013        LifeSize 1000 Video Conferencing LS        $       1,477.90   $         1,477.90   $           -
                                    OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013        (Sch140)                                   $       1,020.36   $         1,020.36   $           -


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                                      Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                      Cost             Depreciation         Value
                                   OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013       (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                   OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013       (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                   OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013       (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                   OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013       (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                   OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013       (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                   OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013       (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                   OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013       (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                   OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013       (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                   OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013       (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                   OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013       (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                   OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013       (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                   OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013       (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                   OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013       (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                   OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013       (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                   OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013       (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                   OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013       (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                   OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013       (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                   OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013       (Sch140)                                  $       1,020.24   $         1,020.24   $           -



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                    Description                      Cost             Depreciation         Value
                                    OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013        (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                    OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013        (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                    OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013        (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                    OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013        (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                    OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013        (Sch140)                                  $       1,020.24   $         1,020.24   $           -
                                    OptiPlex 3010 Desktop Standard PSU
Computer Hardware   5/1/2013        (Sch140)                                  $       1,020.24   $         1,020.24   $           -
Computer Hardware   5/7/2013        ATIV Smart PC 500T64GB                    $         540.47   $           540.47   $           -
Computer Hardware   5/9/2013        MS ASUS Zenbook Prime Touch               $       2,804.06   $         2,804.06   $           -

Computer Hardware   5/16/2013       Cisco 48 Ports Rack Mountable Switch POE     $      913.50   $           913.50   $           -
                                    Optiplex 3010 PSU (2)22" Dell Monitor (Sch
Computer Hardware   6/1/2013        141)                                         $    1,010.91   $         1,010.91   $           -
                                    Optiplex 3010 PSU (2)22" Dell Monitor (Sch
Computer Hardware   6/1/2013        141)                                         $    1,010.91   $         1,010.91   $           -
                                    Optiplex 3010 PSU (2)22" Dell Monitor (Sch
Computer Hardware   6/1/2013        141)                                         $    1,010.91   $         1,010.91   $           -
                                    Optiplex 3010 PSU (2)22" Dell Monitor (Sch
Computer Hardware   6/1/2013        141)                                         $    1,010.91   $         1,010.91   $           -
                                    Optiplex 3010 PSU (2)22" Dell Monitor (Sch
Computer Hardware   6/1/2013        141)                                         $    1,010.91   $         1,010.91   $           -
                                    Optiplex 3010 PSU (2)22" Dell Monitor (Sch
Computer Hardware   6/1/2013        141)                                         $    1,010.91   $         1,010.91   $           -
                                    Optiplex 3010 PSU (2)22" Dell Monitor (Sch
Computer Hardware   6/1/2013        141)                                         $    1,010.91   $         1,010.91   $           -
Computer Hardware   6/1/2013        Dell Latitide E5530 (Sch 142)                $      876.42   $           876.42   $           -
Computer Hardware   6/1/2013        Dell Latitide E5530 (Sch 142)                $      876.43   $           876.43   $           -
Computer Hardware   6/1/2013        Dell Latitide E5530 (Sch 142)                $      876.43   $           876.43   $           -
Computer Hardware   6/1/2013        Dell Latitide E5530 (Sch 142)                $      876.43   $           876.43   $           -
Computer Hardware   6/1/2013        Dell Latitide E5530 (Sch 142)                $      876.43   $           876.43   $           -
Computer Hardware   6/1/2013        Dell Latitide E5530 (Sch 142)                $      876.43   $           876.43   $           -


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                                       Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                     Description                    Cost             Depreciation         Value
Computer Hardware   6/1/2013        Dell Latitide E5530 (Sch 142)             $         876.43   $           876.43   $           -
Computer Hardware   6/1/2013        XPS 8500 (Sch 143)                        $       1,106.41   $         1,106.41   $           -
Computer Hardware   6/1/2013        XPS 8500 (Sch 143)                        $       1,106.41   $         1,106.41   $           -
Computer Hardware   6/1/2013        XPS 8500 (Sch 143)                        $       1,106.41   $         1,106.41   $           -
Computer Hardware   6/1/2013        XPS 8500 (Sch 143)                        $       1,106.41   $         1,106.41   $           -
Computer Hardware   6/1/2013        XPS 8500 (Sch 143)                        $       1,106.41   $         1,106.41   $           -
                                    XPS 8500 W/Dell 23 " wide screen (Sch
Computer Hardware   6/1/2013        144)                                      $       1,446.41   $         1,446.41   $           -
                                    XPS 8500 W/Dell 23 " wide screen (Sch
Computer Hardware   6/1/2013        144)                                      $       1,446.41   $         1,446.41   $           -
                                    XPS 8500 W/Dell 23 " wide screen (Sch
Computer Hardware   6/1/2013        144)                                      $       1,446.41   $         1,446.41   $           -
                                    XPS 8500 W/Dell 23 " wide screen (Sch
Computer Hardware   6/1/2013        144)                                      $       1,446.41   $         1,446.41   $           -
                                    1XPS 8500 W/Dell 23 " wide screen (Sch
Computer Hardware   6/1/2013        144)                                      $       1,446.41   $         1,446.41   $           -
                                    XPS 8500 W/Dell 23 " wide screen (Sch
Computer Hardware   6/1/2013        144)                                      $       1,446.39   $         1,446.39   $           -
                                    Dell Poweredge R710 8-Port 2U Rack
Computer Hardware   6/1/2013        Mount Server                              $       1,599.00   $         1,599.00   $           -
                                    Dell Poweredge R710 6-Port 2U Rack
Computer Hardware   6/1/2013        Mount Server                              $       1,889.00   $         1,889.00   $           -
                                    Dell Poweredge R710 6-Port 2U Rack
Computer Hardware   6/1/2013        Mount Server                              $       1,889.00   $         1,889.00   $           -
                                    Dell Poweredge R710 6 Port 2U Rack
Computer Hardware   6/1/2013        Mount Server                              $       1,889.00   $         1,889.00   $           -
                                    Dell Poweredge R710 6 Port 2U Rack
Computer Hardware   6/1/2013        Mount Server                              $       1,889.00   $         1,889.00   $           -

Computer Hardware   7/10/2013       Force10 10GB Networkin Switch and cables   $      1,648.64   $         1,648.64   $           -
                                    APC Smart Ups3000VA XL power back up
Computer Hardware   7/17/2013       rackmount                                  $      1,123.18   $         1,123.18   $           -
                                    APC Smart Ups 3000VA XL Power back up
Computer Hardware   7/17/2013       rack mount                                 $       587.82    $           587.82   $           -
Computer Hardware   7/29/2013       MicroCenter HP COM PR 4540S laptop         $       651.95    $           651.95   $           -
Computer Hardware   8/1/2013        2Dell Precision T5600 and 4 monitors       $    16,318.90    $        16,318.90   $           -


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                                      Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                   Description                     Cost             Depreciation         Value
Computer Hardware   8/1/2013       Freight on Sch 148                           $      245.00   $           245.00   $           -
Computer Hardware   8/9/2013       Cisco SGE2010P w/rack mounts                 $    1,495.35   $         1,495.35   $           -
Computer Hardware   8/14/2013      Cisco SGE2010 Switch                         $    1,579.15   $         1,579.15   $           -
Computer Hardware   9/1/2013       Inspiron 15 Notebook 3521 (Sch 149)          $      495.31   $           495.31   $           -
Computer Hardware   9/1/2013       Inspiron 15 Notebook 3521 (Sch 149)          $      495.07   $           495.07   $           -
Computer Hardware   9/1/2013       Inspiron 15 Notebook 3521 (Sch 149)          $      495.07   $           495.07   $           -
Computer Hardware   9/1/2013       Inspiron 15 Notebook 3521 (Sch 149)          $      495.07   $           495.07   $           -
Computer Hardware   9/1/2013       Inspiron 15 Notebook 3521 (Sch 149)          $      495.07   $           495.07   $           -
Computer Hardware   9/1/2013       Inspiron 15 Notebook 3521 (Sch 149)          $      495.07   $           495.07   $           -
Computer Hardware   9/1/2013       Inspiron 15 Notebook 3521 (Sch 149)          $      495.07   $           495.07   $           -
Computer Hardware   9/1/2013       Inspiron 15 Notebook 3521 (Sch 149)          $      495.07   $           495.07   $           -
Computer Hardware   9/1/2013       Inspiron 15 Notebook 3521 (Sch 149)          $      495.07   $           495.07   $           -
Computer Hardware   9/1/2013       Inspiron 15 Notebook 3521 (Sch 149)          $      495.07   $           495.07   $           -
Computer Hardware   9/1/2013       Inspiron 15 Notebook 3521 (Sch 149)          $      495.07   $           495.07   $           -
Computer Hardware   9/1/2013       Inspiron 15 Notebook 3521 (Sch 149)          $      495.07   $           495.07   $           -
Computer Hardware   9/1/2013       Inspiron 15 Notebook 3521 (Sch 149)          $      495.07   $           495.07   $           -
Computer Hardware   9/1/2013       Inspiron 15 Notebook 3521 (Sch 149)          $      495.07   $           495.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3 yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -




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                                      Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                    Description                     Cost             Depreciation         Value
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitirs 3 yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
                                   Inspiron 660 w/2 monitors 3yr warranty (Sch
Computer Hardware   9/1/2013       149)                                         $    1,083.07   $         1,083.07   $           -
Computer Hardware   9/1/2013       Dell Latitude E5530 (Sch 149)                $      912.07   $           912.07   $           -
Computer Hardware   9/1/2013       Dell Latitude E5530 (Sch 149)                $      912.07   $           912.07   $           -
Computer Hardware   9/1/2013       Dell Latitude E5530 (Sch 149)                $      912.07   $           912.07   $           -


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                                       Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                    Description                     Cost             Depreciation         Value
Computer Hardware   9/1/2013        Dell Latitude E5530 (Sch 149)             $         912.07   $           912.07   $           -
Computer Hardware   9/1/2013        Dell Latitude E5530 (Sch 149)             $         912.07   $           912.07   $           -
Computer Hardware   9/1/2013        Dell Latitude E5530 (Sch 149)             $         912.07   $           912.07   $           -
Computer Hardware   9/1/2013        Dell Latitude E5530 (Sch 149)             $         912.07   $           912.07   $           -
Computer Hardware   9/1/2013        Dell Latitude E5530 (Sch 149)             $         912.07   $           912.07   $           -
Computer Hardware   9/1/2013        Dell Latitude E5530 (Sch 149)             $         912.07   $           912.07   $           -
Computer Hardware   9/1/2013        Dell Latitude E5530 (Sch 149)             $         912.07   $           912.07   $           -
Computer Hardware   9/1/2013        Dell Latitude E5530 (Sch 149)             $         912.07   $           912.07   $           -
Computer Hardware   9/1/2013        Dell Latitude E5530 (Sch 149)             $         912.07   $           912.07   $           -
Computer Hardware   9/1/2013        Dell Latitude E5530 (Sch 149)             $         912.07   $           912.07   $           -
Computer Hardware   9/1/2013        Dell Latitude E5530 (Sch 149)             $         912.07   $           912.07   $           -
                                    iPad wi-fi 16GB Black + Applecare (Sch
Computer Hardware   9/1/2013        150)                                      $         598.00   $           598.00   $           -
                                    iPad wi-fi 16GB Black + Applecare (Sch
Computer Hardware   9/1/2013        150)                                      $         598.00   $           598.00   $           -
                                    iPad wi-fi 16GB Black + Applecare (Sch
Computer Hardware   9/1/2013        150)                                      $         598.00   $           598.00   $           -
                                    iPad wi-fi 16GB Black + Applecare (Sch
Computer Hardware   9/1/2013        150)                                      $         598.00   $           598.00   $           -
                                    iPad wi-fi 16GB Black + Applecare (Sch
Computer Hardware   9/1/2013        150)                                      $         598.00   $           598.00   $           -
                                    iPad wi-fi 16GB Black + Applecare (Sch
Computer Hardware   9/1/2013        150)                                      $         598.00   $           598.00   $           -
                                    iPad wi-fi 16GB Black + Applecare (Sch
Computer Hardware   9/1/2013        150)                                      $         598.00   $           598.00   $           -
                                    IPSG 50' Westinghouse LED TV+3yr
Computer Hardware   9/4/2013        service                                   $         591.48   $           591.48   $           -
                                    IPSG 50' Westinghouse LED TV+3yr
Computer Hardware   9/4/2013        service                                   $         591.48   $           591.48   $           -
                                    IPSG 50' Westinghouse LED TV+3yr
Computer Hardware   9/4/2013        service                                   $         591.47   $           591.47   $           -
Computer Hardware   10/1/2013       Microsoft Surface Nate Lipowicz           $       1,231.43   $         1,231.43   $           -
Computer Hardware   10/1/2013       Microsoft Surface Bryan Little            $       1,231.42   $         1,231.42   $           -
                                    iPad WI-FI 16GB Black + Applecare (Sch
Computer Hardware   11/1/2013       151)                                      $         598.00   $           598.00   $           -


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                                        Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                     Description                      Cost            Depreciation         Value
                                    iPad WI-FI 16GB Black + Applecare (Sch
Computer Hardware   11/1/2013       151)                                       $        598.00   $           598.00   $           -
                                    iPad WI-FI 16GB Black + Applecare (Sch
Computer Hardware   11/1/2013       151)                                       $        598.00   $           598.00   $           -
                                    iPad WI-FI 16GB Black + Applecare (Sch
Computer Hardware   11/1/2013       151)                                       $        598.00   $           598.00   $           -
                                    iPad WI-FI 16GB Black + Applecare (Sch
Computer Hardware   11/1/2013       151)                                       $        598.00   $           598.00   $           -
                                    iPad WI-FI 16GB Black + Applecare (Sch
Computer Hardware   11/1/2013       151)                                       $        598.00   $           598.00   $           -
                                    iPad WI-FI 16GB Black + Applecare (Sch
Computer Hardware   11/1/2013       151)                                       $        598.00   $           598.00   $           -
                                    iPad WI-FI 16GB Black + Applecare (Sch
Computer Hardware   11/1/2013       151)                                       $        598.00   $           598.00   $           -
                                    iPad WI-FI 16GB Black + Applecare (Sch
Computer Hardware   11/1/2013       151)                                       $        598.00   $           598.00   $           -
                                    iPad WI-FI 16GB Black + Applecare (Sch
Computer Hardware   11/1/2013       151)                                       $        598.00   $           598.00   $           -
                                    1 of 14-(14)Lenovo B590 Laptop Nat'l Dr
Computer Hardware   11/1/2013       Team (Sch 152)                             $        431.98   $           431.98   $           -
Computer Hardware   11/1/2013       Inspiron 3521 Notebook (Sch 153)           $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013       Inspiron 3521 Notebook (Sch 153)           $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013       Inspiron 3521 Notebook (Sch 153)           $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013       Inspiron 3521 Notebook (Sch 153)           $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013       Inspiron 3521 Notebook (Sch 153)           $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013       Inspiron 3521 Notebook (Sch 153)           $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013       Inspiron 3521 Notebook (Sch 153)           $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013       Inspiron 3521 Notebook (Sch 153)           $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013       Inspiron 3521 Notebook (Sch 153)           $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013       Inspiron 3521 Notebook (Sch 153)           $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013       Inspiron 3521 Notebook (Sch 153)           $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013       Inspiron 3521 Notebook (Sch 153)           $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013       Inspiron 3521 Notebook (Sch 153)           $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013       Inspiron 3521 Notebook (Sch 153)           $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013       Inspiron 3521 Notebook (Sch 153)           $        683.00   $           683.00   $           -


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                                     Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                     Cost            Depreciation         Value
Computer Hardware   11/1/2013     Inspiron 3521 Notebook (Sch 153)          $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013     Inspiron 3521 Notebook (Sch 153)          $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013     Inspiron 3521 Notebook (Sch 153)          $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013     Inspiron 3521 Notebook (Sch 153)          $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013     Inspiron 3521 Notebook (Sch 153)          $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013     Inspiron 3521 Notebook (Sch 153)          $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013     Inspiron 3521 Notebook (Sch 153)          $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013     Inspiron 3521 Notebook (Sch 153)          $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013     Inspiron 3521 Notebook (Sch 153)          $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013     Inspiron 3521 Notebook (Sch 153)          $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013     Inspiron 3521 Notebook (Sch 153)          $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013     Inspiron 3521 Notebook (Sch 153)          $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013     Inspiron 3521 Notebook (Sch 153)          $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013     Inspiron 3521 Notebook (Sch 153)          $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013     Inspiron 3521 Notebook (Sch 153)          $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013     Inspiron 3521 Notebook (Sch 153)          $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013     Inspiron 3521 Notebook (Sch 153)          $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013     Inspiron 3521 Notebook (Sch 153)          $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013     Inspiron 3521 Notebook (Sch 153)          $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013     Inspiron 3521 Notebook (Sch 153)          $        683.00   $           683.00   $           -
Computer Hardware   11/1/2013     Inspiron 660 (Sch 153)                    $        660.00   $           660.00   $           -
Computer Hardware   11/1/2013     Inspiron 660 (Sch 153)                    $        660.00   $           660.00   $           -
Computer Hardware   11/1/2013     Inspiron 660 (Sch 153)                    $        660.00   $           660.00   $           -
Computer Hardware   11/1/2013     Inspiron 660 (Sch 153)                    $        660.00   $           660.00   $           -
Computer Hardware   11/1/2013     Inspiron 660 (Sch 153)                    $        660.00   $           660.00   $           -
Computer Hardware   11/1/2013     Inspiron 660 (Sch 153)                    $        660.00   $           660.00   $           -
Computer Hardware   11/1/2013     Inspiron 660 (Sch 153)                    $        660.00   $           660.00   $           -
Computer Hardware   11/1/2013     Inspiron 660 (Sch 153)                    $        660.00   $           660.00   $           -
Computer Hardware   11/1/2013     Inspiron 660 (Sch 153)                    $        660.00   $           660.00   $           -
Computer Hardware   11/1/2013     Inspiron 660 (Sch 153)                    $        660.00   $           660.00   $           -
Computer Hardware   11/1/2013     Inspiron 660 (Sch 153)                    $        660.00   $           660.00   $           -
Computer Hardware   11/1/2013     Inspiron 660 (Sch 153)                    $        660.00   $           660.00   $           -



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                                        Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                     Description                      Cost             Depreciation         Value
Computer Hardware   11/1/2013       Inspiron 660 (Sch 153)                     $         660.00   $           660.00   $           -
Computer Hardware   11/1/2013       Inspiron 660 (Sch 153)                     $         660.00   $           660.00   $           -
Computer Hardware   11/1/2013       Inspiron 660 (Sch 153)                     $         660.00   $           660.00   $           -
Computer Hardware   11/1/2013       Inspiron 660 (Sch 153)                     $         660.00   $           660.00   $           -
Computer Hardware   11/1/2013       Inspiron 660 (Sch 153)                     $         660.00   $           660.00   $           -
Computer Hardware   11/1/2013       Inspiron 660 (Sch 153)                     $         660.00   $           660.00   $           -
Computer Hardware   11/1/2013       Inspiron 660 (Sch 153)                     $         660.00   $           660.00   $           -
Computer Hardware   11/1/2013       Inspiron 660 (Sch 153)                     $         660.00   $           660.00   $           -
Computer Hardware   11/1/2013       Inspiron 660 (Sch 153)                     $         660.00   $           660.00   $           -
Computer Hardware   11/1/2013       Inspiron 660 (Sch 153)                     $         660.00   $           660.00   $           -
Computer Hardware   11/1/2013       Inspiron 660 (Sch 153)                     $         660.00   $           660.00   $           -
Computer Hardware   11/1/2013       Inspiron 660 (Sch 153)                     $         660.00   $           660.00   $           -
Computer Hardware   11/1/2013       Inspiron 660 (Sch 153)                     $         660.00   $           660.00   $           -
Computer Hardware   11/1/2013       (10)Polycom IP 335 (Sch 153)               $       1,128.00   $         1,128.00   $           -
                                    2 of 14-(14)Lenovo B590 Laptop Nat'l Dr
Computer Hardware   11/1/2013       Team (Sch 152)                             $         431.99   $           431.99   $           -
                                    3 of 14-(14)Lenovo B590 Laptop Nat'l Dr
Computer Hardware   11/1/2013       Team (Sch 152)                             $         431.99   $           431.99   $           -
                                    4 of 14-(14)Lenovo B590 Laptop Nat'l Dr
Computer Hardware   11/1/2013       Team (Sch 152)                             $         431.99   $           431.99   $           -
                                    5 of 14-(14)Lenovo B590 Laptop Nat'l Dr
Computer Hardware   11/1/2013       Team (Sch 152)                             $         431.99   $           431.99   $           -
                                    6 of 14-(14)Lenovo B590 Laptop Nat'l Dr
Computer Hardware   11/1/2013       Team (Sch 152)                             $         431.99   $           431.99   $           -
                                    7 of 14-(14)Lenovo B590 Laptop Nat'l Dr
Computer Hardware   11/1/2013       Team (Sch 152)                             $         431.99   $           431.99   $           -
                                    8 of 14-(14)Lenovo B590 Laptop Nat'l Dr
Computer Hardware   11/1/2013       Team (Sch 152)                             $         431.99   $           431.99   $           -
                                    9 of 14-(14)Lenovo B590 Laptop Nat'l Dr
Computer Hardware   11/1/2013       Team (Sch 152)                             $         431.99   $           431.99   $           -
                                    10 of 14-(14)Lenovo B590 Laptop Nat'l Dr
Computer Hardware   11/1/2013       Team (Sch 152)                             $         431.99   $           431.99   $           -
                                    11 of 14-(14)Lenovo B590 Laptop Nat'l Dr
Computer Hardware   11/1/2013       Team (Sch 152)                             $         431.99   $           431.99   $           -



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                     Description                     Cost            Depreciation         Value
                                    12 of 14-(14)Lenovo B590 Laptop Nat'l Dr
Computer Hardware   11/1/2013       Team (Sch 152)                            $        431.99   $           431.99   $           -
                                    13 of 14-(14)Lenovo B590 Laptop Nat'l Dr
Computer Hardware   11/1/2013       Team (Sch 152)                            $        431.99   $           431.99   $           -
Computer Hardware   11/4/2013       Samsung ATIV Laptop 6gb memory            $        535.29   $           535.29   $           -

Computer Hardware   11/4/2013       (5)Cisco Systems WAP321-A-K9 Wireless     $       937.65    $           937.65   $           -

Computer Hardware   11/4/2013       Cisco SGE2000 Managed Switch SGE2000      $       750.00    $           750.00   $           -

Computer Hardware   11/6/2013       Cisco Layer-3 3750 PoE Switch WSC3750     $      2,159.94   $         2,159.94   $           -

Computer Hardware   11/7/2013       Sett 5U Wall Mount Cabinet Network Rack   $      2,504.50   $         2,504.50   $           -
                                    Lifesize Express 220 HD Video Conf
Computer Hardware   11/15/2013      w/camera                                  $      3,050.00   $         3,050.00   $           -
                                    Lifesize Team 220HD Video Conf w/camera
Computer Hardware   11/15/2013      & phone                                   $      5,050.00   $         5,050.00   $           -
Computer Hardware   12/1/2013       3 Dell I15 notebooks                      $        913.41   $           913.41   $           -
Computer Hardware   12/1/2013       Epson EX5220 XGA Wireless projector       $        590.00   $           590.00   $           -
Computer Hardware   12/3/2013       Lenovodir Flex 15 laptop Gig Harbor       $      1,166.33   $         1,166.33   $           -
Computer Hardware   12/3/2013       Lenovodir Flex 15 Independence            $      1,166.32   $         1,166.32   $           -
Computer Hardware   12/3/2013       Epson EX5220 XGA Wireless projector       $        515.90   $           515.90   $           -
                                    APC SUA3000RMXL3U Smart UPS XL 120
Computer Hardware   1/1/2014        V                                         $        595.00   $           595.00   $           -
Computer Hardware   1/1/2014        Best Buy Elite Plus Computer              $      1,480.37   $         1,480.37   $           -
Computer Hardware   1/7/2014        Epson EX5210 XGA 3LCD Projector           $        544.99   $           544.99   $           -

Computer Hardware   2/3/2014        IPAD 16GB GRAY + Applecare (SCH 154)      $       598.00    $           598.00   $           -

Computer Hardware   2/3/2014        IPAD 16GB GRAY + Applecare (SCH 154)      $       598.00    $           598.00   $           -

Computer Hardware   2/3/2014        IPAD 16GB GRAY + Applecare (SCH 154)      $       598.00    $           598.00   $           -

Computer Hardware   2/3/2014        IPAD 16GB GRAY + Applecare (SCH 154)      $       598.00    $           598.00   $           -

Computer Hardware   2/3/2014        IPAD 16GB GRAY + Applecare (SCH 154)      $       598.00    $           598.00   $           -


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                                       Xceligent Schedule Question 41 - Office Equipment
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Computer Hardware   2/3/2014        IPAD 16GB GRAY + Applecare (SCH 154)      $       598.00   $           598.00   $           -

Computer Hardware   2/3/2014        IPAD 16GB GRAY + Applecare (SCH 154)      $       598.00   $           598.00   $           -
Computer Hardware   2/4/2014        Cisco ASA 5510 Series V04 Adaptive        $       738.95   $           738.95   $           -
                                    Micro Center ASUS MH71 Computer
Computer Hardware   2/12/2014       Developer                                 $     1,401.37   $         1,401.37   $           -
                                    Micro Center ASUS MH71 Dev Comp +
Computer Hardware   2/12/2014       Chrome Book                               $     1,690.80   $         1,690.80   $           -
Computer Hardware   2/12/2014       Staples 3 Epson EX5220 XGA Projector      $     1,394.50   $         1,394.50   $           -
                                    Micro Center ASUS MH71 Computer for
Computer Hardware   2/14/2014       Dev                                       $     1,410.47   $         1,410.47   $           -

Computer Hardware   2/22/2014       LifeSize Team MP Video Confernce System   $     1,241.00   $         1,241.00   $           -
                                    LifeSize Team 220 Video Conferencing w/
Computer Hardware   2/22/2014       Phone used for Demo                       $     3,095.00   $         3,095.00   $           -
                                    1 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014        (sch 155)                                 $       736.00   $           736.00   $           -
                                    2 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014        (sch 155)                                 $       736.00   $           736.00   $           -
                                    3 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014        (sch 155)                                 $       736.00   $           736.00   $           -
                                    4 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014        (sch 155)                                 $       736.00   $           736.00   $           -
                                    5 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014        (sch 155)                                 $       736.00   $           736.00   $           -
                                    6 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014        (sch 155)                                 $       736.00   $           736.00   $           -
                                    7 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014        (sch 155)                                 $       736.00   $           736.00   $           -
                                    8 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014        (sch 155)                                 $       736.00   $           736.00   $           -
                                    9 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014        (sch 155)                                 $       736.00   $           736.00   $           -
                                    10 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014        (sch 155)                                 $       736.00   $           736.00   $           -



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                                       Xceligent Schedule Question 41 - Office Equipment
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                                   11 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014       (sch 155)                                  $        736.00   $           736.00   $           -
                                   12 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014       (sch 155)                                  $        736.00   $           736.00   $           -
                                   13 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014       (sch 155)                                  $        736.00   $           736.00   $           -
                                   14 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014       (sch 155)                                  $        736.00   $           736.00   $           -
                                   15 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014       (sch 155)                                  $        736.00   $           736.00   $           -
                                   16 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014       (sch 155)                                  $        736.00   $           736.00   $           -
                                   17 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014       (sch 155)                                  $        736.00   $           736.00   $           -
                                   18 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014       (sch 155)                                  $        736.00   $           736.00   $           -
                                   19 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014       (sch 155)                                  $        736.00   $           736.00   $           -
                                   20 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014       (sch 155)                                  $        736.00   $           736.00   $           -
                                   21 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014       (sch 155)                                  $        736.00   $           736.00   $           -
                                   22 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014       (sch 155)                                  $        736.00   $           736.00   $           -
                                   23 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014       (sch 155)                                  $        736.00   $           736.00   $           -
                                   24 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014       (sch 155)                                  $        736.00   $           736.00   $           -
                                   25 of 25-OptiPlex 2010 Desktop Computer
Computer Hardware   4/1/2014       (sch 155)                                  $        736.00   $           736.00   $           -
Computer Hardware   4/1/2014       1 of 50-Dell 24 Monitor (sch 155)          $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       2 of 50-Dell 24 Monitor (sch 155)          $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       3 of 50-Dell 24 Monitor (sch 155)          $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       4 of 50-Dell 24 Monitor (sch 155)          $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       5 of 50-Dell 24 Monitor (sch 155)          $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       6 of 50-Dell 24 Monitor (sch 155)          $        145.00   $           145.00   $           -


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                                       Xceligent Schedule Question 41 - Office Equipment
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Computer Hardware   4/1/2014       7 of 50-Dell 24 Monitor (sch 155)          $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       8 of 50-Dell 24 Monitor (sch 155)          $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       9 of 50-Dell 24 Monitor (sch 155)          $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       10 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       11 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       12 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       13 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       14 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       15 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       16 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       17 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       18 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       19 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       20 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       21 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       22 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       23 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       24 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       25 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       26 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       27 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       28 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       29 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       30 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       31 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       32 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       33 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       34 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       35 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       36 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       37 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -
Computer Hardware   4/1/2014       38 of 50-Dell 24 Monitor (sch 155)         $        145.00   $           145.00   $           -



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                    Description                     Cost             Depreciation         Value
Computer Hardware   4/1/2014       39 of 50-Dell 24 Monitor (sch 155)         $         145.00   $           145.00   $           -
Computer Hardware   4/1/2014       40 of 50-Dell 24 Monitor (sch 155)         $         145.00   $           145.00   $           -
Computer Hardware   4/1/2014       41 of 50-Dell 24 Monitor (sch 155)         $         145.00   $           145.00   $           -
Computer Hardware   4/1/2014       42 of 50-Dell 24 Monitor (sch 155)         $         145.00   $           145.00   $           -
Computer Hardware   4/1/2014       43 of 50-Dell 24 Monitor (sch 155)         $         145.00   $           145.00   $           -
Computer Hardware   4/1/2014       44 of 50-Dell 24 Monitor (sch 155)         $         145.00   $           145.00   $           -
Computer Hardware   4/1/2014       45 of 50-Dell 24 Monitor (sch 155)         $         145.00   $           145.00   $           -
Computer Hardware   4/1/2014       46 of 50-Dell 24 Monitor (sch 155)         $         145.00   $           145.00   $           -
Computer Hardware   4/1/2014       47 of 50-Dell 24 Monitor (sch 155)         $         145.00   $           145.00   $           -
Computer Hardware   4/1/2014       48 of 50-Dell 24 Monitor (sch 155)         $         145.00   $           145.00   $           -
Computer Hardware   4/1/2014       49 of 50-Dell 24 Monitor (sch 155)         $         145.00   $           145.00   $           -
Computer Hardware   4/1/2014       50 of 50-Dell 24 Monitor (sch 155)         $         145.00   $           145.00   $           -
Computer Hardware   4/1/2014       1 of 4-Inspiron 17R Notebook (sch 155)     $       1,079.00   $         1,079.00   $           -
Computer Hardware   4/1/2014       2 of 4-Inspiron 17R Notebook (sch 155)     $       1,079.00   $         1,079.00   $           -
Computer Hardware   4/1/2014       3 of 4-Inspiron 17R Notebook (sch 155)     $       1,079.00   $         1,079.00   $           -
Computer Hardware   4/1/2014       4 of 4-Inspiron 17R Notebook (sch 155)     $       1,079.00   $         1,079.00   $           -
Computer Hardware   4/1/2014       1 of 4-Inspiron 15R Notebook (sch 155)     $       1,029.00   $         1,029.00   $           -
Computer Hardware   4/1/2014       2 of 4-Inspiron 15R Notebook (sch 155)     $       1,029.00   $         1,029.00   $           -
Computer Hardware   4/1/2014       3 of 4-Inspiron 15R Notebook (sch 155)     $       1,029.00   $         1,029.00   $           -
Computer Hardware   4/1/2014       4 of 4-Inspiron 15R Notebook (sch 155)     $       1,029.00   $         1,029.00   $           -
                                   1 of 4-Dell SuperSpeed USB 3.0 Docking
Computer Hardware   4/1/2014       Station (sch 155)                          $         139.00   $           139.00   $           -
                                   2 of 4-Dell SuperSpeed USB 3.0 Docking
Computer Hardware   4/1/2014       Station (sch 155)                          $         139.00   $           139.00   $           -
                                   3 of 4-Dell SuperSpeed USB 3.0 Docking
Computer Hardware   4/1/2014       Station (sch 155)                          $         139.00   $           139.00   $           -
                                   4 of 4-Dell SuperSpeed USB 3.0 Docking
Computer Hardware   4/1/2014       Station (sch 155)                          $         139.00   $           139.00   $           -
                                   1 of 6-Micro Center-notebooks IPSG
Computer Hardware   4/4/2014       E6400/CD2/2.4/4/160/D7P                    $         303.79   $           303.79   $           -
                                   2 of 6-Micro Center-notebooks IPSG
Computer Hardware   4/4/2014       E6400/CD2/2.4/4/160/D7P                    $         303.79   $           303.79   $           -
                                   3 of 6-Micro Center-notebooks IPSG
Computer Hardware   4/4/2014       E6400/CD2/2.4/4/160/D7P                    $         303.79   $           303.79   $           -


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                                        Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                     Description                      Cost            Depreciation         Value
                                    4 of 6-Micro Center-notebooks IPSG
Computer Hardware   4/4/2014        E6400/CD2/2.4/4/160/D7P                    $        303.79   $           303.79   $           -
                                    5 of 6-Micro Center-notebooks IPSG
Computer Hardware   4/4/2014        E6400/CD2/2.4/4/160/D7P                    $        303.79   $           303.79   $           -
                                    6 of 6-Micro Center-notebooks IPSG
Computer Hardware   4/4/2014        E6400/CD2/2.4/4/160/D7P                    $        303.79   $           303.79   $           -
                                    Cisco 3750 Series 46 Port Switch-Network
Computer Hardware   4/15/2014       Switch for Blue Springs                    $        839.90   $           839.90   $           -

Computer Hardware   5/1/2014        1 of 3-Apple iPad 3 16GB Wi-Fi (sch 156)     $      260.00   $           260.00   $           -

Computer Hardware   5/1/2014        2 of 3-Apple iPad 3 16GB Wi-Fi (sch 156)     $      260.00   $           260.00   $           -

Computer Hardware   5/1/2014        3 of 3-Apple iPad 3 16GB Wi-Fi (sch 156)     $      260.00   $           260.00   $           -
Computer Hardware   5/1/2014        Apple iPad 2 16GB Wi-Fi (sch 156)            $      230.00   $           230.00   $           -
                                    1 of 10-Dell E6410 Latitude Notebooks (sch
Computer Hardware   5/1/2014        156)                                         $      225.00   $           225.00   $           -
                                    2 of 10-Dell E6410 Latitude Notebooks (sch
Computer Hardware   5/1/2014        156)                                         $      225.00   $           225.00   $           -
                                    3 of 10-Dell E6410 Latitude Notebooks (sch
Computer Hardware   5/1/2014        156)                                         $      225.00   $           225.00   $           -
                                    4 of 10-Dell E6410 Latitude Notebooks (sch
Computer Hardware   5/1/2014        156)                                         $      225.00   $           225.00   $           -
                                    5 of 10-Dell E6410 Latitude Notebooks (sch
Computer Hardware   5/1/2014        156)                                         $      225.00   $           225.00   $           -
                                    6 of 10-Dell E6410 Latitude Notebooks (sch
Computer Hardware   5/1/2014        156)                                         $      225.00   $           225.00   $           -
                                    7 of 10-Dell E6410 Latitude Notebooks (sch
Computer Hardware   5/1/2014        156)                                         $      225.00   $           225.00   $           -
                                    8 of 10-Dell E6410 Latitude Notebooks (sch
Computer Hardware   5/1/2014        156)                                         $      225.00   $           225.00   $           -
                                    9 of 10-Dell E6410 Latitude Notebooks (sch
Computer Hardware   5/1/2014        156)                                         $      225.00   $           225.00   $           -
                                    10 of 10-Dell E6410 Latitude Notebooks
Computer Hardware   5/1/2014        (sch 156)                                    $      225.00   $           225.00   $           -
                                    1 of 3-Dell E6510 Latitude Notebook (sch
Computer Hardware   5/1/2014        156)                                         $      245.00   $           245.00   $           -


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       Category        Date Acq                     Description                      Cost             Depreciation         Value
                                    2 of 3-Dell E6510 Latitude Notebook (sch
Computer Hardware   5/1/2014        156)                                       $         245.00   $           245.00   $           -
                                    3 of 3-Dell E6510 Latitude Notebook (sch
Computer Hardware   5/1/2014        156)                                       $         245.00   $           245.00   $           -
                                    Staples - 4 Refurbished Brother All-In-One
Computer Hardware   5/9/2014        Printer                                    $         561.43   $           561.43   $           -
Computer Hardware   6/9/2014        Digium Wildcard TE412P                     $       1,774.04   $         1,774.04   $           -
                                    MicroCenter-Asus laptop computer
Computer Hardware   6/11/2014       4700HQ/8G/750/15.6                         $         867.99   $           867.99   $           -
Computer Hardware   7/1/2014        Video Conferncing w/focus camera           $         930.00   $           930.00   $           -
                                    Best Buy-IdeaPad Yoga2 13.3" and USB
Computer Hardware   7/1/2014        VGA display adapter                        $       1,348.09   $         1,348.09   $           -
                                    2 Rack Mount Servers for production (sch
Computer Hardware   7/1/2014        158)                                       $       8,787.00   $         8,787.00   $           -
                                    1 of 7-Apple iPad Air 16GB plus 2 year
Computer Hardware   7/1/2014        apple care+(sch 157)                       $         598.00   $           598.00   $           -
                                    2 of 7-Apple iPad Air 16GB plus 2 year
Computer Hardware   7/1/2014        apple care+(sch 157)                       $         598.00   $           598.00   $           -
                                    3 of 7-Apple iPad Air 16GB plus 2 year
Computer Hardware   7/1/2014        apple care+(sch 157)                       $         598.00   $           598.00   $           -
                                    4 of 7-Apple iPad Air 16GB plus 2 year
Computer Hardware   7/1/2014        apple care+(sch 157)                       $         598.00   $           598.00   $           -
                                    5 of 7-Apple iPad Air 16GB plus 2 year
Computer Hardware   7/1/2014        apple care+(sch 157)                       $         598.00   $           598.00   $           -
                                    6 of 7-Apple iPad Air 16GB plus 2 year
Computer Hardware   7/1/2014        apple care+(sch 157)                       $         598.00   $           598.00   $           -
                                    7 of 7-Apple iPad Air 16GB plus 2 year
Computer Hardware   7/1/2014        apple care+(sch 157)                       $         598.00   $           598.00   $           -

Computer Hardware   7/1/2014        1 of 8-Dell E6410 Latitude Laptop (sch 157)   $      225.00   $           225.00   $           -

Computer Hardware   7/1/2014        2 of 8-Dell E6410 Latitude Laptop (sch 157)   $      225.00   $           225.00   $           -

Computer Hardware   7/1/2014        3 of 8-Dell E6410 Latitude Laptop (sch 157)   $      225.00   $           225.00   $           -

Computer Hardware   7/1/2014        4 of 8-Dell E6410 Latitude Laptop (sch 157)   $      225.00   $           225.00   $           -



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                       Cost              Depreciation         Value

Computer Hardware   7/1/2014        5 of 8-Dell E6410 Latitude Laptop (sch 157)   $      225.00   $           225.00   $           -

Computer Hardware   7/1/2014        6 of 8-Dell E6410 Latitude Laptop (sch 157)   $      225.00   $           225.00   $           -

Computer Hardware   7/1/2014        7 of 8-Dell E6410 Latitude Laptop (sch 157)   $      225.00   $           225.00   $           -

Computer Hardware   7/1/2014        8 of 8-Dell E6410 Latitude Laptop (sch 157)   $      225.00   $           225.00   $           -
                                    1 of 2-MicroCenter-Lenovodir Flex2
Computer Hardware   7/1/2014        computer for Steig Seaward                    $      867.99   $           867.99   $           -
                                    2 of 2-MicroCenter-Lenovodir Flex2
Computer Hardware   7/1/2014        computer for David O'Rell                     $      867.99   $           867.99   $           -
                                    Microsoft Lenovodir YOGA2 computer for
Computer Hardware   7/1/2014        Daniel Ceniceros                              $      976.49   $           976.49   $           -
Computer Hardware   7/1/2014        MicroCenter - Lenovodir U530 computer         $      683.54   $           683.54   $           -
Computer Hardware   7/1/2014        CCIM Lenovo laptop-Pan Lucas                  $      914.59   $           914.59   $           -
Computer Hardware   7/1/2014        CCIM Lenovo Laptop-Brett Baldwin              $      914.59   $           914.59   $           -
Computer Hardware   7/1/2014        CCIM-Lenovo laptop for Brooks Baldwin         $      914.59   $           914.59   $           -
Computer Hardware   7/1/2014        CCIM-Lenovo laptop for Carol Campbell         $    1,566.29   $         1,566.29   $           -
Computer Hardware   7/1/2014        CCIM Lenovo laptop for Ben Wilson             $    1,566.29   $         1,566.29   $           -
                                    MicroCenter-Lenovodir Y50
Computer Hardware   7/13/2014       4700HQ/16G/256 Computer for Nate              $    1,573.23   $         1,573.23   $           -
                                    MicroCenter Toshiba A7180 Laptop,
Computer Hardware   7/22/2014       Microsoft Office Pro Software                 $    2,723.31   $         2,723.31   $           -
                                    1 of 7-Apple iPad Air 16GB and 2-year apple
Computer Hardware   8/1/2014        care+ (sch 160)                               $      598.00   $           598.00   $           -
                                    2 of 7-Apple iPad Air 16GB and 2-year apple
Computer Hardware   8/1/2014        care+ (sch 160)                               $      598.00   $           598.00   $           -
                                    3 of 7-Apple iPad Air 16GB and 2-year apple
Computer Hardware   8/1/2014        care+ (sch 160)                               $      598.00   $           598.00   $           -
                                    4 of 7-Apple iPad Air 16GB and 2-year apple
Computer Hardware   8/1/2014        care+ (sch 160)                               $      598.00   $           598.00   $           -
                                    5 of 7-Apple iPad Air 16GB and 2-year apple
Computer Hardware   8/1/2014        care+ (sch 160)                               $      598.00   $           598.00   $           -
                                    6 of 7-Apple iPad Air 16GB and 2-year apple
Computer Hardware   8/1/2014        care+ (sch 160)                               $      598.00   $           598.00   $           -


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                                        Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                     Description                      Cost            Depreciation         Value
                                    7 of 7-Apple iPad Air 16GB and 2-year apple
Computer Hardware   8/1/2014        care+ (sch 160)                             $       598.00   $           598.00   $           -

Computer Hardware   8/1/2014        1 of 4-Levovo G50 15.6" Laptop (sch 160)   $       649.99    $           649.99   $           -

Computer Hardware   8/1/2014        2 of 4-Levovo G50 15.6" Laptop (sch 160)   $       649.99    $           649.99   $           -

Computer Hardware   8/1/2014        3 of 4-Levovo G50 15.6" Laptop (sch 160)   $       649.99    $           649.99   $           -

Computer Hardware   8/1/2014        4 of 4-Levovo G50 15.6" Laptop (sch 160)   $        649.99   $           649.99   $           -
Computer Hardware   8/1/2014        Lenovo G50 15.6" Laptop (sch 160)          $        584.96   $           584.96   $           -
Computer Hardware   8/1/2014        1 of 2-Lenovo Thinkpad w/8GB DDR3L         $      2,205.00   $         2,205.00   $           -
Computer Hardware   8/1/2014        2 of 2-Lenovo Thinkpad w/8GB DDR3L         $      2,205.00   $         2,205.00   $           -
Computer Hardware   8/1/2014        Lenovo G50 15.6" Laptop (sch 160)          $        584.96   $           584.96   $           -
Computer Hardware   8/15/2014       1 of 4-Acerac 571 laptops-Microcenter      $        358.04   $           358.04   $           -
Computer Hardware   8/15/2014       2 of 4-Acerac 571 laptops-Microcenter      $        358.04   $           358.04   $           -
Computer Hardware   8/15/2014       3 of 4-Acerac 571 laptops-Microcenter      $        358.04   $           358.04   $           -
Computer Hardware   8/15/2014       4 of 4-Acerac 571 laptops-Microcenter      $        358.04   $           358.04   $           -
                                    1 of 2-Elitebook 650 and adaptor-
Computer Hardware   8/29/2014       Netstandard                                $      2,182.47   $         2,182.47   $           -
                                    2 of 2-Elitebook 650 and adaptor-
Computer Hardware   8/29/2014       Netstandard                                $      2,182.47   $         2,182.47   $           -
                                    1 of 4-HP Zbook 17 wkstn 17, 8 gb DDR3L-
Computer Hardware   8/29/2014       Netstandard                                $      2,404.48   $         2,404.48   $           -
                                    2 of 4-HP Zbook 17 wkstn 17, 8 gb DDR3L-
Computer Hardware   8/29/2014       Netstandard                                $      2,404.47   $         2,404.47   $           -
                                    3 of 4-HP Zbook 17 wkstn 17, 8 gb DDR3L-
Computer Hardware   8/29/2014       Netstandard                                $      2,404.47   $         2,404.47   $           -
                                    4 of 4-HP Zbook 17 wkstn 17, 8 gb DDR3L-
Computer Hardware   8/29/2014       Netstandard                                $      2,404.47   $         2,404.47   $           -
                                    MicroCenter ASUS RS71Computer for
Computer Hardware   9/5/2014        Developer in Gig Harbor                    $      1,735.98   $         1,735.98   $           -
                                    MicroCenter ASUS RS71 Computer for
Computer Hardware   9/5/2014        Database Administrator                     $      1,735.97   $         1,735.97   $           -
                                    1 of 5-MicroCenter Lenovo G50 Computer
Computer Hardware   9/5/2014        for DCS                                    $       867.98    $           867.98   $           -


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                                        Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                     Description                      Cost             Depreciation         Value
                                    2 of 5-MicroCenter Lenovo G50 Computer
Computer Hardware   9/5/2014        for DCS                                    $         867.98   $           867.98   $           -
                                    3 of 5-MicroCenter Lenovo G50 Computer
Computer Hardware   9/5/2014        for DCS                                    $         867.98   $           867.98   $           -
                                    4 of 5-MicroCenter Lenovo G50 Computer
Computer Hardware   9/5/2014        for DCS                                    $         867.98   $           867.98   $           -
                                    5 of 5-MicroCenter Lenovo G50 Computer
Computer Hardware   9/5/2014        for DCS                                    $         867.98   $           867.98   $           -
Computer Hardware   9/18/2014       13-inch Mac Book Air for Aaron Knight      $       1,363.95   $         1,363.95   $           -
                                    MicroCenter ASUS laptop compter for Doug
Computer Hardware   9/21/2014       Curry                                      $       2,169.99   $         2,169.99   $           -
                                    1 of 2-NetStandard-Smart Buy ZBook 17
Computer Hardware   9/24/2014       Wkstn 17                                   $       2,352.36   $         2,352.36   $           -
                                    2 of 2-NetStandard-Smart Buy ZBook 17
Computer Hardware   9/24/2014       Wkstn 17                                   $       2,352.36   $         2,352.36   $           -
                                    1 of 3-CDW-Video Conferencing Kit with 3-
Computer Hardware   9/25/2014       yr consumer electronic coverage            $       3,608.82   $         3,608.82   $           -
                                    2 of 3-CDW-Video Conferencing Kit with 3-
Computer Hardware   9/25/2014       yr consumer electronic coverage            $       3,608.81   $         3,608.81   $           -
                                    3 of 3-CDW-Video Conferencing Kit with 3-
Computer Hardware   9/25/2014       yr consumer electronic coverage            $       3,608.81   $         3,608.81   $           -
                                    LifeSize Unity 50 Video Conferencing
Computer Hardware   10/1/2014       Monitor w/remote                           $       2,024.45   $         2,024.45   $           -

Computer Hardware   10/1/2014       1 of 3-MicroCenter-Acerac 509R computer    $        433.99    $           433.99   $           -

Computer Hardware   10/1/2014       2 of 3-MicroCenter-Acerac 509R computer    $        433.99    $           433.99   $           -

Computer Hardware   10/1/2014       3 of 3-MicroCenter-Acerac 509R computer    $        433.99    $           433.99   $           -
                                    1 of 15-Apple iPad Air 16 GB with 2 year
Computer Hardware   10/1/2014       Apple Care+ sch 161                        $        598.00    $           598.00   $           -
                                    2 of 15-Apple iPad Air 16 GB with 2 year
Computer Hardware   10/1/2014       Apple Care+ sch 161                        $        598.00    $           598.00   $           -
                                    3 of 15-Apple iPad Air 16 GB with 2 year
Computer Hardware   10/1/2014       Apple Care+ sch 161                        $        598.00    $           598.00   $           -
                                    4 of 15-Apple iPad Air 16 GB with 2 year
Computer Hardware   10/1/2014       Apple Care+ sch 161                        $        598.00    $           598.00   $           -


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                                        Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                     Description                      Cost            Depreciation         Value
                                    5 of 15-Apple iPad Air 16 GB with 2 year
Computer Hardware   10/1/2014       Apple Care+ sch 161                        $        598.00   $           598.00   $           -
                                    6 of 15-Apple iPad Air 16 GB with 2 year
Computer Hardware   10/1/2014       Apple Care+ sch 161                        $        598.00   $           598.00   $           -
                                    7 of 15-Apple iPad Air 16 GB with 2 year
Computer Hardware   10/1/2014       Apple Care+ sch 161                        $        598.00   $           598.00   $           -
                                    8 of 15-Apple iPad Air 16 GB with 2 year
Computer Hardware   10/1/2014       Apple Care+ sch 161                        $        598.00   $           598.00   $           -
                                    9 of 15-Apple iPad Air 16 GB with 2 year
Computer Hardware   10/1/2014       Apple Care+ sch 161                        $        598.00   $           598.00   $           -
                                    10 of 15-Apple iPad Air 16 GB with 2 year
Computer Hardware   10/1/2014       Apple Care+ sch 161                        $        598.00   $           598.00   $           -
                                    11 of 15-Apple iPad Air 16 GB with 2 year
Computer Hardware   10/1/2014       Apple Care+ sch 161                        $        598.00   $           598.00   $           -
                                    12 of 15-Apple iPad Air 16 GB with 2 year
Computer Hardware   10/1/2014       Apple Care+ sch 161                        $        598.00   $           598.00   $           -
                                    13 of 15-Apple iPad Air 16 GB with 2 year
Computer Hardware   10/1/2014       Apple Care+ sch 161                        $        598.00   $           598.00   $           -
                                    14 of 15-Apple iPad Air 16 GB with 2 year
Computer Hardware   10/1/2014       Apple Care+ sch 161                        $        598.00   $           598.00   $           -
                                    15 of 15-Apple iPad Air 16 GB with 2 year
Computer Hardware   10/1/2014       Apple Care+ sch 161                        $        598.00   $           598.00   $           -
Computer Hardware   10/1/2014       1 of 4-Lenovo IdeaPad Flex 15 sch 161      $        699.00   $           699.00   $           -
Computer Hardware   10/1/2014       2 of 4-Lenovo IdeaPad Flex 15 sch 161      $        699.00   $           699.00   $           -
Computer Hardware   10/1/2014       3 of 4-Lenovo IdeaPad Flex 15 sch 161      $        699.00   $           699.00   $           -
Computer Hardware   10/1/2014       4 of 4-Lenovo IdeaPad Flex 15 sch 161      $        699.00   $           699.00   $           -
Computer Hardware   10/1/2014       1 of 5-Lenovo IdeaPad Flex 15 sch 161      $        789.00   $           789.00   $           -
Computer Hardware   10/1/2014       2 of 5-Lenovo IdeaPad Flex 15 sch 161      $        789.00   $           789.00   $           -
Computer Hardware   10/1/2014       3 of 5-Lenovo IdeaPad Flex 15 sch 161      $        789.00   $           789.00   $           -
Computer Hardware   10/1/2014       4 of 5-Lenovo IdeaPad Flex 15 sch 161      $        789.00   $           789.00   $           -
Computer Hardware   10/1/2014       5 of 5-Lenovo IdeaPad Flex 15 sch 161      $        789.00   $           789.00   $           -
Computer Hardware   10/1/2014       1 of 3-Lenovo IdeaPad Flex 15 sch 161      $        729.00   $           729.00   $           -
Computer Hardware   10/1/2014       2 of 3-Lenovo IdeaPad Flex 15 sch 161      $        729.00   $           729.00   $           -
Computer Hardware   10/1/2014       3 of 3-Lenovo IdeaPad Flex 15 sch 161      $        729.00   $           729.00   $           -




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                                        Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                      Description                     Cost             Depreciation         Value
                                    1 of 5-MicroCenter Acerac 571
Computer Hardware   10/28/2014      4030U/4G/500/15.6                          $         379.74   $           379.74   $           -
                                    2 of 5-MicroCenter Acerac 571
Computer Hardware   10/28/2014      4030U/4G/500/15.6                          $         379.74   $           379.74   $           -
                                    3 of 5-MicroCenter Acerac 571
Computer Hardware   10/28/2014      4030U/4G/500/15.6                          $         379.74   $           379.74   $           -
                                    4 of 5-MicroCenter Acerac 571
Computer Hardware   10/28/2014      4030U/4G/500/15.6                          $         379.74   $           379.74   $           -
                                    5 of 5-MicroCenter Acerac 571
Computer Hardware   10/28/2014      4030U/4G/500/15.6                          $         379.74   $           379.74   $           -
                                    Innovative Networks-2 racks for Ste 105 in
Computer Hardware   10/29/2014      Blue Springs                               $       4,629.91   $         4,629.91   $           -
                                    Innovative Networks-APC Smart UPS 50000
Computer Hardware   10/29/2014      Tower/Rack-mountable UPS                   $       8,433.53   $         8,433.53   $           -
                                    Innovative Network-Network Switch for Ste
Computer Hardware   10/29/2014      105 in Blue Springs                        $      11,835.95   $        11,835.95   $           -
                                    1 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $         616.00   $           616.00   $           -
                                    2 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $         616.00   $           616.00   $           -
                                    3 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $         616.00   $           616.00   $           -
                                    4 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $         616.00   $           616.00   $           -
                                    5 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $         616.00   $           616.00   $           -
                                    6 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $         616.00   $           616.00   $           -
                                    7 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $         616.00   $           616.00   $           -
                                    8 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $         616.00   $           616.00   $           -
                                    9 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $         616.00   $           616.00   $           -
                                    10 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $         616.00   $           616.00   $           -



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                                        Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                     Description                      Cost            Depreciation         Value
                                    11 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $        616.00   $           616.00   $           -
                                    12 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $        616.00   $           616.00   $           -
                                    13 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $        616.00   $           616.00   $           -
                                    14 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $        616.00   $           616.00   $           -
                                    15 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $        616.00   $           616.00   $           -
                                    16 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $        616.00   $           616.00   $           -
                                    17 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $        616.00   $           616.00   $           -
                                    18 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $        616.00   $           616.00   $           -
                                    19 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $        616.00   $           616.00   $           -
                                    20 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $        616.00   $           616.00   $           -
                                    21 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $        616.00   $           616.00   $           -
                                    22 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $        616.00   $           616.00   $           -
                                    23 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $        616.00   $           616.00   $           -
                                    24 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $        616.00   $           616.00   $           -
                                    25 of 25-Dell OptiPlex 7010 4GB, 1600 MHZ
Computer Hardware   11/1/2014       DDR3 desktop computer sch 162              $        616.00   $           616.00   $           -
Computer Hardware   11/1/2014       1 of 70-Dell 22 Monitor E2214H sch 162     $        115.00   $           115.00   $           -
Computer Hardware   11/1/2014       2 of 70-Dell 22 Monitor E2214H sch 162     $        115.00   $           115.00   $           -
Computer Hardware   11/1/2014       3 of 70-Dell 22 Monitor E2214H sch 162     $        115.00   $           115.00   $           -
Computer Hardware   11/1/2014       4 of 70-Dell 22 Monitor E2214H sch 162     $        115.00   $           115.00   $           -
Computer Hardware   11/1/2014       5 of 70-Dell 22 Monitor E2214H sch 162     $        115.00   $           115.00   $           -
Computer Hardware   11/1/2014       6 of 70-Dell 22 Monitor E2214H sch 162     $        115.00   $           115.00   $           -


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                                        Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                     Description                      Cost          Depreciation         Value
Computer Hardware   11/1/2014       7 of 70-Dell 22 Monitor E2214H sch 162     $        115.00   $         115.00   $           -
Computer Hardware   11/1/2014       8 of 70-Dell 22 Monitor E2214H sch 162     $        115.00   $         115.00   $           -
Computer Hardware   11/1/2014       9 of 70-Dell 22 Monitor E2214H sch 162     $        115.00   $         115.00   $           -

Computer Hardware   11/1/2014       10 of 70-Dell 22 Monitor E2214H sch 162   $        115.00    $         115.00   $           -

Computer Hardware   11/1/2014       11 of 70-Dell 22 Monitor E2214H sch 162   $        115.00    $         115.00   $           -

Computer Hardware   11/1/2014       12 of 70-Dell 22 Monitor E2214H sch 162   $        115.00    $         115.00   $           -

Computer Hardware   11/1/2014       13 of 70-Dell 22 Monitor E2214H sch 162   $        115.00    $         115.00   $           -

Computer Hardware   11/1/2014       14 of 70-Dell 22 Monitor E2214H sch 162   $        115.00    $         115.00   $           -

Computer Hardware   11/1/2014       15 of 70-Dell 22 Monitor E2214H sch 162   $        115.00    $         115.00   $           -

Computer Hardware   11/1/2014       16 of 70-Dell 22 Monitor E2214H sch 162   $        115.00    $         115.00   $           -

Computer Hardware   11/1/2014       17 of 70-Dell 22 Monitor E2214H sch 162   $        115.00    $         115.00   $           -

Computer Hardware   11/1/2014       18 of 70-Dell 22 Monitor E2214H sch 162   $        115.00    $         115.00   $           -

Computer Hardware   11/1/2014       19 of 70-Dell 22 Monitor E2214H sch 162   $        115.00    $         115.00   $           -

Computer Hardware   11/1/2014       20 of 70-Dell 22 Monitor E2214H sch 162   $        115.00    $         115.00   $           -

Computer Hardware   11/1/2014       21 of 70-Dell 22 Monitor E2214H sch 162   $        115.00    $         115.00   $           -

Computer Hardware   11/1/2014       22 of 70-Dell 22 Monitor E2214H sch 162   $        115.00    $         115.00   $           -

Computer Hardware   11/1/2014       23 of 70-Dell 22 Monitor E2214H sch 162   $        115.00    $         115.00   $           -

Computer Hardware   11/1/2014       24 of 70-Dell 22 Monitor E2214H sch 162   $        115.00    $         115.00   $           -

Computer Hardware   11/1/2014       25 of 70-Dell 22 Monitor E2214H sch 162   $        115.00    $         115.00   $           -

Computer Hardware   11/1/2014       26 of 70-Dell 22 Monitor E2214H sch 162   $        115.00    $         115.00   $           -


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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                       Cost           Depreciation         Value

Computer Hardware   11/1/2014       27 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       28 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       29 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       30 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       31 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       32 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       33 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       34 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       35 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       36 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       37 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       38 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       39 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       40 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       41 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       42 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       43 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       44 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                       Cost           Depreciation         Value

Computer Hardware   11/1/2014       45 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       46 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       47 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       48 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       49 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       50 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       51 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       52 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       53 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       54 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       55 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       56 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       57 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       58 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       59 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       60 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       61 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       62 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                       Cost           Depreciation         Value

Computer Hardware   11/1/2014       63 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       64 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       65 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       66 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       67 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       68 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       69 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -

Computer Hardware   11/1/2014       70 of 70-Dell 22 Monitor E2214H sch 162   $       115.00   $           115.00   $           -
                                    1 of 15-Lenovo IdeaPad Flex 15 15.6
Computer Hardware   11/1/2014       Touchscreen Ultrabook Sch 163             $       749.00   $           749.00   $           -
                                    2 of 15-Lenovo IdeaPad Flex 15 15.6
Computer Hardware   11/1/2014       Touchscreen Ultrabook Sch 163             $       749.00   $           749.00   $           -
                                    3 of 15-Lenovo IdeaPad Flex 15 15.6
Computer Hardware   11/1/2014       Touchscreen Ultrabook Sch 163             $       749.00   $           749.00   $           -
                                    4 of 15-Lenovo IdeaPad Flex 15 15.6
Computer Hardware   11/1/2014       Touchscreen Ultrabook Sch 163             $       749.00   $           749.00   $           -
                                    5 of 15-Lenovo IdeaPad Flex 15 15.6
Computer Hardware   11/1/2014       Touchscreen Ultrabook Sch 163             $       749.00   $           749.00   $           -
                                    6 of 15-Lenovo IdeaPad Flex 15 15.6
Computer Hardware   11/1/2014       Touchscreen Ultrabook Sch 163             $       749.00   $           749.00   $           -
                                    7 of 15-Lenovo IdeaPad Flex 15 15.6
Computer Hardware   11/1/2014       Touchscreen Ultrabook Sch 163             $       749.00   $           749.00   $           -
                                    8 of 15-Lenovo IdeaPad Flex 15 15.6
Computer Hardware   11/1/2014       Touchscreen Ultrabook Sch 163             $       749.00   $           749.00   $           -
                                    9 of 15-Lenovo IdeaPad Flex 15 15.6
Computer Hardware   11/1/2014       Touchscreen Ultrabook Sch 163             $       749.00   $           749.00   $           -
                                    10 of 15-Lenovo IdeaPad Flex 15 15.6
Computer Hardware   11/1/2014       Touchscreen Ultrabook Sch 163             $       749.00   $           749.00   $           -



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                                        Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                     Description                      Cost             Depreciation         Value
                                    11 of 15-Lenovo IdeaPad Flex 15 15.6
Computer Hardware   11/1/2014       Touchscreen Ultrabook Sch 163              $        749.00    $           749.00   $           -
                                    12 of 15-Lenovo IdeaPad Flex 15 15.6
Computer Hardware   11/1/2014       Touchscreen Ultrabook Sch 163              $        749.00    $           749.00   $           -
                                    13 of 15-Lenovo IdeaPad Flex 15 15.6
Computer Hardware   11/1/2014       Touchscreen Ultrabook Sch 163              $        749.00    $           749.00   $           -
                                    14 of 15-Lenovo IdeaPad Flex 15 15.6
Computer Hardware   11/1/2014       Touchscreen Ultrabook Sch 163              $        749.00    $           749.00   $           -
                                    15 of 15-Lenovo IdeaPad Flex 15 15.6
Computer Hardware   11/1/2014       Touchscreen Ultrabook Sch 163              $        749.00    $           749.00   $           -
                                    1 of 4-Lenovo Flex 2 15.6 Touchscreen
Computer Hardware   11/1/2014       Laptop Sch 163                             $        799.99    $           799.99   $           -
                                    2 of 4-Lenovo Flex 2 15.6 Touchscreen
Computer Hardware   11/1/2014       Laptop Sch 163                             $        799.99    $           799.99   $           -
                                    3 of 4-Lenovo Flex 2 15.6 Touchscreen
Computer Hardware   11/1/2014       Laptop Sch 163                             $        799.99    $           799.99   $           -
                                    4 of 4-Lenovo Flex 2 15.6 Touchscreen
Computer Hardware   11/1/2014       Laptop Sch 163                             $        799.99    $           799.99   $           -
                                    1 of 25-Microsoft Windows 8.1 Pro upgrade
Computer Hardware   11/1/2014       Sch 163                                    $          92.91   $            92.91   $           -
                                    2 of 25-Microsoft Windows 8.1 Pro upgrade
Computer Hardware   11/1/2014       Sch 163                                    $          92.91   $            92.91   $           -
                                    3 of 25-Microsoft Windows 8.1 Pro upgrade
Computer Hardware   11/1/2014       Sch 163                                    $          92.91   $            92.91   $           -
                                    4 of 25-Microsoft Windows 8.1 Pro upgrade
Computer Hardware   11/1/2014       Sch 163                                    $          92.91   $            92.91   $           -
                                    5 of 25-Microsoft Windows 8.1 Pro upgrade
Computer Hardware   11/1/2014       Sch 163                                    $          92.91   $            92.91   $           -
                                    6 of 25-Microsoft Windows 8.1 Pro upgrade
Computer Hardware   11/1/2014       Sch 163                                    $          92.91   $            92.91   $           -
                                    7 of 25-Microsoft Windows 8.1 Pro upgrade
Computer Hardware   11/1/2014       Sch 163                                    $          92.91   $            92.91   $           -
                                    8 of 25-Microsoft Windows 8.1 Pro upgrade
Computer Hardware   11/1/2014       Sch 163                                    $          92.91   $            92.91   $           -
                                    9 of 25-Microsoft Windows 8.1 Pro upgrade
Computer Hardware   11/1/2014       Sch 163                                    $          92.91   $            92.91   $           -



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                                        Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                    Description                       Cost             Depreciation         Value
                                    10 of 25-Microsoft Windows 8.1 Pro
Computer Hardware   11/1/2014       upgrade Sch 163                            $          92.91   $            92.91   $           -
                                    11 of 25-Microsoft Windows 8.1 Pro
Computer Hardware   11/1/2014       upgrade Sch 163                            $          92.91   $            92.91   $           -
                                    12 of 25-Microsoft Windows 8.1 Pro
Computer Hardware   11/1/2014       upgrade Sch 163                            $          92.91   $            92.91   $           -
                                    13 of 25-Microsoft Windows 8.1 Pro
Computer Hardware   11/1/2014       upgrade Sch 163                            $          92.91   $            92.91   $           -
                                    14 of 25-Microsoft Windows 8.1 Pro
Computer Hardware   11/1/2014       upgrade Sch 163                            $          92.91   $            92.91   $           -
                                    15 of 25-Microsoft Windows 8.1 Pro
Computer Hardware   11/1/2014       upgrade Sch 163                            $          92.91   $            92.91   $           -
                                    16 of 25-Microsoft Windows 8.1 Pro
Computer Hardware   11/1/2014       upgrade Sch 163                            $          92.91   $            92.91   $           -
                                    17 of 25-Microsoft Windows 8.1 Pro
Computer Hardware   11/1/2014       upgrade Sch 163                            $          92.91   $            92.91   $           -
                                    18 of 25-Microsoft Windows 8.1 Pro
Computer Hardware   11/1/2014       upgrade Sch 163                            $          92.91   $            92.91   $           -
                                    19 of 25-Microsoft Windows 8.1 Pro
Computer Hardware   11/1/2014       upgrade Sch 163                            $          92.91   $            92.91   $           -
                                    20 of 25-Microsoft Windows 8.1 Pro
Computer Hardware   11/1/2014       upgrade Sch 163                            $          92.91   $            92.91   $           -
                                    21 of 25-Microsoft Windows 8.1 Pro
Computer Hardware   11/1/2014       upgrade Sch 163                            $          92.91   $            92.91   $           -
                                    22 of 25-Microsoft Windows 8.1 Pro
Computer Hardware   11/1/2014       upgrade Sch 163                            $          92.91   $            92.91   $           -
                                    23 of 25-Microsoft Windows 8.1 Pro
Computer Hardware   11/1/2014       upgrade Sch 163                            $          92.91   $            92.91   $           -
                                    24 of 25-Microsoft Windows 8.1 Pro
Computer Hardware   11/1/2014       upgrade Sch 163                            $          92.91   $            92.91   $           -
                                    25 of 25-Microsoft Windows 8.1 Pro
Computer Hardware   11/1/2014       upgrade Sch 163                            $          92.91   $            92.91   $           -
                                    1 of 4-Amazon-Crucial 16GB Kit
Computer Hardware   11/5/2014       DDR3/DDR3L 1600 MHz for MAC                $        134.99    $           134.99   $           -
                                    2 of 4-Amazon-Crucial 16GB Kit
Computer Hardware   11/5/2014       DDR3/DDR3L 1600 MHz for MAC                $        134.99    $           134.99   $           -



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                                        Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                     Description                      Cost             Depreciation         Value
                                    3 of 4-Amazon-Crucial 16GB Kit
Computer Hardware   11/5/2014       DDR3/DDR3L 1600 MHz for MAC                $         134.99   $           134.99   $           -
                                    4 of 4-Amazon-Crucial 16GB Kit
Computer Hardware   11/5/2014       DDR3/DDR3L 1600 MHz for MAC                $         134.99   $           134.99   $           -
                                    1 of 4-MicroCenter-Lenovo DIR G50
Computer Hardware   11/11/2014      4210U/4G/500/15.6 computer                 $         433.99   $           433.99   $           -
                                    2 of 4-MicroCenter-Lenovo DIR G50
Computer Hardware   11/11/2014      4210U/4G/500/15.6 computer                 $         433.99   $           433.99   $           -
                                    3 of 4-MicroCenter-Lenovo DIR G50
Computer Hardware   11/11/2014      4210U/4G/500/15.6 computer                 $         433.99   $           433.99   $           -
                                    4 of 4-MicroCenter-Lenovo DIR G50
Computer Hardware   11/11/2014      4210U/4G/500/15.6 computer                 $         433.99   $           433.99   $           -
                                    2 of 3-CDW-Sonicwall Dell Ntwk SEC App
Computer Hardware   11/19/2014      2600 (Firewall)                            $       3,750.25   $         3,750.25   $           -
                                    3 of 3-CDW-Sonicwall Dell Ntwk SEC App
Computer Hardware   11/19/2014      2600 (Firewall)                            $       3,750.25   $         3,750.25   $           -
Computer Hardware   12/1/2014       Karnes - Computer Hardware                 $      11,478.00   $        11,478.00   $           -
                                    Staples - Brother MFC8950DW printer for
Computer Hardware   12/13/2014      SW Blvd office                             $         650.09   $           650.09   $           -

Computer Hardware   1/1/2015        1 of 10-Dell Cert Refurbished Optiplex 9020   $      759.00   $           759.00   $           -

Computer Hardware   1/1/2015        2 of 10-Dell Cert Refurbished Optiplex 9020   $      759.00   $           759.00   $           -

Computer Hardware   1/1/2015        3 of 10-Dell Cert Refurbished Optiplex 9020   $      759.00   $           759.00   $           -

Computer Hardware   1/1/2015        4 of 10-Dell Cert Refurbished Optiplex 9020   $      759.00   $           759.00   $           -

Computer Hardware   1/1/2015        5 of 10-Dell Cert Refurbished Optiplex 9020   $      759.00   $           759.00   $           -

Computer Hardware   1/1/2015        6 of 10-Dell Cert Refurbished Optiplex 9020   $      759.00   $           759.00   $           -

Computer Hardware   1/1/2015        7 of 10-Dell Cert Refurbished Optiplex 9020   $      759.00   $           759.00   $           -

Computer Hardware   1/1/2015        8 of 10-Dell Cert Refurbished Optiplex 9020   $      759.00   $           759.00   $           -

Computer Hardware   1/1/2015        9 of 10-Dell Cert Refurbished Optiplex 9020   $      759.00   $           759.00   $           -


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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                    Description                      Cost            Depreciation         Value
                                   10 of 10-Dell Cert Refurbished Optiplex
Computer Hardware   1/1/2015       9020                                       $        759.00   $           759.00   $           -
                                   1 of 2-Lenovo IdeaPad Flex 15" Ultrabook -
Computer Hardware   1/1/2015       Sched 166                                  $        762.00   $           571.50   $       190.50
                                   2 of 2-Lenovo IdeaPad Flex 15" Ultrabook -
Computer Hardware   1/1/2015       Sched 166                                  $        762.00   $           571.50   $       190.50
                                   1 of 4-Lenovo IdeaPad Flex 15" Ultrabook
Computer Hardware   1/1/2015       Sched 166                                  $        759.06   $           759.06   $           -
                                   2 of 4-Lenovo IdeaPad Flex 15" Ultrabook
Computer Hardware   1/1/2015       Sched 166                                  $        759.06   $           759.06   $           -
                                   3 of 4-Lenovo IdeaPad Flex 15" Ultrabook
Computer Hardware   1/1/2015       Sched 166                                  $        759.06   $           759.06   $           -
                                   4 of 4-Lenovo IdeaPad Flex 15" Ultrabook
Computer Hardware   1/1/2015       Sched 166                                  $        759.06   $           759.06   $           -

Computer Hardware   1/1/2015       1 of 2-HP Zbook 17 Ultrabook - Sched 166   $      1,659.44   $         1,659.44   $           -

Computer Hardware   1/1/2015       2 of 2-HP Zbook 17 Ultrabook - Sched 166   $      1,659.44   $         1,659.44   $           -
Computer Hardware   1/1/2015       1 of 20-Dell 22 Monitor Sched 166          $        139.00   $           139.00   $           -
Computer Hardware   1/1/2015       2 of 20-Dell 22 Monitor Sched 166          $        139.00   $           139.00   $           -
Computer Hardware   1/1/2015       3 of 20-Dell 22 Monitor Sched 166          $        139.00   $           139.00   $           -
Computer Hardware   1/1/2015       4 of 20-Dell 22 Monitor Sched 166          $        139.00   $           139.00   $           -
Computer Hardware   1/1/2015       5 of 20-Dell 22 Monitor Sched 166          $        139.00   $           139.00   $           -
Computer Hardware   1/1/2015       6 of 20-Dell 22 Monitor Sched 166          $        139.00   $           139.00   $           -
Computer Hardware   1/1/2015       7 of 20-Dell 22 Monitor Sched 166          $        139.00   $           139.00   $           -
Computer Hardware   1/1/2015       8 of 20-Dell 22 Monitor Sched 166          $        139.00   $           139.00   $           -
Computer Hardware   1/1/2015       9 of 20-Dell 22 Monitor Sched 166          $        139.00   $           139.00   $           -
Computer Hardware   1/1/2015       10 of 20-Dell 22 Monitor Sched 166         $        139.00   $           139.00   $           -
Computer Hardware   1/1/2015       11 of 20-Dell 22 Monitor Sched 166         $        139.00   $           139.00   $           -
Computer Hardware   1/1/2015       12 of 20-Dell 22 Monitor Sched 166         $        139.00   $           139.00   $           -
Computer Hardware   1/1/2015       13 of 20-Dell 22 Monitor Sched 166         $        139.00   $           139.00   $           -
Computer Hardware   1/1/2015       14 of 20-Dell 22 Monitor Sched 166         $        139.00   $           139.00   $           -
Computer Hardware   1/1/2015       15 of 20-Dell 22 Monitor Sched 166         $        139.00   $           139.00   $           -
Computer Hardware   1/1/2015       16 of 20-Dell 22 Monitor Sched 166         $        139.00   $           139.00   $           -



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                                        Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                     Description                     Cost             Depreciation         Value
Computer Hardware   1/1/2015        17 of 20-Dell 22 Monitor Sched 166         $         139.00   $           139.00   $            -
Computer Hardware   1/1/2015        18 of 20-Dell 22 Monitor Sched 166         $         139.00   $           139.00   $            -
Computer Hardware   1/1/2015        19 of 20-Dell 22 Monitor Sched 166         $         139.00   $           139.00   $            -
Computer Hardware   1/1/2015        20 of 20-Dell 22 Monitor Sched 166         $         139.00   $           139.00   $            -
Computer Hardware   1/1/2015        1 of 4-Lenovo IdeaPad Felx 15" ultrabook   $         829.52   $           829.52   $            -
Computer Hardware   1/1/2015        2 of 4-Lenovo IdeaPad Felx 15" ultrabook   $         829.52   $           829.52   $            -
Computer Hardware   1/1/2015        3 of 4-Lenovo IdeaPad Felx 15" ultrabook   $         829.52   $           829.52   $            -
Computer Hardware   1/1/2015        4 of 4-Lenovo IdeaPad Felx 15" ultrabook   $         829.52   $           829.52   $            -
Computer Hardware   1/1/2015        1 of 12-iPad Air 2 Wifi 16GB Sched 164     $         578.00   $           578.00   $            -
Computer Hardware   1/1/2015        2 of 12-iPad Air 2 Wifi 16GB Sched 164     $         578.00   $           578.00   $            -
Computer Hardware   1/1/2015        3 of 12-iPad Air 2 Wifi 16GB Sched 164     $         578.00   $           578.00   $            -
Computer Hardware   1/1/2015        4 of 12-iPad Air 2 Wifi 16GB Sched 164     $         578.00   $           578.00   $            -
Computer Hardware   1/1/2015        5 of 12-iPad Air 2 Wifi 16GB Sched 164     $         578.00   $           578.00   $            -
Computer Hardware   1/1/2015        6 of 12-iPad Air 2 Wifi 16GB Sched 164     $         578.00   $           578.00   $            -
Computer Hardware   1/1/2015        7 of 12-iPad Air 2 Wifi 16GB Sched 164     $         578.00   $           578.00   $            -
Computer Hardware   1/1/2015        8 of 12-iPad Air 2 Wifi 16GB Sched 164     $         578.00   $           578.00   $            -
Computer Hardware   1/1/2015        9 of 12-iPad Air 2 Wifi 16GB Sched 164     $         578.00   $           578.00   $            -
Computer Hardware   1/1/2015        10 of 12-iPad Air 2 Wifi 16GB Sched 164    $         578.00   $           578.00   $            -
Computer Hardware   1/1/2015        11 of 12-iPad Air 2 Wifi 16GB Sched 164    $         578.00   $           578.00   $            -
Computer Hardware   1/1/2015        12 of 12-iPad Air 2 Wifi 16GB Sched 164    $         578.00   $           578.00   $            -
                                    1 of 4-Smart Buy Zbook 17 Wkstn and
Computer Hardware   1/1/2015        adaptor video converter                    $       2,294.00   $         2,294.00   $            -
                                    2 of 4-Smart Buy Zbook 17 Wkstn and
Computer Hardware   1/1/2015        adaptor video converter                    $       2,294.00   $         2,294.00   $            -
                                    3 of 4-Smart Buy Zbook 17 Wkstn and
Computer Hardware   1/1/2015        adaptor video converter                    $       2,294.00   $         2,294.00   $            -
                                    4 of 4-Smart Buy Zbook 17 Wkstn and
Computer Hardware   1/1/2015        adaptor video converter                    $       2,294.00   $         2,294.00   $             -
Computer Hardware   1/14/2015       Best Buy IDeaPad Yoga2                     $         973.43   $           973.43   $             -
Computer Hardware   2/1/2015        Micro Center Microsoft Pro3 Computer       $       2,500.89   $         2,500.89   $           (0.00)
Computer Hardware   2/1/2015        Micro Center Microsoft Pro3 Computer       $       2,500.88   $         2,500.88   $             -
Computer Hardware   2/1/2015        Apple MacBook Pro Laptop - Chris Miller    $       1,889.00   $         1,889.00   $             -




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                                        Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                     Description                      Cost             Depreciation         Value
                                    1 of 2-Lenovo Y50 Touch Laptop 59423621 -
Computer Hardware   2/1/2015        Developers                                 $       1,182.98   $         1,182.98   $            -
                                    2 of 2-Lenovo Y50 Touch Laptop 59423621 -
Computer Hardware   2/1/2015        Developers                                 $       1,182.98   $         1,182.98   $            -
                                    1 of 5-Sonicwall TZ 205 01 - CDW Direct -
Computer Hardware   2/9/2015        Blue Springs                               $         494.70   $           494.70   $           (0.00)
                                    2 of 5-Sonicwall TZ 205 01 - CDW Direct -
Computer Hardware   2/9/2015        Blue Springs                               $         494.72   $           494.72   $           0.00
                                    3 of 5-Sonicwall TZ 205 01 - CDW Direct -
Computer Hardware   2/9/2015        Blue Springs                               $         494.72   $           494.72   $           0.00
                                    4 of 5-Sonicwall TZ 205 01 - CDW Direct -
Computer Hardware   2/9/2015        Blue Springs                               $         494.72   $           494.72   $           0.00
                                    5 of 5-Sonicwall TZ 205 01 - CDW Direct -
Computer Hardware   2/9/2015        Blue Springs                               $         494.72   $           494.72   $            0.00
Computer Hardware   2/28/2015       Mac Laptop - Rob DuBroc                    $       2,061.49   $         2,061.49   $           (0.00)
Computer Hardware   2/28/2015       Microsoft Pro3 Tablets                     $       5,045.22   $         5,045.22   $             -
Computer Hardware   2/28/2015       Microsoft Pro3 Tablet                      $       4,556.97   $         4,556.97   $             -
Computer Hardware   2/28/2015       Asus Chromebox                             $       2,056.24   $         2,056.24   $             -

Computer Hardware   3/1/2015        Epson EX7230 Pro Projector - M. Foxworthy   $       591.24    $           591.24   $            -
Computer Hardware   3/1/2015        Asus Chrombox for Meetings                  $     1,028.27    $         1,028.27   $            -
Computer Hardware   3/1/2015        Asus Chromebox for Meetings                 $     1,028.27    $         1,028.27   $            -
Computer Hardware   3/1/2015        1 of 3-Microsoft Surface Pro 3 Tablets      $     1,748.99    $         1,748.99   $            -
Computer Hardware   3/1/2015        2 of 3-Microsoft Surface Pro 3 Tablets      $     1,748.99    $         1,748.99   $            -
Computer Hardware   3/1/2015        3 of 3-Microsoft Surface Pro 3 Tablets      $     1,748.99    $         1,748.99   $            -
Computer Hardware   3/17/2015       1 of 18-PCM Dell 22" Monitor                $       144.63    $           144.63   $            -
Computer Hardware   3/17/2015       2 of 18-PCM Dell 22" Monitor                $       144.69    $           144.69   $            -
Computer Hardware   3/17/2015       3 of 18-PCM Dell 22" Monitor                $       144.69    $           144.69   $            -
Computer Hardware   3/17/2015       4 of 18-PCM Dell 22" Monitor                $       144.69    $           144.69   $            -
Computer Hardware   3/17/2015       5 of 18-PCM Dell 22" Monitor                $       144.69    $           144.69   $            -
Computer Hardware   3/17/2015       6 of 18-PCM Dell 22" Monitor                $       144.69    $           144.69   $            -
Computer Hardware   3/17/2015       7 of 18-PCM Dell 22" Monitor                $       144.69    $           144.69   $            -
Computer Hardware   3/17/2015       8 of 18-PCM Dell 22" Monitor                $       144.69    $           144.69   $            -
Computer Hardware   3/17/2015       9 of 18-PCM Dell 22" Monitor                $       144.69    $           144.69   $            -



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                     Description                     Cost             Depreciation         Value
Computer Hardware   3/17/2015      10 of 18-PCM Dell 22" Monitor              $         144.69   $           144.69   $           -
Computer Hardware   3/17/2015      11 of 18-PCM Dell 22" Monitor              $         144.69   $           144.69   $           -
Computer Hardware   3/17/2015      12 of 18-PCM Dell 22" Monitor              $         144.69   $           144.69   $           -
Computer Hardware   3/17/2015      13 of 18-PCM Dell 22" Monitor              $         144.69   $           144.69   $           -
Computer Hardware   3/17/2015      14 of 18-PCM Dell 22" Monitor              $         144.69   $           144.69   $           -
Computer Hardware   3/17/2015      15 of 18-PCM Dell 22" Monitor              $         144.69   $           144.69   $           -
Computer Hardware   3/17/2015      16 of 18-PCM Dell 22" Monitor              $         144.69   $           144.69   $           -
Computer Hardware   3/17/2015      17 of 18-PCM Dell 22" Monitor              $         144.69   $           144.69   $           -
Computer Hardware   3/17/2015      18 of 18-PCM Dell 22" Monitor              $         144.69   $           144.69   $           -
                                   1 of 10-Latitude 15 5000 Series - PCM
Computer Hardware   4/1/2015       Sched 167                                  $       1,160.00   $         1,160.00   $           -
                                   2 of 10-Latitude 15 5000 Series - PCM
Computer Hardware   4/1/2015       Sched 167                                  $       1,160.00   $         1,160.00   $           -
                                   3 of 10-Latitude 15 5000 Series - PCM
Computer Hardware   4/1/2015       Sched 167                                  $       1,160.00   $         1,160.00   $           -
                                   4 of 10-Latitude 15 5000 Series - PCM
Computer Hardware   4/1/2015       Sched 167                                  $       1,160.00   $         1,160.00   $           -
                                   5 of 10-Latitude 15 5000 Series - PCM
Computer Hardware   4/1/2015       Sched 167                                  $       1,160.00   $         1,160.00   $           -
                                   6 of 10-Latitude 15 5000 Series - PCM
Computer Hardware   4/1/2015       Sched 167                                  $       1,160.00   $         1,160.00   $           -
                                   7 of 10-Latitude 15 5000 Series - PCM
Computer Hardware   4/1/2015       Sched 167                                  $       1,160.00   $         1,160.00   $           -
                                   8 of 10-Latitude 15 5000 Series - PCM
Computer Hardware   4/1/2015       Sched 167                                  $       1,160.00   $         1,160.00   $           -
                                   9 of 10-Latitude 15 5000 Series - PCM
Computer Hardware   4/1/2015       Sched 167                                  $       1,160.00   $         1,160.00   $           -
                                   10 of 10-Latitude 15 5000 Series - PCM
Computer Hardware   4/1/2015       Sched 167                                  $       1,160.00   $         1,160.00   $           -
Computer Hardware   4/1/2015       Dell R710 - PCM Sched 168                  $       1,962.00   $         1,962.00   $           -

Computer Hardware   4/1/2015       1 of 14-Dell 22" Monitor - PCM Sched 168   $        422.68    $           422.68   $           -

Computer Hardware   4/1/2015       2 of 14-Dell 22" Monitor - PCM Sched 168   $        422.64    $           422.64   $           -




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                                      Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                  Description                       Cost            Depreciation         Value

Computer Hardware   4/1/2015       3 of 14-Dell 22" Monitor - PCM Sched 168    $      422.64   $           422.64   $           -

Computer Hardware   4/1/2015       4 of 14-Dell 22" Monitor - PCM Sched 168    $      422.64   $           422.64   $           -

Computer Hardware   4/1/2015       5 of 14-Dell 22" Monitor - PCM Sched 168    $      422.64   $           422.64   $           -

Computer Hardware   4/1/2015       6 of 14-Dell 22" Monitor - PCM Sched 168    $      422.64   $           422.64   $           -

Computer Hardware   4/1/2015       7 of 14-Dell 22" Monitor - PCM Sched 168    $      422.64   $           422.64   $           -

Computer Hardware   4/1/2015       8 of 14-Dell 22" Monitor - PCM Sched 168    $      422.64   $           422.64   $           -

Computer Hardware   4/1/2015       9 of 14-Dell 22" Monitor - PCM Sched 168    $      422.64   $           422.64   $           -

Computer Hardware   4/1/2015       10 of 14-Dell 22" Monitor - PCM Sched 168   $      422.64   $           422.64   $           -

Computer Hardware   4/1/2015       11 of 14-Dell 22" Monitor - PCM Sched 168   $      422.64   $           422.64   $           -

Computer Hardware   4/1/2015       12 of 14-Dell 22" Monitor - PCM Sched 168   $      422.64   $           422.64   $           -

Computer Hardware   4/1/2015       13 of 14-Dell 22" Monitor - PCM Sched 168   $      422.64   $           422.64   $           -

Computer Hardware   4/1/2015       14 of 14-Dell 22" Monitor - PCM Sched 168   $      422.64   $           422.64   $           -
Computer Hardware   4/1/2015       1 of 18-Dell 1.2TB - Sched 169              $    4,443.98   $         4,443.98   $           -
Computer Hardware   4/1/2015       2 of 18-Dell 1.2TB - Sched 169              $    4,444.06   $         4,444.06   $           -
Computer Hardware   4/1/2015       3 of 18-Dell 1.2TB - Sched 169              $    4,444.06   $         4,444.06   $           -
Computer Hardware   4/1/2015       4 of 18-Dell 1.2TB - Sched 169              $    4,444.06   $         4,444.06   $           -
Computer Hardware   4/1/2015       5 of 18-Dell 1.2TB - Sched 169              $    4,444.06   $         4,444.06   $           -
Computer Hardware   4/1/2015       6 of 18-Dell 1.2TB - Sched 169              $    4,444.06   $         4,444.06   $           -
Computer Hardware   4/1/2015       7 of 18-Dell 1.2TB - Sched 169              $    4,444.06   $         4,444.06   $           -
Computer Hardware   4/1/2015       8 of 18-Dell 1.2TB - Sched 169              $    4,444.06   $         4,444.06   $           -
Computer Hardware   4/1/2015       9 of 18-Dell 1.2TB - Sched 169              $    4,444.06   $         4,444.06   $           -
Computer Hardware   4/1/2015       10 of 18-Dell 1.2TB - Sched 169             $    4,444.06   $         4,444.06   $           -
Computer Hardware   4/1/2015       11 of 18-Dell 1.2TB - Sched 169             $    4,444.06   $         4,444.06   $           -



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                                        Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                     Description                     Cost             Depreciation         Value
Computer Hardware   4/1/2015        12 of 18-Dell 1.2TB - Sched 169            $       4,444.06   $         4,444.06   $           -
Computer Hardware   4/1/2015        13 of 18-Dell 1.2TB - Sched 169            $       4,444.06   $         4,444.06   $           -
Computer Hardware   4/1/2015        14 of 18-Dell 1.2TB - Sched 169            $       4,444.06   $         4,444.06   $           -
Computer Hardware   4/1/2015        15 of 18-Dell 1.2TB - Sched 169            $       4,444.06   $         4,444.06   $           -
Computer Hardware   4/1/2015        16 of 18-Dell 1.2TB - Sched 169            $       4,444.06   $         4,444.06   $           -
Computer Hardware   4/1/2015        17 of 18-Dell 1.2TB - Sched 169            $       4,444.06   $         4,444.06   $           -
Computer Hardware   4/1/2015        18 of 18-Dell 1.2TB - Sched 169            $       4,444.06   $         4,444.06   $           -
Computer Hardware   5/1/2015        Core Switch and Network Segmentation       $      49,907.88   $        49,907.88   $           -
Computer Hardware   6/1/2015        1 of 4-Apple iPad - Amazon                 $         364.77   $           364.77   $           -
Computer Hardware   6/1/2015        2 of 4-Apple iPad - Amazon                 $         364.78   $           364.78   $           -
Computer Hardware   6/1/2015        3 of 4-Apple iPad - Amazon                 $         364.78   $           364.78   $           -
Computer Hardware   6/1/2015        4 of 4-Apple iPad - Amazon                 $         364.78   $           364.78   $           -
                                    1 of 2-MSI GT72 Dominator Pro Laptop -
Computer Hardware   6/2/2015        Amazon                                     $       2,799.00   $         2,799.00   $           -
                                    2 of 2-MSI GT72 Dominator Pro Laptop -
Computer Hardware   6/2/2015        Amazon                                     $       2,799.00   $         2,799.00   $           -
                                    Optoma ML550 WXGA 500 Lumens
Computer Hardware   6/15/2015       Projector - Amazon                         $         536.23   $           536.23   $           -

Computer Hardware   7/1/2015        1 of 10-Dell Optiplex 7020 - PCM Sched 170 $        711.00    $           711.00   $           -

Computer Hardware   7/1/2015        2 of 10-Dell Optiplex 7020 - PCM Sched 170 $        711.00    $           711.00   $           -

Computer Hardware   7/1/2015        3 of 10-Dell Optiplex 7020 - PCM Sched 170 $        711.00    $           711.00   $           -

Computer Hardware   7/1/2015        4 of 10-Dell Optiplex 7020 - PCM Sched 170 $        711.00    $           711.00   $           -

Computer Hardware   7/1/2015        5 of 10-Dell Optiplex 7020 - PCM Sched 170 $        711.00    $           711.00   $           -

Computer Hardware   7/1/2015        6 of 10-Dell Optiplex 7020 - PCM Sched 170 $        711.00    $           711.00   $           -

Computer Hardware   7/1/2015        7 of 10-Dell Optiplex 7020 - PCM Sched 170 $        711.00    $           711.00   $           -

Computer Hardware   7/1/2015        8 of 10-Dell Optiplex 7020 - PCM Sched 170 $        711.00    $           711.00   $           -




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                                      Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                  Description                       Cost            Depreciation         Value

Computer Hardware   7/1/2015       9 of 10-Dell Optiplex 7020 - PCM Sched 170 $       711.00   $           711.00   $           -
                                   10 of 10-Dell Optiplex 7020 - PCM Sched
Computer Hardware   7/1/2015       170                                        $       711.00   $           711.00   $           -

Computer Hardware   7/1/2015       1 of 10-Dell 22" Monitor - PCM Sched 170    $      113.00   $           113.00   $           -

Computer Hardware   7/1/2015       2 of 10-Dell 22" Monitor - PCM Sched 170    $      113.00   $           113.00   $           -

Computer Hardware   7/1/2015       3 of 10-Dell 22" Monitor - PCM Sched 170    $      113.00   $           113.00   $           -

Computer Hardware   7/1/2015       4 of 10-Dell 22" Monitor - PCM Sched 170    $      113.00   $           113.00   $           -

Computer Hardware   7/1/2015       5 of 10-Dell 22" Monitor - PCM Sched 170    $      113.00   $           113.00   $           -

Computer Hardware   7/1/2015       6 of 10-Dell 22" Monitor - PCM Sched 170    $      113.00   $           113.00   $           -

Computer Hardware   7/1/2015       7 of 10-Dell 22" Monitor - PCM Sched 170    $      113.00   $           113.00   $           -

Computer Hardware   7/1/2015       8 of 10-Dell 22" Monitor - PCM Sched 170    $      113.00   $           113.00   $           -

Computer Hardware   7/1/2015       9 of 10-Dell 22" Monitor - PCM Sched 170    $      113.00   $           113.00   $           -

Computer Hardware   7/1/2015       10 of 10-Dell 22" Monitor - PCM Sched 170   $      113.00   $           113.00   $           -
                                   1 of 5-Dell Latitude 15 5000 Laptop - PCM
Computer Hardware   7/1/2015       Sched 170                                   $    1,160.00   $         1,160.00   $           -
                                   2 of 5-Dell Latitude 15 5000 Laptop - PCM
Computer Hardware   7/1/2015       Sched 170                                   $    1,160.00   $         1,160.00   $           -
                                   3 of 5-Dell Latitude 15 5000 Laptop - PCM
Computer Hardware   7/1/2015       Sched 170                                   $    1,160.00   $         1,160.00   $           -
                                   4 of 5-Dell Latitude 15 5000 Laptop - PCM
Computer Hardware   7/1/2015       Sched 170                                   $    1,160.00   $         1,160.00   $           -
                                   5 of 5-Dell Latitude 15 5000 Laptop - PCM
Computer Hardware   7/1/2015       Sched 170                                   $    1,160.00   $         1,160.00   $           -
Computer Hardware   7/1/2015       Dell 27" Monitor - PCM Sched 170            $      251.00   $           251.00   $           -
Computer Hardware   7/1/2015       Apple MacBook Pro - PCM Sched 170           $    1,737.00   $         1,737.00   $           -
Computer Hardware   7/1/2015       Lenovo Yoga 2 Pro - PCM Sched 170           $      899.00   $           899.00   $           -


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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                     Description                     Cost             Depreciation         Value
                                   1 of 10-Dell Latitude 15 5000 Laptop - PCM
Computer Hardware   7/1/2015       Sched 171                                  $       1,107.00   $         1,107.00   $           -
                                   2 of 10-Dell Latitude 15 5000 Laptop - PCM
Computer Hardware   7/1/2015       Sched 171                                  $       1,107.00   $         1,107.00   $           -
                                   3 of 10-Dell Latitude 15 5000 Laptop - PCM
Computer Hardware   7/1/2015       Sched 171                                  $       1,107.00   $         1,107.00   $           -
                                   4 of 10-Dell Latitude 15 5000 Laptop - PCM
Computer Hardware   7/1/2015       Sched 171                                  $       1,107.00   $         1,107.00   $           -
                                   5 of 10-Dell Latitude 15 5000 Laptop - PCM
Computer Hardware   7/1/2015       Sched 171                                  $       1,107.00   $         1,107.00   $           -
                                   6 of 10-Dell Latitude 15 5000 Laptop - PCM
Computer Hardware   7/1/2015       Sched 171                                  $       1,107.00   $         1,107.00   $           -
                                   7 of 10-Dell Latitude 15 5000 Laptop - PCM
Computer Hardware   7/1/2015       Sched 171                                  $       1,107.00   $         1,107.00   $           -
                                   8 of 10-Dell Latitude 15 5000 Laptop - PCM
Computer Hardware   7/1/2015       Sched 171                                  $       1,107.00   $         1,107.00   $           -
                                   9 of 10-Dell Latitude 15 5000 Laptop - PCM
Computer Hardware   7/1/2015       Sched 171                                  $       1,107.00   $         1,107.00   $           -
                                   10 of 10-Dell Latitude 15 5000 Laptop -
Computer Hardware   7/1/2015       PCM Sched 171                              $       1,107.00   $         1,107.00   $           -

Computer Hardware   7/1/2015       1 of 10-Apple iPad AIR - PCM Sched 171    $         598.00    $           598.00   $           -

Computer Hardware   7/1/2015       2 of 10-Apple iPad AIR - PCM Sched 171    $         598.00    $           598.00   $           -

Computer Hardware   7/1/2015       3 of 10-Apple iPad AIR - PCM Sched 171    $         598.00    $           598.00   $           -

Computer Hardware   7/1/2015       4 of 10-Apple iPad AIR - PCM Sched 171    $         598.00    $           598.00   $           -

Computer Hardware   7/1/2015       5 of 10-Apple iPad AIR - PCM Sched 171    $         598.00    $           598.00   $           -

Computer Hardware   7/1/2015       6 of 10-Apple iPad AIR - PCM Sched 171    $         598.00    $           598.00   $           -

Computer Hardware   7/1/2015       7 of 10-Apple iPad AIR - PCM Sched 171    $         598.00    $           598.00   $           -

Computer Hardware   7/1/2015       8 of 10-Apple iPad AIR - PCM Sched 171    $         598.00    $           598.00   $           -



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                       Cost           Depreciation         Value

Computer Hardware   7/1/2015        9 of 10-Apple iPad AIR - PCM Sched 171    $       598.00   $           598.00   $           -

Computer Hardware   7/1/2015        10 of 10-Apple iPad AIR - PCM Sched 171   $       598.00   $           598.00   $           -
Computer Hardware   7/11/2015       1 of 8-NAS RAID Hard Drive                $       164.14   $           164.14   $           -
Computer Hardware   7/11/2015       2 of 8-NAS RAID Hard Drive                $       164.15   $           164.15   $           -
Computer Hardware   7/11/2015       3 of 8-NAS RAID Hard Drive                $       164.15   $           164.15   $           -
Computer Hardware   7/11/2015       4 of 8-NAS RAID Hard Drive                $       164.15   $           164.15   $           -
Computer Hardware   7/11/2015       5 of 8-NAS RAID Hard Drive                $       164.15   $           164.15   $           -
Computer Hardware   7/11/2015       6 of 8-NAS RAID Hard Drive                $       164.15   $           164.15   $           -
Computer Hardware   7/11/2015       7 of 8-NAS RAID Hard Drive                $       164.15   $           164.15   $           -
Computer Hardware   7/11/2015       8 of 8-NAS RAID Hard Drive                $       164.15   $           164.15   $           -
Computer Hardware   7/23/2015       Apple MacBook AIR - Apple Store           $     1,959.67   $         1,959.67   $           -
Computer Hardware   7/30/2015       AIR Desktops and Monitors                 $     4,660.43   $         4,660.43   $           -
Computer Hardware   7/30/2015       1 of 32-ASTI 8GB RAM                      $        66.17   $            66.17   $           -
Computer Hardware   7/30/2015       2 of 32-ASTI 8GB RAM                      $        66.24   $            66.24   $           -
Computer Hardware   7/30/2015       3 of 32-ASTI 8GB RAM                      $        66.24   $            66.24   $           -
Computer Hardware   7/30/2015       4 of 32-ASTI 8GB RAM                      $        66.24   $            66.24   $           -
Computer Hardware   7/30/2015       5 of 32-ASTI 8GB RAM                      $        66.24   $            66.24   $           -
Computer Hardware   7/30/2015       6 of 32-ASTI 8GB RAM                      $        66.24   $            66.24   $           -
Computer Hardware   7/30/2015       7 of 32-ASTI 8GB RAM                      $        66.24   $            66.24   $           -
Computer Hardware   7/30/2015       8 of 32-ASTI 8GB RAM                      $        66.24   $            66.24   $           -
Computer Hardware   7/30/2015       9 of 32-ASTI 8GB RAM                      $        66.24   $            66.24   $           -
Computer Hardware   7/30/2015       10 of 32-ASTI 8GB RAM                     $        66.24   $            66.24   $           -
Computer Hardware   7/30/2015       11 of 32-ASTI 8GB RAM                     $        66.24   $            66.24   $           -
Computer Hardware   7/30/2015       12 of 32-ASTI 8GB RAM                     $        66.24   $            66.24   $           -
Computer Hardware   7/30/2015       13 of 32-ASTI 8GB RAM                     $        66.24   $            66.24   $           -
Computer Hardware   7/30/2015       14 of 32-ASTI 8GB RAM                     $        66.24   $            66.24   $           -
Computer Hardware   7/30/2015       15 of 32-ASTI 8GB RAM                     $        66.24   $            66.24   $           -
Computer Hardware   7/30/2015       16 of 32-ASTI 8GB RAM                     $        66.24   $            66.24   $           -
Computer Hardware   7/30/2015       17 of 32-ASTI 8GB RAM                     $        66.24   $            66.24   $           -
Computer Hardware   7/30/2015       18 of 32-ASTI 8GB RAM                     $        66.24   $            66.24   $           -
Computer Hardware   7/30/2015       19 of 32-ASTI 8GB RAM                     $        66.24   $            66.24   $           -


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       Category        Date Acq                      Description                     Cost             Depreciation          Value
Computer Hardware   7/30/2015       20 of 32-ASTI 8GB RAM                      $          66.24   $             66.24   $           -
Computer Hardware   7/30/2015       21 of 32-ASTI 8GB RAM                      $          66.24   $             66.24   $           -
Computer Hardware   7/30/2015       22 of 32-ASTI 8GB RAM                      $          66.24   $             66.24   $           -
Computer Hardware   7/30/2015       23 of 32-ASTI 8GB RAM                      $          66.24   $             66.24   $           -
Computer Hardware   7/30/2015       24 of 32-ASTI 8GB RAM                      $          66.24   $             66.24   $           -
Computer Hardware   7/30/2015       25 of 32-ASTI 8GB RAM                      $          66.24   $             66.24   $           -
Computer Hardware   7/30/2015       26 of 32-ASTI 8GB RAM                      $          66.24   $             66.24   $           -
Computer Hardware   7/30/2015       27 of 32-ASTI 8GB RAM                      $          66.24   $             66.24   $           -
Computer Hardware   7/30/2015       28 of 32-ASTI 8GB RAM                      $          66.24   $             66.24   $           -
Computer Hardware   7/30/2015       29 of 32-ASTI 8GB RAM                      $          66.24   $             66.24   $           -
Computer Hardware   7/30/2015       30 of 32-ASTI 8GB RAM                      $          66.24   $             66.24   $           -
Computer Hardware   7/30/2015       31 of 32-ASTI 8GB RAM                      $          66.24   $             66.24   $           -
Computer Hardware   7/30/2015       32 of 32-ASTI 8GB RAM                      $          66.24   $             66.24   $           -
                                    1 of 6-Seagate M9T SpinPoint2 32 MB
Computer Hardware   8/11/2015       Cache OEM Drives                           $          95.88   $            95.88    $           -
                                    2 of 6-Seagate M9T SpinPoint2 32 MB
Computer Hardware   8/11/2015       Cache OEM Drives                           $          95.88   $            95.88    $           -
                                    3 of 6-Seagate M9T SpinPoint2 32 MB
Computer Hardware   8/11/2015       Cache OEM Drives                           $          95.88   $            95.88    $           -
                                    4 of 6-Seagate M9T SpinPoint2 32 MB
Computer Hardware   8/11/2015       Cache OEM Drives                           $          95.88   $            95.88    $           -
                                    5 of 6-Seagate M9T SpinPoint2 32 MB
Computer Hardware   8/11/2015       Cache OEM Drives                           $          95.88   $            95.88    $           -
                                    6 of 6-Seagate M9T SpinPoint2 32 MB
Computer Hardware   8/11/2015       Cache OEM Drives                           $          95.88   $             95.88   $           -
Computer Hardware   8/11/2015       1 of 4-Amazon - Laptops                    $         648.57   $            648.57   $           -
Computer Hardware   8/11/2015       2 of 4-Amazon - Laptops                    $         648.59   $            648.59   $           -
Computer Hardware   8/11/2015       3 of 4-Amazon - Laptops                    $         648.59   $            648.59   $           -
Computer Hardware   8/11/2015       4 of 4-Amazon - Laptops                    $         648.59   $            648.59   $           -
Computer Hardware   9/1/2015        1 of 15-Dell Latitude - PCM Sched 172      $       1,208.00   $          1,208.00   $           -
Computer Hardware   9/1/2015        2 of 15-Dell Latitude - PCM Sched 172      $       1,208.00   $          1,208.00   $           -
Computer Hardware   9/1/2015        3 of 15-Dell Latitude - PCM Sched 172      $       1,208.00   $          1,208.00   $           -
Computer Hardware   9/1/2015        4 of 15-Dell Latitude - PCM Sched 172      $       1,208.00   $          1,208.00   $           -
Computer Hardware   9/1/2015        5 of 15-Dell Latitude - PCM Sched 172      $       1,208.00   $          1,208.00   $           -


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                                       Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                    Description                     Cost             Depreciation         Value
Computer Hardware   9/1/2015       6 of 15-Dell Latitude - PCM Sched 172      $       1,208.00   $         1,208.00   $           -
Computer Hardware   9/1/2015       7 of 15-Dell Latitude - PCM Sched 172      $       1,208.00   $         1,208.00   $           -
Computer Hardware   9/1/2015       8 of 15-Dell Latitude - PCM Sched 172      $       1,208.00   $         1,208.00   $           -
Computer Hardware   9/1/2015       9 of 15-Dell Latitude - PCM Sched 172      $       1,208.00   $         1,208.00   $           -
Computer Hardware   9/1/2015       10 of 15-Dell Latitude - PCM Sched 172     $       1,208.00   $         1,208.00   $           -
Computer Hardware   9/1/2015       11 of 15-Dell Latitude - PCM Sched 172     $       1,208.00   $         1,208.00   $           -
Computer Hardware   9/1/2015       12 of 15-Dell Latitude - PCM Sched 172     $       1,208.00   $         1,208.00   $           -
Computer Hardware   9/1/2015       13 of 15-Dell Latitude - PCM Sched 172     $       1,208.00   $         1,208.00   $           -
Computer Hardware   9/1/2015       14 of 15-Dell Latitude - PCM Sched 172     $       1,208.00   $         1,208.00   $           -
Computer Hardware   9/1/2015       15 of 15-Dell Latitude - PCM Sched 172     $       1,208.00   $         1,208.00   $           -

Computer Hardware   9/1/2015       1 of 15-Dell Optiplex 7020 - PCM Sched 172 $        711.00    $           711.00   $           -

Computer Hardware   9/1/2015       2 of 15-Dell Optiplex 7020 - PCM Sched 172 $        711.00    $           711.00   $           -

Computer Hardware   9/1/2015       3 of 15-Dell Optiplex 7020 - PCM Sched 172 $        711.00    $           711.00   $           -

Computer Hardware   9/1/2015       4 of 15-Dell Optiplex 7020 - PCM Sched 172 $        711.00    $           711.00   $           -

Computer Hardware   9/1/2015       5 of 15-Dell Optiplex 7020 - PCM Sched 172 $        711.00    $           711.00   $           -

Computer Hardware   9/1/2015       6 of 15-Dell Optiplex 7020 - PCM Sched 172 $        711.00    $           711.00   $           -

Computer Hardware   9/1/2015       7 of 15-Dell Optiplex 7020 - PCM Sched 172 $        711.00    $           711.00   $           -

Computer Hardware   9/1/2015       8 of 15-Dell Optiplex 7020 - PCM Sched 172 $        711.00    $           711.00   $           -

Computer Hardware   9/1/2015       9 of 15-Dell Optiplex 7020 - PCM Sched 172   $      711.00    $           711.00   $           -
                                   10 of 15-Dell Optiplex 7020 - PCM Sched
Computer Hardware   9/1/2015       172                                          $      711.00    $           711.00   $           -
                                   11 of 15-Dell Optiplex 7020 - PCM Sched
Computer Hardware   9/1/2015       172                                          $      711.00    $           711.00   $           -
                                   12 of 15-Dell Optiplex 7020 - PCM Sched
Computer Hardware   9/1/2015       172                                          $      711.00    $           711.00   $           -




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                                      Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                    Description                     Cost            Depreciation         Value
                                   13 of 15-Dell Optiplex 7020 - PCM Sched
Computer Hardware   9/1/2015       172                                       $        711.00   $           711.00   $           -
                                   14 of 15-Dell Optiplex 7020 - PCM Sched
Computer Hardware   9/1/2015       172                                       $        711.00   $           711.00   $           -
                                   15 of 15-Dell Optiplex 7020 - PCM Sched
Computer Hardware   9/1/2015       172                                       $        711.00   $           711.00   $           -

Computer Hardware   9/1/2015       1 of 15-Dell 22" Monitor - PCM Sched 172    $      113.00   $           113.00   $           -

Computer Hardware   9/1/2015       2 of 15-Dell 22" Monitor - PCM Sched 172    $      113.00   $           113.00   $           -

Computer Hardware   9/1/2015       3 of 15-Dell 22" Monitor - PCM Sched 172    $      113.00   $           113.00   $           -

Computer Hardware   9/1/2015       4 of 15-Dell 22" Monitor - PCM Sched 172    $      113.00   $           113.00   $           -

Computer Hardware   9/1/2015       5 of 15-Dell 22" Monitor - PCM Sched 172    $      113.00   $           113.00   $           -

Computer Hardware   9/1/2015       6 of 15-Dell 22" Monitor - PCM Sched 172    $      113.00   $           113.00   $           -

Computer Hardware   9/1/2015       7 of 15-Dell 22" Monitor - PCM Sched 172    $      113.00   $           113.00   $           -

Computer Hardware   9/1/2015       8 of 15-Dell 22" Monitor - PCM Sched 172    $      113.00   $           113.00   $           -

Computer Hardware   9/1/2015       9 of 15-Dell 22" Monitor - PCM Sched 172    $      113.00   $           113.00   $           -

Computer Hardware   9/1/2015       10 of 15-Dell 22" Monitor - PCM Sched 172   $      113.00   $           113.00   $           -

Computer Hardware   9/1/2015       11 of 15-Dell 22" Monitor - PCM Sched 172   $      113.00   $           113.00   $           -

Computer Hardware   9/1/2015       12 of 15-Dell 22" Monitor - PCM Sched 172   $      113.00   $           113.00   $           -

Computer Hardware   9/1/2015       13 of 15-Dell 22" Monitor - PCM Sched 172   $      113.00   $           113.00   $           -

Computer Hardware   9/1/2015       14 of 15-Dell 22" Monitor - PCM Sched 172   $      113.00   $           113.00   $           -

Computer Hardware   9/1/2015       15 of 15-Dell 22" Monitor - PCM Sched 172   $      113.00   $           113.00   $           -
Computer Hardware   9/1/2015       1 of 15-Apple iPad Air - PCM Sched 172      $      598.00   $           598.00   $           -


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                                        Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                    Description                      Cost            Depreciation         Value
Computer Hardware   9/1/2015        2 of 15-Apple iPad Air - PCM Sched 172     $        598.00   $           598.00   $             -
Computer Hardware   9/1/2015        3 of 15-Apple iPad Air - PCM Sched 172     $        598.00   $           598.00   $             -
Computer Hardware   9/1/2015        4 of 15-Apple iPad Air - PCM Sched 172     $        598.00   $           598.00   $             -
Computer Hardware   9/1/2015        5 of 15-Apple iPad Air - PCM Sched 172     $        598.00   $           598.00   $             -
Computer Hardware   9/1/2015        6 of 15-Apple iPad Air - PCM Sched 172     $        598.00   $           598.00   $             -
Computer Hardware   9/1/2015        7 of 15-Apple iPad Air - PCM Sched 172     $        598.00   $           598.00   $             -
Computer Hardware   9/1/2015        8 of 15-Apple iPad Air - PCM Sched 172     $        598.00   $           598.00   $             -
Computer Hardware   9/1/2015        9 of 15-Apple iPad Air - PCM Sched 172     $        598.00   $           598.00   $             -

Computer Hardware   9/1/2015        10 of 15-Apple iPad Air - PCM Sched 172   $        598.00    $           598.00   $             -

Computer Hardware   9/1/2015        11 of 15-Apple iPad Air - PCM Sched 172   $        598.00    $           598.00   $             -

Computer Hardware   9/1/2015        12 of 15-Apple iPad Air - PCM Sched 172   $        598.00    $           598.00   $             -

Computer Hardware   9/1/2015        13 of 15-Apple iPad Air - PCM Sched 172   $        598.00    $           598.00   $             -

Computer Hardware   9/1/2015        14 of 15-Apple iPad Air - PCM Sched 172   $        598.00    $           598.00   $             -

Computer Hardware   9/1/2015        15 of 15-Apple iPad Air - PCM Sched 172   $        598.00    $           598.00   $             -
                                    1 of 3-Promevo Chromebox - Innovocative
Computer Hardware   10/1/2015       Solutions                                 $       1,371.41   $         1,371.41   $            0.00
                                    Dell Sonicwall Security Apppliance -
Computer Hardware   10/1/2015       Innovocative Solutions                    $       2,427.56   $         2,427.56   $             -
                                    2 of 3-Promevo Chromebox - Innovocative
Computer Hardware   10/1/2015       Solutions                                 $       1,371.41   $         1,371.41   $            0.00
                                    3 of 3-Promevo Chromebox - Innovocative
Computer Hardware   10/1/2015       Solutions                                 $       1,371.41   $         1,371.41   $            0.00
                                    1 of 2-Promevo Chromebox - Innovocative
Computer Hardware   10/1/2015       Solutions                                 $        807.74    $           807.74   $             -
                                    2 of 2-Promevo Chromebox - Innovocative
Computer Hardware   10/1/2015       Solutions                                 $        807.74    $           807.74   $             -

Computer Hardware   11/1/2015       1 of 2-Lenovo Thinkpad - PCM Sched 173    $       1,181.82   $         1,148.99   $           32.83

Computer Hardware   11/1/2015       2 of 2-Lenovo Thinkpad - PCM Sched 173    $       1,181.82   $         1,148.99   $           32.83


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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                       Cost            Depreciation         Value

Computer Hardware   11/1/2015       1 of 3-Lenovo ThinkPad - PCM Sched 173      $    1,189.99   $         1,156.92   $           33.07

Computer Hardware   11/1/2015       2 of 3-Lenovo ThinkPad - PCM Sched 173      $    1,189.99   $         1,156.93   $           33.06

Computer Hardware   11/1/2015       3 of 3-Lenovo ThinkPad - PCM Sched 173      $    1,189.99   $         1,156.93   $           33.06
Computer Hardware   11/1/2015       1 of 5-Dell Latitude - PCM Sched 174        $    1,208.00   $         1,174.45   $           33.55
Computer Hardware   11/1/2015       2 of 5-Dell Latitude - PCM Sched 174        $    1,208.00   $         1,174.45   $           33.55
Computer Hardware   11/1/2015       3 of 5-Dell Latitude - PCM Sched 174        $    1,208.00   $         1,174.45   $           33.55
Computer Hardware   11/1/2015       4 of 5-Dell Latitude - PCM Sched 174        $    1,208.00   $         1,174.45   $           33.55
Computer Hardware   11/1/2015       5 of 5-Dell Latitude - PCM Sched 174        $    1,208.00   $         1,174.45   $           33.55

Computer Hardware   11/1/2015       1 of 20-Dell 22" Monitor - PCM Sched 174    $      124.00   $           120.53   $            3.47

Computer Hardware   11/1/2015       2 of 20-Dell 22" Monitor - PCM Sched 174    $      124.00   $           120.55   $            3.45

Computer Hardware   11/1/2015       3 of 20-Dell 22" Monitor - PCM Sched 174    $      124.00   $           120.55   $            3.45

Computer Hardware   11/1/2015       4 of 20-Dell 22" Monitor - PCM Sched 174    $      124.00   $           120.55   $            3.45

Computer Hardware   11/1/2015       5 of 20-Dell 22" Monitor - PCM Sched 174    $      124.00   $           120.55   $            3.45

Computer Hardware   11/1/2015       6 of 20-Dell 22" Monitor - PCM Sched 174    $      124.00   $           120.55   $            3.45

Computer Hardware   11/1/2015       7 of 20-Dell 22" Monitor - PCM Sched 174    $      124.00   $           120.55   $            3.45

Computer Hardware   11/1/2015       8 of 20-Dell 22" Monitor - PCM Sched 174    $      124.00   $           120.55   $            3.45

Computer Hardware   11/1/2015       9 of 20-Dell 22" Monitor - PCM Sched 174    $      124.00   $           120.55   $            3.45

Computer Hardware   11/1/2015       10 of 20-Dell 22" Monitor - PCM Sched 174   $      124.00   $           120.55   $            3.45

Computer Hardware   11/1/2015       11 of 20-Dell 22" Monitor - PCM Sched 174   $      124.00   $           120.55   $            3.45

Computer Hardware   11/1/2015       12 of 20-Dell 22" Monitor - PCM Sched 174   $      124.00   $           120.55   $            3.45




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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                       Cost            Depreciation         Value

Computer Hardware   11/1/2015       13 of 20-Dell 22" Monitor - PCM Sched 174   $      124.00   $           120.55   $            3.45

Computer Hardware   11/1/2015       14 of 20-Dell 22" Monitor - PCM Sched 174   $      124.00   $           120.55   $            3.45

Computer Hardware   11/1/2015       15 of 20-Dell 22" Monitor - PCM Sched 174   $      124.00   $           120.55   $            3.45

Computer Hardware   11/1/2015       16 of 20-Dell 22" Monitor - PCM Sched 174   $      124.00   $           120.55   $            3.45

Computer Hardware   11/1/2015       17 of 20-Dell 22" Monitor - PCM Sched 174   $      124.00   $           120.55   $            3.45

Computer Hardware   11/1/2015       18 of 20-Dell 22" Monitor - PCM Sched 174   $      124.00   $           120.55   $            3.45

Computer Hardware   11/1/2015       19 of 20-Dell 22" Monitor - PCM Sched 174   $      124.00   $           120.55   $            3.45

Computer Hardware   11/1/2015       20 of 20-Dell 22" Monitor - PCM Sched 174   $      124.00   $           120.55   $            3.45
                                    Apple Macbook - Micro Center (Neal's
Computer Hardware   11/1/2015       AMEX)                                       $    2,503.54   $         2,433.99   $           69.55
Computer Hardware   11/1/2015       1 of 2-Refurbished Server - Stallard Tech   $    2,041.29   $         2,041.29   $             -
Computer Hardware   11/1/2015       2 of 2-Refurbished Server - Stallard Tech   $    2,041.29   $         2,041.29   $             -
                                    1 of 2-Brookstone Pocket Projector -
Computer Hardware   11/1/2015       Amazon                                      $      339.99   $           330.54   $            9.45
                                    2 of 2-Brookstone Pocket Projector -
Computer Hardware   11/1/2015       Amazon                                      $      339.99   $           330.55   $            9.44
Computer Hardware   12/1/2015       MS Surface Pro 4                            $    1,676.96   $         1,583.80   $           93.16
Computer Hardware   12/10/2015      Epson EX7230 Projector - Best Buy           $      534.99   $           505.27   $           29.72
                                    1 of 2-Dell Precision M6800 - PCM Sched
Computer Hardware   1/1/2016        175                                         $    2,282.50   $         2,092.29   $       190.21
                                    2 of 2-Dell Precision M6800 - PCM Sched
Computer Hardware   1/1/2016        175                                         $    2,282.50   $         2,092.29   $       190.21
Computer Hardware   1/1/2016        1 of 5-Dell Latitudes - PCM Sched 176       $    1,272.20   $         1,166.19   $       106.01
Computer Hardware   1/1/2016        2 of 5-Dell Latitudes - PCM Sched 176       $    1,272.20   $         1,166.19   $       106.01
Computer Hardware   1/1/2016        3 of 5-Dell Latitudes - PCM Sched 176       $    1,272.20   $         1,166.19   $       106.01
Computer Hardware   1/1/2016        4 of 5-Dell Latitudes - PCM Sched 176       $    1,272.20   $         1,166.19   $       106.01
Computer Hardware   1/1/2016        5 of 5-Dell Latitudes - PCM Sched 176       $    1,272.20   $         1,166.19   $       106.01



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                                        Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                     Description                     Cost             Depreciation         Value
Computer Hardware   1/1/2016        MacBook Pro - PCM Sched 177                $       2,663.00   $         2,441.09   $       221.91
Computer Hardware   1/1/2016        1 of 5-Apple iPad Air2 - PMC Sched 177     $         578.00   $           529.84   $         48.16
Computer Hardware   1/1/2016        2 of 5-Apple iPad Air2 - PMC Sched 177     $         578.00   $           529.84   $         48.16
Computer Hardware   1/1/2016        3 of 5-Apple iPad Air2 - PMC Sched 177     $         578.00   $           529.84   $         48.16
Computer Hardware   1/1/2016        4 of 5-Apple iPad Air2 - PMC Sched 177     $         578.00   $           529.84   $         48.16
Computer Hardware   1/1/2016        5 of 5-Apple iPad Air2 - PMC Sched 177     $         578.00   $           529.84   $         48.16
Computer Hardware   1/1/2016        Asus Chromebox - Promevo                   $       3,372.18   $         3,091.17   $       281.01
                                    1 of 3-Microsoft Surface Pro 4 - PCM Sched
Computer Hardware   2/1/2016        178                                        $       2,127.00   $         1,890.66   $       236.34
                                    2 of 3-Microsoft Surface Pro 4 - PCM Sched
Computer Hardware   2/1/2016        178                                        $       2,127.00   $         1,890.67   $       236.33
                                    3 of 3-Microsoft Surface Pro 4 - PCM Sched
Computer Hardware   2/1/2016        178                                        $       2,127.00   $         1,890.67   $       236.33
Computer Hardware   2/1/2016        1 of 11-Dell 22" Monitors - PCM Leasing    $          80.99   $            71.95   $         9.04
Computer Hardware   2/1/2016        2 of 11-Dell 22" Monitors - PCM Leasing    $          80.98   $            71.98   $         9.00
Computer Hardware   2/1/2016        3 of 11-Dell 22" Monitors - PCM Leasing    $          80.98   $            71.98   $         9.00
Computer Hardware   2/1/2016        4 of 11-Dell 22" Monitors - PCM Leasing    $          80.98   $            71.98   $         9.00
Computer Hardware   2/1/2016        5 of 11-Dell 22" Monitors - PCM Leasing    $          80.98   $            71.98   $         9.00
Computer Hardware   2/1/2016        6 of 11-Dell 22" Monitors - PCM Leasing    $          80.98   $            71.98   $         9.00
Computer Hardware   2/1/2016        7 of 11-Dell 22" Monitors - PCM Leasing    $          80.98   $            71.98   $         9.00
Computer Hardware   2/1/2016        8 of 11-Dell 22" Monitors - PCM Leasing    $          80.98   $            71.98   $         9.00
Computer Hardware   2/1/2016        9 of 11-Dell 22" Monitors - PCM Leasing    $          80.98   $            71.98   $         9.00

Computer Hardware   2/1/2016        10 of 11-Dell 22" Monitors - PCM Leasing   $         80.98    $            71.98   $          9.00

Computer Hardware   2/1/2016        11 of 11-Dell 22" Monitors - PCM Leasing   $         80.98    $            71.98   $          9.00
Computer Hardware   2/1/2016        1 of 2-Dell 20" Monitors - PCM Leasing     $         48.59    $            43.20   $          5.39
Computer Hardware   2/1/2016        2 of 2-Dell 20" Monitors - PCM Leasing     $         48.59    $            43.20   $          5.39
                                    Apple Mac Mini MGEN2LL Desktop -
Computer Hardware   2/8/2016        Amazon                                     $        677.45    $           602.18   $        75.27

Computer Hardware   3/1/2016        1 of 5-Dell Latitude E7450 - PCM Sched 179 $      1,222.00    $         1,052.27   $       169.73

Computer Hardware   3/1/2016        2 of 5-Dell Latitude E7450 - PCM Sched 179 $      1,222.00    $         1,052.27   $       169.73



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                       Cost              Depreciation         Value

Computer Hardware   3/1/2016        3 of 5-Dell Latitude E7450 - PCM Sched 179 $       1,222.00   $         1,052.27   $       169.73

Computer Hardware   3/1/2016        4 of 5-Dell Latitude E7450 - PCM Sched 179 $       1,222.00   $         1,052.27   $       169.73

Computer Hardware   3/1/2016        5 of 5-Dell Latitude E7450 - PCM Sched 179   $     1,222.00   $         1,052.27   $       169.73
Computer Hardware   3/1/2016        1 of 13-Dell Optiplex - PCM Sch 180          $       711.00   $           612.25   $        98.75
Computer Hardware   3/1/2016        2 of 13-Dell Optiplex - PCM Sch 180          $       711.00   $           612.25   $        98.75
Computer Hardware   3/1/2016        3 of 13-Dell Optiplex - PCM Sch 180          $       711.00   $           612.25   $        98.75
Computer Hardware   3/1/2016        4 of 13-Dell Optiplex - PCM Sch 180          $       711.00   $           612.25   $        98.75
Computer Hardware   3/1/2016        5 of 13-Dell Optiplex - PCM Sch 180          $       711.00   $           612.25   $        98.75
Computer Hardware   3/1/2016        6 of 13-Dell Optiplex - PCM Sch 180          $       711.00   $           612.25   $        98.75
Computer Hardware   3/1/2016        7 of 13-Dell Optiplex - PCM Sch 180          $       711.00   $           612.25   $        98.75
Computer Hardware   3/1/2016        8 of 13-Dell Optiplex - PCM Sch 180          $       711.00   $           612.25   $        98.75
Computer Hardware   3/1/2016        9 of 13-Dell Optiplex - PCM Sch 180          $       711.00   $           612.25   $        98.75
Computer Hardware   3/1/2016        10 of 13-Dell Optiplex - PCM Sch 180         $       711.00   $           612.25   $        98.75
Computer Hardware   3/1/2016        11 of 13-Dell Optiplex - PCM Sch 180         $       711.00   $           612.25   $        98.75
Computer Hardware   3/1/2016        12 of 13-Dell Optiplex - PCM Sch 180         $       711.00   $           612.25   $        98.75
Computer Hardware   3/1/2016        13 of 13-Dell Optiplex - PCM Sch 180         $       711.00   $           612.25   $        98.75

Computer Hardware   3/1/2016        1 of 11-Dell Latitude E5550 - PCM Sch 180    $     1,387.00   $         1,194.35   $       192.65

Computer Hardware   3/1/2016        2 of 11-Dell Latitude E5550 - PCM Sch 180    $     1,387.00   $         1,194.35   $       192.65

Computer Hardware   3/1/2016        3 of 11-Dell Latitude E5550 - PCM Sch 180    $     1,387.00   $         1,194.35   $       192.65

Computer Hardware   3/1/2016        4 of 11-Dell Latitude E5550 - PCM Sch 180    $     1,387.00   $         1,194.35   $       192.65

Computer Hardware   3/1/2016        5 of 11-Dell Latitude E5550 - PCM Sch 180    $     1,387.00   $         1,194.35   $       192.65

Computer Hardware   3/1/2016        6 of 11-Dell Latitude E5550 - PCM Sch 180    $     1,387.00   $         1,194.35   $       192.65

Computer Hardware   3/1/2016        7 of 11-Dell Latitude E5550 - PCM Sch 180    $     1,387.00   $         1,194.35   $       192.65

Computer Hardware   3/1/2016        8 of 11-Dell Latitude E5550 - PCM Sch 180    $     1,387.00   $         1,194.35   $       192.65


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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                       Cost             Depreciation         Value

Computer Hardware   3/1/2016        9 of 11-Dell Latitude E5550 - PCM Sch 180   $     1,387.00   $         1,194.35   $       192.65

Computer Hardware   3/1/2016        10 of 11-Dell Latitude E5550 - PCM Sch 180 $      1,387.00   $         1,194.35   $       192.65

Computer Hardware   3/1/2016        11 of 11-Dell Latitude E5550 - PCM Sch 180 $      1,387.00   $         1,194.35   $       192.65

Computer Hardware   3/1/2016        1 of 42-Dell Latitude E5270 - PCM Sch 180   $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        2 of 42-Dell Latitude E5270 - PCM Sch 180   $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        3 of 42-Dell Latitude E5270 - PCM Sch 180   $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        4 of 42-Dell Latitude E5270 - PCM Sch 180   $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        5 of 42-Dell Latitude E5270 - PCM Sch 180   $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        6 of 42-Dell Latitude E5270 - PCM Sch 180   $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        7 of 42-Dell Latitude E5270 - PCM Sch 180   $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        8 of 42-Dell Latitude E5270 - PCM Sch 180   $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        9 of 42-Dell Latitude E5270 - PCM Sch 180   $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        10 of 42-Dell Latitude E5270 - PCM Sch 180 $      1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        11 of 42-Dell Latitude E5270 - PCM Sch 180 $      1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        12 of 42-Dell Latitude E5270 - PCM Sch 180 $      1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        13 of 42-Dell Latitude E5270 - PCM Sch 180 $      1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        14 of 42-Dell Latitude E5270 - PCM Sch 180 $      1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        15 of 42-Dell Latitude E5270 - PCM Sch 180 $      1,141.00   $           982.52   $       158.48



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                       Cost            Depreciation         Value

Computer Hardware   3/1/2016        16 of 42-Dell Latitude E5270 - PCM Sch 180 $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        17 of 42-Dell Latitude E5270 - PCM Sch 180 $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        18 of 42-Dell Latitude E5270 - PCM Sch 180 $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        19 of 42-Dell Latitude E5270 - PCM Sch 180 $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        20 of 42-Dell Latitude E5270 - PCM Sch 180 $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        21 of 42-Dell Latitude E5270 - PCM Sch 180 $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        22 of 42-Dell Latitude E5270 - PCM Sch 180 $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        23 of 42-Dell Latitude E5270 - PCM Sch 180 $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        24 of 42-Dell Latitude E5270 - PCM Sch 180 $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        25 of 42-Dell Latitude E5270 - PCM Sch 180 $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        26 of 42-Dell Latitude E5270 - PCM Sch 180 $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        27 of 42-Dell Latitude E5270 - PCM Sch 180 $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        28 of 42-Dell Latitude E5270 - PCM Sch 180 $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        29 of 42-Dell Latitude E5270 - PCM Sch 180 $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        30 of 42-Dell Latitude E5270 - PCM Sch 180 $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        31 of 42-Dell Latitude E5270 - PCM Sch 180 $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        32 of 42-Dell Latitude E5270 - PCM Sch 180 $     1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        33 of 42-Dell Latitude E5270 - PCM Sch 180 $     1,141.00   $           982.52   $       158.48



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                       Cost              Depreciation         Value

Computer Hardware   3/1/2016        34 of 42-Dell Latitude E5270 - PCM Sch 180 $       1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        35 of 42-Dell Latitude E5270 - PCM Sch 180 $       1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        36 of 42-Dell Latitude E5270 - PCM Sch 180 $       1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        37 of 42-Dell Latitude E5270 - PCM Sch 180 $       1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        38 of 42-Dell Latitude E5270 - PCM Sch 180 $       1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        39 of 42-Dell Latitude E5270 - PCM Sch 180 $       1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        40 of 42-Dell Latitude E5270 - PCM Sch 180 $       1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        41 of 42-Dell Latitude E5270 - PCM Sch 180 $       1,141.00   $           982.52   $       158.48

Computer Hardware   3/1/2016        42 of 42-Dell Latitude E5270 - PCM Sch 180   $     1,141.00   $           982.52   $       158.48
Computer Hardware   3/1/2016        1 of 5-Asus Chromeboxes - Promevo            $     1,436.08   $         1,236.62   $       199.46
Computer Hardware   3/1/2016        2 of 5-Asus Chromeboxes - Promevo            $     1,436.09   $         1,236.64   $       199.45
Computer Hardware   3/1/2016        3 of 5-Asus Chromeboxes - Promevo            $     1,436.09   $         1,236.64   $       199.45
Computer Hardware   3/1/2016        4 of 5-Asus Chromeboxes - Promevo            $     1,436.09   $         1,236.64   $       199.45
Computer Hardware   3/1/2016        5 of 5-Asus Chromeboxes - Promevo            $     1,436.09   $         1,236.64   $       199.45
Computer Hardware   3/1/2016        70" LED HDTV - Sam Lewis AMEX                $     1,590.22   $         1,369.35   $       220.87
Computer Hardware   4/12/2016       1 of 2-MacBook Pro - Apple Store             $     2,870.89   $         2,392.40   $       478.49
Computer Hardware   4/12/2016       2 of 2-MacBook Pro - Apple Store             $     2,870.89   $         2,392.40   $       478.49
Computer Hardware   4/21/2016       MacBook Pro - Apple Store                    $     2,368.36   $         1,973.63   $       394.73
Computer Hardware   4/21/2016       1 of 2-Dell Inspiron Laptop - Best Buy       $     1,132.52   $           943.77   $       188.75
Computer Hardware   4/21/2016       2 of 2-Dell Inspiron Laptop - Best Buy       $     1,132.52   $           943.77   $       188.75
Computer Hardware   5/1/2016        1 of 15-iPad Air2 - PCM Sch 181              $       480.00   $           386.62   $        93.38
Computer Hardware   5/1/2016        2 of 15-iPad Air2 - PCM Sch 181              $       480.00   $           386.67   $        93.33
Computer Hardware   5/1/2016        3 of 15-iPad Air2 - PCM Sch 181              $       480.00   $           386.67   $        93.33
Computer Hardware   5/1/2016        4 of 15-iPad Air2 - PCM Sch 181              $       480.00   $           386.67   $        93.33
Computer Hardware   5/1/2016        5 of 15-iPad Air2 - PCM Sch 181              $       480.00   $           386.67   $        93.33



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Computer Hardware   5/1/2016        6 of 15-iPad Air2 - PCM Sch 181            $         480.00   $           386.67   $        93.33
Computer Hardware   5/1/2016        7 of 15-iPad Air2 - PCM Sch 181            $         480.00   $           386.67   $        93.33
Computer Hardware   5/1/2016        8 of 15-iPad Air2 - PCM Sch 181            $         480.00   $           386.67   $        93.33
Computer Hardware   5/1/2016        9 of 15-iPad Air2 - PCM Sch 181            $         480.00   $           386.67   $        93.33
Computer Hardware   5/1/2016        10 of 15-iPad Air2 - PCM Sch 181           $         480.00   $           386.67   $        93.33
Computer Hardware   5/1/2016        11 of 15-iPad Air2 - PCM Sch 181           $         480.00   $           386.67   $        93.33
Computer Hardware   5/1/2016        12 of 15-iPad Air2 - PCM Sch 181           $         480.00   $           386.67   $        93.33
Computer Hardware   5/1/2016        13 of 15-iPad Air2 - PCM Sch 181           $         480.00   $           386.67   $        93.33
Computer Hardware   5/1/2016        14 of 15-iPad Air2 - PCM Sch 181           $         480.00   $           386.67   $        93.33
Computer Hardware   5/1/2016        15 of 15-iPad Air2 - PCM Sch 181           $         480.00   $           386.67   $        93.33
Computer Hardware   5/1/2016        1 of 3-MacBook Pro - PCM Sch 181           $       3,200.72   $         2,578.36   $       622.36
Computer Hardware   5/1/2016        2 of 3-MacBook Pro - PCM Sch 181           $       3,200.72   $         2,578.36   $       622.36
Computer Hardware   5/1/2016        3 of 3-MacBook Pro - PCM Sch 181           $       3,200.72   $         2,578.36   $       622.36
Computer Hardware   5/1/2016        Maintenance Camera                         $      24,495.02   $        11,839.25   $    12,655.77
                                    MacBook Pro from Apple Store - K. Crowder
Computer Hardware   5/1/2016        AMEX                                       $       2,879.16   $         2,319.32   $       559.84
Computer Hardware   5/1/2016        1 of 99-Dell 22" Monitor - PCM Sch 182     $         132.20   $           106.61   $        25.59
Computer Hardware   5/1/2016        2 of 99-Dell 22" Monitor - PCM Sch 182     $         132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016        3 of 99-Dell 22" Monitor - PCM Sch 182     $         132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016        4 of 99-Dell 22" Monitor - PCM Sch 182     $         132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016        5 of 99-Dell 22" Monitor - PCM Sch 182     $         132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016        6 of 99-Dell 22" Monitor - PCM Sch 182     $         132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016        7 of 99-Dell 22" Monitor - PCM Sch 182     $         132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016        8 of 99-Dell 22" Monitor - PCM Sch 182     $         132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016        9 of 99-Dell 22" Monitor - PCM Sch 182     $         132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016        10 of 99-Dell 22" Monitor - PCM Sch 182    $         132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016        11 of 99-Dell 22" Monitor - PCM Sch 182    $         132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016        12 of 99-Dell 22" Monitor - PCM Sch 182    $         132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016        13 of 99-Dell 22" Monitor - PCM Sch 182    $         132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016        14 of 99-Dell 22" Monitor - PCM Sch 182    $         132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016        15 of 99-Dell 22" Monitor - PCM Sch 182    $         132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016        16 of 99-Dell 22" Monitor - PCM Sch 182    $         132.20   $           106.50   $        25.70



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                                      Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                   Description                     Cost            Depreciation         Value
Computer Hardware   5/1/2016       17 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       18 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       19 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       20 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       21 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       22 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       23 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       24 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       25 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       26 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       27 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       28 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       29 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       30 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       31 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       32 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       33 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       34 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       35 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       36 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       37 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       38 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       39 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       40 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       41 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       42 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       43 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       44 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       45 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       46 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       47 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       48 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70



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                                      Xceligent Schedule Question 41 - Office Equipment
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Computer Hardware   5/1/2016       49 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       50 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       51 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       52 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       53 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       54 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       55 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       56 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       57 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       58 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       59 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       60 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       61 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       62 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       63 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       64 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       65 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       66 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       67 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       68 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       69 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       70 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       71 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       72 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       73 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       74 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       75 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       76 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       77 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       78 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       79 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70
Computer Hardware   5/1/2016       80 of 99-Dell 22" Monitor - PCM Sch 182   $        132.20   $           106.50   $           25.70



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       Category         Date Acq                   Description                      Cost            Depreciation         Value
Computer Hardware   5/1/2016       81 of 99-Dell 22" Monitor - PCM Sch 182    $        132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016       82 of 99-Dell 22" Monitor - PCM Sch 182    $        132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016       83 of 99-Dell 22" Monitor - PCM Sch 182    $        132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016       84 of 99-Dell 22" Monitor - PCM Sch 182    $        132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016       85 of 99-Dell 22" Monitor - PCM Sch 182    $        132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016       86 of 99-Dell 22" Monitor - PCM Sch 182    $        132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016       87 of 99-Dell 22" Monitor - PCM Sch 182    $        132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016       88 of 99-Dell 22" Monitor - PCM Sch 182    $        132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016       89 of 99-Dell 22" Monitor - PCM Sch 182    $        132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016       90 of 99-Dell 22" Monitor - PCM Sch 182    $        132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016       91 of 99-Dell 22" Monitor - PCM Sch 182    $        132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016       92 of 99-Dell 22" Monitor - PCM Sch 182    $        132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016       93 of 99-Dell 22" Monitor - PCM Sch 182    $        132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016       94 of 99-Dell 22" Monitor - PCM Sch 182    $        132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016       95 of 99-Dell 22" Monitor - PCM Sch 182    $        132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016       96 of 99-Dell 22" Monitor - PCM Sch 182    $        132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016       97 of 99-Dell 22" Monitor - PCM Sch 182    $        132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016       98 of 99-Dell 22" Monitor - PCM Sch 182    $        132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016       99 of 99-Dell 22" Monitor - PCM Sch 182    $        132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016       Dell 22" Monitor - PCM Sch 182             $        132.20   $           106.50   $        25.70
Computer Hardware   5/1/2016       1 of 40-Optiplex 7040 - PCM Sch 182        $        914.00   $           736.46   $       177.54
Computer Hardware   5/1/2016       2 of 40-Optiplex 7040 - PCM Sch 182        $        914.00   $           736.28   $       177.72
Computer Hardware   5/1/2016       3 of 40-Optiplex 7040 - PCM Sch 182        $        914.00   $           736.28   $       177.72
Computer Hardware   5/1/2016       4 of 40-Optiplex 7040 - PCM Sch 182        $        914.00   $           736.28   $       177.72
Computer Hardware   5/1/2016       5 of 40-Optiplex 7040 - PCM Sch 182        $        914.00   $           736.28   $       177.72
Computer Hardware   5/1/2016       6 of 40-Optiplex 7040 - PCM Sch 182        $        914.00   $           736.28   $       177.72
Computer Hardware   5/1/2016       7 of 40-Optiplex 7040 - PCM Sch 182        $        914.00   $           736.28   $       177.72
Computer Hardware   5/1/2016       8 of 40-Optiplex 7040 - PCM Sch 182        $        914.00   $           736.28   $       177.72
Computer Hardware   5/1/2016       9 of 40-Optiplex 7040 - PCM Sch 182        $        914.00   $           736.28   $       177.72
Computer Hardware   5/1/2016       10 of 40-Optiplex 7040 - PCM Sch 182       $        914.00   $           736.28   $       177.72
Computer Hardware   5/1/2016       11 of 40-Optiplex 7040 - PCM Sch 182       $        914.00   $           736.28   $       177.72
Computer Hardware   5/1/2016       12 of 40-Optiplex 7040 - PCM Sch 182       $        914.00   $           736.28   $       177.72



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Computer Hardware   5/1/2016        13 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        14 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        15 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        16 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        17 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        18 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        19 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        20 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        21 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        22 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        23 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        24 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        25 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        26 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        27 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        28 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        29 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        30 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        31 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        32 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        33 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        34 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        35 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        36 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        37 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        38 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        39 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72
Computer Hardware   5/1/2016        40 of 40-Optiplex 7040 - PCM Sch 182      $        914.00    $           736.28   $       177.72

Computer Hardware   5/1/2016        1 of 27-Dell Latitude E5570 - PCM Sch 182   $     1,425.00   $         1,147.83   $       277.17

Computer Hardware   5/1/2016        2 of 27-Dell Latitude E5570 - PCM Sch 182   $     1,425.00   $         1,147.92   $       277.08



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                       Cost             Depreciation         Value

Computer Hardware   5/1/2016        3 of 27-Dell Latitude E5570 - PCM Sch 182   $     1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        4 of 27-Dell Latitude E5570 - PCM Sch 182   $     1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        5 of 27-Dell Latitude E5570 - PCM Sch 182   $     1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        6 of 27-Dell Latitude E5570 - PCM Sch 182   $     1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        7 of 27-Dell Latitude E5570 - PCM Sch 182   $     1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        8 of 27-Dell Latitude E5570 - PCM Sch 182   $     1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        9 of 27-Dell Latitude E5570 - PCM Sch 182   $     1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        10 of 27-Dell Latitude E5570 - PCM Sch 182 $      1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        11 of 27-Dell Latitude E5570 - PCM Sch 182 $      1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        12 of 27-Dell Latitude E5570 - PCM Sch 182 $      1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        13 of 27-Dell Latitude E5570 - PCM Sch 182 $      1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        14 of 27-Dell Latitude E5570 - PCM Sch 182 $      1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        15 of 27-Dell Latitude E5570 - PCM Sch 182 $      1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        16 of 27-Dell Latitude E5570 - PCM Sch 182 $      1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        17 of 27-Dell Latitude E5570 - PCM Sch 182 $      1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        18 of 27-Dell Latitude E5570 - PCM Sch 182 $      1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        19 of 27-Dell Latitude E5570 - PCM Sch 182 $      1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        20 of 27-Dell Latitude E5570 - PCM Sch 182 $      1,425.00   $         1,147.92   $       277.08



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                       Cost             Depreciation         Value

Computer Hardware   5/1/2016        21 of 27-Dell Latitude E5570 - PCM Sch 182 $      1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        22 of 27-Dell Latitude E5570 - PCM Sch 182 $      1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        23 of 27-Dell Latitude E5570 - PCM Sch 182 $      1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        24 of 27-Dell Latitude E5570 - PCM Sch 182 $      1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        25 of 27-Dell Latitude E5570 - PCM Sch 182 $      1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        26 of 27-Dell Latitude E5570 - PCM Sch 182 $      1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        27 of 27-Dell Latitude E5570 - PCM Sch 182 $      1,425.00   $         1,147.92   $       277.08

Computer Hardware   5/1/2016        1 of 27-Dell Latitude E5270 - PCM Sch 182   $     1,223.00   $           985.23   $       237.77

Computer Hardware   5/1/2016        2 of 27-Dell Latitude E5270 - PCM Sch 182   $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        3 of 27-Dell Latitude E5270 - PCM Sch 182   $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        4 of 27-Dell Latitude E5270 - PCM Sch 182   $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        5 of 27-Dell Latitude E5270 - PCM Sch 182   $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        6 of 27-Dell Latitude E5270 - PCM Sch 182   $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        7 of 27-Dell Latitude E5270 - PCM Sch 182   $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        8 of 27-Dell Latitude E5270 - PCM Sch 182   $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        9 of 27-Dell Latitude E5270 - PCM Sch 182   $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        10 of 27-Dell Latitude E5270 - PCM Sch 182 $      1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        11 of 27-Dell Latitude E5270 - PCM Sch 182 $      1,223.00   $           985.20   $       237.80



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                       Cost            Depreciation         Value

Computer Hardware   5/1/2016        12 of 27-Dell Latitude E5270 - PCM Sch 182 $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        13 of 27-Dell Latitude E5270 - PCM Sch 182 $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        14 of 27-Dell Latitude E5270 - PCM Sch 182 $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        15 of 27-Dell Latitude E5270 - PCM Sch 182 $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        16 of 27-Dell Latitude E5270 - PCM Sch 182 $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        17 of 27-Dell Latitude E5270 - PCM Sch 182 $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        18 of 27-Dell Latitude E5270 - PCM Sch 182 $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        19 of 27-Dell Latitude E5270 - PCM Sch 182 $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        20 of 27-Dell Latitude E5270 - PCM Sch 182 $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        21 of 27-Dell Latitude E5270 - PCM Sch 182 $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        22 of 27-Dell Latitude E5270 - PCM Sch 182 $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        23 of 27-Dell Latitude E5270 - PCM Sch 182 $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        24 of 27-Dell Latitude E5270 - PCM Sch 182 $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        25 of 27-Dell Latitude E5270 - PCM Sch 182 $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        26 of 27-Dell Latitude E5270 - PCM Sch 182 $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/1/2016        27 of 27-Dell Latitude E5270 - PCM Sch 182 $     1,223.00   $           985.20   $       237.80

Computer Hardware   5/7/2016        Apple MacBook - Jeremy McQuwon AMEX       $      1,824.46   $         1,469.70   $       354.76
Computer Hardware   5/7/2016        Apple MacBook - J McQuown AMEX            $      2,300.00   $         1,852.78   $       447.22
                                    1 of 4-PCM Sch 185 - Switches and
Computer Hardware   6/1/2016        Modules                                   $      4,337.50   $         4,337.50   $           -


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                                        Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                    Description                       Cost             Depreciation         Value
                                    2 of 4-PCM Sch 185 - Switches and
Computer Hardware   6/1/2016        Modules                                    $       4,337.50   $         4,337.50   $           -
                                    3 of 4-PCM Sch 185 - Switches and
Computer Hardware   6/1/2016        Modules                                    $       4,337.50   $         4,337.50   $           -
                                    4 of 4-PCM Sch 185 - Switches and
Computer Hardware   6/1/2016        Modules                                    $       4,337.50   $         4,337.50   $          -
Computer Hardware   6/1/2016        1 of 80-PCM Sch 183 - Optiplex 7040        $         915.00   $           711.40   $       203.60
Computer Hardware   6/1/2016        2 of 80-PCM Sch 183 - Optiplex 7040        $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        3 of 80-PCM Sch 183 - Optiplex 7040        $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        4 of 80-PCM Sch 183 - Optiplex 7040        $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        5 of 80-PCM Sch 183 - Optiplex 7040        $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        6 of 80-PCM Sch 183 - Optiplex 7040        $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        7 of 80-PCM Sch 183 - Optiplex 7040        $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        8 of 80-PCM Sch 183 - Optiplex 7040        $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        9 of 80-PCM Sch 183 - Optiplex 7040        $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        10 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        11 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        12 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        13 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        14 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        15 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        16 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        17 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        18 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        19 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        20 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        21 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        22 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        23 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        24 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        25 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        26 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016        27 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67   $       203.33


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                                      Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                 Description                       Cost            Depreciation         Value
Computer Hardware   6/1/2016       28 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       29 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       30 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       31 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       32 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       33 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       34 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       35 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       36 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       37 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       38 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       39 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       40 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       41 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       42 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       43 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       44 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       45 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       46 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       47 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       48 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       49 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       50 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       51 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       52 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       53 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       54 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       55 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       56 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       57 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       58 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33
Computer Hardware   6/1/2016       59 of 80-PCM Sch 183 - Optiplex 7040      $        915.00   $           711.67   $       203.33



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                  Description                       Cost             Depreciation          Value
Computer Hardware   6/1/2016       60 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       61 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       62 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       63 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       64 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       65 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       66 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       67 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       68 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       69 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       70 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       71 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       72 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       73 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       74 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       75 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       76 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       77 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       78 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       79 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       80 of 80-PCM Sch 183 - Optiplex 7040       $         915.00   $           711.67    $       203.33
Computer Hardware   6/1/2016       1 of 20-PCM Sch 183 - Latitude E5270       $       1,215.00   $           945.00    $       270.00
Computer Hardware   6/1/2016       1 of 99-PCM Sch 183 - Dell 22" Monitor     $         120.00   $             93.66   $         26.34
Computer Hardware   6/1/2016       2 of 99-PCM Sch 183 - Dell 22" Monitor     $         120.00   $             93.33   $         26.67
Computer Hardware   6/1/2016       3 of 99-PCM Sch 183 - Dell 22" Monitor     $         120.00   $             93.33   $         26.67
Computer Hardware   6/1/2016       4 of 99-PCM Sch 183 - Dell 22" Monitor     $         120.00   $             93.33   $         26.67
Computer Hardware   6/1/2016       5 of 99-PCM Sch 183 - Dell 22" Monitor     $         120.00   $             93.33   $         26.67
Computer Hardware   6/1/2016       6 of 99-PCM Sch 183 - Dell 22" Monitor     $         120.00   $             93.33   $         26.67
Computer Hardware   6/1/2016       7 of 99-PCM Sch 183 - Dell 22" Monitor     $         120.00   $             93.33   $         26.67
Computer Hardware   6/1/2016       8 of 99-PCM Sch 183 - Dell 22" Monitor     $         120.00   $             93.33   $         26.67
Computer Hardware   6/1/2016       9 of 99-PCM Sch 183 - Dell 22" Monitor     $         120.00   $             93.33   $         26.67
Computer Hardware   6/1/2016       10 of 99-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $         26.67



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                                      Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                 Description                       Cost            Depreciation          Value
Computer Hardware   6/1/2016       11 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       12 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       13 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       14 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       15 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       16 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       17 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       18 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       19 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       20 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       21 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       22 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       23 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       24 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       25 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       26 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       27 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       28 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       29 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       30 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       31 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       32 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       33 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       34 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       35 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       36 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       37 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       38 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       39 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       40 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       41 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       42 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67



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                                      Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                 Description                       Cost            Depreciation          Value
Computer Hardware   6/1/2016       43 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       44 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       45 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       46 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       47 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       48 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       49 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       50 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       51 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       52 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       53 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       54 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       55 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       56 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       57 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       58 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       59 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       60 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       61 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       62 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       63 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       64 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       65 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       66 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       67 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       68 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       69 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       70 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       71 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       72 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       73 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       74 of 99-PCM Sch 183 - Dell 22" Monitor   $        120.00   $             93.33   $           26.67



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                  Description                       Cost            Depreciation          Value
Computer Hardware   6/1/2016       75 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       76 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       77 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       78 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       79 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       80 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       81 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       82 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       83 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       84 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       85 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       86 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       87 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       88 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       89 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       90 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       91 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       92 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       93 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       94 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       95 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       96 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       97 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       98 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       99 of 99-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       1 of 61-PCM Sch 183 - Dell 22" Monitor     $        120.00   $             93.53   $           26.47
Computer Hardware   6/1/2016       2 of 61-PCM Sch 183 - Dell 22" Monitor     $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       3 of 61-PCM Sch 183 - Dell 22" Monitor     $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       4 of 61-PCM Sch 183 - Dell 22" Monitor     $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       5 of 61-PCM Sch 183 - Dell 22" Monitor     $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       6 of 61-PCM Sch 183 - Dell 22" Monitor     $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       7 of 61-PCM Sch 183 - Dell 22" Monitor     $        120.00   $             93.33   $           26.67



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                  Description                       Cost            Depreciation          Value
Computer Hardware   6/1/2016       8 of 61-PCM Sch 183 - Dell 22" Monitor     $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       9 of 61-PCM Sch 183 - Dell 22" Monitor     $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       10 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       11 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       12 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       13 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       14 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       15 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       16 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       17 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       18 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       19 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       20 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       21 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       22 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       23 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       24 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       25 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       26 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       27 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       28 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       29 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       30 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       31 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       32 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       33 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       34 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       35 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       36 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       37 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       38 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67
Computer Hardware   6/1/2016       39 of 61-PCM Sch 183 - Dell 22" Monitor    $        120.00   $             93.33   $           26.67



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                  Description                       Cost             Depreciation          Value
Computer Hardware   6/1/2016       40 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       41 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       42 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       43 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       44 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       45 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       46 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       47 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       48 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       49 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       50 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       51 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       52 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       53 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       54 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       55 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       56 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       57 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       58 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       59 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       60 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       61 of 61-PCM Sch 183 - Dell 22" Monitor    $         120.00   $             93.33   $        26.67
Computer Hardware   6/1/2016       Apple MacBook - Best Buy                   $       1,900.48   $         1,478.14    $       422.34
Computer Hardware   6/1/2016       2 of 20-PCM Sch 183 - Latitude E5270       $       1,215.00   $           945.00    $       270.00
Computer Hardware   6/1/2016       3 of 20-PCM Sch 183 - Latitude E5270       $       1,215.00   $           945.00    $       270.00
Computer Hardware   6/1/2016       4 of 20-PCM Sch 183 - Latitude E5270       $       1,215.00   $           945.00    $       270.00
Computer Hardware   6/1/2016       5 of 20-PCM Sch 183 - Latitude E5270       $       1,215.00   $           945.00    $       270.00
Computer Hardware   6/1/2016       6 of 20-PCM Sch 183 - Latitude E5270       $       1,215.00   $           945.00    $       270.00
Computer Hardware   6/1/2016       7 of 20-PCM Sch 183 - Latitude E5270       $       1,215.00   $           945.00    $       270.00
Computer Hardware   6/1/2016       8 of 20-PCM Sch 183 - Latitude E5270       $       1,215.00   $           945.00    $       270.00
Computer Hardware   6/1/2016       9 of 20-PCM Sch 183 - Latitude E5270       $       1,215.00   $           945.00    $       270.00
Computer Hardware   6/1/2016       10 of 20-PCM Sch 183 - Latitude E5270      $       1,215.00   $           945.00    $       270.00



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       Category         Date Acq                     Description                     Cost             Depreciation         Value
Computer Hardware   6/1/2016        11 of 20-PCM Sch 183 - Latitude E5270      $       1,215.00   $           945.00   $       270.00
Computer Hardware   6/1/2016        12 of 20-PCM Sch 183 - Latitude E5270      $       1,215.00   $           945.00   $       270.00
Computer Hardware   6/1/2016        13 of 20-PCM Sch 183 - Latitude E5270      $       1,215.00   $           945.00   $       270.00
Computer Hardware   6/1/2016        14 of 20-PCM Sch 183 - Latitude E5270      $       1,215.00   $           945.00   $       270.00
Computer Hardware   6/1/2016        15 of 20-PCM Sch 183 - Latitude E5270      $       1,215.00   $           945.00   $       270.00
Computer Hardware   6/1/2016        16 of 20-PCM Sch 183 - Latitude E5270      $       1,215.00   $           945.00   $       270.00
Computer Hardware   6/1/2016        17 of 20-PCM Sch 183 - Latitude E5270      $       1,215.00   $           945.00   $       270.00
Computer Hardware   6/1/2016        18 of 20-PCM Sch 183 - Latitude E5270      $       1,215.00   $           945.00   $       270.00
Computer Hardware   6/1/2016        19 of 20-PCM Sch 183 - Latitude E5270      $       1,215.00   $           945.00   $       270.00
Computer Hardware   6/1/2016        20 of 20-PCM Sch 183 - Latitude E5270      $       1,215.00   $           945.00   $       270.00
Computer Hardware   6/20/2016       Microsoft HoloLens Development Edition     $       3,126.75   $         2,431.92   $       694.83
Computer Hardware   7/1/2016        1 of 3-Apple MacBook Pro                   $       2,935.19   $         2,201.40   $       733.79
Computer Hardware   7/1/2016        Dell 7470 Laptop                           $       2,039.69   $         1,529.77   $       509.92
                                    1 of 2-Dell Laptop 7370- Atlantix - J
Computer Hardware   7/1/2016        McQuown AMEX                               $       2,308.47   $         1,731.35   $       577.12
                                    2 of 2-Dell Laptop 7370- Atlantix - J
Computer Hardware   7/1/2016        McQuown AMEX                               $       2,308.48   $         1,731.35   $       577.13
Computer Hardware   7/1/2016        1 of 2-ASUS Chromebox - Promevo            $       1,550.84   $         1,163.13   $       387.71
Computer Hardware   7/1/2016        2 of 2-ASUS Chromebox - Promevo            $       1,550.85   $         1,163.14   $       387.71
Computer Hardware   7/1/2016        Asus Chromebox - Promevo                   $       1,043.70   $           782.78   $       260.92
Computer Hardware   7/1/2016        1 of 2-Asus Chromebox - Promevo            $       1,447.43   $         1,085.58   $       361.85
Computer Hardware   7/1/2016        2 of 2-Asus Chromebox - Promevo            $       1,447.43   $         1,085.58   $       361.85
                                    QA Apple Mac Mini - Micro Center -
Computer Hardware   7/1/2016        McQuown AMEX                               $         727.09   $           545.31   $       181.78
Computer Hardware   7/1/2016        Apple Macbook Pro Retina                   $       3,003.00   $         2,252.25   $       750.75
Computer Hardware   7/1/2016        2 of 3-Apple MacBook Pro                   $       2,935.19   $         2,201.40   $       733.79
Computer Hardware   7/1/2016        3 of 3-Apple MacBook Pro                   $       2,935.19   $         2,201.40   $       733.79
                                    1 of 6-AOC e1759Fwu 17in Ultra Slim
Computer Hardware   7/1/2016        Monitor - McQuown AMEX                     $         138.24   $           103.68   $        34.56
                                    2 of 6-AOC e1759Fwu 17in Ultra Slim
Computer Hardware   7/1/2016        Monitor - McQuown AMEX                     $         138.22   $           103.66   $        34.56
                                    3 of 6-AOC e1759Fwu 17in Ultra Slim
Computer Hardware   7/1/2016        Monitor - McQuown AMEX                     $         138.22   $           103.66   $        34.56



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       Category        Date Acq                     Description                      Cost              Depreciation         Value
                                    4 of 6-AOC e1759Fwu 17in Ultra Slim
Computer Hardware   7/1/2016        Monitor - McQuown AMEX                     $        138.22     $           103.66   $           34.56
                                    5 of 6-AOC e1759Fwu 17in Ultra Slim
Computer Hardware   7/1/2016        Monitor - McQuown AMEX                     $        138.22     $           103.66   $           34.56
                                    6 of 6-AOC e1759Fwu 17in Ultra Slim
Computer Hardware   7/1/2016        Monitor - McQuown AMEX                     $        138.22     $           103.66   $        34.56
Computer Hardware   8/1/2016        1 of 5-Apple iPad Air2                     $        637.48     $           460.40   $       177.08
Computer Hardware   8/1/2016        2 of 5-Apple iPad Air2                     $        637.48     $           460.40   $       177.08
Computer Hardware   8/1/2016        3 of 5-Apple iPad Air2                     $        637.48     $           460.40   $       177.08
Computer Hardware   8/1/2016        4 of 5-Apple iPad Air2                     $        637.48     $           460.40   $       177.08
Computer Hardware   8/1/2016        5 of 5-Apple iPad Air2                     $        637.48     $           460.40   $       177.08
Computer Hardware   8/1/2016        1 of 4-Promevo Asus Chrombox               $        877.98     $           634.09   $       243.89
Computer Hardware   8/1/2016        2 of 4-Promevo Asus Chrombox               $        877.99     $           634.10   $       243.89
Computer Hardware   8/1/2016        3 of 4-Promevo Asus Chrombox               $        877.99     $           634.10   $       243.89
Computer Hardware   8/1/2016        4 of 4-Promevo Asus Chrombox               $        877.99     $           634.10   $       243.89

Computer Hardware   8/1/2016        Fluke LinkRunner Network Tester - Amazon      $     1,783.71   $         1,288.24   $       495.47
Computer Hardware   8/1/2016        Microsoft Book - MicroCenter                  $     2,884.51   $         2,083.25   $       801.26
                                    HTC Vive Virtual Reality Headset - Micro
Computer Hardware   8/1/2016        Center                                        $       930.65   $           672.14   $       258.51
Computer Hardware   8/1/2016        LG Smart TV - Micro Center                    $     1,179.87   $           852.13   $       327.74
Computer Hardware   8/10/2016       Apple MacBook                                 $     3,284.66   $         2,372.26   $       912.40
                                    1 of 4-Cisco Catalyst Ethernet Switch-
Computer Hardware   8/22/2016       AUREON                                        $     3,768.76   $         2,721.86   $     1,046.90
                                    2 of 4-Cisco Catalyst Ethernet Switch-
Computer Hardware   8/22/2016       AUREON                                        $     3,768.77   $         2,721.90   $     1,046.87
                                    3 of 4-Cisco Catalyst Ethernet Switch-
Computer Hardware   8/22/2016       AUREON                                        $     3,768.77   $         2,721.90   $     1,046.87
                                    4 of 4-Cisco Catalyst Ethernet Switch-
Computer Hardware   8/22/2016       AUREON                                        $     3,768.77   $         2,721.90   $     1,046.87

Computer Hardware   8/22/2016       1 of 5-Cisco wireless access point - Aureon   $      790.16    $           570.67   $       219.49

Computer Hardware   8/22/2016       2 of 5-Cisco wireless access point - Aureon   $      790.18    $           570.68   $       219.50




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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                       Cost               Depreciation         Value

Computer Hardware   8/22/2016       3 of 5-Cisco wireless access point - Aureon   $      790.18    $           570.68   $       219.50

Computer Hardware   8/22/2016       4 of 5-Cisco wireless access point - Aureon   $      790.18    $           570.68   $       219.50

Computer Hardware   8/22/2016       5 of 5-Cisco wireless access point - Aureon   $      790.18    $           570.68   $       219.50
Computer Hardware   9/1/2016        1 of 8-IPAD-AIR 2 - APPLESTORE                $      663.70    $           460.90   $       202.80
Computer Hardware   9/1/2016        2 of 8-IPAD-AIR 2 - APPLESTORE                $      663.69    $           460.90   $       202.79
Computer Hardware   9/1/2016        3 of 8-IPAD-AIR 2 - APPLESTORE                $      663.69    $           460.90   $       202.79
Computer Hardware   9/1/2016        4 of 8-IPAD-AIR 2 - APPLESTORE                $      663.69    $           460.90   $       202.79
Computer Hardware   9/1/2016        5 of 8-IPAD-AIR 2 - APPLESTORE                $      663.69    $           460.90   $       202.79
Computer Hardware   9/1/2016        6 of 8-IPAD-AIR 2 - APPLESTORE                $      663.69    $           460.90   $       202.79
Computer Hardware   9/1/2016        7 of 8-IPAD-AIR 2 - APPLESTORE                $      663.69    $           460.90   $       202.79
Computer Hardware   9/1/2016        8 of 8-IPAD-AIR 2 - APPLESTORE                $      663.69    $           460.90   $       202.79

Computer Hardware   9/1/2016        1 of 15-PCM SCH 188 - Dell Latitude E5270 $         1,045.00   $           725.69   $       319.31

Computer Hardware   9/1/2016        2 of 15-PCM SCH 188 - Dell Latitude E5270 $         1,045.00   $           725.69   $       319.31

Computer Hardware   9/1/2016        3 of 15-PCM SCH 188 - Dell Latitude E5270 $         1,045.00   $           725.69   $       319.31

Computer Hardware   9/1/2016        4 of 15-PCM SCH 188 - Dell Latitude E5270 $         1,045.00   $           725.69   $       319.31

Computer Hardware   9/1/2016        5 of 15-PCM SCH 188 - Dell Latitude E5270 $         1,045.00   $           725.69   $       319.31

Computer Hardware   9/1/2016        6 of 15-PCM SCH 188 - Dell Latitude E5270 $         1,045.00   $           725.69   $       319.31

Computer Hardware   9/1/2016        7 of 15-PCM SCH 188 - Dell Latitude E5270 $         1,045.00   $           725.69   $       319.31

Computer Hardware   9/1/2016        8 of 15-PCM SCH 188 - Dell Latitude E5270 $         1,045.00   $           725.69   $       319.31

Computer Hardware   9/1/2016        9 of 15-PCM SCH 188 - Dell Latitude E5270 $         1,045.00   $           725.69   $       319.31
                                    10 of 15-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5270                                     $         1,045.00   $           725.69   $       319.31
                                    11 of 15-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5270                                     $         1,045.00   $           725.69   $       319.31


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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                       Cost             Depreciation         Value
                                    12 of 15-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5270                                     $       1,045.00   $           725.69   $       319.31
                                    13 of 15-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5270                                     $       1,045.00   $           725.69   $       319.31
                                    14 of 15-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5270                                     $       1,045.00   $           725.69   $       319.31
                                    15 of 15-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5270                                     $       1,045.00   $           725.69   $       319.31
Computer Hardware   9/1/2016        PCM SCH 188 - Precision 7710              $       2,609.00   $         1,811.81   $       797.19

Computer Hardware   9/1/2016        1 of 40-PCM SCH 188 - Dell 22 inch monitor $        105.00   $            72.79   $           32.21

Computer Hardware   9/1/2016        2 of 40-PCM SCH 188 - Dell 22 inch monitor $        105.00   $            72.92   $           32.08

Computer Hardware   9/1/2016        3 of 40-PCM SCH 188 - Dell 22 inch monitor $        105.00   $            72.92   $           32.08

Computer Hardware   9/1/2016        4 of 40-PCM SCH 188 - Dell 22 inch monitor $        105.00   $            72.92   $           32.08

Computer Hardware   9/1/2016        5 of 40-PCM SCH 188 - Dell 22 inch monitor $        105.00   $            72.92   $           32.08

Computer Hardware   9/1/2016        6 of 40-PCM SCH 188 - Dell 22 inch monitor $        105.00   $            72.92   $           32.08

Computer Hardware   9/1/2016        7 of 40-PCM SCH 188 - Dell 22 inch monitor $        105.00   $            72.92   $           32.08

Computer Hardware   9/1/2016        8 of 40-PCM SCH 188 - Dell 22 inch monitor $        105.00   $            72.92   $           32.08

Computer Hardware   9/1/2016        9 of 40-PCM SCH 188 - Dell 22 inch monitor   $      105.00   $            72.92   $           32.08
                                    10 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                      $      105.00   $            72.92   $           32.08
                                    11 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                      $      105.00   $            72.92   $           32.08
                                    12 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                      $      105.00   $            72.92   $           32.08
                                    13 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                      $      105.00   $            72.92   $           32.08
                                    14 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                      $      105.00   $            72.92   $           32.08


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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                       Cost            Depreciation         Value
                                    15 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    16 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    17 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    18 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    19 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    20 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    21 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    22 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    23 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    24 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    25 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    26 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    27 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    28 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    29 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    30 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    31 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    32 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                       Cost            Depreciation         Value
                                    33 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    34 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    35 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    36 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    37 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    38 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    39 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08
                                    40 of 40-PCM SCH 188 - Dell 22 inch
Computer Hardware   9/1/2016        monitor                                   $        105.00   $            72.92   $           32.08

Computer Hardware   9/1/2016        1 of 35-PCM SCH 188 - Dell Latitude E5570 $      1,189.00   $           825.69   $       363.31

Computer Hardware   9/1/2016        2 of 35-PCM SCH 188 - Dell Latitude E5570 $      1,189.00   $           825.69   $       363.31

Computer Hardware   9/1/2016        3 of 35-PCM SCH 188 - Dell Latitude E5570 $      1,189.00   $           825.69   $       363.31

Computer Hardware   9/1/2016        4 of 35-PCM SCH 188 - Dell Latitude E5570 $      1,189.00   $           825.69   $       363.31

Computer Hardware   9/1/2016        5 of 35-PCM SCH 188 - Dell Latitude E5570 $      1,189.00   $           825.69   $       363.31

Computer Hardware   9/1/2016        6 of 35-PCM SCH 188 - Dell Latitude E5570 $      1,189.00   $           825.69   $       363.31

Computer Hardware   9/1/2016        7 of 35-PCM SCH 188 - Dell Latitude E5570 $      1,189.00   $           825.69   $       363.31

Computer Hardware   9/1/2016        8 of 35-PCM SCH 188 - Dell Latitude E5570 $      1,189.00   $           825.69   $       363.31

Computer Hardware   9/1/2016        9 of 35-PCM SCH 188 - Dell Latitude E5570 $      1,189.00   $           825.69   $       363.31
                                    10 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $      1,189.00   $           825.69   $       363.31



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                       Cost             Depreciation         Value
                                    11 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00   $           825.69   $       363.31
                                    12 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00   $           825.69   $       363.31
                                    13 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00   $           825.69   $       363.31
                                    14 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00   $           825.69   $       363.31
                                    15 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00   $           825.69   $       363.31
                                    16 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00   $           825.69   $       363.31
                                    17 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00   $           825.69   $       363.31
                                    18 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00   $           825.69   $       363.31
                                    19 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00   $           825.69   $       363.31
                                    20 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00   $           825.69   $       363.31
                                    21 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00   $           825.69   $       363.31
                                    22 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00   $           825.69   $       363.31
                                    23 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00   $           825.69   $       363.31
                                    24 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00   $           825.69   $       363.31
                                    25 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00   $           825.69   $       363.31
                                    26 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00   $           825.69   $       363.31
                                    27 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00   $           825.69   $       363.31
                                    28 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00   $           825.69   $       363.31



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                                       Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                       Cost              Depreciation         Value
                                    29 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00    $           825.69   $       363.31
                                    30 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00    $           825.69   $       363.31
                                    31 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00    $           825.69   $       363.31
                                    32 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00    $           825.69   $       363.31
                                    33 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00    $           825.69   $       363.31
                                    34 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00    $           825.69   $       363.31
                                    35 of 35-PCM SCH 188 - Dell Latitude
Computer Hardware   9/1/2016        E5570                                     $       1,189.00    $           825.69   $       363.31

Computer Hardware   9/1/2016        Micro Center - Hard drives & Nas for CO-LO   $     4,140.44   $         2,875.31   $     1,265.13
Computer Hardware   9/1/2016        Micro Center - Nas & Hard drives Co-lo       $     2,758.15   $         1,915.38   $       842.77
Computer Hardware   9/1/2016        Micro Center - Storage NAS CO-LO             $       718.37   $           498.87   $       219.50
Computer Hardware   9/1/2016        Micro Center - Apple Mac 16G                 $     3,094.57   $         2,149.00   $       945.57
Computer Hardware   9/1/2016        Micro Center - Dell 55210                    $     3,047.79   $         2,116.52   $       931.27
Computer Hardware   9/1/2016        STI - Finance Server & Parts                 $     1,097.18   $           761.94   $       335.24
Computer Hardware   9/1/2016        Apple Store - 15 Inc Macbook Pro             $     2,804.21   $         1,947.37   $       856.84
Computer Hardware   9/1/2016        12.9 Inch IPAD PRO 32 GB                     $       820.31   $           569.67   $       250.64
Computer Hardware   9/1/2016        1 of 6-Apple Store - 6 IPAD AIR 2 16GB       $       648.17   $           450.12   $       198.05
Computer Hardware   9/1/2016        2 of 6-Apple Store - 6 IPAD AIR 2 16GB       $       648.18   $           450.13   $       198.05
Computer Hardware   9/1/2016        3 of 6-Apple Store - 6 IPAD AIR 2 16GB       $       648.18   $           450.13   $       198.05
Computer Hardware   9/1/2016        4 of 6-Apple Store - 6 IPAD AIR 2 16GB       $       648.18   $           450.13   $       198.05
Computer Hardware   9/1/2016        5 of 6-Apple Store - 6 IPAD AIR 2 16GB       $       648.18   $           450.13   $       198.05
Computer Hardware   9/1/2016        6 of 6-Apple Store - 6 IPAD AIR 2 16GB       $       648.18   $           450.13   $       198.05
                                    1 of 3-Apple Store - 3 - 15in Macbook Pro
Computer Hardware   9/27/2016       with Retina display & keyboard               $     2,999.98   $         2,083.31   $       916.67
                                    2 of 3-Apple Store - 3 - 15in Macbook Pro
Computer Hardware   9/27/2016       with Retina display & keyboard               $     2,999.97   $         2,083.31   $       916.66
                                    3 of 3-Apple Store - 3 - 15in Macbook Pro
Computer Hardware   9/27/2016       with Retina display & keyboard               $     2,999.97   $         2,083.31   $       916.66


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                                      Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                    Description                     Cost            Depreciation          Value
Computer Hardware   10/1/2016     1 of 50-Dell 22" Monitor - PCM Sch 190     $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     2 of 50-Dell 22" Monitor - PCM Sch 190     $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     3 of 50-Dell 22" Monitor                   $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     4 of 50-Dell 22" Monitor                   $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     5 of 50-Dell 22" Monitor                   $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     6 of 50-Dell 22" Monitor                   $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     7 of 50-Dell 22" Monitor                   $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     8 of 50-Dell 22" Monitor                   $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     9 of 50-Dell 22" Monitor                   $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     10 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     11 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     12 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     13 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     14 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     15 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     16 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     17 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     18 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     19 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     20 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     21 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     22 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     23 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     24 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     25 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     26 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     27 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     28 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     29 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     30 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     31 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00
Computer Hardware   10/1/2016     32 of 50-Dell 22" Monitor                  $        138.00   $             92.00   $           46.00



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                                     Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                   Description                     Cost              Depreciation          Value
Computer Hardware   10/1/2016     33 of 50-Dell 22" Monitor                 $        138.00     $             92.00   $           46.00
Computer Hardware   10/1/2016     34 of 50-Dell 22" Monitor                 $        138.00     $             92.00   $           46.00
Computer Hardware   10/1/2016     35 of 50-Dell 22" Monitor                 $        138.00     $             92.00   $           46.00
Computer Hardware   10/1/2016     36 of 50-Dell 22" Monitor                 $        138.00     $             92.00   $           46.00
Computer Hardware   10/1/2016     37 of 50-Dell 22" Monitor                 $        138.00     $             92.00   $           46.00
Computer Hardware   10/1/2016     38 of 50-Dell 22" Monitor                 $        138.00     $             92.00   $           46.00
Computer Hardware   10/1/2016     39 of 50-Dell 22" Monitor                 $        138.00     $             92.00   $           46.00
Computer Hardware   10/1/2016     40 of 50-Dell 22" Monitor                 $        138.00     $             92.00   $           46.00
Computer Hardware   10/1/2016     41 of 50-Dell 22" Monitor                 $        138.00     $             92.00   $           46.00
Computer Hardware   10/1/2016     42 of 50-Dell 22" Monitor                 $        138.00     $             92.00   $           46.00
Computer Hardware   10/1/2016     43 of 50-Dell 22" Monitor                 $        138.00     $             92.00   $           46.00
Computer Hardware   10/1/2016     44 of 50-Dell 22" Monitor                 $        138.00     $             92.00   $           46.00
Computer Hardware   10/1/2016     45 of 50-Dell 22" Monitor                 $        138.00     $             92.00   $           46.00
Computer Hardware   10/1/2016     46 of 50-Dell 22" Monitor                 $        138.00     $             92.00   $           46.00
Computer Hardware   10/1/2016     47 of 50-Dell 22" Monitor                 $        138.00     $             92.00   $           46.00
Computer Hardware   10/1/2016     48 of 50-Dell 22" Monitor                 $        138.00     $             92.00   $           46.00
Computer Hardware   10/1/2016     49 of 50-Dell 22" Monitor                 $        138.00     $             92.00   $           46.00
Computer Hardware   10/1/2016     50 of 50-Dell 22" Monitor                 $        138.00     $             92.00   $           46.00

Computer Hardware   10/1/2016     1 of 8-Mobile Precision 7710 - PCM Sch 190   $     2,886.00   $          1,924.00   $       962.00
Computer Hardware   10/1/2016     2 of 8-Mobile Precision 7710 - PCM 190       $     2,886.00   $          1,924.00   $       962.00
Computer Hardware   10/1/2016     3 of 8-Mobile Precision 7710 - PCM 190       $     2,886.00   $          1,924.00   $       962.00
Computer Hardware   10/1/2016     4 of 8-Mobile Precision 7710 - PCM 190       $     2,886.00   $          1,924.00   $       962.00
Computer Hardware   10/1/2016     5 of 8-Mobile Precision 7710 - PCM 190       $     2,886.00   $          1,924.00   $       962.00
Computer Hardware   10/1/2016     6 of 8-Mobile Precision 7710 - PCM 190       $     2,886.00   $          1,924.00   $       962.00
Computer Hardware   10/1/2016     7 of 8-Mobile Precision 7710 - PCM 190       $     2,886.00   $          1,924.00   $       962.00
Computer Hardware   10/1/2016     8 of 8-Mobile Precision 7710 - PCM 190       $     2,886.00   $          1,924.00   $       962.00
                                  1 of 40-AOC E1759Fwu 17" Ultra - PCM
Computer Hardware   10/1/2016     Sch 190                                      $      119.99    $            80.00    $           39.99

Computer Hardware   10/1/2016     2 of 40-AOC E1759Fwu 17" Ultra - PCM 190 $          119.99    $            80.00    $           39.99

Computer Hardware   10/1/2016     3 of 40-AOC E1759Fwu 17" Ultra - PCM190 $           119.99    $            80.00    $           39.99



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                                     Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                 Description                       Cost           Depreciation         Value

Computer Hardware   10/1/2016     4 of 40-AOC E1759Fwu 17" Ultra - PCM 190 $        119.99   $            80.00   $           39.99

Computer Hardware   10/1/2016     5 of 40-AOC E1759Fwu 17" Ultra - PCM190 $         119.99   $            80.00   $           39.99

Computer Hardware   10/1/2016     6 of 40-AOC E1759Fwu 17" Ultra - PCM190 $         119.99   $            80.00   $           39.99

Computer Hardware   10/1/2016     7 of 40-AOC E1759Fwu 17" Ultra - PCM190 $         119.99   $            80.00   $           39.99

Computer Hardware   10/1/2016     8 of 40-AOC E1759Fwu 17" Ultra - PCM190 $         119.99   $            80.00   $           39.99

Computer Hardware   10/1/2016     9 of 40-AOC E1759Fwu 17" Ultra - PCM 190   $      119.99   $            80.00   $           39.99
                                  10 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                     $      119.99   $            80.00   $           39.99
                                  11 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                     $      119.99   $            80.00   $           39.99
                                  12 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                     $      119.99   $            80.00   $           39.99
                                  13 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                     $      119.99   $            80.00   $           39.99
                                  14 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                     $      119.99   $            80.00   $           39.99
                                  15 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                     $      119.99   $            80.00   $           39.99
                                  16 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                     $      119.99   $            80.00   $           39.99
                                  17 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                     $      119.99   $            80.00   $           39.99
                                  18 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                     $      119.99   $            80.00   $           39.99
                                  19 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                     $      119.99   $            80.00   $           39.99
                                  20 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                     $      119.99   $            80.00   $           39.99
                                  21 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                     $      119.99   $            80.00   $           39.99



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                                     Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                 Description                       Cost            Depreciation         Value
                                  22 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                    $        119.99   $            80.00   $           39.99
                                  23 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                    $        119.99   $            80.00   $           39.99
                                  24 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                    $        119.99   $            80.00   $           39.99
                                  25 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                    $        119.99   $            80.00   $           39.99
                                  26 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                    $        119.99   $            80.00   $           39.99
                                  27 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                    $        119.99   $            80.00   $           39.99
                                  28 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                    $        119.99   $            80.00   $           39.99
                                  29 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                    $        119.99   $            80.00   $           39.99
                                  30 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                    $        119.99   $            80.00   $           39.99
                                  31 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                    $        119.99   $            80.00   $           39.99
                                  32 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                    $        119.99   $            80.00   $           39.99
                                  33 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                    $        119.99   $            80.00   $           39.99
                                  34 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                    $        119.99   $            80.00   $           39.99
                                  35 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                    $        119.99   $            80.00   $           39.99
                                  36 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                    $        119.99   $            80.00   $           39.99
                                  37 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                    $        119.99   $            80.00   $           39.99
                                  38 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                    $        119.99   $            80.00   $           39.99
                                  39 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                    $        119.99   $            80.00   $           39.99



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                                     Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                 Description                       Cost            Depreciation         Value
                                  40 of 40-AOC E1759Fwu 17" Ultra -
Computer Hardware   10/1/2016     PCM190                                    $        119.99   $            80.00   $           39.99

Computer Hardware   10/1/2016     1 of 25-Dell Latitude E5270 - PCM Sch 190   $      977.40   $           651.60   $       325.80

Computer Hardware   10/1/2016     2 of 25-Dell Latitude E5270 - PCM Sch 190   $      977.40   $           651.60   $       325.80

Computer Hardware   10/1/2016     3 of 25-Dell Latitude E5270 - PCM Sch 190   $      977.40   $           651.60   $       325.80

Computer Hardware   10/1/2016     4 of 25-Dell Latitude E5270 - PCM Sch 190   $      977.40   $           651.60   $       325.80

Computer Hardware   10/1/2016     5 of 25-Dell Latitude E5270 - PCM Sch 190   $      977.40   $           651.60   $       325.80

Computer Hardware   10/1/2016     6 of 25-Dell Latitude E5270 - PCM Sch 190   $      977.40   $           651.60   $       325.80

Computer Hardware   10/1/2016     7 of 25-Dell Latitude E5270 - PCM Sch 190   $      977.40   $           651.60   $       325.80

Computer Hardware   10/1/2016     8 of 25-Dell Latitude E5270 - PCM Sch 190   $      977.40   $           651.60   $       325.80

Computer Hardware   10/1/2016     9 of 25-Dell Latitude E5270 - PCM Sch 190   $      977.40   $           651.60   $       325.80

Computer Hardware   10/1/2016     10 of 25-Dell Latitude E5270 - PCM Sch 190 $       977.40   $           651.60   $       325.80

Computer Hardware   10/1/2016     11 of 25-Dell Latitude E5270 - PCM Sch 190 $       977.40   $           651.60   $       325.80

Computer Hardware   10/1/2016     12 of 25-Dell Latitude E5270 - PCM Sch 190 $       977.40   $           651.60   $       325.80

Computer Hardware   10/1/2016     13 of 25-Dell Latitude E5270 - PCM Sch 190 $       977.40   $           651.60   $       325.80

Computer Hardware   10/1/2016     14 of 25-Dell Latitude E5270 - PCM Sch 190 $       977.40   $           651.60   $       325.80

Computer Hardware   10/1/2016     15 of 25-Dell Latitude E5270 - PCM Sch 190 $       977.40   $           651.60   $       325.80

Computer Hardware   10/1/2016     16 of 25-Dell Latitude E5270 - PCM Sch 190 $       977.40   $           651.60   $       325.80

Computer Hardware   10/1/2016     17 of 25-Dell Latitude E5270 - PCM Sch 190 $       977.40   $           651.60   $       325.80



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                                     Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                 Description                       Cost             Depreciation         Value

Computer Hardware   10/1/2016     18 of 25-Dell Latitude E5270 - PCM Sch 190 $       977.40    $           651.60   $       325.80

Computer Hardware   10/1/2016     19 of 25-Dell Latitude E5270 - PCM Sch 190 $       977.40    $           651.60   $       325.80

Computer Hardware   10/1/2016     20 of 25-Dell Latitude E5270 - PCM Sch 190 $       977.40    $           651.60   $       325.80

Computer Hardware   10/1/2016     21 of 25-Dell Latitude E5270 - PCM Sch 190 $       977.40    $           651.60   $       325.80

Computer Hardware   10/1/2016     22 of 25-Dell Latitude E5270 - PCM Sch 190 $       977.40    $           651.60   $       325.80

Computer Hardware   10/1/2016     23 of 25-Dell Latitude E5270 - PCM Sch 190 $       977.40    $           651.60   $       325.80

Computer Hardware   10/1/2016     24 of 25-Dell Latitude E5270 - PCM Sch 190 $       977.40    $           651.60   $       325.80

Computer Hardware   10/1/2016     25 of 25-Dell Latitude E5270 - PCM Sch 190 $       977.40    $           651.60   $       325.80

Computer Hardware   10/1/2016     1 of 50-Dell Latitude E5570 - PCM Sch 190   $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     2 of 50-Dell Latitude E5570 - PCM Sch 190   $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     3 of 50-Dell Latitude E5570 - PCM Sch 190   $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     4 of 50-Dell Latitude E5570 - PCM Sch 190   $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     5 of 50-Dell Latitude E5570 - PCM Sch 190   $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     6 of 50-Dell Latitude E5570 - PCM Sch 190   $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     7 of 50-Dell Latitude E5570 - PCM Sch 190   $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     8 of 50-Dell Latitude E5570 - PCM Sch 190   $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     9 of 50-Dell Latitude E5570 - PCM Sch 190   $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     10 of 50-Dell Latitude E5570 - PCM Sch 190 $      1,211.46   $           807.64   $       403.82



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                                     Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                 Description                       Cost            Depreciation         Value

Computer Hardware   10/1/2016     11 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     12 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     13 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     14 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     15 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     16 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     17 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     18 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     19 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     20 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     21 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     22 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     23 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     24 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     25 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     26 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     27 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     28 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82



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                                     Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                 Description                       Cost            Depreciation         Value

Computer Hardware   10/1/2016     29 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     30 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     31 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     32 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     33 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     34 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     35 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     36 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     37 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     38 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     39 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     40 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     41 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     42 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     43 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     44 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     45 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     46 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82



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                                     Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                 Description                       Cost            Depreciation         Value

Computer Hardware   10/1/2016     47 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     48 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   10/1/2016     49 of 50-Dell Latitude E5570 - PCM Sch 190 $     1,211.46   $           807.64   $       403.82

Computer Hardware   11/1/2016     1 of 10-Samsung Galaxy Tablet - Verizon    $      540.36    $           345.19   $       195.17

Computer Hardware   11/1/2016     2 of 10-Samsung Galaxy Tablet - Verizon    $      540.41    $           345.27   $       195.14

Computer Hardware   11/1/2016     3 of 10-Samsung Galaxy Tablet - Verizon    $      540.41    $           345.27   $       195.14

Computer Hardware   11/1/2016     4 of 10-Samsung Galaxy Tablet - Verizon    $      540.41    $           345.27   $       195.14

Computer Hardware   11/1/2016     5 of 10-Samsung Galaxy Tablet - Verizon    $      540.41    $           345.27   $       195.14

Computer Hardware   11/1/2016     6 of 10-Samsung Galaxy Tablet - Verizon    $      540.41    $           345.27   $       195.14

Computer Hardware   11/1/2016     7 of 10-Samsung Galaxy Tablet - Verizon    $      540.41    $           345.27   $       195.14

Computer Hardware   11/1/2016     8 of 10-Samsung Galaxy Tablet - Verizon    $      540.41    $           345.27   $       195.14

Computer Hardware   11/1/2016     9 of 10-Samsung Galaxy Tablet - Verizon    $      540.41    $           345.27   $       195.14

Computer Hardware   11/1/2016     10 of 10-Samsung Galaxy Tablet - Verizon   $      540.41    $           345.27   $       195.14
                                  1 of 3-HP DL360 Gen9 8SFF CTO Server -
Computer Hardware   11/1/2016     PCM Sched 191                              $     8,822.39   $         5,636.53   $     3,185.86
                                  2 of 3-HP DL360 Gen9 8SFF CTO Server -
Computer Hardware   11/1/2016     PCM Sched 191                              $     8,822.39   $         5,636.53   $     3,185.86
                                  3 of 3-HP DL360 Gen9 8SFF CTO Server -
Computer Hardware   11/1/2016     PCM Sched 191                              $     8,822.39   $         5,636.53   $     3,185.86
                                  1 of 3-HP ML350T09 SFF CTO Tower
Computer Hardware   11/1/2016     Chassis Server - PCM191                    $     6,956.89   $         4,444.67   $     2,512.22
                                  2 of 3-HP ML350T09 SFF CTO Tower
Computer Hardware   11/1/2016     Chassis Server - PCM191                    $     6,956.89   $         4,444.68   $     2,512.21



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                                        Xceligent Schedule Question 41 - Office Equipment
       Category        Date Acq                      Description                     Cost             Depreciation         Value
                                    3 of 3-HP ML350T09 SFF CTO Tower
Computer Hardware   11/1/2016       Chassis Server - PCM191                    $       6,956.89   $         4,444.68   $     2,512.21
Computer Hardware   12/1/2016       1 of 3-3 Samsung Tablets - Verizon         $         551.25   $           336.87   $       214.38
Computer Hardware   12/1/2016       2 of 3-3 Samsung Tablets - Verizon         $         551.26   $           336.88   $       214.38
Computer Hardware   12/1/2016       3 of 3-3 Samsung Tablets - Verizon         $         551.26   $           336.88   $       214.38
Computer Hardware   12/1/2016       Micro Center laptop D55210 Dell p4584      $       2,938.94   $         1,796.02   $     1,142.92
                                    MS Surface Book - Microsoft (McQuown
Computer Hardware   1/1/2017        AMEX)                                      $       4,010.87   $         2,339.68   $     1,671.19
                                    1 of 2-Microsoft Book - MicroCenter
Computer Hardware   1/1/2017        (McQuown AMEX)                             $       4,141.68   $         2,415.98   $     1,725.70
                                    2 of 2-Microsoft Book - MicroCenter
Computer Hardware   1/1/2017        (McQuown AMEX)                             $       4,141.69   $         2,415.98   $     1,725.71

Computer Hardware   1/1/2017        1 of 2-Dell P4584 Laptop - McQuown AMEX $         4,280.11    $         2,496.73   $     1,783.38

Computer Hardware   1/1/2017        2 of 2-Dell P4584 Laptop - McQuown AMEX     $     4,280.12    $         2,496.74   $     1,783.38
                                    1 of 8-Storage-Network Drives (McQuown
Computer Hardware   1/1/2017        AMEX)                                       $       264.99    $           154.56   $       110.43
                                    2 of 8-Storage-Network Drives (McQuown
Computer Hardware   1/1/2017        AMEX)                                       $       264.99    $           154.58   $       110.41
                                    3 of 8-Storage-Network Drives (McQuown
Computer Hardware   1/1/2017        AMEX)                                       $       264.99    $           154.58   $       110.41
                                    4 of 8-Storage-Network Drives (McQuown
Computer Hardware   1/1/2017        AMEX)                                       $       264.99    $           154.58   $       110.41
                                    5 of 8-Storage-Network Drives (McQuown
Computer Hardware   1/1/2017        AMEX)                                       $       264.99    $           154.58   $       110.41
                                    6 of 8-Storage-Network Drives (McQuown
Computer Hardware   1/1/2017        AMEX)                                       $       264.99    $           154.58   $       110.41
                                    7 of 8-Storage-Network Drives (McQuown
Computer Hardware   1/1/2017        AMEX)                                       $       264.99    $           154.58   $       110.41
                                    8 of 8-Storage-Network Drives (McQuown
Computer Hardware   1/1/2017        AMEX)                                       $       264.99    $           154.58   $       110.41
                                    1 of 4-Cisco Catalyst Ethernet Switch and
Computer Hardware   1/1/2017        Module - PCM193                             $     3,846.25    $         2,243.65   $     1,602.60
                                    2 of 4-Cisco Catalyst Ethernet Switch and
Computer Hardware   1/1/2017        Module - PCM193                             $     3,846.25    $         2,243.64   $     1,602.61



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                                    3 of 4-Cisco Catalyst Ethernet Switch and
Computer Hardware   1/1/2017        Module - PCM193                            $       3,846.25   $         2,243.64   $     1,602.61
                                    4 of 4-Cisco Catalyst Ethernet Switch and
Computer Hardware   1/1/2017        Module - PCM193                            $       3,846.25   $         2,243.64   $     1,602.61
                                    50 Polycom Phones, Headsets and Cables -
Computer Hardware   1/1/2017        PCM 192                                    $      14,818.01   $         8,643.84   $     6,174.17
Computer Hardware   1/1/2017        MS Surface Book - PCM 192                  $       2,947.99   $         1,719.66   $     1,228.33
Computer Hardware   1/1/2017        1 of 4-MacBook Pro 15" - PCM 192           $       2,900.00   $         1,691.67   $     1,208.33
Computer Hardware   1/1/2017        2 of 4-MacBook Pro 15" - PCM 192           $       2,900.00   $         1,691.67   $     1,208.33
Computer Hardware   1/1/2017        3 of 4-MacBook Pro 15" - PCM 192           $       2,900.00   $         1,691.67   $     1,208.33
Computer Hardware   1/1/2017        4 of 4-MacBook Pro 15" - PCM 192           $       2,900.00   $         1,691.67   $     1,208.33
Computer Hardware   1/7/2017        1 of 5-Verizon Tablets - NMDT              $         544.36   $           317.54   $       226.82
Computer Hardware   1/7/2017        2 of 5-Verizon Tablets - NMDT              $         544.36   $           317.54   $       226.82
Computer Hardware   1/7/2017        3 of 5-Verizon Tablets - NMDT              $         544.36   $           317.54   $       226.82
Computer Hardware   1/7/2017        4 of 5-Verizon Tablets - NMDT              $         544.36   $           317.54   $       226.82
Computer Hardware   1/7/2017        5 of 5-Verizon Tablets - NMDT              $         544.36   $           317.54   $       226.82
                                    MacBook Pro - Apple Store (McQuown
Computer Hardware   1/7/2017        AMEX)                                      $       3,865.26   $         2,254.74   $     1,610.52

Computer Hardware   1/18/2017       Dell P4584 17.3in Laptop - McQuown AMEX    $      3,254.05    $         1,898.19   $     1,355.86
                                    Kingston 16GB Memory Module (RAM) -
Computer Hardware   2/1/2017        Aureon                                     $      2,202.63    $         1,223.68   $       978.95
Computer Hardware   2/3/2017        1 of 3-Asus Chromebox - Promevo            $        978.17    $           543.43   $       434.74
Computer Hardware   2/3/2017        2 of 3-Asus Chromebox - Promevo            $        978.17    $           543.43   $       434.74
Computer Hardware   2/3/2017        3 of 3-Asus Chromebox - Promevo            $        978.17    $           543.43   $       434.74
Computer Hardware   2/3/2017        1 of 4-Asus Chromebox - PROMEVO            $        926.09    $           514.49   $       411.60
Computer Hardware   2/3/2017        2 of 4-Asus Chromebox - PROMEVO            $        926.09    $           514.50   $       411.59
Computer Hardware   2/3/2017        3 of 4-Asus Chromebox - PROMEVO            $        926.09    $           514.50   $       411.59
Computer Hardware   2/3/2017        4 of 4-Asus Chromebox - PROMEVO            $        926.09    $           514.50   $       411.59
                                    1 of 2-Dell P4584 - MicroCenter (McQuown
Computer Hardware   2/9/2017        AMEX)                                      $      2,599.99    $         1,444.44   $     1,155.55
                                    2 of 2-Dell P4584 - MicroCenter (McQuown
Computer Hardware   2/9/2017        AMEX)                                      $      2,599.99    $         1,444.44   $     1,155.55
Computer Hardware   3/9/2017        1 of 2-Asus Chromebox - Promevo            $        936.50    $           494.27   $       442.23



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Computer Hardware   3/9/2017        2 of 2-Asus Chromebox - Promevo            $        936.50   $         494.27   $       442.23

Computer Hardware   4/1/2017        1 of 62-Dell 27" IPS Monitor - PCM Sch 195   $      159.99   $          80.30   $        79.69

Computer Hardware   4/1/2017        2 of 62-Dell 27" IPS Monitor - PCM Sch 195   $      159.99   $          80.00   $        79.99

Computer Hardware   4/1/2017        3 of 62-Dell 27" IPS Monitor - PCM Sch 195   $      159.99   $          80.00   $        79.99

Computer Hardware   4/1/2017        4 of 62-Dell 27" IPS Monitor - PCM Sch 195   $      159.99   $          80.00   $        79.99

Computer Hardware   4/1/2017        5 of 62-Dell 27" IPS Monitor - PCM Sch 195   $      159.99   $          80.00   $        79.99

Computer Hardware   4/1/2017        6 of 62-Dell 27" IPS Monitor - PCM Sch 195   $      159.99   $          80.00   $        79.99

Computer Hardware   4/1/2017        7 of 62-Dell 27" IPS Monitor - PCM Sch 195   $      159.99   $          80.00   $        79.99

Computer Hardware   4/1/2017        8 of 62-Dell 27" IPS Monitor - PCM Sch 195   $      159.99   $          80.00   $        79.99

Computer Hardware   4/1/2017        9 of 62-Dell 27" IPS Monitor - PCM Sch 195   $      159.99   $          80.00   $        79.99
                                    10 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                          $      159.99   $          80.00   $        79.99
                                    11 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                          $      159.99   $          80.00   $        79.99
                                    12 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                          $      159.99   $          80.00   $        79.99
                                    13 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                          $      159.99   $          80.00   $        79.99
                                    14 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                          $      159.99   $          80.00   $        79.99
                                    15 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                          $      159.99   $          80.00   $        79.99
                                    16 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                          $      159.99   $          80.00   $        79.99
                                    17 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                          $      159.99   $          80.00   $        79.99
                                    18 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                          $      159.99   $          80.00   $        79.99


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                                    19 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    20 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    21 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    22 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    23 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    24 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    25 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    26 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    27 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    28 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    29 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    30 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    31 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    32 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    33 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    34 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    35 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    36 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99



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                                    37 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    38 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    39 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    40 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    41 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    42 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    43 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    44 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    45 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    46 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    47 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    48 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    49 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    50 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    51 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    52 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    53 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99
                                    54 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                       $        159.99   $            80.00   $           79.99



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       Category        Date Acq                     Description                      Cost            Depreciation         Value
                                    55 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                         $       159.99   $            80.00   $           79.99
                                    56 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                         $       159.99   $            80.00   $           79.99
                                    57 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                         $       159.99   $            80.00   $           79.99
                                    58 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                         $       159.99   $            80.00   $           79.99
                                    59 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                         $       159.99   $            80.00   $           79.99
                                    60 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                         $       159.99   $            80.00   $           79.99
                                    61 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                         $       159.99   $            80.00   $           79.99
                                    62 of 62-Dell 27" IPS Monitor - PCM Sch
Computer Hardware   4/1/2017        195                                         $       159.99   $            80.00   $           79.99
                                    1 of 15-Dell E-Port Replicator and Docking
Computer Hardware   4/1/2017        Stations - PCM 195                          $       260.00   $           130.05   $       129.95
                                    2 of 15-Dell E-Port Replicator and Docking
Computer Hardware   4/1/2017        Stations - PCM 195                          $       260.00   $           130.00   $       130.00
                                    3 of 15-Dell E-Port Replicator and Docking
Computer Hardware   4/1/2017        Stations - PCM 195                          $       260.00   $           130.00   $       130.00
                                    4 of 15-Dell E-Port Replicator and Docking
Computer Hardware   4/1/2017        Stations - PCM 195                          $       260.00   $           130.00   $       130.00
                                    5 of 15-Dell E-Port Replicator and Docking
Computer Hardware   4/1/2017        Stations - PCM 195                          $       260.00   $           130.00   $       130.00
                                    6 of 15-Dell E-Port Replicator and Docking
Computer Hardware   4/1/2017        Stations - PCM 195                          $       260.00   $           130.00   $       130.00
                                    7 of 15-Dell E-Port Replicator and Docking
Computer Hardware   4/1/2017        Stations - PCM 195                          $       260.00   $           130.00   $       130.00
                                    8 of 15-Dell E-Port Replicator and Docking
Computer Hardware   4/1/2017        Stations - PCM 195                          $       260.00   $           130.00   $       130.00
                                    9 of 15-Dell E-Port Replicator and Docking
Computer Hardware   4/1/2017        Stations - PCM 195                          $       260.00   $           130.00   $       130.00
                                    10 of 15-Dell E-Port Replicator and Docking
Computer Hardware   4/1/2017        Stations - PCM 195                          $       260.00   $           130.00   $       130.00



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                                    11 of 15-Dell E-Port Replicator and Docking
Computer Hardware   4/1/2017        Stations - PCM 195                          $        260.00   $           130.00   $       130.00
                                    12 of 15-Dell E-Port Replicator and Docking
Computer Hardware   4/1/2017        Stations - PCM 195                          $        260.00   $           130.00   $       130.00
                                    13 of 15-Dell E-Port Replicator and Docking
Computer Hardware   4/1/2017        Stations - PCM 195                          $        260.00   $           130.00   $       130.00
                                    14 of 15-Dell E-Port Replicator and Docking
Computer Hardware   4/1/2017        Stations - PCM 195                          $        260.00   $           130.00   $       130.00
                                    15 of 15-Dell E-Port Replicator and Docking
Computer Hardware   4/1/2017        Stations - PCM 195                          $        260.00   $           130.00   $       130.00
Computer Hardware   4/1/2017        Apple Surface                               $      3,167.03   $         1,583.52   $     1,583.51
Computer Hardware   4/1/2017        Apple Laptop                                $      2,989.29   $         1,494.65   $     1,494.64
Computer Hardware   4/1/2017        Dell Computer                               $      2,830.09   $         1,415.04   $     1,415.05
Computer Hardware   4/1/2017        Apple Laptop                                $      2,329.37   $         1,164.69   $     1,164.68
Computer Hardware   4/1/2017        Dell Computer                               $      2,840.97   $         1,420.48   $     1,420.49
Computer Hardware   4/11/2017       1 of 2-Asus Chromebox - Promevo             $        915.67   $           457.83   $       457.84
Computer Hardware   4/11/2017       2 of 2-Asus Chromebox - Promevo             $        915.67   $           457.83   $       457.84
Computer Hardware   5/1/2017        1 of 9-Cisco Meraki Ports - PCM 196         $      5,751.14   $         2,715.82   $     3,035.32
Computer Hardware   5/1/2017        2 of 9-Cisco Meraki Ports - PCM 196         $      5,751.18   $         2,715.84   $     3,035.34
Computer Hardware   5/1/2017        3 of 9-Cisco Meraki Ports - PCM 196         $      5,751.18   $         2,715.84   $     3,035.34
Computer Hardware   5/1/2017        4 of 9-Cisco Meraki Ports - PCM 196         $      5,751.18   $         2,715.84   $     3,035.34
Computer Hardware   5/1/2017        5 of 9-Cisco Meraki Ports - PCM 196         $      5,751.18   $         2,715.84   $     3,035.34
Computer Hardware   5/1/2017        6 of 9-Cisco Meraki Ports - PCM 196         $      5,751.18   $         2,715.84   $     3,035.34
Computer Hardware   5/1/2017        7 of 9-Cisco Meraki Ports - PCM 196         $      5,751.18   $         2,715.84   $     3,035.34
Computer Hardware   5/1/2017        8 of 9-Cisco Meraki Ports - PCM 196         $      5,751.18   $         2,715.84   $     3,035.34
Computer Hardware   5/1/2017        9 of 9-Cisco Meraki Ports - PCM 196         $      5,751.18   $         2,715.84   $     3,035.34
Computer Hardware   5/1/2017        Apple MacBook - PCM 197                     $      2,993.00   $         1,413.36   $     1,579.64
Computer Hardware   5/1/2017        1 of 4-Dell Precision 7710 - PCM 197        $      2,700.48   $         1,275.23   $     1,425.25
Computer Hardware   5/1/2017        2 of 4-Dell Precision 7710 - PCM 197        $      2,700.50   $         1,275.24   $     1,425.26
Computer Hardware   5/1/2017        3 of 4-Dell Precision 7710 - PCM 197        $      2,700.50   $         1,275.24   $     1,425.26
Computer Hardware   5/1/2017        4 of 4-Dell Precision 7710 - PCM 197        $      2,700.50   $         1,275.24   $     1,425.26
Computer Hardware   5/1/2017        1 of 6-Asus Chromebox- PCM 198              $        894.84   $           422.56   $       472.28
Computer Hardware   5/1/2017        2 of 6-Asus Chromebox- PCM 198              $        894.84   $           422.56   $       472.28



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Computer Hardware   5/1/2017        3 of 6-Asus Chromebox- PCM 198             $         894.84   $           422.56   $        472.28
Computer Hardware   5/1/2017        4 of 6-Asus Chromebox- PCM 198             $         894.84   $           422.56   $        472.28
Computer Hardware   5/1/2017        5 of 6-Asus Chromebox- PCM 198             $         894.84   $           422.56   $        472.28
Computer Hardware   5/1/2017        6 of 6-Asus Chromebox- PCM 198             $         894.84   $           422.56   $        472.28
Computer Hardware   5/1/2017        MS Surface Pro                             $       2,945.68   $         1,391.01   $      1,554.67
Computer Hardware   6/15/2017       Microsoft Book - Micro Center              $       2,672.93   $         1,187.97   $      1,484.96
Computer Hardware   7/1/2017        (14) Sandisk HardDrives - 120 GB SSD       $         839.92   $           349.96   $        489.96
Computer Hardware   7/1/2017        (11) RAM - Crucial 8GB D3L                 $         719.94   $           299.98   $        419.96
Computer Hardware   7/1/2017        1 of 8-Verizon iPads (Mar Inv)             $         415.12   $           172.98   $        242.14
Computer Hardware   7/1/2017        2 of 8-Verizon iPads (Mar Inv)             $         415.11   $           172.96   $        242.15
Computer Hardware   7/1/2017        3 of 8-Verizon iPads (Mar Inv)             $         415.11   $           172.96   $        242.15
Computer Hardware   7/1/2017        4 of 8-Verizon iPads (Mar Inv)             $         415.11   $           172.96   $        242.15
Computer Hardware   7/1/2017        5 of 8-Verizon iPads (Mar Inv)             $         415.11   $           172.96   $        242.15
Computer Hardware   7/1/2017        6 of 8-Verizon iPads (Mar Inv)             $         415.11   $           172.96   $        242.15
Computer Hardware   7/1/2017        7 of 8-Verizon iPads (Mar Inv)             $         415.11   $           172.96   $        242.15
Computer Hardware   7/1/2017        8 of 8-Verizon iPads (Mar Inv)             $         415.11   $           172.96   $        242.15

Computer Hardware   8/10/2017       (20) Sandisk Hard Drives 120GB SSD PLUS      $     1,199.88   $           466.62   $       733.26
                                    Microsoft Book (+2 Docks, Mouse, Cables) -
Computer Hardware   8/10/2017       McQuown MC-MicroCenter                       $     4,645.65   $         1,806.64   $      2,839.01
                                    Microsoft Book - MicroCenter (McQuown
Computer Hardware   8/21/2017       MC)                                          $     3,818.43   $         1,484.95   $      2,333.48
                                    1 of 2-(20) SanDisk 120GB SSD Plus and
Computer Hardware   9/1/2017        RAM - MicroCenter (McQuown MC)               $     1,889.80   $           682.42   $      1,207.38
                                    (40) Sandisk 120GB SSD Plus -
Computer Hardware   9/1/2017        MicroCenter (McQuown MC)                     $     2,530.69   $           913.86   $      1,616.83
                                    2 of 2-(20) SanDisk 120GB SSD Plus and
Computer Hardware   9/1/2017        RAM - MicroCenter (McQuown MC)               $     1,889.80   $           682.42   $      1,207.38
                                    (25) Kingston KDI 120GB A400 SSD
                                    Storage Drives - MicroCenter (McQuown
Computer Hardware   9/1/2017        MC)                                          $     1,445.30   $           521.92   $       923.38
                                    (5) Crucial 8GB 2X4 D3L RAM -
Computer Hardware   9/1/2017        MicroCenter (McQuown MC)                     $      381.79    $           137.87   $       243.92
                                    (4) Crucial 8GB 2X4 D3L RAM -
Computer Hardware   9/1/2017        MicroCenter (McQuown MC)                     $      305.44    $           110.29   $       195.15


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                                        Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                      Description                    Cost             Depreciation         Value
                                     Panasonic AV-DVX200 Camera - PCM Sch
Computer Hardware    11/1/2017       199                                       $       4,758.49   $         1,453.98   $     3,304.51
Software Purchased   12/26/2000      ROBO HELP OFFICE V9 FULL PROD             $         929.00   $           929.00   $          -
                                     ERWIN 3.52 W9X/NT DATA MODELING
Software Purchased   1/30/2001       TOOLS                                     $       3,986.00   $         3,986.00   $           -
Software Purchased   2/21/2001       ADOBE WEB COLLECTION                      $       1,086.00   $         1,086.00   $           -
Software Purchased   2/21/2001       ADOBE WEB PUBLISHER                       $       1,086.00   $         1,086.00   $           -
Software Purchased   3/6/2001        SOLOMON SOFTWARE                          $      31,950.00   $        31,950.00   $           -
Software Purchased   5/16/2001       SW BACKUP EXEC NT 2000 V8.5               $       1,047.00   $         1,047.00   $           -
Software Purchased   7/25/2001       MULTINET (USA) TELE ATLAS DATA            $      25,000.00   $        25,000.00   $           -
Software Purchased   1/2/2002        DATA LICENSING                            $      73,795.00   $        73,795.00   $           -
Software Purchased   5/2/2002        ASP UPLOAD SOFTWARE                       $         749.00   $           749.00   $           -
Software Purchased   1/30/2008       Visual Studio Pro 2008 QTY5 (Sch74)       $       3,805.00   $         3,805.00   $           -
Software Purchased   10/1/2009       MaxQ 6.5 Solomon and Billing              $      63,125.50   $        63,125.50   $           -
Software Purchased   3/11/2010       Red Gate SQL Developer Bundle             $       1,295.00   $         1,295.00   $           -
Software Purchased   4/1/2010        Scalix Email Server                       $         995.00   $           995.00   $           -
                                     Transcender Tech Service Training Study
Software Purchased   6/14/2010       Guide                                     $         539.00   $           539.00   $           -
Software Purchased   1/1/2011        Microsoft Office Pro 2010                 $         129.99   $           129.99   $           -
Software Purchased   1/14/2011       Barracuda backup software Sedalia         $       1,274.35   $         1,274.35   $           -
Software Purchased   1/26/2011       Windows Server 08R2 Standard              $         509.98   $           509.98   $           -
Software Purchased   2/15/2011       Microsoft Office Pro 2010                 $         110.99   $           110.99   $           -
Software Purchased   2/15/2011       2007 Microsoft Office Basic (5)           $         629.75   $           629.75   $           -
Software Purchased   4/1/2011        Sequel 2008 VAR Resources                 $      29,066.42   $        29,066.42   $           -
Software Purchased   10/19/2011      Winnovative PDF tool kit pro              $       1,611.95   $         1,611.95   $           -

Software Purchased   11/1/2011       5 Microsoft Office Home and Business disc   $      978.89    $           978.89   $           -
                                     3 Microsoft Office Home and Business 2010
Software Purchased   11/7/2011       Disc                                        $      583.71    $           583.71   $           -
                                     3 Microsoft Office Home and Business 2010
Software Purchased   11/7/2011       Key                                         $      486.93    $           486.93   $           -
                                     Snag it Camtasia Studio record mouse
Software Purchased   2/2/2012        action                                      $      324.00    $           324.00   $           -




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                                        Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                   Description                       Cost              Depreciation         Value

Software Purchased   2/7/2012        Microsoft Office PRo 2010 porduct key card   $      313.22    $           313.22   $           -
                                     Microsoft Visual Studio 2010 Premium
Software Purchased   3/1/2012        w/MSDN Subscr                                $     8,079.38   $         8,079.38   $           -
Software Purchased   3/1/2012        (35) CALS (Sch 108)                          $     3,155.25   $         3,155.25   $           -
Software Purchased   5/3/2012        (210) CALS (Sch109)                          $     9,793.90   $         9,793.90   $           -
Software Purchased   6/1/2012        Quest Toad data Modeler                      $     1,000.00   $         1,000.00   $           -
Software Purchased   6/1/2012        Infragistics NetAdvantage for WPF            $     1,990.00   $         1,990.00   $           -
Software Purchased   7/1/2012        3N1.Net 3.0 Application license fee          $    50,000.00   $        50,000.00   $           -
Software Purchased   8/1/2012        Smart Bridgit Server Sftware 500 us          $     7,645.00   $         7,645.00   $           -
Software Purchased   10/1/2012       Visual SVN (10) prof license                 $       671.50   $           671.50   $           -
                                     (8)OLP/LIC VStudio Pro w/MSDN NL (Sch
Software Purchased   11/1/2012       131)                                         $     9,288.00   $         9,288.00   $           -
Software Purchased   12/12/2012      Redgate SQL Prompt Prof 10 users             $     2,585.00   $         2,585.00   $           -
Software Purchased   1/1/2013        Coldfusion Standard 10 Mac Win Lnx           $     6,021.00   $         6,021.00   $           -
                                     (45)WINSVRCAL (45)OLP SNGL
Software Purchased   3/1/2013        EXCHANGE STD CAL                             $     4,662.45   $         4,662.45   $           -
                                     (25) WINSRVCAL 2012/(25)STD CAL 2013
Software Purchased   5/1/2013        (Sch 140)                                    $     2,590.25   $         2,590.25   $           -
                                     MS Windows Server 2008 Standard R@
Software Purchased   6/1/2013        64bi CALS                                    $     1,496.82   $         1,496.82   $           -
                                     MS Windows Server 2008 Standard R@
Software Purchased   6/1/2013        64bi CALS                                    $     1,995.76   $         1,995.76   $           -
                                     MS Windows Server 2008 Standard R@
Software Purchased   6/1/2013        64bi CALS                                    $       498.94   $           498.94   $           -
Software Purchased   6/1/2013        Quest Toad Data Modeler                      $       950.00   $           950.00   $           -
Software Purchased   7/1/2013        Cornerstone cloud subscription               $    20,240.00   $        20,240.00   $           -
Software Purchased   8/1/2013        Winnovative HTML to PDF converter            $     1,200.00   $         1,200.00   $           -
Software Purchased   8/1/2013        Mozenda web data extraction                  $     3,500.00   $         3,500.00   $           -
Software Purchased   8/22/2013       CONFIO ignite sql instance                   $     9,030.00   $         9,030.00   $           -
                                     WINSVRCAL 2012 SNGL OLP NL USRCAL
Software Purchased   9/1/2013        (Sch 149)                                    $     1,655.19   $         1,655.19   $           -
                                     OLP SNGL EXCHANGE STD CAL 2013 NL
Software Purchased   9/1/2013        USR CAL                                      $     3,836.14   $         3,836.14   $           -



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                                        Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                   Description                       Cost                Depreciation         Value

Software Purchased   9/26/2013       Smartysheets address validation geocoding      $     1,000.00   $         1,000.00   $           -
                                     Embarcadero MDG&D XE4 Starter Pack
Software Purchased   11/1/2013       Workstation                                    $    11,395.00   $        11,395.00   $           -
Software Purchased   11/1/2013       Innotas FastTRACK                              $    18,600.00   $        18,600.00   $           -
Software Purchased   2/5/2014        Extra Users for SQL Developer Bundle           $     3,032.00   $         3,032.00   $           -
                                     Solarwinds-upgrade database perf. analyzer
Software Purchased   3/19/2014       for SQL server                                 $     1,806.00   $         1,806.00   $           -

Software Purchased   4/11/2014       Solarwinds-Monitoring software for network     $     3,949.00   $         3,949.00   $           -
                                     TrustPrice - Microsoft Project 2013 Standard
Software Purchased   5/20/2014       32/64-bit downloand                            $      517.00    $           517.00   $           -
Software Purchased   7/14/2014       MapPoint 2013 North American Maps              $      299.99    $           299.99   $           -
                                     MicroCenter - Microsoft Office and Win Pro
Software Purchased   8/5/2014        pack (6 each)                                  $     2,083.07   $         2,083.07   $           -
                                     CloudBerry Backup Enterprise Edition NR
Software Purchased   9/8/2014        and CloudBerry Explorer                        $       331.98   $           331.98   $           -
Software Purchased   12/1/2014       TFS Implementation                             $     5,693.37   $         5,693.37   $           -
Software Purchased   12/1/2014       Karnes - Computer Software Purchased           $     6,705.00   $         6,705.00   $           -
Software Purchased   2/10/2015       1 of 32-CDW Direct MS Server Licenses          $       180.43   $           180.43   $           -
Software Purchased   2/10/2015       2 of 32-CDW Direct MS Server Licenses          $       180.29   $           180.29   $           -
Software Purchased   2/10/2015       3 of 32-CDW Direct MS Server Licenses          $       180.29   $           180.29   $           -
Software Purchased   2/10/2015       4 of 32-CDW Direct MS Server Licenses          $       180.29   $           180.29   $           -
Software Purchased   2/10/2015       5 of 32-CDW Direct MS Server Licenses          $       180.29   $           180.29   $           -
Software Purchased   2/10/2015       6 of 32-CDW Direct MS Server Licenses          $       180.29   $           180.29   $           -
Software Purchased   2/10/2015       7 of 32-CDW Direct MS Server Licenses          $       180.29   $           180.29   $           -
Software Purchased   2/10/2015       8 of 32-CDW Direct MS Server Licenses          $       180.29   $           180.29   $           -
Software Purchased   2/10/2015       9 of 32-CDW Direct MS Server Licenses          $       180.29   $           180.29   $           -

Software Purchased   2/10/2015       10 of 32-CDW Direct MS Server Licenses         $      180.29    $           180.29   $           -

Software Purchased   2/10/2015       11 of 32-CDW Direct MS Server Licenses         $      180.29    $           180.29   $           -

Software Purchased   2/10/2015       12 of 32-CDW Direct MS Server Licenses         $      180.29    $           180.29   $           -



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                                      Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                 Description                       Cost           Depreciation         Value

Software Purchased   2/10/2015     13 of 32-CDW Direct MS Server Licenses   $        180.29   $           180.29   $           -

Software Purchased   2/10/2015     14 of 32-CDW Direct MS Server Licenses   $        180.29   $           180.29   $           -

Software Purchased   2/10/2015     15 of 32-CDW Direct MS Server Licenses   $        180.29   $           180.29   $           -

Software Purchased   2/10/2015     16 of 32-CDW Direct MS Server Licenses   $        180.29   $           180.29   $           -

Software Purchased   2/10/2015     17 of 32-CDW Direct MS Server Licenses   $        180.29   $           180.29   $           -

Software Purchased   2/10/2015     18 of 32-CDW Direct MS Server Licenses   $        180.29   $           180.29   $           -

Software Purchased   2/10/2015     19 of 32-CDW Direct MS Server Licenses   $        180.29   $           180.29   $           -

Software Purchased   2/10/2015     20 of 32-CDW Direct MS Server Licenses   $        180.29   $           180.29   $           -

Software Purchased   2/10/2015     21 of 32-CDW Direct MS Server Licenses   $        180.29   $           180.29   $           -

Software Purchased   2/10/2015     22 of 32-CDW Direct MS Server Licenses   $        180.29   $           180.29   $           -

Software Purchased   2/10/2015     23 of 32-CDW Direct MS Server Licenses   $        180.29   $           180.29   $           -

Software Purchased   2/10/2015     24 of 32-CDW Direct MS Server Licenses   $        180.29   $           180.29   $           -

Software Purchased   2/10/2015     25 of 32-CDW Direct MS Server Licenses   $        180.29   $           180.29   $           -

Software Purchased   2/10/2015     26 of 32-CDW Direct MS Server Licenses   $        180.29   $           180.29   $           -

Software Purchased   2/10/2015     27 of 32-CDW Direct MS Server Licenses   $        180.29   $           180.29   $           -

Software Purchased   2/10/2015     28 of 32-CDW Direct MS Server Licenses   $        180.29   $           180.29   $           -

Software Purchased   2/10/2015     29 of 32-CDW Direct MS Server Licenses   $        180.29   $           180.29   $           -

Software Purchased   2/10/2015     30 of 32-CDW Direct MS Server Licenses   $        180.29   $           180.29   $           -



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                                      Xceligent Schedule Question 41 - Office Equipment
       Category         Date Acq                 Description                       Cost            Depreciation         Value

Software Purchased   2/10/2015     31 of 32-CDW Direct MS Server Licenses     $      180.29    $           180.29   $            -

Software Purchased   2/10/2015     32 of 32-CDW Direct MS Server Licenses     $       180.29   $           180.29   $            -
Software Purchased   2/17/2015     MaxQ Solomon License                       $     2,050.00   $         2,050.00   $            -
Software Purchased   3/1/2015      ReSharper License/Software                 $     3,490.00   $         3,490.00   $            -
Software Purchased   3/1/2015      Axure RP Standard Software                 $       578.00   $           578.00   $            -
Software Purchased   3/1/2015      OmniGRaffle 6 Pro License                  $       539.97   $           539.97   $            -
Software Purchased   3/12/2015     VMWARE Software - Lease 1954569            $    27,019.41   $        27,019.41   $            -
Software Purchased   4/7/2015      MS OV MSDN Software License                $     1,091.24   $         1,091.24   $            -
                                   1 of 3-SonicWall 2YR Comprehensive
Software Purchased   4/20/2015     Gateway Sec Bundle                         $      386.00    $           386.00   $            -
                                   2 of 3-SonicWall 2YR Comprehensive
Software Purchased   4/20/2015     Gateway Sec Bundle                         $      386.00    $           386.00   $            -
                                   3 of 3-SonicWall 2YR Comprehensive
Software Purchased   4/20/2015     Gateway Sec Bundle                         $      386.00    $           386.00   $            -
Software Purchased   6/4/2015      Sonicwall Global VPN 50 CLNT               $      494.69    $           494.69   $            -
                                   1 of 8-16GB PC-12800R DD3 1600mhz
Software Purchased   6/12/2015     RAM                                        $      204.34    $           204.34   $           0.00
                                   2 of 8-16GB PC-12800R DD3 1600mhz
Software Purchased   6/12/2015     RAM                                        $      204.38    $           204.38   $            -
                                   3 of 8-16GB PC-12800R DD3 1600mhz
Software Purchased   6/12/2015     RAM                                        $      204.38    $           204.38   $            -
                                   4 of 8-16GB PC-12800R DD3 1600mhz
Software Purchased   6/12/2015     RAM                                        $      204.38    $           204.38   $            -
                                   5 of 8-16GB PC-12800R DD3 1600mhz
Software Purchased   6/12/2015     RAM                                        $      204.38    $           204.38   $            -
                                   6 of 8-16GB PC-12800R DD3 1600mhz
Software Purchased   6/12/2015     RAM                                        $      204.38    $           204.38   $            -
                                   7 of 8-16GB PC-12800R DD3 1600mhz
Software Purchased   6/12/2015     RAM                                        $      204.38    $           204.38   $            -
                                   8 of 8-16GB PC-12800R DD3 1600mhz
Software Purchased   6/12/2015     RAM                                        $      204.38    $           204.38   $            -

Software Purchased   6/15/2015     Axure RP Pro Upgrade - Software Licenses   $      600.00    $           600.00   $            -



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                                              Xceligent Schedule Question 41 - Office Equipment
        Category               Date Acq                    Description                     Cost             Depreciation         Value
                                          1 of 5-Microsoft Visual Studio Pro 2015
Software Purchased          10/1/2015     License - CDW                              $         455.89   $           455.89   $           -
                                          2 of 5-Microsoft Visual Studio Pro 2015
Software Purchased          10/1/2015     License - CDW                              $         455.89   $           455.89   $           -
                                          3 of 5-Microsoft Visual Studio Pro 2015
Software Purchased          10/1/2015     License - CDW                              $         455.89   $           455.89   $           -
                                          4 of 5-Microsoft Visual Studio Pro 2015
Software Purchased          10/1/2015     License - CDW                              $         455.89   $           455.89   $           -
                                          5 of 5-Microsoft Visual Studio Pro 2015
Software Purchased          10/1/2015     License - CDW                              $         455.89   $           455.89   $          -
Software Purchased          10/1/2015     Solomon Upgrade                            $      29,081.25   $        29,081.25   $          -
Software Purchased          11/5/2015     Solarwinds-SQL Server                      $       1,557.00   $         1,513.75   $        43.25
Software Purchased          12/10/2015    SonicWall                                  $       1,465.00   $         1,383.60   $        81.40
Software Purchased          3/15/2016     MaxQ Solomon License                       $       2,050.00   $         1,765.27   $       284.73
Software Purchased          5/3/2016      1 of 2-MaxQ Solomon License                $       2,190.52   $         1,764.58   $       425.94
Software Purchased          5/3/2016      2 of 2-MaxQ Solomon License                $       2,190.53   $         1,764.60   $       425.93
Software Purchased          1/13/2017     License for Asset Finder Plug-In           $       1,800.00   $         1,050.00   $       750.00
Software Purchased          4/1/2017      Prophix Software                           $     104,017.84   $        52,008.92   $    52,008.92

Software Purchased          8/1/2017      (2) Solomon Licenses - MaxQ Technologies   $      4,000.00    $         1,555.55   $     2,444.45
Software Internal Externl   7/15/2001     CDX SOFTWARE                               $    915,789.00    $       915,789.00   $          -
Software Internal Externl   12/31/2002    RELEASE 5.1                                $    384,088.00    $       384,088.00   $          -
Software Internal Externl   4/30/2003     RELEASE 5.2                                $    209,544.00    $       209,544.00   $          -
Software Internal Externl   4/30/2003     Release 5.2 Capitalized Interest           $     79,276.00    $        79,276.00   $          -
Software Internal Externl   6/30/2003     RELEASE 5.3                                $     91,278.00    $        91,278.00   $          -
Software Internal Externl   6/30/2003     Release 5.3 Capitalized Interest           $     34,533.00    $        34,533.00   $          -
Software Internal Externl   9/30/2003     RELEASE 5.4                                $    189,424.00    $       189,424.00   $          -
Software Internal Externl   9/30/2003     Release 5.4 Capitalized Interest           $     71,664.00    $        71,664.00   $          -
Software Internal Externl   12/31/2003    FUTURE 6.0                                 $    193,288.00    $       193,288.00   $          -
Software Internal Externl   12/31/2003    Release 6.0 (2003) Capitalized Interest    $     73,127.00    $        73,127.00   $          -
Software Internal Externl   6/30/2004     RELEASE 6.0 2004                           $    329,611.97    $       329,611.97   $          -
Software Internal Externl   8/31/2004     RELEASE 6.1                                $     96,966.37    $        96,966.37   $          -
Software Internal Externl   8/1/2011      XDC Drive Tool                             $     36,656.09    $        36,656.09   $          -
Software Internal Externl   5/3/2012      URL www.commercialsearch.com               $      5,000.00    $         5,000.00   $          -


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                                               Xceligent Schedule Question 41 - Office Equipment
        Category                Date Acq                   Description                      Cost             Depreciation         Value
Software Internal Externl   6/1/2012       iPad app                                   $     107,095.74   $       107,095.74   $             -
Software Internal Externl   9/1/2012       Tenant Research Application                $      58,950.00   $        58,950.00   $             -
Software Internal Externl   10/1/2013      Tenant Database                            $      32,183.68   $        32,183.68   $             -
Software Internal Externl   10/1/2013      CDX 9.1                                    $     100,115.45   $       100,115.45   $             -
Software Internal Externl   10/1/2013      Map Search                                 $      11,381.15   $        11,381.15   $             -
Software Internal Externl   10/1/2013      Report Bundler                             $       5,662.12   $         5,662.12   $             -
Software Internal Externl   10/1/2013      Commercial Search                          $      46,430.57   $        46,430.57   $             -
Software Internal Externl   2/3/2014       Corellogic (Data Feed Utility Tool)        $      83,971.98   $        83,971.98   $             -
Software Internal Externl   2/3/2014       CDX 9.1 Verified Tenant                    $      32,819.39   $        32,819.39   $             -
Software Internal Externl   2/3/2014       New Drive Tool (XTRP)                      $      66,534.80   $        66,534.80   $             -
Software Internal Externl   2/3/2014       Realtor.com Co-Brand Site                  $       2,069.70   $         2,069.70   $             -
Software Internal Externl   3/31/2014      XMC 2.0                                    $      62,528.53   $        62,528.53   $             -
Software Internal Externl   3/31/2014      Commercial Search Data Feed                $      18,814.91   $        18,814.91   $             -
Software Internal Externl   12/1/2014      Comps Importer                             $      18,593.15   $        18,593.15   $             -
Software Internal Externl   12/1/2014      eXplore-iPhone App                         $       1,361.95   $         1,361.95   $             -
Software Internal Externl   12/7/2014      Site to do Business (CCIM)                 $      92,375.49   $        92,375.49   $             -
Software Internal Externl   6/30/2015      New Direct (CSLink/GIS Link)               $     324,475.05   $       324,475.05   $           (0.00)
Software Internal Externl   8/30/2015      ACM/CRM Synchronization                    $      13,490.00   $        13,490.00   $             -
Software Internal Externl   3/1/2016       STDB Express Reporting                     $      96,391.50   $        96,391.50   $             -
Software Internal Externl   10/1/2016      Spaceful                                   $ 1,730,480.31     $     1,730,480.31   $             -
Software Internal Externl   4/1/2017       STDB 2                                     $     437,733.29   $       437,733.29   $             -




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                                  Xceligent Schedule Question 47 - Automobiles
   Category        Date Acq                Description                  Cost           Depreciation       Value
Autos         7/1/2012        2011 Kia Forte PUN732                 $    16,393.27    $   16,393.27   $         -
Autos         4/1/2013        2010 Lincoln MKZ PUV388               $    23,781.08    $   23,781.08   $         -
Autos         5/1/2013        2012 KIA Forte PUV239                 $    15,117.96    $   15,117.96   $       (0.00)
Autos         11/1/2013       2012 Kia Forte PUW047                 $    15,667.88    $   12,795.44   $    2,872.44
Autos         11/1/2013       2012 Kia Forte PUW050                 $    15,667.88    $   15,406.76   $      261.12
Autos         11/1/2013       2012 Kia Forte PUW052                 $    15,667.88    $   15,406.76   $      261.12
Autos         11/1/2013       2012 Kia Forte PUW053                 $    15,667.88    $   15,406.76   $      261.12
Autos         11/1/2013       2012 Kia Forte PUW054                 $    15,667.88    $   15,406.76   $      261.12
Autos         11/1/2013       2012 Kia Forte PUW055                 $    15,667.88    $   15,406.76   $      261.12
Autos         11/1/2013       2012 Kia Forte PUW057                 $    15,667.88    $   15,406.76   $      261.12
Autos         11/1/2013       2012 Kia Forte PUW058                 $    15,667.88    $   15,406.76   $      261.12
Autos         1/1/2014        2012 Kia Forte PUW310                 $    14,172.00    $   11,101.40   $    3,070.60
Autos         1/1/2014        2012 Kia Forte PUW342                 $    13,631.52    $   12,949.93   $      681.59
Autos         2/3/2014        2012 Kia Forte PUW556                 $    14,627.24    $   13,652.10   $      975.14
Autos         9/24/2014       2014 Kia Forte PUY083                 $    16,145.95    $   13,185.86   $    2,960.09
Autos         10/17/2014      2013 Kia Forte #729963 PUX674         $    13,779.26    $   11,023.40   $    2,755.86
Autos         10/20/2014      2013 Kia Forte #717556 PUX679         $    14,774.15    $    9,110.73   $    5,663.42
Autos         11/21/2014      PUY089-2014 Kia Forte                 $    14,978.75    $   11,733.35   $    3,245.40
Autos         12/23/2014      2013 Kia Forte - PUY395               $    14,541.09    $   11,148.18   $    3,392.91
Autos         8/1/2015        200EBO - 2014 Toyota Corolla          $    16,129.06    $   10,215.07   $    5,913.99
Autos         9/1/2015        200EB8 - 2014 Toyota Corolla LE       $    16,968.33    $   10,463.82   $    6,504.51
Autos         9/1/2015        200EBS - 2014 Toyota Corolla LE       $    16,971.73    $   10,465.91   $    6,505.82
Autos         9/1/2015        200EBA - 2014 Toyota Corolla LE       $    16,983.89    $   10,473.40   $    6,510.49
Autos         10/1/2015       200EBM - 2014 Toyota Corolla          $    17,239.75    $   10,343.85   $    6,895.90
Autos         10/1/2015       2229P5 - 2014 Toyota Corolla          $    17,002.86    $   10,201.71   $    6,801.15
                              2015 Toyota Corolla - Enterprise
Autos         11/1/2015       22338F                                $    17,697.75    $   10,323.69   $    7,374.06
Autos         12/1/2015       2014 Toyota Camry - 223DC9            $    16,576.00    $    9,393.07   $    7,182.93
Autos         1/1/2016        2016 Toyota Corolla - 223VTT          $    19,102.32    $   10,506.27   $    8,596.05
Autos         1/1/2016        2016 Toyota Corolla - 223VT9          $    19,102.32    $   10,506.27   $    8,596.05
Autos         1/1/2016        2016 Toyota Corolla - 223VSW          $    19,102.32    $   10,506.27   $    8,596.05
                              2016 Toyota Corolla - Enterprise
Autos         2/1/2016        223VV2                                $    18,679.32    $    9,962.30   $    8,717.02


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                                  Xceligent Schedule Question 47 - Automobiles
   Category       Date Acq                 Description                  Cost          Depreciation        Value
                             2016 Toyota Corolla - Enterprise
Autos         2/1/2016       223VTL                                 $    19,329.32    $   10,308.96   $    9,020.36
                             2016 Toyota Corolla - Enterprise
Autos         2/1/2016       223VTF                                 $    19,329.32    $   10,308.96   $    9,020.36
                             2016 Toyota Corolla - Enterprise
Autos         3/1/2016       223VT6                                 $    19,329.32    $    9,986.81   $    9,342.51
                             2016 Toyota Corolla - Enterprise
Autos         3/1/2016       223VSV                                 $    19,329.32    $    9,986.81   $    9,342.51
                             2016 Toyota Corolla - Enterprise
Autos         4/1/2016       225D43                                 $    18,136.00    $    9,068.00   $    9,068.00
                             2016 Toyota Corolla - Enterprise
Autos         4/1/2016       225QCH                                 $    18,270.00    $    9,135.00   $    9,135.00
                             2016 Toyota Corolla - Enterprise
Autos         4/1/2016       225QCJ                                 $    18,655.11    $    9,327.55   $    9,327.56
                             2016 Toyota Corolla - Enterprise
Autos         5/1/2016       226DGM                                 $    18,781.68    $    9,077.82   $    9,703.86
                             2016 Toyota Corolla - Enterprise
Autos         5/1/2016       226DGX                                 $    18,781.68    $    9,077.82   $    9,703.86
                             2016 Toyota Corolla - Enterprise
Autos         5/1/2016       226DH5                                 $    18,781.68    $    9,077.82   $    9,703.86
                             2016 Toyota Corolla - Enterprise
Autos         5/1/2016       226DH7                                 $    18,781.68    $    9,077.82   $    9,703.86
                             2016 Toyota Corolla - Enterprise
Autos         5/1/2016       226DH9                                 $    18,781.68    $    9,077.82   $    9,703.86
                             2016 Toyota Corolla - Enterprise
Autos         5/1/2016       226DJC                                 $    18,768.09    $    9,071.25   $    9,696.84
                             2016 Toyota Corolla - Enterprise
Autos         5/1/2016       226DK3                                 $    18,768.09    $    9,071.25   $    9,696.84
                             2016 Toyota Corolla - Enterprise
Autos         5/1/2016       226DKD                                 $    18,768.09    $    9,071.25   $    9,696.84
                             2016 Toyota Corolla - Enterprise
Autos         5/1/2016       226MJZ                                 $    18,491.10    $    8,937.37   $    9,553.73
                             1 of 11-2016 Totyota Corolla -
                             Enterprise 226DHF
Autos         6/1/2016                                              $    18,768.09    $    8,758.45   $   10,009.64




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                                  Xceligent Schedule Question 47 - Automobiles
   Category       Date Acq                 Description                  Cost          Depreciation        Value
                             2 of 11-2016 Totyota Corolla -
                             Enterprise 226DJ2
Autos         6/1/2016                                              $    18,768.09    $    8,758.45   $   10,009.64
                             3 of 11-2016 Totyota Corolla -
                             Enterprise 226DJR
Autos         6/1/2016                                              $    18,768.09    $    8,758.45   $   10,009.64
                             4 of 11-2016 Totyota Corolla -
                             Enterprise 226DJT
Autos         6/1/2016                                              $    18,768.09    $    8,758.45   $   10,009.64
                             5 of 11-2016 Totyota Corolla -
                             Enterprise 226DJW
Autos         6/1/2016                                              $    18,768.09    $    8,758.45   $   10,009.64
                             6 of 11-2016 Totyota Corolla -
                             Enterprise 226DK2
Autos         6/1/2016                                              $    18,768.09    $    8,758.45   $   10,009.64
                             7 of 11-2016 Totyota Corolla -
                             Enterprise 226DK5
Autos         6/1/2016                                              $    18,768.09    $    8,758.45   $   10,009.64
                             8 of 11-2016 Totyota Corolla -
                             Enterprise 226DK8
Autos         6/1/2016                                              $    18,768.09    $    8,758.45   $   10,009.64
                             9 of 11-2016 Totyota Corolla -
                             Enterprise 226DKB
Autos         6/1/2016                                              $    18,768.09    $    8,758.45   $   10,009.64
                             10 of 11-2016 Totyota Corolla -
                             Enterprise 226DKF
Autos         6/1/2016                                              $    18,768.09    $    8,758.45   $   10,009.64
                             11 of 11-2016 Totyota Corolla -
                             Enterprise 226DKL
Autos         6/1/2016                                              $    18,768.09    $    8,758.45   $   10,009.64
                             2016 Toyota Corolla - Enterprise
Autos         7/1/2016       225QTZ                                 $    18,575.95    $    8,359.18   $   10,216.77
                             2016 Toyota Corolla - Enterprise
Autos         7/1/2016       225QTS                                 $    18,981.09    $    8,541.49   $   10,439.60
Autos         9/1/2016       2016 Toyota Highlander - 228LZ5        $    35,295.99    $   14,706.67   $   20,589.32
Autos         9/1/2016       2016 TOYOTA COROLLA - 228LXN           $    19,260.88    $    8,025.37   $   11,235.51
Autos         9/1/2016       2016 TOYOTA COROLLA - 228LT9           $    19,264.83    $    8,027.02   $   11,237.81


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                                  Xceligent Schedule Question 47 - Automobiles
   Category        Date Acq               Description                   Cost              Depreciation       Value
Autos         9/1/2016        2016 TOYOTA COROLLA - 228WCV          $    18,644.50       $    7,768.54   $    10,875.96

Autos         11/1/2016       2017 Toyota Rav4 - Enterprise 228CW6    $     25,941.85    $    9,944.38   $   15,997.47
                              2017 Toyota RAV4 - Enterprise
Autos         1/1/2017        22CGFM                                  $     28,867.08    $   10,103.48   $   18,763.60
                              2017 Toyota Corolla - Enterprise
Autos         2/1/2017        22CMD7                                  $     17,982.81    $    5,994.27   $   11,988.54
                              2017 Toyota Corolla - 22D8GT -
Autos         3/1/2017        Enterprise                              $     18,875.76    $    5,977.32   $   12,898.44
                              2017 TOYOTA COROLLA - 22D8HF -
Autos         3/1/2017        Enterprise                              $     18,874.70    $    5,976.99   $   12,897.71
                              2017 Toyota Corolla - 22D8HQ -
Autos         3/1/2017        Enterprise                              $     18,874.70    $    5,976.99   $   12,897.71
                              2017 Toyota Corolla - 22DX8M -
Autos         4/1/2017        Enterprise                              $     19,168.84    $    5,750.65   $   13,418.19
                              2017 Toyota Corolla - Enteprise
Autos         4/1/2017        22D2WJ                                  $     18,438.64    $    5,531.59   $   12,907.05
                              2017 Toyota Corolla - Enterprise
Autos         4/1/2017        22DDV4                                  $     18,895.89    $    5,668.77   $   13,227.12
                              2017 Toyota Corolla - Enterprise
Autos         4/1/2017        22D3XK                                  $     18,322.93    $    5,496.88   $   12,826.05
                              2017 Toyota Corolla - Enterprise
Autos         4/1/2017        22D3XQ                                  $     18,874.89    $    5,662.47   $   13,212.42
                              2017 Toyota Corolla - Enterprise
Autos         5/1/2017        22D3XJ                                  $     18,922.25    $    5,361.30   $   13,560.95
                              2017 Toyota Corolla - Enterprise
Autos         5/1/2017        22FG8H                                  $     19,727.61    $    5,589.49   $   14,138.12

Autos         5/1/2017        2017 Toyota Corolla - Enteprise 22D3Z4 $      18,278.41    $    5,178.88   $   13,099.53
                              2016 Hyundai Sonata - Enterprise
Autos         11/1/2017       22KNMS                                 $      16,100.05    $    2,951.68   $   13,148.37




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                                        Xceligent Schedule Question 55 - Leasehold Improvements
       Category            Date Acq                         Description                    Cost           Depreciation        Value
Leasehold Improvments   12/1/2013     Gill Signs 24' white gemini X sign for Sedalia   $     1,200.00   $      1,200.00   $          -
Leasehold Improvments   12/1/2013     Blue Springs leasehold improvements              $    20,009.01   $     13,815.74   $     6,193.27
Leasehold Improvments   1/1/2014      Sullivan BrothersCat6 cable Sedalia              $     3,334.37   $      3,334.37   $          -
Leasehold Improvments   2/3/2014      Eclipse Integrations New Door system for BS      $     7,686.50   $      5,124.33   $     2,562.17
Leasehold Improvments   2/13/2014     NetStandard Cable for BS                         $       626.80   $        417.86   $       208.94
Leasehold Improvments   2/13/2014     Ace Pro 30 workstation Eletrical Sedalia         $     3,250.00   $      3,250.00   $          -
Leasehold Improvments   3/7/2014      Joshua Warner-installed voice/data lines         $     2,000.00   $      1,358.04   $       641.96
                                      180 Cat #5 phone/data drops and installed by M S
Leasehold Improvments   11/12/2014    Electric                                         $    17,100.00   $     9,567.87    $     7,532.13
Leasehold Improvments   1/1/2015      Xceligent Sign - Blue Springs                    $     4,011.00   $     2,579.96    $     1,431.04
Leasehold Improvments   5/13/2015     Office Spaces in Suite 101 and 105               $     3,322.00   $     2,129.47    $     1,192.53
Leasehold Improvments   7/1/2015      Workstations and Wiring for Dallas Office        $     6,434.39   $     3,759.63    $     2,674.76
Leasehold Improvments   5/1/2016      Carpeting for BS AA Building                     $    18,020.42   $    18,020.42    $          -
Leasehold Improvments   5/20/2016     Paint for AA Building                            $    10,800.00   $    10,800.00    $          -
Leasehold Improvments   6/1/2016      Install Cat6 Infrastructure - STACO Elec         $    51,236.31   $    27,109.16    $    24,127.15
Leasehold Improvments   6/1/2016      Install Cat6 Infrastructure - STACO Elec         $    43,676.00   $    43,676.00    $          -
Leasehold Improvments   11/1/2016     High Bay Lighting Install - STACO                $     9,696.10   $     4,646.05    $     5,050.05
Leasehold Improvments   1/1/2017      Trepp Cubicles                                   $    29,114.27   $    29,114.27    $          -
Leasehold Improvments   1/1/2017      Sedalia Cabling - STACO                          $    19,947.00   $    17,453.63    $     2,493.37
Leasehold Improvments   6/1/2017      Harenlaughlin - OP Buildout                      $    60,805.50   $    23,164.00    $    37,641.50
Leasehold Improvments   10/1/2017     OP Xceligent Sign - Grandmark Signs              $     1,292.52   $       407.74    $       884.78




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                                                                                           Schedule E and F

                                                                                                                                                                                      Contingent,
                                                                                                                                                                                     Unliquidated,
          Creditor                                Address             Address2                 City                State   Zip Code       Total                      Claim Type        Disputed

                            3300 Chimney Rock Rd., Ste 301                       Houston                      TX           77056      $           350.00 Customer Contract

1st Advantage Bank           240 Salt Lick Rd                                    St. Peters                   MO           63376      $      1,375.00 Customer Contract
2000 Development
Corporation                 17280 W North Ave                   Suite 101        Brookfield                   WI           53045      $           171.50 Customer Contract

210 E. Methvin, LLC         210 E. Methvin                                       Longview                     TX           75601      $           450.00 Customer Contract

620 Corporation             620 E. Smith Rd                                      Medina                       OH           44256      $           375.00 Customer Contract

A Better Way Realty          1720 S Bellaire St                 Suite 1100       Denver                       CO           80222      $           127.00 Customer Contract

A Perfect Location Realty    730 East Bridge Street                              Brighton                     CO           80601      $           492.50 Customer Contract

A2 Real Estate, LLC         621 17th St Suite 1777                               Denver                       CO           80293      $           635.00 Customer Contract

Accent Properties            2291 Arapahoe Ave.                                  Boulder                      CO           80302      $           228.60 Customer Contract

Accent Realtors              4625 S Harvard #100                                 Tulsa                        OK           74135      $           135.00 Customer Contract
Access Commercial Real
Estate                       N3589 Peters Rd                                     La Crosse                    WI           54601      $           179.69 Customer Contract

Accountemps                 127 West 10th Street                Suite 956        Kansas City                  MO           64105      $      3,699.58 Trade

Acre Source Realty           21280 County Rd 29                                  Platteville                  CO           80651      $           170.00 Customer Contract

Acree Development            812 Forest Hills Dr                                 Nashville                    TN           37220      $           270.00 Customer Contract

ACREG International LLC     21750 Hardy Blvd Suite 102-104                       San Antonio                  TX           78258      $           390.00 Customer Contract
Adams & Company Real
Estate, LLC                 411 5th Ave                                          New York                     NY           10016      $      8,100.00 Customer Contract

ADAMS, KENNETH               9510 NE 89TH ST                                     KANSAS CITY                  MO           64157      $     13,609.46 Employee                    Unliquidated

ADEVCO Realty Group, LLC    400 Northridge Rd Ste 620                            Atlanta                      GA           30350      $           351.50 Customer Contract

ADKINS, NICHOLE LYNN         5805 NE PEARL DR                                    SUMMIT                       MO           64064      $            56.14 Employee                 Unliquidated

ADKINS, NICOLE               3000 NW BRISTOL CT                                  BLUE SPRINGS                 MO           64015      $               -   Employee                Unliquidated

Admiral Realty LLC          6000 Fairview Rd                    Ste 620          Charlotte                    NC           28210      $           450.00 Customer Contract

Advantis Appraisal Group Inc. 1802 Kings Manor Court                             Matthews                     NC           28105      $           180.00 Customer Contract
Advisor Commercial Realty
LLC                           9085 E. Mineral Circle            Suite 270        Centennial                   CO           80112      $           975.15 Customer Contract




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                                                                                                                                                                                        Contingent,
                                                                                                                                                                                       Unliquidated,
           Creditor                              Address                Address2                 City                State   Zip Code       Total                      Claim Type        Disputed

Adwon Properties              PO Box 52808                                         Tulsa                        OK           74152      $           270.00 Customer Contract

Adwon Realty                  2526 E 71st - C                                      Tulsa                        OK           74136      $           320.00 Customer Contract

AFA Protective Systems, Inc. 5119 8th Ave                                          New York                     NY           10018      $           600.00 Customer Contract

AFT Real Estate               1324 West Clairemont Ave            Suite 4          Eau Claire                   WI           54701      $           195.00 Customer Contract

AGRIOPOULOS, ROBERT           1616 BRAMBLE DRIVE                                   DURHAM                       NC           27712      $      2,280.90 Employee                    Unliquidated

AK Commercial Properties      801 S Price Rd                      Ste 206          Mesa                         AZ           85206      $           326.70 Customer Contract

AKINMOLADUN, DUROJAIYE 6317 HARVARD AVENUE                                         RAYTOWN                      MO           64133      $               -   Employee                Unliquidated

Albemarle Properties          10320 Durant Road                   Ste 113          Raleigh                      NC           27614      $           270.00 Customer Contract

Albert House, Sole Proprietor 210 S. Caswell, Suite B                              Charlotte                    NC           28207      $           90.00 Customer Contract

Albrecht Incorporated         17 S Main St., Ste 401                               Akron                        OH           44308      $      1,312.00 Customer Contract

Alert Logic, Inc.             1776 Yorktown, 7th floor                             Houston                      TX           77056      $      2,922.75 Trade

Alevar Technologies, Inc.     17007 Galleon Circle                                 Rosemont                     MN           55068      $      5,280.00 Trade

Alexander Company             145 East Badger Rd                  Suite 200        Madison                      WI           53713      $           585.00 Customer Contract

Alexis Investments Corp.      11930 W. 44th Ave.                  Suite 200        Wheat Ridge                  CO           80033      $           228.60 Customer Contract

All Pro Realty of Denver      11 Federal Blvd.                    Suite 5          Denver                       CO           80219      $           457.20 Customer Contract
Allen Tate Company - Frank
Alfero                        13526 Johnston Road                                  Charlotte                    NC           28277      $           180.00 Customer Contract

ALLEN, CHRIS                  8416 SAVANNAH CHACE                                  EDEN PRAIRIE                 MN           55347      $      6,703.44 Employee                    Unliquidated

ALLEN, CHRISTOPHER M          500 NE ORCHARD ST                                    LEES SUMMIT                  MO           64063      $      1,285.54 Employee                    Unliquidated
Alliance Commercial Real
Estate                        1307 Pelican Watch Villas                            Sea Brook Island             SC           29455      $           450.00 Customer Contract

Alliance Group of NC, LLC     7208 Falls of Neuse Rd              Ste 101          Raleigh                      NC           27615      $           260.00 Customer Contract

Allied Realty Group, LLC      2932 State Road 83                                   Hartford                     WI           53027      $           157.50 Customer Contract

ALLIEGRO, STEPHEN B           9 HASKELL LANE                                       DARIEN                       CT           06830      $      1,802.70 Employee                    Unliquidated

Alpha Real Estate Group       5988 Mid Rivers Mall Drive                           St. Charles                  MO           63304      $           153.00 Customer Contract




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                                                                                                                                                                                        Contingent,
                                                                                                                                                                                       Unliquidated,
          Creditor                                Address             Address2                  City               State   Zip Code         Total                      Claim Type        Disputed
Alpha Terra Real Estate
Group                          3411 W. Leona St                                  Tampa                        FL           33629        $           400.00 Customer Contract

Alpharetta Realty Inc.         1304 Bombay Ln                                    Roswell                      GA           30076        $           450.00 Customer Contract

Alterra Real Estate Advisors   300 Spruce St Ste 110                             Columbus                     OH           43215        $           440.00 Customer Contract
Altus Commercial Real
Estate,                        6527 Normandy Ln                 Suite 201        Madison                      WI           53719        $      1,562.66 Customer Contract

Altus Properties, LLC          231 S Bemiston Ave               Suite 650        St. Louis                    MO           63105        $           510.00 Customer Contract

ALUKA, KEN                     1795 NORTH FRY ROAD SUITE 178                     KATY                         TX           77449        $               -   Employee                Unliquidated

ALVAREZ, ANDRES                4505 HEADWOOD ST APT 2                            KANSAS CITY                  MO           64111        $               -   Employee                Unliquidated

Ambassador Real Estate, LLC 4444 West 89th Street                                Prairie Village              KS           66207        $           140.00 Customer Contract

American Asset Corporation 5950 Fairview Rd                     Suite 800        Charlotte                    NC           28210        $      1,710.00 Customer Contract
American Capital Properties,
LLC                          P.O. Box 920                                        Lake Oswego                  OR           97034        $           600.00 Customer Contract
American Express Travel
Mgmt                           PO Box 360001                                     Ft Lauderdale                FL           33336-0001   $      7,001.05 Trade
American Property Group of
Sarasota, Inc              7750 S Tamiami Trail                                  Sarasota                     FL           34231        $      1,039.50 Customer Contract
American Synergy
Management                 1105 Colorado Ln, A3                                  Arlington                    TX           76015        $           450.10 Customer Contract

America's Central Port         1635 W First Street                               Granite City                 IL           62040        $           765.00 Customer Contract
Anderson Appraisal
Associates                     PO Box 450233                                     Marietta                     GA           31145        $      1,332.00 Customer Contract

Anderson Bell                  5 Concourse Parkway              Suite 3000       Atlanta                      GA           30328        $           435.00 Customer Contract

Anderson Realty Advisors       5805 State Bridge Road           Suite G406       Duluth                       GA           30097        $           135.00 Customer Contract

Anderson Valuation Group       1601 S Rainbow Blvd              Ste 230          Las Vegas                    NV           89146        $           260.00 Customer Contract

ANDERSON, JERSEY PAIGE         9317 HUHN BLVD                                    KANSAS CITY                  MO           64133        $            30.03 Employee                 Unliquidated

ANDERSON, PAUL ANTHONY 4509 S FREMONT RD                                         INDEPENDENCE                 MO           64055        $               -   Employee                Unliquidated

ANDREW, CHRISTOPHER            949 LARRABEE ST                                   WEST HOLLYWOOD               CA           90069        $               -   Employee                Unliquidated

ANDREW, TAMARA JO              2335 WOODGLEN COURT                               AURORA                       IL           60502        $      1,307.52 Employee                    Unliquidated

Andrews Realty Advisors        36 Narragansett Dr                                St. Louis                    MO           63124        $           153.00 Customer Contract




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                                                                                           Schedule E and F

                                                                                                                                                                                        Contingent,
                                                                                                                                                                                       Unliquidated,
           Creditor                            Address                 Address2                 City               State   Zip Code         Total                      Claim Type        Disputed

ANDREWS, MEGAN               675 NE MM HIGHWAY                                    KNOB NOSTER                 MO           65336        $               -   Employee                Unliquidated

Angmar Realty                2301 FM Hwy, 1187, Suite 203                         Mansfield                   TX           76063        $      3,149.00 Customer Contract

Anthem Community Council 3701 W. Anthem Way                     Ste 201           Anthem                      AZ           85086        $      1,590.00 Customer Contract
Antonoff & Company
Brokerage                1528 Wazee St.                                           Denver                      CO           80202        $           449.00 Customer Contract

Apex Economic Development PO Box 250                                              Apex`                       NC           27502        $      1,100.00 Customer Contract

Applied Underwriters         950 Tower Ln., Ste 1400                              Foster City                 CA           94404        $      1,025.00 Customer Contract

Appraisal Data, LLC          4132 Stafford Place Ct                               Saint Charles               MO           63304        $           170.00 Customer Contract

Appraisal Source, Inc        7080 Camp Bowie, Ste 300                             Fort Worth                  TX           76116        $      5,715.45 Customer Contract
AppraisalFirst Real Estate
Appraisers                   1444 Biscayne Blvd Suite 211                         Miami                       FL           33132        $           645.00 Customer Contract

April J. Carlton             5777 Old Wadsworth Blvd.           R200              Arvada                      CO           80002        $           63.50 Customer Contract
Aramark Refreshment
Services                     4420 E. 142nd Street                                 Grandview                   MO           64030        $      1,166.76 Trade

Aramark Uniform Serivces     26792 Network Place                                  Chicago                     IL           60673-1792   $           841.96 Trade

Arbor Land Company           300 Hunter Ave Suite 101                             St Louis                    MO           63124        $           170.00 Customer Contract

Arc Advisors, Inc            228 E 45th St                                        New York                    NY           10017        $           400.00 Customer Contract

Arcis Investments, Inc.      2908 Bay to Bay Blvd                                 Tampa                       FL           33629        $      1,200.00 Customer Contract

ARK Commercial               415 N McKinley                     Suite 280N        Little Rock                 AR           72205        $           150.00 Customer Contract

Arnold J. Eisenberg, Inc.    24500 Chagrin Blvd                 Suite 120         Beachwood                   OH           44122        $      1,050.00 Customer Contract

Arnold R. Engelberg          588 Harwood                                          Memphis                     TN           38120        $           300.00 Customer Contract

ARNOLD, BREANNA              407 E JACKSON                                        SEDALIA                     MO           65301        $           345.29 Employee                 Unliquidated

ARNOLD, JESSICA              1409 S BARRETT AVE                                   SEDALIA                     MO           65301        $           483.60 Employee                 Unliquidated

Art Belefonte                1853 E Lake Dr.                                      Centennial                  CO           80121        $           63.50 Customer Contract

Arvest Bank                  201 NE A St                                          Bentonville                 AR           72712        $           137.50 Customer Contract

Aspen Gold Realty            2870 N Speer Blvd                                    Denver                      CO           80211        $           591.00 Customer Contract




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           Creditor                                Address               Address2                        City               State   Zip Code         Total                      Claim Type        Disputed

Asset Commercial Real Estate 8235 Forsyth Blvd                     Suite 300              St. Louis                    MO           63105        $           170.00 Customer Contract

Asset Insight of Nevada        1933 Park Shadows Lane                                     Las Vegas                    NV           89137        $           230.00 Customer Contract

Asset Realty Advisors Inc.     5 Belleview Drive                                          Greenwood Village            CO           80121-1217   $           63.50 Customer Contract

Asset Specialists, Inc.        3710 Buckeye St, Ste 100                                   Palm Beach Gardens           FL           33410        $      1,417.50 Customer Contract

Associated Value Consultants 333 W Hampden Ave                     Ste 1005               Englewood                    CO           80110        $           400.05 Customer Contract

AT&T                           019                                 PO Box 5019            Carol Stream                 IL           60197-5019   $      4,006.10 Trade

AT&T                           019                                 PO Box 5019            Carol Stream                 IL           60197-5019   $      2,634.97 Trade

AT&T                           PO Box 5019                                                Carol Stream                 IL           60197-5019   $      2,179.97 Trade

AT&T                           660 827-2454 922 4                  PO Box 5001            Carol Stream                 IL           60197-5001   $           165.20 Trade

AT&T Long Distance             PO Box 5017                                                Carol Stream                 IL           60197-5017   $           495.24 Trade

Atkins Commercial Advisors     144-I South Steele Street                                  Sanford                      NC           27330        $           621.00 Customer Contract

Atkins Properties LLC          421 Penman Street                   Ste 110                Charlotte                    NC           28203        $           165.00 Customer Contract

ATKINS, SANDRA D               2400 S CRYSLER APT E                                       INDPENEDENCE                 MO           64052        $               -   Employee                Unliquidated
ATL Property Holdings, LLC -
Doug Steverson                 3099 Coloniel Way, Apt D                                   Atlanta                      GA           30341        $           925.00 Customer Contract

Atlanta Board of Realtors      Educational Foundation, Inc         5784 Lake Forrest Dr   Atlanta                      GA           30328        $           700.00 Trade
Atlantic Commercial
Concepts                       312 W. 3rd Avenue                                          Gastonia                     NC           28052        $           450.00 Customer Contract
Aubrey Municipal
Development District           107 S. Main St.                                            Aubrey                       TX           76227        $               -   Customer Contract

Aureon                         7760 Office Plaza Drive South                              West Des Moines              IA           50266        $     18,934.38 Trade

Aurora Health Care             750 W Virginia                                             Milwaukee                    WI           73204        $      1,025.00 Customer Contract

Austin & Austin                1823 65th Ave, Ste. 2                                      Greeley                      CO           80634        $           170.00 Customer Contract
Austin Commercial Partners
RE                             6405 Lakewood Dr                                           Austin                       TX           78731        $           375.00 Customer Contract

Austin McGuire Company         64 Walll Street                                            Norwalk                      CT           06850        $      1,060.00 Customer Contract

Avaluations, LLC               PO BOX 2991                                                Fayetteville                 AR           72702        $           165.00 Customer Contract




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           Creditor                             Address                      Address2                  City               State   Zip Code         Total                      Claim Type        Disputed

Avangard Real Estate Services 2501 Oak Lawn Ave.                     Suite 110          Dallas                       TX           75219        $           370.10 Customer Contract

Averbuch Realty               7500 Memorial Parkway S                #122               Huntsville                   AL           35802        $           600.00 Customer Contract

Avid Communications, LLC      PO Box 414800                                             Kansas City                  MO           64141        $      1,450.00 Trade

Avison Young                  5440 Wade Park Blvd, Ste 200                              Raleigh                      NC           27607        $      3,600.00 Customer Contract

Avison Young - Atlanta        30 Ivan Allen Jr. Blvd Suite 900                          Atlanta                      GA           30308-3035   $      1,800.00 Customer Contract

Avison Young - Charlotte      440 South Church Street                                   Charlotte                    NC           28202        $      3,150.00 Customer Contract

Avison Young - Denver         1801 California St, Ste 3750                              Denver                       CO           80202        $           127.00 Customer Contract

Avison Young - Joella Rodarte 1801 California St, Ste 3750                              Denver                       CO           80202        $           127.00 Customer Contract

Avison Young - Minneapolis    333 S 7th St, #1370                                       Minneapolis                  MN           55402        $      2,310.00 Customer Contract

AX Madison Greenway L.P.      708 Heartland Trail                    Suite 1600         Madison                      WI           53717        $           328.00 Customer Contract

Axiom Equities                7357 Holiday Dr                        Ste 200            Kansas City                  KS           66106        $           600.00 Customer Contract

AYALA, MIGUEL ANGEL           2044 SANTIAGO ST                                          SANTA ANA                    CA           927062928    $           389.82 Employee                 Unliquidated

AYER, CHRISTIAN               770 S GRAND AVE #5062                                     LOS ANGELES                  CA           90017        $               -   Employee                Unliquidated
                              AZB House, Peninsula Corporate Park,
AZB & Partners                Ganpatrao Kadam Marg                   Lower Parel        Mumbai 400013                India                     $      1,950.00 Professional Services

B & L Investments LLC         1505 S. Howard Avenue                                     Tampa                        FL           33606        $           336.00 Customer Contract

B.V. Belk Properties, Inc.    204 West Woodlawn Road                 Ste C              Charlotte                    NC           28217        $           800.00 Customer Contract

BA Johnson Properties, LLC    PO Box 1739                                               Indian Trail                 NC           28079        $           450.00 Customer Contract

BACKS, CHRISTINE              1207 FRANCIS AVE.                                         LEXINGTON                    MO           64067        $               -   Employee                Unliquidated

BAHRENBURG, ROXIE             9471 HAW CREEK RD                                         MORA                         MO           65345        $               -   Employee                Unliquidated

BAILEY, CHERYL             7506 E 51ST TER                                              KANSAS CITY                  MO           64129        $           365.83 Employee                 Unliquidated
Baird-Alexander Comm. Prop
LLC                        6391 S Blackhawk Way                                         Aurora                       CO           80016        $           571.50 Customer Contract

Baker Realty Advisors, Inc.   6750 W 93rd St                                            Overland Park                KS           66212        $           672.00 Customer Contract

Baker Smith Commercial RE     5690 Webster Street                                       Arvada                       CO           80002        $           127.00 Customer Contract




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          Creditor                              Address               Address2                 City                State   Zip Code       Total                      Claim Type        Disputed

Baker Storey McDonald          3001 Armory Drive                Suite 250        Nashville                    TN           37204      $           270.00 Customer Contract

Baker Valuation, Inc.          PO Box 531154                                     Birmingham                   AL           35253      $           150.00 Customer Contract

BAKER, EMILY LAUREN            3024 NW CASTLE DR                                 BLUE SPRINGS                 MO           64015      $           109.28 Employee                 Unliquidated

BALLARD, ALEX                  3611 PIMLICO                                      COLUMBIA                     MO           65201      $           648.04 Employee                 Unliquidated

BANDELOW, FRANK                1316 NE KENWOOD DR                                LEES SUMMIT                  MO           64064      $     11,282.93 Employee                    Unliquidated

Bane-Fisher Capital Advisors PO Box 1511                                         Denver                       NC           28037      $           360.00 Customer Contract

BANGHART, AUSTIN WILLIAM 5258 E 19TH ST.                                         TUCSON                       AZ           85711      $      1,030.32 Employee                    Unliquidated
Bank of America - Merrill
Lynch                     100 N. Tryon St. NC1-007-11-15                         Charlotte                    NC           28255      $      2,100.00 Customer Contract

Bank of America Credit Cards                                                                                                          $     20,633.33 Trade

BankLiberty                    9200 NE Barry Road                                Kansas City                  MO           64157      $      6,930.00 Customer Contract

Bannister Properties, LLC      PO Box 769                                        Garner                       NC           27529      $           215.00 Customer Contract

Banyan Real Estate, LLC        10480 Mossrock Run                                Littleton                    CO           80125      $           98.50 Customer Contract
Barbara Brown Commercial
Properties                     17801 Sedona Way                                  Cornelius                    NC           28031      $           180.00 Customer Contract

Barbara Mickelson              3360 S Wadsworth Blvd                             Lakewood                     CO           80227      $           127.00 Customer Contract

BARELMANN, BRANDON             1838 Washington St.                               Kansas City                  MO           64108      $      1,267.73 Employee                    Unliquidated

BARNARD, GABIE MARIE           1283 NW PHELPS CT                                 GRAIN VALLEY                 MO           64029      $           322.25 Employee                 Unliquidated

BARNETT, AMANDA                965 NW 525 RD                                     CENTERVIEW                   MO           64019      $           750.39 Employee                 Unliquidated

BARNETT, GREGG                 5216 NW 82ND TERRACE                              KANSAS CITY                  MO           64151      $               -   Employee                Unliquidated

BARNETT, LISA M                1116 SE SUNNYSIDE SCHOOL RD                       BLUE SPRINGS                 MO           64014      $               -   Employee                Unliquidated

BARNETT, LORI A                1111 SW WINTERBERRY CIRCLE                        OAK GROVE                    MO           64075      $               -   Employee                Unliquidated

Barnhart Realty Group          801 S. Highway 78, Suite 307                      Wylie                        TX           75098      $      1,125.25 Customer Contract

Barrett Nabors Commercial      630 New Rd                                        Raleigh                      NC           27608      $           819.00 Customer Contract

Barry B. Bounds                200 W Plaza Dr                   Ste 200          Highlands Ranch              CO           80129      $           514.35 Customer Contract




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          Creditor                                Address                 Address2                City                State   Zip Code       Total                      Claim Type        Disputed

Bartell & Co.                  600 South Cherry Street           # 1125              Denver                      CO           80246      $           63.50 Customer Contract
Bastrop Economic
Development Corp               301Hwy 71 W, Suite 214                                Bastrop                     TX           78602      $      2,385.00 Customer Contract

Bates & Myers Company          2415 Converse St                                      Dallas                      TX           75207      $           616.20 Customer Contract
Baxley-Penfield-Moudy
Realtors                       3304 Commonwealth                                     Bryant                      AR           72022      $           300.00 Customer Contract
Bay Tree Real Estate Group
Inc                            6601 Grand Teton Plaza                                Madison                     WI           53719      $           426.96 Customer Contract

BAZLEY, CANDICE                571 56TH ST APT 301                                   WEST NEW YORK               NJ           07093      $               -   Employee                Unliquidated

BCB Investments                16930 W. Catawba Ave                                  Cornelius                   NC           28031      $           450.00 Customer Contract
bdh+young interiors -
architecture                   7001 France Ave                   Ste 200             Edina                       MN           55435      $           165.00 Customer Contract

Beacon Partners                500 East Morehead St              Suite 200           Charlotte                   NC           28202      $      3,150.00 Customer Contract

Bear Realty of Kenosha, Inc. 4011 80th Street                                        Kenosha                     WI           53142      $           205.00 Customer Contract
Beard Commercial Proprties
LLC                          PO Box 9528                                             Austin                      TX           78766      $           223.30 Customer Contract

Beasley Real Estate Services   6126 Indian Meadow St                                 Orlando                     FL           32819      $           420.00 Customer Contract

BEATTY, MERLIN                 4461 DOWNING PLACE WAY                                MT PLEASANT                 SC           29466      $               -   Employee                Unliquidated

BEAUCHAMP, TERI                P O BOX 2036                                          NAPA                        CA           94558      $               -   Employee                Unliquidated

Beaver Properties, Inc.        290 SW 12th Ave                                       Deerfield Beach             FL           33442      $           925.00 Customer Contract

BECHTEL, SUSAN                 602 VALLE DR.                                         BELTON                      MO           64012      $           477.34 Employee                 Unliquidated

Beckerle Preferred Properties 2260 Bluestone                                         St Charles                  MO           63303      $           340.00 Customer Contract

Becky Lyall Real Estate        P.O. Box 1057                                         Federick                    CO           80530      $           127.00 Customer Contract

BEETS, AMANDA                  1909 S SCOTT AVE                                      INDEPENDENCE                MO           64052      $      3,669.56 Employee                    Unliquidated

BEGLEY, KIMBERLY M             1713 LARAMIE DR                                       POWELL                      OH           43065      $      4,954.95 Employee                    Unliquidated

Belclaire Brokerage Inc        4011 Commerce St                                      Dallas                      TX           75226      $           215.05 Customer Contract

Bell Moore Group Inc.          5200 Park Road                    Ste 120             Charlotte                   NC           28209      $      1,350.00 Customer Contract

Bell Propeties                 8545 Cordes Circle                                    Germantown                  TN           38139      $           575.00 Customer Contract




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          Creditor                                   Address             Address2                  City              State   Zip Code       Total                      Claim Type        Disputed

BELLOS, KATHERINE               3456 KNIGHT DR                                      WHITES CREEK                TN           37189      $               -   Employee                Unliquidated

Belote Appraisal Services       3538 NW Hwy 112                                     Fayetteville                AR           72704      $           590.00 Customer Contract

BELSHA, MISTY                   1735 E TIMBER RIDGE DR                              SEDALIA                     MO           65301      $      1,458.12 Employee                    Unliquidated
Beltway Commercial Real
Estate                          15280 Addison Rd.                  Suite 301        Addison                     TX           75001      $           142.55 Customer Contract
Benbrook Economic
Development Corporation         911 Winscott Rd                                     Benbrook                    TX           76126      $      4,400.50 Customer Contract
Benchmark Commercial
Realty - Craig Dowling          199 Riverwood Dr                                    Frankilin                   TN           37069      $           552.00 Customer Contract

Benchmark Enterprises          2266 Fairburn Rd                                     Douglasville                GA           30135      $           800.00 Customer Contract
Benchmark Realty - Mt Juliet -
Jennifer Bell                  75 Industrial Drive                                  Mt. Juliet                  TN           37122      $      2,057.00 Customer Contract

Benchmark Valuation LLC         2205 Martin Road, Unit 4                            Dover                       FL           33527      $           840.00 Customer Contract

BENNETT, KEVIN M                341 SW ASCOT DRIVE                                  LEES SUMMIT                 MO           64082      $               -   Employee                Unliquidated

BENSON, KIMBERLY                17713 DAKOTA DR                                     INDEPENDENCE                MO           64056      $               -   Employee                Unliquidated

Benton County Assessor          215 E Central Ave                                   Bentonville                 AR           72712      $           320.00 Customer Contract

BERG, ANNETTE                   312 NE LAKEVIEW DR                                  BLUE SPRINGS                MO           64014      $           439.52 Employee                 Unliquidated
Berkeley Partners - Property
Management - Dallas             One Sansome St., 15th Floor                         San Francisco               CA           94104      $           850.25 Customer Contract
Berkshire Hathaway / Epic
Real                            6040 39th Ave                      Suite 4          Kenosha                     WI           53142      $           175.00 Customer Contract
Berkshire Hathaway Home
Services - Jack Trethewey       2903 Aspen Dr                                       Loveland                    CO           80537      $           255.00 Customer Contract
Berkshire Hathaway
HomeServices                    1007 E. St. Maartens Dr                             St Joseph                   MO           64056      $           336.00 Customer Contract
Berkshire Hathaway
Innovative Real Estate          9785 Maroon Circle                 Suite 150        Engelwood                   CO           80112      $           127.00 Customer Contract
Berkshire Hathaway
Professional Realty - Anthony   6263 Wagtail Rd                                     Columbus                    OH           43230      $           250.00 Customer Contract
Berkshire Hathaway
Professional Realty - Damir     7395 Center St                                      Mentor                      OH           44060      $      1,131.25 Customer Contract

BERNSTEIN, CHAD T               11 SOUNDVIEW DRVIE                                  PORT JEFFERSON              NY           11777      $               -   Employee                Unliquidated

Berry Realty, Inc.              1241 E Washington ST               Ste 201          Phoenix                     AZ           85034      $           210.00 Customer Contract
Bertolina Commercial Real
Estate Services INC             1850 East Third St                 Ste 310          Charlotte                   NC           28204      $           450.00 Customer Contract




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          Creditor                             Address                Address2                  City              State   Zip Code         Total                      Claim Type        Disputed

BERTOLLI, JAMES              N65 W28080 HICKORY HILL DRIVE                       SUSSEX                      WI           53089        $      5,439.38 Employee                    Unliquidated

BESU, ANA                    14609 SW 143 CT.                                    MIAMI                       FL           33186        $      1,206.25 Employee                    Unliquidated

Beyer Commercial, REALTORS PO Box 10191                                          Springfield                 MO           65808-0191   $           183.00 Customer Contract

Beyond Commercial         PO Box 7                                               Winter Park                 FL           32790        $      2,000.00 Customer Contract
BHHS Stein & Summers Real
Esta                      1007 E. St. Maartens Drive                             St Joseph                   MO           64506        $           190.00 Customer Contract
BHHS-Rocky Mountain
Realtors                  1678 Parkdale Cir S                                    Erie                        CO           80516        $           285.75 Customer Contract

Bieck Management, Inc.       5205 N Ironwood Ln                                  Glendale                    WI           53217        $           937.50 Customer Contract

BIERMAIER, RONDA             316 SW KEYSTONE CT                                  BLUE SPRINGS                MO           64014        $           321.60 Employee                 Unliquidated

BIESIADA, JOSHUA             1473 N. PORTSMOUTH CIR.                             ORANGE                      CA           92869        $           704.67 Employee                 Unliquidated

Big Horn Development         128 Racquette Drive                                 Fort Collins                CO           80524        $           810.00 Customer Contract

Bill Burrows                 205 Barry Ave S. Apt 212                            Wayzata                     MN           55391        $           400.00 Customer Contract

Bill Foose Company           5622 Dyer St                       Suite 200        Dallas                      TX           75206        $           430.10 Customer Contract

Bill McCann & Associates     PO Box 492035                                       Lawrenceville               GA           30049        $      1,980.00 Customer Contract

Biltmore Realty, Ltd.        5655 S. Yosemite St                Suite 201        Englewood                   CO           80111        $           63.50 Customer Contract

Birmingham Business Alliance 505 20th Street North              Suite 200        Birmingham                  AL           35203        $           350.00 Customer Contract

BISHOP, JASON F              3105 SOUTH STEWART                                  SEDALIA                     MO           65302        $           518.89 Employee                 Unliquidated

BISHOP, SAMUEL               27220 GRIESSEN ROAD                                 SEDALIA                     MO           65301        $               -   Employee                Unliquidated

BISHOP, THOMAS               12201 E 58TH ST                                     KANSAS CITY                 MO           64133        $               -   Employee                Unliquidated

BishopBeale                  250 N Orange Ave., Ste 1500                         Orlando                     FL           32801        $      5,440.00 Customer Contract

Bisnow LLC                   718 7th Street NW                  Second Floor     Washington                  DC           20001        $     32,800.00 Trade

Bissell Companies Inc.       13860 Ballantyne Corporate Place   Suite 300        Charlotte                   NC           28277        $      1,800.00 Customer Contract

Bi-State Development Agency 211 North Broadway, Suite 700                        St Louis                    MO           63102        $      1,750.00 Customer Contract

BITZER, DANA                 1115 SE PRAIRIE LN #D                               OAK GROVE                   MO           64075        $           137.25 Employee                 Unliquidated




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BIVONA, FRANCESCO             1575 HOLLY RD                                       NORTH BRUNSWICK            NJ           08902        $               -   Employee                Unliquidated

BKB LLC                       1350 South Boulder                 Suite 100        Tulsa                      OK           74119        $      1,080.00 Customer Contract

BLACK, RILEY                  103 DOCKSIDE DRIVE                                  LAKE TAPAWINGO             MO           64015        $               -   Employee                Unliquidated

BlackAcre Advisors            200 S Wacker Dr. 31st Floor                         Chicago                    IL           60606        $           150.00 Customer Contract

Blackacre Iowa                9943 Hickman Rd, Ste 105                            Urbandale                  IA           50322        $           625.00 Customer Contract

Blackacre Realty, LLC         2400 86th Street                   Suite 23         Urbandale                  IA           50322        $           167.50 Customer Contract
BLACKMORE, STEFANI
JOANNA                        333 A FRONT STREET                                  GRAIN VALLEY               MO           64029        $           210.45 Employee                 Unliquidated

Blake & Pulsifer              2177 E Warner Rd Ste 107                            Tempe                      AZ           85284        $           594.00 Customer Contract

Blanton Property Company      1033 NW Grand Blvd                                  Oklahoma City              OK           73118        $           350.00 Customer Contract

Bldg Commercial               4242 Medical Dr., Suite 7325                        San Antonio                TX           78229        $           922.50 Customer Contract

BLGCRE, INC.                  5905 Klinger Rd                                     Arlington                  TX           76016        $      1,813.95 Customer Contract

BLISS, JONATHAN JORDAN        1205 WILSHIRE DR                                    NAPERVILLE                 IL           60540        $      3,138.05 Employee                    Unliquidated
Blissard Management &
Realty                        10310 W Markham                    Suite 193        Little Rock                AR           72205        $           750.00 Customer Contract
BLOC Global Real Estate
Markets Group, LLC            505 North 20th Street, Suite 900                    Birmingham                 AL           35203        $           925.00 Customer Contract

Block Hawley Commercial RE 16253 Swingley Ridge Rd                                Chesterfield               MO           63017        $           850.00 Customer Contract

Block Real Estate Services LLC 700 W 47th St                     Ste 200          Kansas City                MO           64112        $           625.00 Customer Contract

Blue Ridge Bank & Trust Co.   4200 Little Blue Parkway                            Independence               MO           64057        $           378.14 Customer Contract

BlueCross BlueShield of K. C. PO Box 419169                                       Kansas City                MO           64141-6169   $   323,331.80 Trade

BLUMER, JOHN                  3164 RIDGE DRIVE                                    TOANO                      VA           23168        $               -   Employee                Unliquidated

BLY, LE ANNE MARIE            907 SW HAMPTON CT APT 2                             BLUE SPRINGS               MO           64015        $           257.30 Employee                 Unliquidated

Bodin Realty International    1805 29th Street                   Suite # 1140     Boulder                    CO           80301        $           127.00 Customer Contract

BOESCHEN, CHERYL              2204 S VERMONT AVE                                  SEDALIA                    MO           65301        $               -   Employee                Unliquidated

BOLAND, JOHN                  212 SW ROCK CREEK LANE                              GRAIN VALLEY               MO           64029        $               -   Employee                Unliquidated




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          Creditor                               Address             Address2                 City                State   Zip Code        Total                      Claim Type        Disputed

BONNER, TASHONNA MARIE 1323 NE QUAIL WALK DRIVE                                 BLUE SPRINGS                 MO           64014       $               -   Employee                Unliquidated

BONTEMPI, RHONDA            4311 MOORGATE DRIVE                                 NORMAN                       OK           73072       $               -   Employee                Unliquidated

Boom Properties             840 Pearl St #3                                     Boulder                      CO           80302       $           504.00 Customer Contract

BORCHERS, ELISABETH A       1225 NW GOLFVIEW DR                                 GRAIN VALLEY                 MO           64029       $               -   Employee                Unliquidated
Boren Brothers / Grass
Groomers                    7017 Americana Parkway Dr                           Reynoldsburg                 OH           43068       $      1,350.00 Customer Contract

BORUM, SARAH LOUISE         215 S HUDSON ST APT D-1                             BUCKNER                      MO           64016       $           148.77 Employee                 Unliquidated
Boswell Properties, LLC -
Graham Groseclose           788 Prince Ave                                      Athens                       GA           30606       $      1,620.00 Customer Contract
Botwin Commercial
Development                 7441A Broadway                                      Kansas City                  MO           64114       $           385.00 Customer Contract

BOUDE, AMANDA               1711 SOUTH ST                                       LEXINGTON                    MO           64067       $           172.14 Employee                 Unliquidated

BOUDE, HANNA ROSE           16333 E TRUMAN RD, APT 21                           INDEPENDENCE                 MO           64050       $               -   Employee                Unliquidated

BOUDE, RANDOLPH THOMAS 7539 PARAISO HVN                                         BOERNE                       TX           78015       $               -   Employee                Unliquidated
BOUDE, SIMON EDWARD
THOMAS                 1711 SOUTH ST                                            LEXINGTON                    MO           640671745   $               -   Employee                Unliquidated

Boulder County Assessor     1325 Pearl St, 2nd Floor                            Boulder                      CO           80302       $      2,200.00 Customer Contract

Boulder Valley Real Estate P.O. Box 2077                                        Boulder                      CO           80306       $           63.50 Customer Contract
Boxer Property Management
Corp                       2727 LBJ Freeway                    Suite 610        Dallas                       TX           75247       $           534.15 Customer Contract

BOYKIN, BRYAN               6116 BLUE RIDGE CUT OFF                             RAYTOWN                      MO           64133       $      1,831.55 Employee                    Unliquidated

Boyle Investment Company    5900 Poplar Ave                    Suite 100        Memphis                      TN           38119       $      2,037.75 Customer Contract

BOYLE, ANNA MARIE           32302 E DUNCAN RD                                   GRAIN VALLEY                 MO           64029       $               -   Employee                Unliquidated

BOZEMAN, JONATHAN       357 W 53RD ST APT 3W                                    NEW YORK                     NY           100195758   $      3,379.05 Employee                    Unliquidated
BPG Management Company-
NC, LTD                 2700 Sumner Blvd                       Suite 178        Raleigh                      NC           27616       $           580.00 Customer Contract

Brad Johnson Investments    3329 109th Street                                   Urbandale                    IA           50322       $           300.00 Customer Contract

Bradford Pech               1873 S Bellaire St                 Suite 700        Denver                       CO           80222       $           285.75 Customer Contract
Bradley & Associates Real
Esta                        8301 Prentice Ave                  Suite 303        Greenwood Village            CO           80111       $           63.50 Customer Contract




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          Creditor                               Address                Address2                 City               State   Zip Code       Total                      Claim Type        Disputed

Bradley Realty                N88 W16733 Appleton Avenue                           Menomonee Falls             WI           53051      $           175.00 Customer Contract

BRAGE, NATALIE                8509 NE 89TH TERR                                    KANSAS CITY                 MO           64157      $      9,808.93 Employee                    Unliquidated
BRAMMER, MARIAH
NICHOLE                       602 SW SHADOW GLEN DRIVE                             BLUE SPRINGS                MO           64015      $           497.79 Employee                 Unliquidated

Brandywine Realty Trust       111 Congress                        Ste 3000         Austin                      TX           78701      $           545.00 Customer Contract

Brannon Properties, LLC       PO Box 14101                                         Durham                      NC           27709      $           130.00 Customer Contract

Braun Management              160 Broadway, Second Floor                           New York                    NY           10038      $      2,138.76 Customer Contract

BRC Real Estate               9331 Commerce Center St             Unit A1          Highlands Ranch             CO           80129      $           895.00 Customer Contract

BRENDEL, MATTHEW              105 EAST 4TH STREET                                  HOLDEN                      MO           64040      $           214.91 Employee                 Unliquidated

BRENNAN, MEREDITH ANN         609 NW PAR DR                                        GRAIN VALLEY                MO           64029      $               -   Employee                Unliquidated

Brent Elzinga                 8909 Hillview Rd                                     Morrison                    CO           80465      $           197.00 Customer Contract

Brentwood Properties          2320 Highland Avenue S.                              Birmingham                  AL           35205      $           150.00 Customer Contract

Brentwood Realty              S33 W26771 Hawthorne Hollow Dr                       Waukesha                    WI           53189      $           350.00 Customer Contract

BRIDDICK, BENJAMIN N          2800 EAST SNAPSHOT RD                                WOODLAWN                    IL           62898      $               -   Employee                Unliquidated

BRIDGES, AMBER                22809 HWY 135                                        SMITHTON                    MO           65350      $      1,330.16 Employee                    Unliquidated

BRIDGEWATER, TASHAUNA         1108 SW BRECKENRIDGE COURT                           BLUE SPRINGS                MO           64015      $           149.25 Employee                 Unliquidated

Brien Slawik                  1880 Livingston Ave.                Suite 100        West St Paul                MN           55118      $           165.00 Customer Contract

Brightedge Technologies, Inc. 989 E Hillsdale Blvd                Ste 300          Foster City                 CA           9404       $     10,200.00 Trade
Brighton Economic
Development                   22 S. Fourth Ave., Suite 305                         Brighton                    CO           80601      $      1,500.00 Customer Contract

Brisky Commercial             100 Washington Avenue S             Ste 1330         Minneapolis                 MN           55401      $           165.00 Customer Contract

BRITT, ANN                    1100 HOLLY AVENUE                                    HARRISONVILLE               MO           64701      $           726.55 Employee                 Unliquidated

BRITTON, KELLI                520 MERRY DL                                         TIPTON                      MO           65081      $           243.86 Employee                 Unliquidated

Broadway Developments         2632 Broadway St. Suite 401 South                    San Antonio                 TX           78215      $           390.00 Customer Contract

Brokers Guild                 7995 E Hampden Avenue                                Denver                      CO           80231      $           317.50 Customer Contract




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Brokers Guild                 5533 S Prince St                                        Littleton                    CO           80120      $           127.00 Customer Contract

Brokers Guild                 3360 S Wadsworth Blvd.                                  Lakewood                     CO           80222      $           197.00 Customer Contract
Brokers Guild Cherry Creek,
Ltd - Manijeh Saeidi          7995 E Hampden Ave                                      Denver                       CO           80231      $           317.50 Customer Contract

BROOKMOLE, KYLE               1009 JERRY ST                                           AUBREY                       TX           76227      $      3,590.31 Employee                    Unliquidated

Brookmont Realty Group        800 Shades Creek Parkway           Suite 450            Birmingham                   AL           35209      $           300.00 Customer Contract

BROOKS, MIESHA                18916 E 37TH TERRACE SOUTH APT 7                        INDEPENDENCE                 MO           64157      $               -   Employee                Unliquidated
Brookstone Realty &
Investment                    3214 6th St                                             Boulder                      CO           80304      $           127.00 Customer Contract

Brothers Company            3456 Hardee Ave                                           Atlanta                      GA           30341      $      1,000.00 Customer Contract
Browder Group Real Estate -
Brandon Brown               1440 South Tryon Street,             Suite 104            Charlotte                    NC           28203      $           180.00 Customer Contract
Browder Group Real Estate -
Matt Browder                1440 South Tryon Street,             Suite 104            Charlotte                    NC           28203      $           180.00 Customer Contract

Brown & Associates            9035 Wadsworth Pkwy                Suite 1300           Westminster                  CO           80021      $           63.50 Customer Contract

Brown & Brown Insurance       240 S Pineapple Ave, Suite 301                          Sarasota                     FL           34236      $           180.00 Customer Contract
                                                                 Building 600 Suite
Brown Edwards & Associates 1200 Abernathy Road                   1700                 Atlanta                      GA           30328      $           440.00 Customer Contract

BROWN, ASHLEE R               915 SW EAGLE COURT                                      BLUE SPRINGS                 MO           64015      $           291.48 Employee                 Unliquidated

BROWN, AUSTIN                 600 E 8TH ST UNIT 2P                                    KANSAS CITY                  MO           64106      $               -   Employee                Unliquidated

BROWN, JENNIFER               13904 E VENUS DRIVE                                     PECULIAR MO                  MO           64078      $           320.33 Employee                 Unliquidated

BROWN, SARA MARIE             1004 NW KINGSRIDGE DR                                   KANSAS CITY                  MO           64015      $               -   Employee                Unliquidated

BROWN, SETH                   441 SPRING AVENUE                                       LIBERTY                      MO           64068      $               -   Employee                Unliquidated

BROWN, SHERRELL               4621 ELMWOOD AVENUE                                     KANSAS CITY                  MO           64130      $               -   Employee                Unliquidated

BROWN, TINA                   3805 COUNTRY CLUB RD                                    ARLINGTON                    TX           76013      $      1,836.65 Employee                    Unliquidated

Bruce Strumpf, Inc.           2120 Drew Street                                        Clearwater                   FL           33765      $           840.00 Customer Contract

BRUMBAUGH, CARL D             301 N 4TH ST                                            ODESSA                       MO           64076      $           534.24 Employee                 Unliquidated

Brumley Realty, Inc.          8 Mesa Oak                                              Littleton                    CO           80127      $           797.85 Customer Contract




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Bruns Realty Group            3050 Hyattsville Rd                                  Tipp City                    OH           45371      $           544.50 Customer Contract

Brunson - Jui, LLC            10161 Park Run Drive               #150              Las Vegas                    NV           89145      $           819.00 Customer Contract

Buchi Inc                     1001 Avenida Pico, C444                              San Clemente                 CA           92673      $     29,020.00 Trade

Buckhead Advisory Group       PO Box 12463                                         Atlanta                      GA           30355      $           250.00 Customer Contract

BUCKLER, SAMANTHA ANN         502 S 1ST STREET                                     ODESSA                       MO           64076      $               -   Employee                Unliquidated

BUCKLEY, DENA                 1803 EAST 22ND                                       SEDALIA                      MO           65301      $           818.53 Employee                 Unliquidated

BUCKNER, LOUIS                3417 S CEDAR AVE                                     INDEPENDENCE                 MO           64052      $               -   Employee                Unliquidated

BUI, ANH                      1480 E PECOS ROAD, #2025                             GILBERT                      AZ           85295      $      5,449.38 Employee                    Unliquidated

Builders Realty Group LLC     PO Box 111194                                        Aurora                       CO           80042      $           127.00 Customer Contract

Building Interests, Inc.      2201 Buena Vista SE #315                             Albuquerque                  NM           87106      $           63.50 Customer Contract

Bull Realty Inc               50 Glenlake Pkwy                   Ste 600           Atlanta                      GA           30328      $     12,000.00 Customer Contract

Bullard Realty                2325 Ulmerton Rd, Suite 20                           St. Petersburg               FL           33762      $      1,000.00 Customer Contract

Buls Hodge Consulting         1300 West Lynn Street              Suite 104         Austin                       TX           78703      $           148.50 Customer Contract
Bulverde Spring Branch -
Economic Development          36101 FM 3159                                        Spring Branch                TX           78070      $           669.99 Customer Contract

BURCH, BRENDA                 107 SW 20TH APT D                                    OAK GROVE                    MO           64075      $      1,339.35 Employee                    Unliquidated

Burd & Mitchell Appr Serv, In. 7788 Lee Street                                     Arvada                       CO           80005      $           63.50 Customer Contract

Burden Incorporated           203 2nd Avenue #101                P.O. Box 490      Niwot                        CO           80544      $           98.50 Customer Contract

Burger Investments            801 W. Mineral Ave.                Suite 102         Littleton                    CO           80120      $           285.75 Customer Contract

Burke Hansen LLC              1601 North 7th Street              Ste 340           Phoenix                      AZ           85006      $               -   Customer Contract

Burke Holding, Inc.           2591 Orchard Knob                                    Atlanta                      GA           30339      $           135.00 Customer Contract

BURTON, ANGELINE MARIE        3821 SW BOULDER DR                                   LEES SUMMIT                  MO           64082      $               -   Employee                Unliquidated

BURTON, KAREN                 1328 W TRUMAN RD                                     INDEPENDENCE                 MO           64050      $           347.29 Employee                 Unliquidated

BUSBY, MATTHEW                24407 E 248TH ST                                     HARRISONVILLE                MO           64701      $      9,200.00 Employee                    Unliquidated




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          Creditor                               Address               Address2                  City               State   Zip Code       Total                      Claim Type        Disputed

Business Brokers of Colorado 14201 E 4th Ave, Bldg. 4            Suite 215        Aurora                       CO           80011      $           98.50 Customer Contract

Bussen Company                2001 W Beltline Hwy                Suite 101        Madison                      WI           53713      $           179.69 Customer Contract

Butler Burgher Group          8300 Douglas Avenue                Suite 600        Dallas                       TX           75225      $      1,962.00 Customer Contract

Butler Burgher Group          5901-B Peachtree Dunwoody Rd       Suite 405        Atlanta                      GA           30328      $           972.00 Customer Contract

BYERS, JAMIE L                2701 NE ARBOR CT                                    BLUE SPRINGS                 MO           64014      $               -   Employee                Unliquidated

Byram Properties LLC          510 S Congress Ave                 Suite 400        Austin                       TX           78704      $           360.00 Customer Contract

BYRD, MICHAEL                 1416 N GLEN ELLYN ST                                INDEPENDENCE                 MO           64056      $           217.28 Employee                 Unliquidated

C&I Appraisal Services Inc.     6750 Poplar Avenue               Suite 706        Memphis                      TN           38138      $           450.00 Customer Contract
C3 Real Estate Solutions -
John Simmons                    200 S College Ave Ste 160                         Fort Collins                 CO           80524      $           255.00 Customer Contract
C3 Real Estate Solutions -
Lissa Johnson                   200 S College Ave #160                            Fort Collins                 CO           80524      $           170.00 Customer Contract
C3 Real Estate Solutions, LLC -
Ben Cornali                     200 S College Ave Ste 160                         Fort Collins                 CO           80524      $           180.00 Customer Contract
C3 Real Estate Solutions, LLC -
Travis Annameier                2720 Council Tree, Ste 178                        Fort Collins                 CO           80524      $           170.00 Customer Contract
Cabarrus Economic
Development                     3003 Dale Earnhardt Blvd         Suite 2          Kannapolis                   NC           28083      $           750.00 Customer Contract

Cactus Realty Consultants     3032 N Sawyer                                       Mesa                         AZ           85207      $      1,306.80 Customer Contract

Caddis Healthcare Real Estate 5910 N Central Expressway          Suite 1400       Dallas                       TX           75206      $      2,750.50 Customer Contract

CAFLISCH, PATRICK K           925 W. HURON STREET #409                            CHICAGO                      IL           60642      $      1,675.26 Employee                    Unliquidated

CALDER, ALEX                  2220 SW WALDEN CT                                   LEES SUMMIT                  MO           64081      $               -   Employee                Unliquidated
Caldwell Companies -
Houston                       7904 N Sam Houston Pkwy Ste 400                     Houston                      TX           77064      $      5,000.00 Customer Contract

CALEY, CRYSTAL                508 NW HOLLY LANE                                   LEES SUMMIT                  MO           64086      $               -   Employee                Unliquidated

Caliber Companies             16074 N 78th St                    Ste B-104        Scottsdale                   AZ           85260      $      1,386.00 Customer Contract

CALLOWAY, JANIS               304 SW WHITE RIDGE                                  LEES SUMMNIT                 MO           64081      $           553.89 Employee                 Unliquidated

CALLOWAY, WAUKESHIA           6815 HUNTER ST. APT B                               RAYTOWN                      MO           64133      $               -   Employee                Unliquidated

CAM, Inc - Mike Mockbee       1525 Corporate Woods Pkwy          Ste 100          Uniontown                    OH           44685      $           795.00 Customer Contract




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         Creditor                                 Address             Address2                 City                State   Zip Code       Total                      Claim Type        Disputed
Cameron Butcher
Commercial RE                  421 S. Tejon St.                 Suite 250        Colorado Springs             CO           80903      $           371.50 Customer Contract

CAMPBELL, CAROL                3825 NASH LN                                      PLANO                        TX           75025      $     11,274.71 Employee                    Unliquidated
CAMPBELL, KYNETTE
MICHELLE                       9012 SW MACINTOSH DRIVE                           LEES SUMMIT                  MO           64064      $               -   Employee                Unliquidated

CAMPBELL, MELISSA              2929 S HEDGES AVE                                 INDEPENDENCE                 MO           64052      $           432.04 Employee                 Unliquidated

CAMPBELL, ROCHELLE             P O BOX 156                                       OTTERVILLE                   MO           65348      $               -   Employee                Unliquidated

Campney Commercial, LLC        1444 NW 124th Ct.                                 Des Moines                   IA           50325      $           107.60 Customer Contract

Candace Rubin Real Estate      5850 Maple Avenue                                 Dallas                       TX           75235      $           195.05 Customer Contract

CANTU, MICHAEL                 11215 ROSE STREET                                 CERRITOS                     CA           90703      $               -   Employee                Unliquidated

Capital City Partners, Inc     1717 W 6th St                    Ste 445          Austin                       TX           78703      $           720.00 Customer Contract

Capital Commercial             153 Park Ave                     Suite 201        Pewaukee                     WI           53072      $           700.00 Customer Contract
Capital Commercial OKC RE
LLC                            4401 N Classen Blvd              Suite 400        Oklahoma City                OK           73118      $      1,520.00 Customer Contract
Capital Commercial OKC RE
LLC                            4401 N Classen Blvd              Suite 400        Oklahoma                     OK           73118      $      1,575.00 Customer Contract

Capital Real Estate Partners   312 Walnut St                    Suite: 1600      Cincinnati                   OH           45202      $           270.00 Customer Contract

Capital Realty Services, LLC   6077 Primacy Pkwy                Suite 102        Memphis                      TN           38119      $           270.00 Customer Contract

Capitol Market Research        1102 West Avenue                 Suite 100        Austin                       TX           78701      $           223.30 Customer Contract

Capstone Commercial            4300 Sigma Rd                    Suite 100        Dallas                       TX           75244      $      4,591.35 Customer Contract
Capstone Commercial Real
Estat                          4401 Northside Pkwy              Suite 711        Atlanta                      GA           30327      $           135.00 Customer Contract
CARAWAY, NATHANAEL
DEVON                          8919 ANGLETON PLACE                               DALLAS                       TX           75243      $      2,000.00 Employee                    Unliquidated
Cardinal Point Management,
LLC                            11300 4th St N                   Ste 250          St Petersburg                FL           33716      $      1,100.00 Customer Contract

CARL, KELLI                    1801 E 16TH ST                                    SEDALIA                      MO           65301      $      2,048.16 Employee                    Unliquidated

Carlen Realty LLC              PO Box 1879                                       Tarpon Springs               FL           34688      $           750.00 Customer Contract

Carlisle Interests, Inc        7979 Inwood Rd                   Suite 225        Dallas                       TX           75209      $      1,239.15 Customer Contract

CARLSON, BRIAN DANIEL          190 LOUNSBURY ROAD                                RIDGEFIELD                   CT           06877      $      3,294.95 Employee                    Unliquidated




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Carmel Realty Company          P.O. Box 6413                                            Denver                       CO           80206       $           63.50 Customer Contract

Carol Davis                    3314 WCR 36                                              Mead                         CO           80542       $           85.00 Customer Contract
Carol High Commercial Real
Est                            1667 S Rosemary St                                       Denver                       CO           80231       $           98.50 Customer Contract

Carolina Landmark Realty LLC P.O. Box 6603                                              Statesville                  NC           28687       $           450.00 Customer Contract

Carolina Realty Advisors       1001 East Blvd                         Suite B           Charlotte                    NC           28203       $           450.00 Customer Contract
Carolinas International Real
Estate                         15008 Deville Ct                                         Indian Land                  SC           29707       $           180.00 Customer Contract

CARPENTER, SCOTT AARON         2820 S MANSION DR, APT 1305                              INDEPENDENCE                 MO           640556405   $           343.17 Employee                 Unliquidated

Carr & Co Realty               3395 S Jericho Ct                                        Auruora                      CO           80013       $           63.50 Customer Contract

CARR, LAUREL L                 5610 NE 80TH TERR #3C                                    KANSAS CITY                  MO           64119       $      1,207.85 Employee                    Unliquidated

CARRIGAN, JENNIFER             8371 EDGEWOOD STREET                                     CHINO                        CA           91708       $      1,853.70 Employee                    Unliquidated

Carruth Properties Company 10106 West San Juan Way                    Ste 205           Littleton                    CO           80127       $           457.20 Customer Contract

CARTER, RHIANNON               1810 S BROOKSTONE VILLAGE DR APT 103                     INDEPENDENCE                 MO           64057       $               -   Employee                Unliquidated

Carver County CDA              705 N Walnut St                                          Chaska                       MN           55318       $           185.00 Customer Contract

CARVER, MICHAEL E              931 SW HAMPTON CRT APT 1                                 BLUE SPRINGS                 MO           64015       $               -   Employee                Unliquidated

Cary Economic Development 307 North Academy Street                                      Cary                         NC           27513       $           305.00 Customer Contract

Case & Associates              4200 E Skelly Dr                       Suite 800         Tulsa                        OK           74135       $           434.00 Customer Contract
Casemark Realty Advisors,
LLC                            1243 Water Tower Place                 #394              St Louis                     MO           63010       $           340.00 Customer Contract

Cashen Brothers Properties     701 Southwest Blvd                                       Kansas City                  KS           66103       $           200.00 Customer Contract

Cass Bank                      12412 Powerscourt Drive                                  St. Louis                    MO           63131       $           200.00 Customer Contract

Cass County EDC                102 E Wall St                                            Harrisonville                MO           64701       $           281.25 Customer Contract

CASSARO, TRAVIS JOSEPH         2217 S LAS FLORES                                        MESA                         AZ           852588525   $               -   Employee                Unliquidated

CASTEEL, MARY                  3209 NW CANTERBURY PLACE                                 BLUE SPRINGS                 MO           64015       $               -   Employee                Unliquidated

CASTILLO, JACOB ABRAHAM 1125 NW DOWNING CIR                                             BLUE SPRINGS                 MO           64015       $           930.05 Employee                 Unliquidated




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            Creditor                           Address               Address2                     City               State   Zip Code         Total                      Claim Type        Disputed

Castle Keep Developments    7927 S Kittredge St                                    Englewood                    CO           80112        $           63.50 Customer Contract

CASTLE, SEAN                2908 SW 14TH ST                                        LEES SUMMIT                  MO           64081        $      5,535.36 Employee                    Unliquidated
Castlebrook Management,
Inc.                        10711 Preston Road - Suite 200                         Dallas                       TX           75230        $           385.10 Customer Contract

Castlebrook Realty Group    10711 Preston Rd                 Ste 200               Dallas                       TX           75230        $           690.06 Customer Contract

CATO, LIA                   11896 O HIGHWAY                                        LEXINGTON                    MO           64067        $           743.84 Employee                 Unliquidated

CATON, LIA C.               13324 ROUND BARN ROAD                                  PLAINFIELD                   IL           60585        $               -   Employee                Unliquidated

Cavender Hill               7373 Broadway                    Suite 501             San Antonio                  TX           78209        $           687.50 Customer Contract

Cawley Partners RE Investors 16400 Dallas Parkway            Suite 150             Dallas                       TX           75248        $           400.10 Customer Contract
CB Commercial NRT R Dave
Drahn                        600 Grant St                    Suite 925             Denver                       CO           80203        $           98.50 Customer Contract
CB Commercial-Hocker &
Assoc.                       4323 N Classen Blvd                                   Oklahoma City                OK           73118        $           866.00 Customer Contract

CB Ragland Company          P O Box 40587                                          Nashville                    TN           37204        $           375.00 Customer Contract

CB Richard Ellis / MEGA     11213 Davenport St               Suite 300             Omaha                        NE           68154        $      4,160.88 Customer Contract
CB Richard Ellis/Hubbell
Comm                        6900 Westown Parkway                                   West Des Moines              IA           50266        $      5,446.00 Customer Contract

CBC- Tom Martinez           9088 S. Ridgeline Blvd           # 200                 Littleton                    CO           80129        $           57.15 Customer Contract

CBIZ MHM                    13576 Collection Center Dr                             Chicago                      IL           60693        $     18,520.51 Trade

CBRE - Cleveland            950 Main Ave Ste 200                                   Cleveland                    OH           44113        $      1,580.00 Customer Contract

CCIM Institute                                               26061 Network Place   Chicago                      IL           60673        $      2,500.00 Trade

CCS Investments, LLC        13610 N Scottsdale Rd, Ste 101                         Scottsdale                   AZ           75254        $     11,000.00 Customer Contract

CDS Business Mapping        P.O. Box 844496                                        Dallas                       TX           75284-4496   $      1,134.13 Trade

CEAH Realtors               3170 NE Carnegie Drive           Suite 400             Lee's Summit                 MO           64064        $      1,300.00 Customer Contract

Cedar Hill EDC              285 Uptown Blvd.                 Bldg. 100             Cedar Hill                   TX           75104        $           427.50 Customer Contract
CenterState Bank Central
Florida, N.A.               349 West Oak St                                        Kissimmee                    FL           34741        $      3,125.00 Customer Contract

Centra Properties           PO Box 323                                             Cramerton                    NC           28032        $           625.00 Customer Contract




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Central Bank of St. Louis     7707 Forsyth Blvd                                          Clayton                     MO           63105        $      2,200.00 Customer Contract
Central Bank of the Midwest -
Blue Springs                  1330A N 7 Highway                                          Blue Springs                MO           64014        $           675.00 Customer Contract
Century 21 All Pro - Jen
Enderson                      8620 Prairie View Rd                                       Kansas City                 MO           64153        $           675.00 Customer Contract

Century 21 Judge Fite          6959 Lebanon Rd                        Suite 201          Frisco                      TX           75034        $      1,075.25 Customer Contract
CFV Commercial Properties
Inc.                           10449 St Charles Rock Rd               Suite 316          St Ann                      MO           63074        $           170.00 Customer Contract

CHAFIN, CATHY                  4219 E 42ND ST WAY S                                      INDEPENDENCE                MO           64055        $           387.77 Employee                 Unliquidated
Chamberlin Roofing &
Waterproofing - DFW            7510 Langtry St                                           Houston                     TX           77040        $      1,290.30 Customer Contract
Chamberlin Roofing &
Waterproofing - Houston        7510 Langtry                                              Houston                     TX           77040        $           800.00 Customer Contract

CHAMBERS, DANIEL               1201 SW ARBORWAY DR                                       LEES SUMMIT                 MO           64082        $            81.89 Employee                 Unliquidated
Champions DFW Commrcl
Rlty, LC                       327 Drexel Dr.                                            Grapevine                   TX           76051        $           363.50 Customer Contract
Champions Real Estate Group
- Hany Elqutub                 22907 Arbor Cove Ln                                       Richmond                    TX           77407        $           702.00 Customer Contract
Champions Real Estate Group
- Ramin Almassi                5 Farther Pt                                              Houston                     TX           77024        $           666.00 Customer Contract
Chapman Commercial Realty,
LLC                            2310 Whitesburg Dr                     Ste 7              Huntsville                  AL           35801        $           297.00 Customer Contract

CHAPMAN, JANE                  1055 NW 25TH RD                                           HOLDEN                      MO           64040        $      1,150.44 Employee                    Unliquidated

CHAPMAN, KRISTI                1523 LAKE VIKING TERRACE                                  GALLATIN                    MO           64640        $           611.73 Employee                 Unliquidated

CHARD, CHRISTIAN DEAN          2810 NW MILL DR                                           BLUE SPRINGS                MO           64015        $               -   Employee                Unliquidated
Charlotte Chamber of
Commerce                       PO Box 32785                                              Charlotte                   NC           28232        $      1,625.00 Customer Contract
Charlotte Commercial
Partners                       8111 Sealy Court                                          Charlotte                   NC           28277        $           900.00 Customer Contract
Charlotte Regional
Partnership                    550 South Caldwell Street, Suite 760                      Charlotte                   NC           28202        $               -   Customer Contract
Charter Development
Company                        PO Box 2511                                               Murfreesboro                TN           37133-2511   $           150.00 Customer Contract

Chelepis & Associates          8300 College Blvd                      Ste 300            Overland Park               KS           66210        $           400.00 Customer Contract
Cherokee Nation Property
Management                     777 West Cherokee Street                                  Catoosa                     OK           74015        $      1,152.00 Customer Contract
Cherry Creek Partners, LLC -
Charles Wellso                 815 Vine Street                                           Denver                      CO           80206        $           531.90 Customer Contract




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           Creditor                               Address                  Address2                 City               State   Zip Code        Total                      Claim Type        Disputed

Cherry Creek Place IV         3300 S Parker Rd #212                                   Aurora                      CO           80014       $           98.50 Customer Contract

Cherry Creek Properties       18646 E Garden Pl                                       Aurora                      CO           80015       $           457.20 Customer Contract

CHERY, FRITZ GERALD           401 COMMONS PARK S. UNIT 363                            STAMFORD                    CT           06902       $               -   Employee                Unliquidated

Childress Klein - Charlotte   301 S. College St. #28202                               Charlotte                   NC           28202       $      7,325.00 Customer Contract
Chinowth & Cohen,
REALTORS                      7510 E 111th St S                                       Bixby                       OK           74008       $      1,125.00 Customer Contract

Chisago County HRA-EDA        PO Box 815                                              North Branch                MN           55056       $           495.00 Customer Contract

Chris Johnson Realty          P.O. Box 7213                                           Statesville                 NC           28687       $           360.00 Customer Contract

Chrisman Commercial           864 W South Boulder Rd                                  Louisville                  CO           80027       $           63.50 Customer Contract

Christensen Development       506 3rd St                           Ste 300            Des Moines                  IA           50309       $           155.00 Customer Contract

Christopher Miller            1805 NW 56th Ct                                         Kansas City                 MO           64151       $           715.00 Trade

Chyrch Realty, LLC            3826 S. New Hope Rd                  Ste 4              Gastonia                    NC           28056       $           280.00 Customer Contract

Cintas First Aid & Safety     10060 Lackman Rd                                        Lenexa                      KS           66219       $           119.95 Trade

CIOCCA, ROSA                  500 SE OAK RIDGE DR UNIT A                              OAK GROVE                   MO           64075       $           620.61 Employee                 Unliquidated
CIP Real Estate Property
Services - North Carolina     3801 Beam Rd                         Suite G            Charlotte                   NC           28217       $           55.00 Customer Contract

CIRILLO, LYNN ANNE            10418 SPRINGLAND COURT                                  HOUSTON                     TX           77065       $      1,680.66 Employee                    Unliquidated
CIRILLO, MIRANDA RHYLEE-
LYNN                          10418 Springland Ct                                     Houston                     TX           770657706   $      1,004.10 Employee                    Unliquidated

Cissell Mueller Company LLC 5530 Salt River Road                                      St Peters                   MO           63376       $           510.00 Customer Contract
Citi South Commercial Real
Estate                      13850 Ballantyne Corporate Place       Suite 500          Charlotte                   NC           28277       $           180.00 Customer Contract
City and County of
Broomfield                  One Descombes Dr                                          Broomfield                  CO           80020       $           350.00 Customer Contract

City Cottage Grove            12800 Ravin Pkwy S                                      Cottage Grove               MN           55016       $           165.00 Customer Contract

City of Akron                 166 S High Street, Ste 202                              Akron                       OH           44308       $           500.00 Customer Contract

City of Alvin                 216 West Sealy                                          Alvin                       TX           77511       $      3,600.00 Customer Contract

City of Ankeny - EDC          410 W 1st St                                            Ankeny                      IA           50023       $      1,500.00 Customer Contract




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                                                                                                                                                                                        Contingent,
                                                                                                                                                                                       Unliquidated,
           Creditor                                  Address               Address2                     City               State   Zip Code       Total                   Claim Type     Disputed

City of Anna                    111 N. Powell Pkwy                   PO BOX 776           Anna                        TX           75409      $      2,900.50 Customer Contract

City of Avon                    36080 Chester Rd                                          Avon                        OH           44011      $      3,600.00 Customer Contract

City of Avon Lake               150 Avon Belden Road                                      Avon Lake                   OH           44012      $      1,000.00 Customer Contract

City of Balch Springs EDC       13503 Alexander Rd                                        Balch Springs               TX           75181      $      1,660.20 Customer Contract

City of Beachwood               25325 Fairmount Blvd                                      Beachwood                   OH           44122      $           350.00 Customer Contract

City of Bentonville             305 SW A Street                                           Bentonville                 AR           72712      $           160.00 Customer Contract

City of Berea                   11 Berea Commons                                          Berea                       OH           44017      $           250.00 Customer Contract

City of Big Lake                160 Lake Street North                                     Big Lake                    MN           55309      $           300.00 Customer Contract
City of Blaine - Economic
Development                     10801 Town Square Drive NE                                Blaine                      MN           55449      $           660.00 Customer Contract

City of Broadview Heights       9543 Broadview Rd                                         Broadview Heights           OH           44147      $           200.00 Customer Contract

City of Brook Park              6161 Engle Rd                                             Brook Park                  OH           44142      $      2,120.00 Customer Contract

City of Brooklyn Park           5200 85th Avenue North                                    Brooklyn Park               MN           55443      $           165.00 Customer Contract

City of Brunswick               4095 Center Road                                          Brunswick                   OH           44212      $           250.00 Customer Contract
City of Buckeye - Economic
Dev                             530 East Monroe Aveune                                    Buckeye                     AZ           85326      $      1,890.00 Customer Contract

City of Burleson                141 West Renfro St                                        Burleson                    TX           76028      $      4,900.50 Customer Contract

City of Cambridge               300 3rd Ave NE                                            Cambridge                   MN           55008      $      2,915.00 Customer Contract

City of Casselberry             95 Triplet Lake Dr                                        Casselberry                 FL           32707      $      1,200.00 Customer Contract

City of Chardon                 111 Water St.                                             Chardon                     OH           44024      $           530.00 Customer Contract
City of Charlotte Real Estate                                        600 E 4th St, 14th
Division                        Charlotte Mecklenburg Gov't Center   Floor.               Charlotte                   NC           28202      $           900.00 Customer Contract

City of Chesterfield EDC        690 Chesterfield Pkwy West                                Chesterfield                MO           63017      $      1,175.00 Customer Contract

City of Cibolo EDC              200 S Main St                                             Cibolo                      TX           78108      $      1,800.00 Customer Contract

City of Cleveland               601 Lakeside Avenue E                RM 210               Cleveland                   OH           44114      $      1,050.00 Customer Contract

City of Columbus                90 W Broad St                        Room 425             Columbus                    OH           43215      $      3,060.00 Customer Contract




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           Creditor                              Address             Address2                  City              State   Zip Code       Total                   Claim Type     Disputed

City of Converse EDC           403 S. Seguin                                    Converse                    TX           78109      $      1,250.00 Customer Contract

City of Coon Rapids            11155 Robinson Dr                                Coon Rapids                 MN           55433      $           363.00 Customer Contract

City of Corinth EDC            3300 Corinth Pkwy                                Corinth                     TX           76208      $      1,700.25 Customer Contract

City of Corsicana              200 N. 12th Street                               Corsicana                   TX           75110      $      1,260.20 Customer Contract

City of Covington CDD          20 W Pike St                                     Covington                   KY           41011      $      3,010.00 Customer Contract

City of Dania Beach CRA        100 W Dania Beach Blvd                           Dania Beach                 FL           33004      $      3,750.00 Customer Contract

City of Dublin                 5200 Emerald Parkway                             Dublin                      OH           43017      $      4,200.00 Customer Contract

City of Edina                  4801 W 50th St                                   Edina                       MN           55424      $           165.00 Customer Contract

City of Elyria                 131 Court St Suite 301                           Elyria                      OH           44035      $           350.00 Customer Contract

City of Englewood              1000 Englewood Parkway                           Englewood                   CO           80110      $      3,150.00 Customer Contract

City of Erlanger EDC           505 Commonwealth Ave                             Erlanger                    KY           41018      $      1,778.70 Customer Contract

City of Fairborn               44 W Hebble Ave                                  Fairborn                    OH           45324      $      2,800.00 Customer Contract

City of Fairview Park          20777 Lorain Road                                Fairview Park               OH           44126      $           250.00 Customer Contract
City of Fayetteville - Dept.
Economic & Business Dev.       433 Hay St                                       Fayetteville                NC           28301      $      1,875.00 Customer Contract

City of Florence               8100 Ewing Blvd                                  Florence                    KY           41042      $           376.25 Customer Contract

City of Flower Mound           2121 Cross Timbers Rd.                           Flower Mound                TX           75028      $      2,488.00 Customer Contract

City of Forest Park            1201 West Kemper Road                            Forest Park                 OH           45240      $           285.00 Customer Contract

City of Fort Worth             900 Monroe St, Suite 404                         Fort Worth                  TX           76102      $      9,652.50 Customer Contract

City of Fountain Valley        10200 Slater Avenue                              Fountain Valley             CA           92708      $      1,400.00 Customer Contract

City of Franklin, Ohio         1 Benjamin Franklin Way                          Franklin                    OH           45005      $      1,980.00 Customer Contract

City of Gahanna                200 South Hamilton Rd                            Gahanna                     OH           43230      $           900.00 Customer Contract

City of Gardendale             PO Box 889                                       Gardendale                  AL           35071      $      1,470.00 Customer Contract

City of Germantown EDC         1930 Germantown Rd S                             Germantown                  TN           38138      $      3,465.00 Customer Contract




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            Creditor                           Address                Address2                  City                State   Zip Code         Total                    Claim Type     Disputed

City of Glendale, EDC       5850 W Glendale Ave                                  Glendale                      AZ           85301        $      5,075.00 Customer Contract

City of Grandview Heights   1016 Grandview Ave                                   Grandview                     OH           43212        $           250.00 Customer Contract

City of Grapevine           200 South Main Street                                Grapevile                     TX           76099        $      1,995.15 Customer Contract

City of Grove City          4035 Broadway                                        Grove City                    OH           43123        $      5,500.00 Customer Contract

City of Hamilton EDC        345 High Street                    Ste 780           Hamilton                      OH           45011        $           720.00 Customer Contract

City of Hilliard            3800 Municipal Way                                   Hilliard                      OH           43026        $           660.00 Customer Contract

City of Huntington Beach    2000 Main Street                                     Huntington Beach              CA           92648        $           333.00 Customer Contract

City of Independence        5409 Madison Pike                                    Independence                  KY           41051        $           975.00 Customer Contract
City of Independence -
Cleveld                     6800 Brecksville Road                                Independence                  OH           44131        $      3,300.00 Customer Contract

City of Johnston            6221 Merle Hay Rd.                 PO Box 410        Johnston                      IA           50131        $      2,800.00 Customer Contract

City of Keller              PO Box 770                                           Keller                        TX           76244        $      1,580.20 Customer Contract

City of Kenosha             625 52nd Street                                      Kenosha                       WI           53140        $           156.25 Customer Contract

City of La Habra            110 E La Habra Blvd                                  La Habra                      CA           90633        $           200.00 Customer Contract

City of Lake Forest         25550 Commercentre Drive           #100              Lake Forest                   CA           92630        $           250.00 Customer Contract

City of Lake Mary           100 N. Country Club Road                             Lake Mary                     FL           32746        $               -   Customer Contract

City of Lakeville           20195 Holyoke Avenue                                 Lakeville                     MN           55044        $           250.00 Customer Contract

City of Lakewood            12650 Detroit Road                                   Lakewood                      OH           44107        $      1,500.00 Customer Contract

City of Lancaster           1424 Campground Road                                 Lancaster                     OH           43130-9503   $           407.50 Customer Contract

City of Lancaster EDC       211 N Henry St                                       Lancaster                     TX           75146        $      1,030.10 Customer Contract

City of League City         300 West Walker St                                   League City                   TX           77573        $           451.25 Customer Contract
City of Leander Economic
Dev                         P.O. Box 319                                         Leander                       TX           78641        $      1,960.00 Customer Contract

City of Lebanon EDC         50 South Broadway                                    Lebanon                       OH           45036        $           100.00 Customer Contract

City of Lewisville          151 W. Church St                                     Lewisville                    TX           75029        $      2,425.25 Customer Contract




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           Creditor                              Address             Address2                 City               State   Zip Code       Total                   Claim Type     Disputed

City of Long Beach           4801 Airport Plaza Dr                              Long Beach                  CA           90815      $           225.00 Customer Contract

City of Longwood             175 W Warren Avenue                                Longwood                    FL           32750      $      2,394.00 Customer Contract

City of Louisville           215 South Mill Street                              Louisville                  OH           44641      $           200.00 Customer Contract

City of Maple Heights        5353 Lee Road                                      Maple Heights               OH           44137      $           175.00 Customer Contract

City of Mason EDC            6000 Mason-Montgomery Rd                           Mason                       OH           45040      $      1,045.29 Customer Contract

City of Mayfield Heights     6154 Mayfield Road                                 Mayfield Heights            OH           44124      $           300.00 Customer Contract

City of Melissa              3411 Barker Ave                                    Melissa                     TX           75454      $      2,555.35 Customer Contract

City of Mentor               8500 Civic Center Blvd                             Mentor                      OH           44060      $      2,100.00 Customer Contract
City of Mesa - Office of
Economic Development         20 East Main                      Ste 200          Mesa                        AZ           85211      $           600.00 Customer Contract

City of Mesquite             1515 North Galloway Ave                            Mesquite                    TX           75149      $      4,050.50 Customer Contract

City of Middletown Ohio      One Donham Plaza, 4th Floor                        Middletown                  OH           45042      $           816.20 Customer Contract

City of Minnetonka           14600 Minnetonka Blvd                              Minnetonka                  MN           55345      $      1,000.00 Customer Contract

City of Moreno Valley        14177 Frederick Street                             Moreno Valley               CA           92552      $      4,455.00 Customer Contract

City of New Berlin Assessor's 3805 S Casper Dr                 2nd Floor        New Berlin                  WI           53151      $      1,980.00 Customer Contract

City of North Ridgeville     7307 Avon Belden Road                              North Ridgeville            OH           44039      $      1,400.00 Customer Contract

City of North Royalton       11545 Royalton rd                                  North Royalton              OH           44133      $      2,250.00 Customer Contract

City of Oconomowoc           174 E Wisconsin Avenue                             Oconomowoc                  WI           53066      $      2,310.00 Customer Contract

City of O'Fallon MO          100 N. Main Street                                 O'Fallon                    MO           63366      $           500.00 Customer Contract

City of Olmsted Falls        26100 Bagley Road                                  Olmsted Falls               OH           44138      $           500.00 Customer Contract

City of Oxford               101 East High Street                               Oxford                      OH           45056      $           46.20 Customer Contract

City of Painesville          7 Richmond St                                      Painesville                 OH           44077      $           250.00 Customer Contract

City of Parma                5517 State Road                                    Parma                       OH           44134      $           250.00 Customer Contract

City of Pataskala            621 West Broad Street                              Pataskala                   OH           43062      $      3,630.00 Customer Contract




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           Creditor                                 Address              Address2                     City               State   Zip Code       Total                   Claim Type     Disputed

City of Pickerington           100 Lockville Rd                                        Pickerington                 OH           43147      $      4,620.00 Customer Contract

City of Plymouth               3400 Plymouth Blvd                                      Plymouth                     MN           55447      $      1,360.00 Customer Contract

City of Powder Springs         4484 Marietta St                                        Powder Springs               GA           30127      $      3,160.00 Customer Contract

City of Powell Ohio            47 Hall Street                                          Powell                       OH           43065      $      1,980.00 Customer Contract

City of Racine-Assesor's Offce 730 Washington Ave                                      Racine                       WI           53403      $      1,610.00 Customer Contract

City of Raleigh                1 Exchange Plaza Ste 707                                Raleigh                      NC           27601      $      2,100.00 Customer Contract

City of Reynoldsburg           7232 East Main Street                                   Reynoldsburg                 OH           43068      $           990.00 Customer Contract
City of Rock Hill Economic
and Urban Development          155 Johnston Street                                     Rock Hill                    SC           29730      $      1,250.00 Customer Contract

City of San Bernardino         300 N. D Street                                         San Bernardino               CA           92418      $      3,850.00 Customer Contract

City of Sanford - CRA          300 N Park Ave                                          Sanford                      FL           32772      $           500.00 Customer Contract

City of Sanford - EDC          300 N Park Ave                                          Sanford                      FL           32771      $      2,625.00 Customer Contract

City of Scottsdale - Ec Dev    3839 N Drinkwater Blvd             2nd Floor            Scottsdale                   AZ           85251      $      4,130.00 Customer Contract

City of Scottsdale - RE Dept   7447 East Indian School Road       Ste 205              Scottsdale                   AZ           85251      $      1,365.00 Customer Contract

City of Seguin EDC             205 N. River                                            Seguin                       TX           78155      $      1,100.00 Customer Contract

City of Sharonville EDC        10900 Reading Road                                      Sharonville                  OH           45241      $           330.00 Customer Contract

City of Shoreview              4600 Victoria St N                                      Shoreview                    MN           55126      $           165.00 Customer Contract

City of South Euclid           1349 South Green Road                                   South Euclid                 OH           44121      $           150.00 Customer Contract

City of Springboro             320 West Central Avenue                                 Springboro                   OH           45066      $           195.25 Customer Contract
                                                                  Ste 1000 City Hall
City of St Paul                25 West 4th St.                    Annex                St. Paul                     MN           55102      $           825.00 Customer Contract
City of St. Cloud Economic
Dev                            400 2nd St. S.                                          St Cloud                     MN           56301      $           665.00 Customer Contract

City of Stow                   3760 Darrow Rd                                          Stow                         OH           44224      $           350.00 Customer Contract

City of Strongsville           16099 Foltz Parkway                                     Strongsville                 OH           44149      $      1,750.00 Customer Contract

City of Tallmadge              46 North Avenue                                         Tallmadge                    OH           44278      $           825.00 Customer Contract




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           Creditor                                Address                 Address2                 City               State   Zip Code         Total                   Claim Type     Disputed

City of Tavares                 201 E. Main St                   PO Box 1068          Tavares                     FL           32778        $      2,650.00 Customer Contract

City of the Colony - EDC        6800 Main Street                                      The Colony                  TX           75056        $           892.47 Customer Contract
City of Titusville - Economic
Development Department          555 S Washington Ave             Second Floor         Titusville                  FL           32780        $      3,150.00 Customer Contract

City of Trenton EDC             11 East State Street                                  Trenton                     OH           45067        $           630.00 Customer Contract

City of Twinsburg               10075 Ravenna Road                                    Twinsburg                   OH           44087        $      1,825.00 Customer Contract

City of Upper Arlington         3600 Tremont Rd                                       Upper Arlington             OH           43221        $           225.50 Customer Contract

City of Verona                  111 Lincoln St                                        Verona                      WI           53593        $      2,250.00 Customer Contract

City of Wadsworth               120 Maple St                                          Wadsworth                   OH           44281        $           350.00 Customer Contract

City of Walnut                  P.O. Box 682                                          Walnut                      CA           91788-0682   $           265.00 Customer Contract

City of Warrensville Heights    4301 Warrensville Center Road                         Warrensville Heights        OH           44128        $      1,800.00 Customer Contract

City of Wauwatosa               7725 W North Ave                                      Wauwatosa                   WI           53213        $           375.00 Customer Contract

City of Wauwatosa               7725 W North Avenue                                   Wauwatosa                   WI           53213        $           187.50 Customer Contract

City of Waxahachie EDC          401 S. Rogers                                         Waxahachie                  TX           75165        $           800.10 Customer Contract

City of Wentzville              5 W Pearce Blvd                                       Wentzville                  MO           63385        $      2,200.00 Customer Contract

City of Westerville             21 S State St                                         Westerville                 OH           43081        $           450.00 Customer Contract

City of Westminister            4800 West 92nd Ave                                    Westminister                CO           80031        $      1,360.00 Customer Contract
City of Wildwood Economic
Development                     16860 Main Street                                     Wildwood                    MO           63040        $           503.50 Customer Contract

City of Willoughby              1 Public Square                                       Willoughby                  OH           44094        $           350.00 Customer Contract

City of Worthington             6550 N. High St.                                      Worthington                 OH           43085        $           300.30 Customer Contract

City View Industrial Park       5800 Franklin St                 Suite 100            Denver                      CO           80216        $           127.00 Customer Contract

Civil Technology                2413 Washington Street                                Denver                      CO           80205        $           171.45 Customer Contract

Claire Sinclair Properties, LLC 700 Rollingbrook Dr.             Suite E              Baytown                     TX           77521        $      1,040.00 Customer Contract

Clarion Partners                230 Park Avenue                  12th Fl              New York                    NY           10169        $     44,000.00 Customer Contract




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          Creditor                              Address             Address2                  City               State   Zip Code         Total                      Claim Type        Disputed

Clark Gaines Properties      10497 Town & Country Way         Ste 700          Houston                      TX           77024        $           400.00 Customer Contract

Clark Properties             3901 Union Blvd                  Suite 104-A      St Louis                     MO           63115-1107   $           170.00 Customer Contract

CLARK, JOSHUA MATTHEW        1519 SE MANOR PL                                  BLUE SPRINGS                 MO           64014        $               -   Employee                Unliquidated

CLARK, THOMAS L              2007 REYNOLDS DR.                                 COLLEYVILLE                  TX           760347603    $               -   Employee                Unliquidated

CLARKE, RAYMOUR              3380 PEACHTREE RD NE UNIT 1914                    ATLANTA                      GA           30326        $               -   Employee                Unliquidated

CLAWSON, BRADLEY DEAN        700 E 8TH ST UNIT 7F                              KANSAS CITY                  MO           64106        $               -   Employee                Unliquidated

CLAWSON, DAVID               2100 SW 19TH ST TERR                              BLUE SPRINGS                 MO           64015        $               -   Employee                Unliquidated

Clay County EDC              1251 NW Briarcliff Parkway       Suite 25         Kansas City                  MO           64116        $           200.00 Customer Contract
Clayton County Economic
Development                  1588 Westwood Way                                 Morrow                       GA           30260        $      2,331.00 Customer Contract

Clayton Jones & Associates   305 Jefferson Street             Suite D          Huntsville                   AL           35801        $           150.00 Customer Contract
Clear Springs Development,
LLC                          951 Market Street, Suite 203                      Fort Mill                    SC           29708        $           810.00 Customer Contract

Clermont County Auditor      101 E Main St                                     Batavia                      OH           45103        $      1,800.00 Customer Contract

ClientLook, LTD              30025 Alicia Pkwy                Suite 306        Laguna Niguel                CA           92677        $      6,813.48 Trade

CLIPSTON, ALYSHIA            8533 HALL                                         LENEXA                       KS           66219        $           327.29 Employee                 Unliquidated

Cloudflare Inc               Dept LA 24609                                     Pasadena                     CA           91185-4609   $      1,000.00 Trade
Co Sprgs Downtn Dev
Authorit                     111 S Tejon St                   Ste 404          Colorado Springs             CO           80903        $           229.50 Customer Contract
Coastal Properties Group
Florida, LLC                 600 Cleveland St                 Suite 710        Clearwater                   FL           33755        $      1,260.00 Customer Contract

COFFEY, JUNE                 12005 FOOD LN                                     GRANDVIEW                    MO           64030        $      1,109.16 Employee                    Unliquidated

Coldwell Banker              7581 Nuthatch Cir                                 Parker                       CO           80134        $           127.00 Customer Contract
Coldwell Banker - Colorado
Springs                      2075 Research Pkwy Suite B                        Colorado Springs             CO           80920        $      1,050.00 Customer Contract

Coldwell Banker West Shell 9321 Montgomery Road                                Cincinnati                   OH           45242        $      1,200.00 Customer Contract
Coldwell Banker Comm Adv -
Cary                       2128 High House Road                                Cary                         NC           27519        $           240.00 Customer Contract
Coldwell Banker Comm
Hathaway                   P.O. Box 3730                                       Little Rock                  AR           72203-3730   $      1,200.00 Customer Contract




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           Creditor                            Address                 Address2                   City               State   Zip Code       Total                      Claim Type        Disputed
Coldwell Banker Comm.
Reliant                      1125 W 8th St                     Ste 200             Cincinnati                   OH           45203      $      1,480.00 Customer Contract
Coldwell Banker Comm.
Select                       8990 Sheridan Rd                                      Tulsa                        OK           74133      $           150.00 Customer Contract
Coldwell Banker Commercial -
Ackley Realty                22 W Monument Ave                 Ste 1               Kissimmee                    FL           34741      $      2,207.70 Customer Contract
Coldwell Banker Commercial -
Atlanta - Will MacArthur     5591 Chamblee Dunwoody Rd         Bldg 1300 Ste 100   Atlanta                      GA           30338      $           200.00 Customer Contract
Coldwell Banker Commercial
Crown Group                  131 E 19th St                                         Mount Dora                   FL           32757      $           500.00 Customer Contract
Coldwell Banker Commercial
NRT                          500 N Westshore Blvd Suite 850                        Tampa                        FL           33609      $      7,315.00 Customer Contract
Coldwell Banker Commercial
Select - Edmond              3209 S Broadway                   Suite 213           Edmond                       OK           73013      $           157.50 Customer Contract
Coldwell Banker Gundaker
SC1                          2101 Bluestone Dr                 Suite 106           St Charles                   MO           63303      $           153.00 Customer Contract
Coldwell Banker Schmidt
Family of Companies          522 E. Front Street                                   Traverse City                MI           49686      $           700.00 Customer Contract

Coldwell Banker Select        5125 e 92nd St                                       Tulsa                        OK           74137      $           128.00 Customer Contract

COLE, CHARITY                 619 E BOONVILLE ST                                   SEDALIA                      MO           65301      $           474.63 Employee                 Unliquidated

COLE, MITCHELL RYAN           418 SE 7TH ST APT C                                  OAK GROVE                    MO           64075      $               -   Employee                Unliquidated

COLE, MONAIL                  4305 NW CORTLAND DR                                  BLUE SPRINGS                 MO           64015      $           490.58 Employee                 Unliquidated

COLE, TASHA                   414 N ENGINEER ST                                    SEDALIA                      MO           65301      $               -   Employee                Unliquidated

Colglazier Properties         1000 E. Basse Road               Suite 100           San Antonio                  TX           78209      $           310.00 Customer Contract

Colhoun Real Estate, LLC      PO Box 322                                           Apex                         NC           27502      $      1,170.00 Customer Contract

Collateral Properties, LLC    1900 Crestwood Blvd              Suite 300           Birmingham                   AL           35210      $           300.00 Customer Contract

Collier & Associates          2894 N McKee Cir                                     Fayetteville                 AR           72703      $           480.00 Customer Contract

Colliers International        4204 S. Pinnacle Hills Parkway   Suite 102           Rogers                       AR           72758      $           132.60 Customer Contract
Colliers International
Wisconsin - Ashley Stilwell   833 E Michigan St, Ste 500                           Milwaukee                    WI           53202      $           50.00 Customer Contract

COLLINS, BRENDAN DEMAR        104 BARTLETT DRIVE                                   MADISON                      CT           06443      $      4,105.60 Employee                    Unliquidated

COLLINS, STEPHANIE            806 N MOHAWK AVE                                     INDEPENDENCE                 MO           64056      $           778.46 Employee                 Unliquidated

Collis Roofing                485 Commerce Way                                     Longwood                     FL           32750      $           810.00 Customer Contract




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          Creditor                              Address                 Address2                  City               State   Zip Code         Total                      Claim Type        Disputed

COLLOBERT, SAMANTHA          4209 S COTTAGE AVE                                    INDEPENDENCE                 MO           64055        $               -   Employee                Unliquidated

Colorado Broker LLC          1690 South Arbutus Place                              Lakewood                     CO           80228        $           127.00 Customer Contract
Colorado Commercial
Companies                    383 Corona Street                  Suite 322          Denver                       CO           80218        $           105.00 Customer Contract

Colorado Equities, Inc.      1120 Redbud Cir                                       Longmont                     CO           80503        $           63.50 Customer Contract
Colorado Valuation
Consultants                  9590 W. 14th Ave.                                     Lakewood                     CO           80215        $           63.50 Customer Contract

Colton Commercial            2206 S Priest Dr                                      Tempe                        AZ           85282        $           445.50 Customer Contract

Columbus 2020                150 South Front Street                                Columbus                     OH           43215        $      7,333.28 Customer Contract

Comcast                      8772 10 311 0472496                PO Box 34744       Seattle                      WA           98124-1744   $           261.24 Trade

Comcast Cable Denver         8497 30 330 1466653                PO Box 34744       Seattle                      WA           98124-1744   $           145.45 Trade

ComEd                        PO Box 6111                                           Carol Stream                 IL           60197-6111   $           98.27 Trade

COMFORT, KAREN D             1618 W 14TH ST                                        SEDALIA                      MO           65301        $      1,431.88 Employee                    Unliquidated

Commerce City EDC            7887 East 60th Ave                                    Commerce City                CO           80022        $      1,198.80 Customer Contract

Commercial 1 Brokers         500 W Main St                      Suite 302-A        Branson                      MO           65616        $           327.25 Customer Contract
Commercial Advisors Asset
Serv                         5101 Wheelis Dr.                   # 320              Memphis                      TN           38117        $           750.00 Customer Contract

Commercial Advisors LLC      8024 W Kentucky Ave                                   Lakewood                     CO           80226        $           93.57 Customer Contract

Commercial Advisors LLC      5101 Wheelis Dr                    Suite 300          Memphis                      TN           38117        $      2,500.00 Customer Contract
Commercial Appraisal
Network                      8012 Bonhomme                      Suite 300          St. Louis                    MO           63105        $           85.00 Customer Contract

Commercial Associates       PO Box 464                                             Raleigh                      NC           27602        $           240.00 Customer Contract
Commercial Brokers Alliance
NoCo, LLC                   1295 Main St. Unit 5                                   Windsor                      CO           80550        $           390.00 Customer Contract

Commercial Carolina          8508 Park Road #174                                   Charlotte                    NC           28210        $      1,250.00 Customer Contract
Commercial Executives Real
Estate Services - Bobbie     7219 W Sahara Ave                  Suite 100          Las Vegas                    NV           89117        $           117.00 Customer Contract

Commercial First Real Estate 3031 N. Center Street                                 Hickory                      NC           28601        $           900.00 Customer Contract
                                                                3693 Southwest
Commercial Gateway           attn: Anthony Petry                Freeway            Houston                      TX           77027        $     19,302.12 Trade




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         Creditor                                Address               Address2                  City               State   Zip Code         Total                      Claim Type        Disputed
Commercial Investment
Realty                       4730 Brady Rd                                        Colorado Springs             CO           80915        $           140.00 Customer Contract
Commercial Mngmt &
Investments                  3855 West Ray Rd                  Ste 3              Chandler                     AZ           85226        $           770.00 Customer Contract
Commercial Partners Realty
Inc                          299 Dr Martin Luther King Jr      St N               St Petersburg                FL           33701        $      1,672.00 Customer Contract
Commercial Property
Advisors                     PO Box 271748                                        Littleton                    CO           80127        $           628.65 Customer Contract

Commercial Property Group    10 Inverness Drive EA5            Suite 160          Englewood                    CO           80112        $           462.00 Customer Contract
Commercial Real Estate
Services Inc                 85 E. 7th Pl #200                                    St Paul                      MN           55101        $           400.00 Customer Contract
Commercial Real Estate
Solutio                      611 Rocky Ledge                                      Austin                       TX           78746        $           900.00 Customer Contract
Commercial Realty Advisors
Houston                      170 Golden Autumn Pl                                 The Woodlands                TX           77384        $           400.00 Customer Contract
Commercial Realty Advisors
LLC                          7434 N. Lannon Road                                  Lannon                       WI           53046        $           175.00 Customer Contract

Commercial Realty Partners   2820 Columbiana Road              Suite 210          Birmingham                   AL           35216        $           400.00 Customer Contract

Commercial Tulsa, Inc.       PO Box 140026                                        Broken Arrow                 OK           74014        $           150.00 Customer Contract

Commercial United LLC        150 N. Sunnyslope Rd.             Suite 240          Brookfield                   WI           53005        $           375.00 Customer Contract

Commercial West Real Estate 14143 Denver West Parkway          Suite 100          Golden                       CO           80401        $           161.85 Customer Contract

Community State Bank         1640 SW White Birch Circle                           Ankeny                       IA           50023        $      1,200.00 Customer Contract

Company One, Inc.            20800 Center Ridge Road                              Rocky River                  OH           44116        $           875.00 Customer Contract

COMPANY, JANISE              9814 EAST 61ST APT 2                                 RAYTOWN                      MO           64133        $               -   Employee                Unliquidated

Compass Properties           735 N. Water Street -             Suite M180         Milwaukee                    WI           53202        $           308.00 Customer Contract
Compass Property Advisors
LLC                          909 S. Meridian Ave               Suite 500          Oklahoma City                OK           73108        $           150.00 Customer Contract
Compass Real Estate
Consulting                   120 East Pine Street              Ste 1              Lakeland                     FL           33801        $      2,475.00 Customer Contract

Component Realty, LLC        3131 Turtle Creek Blvd            Suite 900          Dallas                       TX           75219        $           645.15 Customer Contract

Con Ed                       JAF Station                       PO Box 1702        New York                     NY           10116-1702   $           401.94 Trade

Concord Development          10580 N Port Washington                              Mequon                       WI           53092        $           700.00 Customer Contract

Condado Group Inc.           1321 Burlington Street, Ste M                        Kansas City                  MO           64116        $      6,809.77 Trade




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Congress Holdings Group      1005 Congress Avenue              Suite 150          Austin                      TX           78701        $           360.00 Customer Contract

Conscience Bay Company LLC 929 Pearl St                        Ste 300            Boulder                     CO           80302        $           257.00 Customer Contract

Conti Warehouses             1905 Windsor Pl                                      Fort Worth                  TX           76110        $           221.05 Customer Contract

Continental Realty, Ltd      150 E Broad Street                                   Columbus                    OH           43215        $           495.00 Customer Contract

Cook Appraisal               1580 Mail Drive                                      Iowa City                   IA           52240        $      3,630.00 Customer Contract

COOK, LAUREN                 16506 E 52ND TERR CT S                               INDEPENDENCE                MO           64055        $           153.44 Employee                 Unliquidated

COOK, STEVEN CHARLES         5633 BRIARCLIFF RD.                                  LOS ANGELES                 CA           900689006    $      1,775.66 Employee                    Unliquidated

Cooper Commercial, Inc.      6238 Prestoncrest Lane                               Dallas                      TX           75230        $      2,250.50 Customer Contract

Cooper Realty Investments    3100 West End Ave                 Suite 100          Nashville                   TN           37203        $           517.26 Customer Contract
Cooper Realty Investments,
Inc                          200 N Bowman                      Ste 8              Little Rock                 AR           72211        $           180.00 Customer Contract

COOPER, JUSTIN M             411 NW EUROPA DR                                     GRAIN VALLEY                MO           64029        $               -   Employee                Unliquidated

COOPER, KATIE                2429 S POWAHATAN AVE                                 INDEPENDENCE                MO           64057        $           455.59 Employee                 Unliquidated

COOPER, KENNETH LAMAYS       1055 ROSEDALE AVE                                    BRONX                       NY           10473        $               -   Employee                Unliquidated

COOPER, MORGAN MARIE         11324 E 40th St S                                    Independence                MO           64052        $           314.55 Employee                 Unliquidated

COPPLE, ALEXIA D             1103 DEAN DRIVE                                      GRAIN VALLEY                MO           64029        $               -   Employee                Unliquidated

COPT                         310 The Bridge Street             Ste 610            Huntsville                  AL           35806        $      1,500.00 Customer Contract

CORAM, JULIE                 2203 SE AUSTIN ST                                    OAK GROVE                   MO           64075        $               -   Employee                Unliquidated
Cordes & Company Realty
Asso.                        5299 DTC Blvd.                    #815               Greenwood Village           CO           80111        $           98.50 Customer Contract

Core Brookfield Lakes        325 N Corporate Drive             Suite 200          Brookfield                  WI           53045        $           858.75 Customer Contract

CORE Realty Advisors         11049 W 44th Ave                  Ste 101            Wheat Ridge                 CO           80033        $           63.00 Customer Contract

CORE Realty Partners         8165 East Indian Bend Road        #103               Scottsdale                  AZ           85250        $           180.00 Customer Contract

CORE, KATHERINE              13700 E 39TH ST S                                    INDEPENDENCE                MO           64055        $           673.03 Employee                 Unliquidated

CoreLogic Soultions, LLC     Attn: Information Solutions       PO Box 847239      Dallas                      TX           75284-7239   $     10,200.00 Trade




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          Creditor                             Address                Address2                  City               State   Zip Code         Total                      Claim Type        Disputed

Corn Enterprises, Inc.       PO Box 3184                                         Marietta                     GA           30061        $           787.50 Customer Contract

Cornelius and Associates     1608 N Hwy 161                                      Grand Prairie                TX           75050        $           669.15 Customer Contract
Cornerstone Commercial
AsscLLC                      561 Spring Lake Dr                                  Melbourne                    FL           32955        $      1,440.00 Customer Contract
Cornerstone Commercial
Associates, LLC - Todd       561 Spring Lake Dr                                  Melbourne                    FL           32955        $           864.00 Customer Contract
Cornerstone Commercial
Realty, Inc                  8000 Maryland Avenue, Suite 1120                    St Louis                     MO           63105        $           255.00 Customer Contract
Cornerstone Commercial Rty
Inc                          8000 Maryland Ave                  Ste 1120         St. Louis                    MO           63105        $           161.50 Customer Contract

Cornerstone Investors        102 Jonathan Blvd N #200                            Chaska                       MN           55318        $           100.00 Customer Contract

CORNETT, JOSEPH              7720 ENGLEWOOD AVE                                  RAYTOWN                      MO           64138        $           320.60 Employee                 Unliquidated

Corporate Realty Advisors    3150 East 41st Street              Suite 102        Tulsa                        OK           74105        $           945.00 Customer Contract
Corporate USA Real Estate
Ser                          1420 W Mockingbird Ln              Suite 210        Dallas                       TX           75247        $           430.10 Customer Contract

CORWIN, BRANDY               511 NW WOODBURY DR                                  GRAIN VALLEY                 MO           64029        $               -   Employee                Unliquidated

COTTRELL, SHANNON            1107 W ELM                                          GREENWOOD                    MO           64034        $               -   Employee                Unliquidated

Country Manor                4277 Marks Rd                                       Medina                       OH           44256        $      1,100.00 Customer Contract

COURTNEY, TAMMY M            1835 PEMBROKE CRES W                                INDEPENDENCE                 MO           64057        $               -   Employee                Unliquidated

Courtyard Marriott           1500 NE Coronado Dr.                                Blue Springs                 MO           64014        $      2,723.00 Trade

COUTTS, STEVEN EDWARD        1 FOREST VIEW DRIVE                                 CHESTER                      NJ           07930        $               -   Employee                Unliquidated

Covenant Commercial Realty Po Box 20333                                          Raleigh                      NC           27619        $           972.00 Customer Contract

COVER, TIMOTHY               4108 MCCLARY DRIVE                                  PLANO                        TX           75093        $               -   Employee                Unliquidated

Cowles Commercial            1616 Miramont Dr                                    Fort Collins                 CO           80524        $           571.50 Customer Contract

COWLEY, CRYSTAL A            513 SW 12TH ST                                      BLUE SPRINGS                 MO           64015        $               -   Employee                Unliquidated

Cozad Commercial RE Group 16 Sunmen Dr                          Suite 164        St Louis                     MO           63143-3815   $      1,190.00 Customer Contract
CPG Real Estate Inc. - Paisley
Gordon Jr CCIM                 9032 Crump Rd                                     Pineville                    NC           28134        $           320.00 Customer Contract

Craddock Commercial RE, LLC 337 E Pikes Peak Ave                Ste 200          Colorado Springs             CO           80903        $           360.00 Customer Contract




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Craft Commercial            7300 Six Forks Rd                                      Raleigh                      NC           27615       $           135.00 Customer Contract

Craven Properties LLC       4122 Keaton Crossing Blvd. Ste 106                     O'Fallon                     MO           63368       $           170.00 Customer Contract

Crawford Hoying Real Estate 6640 Riverside Drive                 Suite 500         Dublin                       OH           43017       $           125.00 Customer Contract

CRAWFORD, JUSTIN LYNN       1029 Oak Grove                                         Ryal                         AR           71968       $           151.74 Employee                 Unliquidated

CRE Advisors                1801 Lee Rd                          Ste 215           Winter Park                  FL           32789       $      2,295.00 Customer Contract

CRESA Cincinnati            646 Main St                          Ste 300           Cincinnati                   OH           45202       $      1,500.00 Customer Contract
CROCKETT, JENNIFER
MICHELLE                    1120 NE 9TH ST                                         BLUE SPRINGS                 MO           64014       $           212.96 Employee                 Unliquidated

CROSS, JESSICA              15312 E 49TH ST                                        KANSAS CITY                  MO           64136       $               -   Employee                Unliquidated

Crossroads Real Estate      3509 E Shea Blvd                     Suite 102         Phoenix                      AZ           85028       $           360.00 Customer Contract

CROWDER, KAYLA              17526 258TH ST                                         TONGANOXIE                   KS           66086       $      3,225.63 Employee                    Unliquidated
CROWN Corporate Realty
Advisors                    9935-D Rea Road                      #231              Charlotte                    NC           28277       $           450.00 Customer Contract

Crown Realty                102 S Silver                                           Paola                        KS           66071       $      4,950.00 Customer Contract

Crump Commercial, LLC       700 Colonial Rd                      Suite 260         Memphis                      TN           38117       $           440.00 Customer Contract

Crunkleton & Associates     515 Fountain Row                     Ste 1100          Huntsville                   AL           35801       $      1,188.00 Customer Contract
Crye-Leike Cordova Property
Management                  890 Willow Tree Circle #1                              Cordova                      TN           38018       $           750.00 Customer Contract

CSA Commercial              555 W. Wells - Suite 1630                              Milwaukee                    WI           53202       $           321.50 Customer Contract

CTR Partners                1490 Distribution Dr.                Suite 125         Duluth                       GA           30024       $      1,820.00 Customer Contract

Cuningham Group             201 Main Street SE                   Suite 325         Minneapolis                  MN           55414       $           200.00 Customer Contract

CURRY, DOUGLAS              9701 S PERDUE RD                                       GRAIN VALLEY                 MO           64029       $   337,150.00 Employee                     Unliquidated

CURRY, ERIN                 9701 S PERDUE ROAD                                     GRAIN VALLEY                 MO           64029       $   162,150.00 Employee                     Unliquidated

CURRY, MAKENNA              9701 S PERDUE ROAD                                     GRAIN VALLEY                 MO           64029       $               -   Employee                Unliquidated

CURRY, SAVANNAH             9701 S PERDUE ROAD                                     GRAIN VALLEY                 MO           64029       $               -   Employee                Unliquidated

CURRY, TRACY                103 SE MAGELLAN DRIVE                                  BLUE SPRINGS                 MO           640146401   $               -   Employee                Unliquidated




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Cushman & Wakefield           1515 Arapahoe St                     Suite 1200       Denver                      CO           80202-2112   $      3,810.00 Customer Contract
Cushman & Wakefield -
Charlotte, NC                 550 S Tryon Street, Suite 3400                        Charlotte                   NC           28202        $      5,850.00 Customer Contract
Cushman & Wakefield -
Cincinnati                    201 East 4th St., Ste 1800                            Cincinnati                  OH           45202        $      2,310.00 Customer Contract
Cushman & Wakefield -
Dayton                        221 East 4th St                      26th Floor       Cincinnati                  OH           45202        $      1,980.00 Customer Contract
Cushman & Wakefield -
Evaluation Group              100 N. Broadway Avenue, Suite 3130                    Oklahoma City               OK           73102        $           325.00 Customer Contract
Cushman & Wakefield -
Northern Colorado             1515 Arapahoe St Ste 1200                             Denver                      CO           80202        $      2,040.00 Customer Contract
Cushman & Wakefield - St
Louis                         7700 Forsyth Blvd                    Ste 1210         St Louis                    MO           63105        $      1,938.00 Customer Contract
Cushman & Wakefield |
Cresco Real Estate            3 Summit Park Drive                  Suite 200        Cleveland                   OH           44131        $      3,840.00 Customer Contract
Cushman &Wakefield,
Comm. OK                      4111 S Darlington                                     Tulsa                       OK           74135        $           900.00 Customer Contract
Cushman&Wakefield| The
Lund Co                       450 Regency Parkway                  Suite 200        Omaha                       NE           68114-3764   $      3,459.66 Customer Contract
Cushman&Wakefield-
Commerce RE                   3500 American Way W                  Suite 200        Minneapolis                 MN           55431        $      3,300.00 Customer Contract

Cygnet Properties, LLC        1467 Highway 124                     Suite 200        Auburn                      GA           30011        $           135.00 Customer Contract

CZERKAWSKI, THOMAS            1300 NW FAIRWAY CIRCLE                                BLUE SPRINGS                MO           64014        $           386.98 Employee                 Unliquidated

D.R. Haneklau, Inc            114 Ladue Pine Woods Pl                               Saint Louis                 MO           63141        $           170.00 Customer Contract

Dallas County Tax Office      PO Box 139066                                         Dallas                      TX           75313-9066   $           453.03 Trade

DAME, JOSEPH                  5303 W 121ST TER APT 267                              OVERLAND PARK               KS           66209        $      3,159.08 Employee                    Unliquidated

Dan Robinson & Associates     323 Center St.                       Sutie 1295       Little Rock                 AR           72201        $           300.00 Customer Contract
Daniclies Land and
Acquisition                   4234 Nathaniel Glen Court                             Matthews                    NC           28105        $           275.00 Customer Contract

Daniel & Associates           1609 Milan Road                                       Greensboro                  NC           27410        $           450.00 Customer Contract

Daniel Realty Services, LLC   505 20th STreet North                Suite 1000       Birmingham                  AL           35203        $           300.00 Customer Contract

DANIEL, LUKE                  2604 NE HUNTERS WALK TRAIL                            BLUE SPRINGS                MO           64014        $               -   Employee                Unliquidated

DANIELS, SUSAN                2201 W 2ND ST TERRACE                                 SEDALIA                     MO           65301        $               -   Employee                Unliquidated

DANIELS, THOMAS               1404 NE BURGANDY LN                                   LEES SUMMIT                 MO           64086        $      5,520.94 Employee                    Unliquidated




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          Creditor                           Address                 Address2                  City               State   Zip Code         Total                      Claim Type        Disputed

Darland Properties         4115 South 133rd Street                              Omaha                        NE           68137        $           922.50 Customer Contract

DataBank Holdings, Ltd.    PO box 732200                                        Dallas                       TX           75373-2200   $      9,324.36 Trade

DATTA, SANJAY              2535-3 VAIL AVENUE                                   CHARLOTTE                    NC           28207        $      2,877.19 Employee                    Unliquidated

DAVENPORT, BRENDA          1610 S CARR AVE                                      SEDALIA                      MO           65301        $      1,601.41 Employee                    Unliquidated

David Faria                558 E. Castle Pines Pkwy           B4-191            Castle Rock                  CO           80108        $           63.50 Customer Contract

David Rouble Brokerage     5445 Caruth Haven                  #126              Dallas                       TX           75225        $      1,697.85 Customer Contract

David Yedidsion            3075 Smith Rd, Ste 101                               Fairlawn                     OH           44333        $           100.00 Customer Contract

Davidson Webster Associates 9965 Farmbrook Ln                                   Johns Creek                  GA           30022        $           540.00 Customer Contract

DAVIDSON, ALEXANDER        110-11 QUEENS BLVD                                   FOREST HILLS                 NY           11375        $               -   Employee                Unliquidated

DAVIDSON, CHRISTOPHER      25225 CREEK BANK TRL,                                CLAREMORE                    OK           74019        $               -   Employee                Unliquidated

DAVIS, CHRISTINA           1049 SW TWIN CREEK DR                                LEES SUMMIT                  MO           64081        $      1,806.20 Employee                    Unliquidated

DAVIS, CONSTANCE RACHAEL 941 SW ANGELIA CT                                      BLUE SPRINGS                 MO           64015        $           127.89 Employee                 Unliquidated

DAVIS, STEVEN              415 N MINIER AVE                                     MINIER                       IL           61759        $               -   Employee                Unliquidated
Dayton Development
Coalition                  40 N Main St                       Ste 900           Dayton                       OH           45423        $      1,485.00 Customer Contract

DBSI Real Estate           6950 W Morelos Pl                                    Chandler                     AZ           85226        $           203.50 Customer Contract

DCM Group                  8300 Eager Rd                      Ste 601           St Louis                     MO           63144-1419   $           170.00 Customer Contract

DCT Industrial             9025 Boggy Creek Rd Unit 1                           Orlando                      FL           32824        $           490.00 Customer Contract
DDI Commercial
Incorporated               7200 W 132nd St                    Ste 300           Overland Park                KS           66213        $      2,850.00 Customer Contract

DE LONG, ROSALIE ANN       7925 RIO VISTA DR                                    WOODWAY                      TX           76712        $               -   Employee                Unliquidated

DE MIRANDA, KESLEY         1331 NW 9TH AVE, #B                                  MIAMI                        FL           331362311    $      1,139.10 Employee                    Unliquidated

Dean Callan & Company      1510 28th St.                      Suite 200         Boulder                      CO           80303        $           492.50 Customer Contract

Dean Realty                1201 W 31st Street                 Suite 2           Kansas City                  MO           64108        $      1,104.00 Customer Contract

Deca Realty Comm Div       9630 Gravois Rd                    Suite 101         St. Louis                    MO           63123        $           85.00 Customer Contract




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          Creditor                         Address                    Address2                         City               State   Zip Code         Total                      Claim Type        Disputed
Decatur Development
Authority                 509 North McDonough Street                                    Decatur                      GA           30030        $           250.00 Customer Contract
Decide DeKalb Development
Authority                 125 Clairemont Ave                    Ste 150                 Decatur                      GA           30030        $      3,150.00 Customer Contract

Decker Associates, Inc.       1950 W Littleton Blvd             Suite 115               Littleton                    CO           80120        $           63.50 Customer Contract

Deerfield Township            4900 Parkway Drive                Ste 150                 Deerfield Township           OH           45040        $           525.00 Customer Contract

DELANCEY, BRIAN D             37 W 73RD TER                                             KANSAS CITY                  MO           641146411    $               -   Employee                Unliquidated

Delaney Realty Group          2855 16th Street                                          Boulder                      CO           80304        $           127.00 Customer Contract

Delaware County               101 North Sandusky Street                                 Delaware                     OH           43015        $      4,583.37 Customer Contract

DELECARIS, MARIA              1016 C NE WHISPERING WINDS CT                             LEES SUMMIT                  MO           64064        $               -   Employee                Unliquidated

Delta Realty Researchers      700 Mill Springs Lane                                     Hoover                       AL           35244        $           600.00 Customer Contract

Deltic Timer Corp (Chenal)    7 Chenal Club Blvd                                        Little Rock                  AR           72223        $           150.00 Customer Contract

DEMITRI, DANIEL RYAN          4008 HIGHLAND DR.                                         AUSTIN                       TX           78734        $               -   Employee                Unliquidated
Denison Development
Alliance                      311 W Woodard St                                          Denison                      TX           75020        $      4,400.50 Customer Contract

DENNISON, VALERIE ANN         3005 S VERMONT AVE                                        INDEPENDENCE                 MO           64052        $           720.29 Employee                 Unliquidated

Denny Elwell Company          PO Box 187                                                Ankeny                       IA           50021        $     11,996.60 Customer Contract
Denton Central Appraisal
District                      PO Box 2816                                               Denton                       TX           76202-2816   $           790.05 Customer Contract

Denver Equities               299 Milwaukee Street              Suite 203               Denver                       CO           80206        $           127.00 Customer Contract

Denver Water                1600 W. 12th Ave                                            Denver                       CO           80204        $      1,308.00 Customer Contract
Department of Community &
Economic Development -      175 S Main St                                               Akron                        OH           44308        $      3,850.00 Customer Contract
Department of Economic
Security - State of Arizona 1789 W Jefferson Street             First Floor Northwest   Phoenix                      AZ           85007        $      2,310.00 Customer Contract

DePaul Real Estate Advisors   4500 Cherry Creek South Drive     Suite 860               Denver                       CO           80246        $           197.00 Customer Contract
DeRango, Best and
Associates                    1601 East Amelia Street                                   Orlando                      FL           32803        $      4,410.00 Customer Contract
DeSoto Economic
Development                   211 E. Pleasant Run Rd                                    DeSoto                       TX           75115        $      2,030.92 Customer Contract

Development Advisors, LLC     2000S. Colorado Blvd.             Suite 250               Denver                       CO           80222        $           63.50 Customer Contract




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Development Authority of
Cherokee County                One Innovation Way                                     Woodstock                    GA           30188      $       5,000.00 Customer Contract

DEVINE, BONNIE                 945 COUNTRY LANE                                       PACIFIC                      MO           63069      $       6,518.23 Employee                    Unliquidated

DEVINE, CASSIDI ANN            8707 EAST 92ND TERRACE                                 KANSAS CITY                  MO           64138      $                -   Employee                Unliquidated
Devitt Real Estate Services,
Inc.                           8280 Montgomery Rd, Suite 210                          Cincinnati                   OH           45236      $       3,000.00 Customer Contract

Diagnostic Ventures, LLC       10 Palisades Rd NE                                     Atlanta                      GA           30309      $       2,400.00 Customer Contract
Dickey Property Company,
LLC                            4515 Prentice Street              Ste 112              Dallas                       TX           75206      $            900.20 Customer Contract
Dickinson Financial
Corporation; dba. Academy      1111 Main St., Ste 1600                                Kansas City                  MO           64105      $       1,125.00 Customer Contract

DICKMANN, ALEXANDER            220 SW PARK AVE                                        BLUE SPRINGS                 MO           64015      $                -   Employee                Unliquidated

DIETRICH, CHRISTINA            8411 WEST 83RD                                         OVERLAND PARK                KS           66204      $            351.37 Employee                 Unliquidated

DIETRICH, STEVEN               512 WEST GRAND                                         GALLATIN                     MO           64640      $                -   Employee                Unliquidated

Digital Map Products, Inc      18831 Von Karman Ave              Suite 200            Irvine                       CA           92612      $      18,750.00 Trade

DIKMAN, BERNARD                2009 STERLING PALMS COURT #302                         BRANDON                      FL           33511      $       5,750.00 Employee                    Unliquidated

Dillard Group Real Estate      3550 W Robinson                   #200                 Norman                       OK           73075      $            148.00 Customer Contract

DIMAGGIO, DANIELA              8 CENTRE MARKET PLACE, UNIT 4                          NEW YORK                     NY           10013      $       3,151.80 Employee                    Unliquidated

Distinctive Properties Ltd.    49 W 11th Ave                                          Denver                       CO           80204      $            63.50 Customer Contract

Divaris Real Estate Inc.       4525 Main Street                  Suite 900            Virginia Beach               VA           23462      $       1,350.00 Customer Contract

Dixon Commercial Realty LLC 301 West Main                        PO Box 4428          Frisco                       CO           80443      $            592.50 Customer Contract

DIXON, RONALD G                208 COLTSGATE DRIVE                                    CARY                         NC           27518      $       2,997.19 Employee                    Unliquidated

DIXSON, RICHARD                400 E MEYER BLVD                                       KANSAS CITY                  MO           64131      $                -   Employee                Unliquidated

DMCAR                          1336 Glenarm Pl                   #200                 Denver                       CO           80204      $      15,665.00 Trade

DMGT PLC                       3 Stamford Landing, Suite 400     46 Southfield Ave.   Stamford                     CT           06902      $   58,816,648.07 Money Loaned

DOAK, JOHN                     15210 REEDS ST                                         OVERLAND PARK                KS           66223      $                -   Employee                Unliquidated
Doberstein Lemburg
Commercial, Inc.               1401 Riverside Avenue Ste A                            Fort Collins                 CO           80524      $       1,270.00 Customer Contract




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          Creditor                                Address              Address2                   City               State   Zip Code       Total                      Claim Type        Disputed

Dodge Appraisal Company       202 Clarkson Executive Park                         Ellisville                    MO           63011      $           170.00 Customer Contract

Dolan Realtors - Union        210 Hwy 50 West                                     Union                         MO           63084      $           255.00 Customer Contract

DOLLE, RACHEL                 814 NW MOCK AVE                                     BLUE SPRINGS                  MO           64015      $           218.62 Employee                 Unliquidated

Domain Realty Inc             5755 North Point Pkwy Suite 200                     Alpharetta                    GA           30022      $      1,498.50 Customer Contract

DOMINGUEZ, DANIELLE RAE 1030 PHEASANT DRIVE                                       MESQUITE                      TX           75150      $               -   Employee                Unliquidated
Donald R Kenney & Co
Realtors                470 Old Worthington Rd                   Suite 101        Westerville                   OH           43082      $           200.00 Customer Contract

DONNELLY, JOHN                18880 E 6TH ST N                                    INDEPENDENCE                  MO           64056      $               -   Employee                Unliquidated

DONNELLY, NATHAN              200A NE DOGWOOD ST                                  OAK GROVE                     MO           64075      $           684.84 Employee                 Unliquidated

Doran Companies               7803 Glenroy Road                  Ste 200          Bloomington                   MN           55439      $           800.00 Customer Contract
Douglas County Economic
Develp                        100 Third St                                        Castle Rock                   CO           80104      $      9,585.00 Customer Contract

Douglas County EDA            8512 Bowden Street                                  Douglasville                  GA           30134      $           325.00 Customer Contract

Douglas Elliman Commercial 205 East 42nd Street, 6th                              New York                      NY           10016      $      1,800.00 Customer Contract
Douglas Elliman Real Estate -
Dix Hills                     1772 E Jericho TPK, Ste 1A                          Huntington                    NY           11743      $      4,500.00 Customer Contract

DOUTHAT, SIERA DAUNN          8818 STARK AVE                                      KANSAS CITY                   MO           64138      $           252.81 Employee                 Unliquidated

Dowell Properties, Inc.       1932 W Lindsey                                      Norman                        OK           73069      $      3,269.97 Customer Contract

DOWNEY, BETH                  1209 NE LOCUST CT                                   BLUE SPRINGS                  MO           64014      $           258.25 Employee                 Unliquidated

Downtown Cincinnati, Inc.     35 East Seventh St                 Suite 202        Cincinnati                    OH           45202      $      3,150.00 Customer Contract

Downtown Dallas, Inc.         901 Main Street                    Ste 7100         Dallas                        TX           75202      $      1,760.20 Customer Contract

Downtown Phoenix              1 E Washington St Ste 230                           Phoenix                       AZ           85004      $      2,000.00 Customer Contract

Downtown Property Services 2660 Walnut St                                         Denver                        CO           80205      $           571.50 Customer Contract

Downtown Raleigh Alliance     120 S Wilmington St                Ste 103          Raleigh                       NC           27601      $           280.00 Customer Contract
Downtown St. Louis -
Community Improvement         720 Olive Street Ste 450                            St Louis                      MO           63101      $      1,250.01 Customer Contract

Doyle Rogers Company          111 Center Street                  Suite 150        Little Rock                   AR           72201      $           278.00 Customer Contract




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                                                                                                                                                                                     Contingent,
                                                                                                                                                                                    Unliquidated,
           Creditor                            Address              Address2                 City               State   Zip Code         Total                      Claim Type        Disputed

DP Management, LLC         11506 Nicholas St                 Suite 100         Omaha                       NE           68154        $           537.38 Customer Contract
Dreyer & Associates Real
Estate Group - Scot        6030 Newbury Circle                                 Melbourne                   FL           32940        $      1,440.00 Customer Contract

Driscoll Co, LLC           613 Belson Court                                    Kirkwood                    MO           63122        $           85.00 Customer Contract

DRISKELL, JESSICA L        500 BEAU CIRCLE                                     BLUE SPRINGS                MO           64014        $           300.45 Employee                 Unliquidated

DRW Investments, LLC       105 Springwater Ct                                  Cary                        NC           27513        $           120.00 Customer Contract

DUBROC, ROBERT             7757 W 194TH STREET                                 STILWELL                    KS           66085        $      4,899.03 Employee                    Unliquidated

DUDLEY, JONATHAN           4422 Republic Dr                                    Frisco                      TX           750347503    $      5,375.00 Employee                    Unliquidated

Duffy Realty, Inc.         7500 E. Arapahoe Rd               Suite 345         Centennial                  CO           80112        $           98.50 Customer Contract

Duke Commercial RE Svcs LLC PO Box 700228                                      San Antonio                 TX           78270        $           273.75 Customer Contract

Duke Energy                4121 St Lawrence Dr                                 New Port Richey             FL           33653        $      4,860.00 Customer Contract

Duke Realty Corporation    520 Maryville Centre Dr           Suite 200         St Louis                    MO           63141        $           157.50 Customer Contract

Dun & Bradstreet           3 Sylvan Way                                        Parsippany                  NJ           07054        $   173,643.72 Trade
Duncanville Comm. Econ.
Dev.Co                     PO Box 380280                                       Duncanville                 TX           75138-0280   $           590.05 Customer Contract
Dunham Commercial Real
Estate                     6355-B E 41st St                                    Tulsa                       OK           74135        $      1,280.00 Customer Contract

Dunn Real Estate           3900 Messer Airport Highway                         Birmingham                  AL           3522         $           410.00 Customer Contract

Dunton Realty Company      5570 DTC Parkway                  Suite 150         Greenwood Village           CO           80111        $           508.00 Customer Contract
Durham County Tax
Administration             200 E Main St                                       Durham                      NC           27617        $      4,500.00 Customer Contract

DURNELL, JORDAN            2421 NW WINDWOOD DR                                 LEES SUMMIT                 MO           64081        $               -   Employee                Unliquidated

Durrance & Associates      300 South Hyde Park Avenue        #201              Tampa                       FL           33606        $           420.00 Customer Contract

Dwyer Commercial           2928 Coleraine Ave                Suite 1           Cincinnati                  OH           45225        $           300.00 Customer Contract

DYCO Diversified Inc.      795 McIntyre Street               Suite 205         Golden                      CO           80401        $           342.90 Customer Contract

DYE, TERRI                 918 SE SUNNYSIDE SCHOOL RD                          BLUE SPRINGS                MO           64014        $      1,410.19 Employee                    Unliquidated

DYKES, MATTHEW             2809 SE 7TH ST                                      BLUE SPRINGS                MO           64014        $               -   Employee                Unliquidated




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                                                                                                                                                                                       Contingent,
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           Creditor                                Address              Address2                 City               State   Zip Code       Total                      Claim Type        Disputed

E. Roth & Company               6025 S. Quebec Street             Suite 100        Centennial                  CO           80111      $           197.00 Customer Contract
E/MAX Platinum Living -
Commercial Division - Garry     37223 N 12th Street                                Phoenix                     AZ           85086      $           900.00 Customer Contract

Eagle Business Brokers          3650 S Yosemite St                Ste 204          Denver                      CO           80237      $           317.50 Customer Contract

Eakin Partners                  1201 Demonbreun Street            Suite 1400       Nashville                   TN           37203      $      1,060.00 Customer Contract

EARLES, RANDY                   1250 OFFICE PARK RD                                WEST DES MOINES             IA           50265      $               -   Employee                Unliquidated

EARLEY, AUSTIN D             2112 NE WATERFIELD PLACE                              BLUE SPRINGS                MO           64014      $               -   Employee                Unliquidated
Ebby Halliday - Plano/Willow
B                            1627 Silverleaf Dr                                    Carrollton                  TX           75007      $           430.10 Customer Contract

Ebby Halliday Realtors          4455 Sigma Rd                                      Dallas                      TX           75244      $      4,561.20 Customer Contract

EBEL, MONIQUE                   PO BOX 5092                                        ORANGE                      CA           92863      $      7,154.49 Employee                    Unliquidated

ECKHOFF, HANNAH                 163 NE ADAMS DAIRY PKWY                            BLUE SPRINGS                MO           64014      $           360.65 Employee                 Unliquidated

ECKHOFF, LORI                   163 NE ADAMS DAIRY PKWY                            BLUE SPRINGS                MO           64014      $           289.64 Employee                 Unliquidated
Economic Development
Corporation - Los Angeles       444 South Flower Street           37th Floor       Los Angeles                 CA           90071      $      4,675.00 Customer Contract
Economic Development
Corporation Kansas City         1100 Walnut                       Suite 1700       Kansas City                 MO           64106      $      2,250.00 Customer Contract
Economic Development
Partnership of North Carolina   15000 Weston Parkway                               Cary                        NC           27513      $      1,700.00 Customer Contract
EDG 18 Commercial Realty
Grp                             700 W. Virginia Street            Suite 302        Milwaukee                   WI           53204      $           175.00 Customer Contract

Edgar Roman Properties          14677 E Easter Ave, Unit H                         Centennial                  CO           80112      $           197.00 Customer Contract
Education Facility Solutions,
LLC                             14142 Denver West Parkway         Suite 280        Lakewood                    CO           80401      $           63.50 Customer Contract
EDWARDS, SHARION
ANNETTE                         8216 TROOST AVE #2                                 KANSAS CITY                 MO           64131      $               -   Employee                Unliquidated

Edwin B. Raskin Company         5210 Maryland Way                 Suite 300        Brentwood                   TN           37027      $      1,400.00 Customer Contract

EICHELBERGER, BRITNEY           620 YENNIE ST APT 212                              GRAIN VALLEY                MO           64029      $               -   Employee                Unliquidated

Elasticsearch, Inc.             800 W El Camino Real              Suite 350        Mountain View               CA           94040      $     16,500.00 Trade

Elipsis Properties              1400 Hillsboro Blvd Suite 200E                     Deerfield Beach             FL           33441      $      1,498.50 Customer Contract

ELL, HENRY DWAYNE               4300 E. 105TH ST                                   KANSAS CITY                 MO           64137      $               -   Employee                Unliquidated




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           Creditor                             Address                   Address2                 City                State   Zip Code         Total                      Claim Type        Disputed

ELLINGTON, JILL M              1450 NW FOXBORO RD                                    BLUE SPRINGS                 MO           64015        $           977.28 Employee                 Unliquidated

ELLIOTT, TRINITY               1307 SW 6TH STREET                                    OAK GROVE                    MO           64075        $           213.21 Employee                 Unliquidated

Ellis & Tinsley                6421 Camp Bowie Blvd              Suite 302           Fort Worth                   TX           76116        $      1,468.80 Customer Contract

ELLIS, BRANDY SUE              6114 BLUE RIDGE CUTOFF                                RAYTOWN                      MO           64133        $           146.10 Employee                 Unliquidated
Elms Real Property Assets
Grp.                           6825 E. Tennessee Ave.            Suite 235           Denver                       CO           80224        $           63.50 Customer Contract

Elrod Real Estate              11219 Financial Center Parkway    #314                Little Rock                  AR           72211        $           660.00 Customer Contract

EMBRY, REBECCA                 31656 HWY HH                                          SMITHTON                     MO           65350        $      5,228.45 Employee                    Unliquidated

Emerson International, Inc.    370 Center Pointe Cir             Ste 1136            Altamonte Springs            FL           32701        $           320.00 Customer Contract

Eminent Valuations             14365 E. Colonial Drive           Ste B1              Orlando                      FL           32826        $      1,282.50 Customer Contract

EMMONS, LOGAN GARRETT          816 SE 15TH ST                                        OAK GROVE                    MO           64075        $               -   Employee                Unliquidated

Empire Properties          133 Fayetteville St                   6th Floor           Raleigh                      NC           27601        $           130.00 Customer Contract
Empire South Commercial RE
LLC                        6710 Chesapeake Point                                     Atlanta                      GA           30328        $           185.00 Customer Contract

enCodePlus, LLC                1415 Highway 6 South #D100                            Sugar Land                   TX           77478        $      6,250.00 Customer Contract

Engel & Voelkers               PO Box 92712                                          Southlake                    TX           76092        $               -   Customer Contract

Enterprise Fleet Services      PO Box 800089                                         Kansas City                  MO           64180-0089   $     26,245.79 Trade

Enterprise Interiors           19605 SW US 40 Hwy E                                  Blue Springs                 MO           64015        $           680.00 Trade
Entrust One Facility Services,
Inc.                           11142 Shady Trl                                       Dallas                       TX           75229        $           390.00 Customer Contract
Environmental Management,
Inc.                           8200 Industrial Pkwy                                  Plain City                   OH           43064        $           450.00 Customer Contract

Envision Cinemas               4780 Cornell Road                                     Cincinnati                   OH           45241        $           570.00 Customer Contract
Envoy Commercial Real
Estate                         9909 Manchester Rd                Suite 303           St Louis                     MO           63122        $           153.00 Customer Contract

ENYARD, KORIE                  25 MOFFAT STREET                                      BROOKLYN                     NY           11207        $               -   Employee                Unliquidated

Epic Realty                    2440 W. Caithness Place                               Denver                       CO           80211        $           63.50 Customer Contract

EpiCity Real Estate Services   PO Box 660066                                         Atlanta                      GA           30366        $           240.00 Customer Contract




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         Creditor                                 Address                 Address2                 City                State   Zip Code         Total                      Claim Type        Disputed
EPPERSON, JORDAN
MICHELLE                       739 N. GLENVIEW CT                                    INDEPENDENCE                 MO           64056        $               -   Employee                Unliquidated

EPPERSON, WILLIAM         927 NE 108TH ST                                            KANSAS CITY                  MO           64155        $               -   Employee                Unliquidated
Equitable Commerce & Land
Co.                       6740 E Hampden Ave                       Suite 106         Denver                       CO           80224        $           127.00 Customer Contract

Equitas Realty Advisors LLC    5801 E 41st                         #101              Tulsa                        OK           74135        $           135.00 Customer Contract

Equitas Realty Advisors, LLC 5801 E 41st                           Suite 101         Tulsa                        OK           74135        $           150.00 Customer Contract
Equity Commercial Properties
- John Kindley               114 Morlake Dr                        Ste 201           Mooresville                  NC           28117        $           800.00 Customer Contract
Equity Commercial Realty II,
LLC                          PO Box 1763                                             Norman                       OK           73070        $      1,071.00 Customer Contract

Equity, LLC - Dayton           445 Hutchinson Ave                  Ste 800           Columbus                     OH           43235        $           577.52 Customer Contract

ERA Real Solutions Realty      8103 Beckett Center Dr.                               West Chester                 OH           45069        $      1,188.00 Customer Contract

ERA Shields Real Estate        5475 Tech Center Dr                 Suite 300         Colorado Springs             CO           80919        $           315.00 Trade
Ernest Soble Commercial
Prop.                          P.O. Box 790885                                       San Antonio                  TX           78279        $           388.75 Customer Contract

ESRI                           File:54630                                            Los Angeles                  CA           90074-4630   $   100,333.33 Trade

Etkin Johnson RE Partners      1512 Larimer Street                 Suite 325         Denver                       CO           80202        $           257.00 Customer Contract

EUBANKS, PAT                   2400 DENNIS RD                                        SEDALIA                      MO           65301        $      2,855.28 Employee                    Unliquidated

E-Value Real Estate Services   3333 S. Wadsworth Blvd              Suite 200         Denver                       CO           80227        $           63.50 Customer Contract

EVANO, TRACY                   1105 NE 10TH STREET                                   BLUE SPRINGS                 MO           64014        $               -   Employee                Unliquidated

Evans Realty, Inc.             6349 S. Netherland Cir.                               Aurora                       CO           80016        $           63.50 Customer Contract

EVANS, BRANDON                 2408 DAYTONA COURT                                    FRIENDSWOOD                  TX           77546        $               -   Employee                Unliquidated

EVANS, GARY                    9709 W 104TH ST                                       OVERLAND PARK                KS           66212        $               -   Employee                Unliquidated

EVANS, WILLIAM SHELDON         14665 W 144TH TER                                     OLATHE                       KS           660626606    $      4,969.99 Employee                    Unliquidated

EVCO Properties, LLC           2520 Sardis Rd N                                      Charlotte                    NC           28227        $           440.00 Customer Contract

EVERETT, STACEY JANELL     1210 NE 10TH ST                                           BLUE SPRINGS                 MO           64014        $           537.81 Employee                 Unliquidated
Evergreen Commercial Group
LLC - Ron Catterson        30403 Kings Valley Drive, Suite 2-110                     Conifer                      CO           80433        $           127.00 Customer Contract




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           Creditor                            Address               Address2                 City                State   Zip Code        Total                      Claim Type        Disputed
Evergreen Commercial
Properties                  2100 Crescent Ave                  Suite 250        Charlotte                    NC           28207       $           180.00 Customer Contract

Evergreen Realty            1281 White Rd                                       Chesterfield                 MO           63017       $           680.00 Customer Contract

Evolve Bank & Trust - Tampa 6070 Poplar Ave, Ste 200                            Memphis                      TN           38119       $      1,100.00 Customer Contract

Excalibur Homes Real Estate 383 Inverness Pkwy                 Suite 140        Englewood                    CO           80112       $           63.50 Customer Contract

Excell Fund Brokerage       3400 E Bayaud Ave                  Ste 290          Denver                       CO           80209       $           98.50 Customer Contract

Excelon Commercial Services 6510 Abrams Rd                     Suite 515        Dallas                       TX           75231       $           450.10 Customer Contract

EXDO Property Management 3535 Larimer Street                                    Denver                       CO           80205       $           490.50 Customer Contract

Executive Property Mgmt Grp 1991 Main St                       Ste 283          Sarasota                     FL           34236       $           200.00 Customer Contract
Executive R.E. Commercial
Div                         4680 Mexico Rd                                      St. Peters                   MO           63366       $           510.00 Customer Contract
Exeter Property Group -
Southeast                   1097 Tennyson Place NE                              Atlanta                      GA           30319       $           400.00 Customer Contract

Experimental Holdings       PO Box 8189                                         Cincinnati                   OH           45208       $      4,963.75 Customer Contract

Expert Realty Inc.          3081 Lorna Road                    Suite 102        Birmingham                   AL           35216       $           150.00 Customer Contract

FAGAN, LANCE BURNS          33 HUDSON STREET #1811-E                            JERSEY CITY                  NJ           073027550   $      1,963.81 Employee                    Unliquidated

FAILS, ANDREW M             655 THORNTON ST                                     LIBERTY                      MO           64068       $               -   Employee                Unliquidated

Fairchild Partners          6705 Red Road                      PH 604           Coral Gables                 FL           33143       $           451.25 Customer Contract

Fairfield County            210 E. Main St.                                     Lancaster                    OH           43130       $           400.00 Customer Contract

Falcon Appraisals, LLC      9832 Chadwick Way                                   Highlands Ranch              CO           80129       $           394.00 Customer Contract

FANCHER, TIMOTHY            8232 S. FLORENCE PLACE                              TULSA                        OK           74137       $               -   Employee                Unliquidated

FARINO, JENNIFER            90 SOUTH ASH DR                                     CHANDLER                     AZ           85224       $      2,097.82 Employee                    Unliquidated

FARINO, MICHAEL             90 SOUTH ASH DR                                     CHANDLER                     AZ           85224       $           223.32 Employee                 Unliquidated

Farmingdale Apartments      4582 S Ulster St                   Suite 1100       Denver                       CO           80237       $      1,884.33 Trade

Farnsworth Holdings         101 W Chickasaw Parkway                             Memphis                      TN           38111       $           135.00 Customer Contract

FARR, JON ERIC              756 BOUNTY DR APT 5603                              FOSTER CITY                  CA           94404       $      6,734.10 Employee                    Unliquidated




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           Creditor                           Address                        Address2                  City              State   Zip Code         Total                      Claim Type        Disputed
Fartaj Real Estate and
Business Development, LLC 1115 W. Randol Mill Rd., #100                                 Arlington                   TX           76012        $           403.10 Customer Contract
Fayette County Tax Assessors
Office                       140 Stonewall Ave. West, Ste 108                           Fayetteville                GA           30214        $      1,400.00 Customer Contract

FBX Commercial, Inc.            1540 International Pkwy             Ste 200             Orlando                     FL           32746        $           338.00 Customer Contract
Feder Commercial Realty
Advsrs                          1170 S Fairfax St                                       Denver                      CO           80246        $           63.50 Customer Contract

Felder Property                 P.O Box 543033                                          Dallas                      TX           75354        $           245.70 Customer Contract

Feldman Equities                351 Mill River Rd                                       Oyster Bay                  NY           11771        $           400.00 Customer Contract

FELLOWS, SARAH                  1235 WOODS DR                                           SEDALIA                     MO           65301        $           738.37 Employee                 Unliquidated

Ferguson Commercial RE Svcs 1840 NW 118th St                        Suite 100           Clive                       IA           50325        $      1,557.93 Customer Contract

FERNANDEZ, MARIKA LOUISE 100 N COLUMBUS AVE APT.#8                                      MOUNT VERNON                NY           10553        $      2,180.45 Employee                    Unliquidated

Ferrari & Associates, Inc.      P.O. Box 1356                                           Duluth                      GA           30328        $           150.00 Customer Contract

Ferstl Valuation Services       5905 Forest Place                   Suite 100           Little Rock                 AR           72207        $           150.00 Customer Contract

Ferstl Valuation Services       5905 Forest Place                   Suite 100           Little Rock                 AR           72207        $           600.00 Customer Contract
Fidelis Realty Partners -
Dallas                          5207 McKinney Ave                   Ste 22              Dallas                      TX           75205        $           900.20 Customer Contract

Fidelity Bank - Kansas City     14435 Metcalf Avenue                                    Overland Park               KS           66223        $      1,500.00 Customer Contract
Fidelity National Financial -
Chicago Title Insurance         601 Riverside Ave , Bldg V 7th Fl                       Jacksonville                FL           32204        $      5,000.00 Customer Contract

Fidelity National Title Group 8363 W Sunset Road                    Suite 100           Las Vegas                   NV           89113        $           260.00 Customer Contract

Fidlar Technologies, Inc        PO Box 3333                                             Rock Island                 IL           61204-3333   $      1,204.80 Trade
Field Brothers Commercial
Properties                      101 Merritt Blvd                                        Trumbull                    CT           06611        $           600.00 Customer Contract

FIELDS, JESSE                   5428 HARRISON STREET                                    KANSAS CITY                 MO           64110        $               -   Employee                Unliquidated

Financial Centre Corporation 6020 Ranch Dr                          Ste C-7             Little Rock                 AR           72223        $           320.00 Customer Contract

FINLEY, KEVIN                   1271 SPRING PARK WALK                                   CINCINNATI                  OH           45215        $      2,851.20 Employee                    Unliquidated

Fire & Ice Realty, Inc.         1000 Lake Vista Rd                                      Edmond                      OK           73034        $      1,575.00 Customer Contract

First & First                   105 North First St.                                     Minneapolis                 MN           55401        $           363.00 Customer Contract




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           Creditor                                Address               Address2                  City               State   Zip Code       Total                      Claim Type        Disputed

First Carolina Properties       1036 Branchview Dr Ste 102                          Concord                      NC           28025      $           800.00 Customer Contract

First Cherokee Realty           2800 Marietta Hwy                                   Canton                       GA           30188      $           200.00 Customer Contract

First Commercial RE Services PO Box 20805                                           Tampa                        FL           33622      $           340.00 Customer Contract

First Fidelity Bank             5100 N Classen Blvd                Ste 500          Oklahoma City                OK           73118      $      3,245.20 Customer Contract
First Industrial Realty Trust
(USA) - Ohio                    1425 Sadlier Circle West                            Indianapolis                 IN           46239      $      1,800.00 Customer Contract
First Weber Commercial -
Madison - Bob Caprenter         5250 E. Terrace Drive              Suite 1          Madison                      WI           53718      $           906.25 Customer Contract
First Weber Grp Menomonee
Fall                            N80 W14808 Appleton Ave            Suite 100        Menomonee Falls              WI           53051      $           156.25 Customer Contract
First Weber Realtors-Devin
Piehl                           5250 E. Terrace                    Suite 1          Madison                      WI           53718      $           254.20 Customer Contract

FirstBank - Colorado Springs    817 Village Center Dr                               Colorado Springs             CO           80919      $           105.00 Customer Contract

FirstEnergy Corp                76 S Main Street                                    Akron                        OH           44308      $      3,600.00 Customer Contract

FISHER, PAM MICHELE             1708 SE 2ND STREET                                  BLUE SPRINGS                 MO           64014      $           753.15 Employee                 Unliquidated

Five Stone Tax Advisors         11211 Taylor raper Ln, STe 300                      Austin                       TX           78759      $      1,200.00 Customer Contract

Flagship                        1190 Business Center Drive         Suite 2000       Lake Mary                    FL           32746      $      1,000.00 Customer Contract

Flagstaff Properties            1007 Pearl St.                     Suite 260        Boulder                      CO           80302      $           63.50 Customer Contract

Flake & Kelley Commercial       425 W Capital Ave                  Suite 300        Little Rock                  AR           72201      $      2,022.00 Customer Contract

Flake & Kelley Commercial       4100 Corporate Center Dr           Suite 203        Springdale                   AR           72762      $      1,442.00 Customer Contract

FLAMENT, ELLIOT A               140 CADMAN PLAZA WEST, 22-K                         BROOKLYN                     NY           11201      $           287.68 Employee                 Unliquidated

Fleet Services                  0463-00-805414-0                   PO Box 6293      Carol Strean                 IL           60197      $      7,803.99 Trade

Fleetwood International         1444 NW 124th Court                                 Des Moines                   IA           50325      $           320.00 Customer Contract

FLOOD, MICHELLE KATHLEEN 11704 E 30TH TERR S                                        INDEPENDENCE                 MO           64052      $               -   Employee                Unliquidated

Florida Commercial Group        7211 N. Dale Mabry Hwy             Ste 101          Tampa                        FL           33614      $           480.00 Customer Contract

Focus Group Realty              PO Box 5363                                         Englewood                    CO           80155      $           114.30 Customer Contract

Follow Real Estate, Inc         1449 W Littleton Blvd              Suite 201        Littleton                    CO           80120      $           98.50 Customer Contract




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             Creditor                            Address             Address2                 City                State   Zip Code         Total                      Claim Type        Disputed

Ford Realty                  628 Griffith Rd., Ste B                            Charlotte                    NC           28217        $           450.00 Customer Contract

FORD, C-J.                   3314 21ST AVENUE                                   ASTORIA                      NY           11105        $      3,462.50 Employee                    Unliquidated

Fort Worth Chamber           777 Taylor Street                 Suite 900        Fort Worth                   TX           76102        $           158.50 Customer Contract
Forward Commercial Real
Estate, LLC                  1292 Wildcliff Parkway                             Atlanta                      GA           30329        $      1,980.00 Customer Contract
Forward Sumner
EconomicCouncil              P.O. Box 1071                                      Hendersonville               TN           37077-1071   $           227.05 Customer Contract
Foster Commercial Real
Estate                       PO Box 278                                         Oakwood                      GA           30566        $           675.00 Customer Contract

Foster Commercial Realty     1457 Holland St                                    Lakewood                     CO           80215        $           295.50 Customer Contract
Foster Valuation Company
LLC                          910 54th Ave #210                                  Greeley                      CO           80634        $           85.00 Customer Contract

FOSTER, EMILY                315 N INSTITUTE ST                                 RICHMOND                     MO           64085        $               -   Employee                Unliquidated

FOSTER, KRISTI               242 NE CHATEAU DR                                  BLUE SPRINGS                 MO           64014        $           164.32 Employee                 Unliquidated
Founders 3 Real Estate
Services                     330 E. Kilbourn Avenue            Suite 838        Milwaukee                    WI           53202        $     11,340.00 Customer Contract

Fountain Colony LLC          105 East Moreno                   Suite 200        Colorado Springs             CO           80903        $           140.00 Customer Contract

Fourteen West, Realtors      1411 North Highland Avenue                         Atlanta                      GA           30306        $           270.00 Customer Contract

Fox Cities Reional Partership 125 N Superior Street                             Appleton                     WI           54911        $      3,500.00 Customer Contract

Fox Co Commercial RE & Dev 1200 17th St.                       Suite 3000       Denver                       CO           80202        $           63.50 Customer Contract

FOXWORTHY, MICHAEL           768 VIA COLINAS                                    WESTLAKE VILLAGE             CA           91362        $               -   Employee                Unliquidated

FPR Development, LLC         5876 S Orchard Creek Circle                        Boulder                      CO           80301        $           98.50 Customer Contract
Frank A Macchione
Construction                 141 Central Ave                                    Rochelle Park                NJ           07662        $           287.92 Customer Contract

Frank Poe Real Esate Inc.    6283 Park South Dr                                 Bessemer                     AL           35022        $           150.00 Customer Contract

FRANKLIN, ANDREA             6270 SANTA FE TRL                                  CUMMING                      GA           30028        $               -   Employee                Unliquidated
Frazier Commercial & Ind.
Properties                   PO Box 1420                                        Conover                      NC           28613        $           275.00 Customer Contract

FRAZIER, CIARA               10500 CORRINGTON AVE                               KANSAS CITY                  MO           64134        $            55.95 Employee                 Unliquidated

FREDMAN, DIANA               15202 E 43RD PL SOUTH                              INDEPENDENCE                 MO           64055        $           239.39 Employee                 Unliquidated




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         Creditor                               Address               Address2                 City               State   Zip Code       Total                      Claim Type        Disputed
Freedom Real Estate &
Capital                       4090 Memorial Pkwy SW                              Huntsville                  AL           35802      $           720.00 Customer Contract

FREEMAN, NOAH                 517 SE BAYBERRY LN                                 LEES SUMMIT                 MO           64063      $           675.69 Employee                 Unliquidated

Friedman Group, LTD           3948 Lindell Suite 201                             St Louis                    MO           63108      $           153.00 Customer Contract

FRISCH, PAMELA K              121 COOPER                                         BUCKNER                     MO           64016      $               -   Employee                Unliquidated

FROST, CHRISHA                11221 HIGHRIDGE DRIVE                              INDEPENDENCE                MO           64052      $               -   Employee                Unliquidated

Fulkerson Land Services       10444 Greenbriar Place, Suite B                    Oklahoma City               OK           73159      $           350.00 Customer Contract
Furniture Solutions for the
Workplace                     1329 E. Kemper Road                                Cincinnati                  OH           45246      $      1,800.00 Customer Contract
Fushing Business
Improvement District          135-20 39th Ave                                    Flushing                    NY           11354      $      1,250.00 Customer Contract

FWS Land Strategies           325 N Kirkwood Rd                 Ste 210          St Louis                    MO           63122      $           170.00 Customer Contract

Gaines Real Estate Company P.O. Box 670573                                       Dallas                      TX           75367      $      1,612.40 Customer Contract

GALBIATI, PETER               2788 CRAVEY LANE NE                                ATLANTA                     GA           30345      $      5,331.56 Employee                    Unliquidated
                              410 SOUTHWEST MORELAND SCHOOL
GALL, MELISSA ANN             ROAD                                               BLUE SPRINGS                MO           64014      $           683.38 Employee                 Unliquidated
Gallagher Commercial
Group,LLC                     1832 London Carriage Grove                         Colorado Springs            CO           80920      $           94.50 Customer Contract

GARBA, AISHA                  2008 SW 9TH ST APT A                               BLUE SPRINGS                MO           64015      $               -   Employee                Unliquidated

GARCIA, MICHAEL A             13504 E 12TH TER N                                 INDEPENDENCE                MO           64050      $               -   Employee                Unliquidated

GARDNER, JAMIE                6401 MANCHESTER AVE APT 16                         KANSAS CITY                 MO           64133      $               -   Employee                Unliquidated

GARLAND, JEFFREY              2000 NE CONCORD ST                                 LEES SUMMIT                 MO           64086      $           650.50 Employee                 Unliquidated

GAROFALO, BRANDON             6 EAGLET GLEN                                      HACKETTSTOWN                NJ           07840      $               -   Employee                Unliquidated

Gart Properties LLC           P.O. Box 63185                                     Irvine                      CA           92602      $           127.00 Customer Contract

GASPARD, LOGAN                405 NE HIGHLAND LN                                 BLUE SPRINGS                MO           64014      $      1,563.30 Employee                    Unliquidated

Gaston County Tax             128 W Main Ave                                     Gastonia                    NC           28052      $      2,250.00 Customer Contract

Gateway Advisors              1013 Willow Ct.                                    Longmont                    CO           80503      $           127.00 Customer Contract

Gatto Group                   29010 Chardon Road                                 Willoughby Hills            OH           44092      $           295.00 Customer Contract




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          Creditor                               Address             Address2                 City                State   Zip Code         Total                      Claim Type        Disputed

GAUTREAUX, NICHOLAS           7201 VIRGINIA AVENUE                              KANSAS CITY                  MO           64131        $               -   Employee                Unliquidated

GBR Properties - Tulsa    3114 E 81st St                                        Tulsa                        OK           74137        $      1,440.00 Customer Contract
Geauga County Community &
Economic Development      470 Center Street, Building #4                        Chardon                      OH           44024        $           410.00 Customer Contract
Gehrki Commercial Real
Estate                    835 Central Avenue                   Suite 200        Hot Springs                  AR           71901        $           150.00 Customer Contract

GEIGER, JOYCE                 68 STANLEY AVE                                    NUTLEY                       NJ           07110        $               -   Employee                Unliquidated

Gemini Residential LLC        299 Park Ave                                      New York                     NY           10171        $      3,600.00 Customer Contract

Genesee Commercial Group 710 Kipling                           Suite 403        Lakewood                     CO           80215        $           416.00 Customer Contract
Genesis Commercial Real
Estate Group, Inc.        654 Castle Dr.                                        Palm Beach Gardens           FL           33410        $           738.00 Customer Contract
Genessee Commercial Group
LLC                       6333 So. Annapurna Dr.                                Evergreen                    CO           80439        $           63.50 Customer Contract

Geoff Campbell Realty, Inc.   10801 Johnston Rd. Suite 223                      Charlotte                    NC           28226        $           90.00 Customer Contract

Georgetown EDC                PO Box 409                                        Georgetown                   TX           78627        $      1,250.00 Customer Contract
Georgia Dept of Economic
Dev                           75 Fifth Street NW               Ste 1200         Atlanta                      GA           30308        $      6,000.00 Customer Contract

Georgia EMC                   75 Fifth Street NW, Suite 710                     Atlanta                      GA           30308        $      3,500.00 Customer Contract

Gerald L. Gamble Co Inc       204 N Robinson                   Suite 625        Oklahoma City                OK           73102        $           665.00 Customer Contract
Gerspacher Real Estate
Group                         5164 Normandy Park Drive         Ste 285          Medina                       OH           44256        $           300.00 Customer Contract

GetGo, Inc                    PO Box 50264                                      Los Angeles                  CA           90074-0264   $      1,246.90 Trade

GFD Management, Inc.          6350 Quadrangle Dr. Ste 205                       Chapel Hill                  NC           27517        $      1,008.00 Customer Contract

Gibbons-White, Inc.           2305 Canyon Blvd.                Suite 200        Boulder                      CO           80302        $      1,323.00 Customer Contract

GIBSON, RENEE                 15025 NW 66TH STREET                              PARKVILLE                    MO           64152        $               -   Employee                Unliquidated

GIDDLEY, CHARLES S            4429 S LIBERTY AVE APT 20                         INDEPENDENCE                 MO           64055        $      2,056.70 Employee                    Unliquidated

Gilbert EDC                   90 E Civic Center Dr                              Gilbert                      AZ           85296        $      3,850.00 Customer Contract

Gill Johnson Appraisals       3372 Altaloma Dr                                  Vestavia Hills               AL           35216        $           150.00 Customer Contract

GILL, JOHN                    318 E 125TH TERRACE                               KANSAS CITY                  MO           64145        $      9,042.41 Employee                    Unliquidated




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          Creditor                            Address              Address2                 City                State   Zip Code         Total                      Claim Type        Disputed

Gillis Thomas Company        8333 Douglas Avenue             Suite 1414       Dallas                       TX           75225        $           423.60 Customer Contract

Gillis Thomas Company        8333 Douglas Avenue, #1414                       Dallas                       TX           75225        $           190.50 Customer Contract

Gillooly & Associates Rlty,LLC PO Box 1866                                    Cary                         NC           27512-1866   $           432.00 Customer Contract

GIRGIS, JOHN                 10901 W 163RD CT                                 OVERLAND PARK                KS           66221        $               -   Employee                Unliquidated

GLASS, KATIE               18862 N 93RD ST                                    SCOTTSDALE                   AZ           85255        $               -   Employee                Unliquidated
GLD Commercial Real Estate
Advisors                   500 1st Ave NE #301                                Cedar Rapids                 IA           52401        $           940.00 Customer Contract

GLEASON, MATTHEW LIAM        712 WILLOW AVE APT 3D                            HOBOKEN                      NJ           07030        $      2,909.11 Employee                    Unliquidated
Glenwood Asset
Management LLC               3111 Glenwood Ave                                Raleigh                      NC           27612        $           320.00 Customer Contract

GLOVER, PETER                3074 WESTWOOD WAY                                ALPHARETTA                   GA           30004        $      3,504.60 Employee                    Unliquidated

GLOVER, WANDA                309 NORLEN STREET                                LAS VEGAS                    NV           89107        $               -   Employee                Unliquidated

GOESSLING, KRISTEN           12506 E 49TH ST S                                INDEPENDENCE                 MO           64055        $               -   Employee                Unliquidated

GOHAGAN, HILARY ANN          104 N BUCKNER TARSNEY ROAD                       BUCKNER                      MO           64016        $               -   Employee                Unliquidated

Gold Star Realty             510 McCright                                     Benton                       AR           72015        $      1,440.00 Customer Contract
Golden West Realty &
Associates                   4022 E Main Street                               Mesa                         AZ           85205        $      1,440.00 Customer Contract

GOLIN, STEVEN                12656 GREELAND ACRES RD                          LARKSPUR                     CO           80118        $     10,034.43 Employee                    Unliquidated

GOLUB, NEIL BLAKE            225 EAST 70TH STREET, APT 4E                     NEW YORK                     NY           10021        $      4,793.70 Employee                    Unliquidated
GONCALVES, ANDREW
MICHAEL                      1483 WASHINGTON STREET                           CORTLANDT MANOR              NY           10567        $      2,484.29 Employee                    Unliquidated

GONSALVES, JENNIFER          6231 NE 22 AVE                                   FORT LAUDERDALE              FL           33308        $      3,881.70 Employee                    Unliquidated

GONZALEZ, IVETTE             15608 EAST 45TH PLACE SOUTH                      INDEPENDENCE                 MO           64055        $           170.47 Employee                 Unliquidated
GONZALEZ, ROMAN
ALEXANDER                    3179 N HARTMAN                                   ORANGE                       CA           92865        $               -   Employee                Unliquidated

Goodacre & Company LLC       2450 Broadway                                    Boulder                      CO           80304        $           698.50 Customer Contract

GOODE, ALISA                 913 S LOCUST STREET                              SWEET SPRINGS                MO           65351        $      4,165.13 Employee                    Unliquidated

GOODE, DAVID                 913 S LOCUST STREET                              SWEET SPRINGS                MO           65351        $               -   Employee                Unliquidated




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          Creditor                                Address                Address2                 City                State   Zip Code       Total                      Claim Type        Disputed

GOODLOE, TIFFANY             1823 SOUTH STREET                                      LEXINGTON                    MO           64067      $               -   Employee                Unliquidated

Gordman Properties           444 Regency Parkway Dr # 202                           Omaha                        NE           68114      $           157.50 Customer Contract

Gorney Realty Companies      118 30th Ave N                                         Nashville                    TN           37203      $      2,800.00 Customer Contract

Gottsacker Commercial        909 N. 8th Street                  Suite 115           Sheboygan                    WI           53081      $      3,090.00 Customer Contract

GOULD, ALLISON               410 S. JOHNSON DR. APT 3                               ODESSA                       MO           64076      $               -   Employee                Unliquidated

Gourmet Real Estate          9033 E. Easter Pl                  Suite 200           Centennial                   CO           80112      $           571.50 Customer Contract

GR Properties                545 Delaney Avenue, Suite 4                            Orlando                      FL           32801      $           336.00 Customer Contract

GRAFF, JASON                 1013 S VALLEY RD                                       OLATHE                       KS           66061      $               -   Employee                Unliquidated

Graham & Arthur, LLC         PO Box 11568                                           Atlanta                      GA           30355      $           540.00 Customer Contract

Graham & Company, Inc        355 Quality Cir                    Ste E               Huntsville                   AL           35806      $           891.00 Customer Contract

GRAHAM, ELENA                2610 W 32ND ST                                         SEDALIA                      MO           65301      $           661.49 Employee                 Unliquidated

Grand American Inc.          1610 Wynkoop St                    Ste 110             Denver                       CO           80202      $           127.00 Customer Contract
Grand Boulevard
Development Co               6801 N Classen Bvld                Suite A             Oklahoma City                OK           73116      $           945.00 Customer Contract

GRAVES, BRENDEN              9924 wild calla st                                     LAS VEGAS                    NV           89178      $      5,875.00 Employee                    Unliquidated

Great Bridge Properties      900 S Las Vegas Blvd               #810                Las Vegas                    NV           89101      $      1,216.00 Customer Contract
Great Properties
International                260 Crandon Blvd                   Ste 53              Key Biscayne                 FL           33149      $           800.00 Customer Contract

Great Way Real Estate        9669 Huron St                      Suite 200           Thornton                     CO           80260      $           886.50 Customer Contract

Great West Real Estate Co Inc 120 S. Wilcox                     Suite 100           Castle Rock                  CO           80104      $           148.50 Customer Contract
Greater Cleveland
Partnership                   1240 Huron Rd                                         Cleveland                    OH           44115      $           545.00 Customer Contract
Greater Conroe Economic
Development Council           505 W. Davis St                   PO Box 97           Conroe                       TX           77305      $      2,380.00 Customer Contract

Greater Mankato Growth       1961 Premier Drive, Ste 100                            Mankato                      MN           56001      $      3,300.00 Customer Contract

Greater Memphis Chamber 22 N Front St                           #200                Memphis                      TN           38103      $      4,000.00 Customer Contract
Greater MSP Reg. Ecom Dev
Part                      400 Robert St N                       Ste 1600            St Paul                      MN           55101      $      1,110.00 Customer Contract




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           Creditor                              Address              Address2                      City               State   Zip Code       Total                      Claim Type        Disputed
Greater Omaha Econ Dev
Partner                       1301 Harney Street                                     Omaha                        NE           68102      $           650.00 Customer Contract
Greater San Marcos
Partnership                   1340 Wonder World Dr              Suite 108            San Marcos                   TX           78666      $      1,432.50 Customer Contract
Greater St Cloud
Development Corp              1010 W St Germain St                                   St Cloud                     MN           56301      $           800.00 Customer Contract
Greeley Economic
Development                   1100 10th St                      Ste 201              Greeley                      CO           80631      $      1,800.00 Customer Contract

Green & Little LP             1175 Nashville Pike                                    Gallatin                     TN           37066      $      1,365.00 Customer Contract

Green Township Ohio           P.O. # 1700001380                 6303 Harrison Avenue Cincinnati                   OH           45247      $      1,720.00 Customer Contract

GREEN, KRISTINA K             505 NE ORCHARD ST                                      LEES SUMMIT                  MO           64063      $           199.38 Employee                 Unliquidated
Greenberg Development
Company                       15563 Manchester Rd                                    Ballwin                      MO           63011      $           153.00 Customer Contract
Greene County - Auditor's
Office                        69 Greene St                                           Xenia                        OH           45385      $      1,400.00 Customer Contract

GREENE, QUINTON               18843 DEER TRACKS LOOP                                 LUTZ                         FL           33558      $           285.86 Employee                 Unliquidated

Greenleaf Capital             5300 W. Cypress St.               Suite 100            Tampa                        FL           33607      $           400.00 Customer Contract

Griffin Associates Realtors   1816 Front St                     Ste 110              Durham                       NC           27705      $           480.00 Customer Contract

Griffin Company Realtors      5100 S Thompson                                        Springdale                   AR           72764      $           819.00 Customer Contract
Griffin Company Realtors -
Rick Oliver                   5100 S. Thompson                                       Springdale                   AR           72764      $           300.00 Customer Contract

GRIFFIN, MICHAEL              22731 LAS BRISAS CIRCLE                                LAGUNA NIGUEL                CA           92677      $     11,265.02 Employee                    Unliquidated

GRIFFIN, TONYA                1910 S JACKSON DRIVE                                   INDEPENDENCE                 MO           64057      $           681.71 Employee                 Unliquidated

Griffith Realty Advisors      2630 Wapiti Rd                                         Fort Collins                 CO           80525      $           85.00 Customer Contract

GRIFFITH, RANDALL             237 NE EDGEWATER DRIVE                                 LEES SUMMIT                  MO           64064      $               -   Employee                Unliquidated

GRILLO, GLENN                 1080 PRESERVE LANE                                     ALPHARETTA                   GA           30004      $               -   Employee                Unliquidated
Grizzard Commercial Real
Estat                         9800 US Hwy 441                   Suite 103,104        Leesburg                     FL           34788      $           160.00 Customer Contract

GROTH, ERIC                   62 S GARFIELD ST                                       DENVER                       CO           80209      $      5,721.28 Employee                    Unliquidated

Group One Ventures            8547 E Arapahoe Rd Unit J-309                          Greenwood Village            CO           80112      $           197.00 Customer Contract
Group Real Estate
Development                   1401 W 13th St.                                        Kansas City                  MO           64102      $           200.00 Customer Contract




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Grow Licking County          50 W. Locust Street                                     Newak                        OH           43055      $      1,800.00 Customer Contract
Grubb Properties, Inc. -
Charlotte                    4601 Park Rd                      Ste 450               Charlotte                    NC           28209      $           720.00 Customer Contract

Gudgel Properties, Inc.      13131 S. Yorktown Avenue                                Bixby                        OK           74008      $      1,485.00 Customer Contract

GUENTHER, DAWN               1 BOUNTIFUL DR                                          FAIRVIEW HEIGHTS             IL           62208      $           732.58 Employee                 Unliquidated

Guesa USA LLC                4201 Wisconsin Ave.                                     Sedalia                      MO           65301      $      3,333.34 Trade

GUHR, RYAN JAMES             18910 E 37TH TERR S APT 6                               INDEPENDENCE                 MO           64057      $           458.40 Employee                 Unliquidated
Guidance Corporate Realty
Adv                          521 Valley View Dr                                      Boulder                      CO           80304      $           98.50 Customer Contract

GUINN, NICOLE                323 NW 1261ST RD                                        HOLDEN                       MO           64040      $      1,373.22 Employee                    Unliquidated

GULICK, RUBY A               928 SE GINGERBREAD LANE                                 BLUE SPRINGS                 MO           64014      $           453.01 Employee                 Unliquidated

GUTIERREZ, JOAQUIN           14650 SW 148 AVE                                        MIAMI                        FL           33196      $      1,988.75 Employee                    Unliquidated

Guy Dorey                    5725 Cameron Hall Place                                 Atlanta                      GA           30328      $     19,290.00 Trade

H. G. Hill Realty Company LLC 3011 Armory Dr.                  Suite 130             Nashville                    TN           37204      $           375.00 Customer Contract

HAACK, EDWARD S              1807 NW HARBOR COURT                                    BLUE SPRINGS                 MO           64015      $     11,691.57 Employee                    Unliquidated

HAASE, ANNA                  1902 SE HIGH DR                                         OAK GROVE                    MO           64075      $               -   Employee                Unliquidated

HAGEMAN, JESSICA             1213 S CARR AVE                                         SEDALIA                      MO           65301      $           417.75 Employee                 Unliquidated

HAGERUP, CHRISTOPHER         215 WEST 14TH STREET, #1                                NEW YORK                     NY           10011      $      4,398.17 Employee                    Unliquidated

Hailey Realty Company        3715 Northside Parkway            NW Bldg 400 Ste 350   Atlanta                      GA           30327      $           150.00 Customer Contract

HALBERT, BRAD CARLTON        4744 OAK ST. APT 912                                    KANSAS CITY                  MO           64112      $               -   Employee                Unliquidated

Halcyon Realty, LLC          5624 S Datura St.                                       Littleton                    CO           80120      $           571.50 Customer Contract

HALEY, RON W.                1010 OAK FOREST DRIVE                                   MORROW                       OH           45152      $      3,456.25 Employee                    Unliquidated

Hall Emery                   6100 Tower Circle                 Suite 150             Franklin                     TN           37067      $           980.00 Customer Contract

Hall Group                   6801 Gaylord Parkway Ste 100                            Frisco                       TX           75034      $      1,230.30 Customer Contract
Hamilton Appraisal Services,
LLC                          1648 Taylor Rd, PMB 463                                 Port Orange                  FL           32128      $           370.00 Customer Contract




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Hamilton County Dev. Co.      1776 Mentor Ave                                     Cincinnati                   OH           45212       $           915.20 Customer Contract

Hamilton Merritt Inc          104 Lake Cliff Ct                                   Cary                         NC           27513       $      1,485.00 Customer Contract

Hammes Realty Services, LLC 18000 West Sarah Lane                Suite 250        Brookfield                   WI           53045       $           700.00 Customer Contract

HAMMONTREE, TIFFANY           16701 E 29TH TERR S                                 INDEPENDENCE                 MO           64055       $           221.55 Employee                 Unliquidated
HAMPTON, SHANNON
NICOLE                        2127 S SCOTT AVE                                    INDEPENDENCE                 MO           640523635   $               -

HAN, BRYAN                    1014 WHITEWATER DRIVE                               FULLERTON                    CA           92833       $               -   Employee                Unliquidated

HANKS, REBECCA                11 S AUBURNDALE                                     MEMPHIS                      TN           38104       $      1,364.72 Employee                    Unliquidated

Hanover Commercial            1030 Johnson Road                  Suite 340        Golden                       CO           80401       $           228.60 Customer Contract
Hansen Real Estate Services
Ic                            5665 Greendale Rd                  Suite A          Johnston                     IA           50131       $           320.00 Customer Contract

Hansen Storage                2880 N. 112th St                                    Milwaukee                    WI           53222       $           175.00 Customer Contract

HANSEN, BRENT                 906 MADELYN DR                                      KEARNEY                      MO           64060       $     10,120.06 Employee                    Unliquidated

HANSEN, CARTER                906 MADELYN DR                                      KEARNEY                      MO           64060       $               -   Employee                Unliquidated

Hantover, Inc.                5200 W 110th, Suite 200                             Overland Park                KS           66211       $           808.88 Trade

Harbour Realty Corp           4400 Arcady Ave                                     Dallas                       TX           75205       $           356.10 Customer Contract

Harding and Carbone           3903 Bellaire Blvd                                  Houston                      TX           77025       $      3,900.00 Customer Contract

HARGER, ALICIA                16012 LEGACY RD, APT 310                            TUSTIN                       CA           92782       $               -   Employee                Unliquidated

HARKINS, SEAN                 924 NE LOCUST                                       BLUE SPRINGS                 MO           64014       $           447.28 Employee                 Unliquidated

HARMON, CHRISTOPHER           3917 NE 59TH ST                                     GLADSTONE                    MO           64119       $      4,439.59 Employee                    Unliquidated

Harnett County EDC            PO Box 1270                                         Lillington                   NC           27546       $      3,150.00 Customer Contract

HARPSTER, DAWN                621 N PINE                                          CAMERON                      MO           64429       $      3,213.14 Employee                    Unliquidated
HARRINGTON, TIMOTHY
MICHAEL                       1500 WOODLAWN BLVD #4                               AUSTIN                       TX           78703       $               -   Employee                Unliquidated

HARRIS, SHANTELLE             12607 SILVER LANE                                   SUGAR CREEK                  MO           64054       $           299.55 Employee                 Unliquidated

Harrispark Properties         3901 Barrett Dr Ste 102                             Raleigh                      NC           27609       $           520.00 Customer Contract




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          Creditor                              Address                Address2                  City              State   Zip Code        Total                      Claim Type        Disputed

HARRISS, STEVEN              531 WINTERGREEN WAY                                  CANTON                      GA           30115       $      7,137.90 Employee                    Unliquidated

Harsch Investment Prop LLC   3111 S Valley View Blvd             Ste K101         Las Vegas                   NV           89102       $      4,076.00 Customer Contract

Hart Properties Group        165 N Main St                       Ste 108          Collierville                TN           38017       $           60.50 Customer Contract

HARTFORD, KATHERINE          11004 E 34TH ST S                                    INDEPENDENCE                MO           64052       $               -   Employee                Unliquidated

Hartman Income REIT          2909 Hillcroft                      Ste 420          Houston                     TX           77057       $           890.25 Customer Contract
Hartman Income REIT -
Houston                      8111 LBJ Freeway                    Suite 130        Dallas                      TX           75251       $      4,036.00 Customer Contract
Hartman Income REIT - San
Antonio                      8111 LBJ Freeway                    Ste. 13          Dallas                      TX           75251       $           360.00 Customer Contract

Hartwell Realty              1027 Highway 70 W                   Ste 106          Garner                      NC           27529       $      2,112.50 Customer Contract

HARVEY, ELIZABETH            11511 BURTON ST.                                     SUGAR CREEK                 MO           64054       $               -   Employee                Unliquidated

HARVEY, TIFFANY              744 NE SUNNY SIDE SCHOOL RD APT H                    BLUE SPRINGS                MO           64014       $           980.01 Employee                 Unliquidated
Haslet Texas Economic
Development                  101 Main St                                          Haslet                      TX           76052       $      3,740.55 Customer Contract

HATFIELD, KELLEY             1619 SE BOONE TRAIL                                  LEES SUMMIT                 MO           64063       $           486.06 Employee                 Unliquidated

HAUSER, BRADLEY              2221 W DALLAS ST, #267                               HOUSTON                     TX           77019       $      8,179.76 Employee                    Unliquidated

HAWKINS, MELYSSA             250 S PROSPECT AVE                                   SEDALIA                     MO           65301       $           292.96 Employee                 Unliquidated

HAWKINS, PEGGY               1311 E 11TH                                          SEDALIA                     MO           65301       $           327.79 Employee                 Unliquidated

HAWKINS, RHENA               107 E MORGAN ST.                                     SEDALIA                     MO           653016530   $      1,586.96 Employee                    Unliquidated

HAWKS, JESSE                 503 TARSNEY LN                                       BUCKNER                     MO           64016       $           310.05 Employee                 Unliquidated

Hawthorn Bank                300 SW Longview Blvd                                 Lee's Summit                MO           64081       $      2,633.40 Customer Contract

HAYDEN, CHRISTINE            1004 NW KINGSRIDGE DR                                BLUE SPRINGS                MO           64015       $               -   Employee                Unliquidated

HAYDEN, GREGORY              5925 NE HIDDEN VALLEY DRIVE                          LEES SUMMIT                 MO           64064       $      9,642.96 Employee                    Unliquidated

HAYES, DECLAN                7685 YORK AVENUE                                     WHITTIER                    CA           90602       $               -   Employee                Unliquidated

HAYES, HANNAH                7685 YORK AVENUE                                     WHITTIER                    CA           90602       $               -   Employee                Unliquidated

HAYES, JAMI L                614 E LOULA                                          OLATHE                      KS           66061       $           385.73 Employee                 Unliquidated




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          Creditor                            Address                 Address2                City                State   Zip Code       Total                      Claim Type        Disputed

HAYES, KIERAN                7685 YORK AVENUE                                    WHITTIER                    CA           90602      $               -   Employee                Unliquidated

HAYES, LIAM T                7685 YORK AVENUE                                    WHITTIER                    CA           90602      $               -   Employee                Unliquidated

HAYES, RONAN                 7685 YORK AVENUE                                    WHITTER                     CA           90602      $               -   Employee                Unliquidated

HAYS, JEFFREY                4370 E MISTY WOODS                                  SPRINGFIELD                 MO           65809      $               -   Employee                Unliquidated
Health Connect Properties
Inc.                         3400 E. Bayaud                     Suite 240        Denver                      CO           80209      $           192.00 Customer Contract
Healthcare Realty
Services,Inc                 6029 Walnut Groove Rd              Suite 400        Memphis                     TN           38120      $      1,500.00 Customer Contract

HEARN                        875 N. Michigan Ave Ste 4010                        Chicago                     IL           60611      $           250.00 Customer Contract

Heartland Properties, Inc.   535 W Broadway                     Suite 100        Council Bluffs              IA           51503      $           528.00 Customer Contract

HEFFNER, NIKKI               15420 E 45TH TERR S, APT B                          INDEPENDENCE                MO           64055      $           222.33 Employee                 Unliquidated

HEINRICH, KAROLYN            305 N AUSTIN ST, APT B                              OAK GROVE                   MO           64075      $           271.35 Employee                 Unliquidated

Hellenic Brothers            27715 Bering Crossing Dr                            Katy                        TX           77494      $           140.00 Customer Contract

Helm Commercial Real Estate 7818 Big Sky Drive                  Suite 209        Madison                     WI           53719      $           585.00 Customer Contract

Helsan Development Co. LLC N112 W18518 Mequon Rd                Suite A          Germantown                  WI           53022      $           175.00 Customer Contract

HELVERSON, JANICE            5656 NW PLANTATION DR                               LEES SUMMIT                 MO           64064      $               -   Employee                Unliquidated

HENDRICKS, SCOTT             1539 SUMAC CIRCLE                                   LIBERTY                     MO           64068      $               -   Employee                Unliquidated

Henkle Schueler & Associates 3000G Henkle Drive                                  Lebanon                     OH           45036      $      2,985.00 Customer Contract

HENLEY, JACOB                711 HENLEY DR                                       PLEASANT HILL               MO           64080      $               -   Employee                Unliquidated

Henry & Company              Po Box 694                                          Grover                      MO           63040      $           170.00 Customer Contract
Henry County Development
Auth                         125 Westridge Industrial Blvd                       McDonough                   GA           30253      $      5,200.00 Customer Contract

Henry S Miller Brokerage LLC 14001 Dallas Parkway               11th Floor       Dallas                      TX           75240      $      1,032.40 Customer Contract

HER Realtors - South Dayton 7625 Paragon Rd Ste E                                Dayton                      OH           45459      $      2,025.00 Customer Contract
Herman Miller - c/o John A
Marshall Co.                10930 Lackman Rd                                     Lenexa                      KS           66219      $      1,000.00 Customer Contract

Herndon and Kelley           Box 13008                                           Oklahoma City               OK           73113      $      1,575.00 Customer Contract




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                                                                                                                                                                                        Contingent,
                                                                                                                                                                                       Unliquidated,
            Creditor                             Address               Address2                 City                State   Zip Code        Total                      Claim Type        Disputed

HERRIN, JULIE               2704 NW 5TH ST                                        BLUE SPRINGS                 MO           64014       $           700.06 Employee                 Unliquidated

HERRING, TRACY              700 SW MITCHELL                                       OAK GROVE                    MO           64075       $           348.68 Employee                 Unliquidated

HERRIOTT, KARINNE           801N CHEYENNE DR                                      INDEPENDENCE                 MO           64056                           Employee                Unliquidated

HERRON, ASHLEY              2816 NW Canterbury Rd                                 Blue Springs                 MO           640156401   $           167.79 Employee                 Unliquidated

Hershewe Real Estate Co     103 NW Pointe LN                                      North Kansas City            MO           64116       $           300.00 Customer Contract

Heyle Realtors & Counseling 309 S National Ave                                    Springfield                  MO           65802       $           256.00 Customer Contract

HICKMAN, BETTINA            430 E. SALINE ST.                                     SEDALIA                      MO           65301       $      3,879.45 Employee                    Unliquidated

HICKS, SUSAN                408 NW WOODBURY DR                                    GRAIN VALLEY                 MO           64029       $               -   Employee                Unliquidated

Higdon Development, LLC     P.O. Box 3307                                         Cedar Park                   TX           78630       $           928.00 Customer Contract

High Associates Ltd.        6497 Parkland Drive                Ste E              Sarasota                     FL           34243       $           480.00 Customer Contract

High Associates, Ltd        11020 David Taylor Dr              Ste 130            Charlotte                    NC           28262       $           450.00 Customer Contract
High Street Real Estate &
Dev, LLC                    2821 Alliance Pl Ste 1                                Springdale                   AR           72764       $      1,389.00 Customer Contract
Highland Realty &
Development - Lynette Glenn 8419 Prince Valiant                                   Waxhaw                       NC           28277       $           250.00 Customer Contract

Highwoods Properties Inc    201 S Orange Ave                   Ste 400            Orlando                      FL           32801       $      1,360.00 Customer Contract

HILL, ANDREW                1704 N HOWARD DR                                      INDEPENDENCE                 MO           64050       $               -   Employee                Unliquidated

HILL, IAN                   1100 SW SOUTHGATE DR                                  BLUE SPRINGS                 MO           64015       $      1,787.15 Employee                    Unliquidated

Hilvin Properties           PO Box 29125                                          St Louis                     MO           63126       $      1,900.00 Customer Contract

Hines Interest LP           255 E 5th St                       Suite 2110         Cincinnati                   OH           45202       $           144.38 Customer Contract
HND Realty, LLC - Will
Hostettler                  421 E Iris Dr, Ste 300                                Nashville                    TN           37204       $           150.00 Customer Contract

HOARD, GREGORY              11930 E DEL TIMBRE                                    SCOTTSDALE                   AZ           85259       $               -   Employee                Unliquidated

Hobbs Properties            343 E Six Forks Rd                 Ste 300            Raleigh                      NC           27609       $           120.00 Customer Contract

Hobby Area District         8121 Broadway, Suite 199                              Houston                      TX           77061       $      1,900.00 Customer Contract

Hobby Properties            PO Box 18526                                          Raleigh                      NC           27619       $           220.00 Customer Contract




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           Creditor                            Address                Address2                 City               State   Zip Code        Total                      Claim Type        Disputed

Hoff & Leigh, Inc.           1257 Lake Plaza Dr                #225              Colorado Springs            CO           80906       $      1,050.00 Customer Contract

Hoff & Leigh, Inc.           PO Box 63411                                        Colorado Springs            CO           80962       $           127.00 Customer Contract

Hofmann Consulting Services 5709 Mangrove Ct                                     Loveland                    CO           80538       $           85.00 Customer Contract

HOFSTETTER, JENNIFER         1767 HWY DD                                         SMITHTON                    MO           65350       $           660.50 Employee                 Unliquidated

HOGAN, JESSICA C             104 SW 20TH ST APT B                                OAK GROVE                   MO           64075       $               -   Employee                Unliquidated
Holly Springs, NC Economic
Development                  PO Box 9                                            Holly Springs               NC           27540       $           750.00 Customer Contract

HOLM, JON                    5825 GROVE ST                                       EDINA                       MN           55436       $      7,644.72 Employee                    Unliquidated

HOLT, SYDNEY                 826 W 6TH STREET                                    SEDALIA                     MO           65301       $               -   Employee                Unliquidated
HomeSmart Realty Group -
Holly Tierney                7368 S Kit Carson St                                Centennial                  CO           80122       $           190.50 Customer Contract

HONG, ANDREW                 16527 KNOLL STONE CIRCLE                            CERRITOS                    CA           90703       $               -   Employee                Unliquidated

HOOK, KEVIN DUANE            5711 W 85TH TERR                                    OVERLAND PARK               KS           66207       $               -   Employee                Unliquidated
Hospitality Industry
Brokerage                    3308 W 38th Ave                                     Denver                      CO           80211       $           98.50 Customer Contract

Hottle Appraisal Commercial 11720 Old Ballas Rd                                  St Louis                    MO           63141       $           161.50 Customer Contract

HOUGH, MICHAEL               1000 SW RAINBOW LANE                                BLUE SPRINGS                MO           64015       $               -   Employee                Unliquidated

HOUK, ROBERT J               812 SW STONEHENGE                                   BLUE SPRINGS                MO           64015       $           113.40 Employee                 Unliquidated

Houston Partners Realty LLC 11700 Space Center Blvd. Ste 104                     Houston                     TX           77059       $           570.00 Customer Contract

HOUSTON, LESLIE              1719 S Stewart Ave.                                 SEDALIA                     MO           653016530   $           660.35 Employee                 Unliquidated

HOWARD, ROBERTA              9509 MANNING AVE                                    KANSAS CITY                 MO           64134       $           835.07 Employee                 Unliquidated

HOWARD, STACY                3711 VERLAINE DR                                    CARROLLTON                  TX           75007       $      2,805.15 Employee                    Unliquidated

HOWELL, SCOTT ALLAN          16101 E 30TH ST S                                   INDEPENDENCE                MO           64055       $           520.35 Employee                 Unliquidated

HOWLAND, SARAH               1512 SE PRINCETON CIR                               LEES SUMMIT                 MO           64081       $               -   Employee                Unliquidated

HOY, JASON D                 10118 N MAYWOOD AVE                                 KANSAS CITY                 MO           64157       $               -   Employee                Unliquidated

HOYT, GLENDA                 101 LINDER RD                                       GREENBRIER                  AR           72058       $               -   Employee                Unliquidated




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            Creditor                           Address                   Address2                  City              State   Zip Code         Total                      Claim Type        Disputed

HPI Corporate Services      3700 N. Capital of TX Hwy Suite 420                     Austin                      TX           78746        $      5,250.00 Customer Contract

HRI Commercial Realty       2288 Grange Hall Rd                                     Beavercreek                 OH           45431        $      2,775.00 Customer Contract

HRNCIAR, AMANDA             101 W BUTTERFIELD TRL                                   COLE CAMP                   MO           65325        $           321.12 Employee                 Unliquidated

HUBANY, VICTOR              30030 TRUMAN AVE                                        WICKLIFFE                   OH           44092        $               -   Employee                Unliquidated

HubSpot, Inc                25 First Street, 2nd Floor                              Cambridge                   MA           02141        $     44,794.22 Trade

Hudson Appraisals, Inc.     3606 W Southern Hills Blvd            Suite 100         Rogers                      AR           72758        $           150.00 Customer Contract

Huff Commercial Group       334 Beechwood Rd                      Ste 200           Ft. Mitchell                KY           41017        $      1,078.00 Customer Contract

Huffman Builders            5880 Ashmill Drive                    Suite 100         Plano                       TX           75024        $           214.00 Customer Contract

HUGUNIN, JULIE              2316 SW DEER RUN ROAD                                   LEES SUMMIT                 MO           64082        $               -   Employee                Unliquidated

Hull & Company              111 N 2nd St                                            Rogers                      AR           72756        $           295.00 Customer Contract

Hulse Commercial Real Estate 901 Washington Ave                   #708              St Louis                    MO           63101        $           170.00 Customer Contract

Hunt Investments, LLC       609 Loughmoor Pass                                      St Charles                  MO           63304        $           170.00 Customer Contract

Huntsman Real Estate        35 Horseshoe Lane                                       Carbondale                  CO           81623        $           114.30 Customer Contract
Huntsville/Madison County
Chamber                     225 Church Street                                       Huntsville                  AL           35801        $      5,150.00 Customer Contract

Hurd Real Estate Services   2000 Fuller Road                                        West Des Moines             IA           50265        $           600.00 Customer Contract

HUTCHINGS, RICHARD          15205 E 44TH STREET                                     INDEPENDENCE                MO           64055        $      1,263.02 Employee                    Unliquidated

Hutkin Development          10829 Olive Blvd                                        St Louis                    MO           63141-7668   $      1,008.00 Customer Contract

HUTSLER, LISA               205 ROCKWOOD                                            BLUE SPRINGS                MO           64014        $               -   Employee                Unliquidated

Hutto EDC                   321 Ed Schmidt Blvd                   Suite 200         Hutto                       TX           78634        $           843.75 Customer Contract

HUTTO, BRANDY               901 E 4TH ST                                            SEDALIA                     MO           65301        $           156.62 Employee                 Unliquidated

HYDE, CALEB                 8300 WARD PARKWAY PLZ                                   KANSAS CITY                 MO           64114        $               -   Employee                Unliquidated
Hydinger Steward & Chew
Commer                      2200 Woodcrest Place                  Suite 330         Birmingham                  AL           35209        $           640.00 Customer Contract

IBARRA, DUSTIN              2109 NW 12TH ST                                         BLUE SPRINGS                MO           64015        $           644.36 Employee                 Unliquidated




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           Creditor                               Address                Address2                  City               State   Zip Code       Total                      Claim Type        Disputed

Icon Commercial Inc.          1121 Golden Grain Rd                                  Garner                       NC           27529      $           819.00 Customer Contract

IDI Gazeley                   1000 Ridgeway Loop Rd.                                Memphis                      TN           38120      $           300.00 Customer Contract

IFF - Minnesota               333 South Wabash Ave                                  Chicago                      IL           60604      $           825.00 Customer Contract

IFF - Wisconsin               333 South Wabash                  Suite 2800          Chicago                      IL           60604      $           410.00 Customer Contract

IMMEL, CARA                   536 BRIDLE DR                                         MARYSVILLE                   OH           43040      $      8,516.32 Employee                    Unliquidated

Imperial Properties, Inc      6130 E 32nd Street                #108                Tulsa                        OK           74135      $           173.00 Customer Contract

Income Prop of Raleigh, Inc   1049 Dresser Ct                                       Raleigh                      NC           27609      $           490.00 Customer Contract
Independence Real Estate
LLC - Leigh Finn              4801 E. Independence Boulevard    #404                Charlotte                    NC           28212      $           450.00 Customer Contract

Independence Title Company 5900 Shepherd Mountain Cove          II-200              Austin                       TX           78730      $           390.00 Customer Contract

Industrial Appraisal          1312 1/2 31st South                                   Birmingham                   AL           35205      $           300.00 Customer Contract

Industrial Properties of South 9668 Madison Blvd                Suite 100           Madison                      AL           35758      $      1,188.00 Customer Contract

Industrial Realty Solutions   P.O. Box 1485                                         Safety Harbor                FL           34695      $      1,544.40 Customer Contract

INGRAM, AMANDA MARIE          2088 WHIPPLE RD                                       BATES CITY                   MO           64011      $           266.45 Employee                 Unliquidated

INGRAM, JANICE                8011 SW 4TH STREET                                    BLUE SPRINGS                 MO           64014      $               -   Employee                Unliquidated

Innovate Graphics             PO Box 23240                                          Charlotte                    NC           28227      $      1,032.99 Trade
Insight Commercial
REBrokerage                   622 SW D Ave                      Suite 1             Lawton                       OK           73501      $           700.00 Customer Contract

Insite Properties LLC         1435 W. Morehead St               Ste 125             Charlotte                    NC           28208      $      1,250.00 Customer Contract

INTCO                         14855 Blanco Rd                   Ste 305             San Antonio                  TX           78216      $           195.00 Customer Contract

Integrated Property Services 1400 S. Colorado                   Suite 410           Denver                       CO           80222      $           63.50 Customer Contract

Integrated Real Estate        3944 JFK Pkwy 12E                                     Fort Collins                 CO           80525      $           170.00 Customer Contract

International Network         3586 S Elkhart St                                     Aurora                       CO           80014      $           127.00 Customer Contract
Interra Management
Company                       2400 Augusta Dr.                  Suite 330           Houston                      TX           77057      $           700.00 Customer Contract

Interstate Properties         PO Box 2519                                           Muskogee                     OK           74402      $           144.00 Customer Contract




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             Creditor                            Address                Address2                  City               State   Zip Code         Total                      Claim Type        Disputed
Interstate Underground
WHSE                          8201 E 23rd St                                       Kansas City                  MO           64129        $           750.00 Trade

Investment Partners, LLC   P.O. Box 669                                            McMinnville                  TN           37111        $           375.00 Customer Contract
Investment Realty Company,
LLC                        16350 Blanco Rd                       Suite 114         San Antonio                  TX           78232-3338   $      1,284.83 Customer Contract

Investments Limited           215 North Federal Highway                            Boca Raton                   FL           33432        $      1,692.00 Customer Contract

Investor Research Associates 5730 SW 74 St., Ste. 100                              South Miami                  FL           33143        $      1,269.00 Customer Contract

Ion Real Estate               1127 Auraria Parkway               #601              Denver                       CO           80209        $           698.50 Customer Contract
Iowa Appraisal & Research
Corp                          1707 High Street                                     Des Moines                   IA           50309-3313   $           140.00 Customer Contract

Iowa Dept of Admin Services 109 SE 13th Street                                     Des Moines                   IA           50319        $      1,365.00 Customer Contract

Iowa Realty Commercial        3501 Westown                                         West Des Moines              IA           50266        $      2,418.01 Customer Contract
IPA Commercial - Roderick
Gee                           1600 Camden Rd.                                      Charlotte                    NC           28203        $           450.00 Customer Contract

Iremco, Inc                   15510 Olive Blvd                   Ste 200           Chesterfield                 MO           63017        $           85.00 Customer Contract

IRG Realty Advisors           4020 Kinross Lakes Pkwy            Ste 200           Richfield                    OH           44286        $      1,000.00 Customer Contract

Irgens Partners, LLC          833 East Michigan Street           Suite 400         Milwaukee                    WI           53202        $           858.50 Customer Contract

IRLA, JAMIE RENEE             2611 S NORTHERN BLVD                                 INDEPENDENCE                 MO           64052        $               -   Employee                Unliquidated

Irwin & Hendrick              2299 Pearl St.                     Suite 400         Boulder                      CO           80302        $           127.00 Customer Contract

Irwin & Hendrick East         720 Austin Avenue                  Suite 200         Erie                         CO           80516        $           228.60 Customer Contract

Irwin Partners                1701 Centerview Dr                 Suite 201         Little Rock                  AR           72211        $           721.24 Customer Contract

IRWIN, BRIAN                  1320 SOTHERBY CROSSING                               LEWIS CENTER                 OH           43035        $      6,963.44 Employee                    Unliquidated

ISON, LISA                    3931 S CEDAR CREST CIRCLE #209                       INDEPENDENCE                 MO           64055        $      1,273.08 Employee                    Unliquidated

J R Fulton & Associates LLC   4334 NW Expressway St              Suite 100         Oklahoma City                OK           73116        $           660.00 Customer Contract

J&B Realty                    8933 E. Union Ave.                 Suite 216         Englewood                    CO           80111        $           384.00 Customer Contract

J. Key Properties, LLC        300 Vestavia Parkway               Suite 2300        Vestavia Hills               AL           35216        $           300.00 Customer Contract

J. Michael Easterwood & Co. 2915 E. Ponce de Leon                                  Decatur                      GA           30030        $           180.00 Customer Contract




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          Creditor                                Address              Address2                  City               State   Zip Code       Total                      Claim Type        Disputed
J.A.Kennedy RE- Matthew
Nelson                        7155 S Rainbow Blvd               Ste 200           Las Vegas                    NV           89118      $           81.90 Customer Contract

J.T. Couch Appraisals         7027 Old Madison Pike             Suite 108 # B57   Huntsville                   AL           35806      $           150.00 Customer Contract

JA Commercial                 7265 Kenwood Road                                   Cincinnati                   OH           45236      $           702.00 Customer Contract

Jack Fine Properties          210 St. Paul Street               Suite 205         Denver                       CO           80206      $           63.50 Customer Contract

JACKMAN, CHRISTOPHER          6225 MORNINGSIDE DR                                 KANSAS CITY                  MO           64113      $      5,911.27 Employee                    Unliquidated
Jackson Corporate Real
Estate                        800 Mt. Vernon Hwy                Ste 425           Atlanta                      GA           30328      $           213.75 Customer Contract

Jackson County MO Assessor 415 E 12th St, 1M                                      Kansas City                  MO           64106      $      6,000.00 Customer Contract

JACKSON, QUENTIN              32 WEST ESTHER STREET UNIT E                        ORLANDO                      FL           32806      $      5,605.63 Employee                    Unliquidated

JACOBS, ALEX JORDAN           900 N KINGSBURY STREET #1117                        CHICAGO                      IL           60610      $      1,263.11 Employee                    Unliquidated

James C. Karo & Associates    1750 Lafayette St                                   Denver                       CO           80218      $           63.50 Customer Contract

JAMES, ROBERT TYLER           7900 E 88TH TERRACE                                 KANSAS CITY                  MO           64138      $               -   Employee                Unliquidated

JAMGOTCHIAN, MICHAEL       134 MANHATTAN AVE                                      WALDWICK                     NJ           07463      $      5,500.57 Employee                    Unliquidated
Jamie White Commercial RE,
LLC                        307 W 7th St                         Suite 1900        Fort Worth                   TX           76102      $      1,698.29 Customer Contract

Japhet Real Estate            3602 Paesano Pkwy                 Suite 106         San Antonio                  TX           78231      $           280.00 Customer Contract

JAPLIT, DANIEL                8604 TERRITORIAL WAY                                ELK GROVE                    CA           95624      $               -   Employee                Unliquidated

JARAMILLO, FRANCISCO          15814 SW 99TH STREET                                MIAMI                        FL           33196      $               -   Employee                Unliquidated

Jared Properties LLC          2870 S Ingram Mill Rd                               Springfield                  MO           65804      $           600.00 Customer Contract

Javernick Property Services   3131 S. Vaughn Way                Suite 224         Aurora                       CO           80014      $           63.50 Customer Contract

Jaybird Realty                6025 S Quebec St.                 #100              Centennial                   CO           80111      $           514.35 Customer Contract

Jeff Justis                   21784 Chinquapin Rd                                 Springdale                   AR           72764      $           300.00 Customer Contract

Jeff Laures                   1211 E. 15th Street                                 Plano                        TX           75074      $           215.05 Customer Contract

Jeff Wolf and Partners RE     11138 Reading Road                                  Sharronville                 OH           45241      $      2,500.00 Customer Contract

Jefferson Economic Council    1667 cole Blvd                    #400              Golden                       CO           80401      $           300.00 Customer Contract




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             Creditor                             Address               Address2                  City              State   Zip Code         Total                      Claim Type        Disputed

JEFFERSON, KANITA            7525 E 74TH ST                                        KANSAS CITY                 MO           64133        $               -   Employee                Unliquidated

Jenkins Property Advisors, Inc 2808 W Price Ave                                    Tampa                       FL           33611        $           410.00 Customer Contract

JENKINS, ANDREW N            2429 SHENANDOAH AVE                                   CHARLOTTE                   NC           282056118    $     15,864.00 Employee                    Unliquidated

Jeremy McQuown               16901 W 84th St                                       Lenexa                      KS           66219        $           150.50 Trade

JERSILD, ETHAN H             205 TULLY PLACE                                       PROSPECT HEIGHTS            IL           60070        $      3,628.37 Employee                    Unliquidated

Jim Derr                     P.O. Box 36272                                        Denver                      CO           80236        $           723.00 Customer Contract

JIMBOY, COLLEEN ANN          904 S 23RD STREET                                     LEXINGTON                   MO           64067        $           172.92 Employee                 Unliquidated
Jimmy Bell Real Estate
Company                      1031 Fayetteville Rd                                  Van Buren                   AR           72956        $      1,350.00 Customer Contract

JKJ Realty Company           7910 S 101st E Ave                                    Tulsa                       OK           74133        $           128.00 Customer Contract

JM Pacific                   510 E 51st Avenue                  #205               Denver                      CO           80216        $           693.90 Customer Contract

JOBE, RICHARD ALEXANDER      1002 NE WHITE OAKS LANE                               OAK GROVE                   MO           64075        $           320.80 Employee                 Unliquidated

JobsOhio                     41 S High St, Ste 1500                                Columbus                    OH           43215        $     10,000.00 Customer Contract

Joe M. Kboudi Real Estate Inc 7300 Blanco Rd                    Suite 706          San Antonio                 TX           78216        $           825.00 Customer Contract

John Blue Realty             218 Randolph Ave                   Ste B              Huntsville                  AL           35801        $           350.00 Customer Contract
John Green & Co.
Commercial                   108 East Mulberry                                     Collierville                TN           38017        $           524.50 Customer Contract

John J. Locke Broker         1811 Woodberry Road                                   Charlotte                   NC           28212        $           180.00 Customer Contract
John Propp Commercial
Group                        6565 S Dayton St.                  Suite 3000         Greenwood                   CO           80111        $           190.50 Customer Contract

John S Kesselman Real Estate 10620 N Port Washington Road                          Mequon                      WI           53092        $           525.00 Customer Contract

Johnny Williams              1104 Peable Beach Dr                                  Mansfield                   TX           76063        $           215.05 Customer Contract
Johnson County Appraiser
Offic                        11811 S Sunset Dr                  Suite 2100         Olathe                      KS           66061        $     10,587.50 Customer Contract
Johnson County Records &
Tax                          111 S Cherry Suite 1500                               Olathe                      KS           66061-3469   $           450.00 Trade

Johnson Realty Group         2701 Kavanaugh Blvd., Suite 300                       Little Rock                 AR           72205        $      1,650.00 Customer Contract

JOHNSON, ANDREA              804 NW 36TH STREET TERR                               BLUE SPRINGS                MO           64015        $               -   Employee                Unliquidated




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          Creditor                               Address             Address2                City                State   Zip Code       Total                      Claim Type        Disputed

JOHNSON, DUSTIN               417 E WALNUT ST                                   INDEPENDENCE                MO           64050      $           172.70 Employee                 Unliquidated

JOHNSON, NATASHA              9811 BELMONT AVE                                  KANSAS CITY                 MO           64134      $               -   Employee                Unliquidated

JOHNSON, REBECCA              4259 DIXIE CANYON AVE                             SHERMAN OAKS                CA           91423      $      2,665.00 Employee                    Unliquidated

JOHNSTON, BRANDY              19265 BUTTERBAUGH FORD RD                         SEDALIA                     MO           65301      $      2,933.29 Employee                    Unliquidated

JOHNSTON, RACHEAL             1215 SW LONE STAR CT                              GRAIN VALLEY                MO           64209      $               -   Employee                Unliquidated

Jonas Builders                3939 W McKinley Ave                               Milwaukee                   WI           53208      $           515.40 Customer Contract

JONES, DEBORAH                305 SW 25TH STREET                                BLUE SPRINGS                MO           64015      $               -   Employee                Unliquidated

JONES, LIANA                  17311 E US HIGHWAY 40 TRLR J26                    INDEPENDENCE                MO           64055      $           419.51 Employee                 Unliquidated

JONES, LISA                   505 S CLAY ST                                     HOLDEN                      MO           64040                          Employee                Unliquidated

JONES, MIRANDA                3201 SE 6TH CT                                    BLUE SPRINGS                MO           64014      $      1,112.21 Employee                    Unliquidated

JONES, SARA CHRISTINE         302 SW ROCKCREEK LN                               GRAIN VALLEY                MO           64029      $           248.25 Employee                 Unliquidated

Jordan Realty Advisors (JRA) 16475 Dallas Pkwy                 Ste 540          Addison                     TX           75001      $           885.30 Customer Contract

JORDAN, CHRISTINA             610 NW YENNIE ST APT 316                          GRAIN VALLEY                MO           64029      $           306.23 Employee                 Unliquidated

JORDAN, WESLEY                37107 E 179TH ST                                  PLEASANT HILL               MO           64080      $           404.10 Employee                 Unliquidated

Joseph Realty, Inc.           43 Chelsea Point Dr                               Chelsea                     AL           35043      $               -   Customer Contract
Josey,Young & Brady
Realty,LLC                    75 Jackson St                    Ste 200          Newman                      GA           30263      $           330.00 Customer Contract

Jowers, Inc.                  PO Box 1870                                       Rockwall                    TX           75087      $           166.93 Customer Contract

JP & Associates - Southlake   566 N Kimball Ave., Ste. 120                      Southlake                   TX           76092      $           195.05 Customer Contract

JP & Associates REALTORS      6175 Main St                                      Frisco                      TX           75034      $           480.10 Customer Contract

JRD Broker, LLC               P.O. Box 150200                                   Lakewood                    CO           80215      $           417.50 Customer Contract

JS Ferguson                   1300 S MacArthur Blvd.                            Oklahoma City               OK           73128      $           375.00 Customer Contract

Judd Properties Corporation 2222 S. Albion St.                 Suite 100        Denver                      CO           80222      $           63.50 Customer Contract

JULO, TRAVIS                  105 SE HARVARD DR                                 BLUE SPRINGS                MO           64014      $           454.58 Employee                 Unliquidated




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           Creditor                             Address               Address2                  City               State   Zip Code       Total                      Claim Type        Disputed

JWB Realty Services, LLC     2771 Lawrenceville Highway       Suite 206          Decatur                      GA           30033      $           640.00 Customer Contract

K & E Properties             35 Vikina Dr                                        Englewood                    CO           80113      $           63.50 Customer Contract

KAHN, ANDREW                 9208 APPLECREST COURT                               CINCINNATI                   OH           45242      $               -   Employee                Unliquidated

KAI Design & Build           2060 Craigshire Rd                                  St Louis                     MO           63146      $           900.00 Customer Contract

Kaizen Realty                2076 West Street                 Suite 200          Germantown                   TN           38138      $           280.00 Customer Contract

KAMP, ANTHONY E              6036 BERNE CIRCLE                                   EDINA                        MN           55436      $               -   Employee                Unliquidated

Kang Kim                     16561 Red Cliff Cir                                 Morrison                     CO           80465      $           63.50 Customer Contract

Kansas City Area Dev Council 30 W Pershing Rd                 Suite 200          Kansas City                  MO           64108      $      1,600.00 Customer Contract
Kansas City Area
Transportation Authority     1350 E 17th St.                                     Kansas City                  MO           64108      $           575.00 Customer Contract
Kansas City Aviation
Department                   601 Brasilia Avenue                                 Kansas City                  MO           64153      $               -   Customer Contract

KARMILOWICZ, KAREN           8145 WINDING ROSS WAY                               ELLICOTT CITY                MD           21043      $               -   Employee                Unliquidated
Kasten Long Commercial
Group                        5110 N. 40th Street              #110               Phoenix                      AZ           85018      $           176.00 Customer Contract

Katchen & Co.                7111 W. Alameda Parkway          Suite O            Lakewood                     CO           80226      $           98.50 Customer Contract
Kaufman County Appraisal
District                     3950 S Houston St                                   Kaufman                      TX           75142      $      2,119.00 Customer Contract

Kay Real Estate LLC          10940 S Parker Rd                                   Parker                       CO           80134      $           98.50 Customer Contract

KAYAM, MOSHE                 500 DRYAD LANE                                      WOODBURY                     TN           37190      $               -   Employee                Unliquidated

Kearney Commercial Realty    3017 Exchange Ct                 Ste D              West Palm Beach              FL           33409      $           330.00 Customer Contract

Keat Properties, LLC         9200 Olive Blvd.                 Ste 200            St Louis                     MO           63132      $           170.00 Customer Contract

Keenan Properties            1509 Ocello Dr                   Ste 201            St. Louis                    MO           63026      $           85.00 Customer Contract

KEITH, STEPHEN               208 81ST STREET, APT E                              HOLMES BEACH                 FL           34217      $      4,108.06 Employee                    Unliquidated
Keller Willaims Realty
Downtown, LLC                901 Auraria Pwy Suite 301                           Denver                                    80204      $           63.50 Customer Contract
Keller Williams - Greater
Cleveland - Thomas Seaman    8150 Sherman Rd                                     Chesterland                  OH           44026      $           375.00 Customer Contract

Keller Williams - Mike Shultz 3430 Toringdon Way Ste 200                         Charlotte                    NC           28226      $           450.00 Customer Contract




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                                                                                                                                                                                         Contingent,
                                                                                                                                                                                        Unliquidated,
            Creditor                             Address                 Address2                  City               State   Zip Code       Total                      Claim Type        Disputed
Keller Williams - Premier
Realty - Jimbo Homeyer        22762 Westheimer Parkway          Suite 430           Katy                         TX           77450      $           195.00 Customer Contract

Keller Williams Advantage    14437 W Elsworth Pl                                    Golden                       CO           80401      $           127.00 Customer Contract
Keller Williams Commercial -
OK - Mark McKee              1624 SW 122nd St                                       Oklahoma City                OK           73170      $           875.00 Customer Contract

Keller Williams Downtown      P.O. Box 741325                                       Arvada                       CO           80006      $               -   Customer Contract

Keller Williams Preferred Rlty 11859 Pecos St.                  #200                Westminster                  CO           80234      $           209.50 Customer Contract

Keller Williams Realty        10026-A S Mingo Rd #282                               Tulsa                        OK           74133      $           128.00 Customer Contract
Keller Williams Realty -
Greater Cleveland West -      2001 Crocker Rd, Suite 200                            Westlake                     OH           44145      $      1,575.00 Customer Contract
Keller Williams Realty
Downtown LLC                  901 Avria Pkwy #301                                   Denver                       CO           80204      $           98.50 Customer Contract

KELLEY, JUSTIN                484 SUGAR TREE KNOB                                   LIBERTY                      TN           37095      $      1,423.63 Employee                    Unliquidated

Ken Perry Realty              4135 Alexandria Pike Suite 108                        Cold Spring                  KY           41076      $      5,145.00 Customer Contract

Kennedy Wilson                9442 N. Captital TX Highway       II 140              Austin                       TX           78759      $           170.00 Customer Contract

KENT, FLOYD                   740 N SPRING ST                                       MURFREESBORO                 TN           37130      $               -   Employee                Unliquidated

Kentwood City Properties      1660 17th Street                  Suite 100           Denver                       CO           80202      $           514.35 Customer Contract

Kentwood Commercial           1660 17th St                      Suite 100           Denver                       CO           80202      $           98.50 Customer Contract

KenWheel Inc.                 470 Orleans St. 12th Floor                            Beaumont                     TX           77701      $      1,368.00 Customer Contract

KESLING, STEPHANIE GAILE      1508 NW ASHLAND PLACE                                 BLUE SPRINGS                 MO           64015      $               -   Employee                Unliquidated

Ketcham and Company           P.O Box 271348                                        Littleton                    CO           80127      $           63.50 Customer Contract
Kevin W Anderson &
Associates                    2510 E 26th St                    PO Box 4255         Tulsa                        OK           74159      $           150.00 Customer Contract

Kew Realty Corporation        300 S Jackson St                  Suite 550           Denver                       CO           80209      $           127.00 Customer Contract

Key Real Estate Group         7600 E. Arapahoe Rd               Suite 200           Englewood                    CO           80112      $           63.50 Customer Contract

Keys Commercial               1048 Pearl Street Suite 440                           Boulder                      CO           80302      $           459.00 Customer Contract

Keystone Marketing, Inc.      PO Box 7766                                           Moore                        OK           73153      $           350.00 Customer Contract

KIEFFER, SHERRI R             12206 NW HEADY AVE APT 331                            FERRELLVIEW                  MO           64163      $            80.64 Employee                 Unliquidated




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                                                                                                                                                                                    Contingent,
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           Creditor                            Address             Address2                 City                State   Zip Code        Total                      Claim Type        Disputed

KIEHL, MEGAN KATHLEEN        3716 W 74TH ST                                   PRAIRIE VILLAGE              KS           66208       $      1,169.53 Employee                    Unliquidated

KILL, JOHN                   12213 FAIRWAY ROAD                               LEAWOOD                      KS           66209       $               -   Employee                Unliquidated

Kim King Associates          1819 Peachtree Road             Ste 575          Atlanta                      GA           30308       $           800.00 Customer Contract

Kim Tran Le Realty           1654 Webb Gin House Road                         Snellville                   GA           30078       $           168.00 Customer Contract

KIM, APRIL                   450 WEST 17TH STREET, 522                        NEW YORK                     NY           100111001   $               -   Employee                Unliquidated

KIMBRO, ERIC                 505 W BROADWAY ST                                ROGERS                       AR           72758       $               -   Employee                Unliquidated

Kimley-Horn and Associates   200 S Tryon Street              Suite 200        Charlotte                    NC           28202       $           780.00 Customer Contract

King Commercial Real Estate 1624 Market St                   Suite 202        Denver                       CO           80202       $           98.50 Customer Contract
Kingston Commercial Real
Estat                       5887 Glenridge Dr                Ste 250          Atlanta                      GA           30328       $           740.00 Customer Contract

Kinzli & Co.                 4006 Cleveland Ave              PO Box 1260      Wellington                   CO           80549       $           60.00 Customer Contract

KLEIMAN, ISAAC               700 N.W. PAR DR                                  GRAIN VALLEY                 MO           64029       $               -   Employee                Unliquidated

KLEIMAN, JASON PETER         3100 N. LAKE SHORE DR., #1608                    CHICAGO                      IL           60657       $           634.56 Employee                 Unliquidated

KMR Real Estate, LLC         1407 Neffwold Lane                               Kirkwood                     MO           63122       $           425.00 Customer Contract

Knapp Properties, Inc.       5000 Westown Pkwy               Suite 400        West Des Moines              IA           50266       $           592.50 Customer Contract

KNAZZE III, LAMONT           7240 60th Ave. N. #7                             New Hope                     MN           55428       $      1,991.59 Employee                    Unliquidated

KNIGHT, AARON                9288 MELBORNE CT                                 PARKER                       CO           80134       $     17,017.96 Employee                    Unliquidated

KNIGHT, MAKAYLA MARIE        7025 HUNTER ST.                                  RAYTOWN                      MO           64133                           Employee                Unliquidated
Knollmeyer Appraisal
Services Inc                 PO Box 1221                                      Concord                      NC           28026       $           450.00 Customer Contract

KOENTOPF, DIRK               4989 WOODEND PL                                  EXCELSIOR                    MN           55331       $      8,618.91 Employee                    Unliquidated

KOEPNICK, BRANDON R.      1324 CARTAGENA                                      NEWPORT BEACH                CA           92660       $      5,580.96 Employee                    Unliquidated
Kolding Comm. Brokerage &
Inv.                      8850 Selly Rd.                                      Parker                       CO           80134       $           63.50 Customer Contract

Kosmos Real Estate, Inc.     2480 Chama Ct                                    Loveland                     CO           80538       $           170.00 Customer Contract

KOSTELNICK, HEATHER LYNN 2221 SE 3RD ST                                       LEES SUMMIT                  MO           64063       $      3,028.80 Employee                    Unliquidated




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          Creditor                               Address                  Address2                  City                State   Zip Code        Total                      Claim Type        Disputed

Kothe Real Estate Partners    615 E. Washington Ave               Suite 214           Madison                      WI           53701       $           245.00 Customer Contract

Kovac Real Estate           255 Cone Road                         Ste 1               Merritt Island               FL           32952       $      1,530.00 Customer Contract
Kowit & Company Real Estate
Group                       6009 B Landerhaven Dr                                     Mayfield Heights             OH           44124       $      1,050.00 Customer Contract
Kramer Commercial Realty
LLC                         100 Chesterfield Business Pkwy        Ste 200             St Louis                     MO           63005       $           85.00 Customer Contract

KRAMER, LORI                  202 N ASH                                               INDEPENDENCE                 MO           64053       $           468.61 Employee                 Unliquidated

KRASTEV, DIMITAR              13919 W 150TH CT                                        OLATHE                       KS           66062                           Employee                Unliquidated

KRIEG, DONNA                  8147 N LAWN                                             KANSAS CITY                  MO           64119       $               -   Employee                Unliquidated

Krtek Real Estate Service     4050 Pennsylvania Av                Suite 215           Kansas City                  MO           64111       $           200.00 Customer Contract

Kruegel Commercial            6392 Bluebird Ct                                        Longmont                     CO           80503       $           127.00 Customer Contract

KUHN, DAVID                   3891 RIDGEWOOD DR                                       HILLARD                      OH           43026       $               -   Employee                Unliquidated

KULLA, LINDSAY                644 AMSTERDAM AVE, 2C                                   NEW YORK                     NY           100257453   $               -   Employee                Unliquidated

KUONI, KATHERINE              2205 NE MERCHISON LANE                                  BLUE SPRINGS                 MO           64014       $           297.78 Employee                 Unliquidated

KURTZ, BRYAN                  9411 NE 90TH ST                                         KANSAS CITY                  MO           64157       $               -   Employee                Unliquidated

Kurz Group, Inc               8333 Douglas Ave                    Suite 1370, LB-21   Dallas                       TX           75225       $           740.05 Customer Contract
Kuyrkendall & Company RE
Svcs                          12040 Colwick                                           San Antonio                  TX           78216       $           780.00 Customer Contract
KW Com N Raleigh- Bright
South                         4700 Homewood Ct                    Ste 200             Raleigh                      NC           27609       $           130.00 Customer Contract

KW Commercial                 4732 Coker Ave                                          Castle Rock                  CO           80134       $           63.50 Customer Contract

KW Commercial                 12150 E 96th St N Ste 100                               Owasso                       OK           74055       $           128.00 Customer Contract
KW Commercial - Advantage
II - Dione' Tamayo-Brady      12301 Lake Underhill Rd., Ste 111                       Orlando                      FL           32828       $           646.00 Customer Contract
KW Commercial - Baxter -
Chris Hogan                   1030 Assembly Drive                                     Fort Mills                   NC           29708       $           180.00 Customer Contract
KW Commercial - Charlotte -
Jonathan Lowe                 8520 Cliff Cameron Dr               Ste 100             Charlotte                    NC           28269       $           450.00 Customer Contract
KW Commercial - Kima
Commercial                    1743 S Main St                                          Wake Forest                  NC           27587       $      1,485.00 Customer Contract
KW Commercial - Madson
Corp                          PO Box 26141                                            Colorado Springs             CO           80936       $           350.00 Customer Contract




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                                                                                                                                                                                      Unliquidated,
         Creditor                             Address                  Address2                 City                State   Zip Code       Total                      Claim Type        Disputed
KW Commercial - Matthew
Hagler                       3430 Toringdon Way                  Ste 101          Charlotte                    NC           28277      $           450.00 Customer Contract
KW Commercial - South Park -
Todd Akers                   5925 Carnegie Blvd                  Ste. 250         Charlotte                    NC           28209      $           450.00 Customer Contract

KW Commercial - Southlake     1570 Nightingale Clr                                Roanoke                      TX           76262      $           356.10 Customer Contract
KW Commercial - Southwest -
Robbie Jensky                 10827 Fletcher Bridge Ln                            Sugar Land                   TX           77498      $      1,350.00 Customer Contract
KW Commercial - Steve
Bamsch                        823 S. Austin Ave,                                  Georgetown                   TX           78626      $           195.00 Customer Contract
KW Commercial - The
Osborne Group                 7001 Center Street                                  Mentor                       OH           44060      $           400.00 Customer Contract
KW Commercial Atlanta
Partners                      710 Newnan Crossing Bypass                          Newnan                       GA           30263      $           290.00 Customer Contract
KW Commercial Mooresville -
Chuck Young                   118 Morlake Road                                    Mooresville                  NC           28117      $           450.00 Customer Contract
KW Commercial Real Estate,
LLC                           2324 E Weatherstone Cir                             Highlands Ranch              CO           80126      $           63.50 Customer Contract
KW Commercial-Dallas
Preston                       18383 Preston Rd                   Suite 150        Dallas                       TX           75252      $           430.10 Customer Contract

KW Realty Commercial Cary 201 Shannon Oaks Circle                Suite 101        Cary                         NC           27511      $           230.00 Customer Contract
KW Realty-Greater Cleveland
W                           30400 Detroit Rd                     Suite 100        Westlake                     OH           44145      $           290.00 Customer Contract

KWC - Atlanta Land Group      804 Town Boulevard                 Ste A2040        Atlanta                      GA           30319      $      4,515.00 Customer Contract

L.H. Layne Company            404 W. Powell Lane                 Suite 202        Austin                       TX           78753      $           328.00 Customer Contract

LACLAIR, SPENCER J            417 N 18TH AVE                                      PHEONIX                      AZ           85007      $               -   Employee                Unliquidated

LACY IV, JUSTIN E             6500 MISTY MORNING DR                               CHARLOTTE                    NC           28212      $      3,645.13 Employee                    Unliquidated
Ladd Real Estate
Management Co                 6 Office Park Circle,              Suite 111        Birmingham                   AL           35223      $           150.00 Customer Contract

LADD, HALSTON MICHAEL         602 SW WHITESTONE DR                                GRAIN VALLEY                 MO           64029      $           460.65 Employee                 Unliquidated

Lafayette Land Company        1005 S. 120th St.                                   Lafayette                    CO           80026      $           128.50 Customer Contract

LaGree Associates, LLC        3000 United Founders Blvd          Suite 200        Oklahoma City                OK           73112      $      2,280.00 Customer Contract

LAIDLEY, KALIE                1119 NE 701 ROAD                                    CONCORDIA                    MO           64020      $               -   Employee                Unliquidated
Lake County Property
Appraiser                     320 W. Main St, Suite A                             Tavares                      FL           32778      $      1,680.00 Customer Contract

Lake Norman Regional EDC      13801 Reese Blvd                   Ste 170          Huntersville                 NC           28078      $           750.00 Customer Contract




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          Creditor                               Address                Address2                 City                State   Zip Code         Total                       Claim Type        Disputed
Lakeside Development
Company                        1500 West Market Street           Suite 200         Mequon                       WI           53092        $           275.00 Customer Contract

LAMB, LORI C                   1715 NW 655 RD                                      KINGSVILLE                   MO           64061        $            61.38 Employee                  Unliquidated

Lambert Realty                 155 East Bridge Street                              Brighton                     CO           80601        $           128.50 Customer Contract

LAMBIRD, RICHARD A             113 NE 6th St                                       BLUE SPRINGS                 MO           64014        $      2,114.26 Employee                     Unliquidated

Land Concepts, Ltd             17350 Morningview Ct                                Brookfield                   WI           53045        $           171.50 Customer Contract
Land Run Commercial Real
Estate                         114 NW 6th St Suite 206                             Oklahoma City                OK           73102        $      3,500.00 Customer Contract

LAND, JASON M                  41269 S FARMHOUSE CIRCLE                            PARKER                       CO           80138        $           892.27 Employee                  Unliquidated

Landmark Brokerage Services 9550 Hickman Road                    Suite 100         Clive                        IA           50325        $           750.00 Customer Contract
Landmark Comm & Res
Properties                  3490 Shallowford Rd NE               Ste 310           Atlanta                      GA           30341        $      1,000.00 Customer Contract

Landmark Western               257 Pearl                         Suite 102         Denver                       CO           80203        $           63.50 Customer Contract

Landmark Western II            7537 S.. Ivanhoe Circle                             Englewood                    CO           80112        $           228.60 Customer Contract

Landvestors Group LLC          6141 Lawson Ln                                      Charlotte                    NC           28215        $           270.00 Customer Contract

LANE, BRENDA                   3630 FLAT CREEK DR                                  SEDALIA                      MO           65301        $      2,023.64 Employee                     Unliquidated

LANE, CHAD                     19400 E 37TH TER CT S # 1518                        INDEPENDENCE                 MO           64057                             Employee                Unliquidated

LANE, LAURIE                   807 E Gay St.                                       Warrensburg                  MO           64093        $           217.00 Employee                  Unliquidated

Langer Real Estate             1549 Livingston Avenue            #105              St. Paul                     MN           55118        $           220.00 Customer Contract
Langley Enterprises, Inc dba
Pizel & Associates             PO Box 797503                                       Dallas                       TX           75379-7503   $           195.05 Customer Contract

Larrison & Co.                 10016 W Markham                                     Little Rock                  AR           72205-2130   $           300.00 Customer Contract

LARSEN, STEPHEN ANDREW         412 SE BENT TREE DR                                 BLUE SPRINGS                 MO           64014        $           253.00 Employee                  Unliquidated
LaSeven, Inc. - dba - Torri
Associates                     301 W57th St, Apt 35D                               New York                     NY           10019        $      1,500.00 Customer Contract

LASKY, CASEY                                                                                                                              $           712.50
Lat Purser & Associates, Inc -
Charlotte, NC                  4530 Park Rd                      Ste 410           Charlotte                    NC           28209        $      3,150.00 Customer Contract
LATENDRESSE, NOAH
KENNETH                        200 DOGWOOD ST APT A                                OAK GROVE                    MO           64075        $           243.95 Employee                  Unliquidated




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                                                                                                                                                                                   Unliquidated,
             Creditor                          Address              Address2                 City                State   Zip Code       Total                      Claim Type        Disputed

Laton Ltd.                  9242 E. Evans                                      Denver                       CO           80231      $           63.50 Customer Contract

Latta Realty Inc.           20009 Verlaine Dr                 PO Box 2561      Davidson                     NC           28036      $           450.00 Customer Contract

LAUDER, DANNELLE            1280 WOODS DR                                      SEDALIA                      MO           65301      $      5,025.60 Employee                    Unliquidated
Law and Evans Associates,
Inc.                        721 Cottonwood Dr.                                 Broomfield                   CO           80020      $           63.50 Customer Contract

LawMark Capital Inc.        Six Sixty-Six Walnut, #1540                        Des Moines                   IA           50309      $      1,691.68 Customer Contract

LAYTON, ASHLEY              1503 SE HIGH DR                                    OAK GROVE                    MO           64075      $           112.31 Employee                 Unliquidated

LC Real Estate Group, LLC   1712 Topaz Dr                                      Loveland                     CO           80537      $           340.00 Customer Contract

LDA, Inc                    5784 Lake Forrest Dr              Ste 231          Atlanta                      GA           30328      $      1,000.00 Customer Contract

LE, KRISTINE                5210 ASHLEY WAY                                    SAN JOSE                     CA           95135      $               -   Employee                Unliquidated

LE, NAM                     6784 MARBELLA                                      IRVING                       TX           75039      $               -   Employee                Unliquidated

LE, TYLER                   14145 BARBER ST.                                   WESTMINISTER                 CA           92683      $               -   Employee                Unliquidated

Lead 2 Real Estate Group    7168 Weddington Rd Ste 148                         Concord                      NC           28027      $           450.00 Customer Contract

Lead Bank                   9019 S Highway 7                                   Lee's Summit                 MO           64064      $      1,400.00 Customer Contract

Lead Commercial, LLC        2007 South 1st Street             Suite 102        Austin                       TX           78704      $      1,560.00 Customer Contract
Leavenworth County
Development                 1294 Eisenhower Rd                                 Leavenworth                  KS           66048      $      1,050.00 Customer Contract
Leawood Chamber of
Commerce                    13451 Briar                       Suite 201        Leawood                      KS           66209      $           540.00 Customer Contract

Lechner Realty Group        13421 Manchester Rd               Ste 101          St Louis                     MO           63131      $      4,245.85 Customer Contract

Lee & Associates            999 18th Street                   Suite 901        Denver                       CO           80202      $           762.00 Customer Contract

Lee & Associates - Boise, ID 802 W. Bannock Street            12th Floor       Boise                        ID           83702      $           320.00 Customer Contract
Lee & Associates - Madison -
Blake George                 6430 Bridge Road                 Suite 230        Madison                      WI           53713      $           163.12 Customer Contract

LEE, CHRISTOPHER            719 SOUTH MEADOWBROOK                              GARDNER                      KS           66030      $           441.83 Employee                 Unliquidated

LEE, KELSEY NOELLE          709 NE BRIGHT LN                                   BLUE SPRINGS                 MO           64014      $               -   Employee                Unliquidated

LEE, VENESSA                212 LAURA ST                                       LIBERTY                      MO           64068      $      1,207.00 Employee                    Unliquidated




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          Creditor                               Address                  Address2                 City                State   Zip Code         Total                      Claim Type        Disputed

LEHR, GAGE                    1104 NW ARLINGTON PL APT 6                             BLUE SPRINGS                 MO           64015        $      1,078.72 Employee                    Unliquidated

Leitman Perlman, Inc.         2856 18th Street S.                                    Homewood                     AL           35209        $           250.00 Customer Contract
Lenexa Chamber of
Commerce                      11180 Lackman Rd                                       Lenexa                       KS           66219        $           730.00 Customer Contract

LESESNE, BILLY LEON           3524 FOOTHILL BLVD APT #1                              OAKLAND                      CA           94601        $               -   Employee                Unliquidated
Leuthold Commercial
Properties                    111 Gilpin St.                                         Denver                       CO           80218        $           162.00 Customer Contract

Levstik & Associates LLC      7726 Torrey Court                                      Arvada                       CO           80007        $           797.85 Customer Contract

Levy Commercial Realty, LLC P.O. Box 38466                                           Germantown                   TN           38183-0466   $           150.00 Customer Contract

Levy Realty Advisors          4901 NW 17th Way, Suite 103                            Ft. Lauderdale               FL           33309        $           500.00 Customer Contract

LEWIS, DIANNA KAY             3621 DITZLER AVE                                       KANSAS CITY                  MO           64133        $               -   Employee                Unliquidated

LEWIS, NATALIE                2908 NW BRISTOL CT                                     BLUE SPRINGS                 MO           64015        $           136.17 Employee                 Unliquidated

LEWIS, SAMUEL                 8 NORDEN PL, APT 303                                   NORWALK                      CT           06855        $     12,041.30 Employee                    Unliquidated
Liberty Property Limited
Partnership                   16479 N. Dallas Parkway             Ste 360            Addison                      TX           75001        $      2,150.50 Customer Contract

Liberty Property Trust        1900 South Blvd, Suite 302                             Charlotte                    NC           28203        $           450.00 Customer Contract

Liberty Property Trust        25 NW Point Blvd, Ste 550                              Elk Grove Village            IL           60007        $      1,815.00 Customer Contract

Liberty Township EDC          7162 Liberty Centre Dr              Ste A              Liberty Township             OH           45069        $           265.50 Customer Contract

LIEBERSOHN, TAYLOR H          1 LAUREL LANE                                          CHAPPAQUA                    NY           10514        $      2,088.13 Employee                    Unliquidated

Lighthouse Realty Services    4440 PGA Blvd                       Suite 600          Palm Beach Gardens           FL           33410        $           150.00 Customer Contract

Lillibridge Healthcare Service 3545 Olentangy River Rd.           Suite 16           Columbus                     OH           43214        $      1,278.75 Customer Contract
Lillibridge Healthcare
Services                       200 Medical Park Drive             Suite 240          Concord                      NC           28025        $           450.00 Customer Contract
Lincoln County Economic
Development Association        502 East Main Street                                  Lincolnton                   NC           28092        $           900.00 Customer Contract

Lincoln Harris                4725 Piedmont Row Dr                Ste 800            Charlotte                    NC           28210        $      5,850.00 Customer Contract

Lincoln Harris                5400 Trinity Rd Suite 200                              Raleigh                      NC           27607        $           260.00 Customer Contract

Lincoln Harris CSG            5400 LBJ Freeway                    Suite 700          Dallas                       TX           75240        $      1,431.45 Customer Contract




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           Creditor                                Address                   Address2                    City              State   Zip Code         Total                      Claim Type        Disputed

Lincoln Property Company        2000 S Colorado Blvd                   Annex, Suite 300   Denver                      CO           80222        $           514.00 Customer Contract

LINDHORST, BRENDAN              9130 W 124TH ST APT 226                                   OVERLAND PARK               KS           66213        $               -   Employee                Unliquidated

Lindsey & Associates-Rogers 3801 W Walnut                                                 Rogers                      AR           72756        $           600.00 Customer Contract
Lindsey & Associates-See
Notes                       1200 E Joyce Blvd                                             Fayetteville                AR           72703        $           750.00 Customer Contract

LINDSEY, ASHLEY                 3913 SW WASHINGTON DR                                     BLUE SPRINGS                MO           64014        $           423.99 Employee                 Unliquidated

LINEBERGER, RALPH               3806 SELWYN FARMS LANE APT 3                              CHARLOTTE                   NC           28209        $               -   Employee                Unliquidated

LINHARDT-GEIB, MICHELLE         1400 NW DEER RUN TRAIL                                    BLUE SPRINGS                MO           64015        $      1,183.90 Employee                    Unliquidated

LINTZEN, CHRISTIAN              953 SW CLARK RD APT G                                     BLUE SPRINGS                MO           64014        $               -   Employee                Unliquidated
Linville Real Estate Services
LLC                             10925 Winterbourne Ct                                     Charlotte                   NC           28277        $           110.00 Customer Contract

LIPOWICZ, CHRIS                 145 4TH AVENUE APT 16L                                    NEW YORK                    NY           10003        $               -   Employee                Unliquidated

LIPOWICZ, NATHAN                1005 SW 44TH ST                                           BLUE SPRINGS                MO           64015        $     26,922.00 Employee                    Unliquidated

LITTRELL, DANIELLE              302 S. VINE ST                                            HOLDEN                      MO           64040        $               -   Employee                Unliquidated

Live Oak                        2705 Bee Caves Road                    Suite 230          Austin                      TX           78746-5685   $      1,875.00 Customer Contract
Livingston Real Estate &
Development                     736 Whalers Way, Building G, Ste 201                      Fort Collins                CO           80525        $           340.00 Customer Contract

Local-n-Global Realty           5225 Warrensville Center Rd                               Maple Heights               OH           44137        $           175.00 Customer Contract

LOCKHART, PABLO                 6922 NARROWS AVE                                          BROOKLYN                    NY           11209        $               -   Employee                Unliquidated

Lockwood Realty                 12910 Pierce Street                    Suite 110          Omaha                       NE           68144        $           369.70 Customer Contract
Locus Real Estate Advisors -
Ed McAfee                       3 Union Street S                       Ste 210            Concord                     NC           28025        $           800.00 Customer Contract

Loeb Properties, Inc.           825 Valleybrook Dr                                        Memphis                     TN           38120        $      7,692.30 Customer Contract

Logan Capital             14800 Quorum Dr                              Suite 330          Dallas                      TX           75254        $           195.05 Customer Contract
Lolyn Financial dba
Community Bank of Raymore 801 W Foxwood Drive                          PO Box 200         Raymore                     MO           64083        $           427.50 Customer Contract

London Commercial Group         20445 Soaring Wing Drive                                  Colorado Springs            CO           80908        $               -   Customer Contract
Lone Star College -
PO#0000042988                   5000 Research Forest Drive                                The Woodlands               TX           77381        $           500.00 Customer Contract




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                                                                                                                                                                                       Contingent,
                                                                                                                                                                                      Unliquidated,
            Creditor                              Address               Address2                 City               State   Zip Code       Total                      Claim Type        Disputed

LONG, MATTHEW                  503 NE KNOX ST., D                                  BLUE SPRINGS                MO           64014      $      1,696.80 Employee                    Unliquidated

Longbow Real Estate Group 11701 Bee Caves Road                   Suite 250         Austin                      TX           78738      $      1,804.00 Customer Contract
Longbow Real Estate Group -
Kunal Someshawar            11701 Bee Caves Rd                   #250              Austin                      TX           78738      $               -   Customer Contract

Longmont Partners              1067 S Hover St                   Suite E-113       Longmont                    CO           80501      $           63.50 Customer Contract
LONGSHORE-BAUZA,
SHANNON                        13 CRESTWOOD DRIVE                                  ONEONTA                     AL           35121      $           584.85 Employee                 Unliquidated

LOPEZ, RITA PATRICIA           7925 RIO VISTA DRIVE                                WOODWAY                     TX           76712      $               -   Employee                Unliquidated

Lorain County Auditor          226 Middle Ave Second Floor                         Elyria                      OH           44035      $      1,200.00 Customer Contract
Lorain County Community
Development                    226 Middle Ave                                      Elyria                      OH           44035      $      3,000.00 Customer Contract
Los Angeles County c/o GIS
Planning                       One Hallidie Plaza, Suite 760                       San Francisco               CA           94102      $     12,000.00 Customer Contract

Love your Hood                 3080 Larimer Street                                 Denver                      CO           80205      $           98.50 Customer Contract

LOVE, ANGELA                   4805 APPLETON AVE                                   KANSAS CITY                 MO           64133      $           340.85 Employee                 Unliquidated

LOVELACE, FELICIA              33109 E TRUMAN RD                                   GRAIN VALLEY                MO           64029      $           129.89 Employee                 Unliquidated
LSI commercial Real Estate -
Earl Amaya                     8026 Vantage Dr                   Suite 229         San Antonio                 TX           78230      $           185.00 Customer Contract

Lucero & Company               2195 Decatur Street                                 Denver                      CO           80211      $           98.50 Customer Contract
LUECHTEFELD, KAITLIN
RENEE                          603 1/2 SE 4TH TERRACE                              LEES SUMMIT                 MO           64063      $               -   Employee                Unliquidated

Luetkenhaus Properties         210 Silent Meadow Dr                                Lake St Louis               MO           63367      $           153.00 Customer Contract

Luetkenhaus Properties         410 Crestview Dr                                    O'Fallon                    MO           63366      $           170.00 Customer Contract

LUJAN, LINDA                   9713 E 65TH STREET                                  RAYTOWN                     MO           64133      $      3,669.66 Employee                    Unliquidated

LUKES, AMY                     335 E 51ST STREET #LC                               NEW YORK                    NY           10022      $      2,777.93 Employee                    Unliquidated

Lumpkin Development            100 Metro Pkwy                                      Birmingham                  AL           35124      $      1,620.00 Customer Contract

LUNA, MONIQUE                  5714 JILLSON ST                                     COMMERCE                    CA           90040      $               -   Employee                Unliquidated

Luterbach                      2880 S 171st St                                     New Berlin                  WI           53151      $      1,180.80 Customer Contract

Luxemberg Realty               3614 Reavis Barracks Rd                             St Louis                    MO           63125      $           170.00 Customer Contract




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                                                                                                                                                                                      Contingent,
                                                                                                                                                                                     Unliquidated,
          Creditor                             Address               Address2                 City               State   Zip Code         Total                      Claim Type        Disputed

M. David Properties         6707-C Fairview Road                                Charlotte                   NC           28210        $           110.00 Customer Contract

MA, YUEJIA                  2044 S BON VIEW AVE, APT F                          ONTARIO                     CA           91761        $               -   Employee                Unliquidated

MABERRY, HEATHER            1927 S HAWTHORNE AVE                                INDEPENDENCE                MO           64052        $               -   Employee                Unliquidated

MABREY, AMANDA              103 SW 14TH ST                                      OAK GROVE                   MO           64075        $               -   Employee                Unliquidated

MacLaurin Williams, LLC     9233 Park Meadows Drive          Suite 155          Lone Tree                   CO           80124-5426   $           63.50 Customer Contract

MacTaggart & Mosier, Inc.   40 S. Allison St                                    Lakewood                    CO           80226        $           63.50 Customer Contract
Maddux and Company -
Joseph Weston               7250 SW 39th Terrace                                Miami                       FL           33155        $           450.00 Customer Contract

Madison County Tax Assessor 100 Northside Square                                Huntsville                  AL           35801        $           700.00 Customer Contract

MAGGARD, KATHARINE          505 ELIZABETH ST                                    GRAIN VALLEY                MO           64029        $               -   Employee                Unliquidated

Magnolia Hotels             818 17th St                                         Denver                      CO           80202        $           327.00 Customer Contract

Magnum Properties           1703 Glenmere Blvd.                                 Greeley                     CO           80631        $           127.00 Customer Contract

Magnum Realty, Inc.         11550 I Street                   Suite 200          Omaha                       NE           68137        $           370.00 Customer Contract

MAHON, MELISA               541 NE NEWPORT DR                                   LEES SUMMIT                 MO           64064        $               -   Employee                Unliquidated
Majestic Realty Co -Rod
Martin                      4050 W Sunset Road               Ste H              Las Vegas                   NV           89118        $           650.00 Customer Contract

Majestic Realty Co.         20100 E. 32nd Parkway            Suite 150          Aurora                      CO           80011        $           63.50 Customer Contract

MALONE, ROBERT              205 SW ROCKWOOD                                     BLUE SPRINGS                MO           64014        $      1,255.41 Employee                    Unliquidated

MALOTT, BRANDY BROOKE       11497 S. LAKECREST DRIVE                            OLATHE                      KS           66061        $      2,032.69 Employee                    Unliquidated

Manning Properties          26 Powder Springs St                                Marietta                    GA           30061        $      4,410.00 Customer Contract

MANNING, NIKKIA             708 NW CAMELOT PLACE                                BLUE SPRINGS                MO           64015        $           243.90 Employee                 Unliquidated

MANNON, DIMONE              8616 CORRINGTON AVENUE                              KANSAS CITY                 MO           64138        $               -   Employee                Unliquidated

Manor Brokerage, LLC        3270 Hampton Ave                 Ste 100            St Louis                    MO           63139        $           153.00 Customer Contract

MAPLES, JENNIFER            810 RUTH ANN DR                                     SEDALIA                     MO           65301        $      1,858.57 Employee                    Unliquidated
Marcum Commercial
Advisors                    4860 Robb St                     Suite 207          Wheat Ridge                 CO           80033        $           635.00 Customer Contract




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         Creditor                                 Address             Address2                 City               State   Zip Code       Total                      Claim Type        Disputed
Maricopa Association of
Governments                  302 North 1st Ave                  Ste 300          Phoenix                     AZ           85003      $      2,100.00 Customer Contract

Mark F. Taggart              942A Freeway Drive N                                Columbus                    OH           43229      $           100.00 Customer Contract

Mark V. Commercial, Inc.     1320 Village Creek                 Suite 200        Plano                       TX           75093      $           442.65 Customer Contract
Marketing Directions, Inc
(City of Middleburg Heights) 28005 Clemens Road                                  Cleveland                   OH           44145      $      1,050.00 Customer Contract

MARKS, AYESHA                21304 E 51ST ST                                     BLUE SPRINGS                MO           64015      $               -   Employee                Unliquidated

MAROVICH, TODD               662 GOLD VALLEY PASS                                CANTON                      GA           30114      $      9,248.66 Employee                    Unliquidated

MARSHALL, SHAPREE            900 WESTWOOD DRIVE A14                              SEDALIA                     MO           65301      $               -   Employee                Unliquidated

MARTIN, KIRSTEN NICOLE       15370 E. 45TH PLACE S                               INDEPENDENCE                MO           64055      $           174.15 Employee                 Unliquidated

MARTIN-BOWMAN, LISA          372 DRYAD LANE                                      WOODBURY                    TN           37190      $               -   Employee                Unliquidated

Martine Properties           315 S Congress Ave                 Ste 200          Austin                      TX           78704      $           562.50 Customer Contract
MARTINEZ, CRYSTAL
MONIQUE                      2802 KINNOW PL                                      ROWLAND HEIGHTS             CA           91748      $           426.19 Employee                 Unliquidated

Marty McCabe                 1790 S Brentwood Blvd                               St Louis                    MO           63144      $               -   Customer Contract

MASLIAH, MARK                868 WEST KNOLL DR APT 15                            WEST HOLLYWOOD              CA           90069      $               -   Employee                Unliquidated

MASONER, RICHARD             2126 SW MOSER RD                                    DEKALB                      MO           64440      $      5,285.24 Employee                    Unliquidated

Masters-Hall Appraisal       P.O. Box 620298                                     Middleton                   WI           53562      $           390.00 Customer Contract

MATHEWS, BRENDON             1615 NE Oaktree Dr                                  LEES SUMMIT                 MO           64086      $           591.80 Employee                 Unliquidated

MATOS, GENEVIEVE I           1645 STRATHMORE CIR                                 MOUNT DORA                  FL           32757      $               -   Employee                Unliquidated

Matrix Group, Inc.           1805 S Bellaire St                 Ste 400          Denver                      CO           80222      $           57.15 Customer Contract

Matrix Holdings              3814 West St., Ste100                               Cincinnati                  OH           45227      $      3,475.00 Customer Contract

Matthew Kyle Winters          1127 Willhaven Dr.                                 Charlotte                   NC           28211      $           825.00 Customer Contract
Maury L. Carter & Associates,
Inc.                          3333 S Orange Ave, Suite 200                       Orlando                     FL           32806      $      3,780.00 Customer Contract

Maverick Commercial RE       1110 East Collins Blvd             Ste 138          Richardson                  TX           75081      $           990.30 Customer Contract

Maxfield Research Inc.       7575 Golden Valley Road            Suite 385        Golden Valley               MN           55427      $           990.00 Customer Contract




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         Creditor                               Address                 Address2                  City               State   Zip Code       Total                      Claim Type        Disputed
Maxwell Realty Consulting
Serv                        8301 Lodgepole Trail                                   Littleton                    CO           80124      $           63.50 Customer Contract

MAXWELL, JUSTIN             1830 NEW JERSEY AVE                                    KANSAS CITY                  KS           66102      $     10,930.02 Employee                    Unliquidated

MAY, VICTORIA               205 E 26TH STREET                                      SEDALIA                      MO           65301      $      1,589.85 Employee                    Unliquidated

MB Basham & Associates      1499 Blake St.                        Suite 1F         Denver                       CO           80202      $           257.00 Customer Contract

MB Basham Investments       1499 Blake St.                        Suite 1F         Denver                       CO           80202      $           128.50 Customer Contract

MB Ledingham & Company      4266 S Cole St                                         Morrison                     CO           80465      $           63.50 Customer Contract

MB Metroplex                10660 E. Bethany Dr.                  Building 2       Aurora                       CO           80014      $           63.50 Customer Contract

MB Moore Properties         2549 S Fundy Circle                                    Aurora                       CO           80013      $           63.50 Customer Contract

MB Park Place Brokers       11150 Huron Street                    Suite 100        Northglenn                   CO           80234      $           374.28 Customer Contract

MB Real West Properties     7828 Vanc Drive                       Suite 201        Arvada                       CO           80003      $           63.50 Customer Contract

MB Shaddox & Co.            11941 W 48th Ave                      Ste 100          Wheatridge                   CO           80033      $           354.60 Customer Contract

MB- VP & Associates         17061 Moorside Dr                                      Parker                       CO           80134      $           127.00 Customer Contract

MC Commercial Real Estate   4155 E Jewell Ave                     Ste 607          Denver                       CO           80222      $           63.50 Customer Contract
McArthur-Sanders Real
Estate                      1619 Galleria Blvd                                     Brentwood                    TN           37027      $           390.00 Customer Contract

MCCARTHY, EDWARD CAIRO 607 FRANKLIN                                                HINSDALE                     IL           60521      $      2,206.44 Employee                    Unliquidated

MCCARTY, NICOLLE            5230 VILLA MAR DRIVE, #1918                            ARLINGTON                    TX           76017      $               -   Employee                Unliquidated

McCloud and Associates      20440 Oakbrook Lane                                    Parker                       CO           80138      $           975.15 Customer Contract

McClure Partners            PO Box 802047                                          Dallas                       TX           75380      $      3,917.10 Customer Contract

MCCRARY, SIDNEY LANIER      2811 SHADWELL DRIVE                                    REYNOLDSBURG                 OH           43068      $           424.06 Employee                 Unliquidated

MCCULLOCH, THOMAS           20805 EAST MCHENRY ST                                  INDEPENDENCE                 MO           64057      $           340.03 Employee                 Unliquidated

MCCUNE, ANGELA              101 E MYRTLE ST.                                       PLEASANT HILL                MO           64080      $           773.87 Employee                 Unliquidated
MCDANIEL, ANDREW
HAYWOOD                     5800 VINE RIDGE DRIVE                                  NASHVILLE                    TN           37205      $      2,370.67 Employee                    Unliquidated

McDonald Development Co. 3715 Northside Pky NW Bldg 200 Ste 700                    Atlanta                      GA           30327      $           225.00 Customer Contract




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          Creditor                           Address               Address2                 City                State   Zip Code       Total                      Claim Type        Disputed

MCGEE, TIMOTHY             9551 E REDFIELD ROAD #1009                         SCOTTSDALE                   AZ           85260      $               -   Employee                Unliquidated

McGill Company, Inc.       1404 Cornell Rd                                    Atlanta                      GA           30306      $           130.00 Customer Contract

MCGINNIS, KELLIE           202 VALLEY DR                                      GRAIN VALLEY                 MO           64029      $      1,513.52 Employee                    Unliquidated

MCGOWAN, DEBRA             5216 NW 82ND TERRACE                               KANSAS CITY                  MO           64151      $               -   Employee                Unliquidated

MCGRADY, JASON             740 NEW BRIDGE DR                                  KYLE                         TX           78640      $      2,728.54 Employee                    Unliquidated
McGraw Commercial
Properties - Cara Leigh    4105 S Rockford Ave                                Tulsa                        OK           74105      $           576.00 Customer Contract

McGraw, REALTORS           PO Box 425                                         Bixby                        OK           74008      $           150.00 Customer Contract

McGregor Interests, Inc.   11750 Stonegate Circle                             Omaha                        NE           68164      $           329.30 Customer Contract

McIntyre Commercial        1966 W 139th Terr                                  Leawood                      KS           66224      $           800.00 Customer Contract

MCINTYRE, CHELSEA          303 E ARCTIC ST                                    KINGSVILLE                   MO           64061      $               -   Employee                Unliquidated

MCKAY, NATHAN WILLIAM      16505 E 29th Ter S                                 Independence                 MO           64055      $           526.26 Employee                 Unliquidated

MCKAY, STEPHANIE LYNN      456 SW T HIGHWAY                                   HOLDEN                       MO           64040      $               -   Employee                Unliquidated
McKimmey Associates,
Realtors                   5317 John F. Kennedy                               North Little Rock            AR           72116      $           300.00 Customer Contract

McKinney EDC               5900 S Lake Forest Dr #110                         McKinney                     TX           75070      $      7,827.34 Customer Contract

MCLANAHAN, NICOLE          1275 SW 125TH RD                                   HOLDEN                       MO           64040      $               -   Employee                Unliquidated
MCLAUGHLIN, KAYCEE
MICHELLE                   1013 GINGERBREAD LANE                              BLUE SPRINGS                 MO           64014      $           356.81 Employee                 Unliquidated

MCLELLAND, JONATHAN        799 KIRKWOOD AVE SE                                ATLANTA                      GA           30316      $      1,102.11 Employee                    Unliquidated

McLoud & Company, LLC      1949 E Sunshine St                                 Springfield                  MO           65804      $           136.60 Customer Contract

MCNALLY, LYNDA             143 NW MONROE CIR N                                ST PETERSBURG                FL           33702      $               -   Employee                Unliquidated

McNiel & Company           2319 Crestmoor Rd, Suite 202                       Nashville                    TN           37215      $      1,755.00 Customer Contract

MCQUOWN, JENNIFER MAE      16901 W. 84TH STREET                               LENEXA                       KS           66219      $           884.58 Employee                 Unliquidated

MCQUOWN, JEREMY            16901 W 84TH ST                                    LENEXA                       KS           66219      $      6,805.51 Employee                    Unliquidated

McWaters & Associates      2851 Stage Village Lane           Suite 2          Bartlett                     TN           38134      $           300.00 Customer Contract




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          Creditor                               Address             Address2                 City               State   Zip Code         Total                      Claim Type        Disputed

MCWILLIAMS, MICHELLE L       809 NE COUNTRY LANE                                LEES SUMMIT                 MO           64086        $               -   Employee                Unliquidated

MD Real Estate Advisors      16 Sunnen Dr                      Suite 164        St Louis                    MO           63143-3815   $           85.00 Customer Contract

MDL Group                    3065 S Jones Blvd                 Ste 201          Las Vegas                   NV           89146        $           687.50 Customer Contract
MDLCO LLC - Medallion
Mgmnt                        1500 Guilford                                      Nichols Hills               OK           73120        $           185.00 Customer Contract

MEADOR, JAMIE LEE            205 SE KEYSTONE DR                                 LEES SUMMIT                 MO           640633434    $           183.32 Employee                 Unliquidated

Mecklenburg County Tax       600 East Fourth Street                             Charlotte                   NC           28202        $           600.00 Customer Contract

Medina County Auditor        144 N Broadway St                                  Medina                      OH           44256        $      2,700.00 Customer Contract

Medoc Properties, Inc.       4949 Broadway                     Suite 205        Boulder                     CO           80304        $           63.50 Customer Contract
MedSouth Healthcare
Properties                   5950 Fairview Road                Ste 405          Charlotte                   NC           28210        $           540.00 Customer Contract

MEHNER, HEATHER              4517 N. WHITE AVE.                                 KANSAS CITY                 MO           64117        $               -   Employee                Unliquidated

MEISENHEIMER, MARYBEL        510 BRANARD ST # 7                                 HOUSTON                     TX           77006        $      1,605.18 Employee                    Unliquidated

Meissner Associates          P.O. Box 880502                                    Streamboat Springs          CO           80488        $           265.95 Customer Contract

MEJIA, STEFANIE A            118 E BROADWAY ST                                  GRAIN VALLEY                MO           64029        $           330.54 Employee                 Unliquidated

Melo Real Estate             605 W Flagler Street                               Miami                       FL           33130        $           205.00 Customer Contract

MERCER, BRANDON              25 WEST ST                                         MILFORD CENTER              OH           43045        $               -   Employee                Unliquidated

MERCER, MARY ELLEN           1870 TENNESSEE AVE                                 KANSAS CITY                 MO           64126        $               -   Employee                Unliquidated

Merchants & Farmers Bank     P.O. Box 187                                       Dumas                       AR           71639        $           600.00 Customer Contract
Meridian Development
Group                        3450 Buschwood Park Dr                             Tampa                       FL           33618        $           200.00 Customer Contract

Merit Properties             417 East Boulevard, Suite 405                      Charlotte                   NC           28203        $           450.00 Customer Contract

MERSHON, AIMEE               1709 SW WHITE OAK LANE                             BLUE SPRINGS                MO           64015        $           687.52 Employee                 Unliquidated
Met Center NYCTEX Phase II
Ltd                          901 Rio Grande                    Suite 200        Austin                      TX           78701        $           184.00 Customer Contract

Metier LLC                   PO Box 648                                         Milwaukee                   WI           53202        $           187.50 Customer Contract

Metro Little Rock Alliance   One Chamber Plaza                                  Little Rock                 AR           72201-1618   $      1,500.00 Customer Contract




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          Creditor                                Address                   Address2                 City               State   Zip Code        Total                      Claim Type        Disputed

Metroplex Realtors, Inc.      10660 E. Bethany Drive              Bldg. 2              Aurora                      CO           80014       $           127.00 Customer Contract

Metropolitan Appraisers       3534 S. Lincoln Street                                   Englewood                   CO           80113       $           257.00 Customer Contract

Metropolitan Capital Advisors 8490 E Crescent Parkway             Suite 210            Greenwood Village           CO           80111       $      1,000.00 Customer Contract
Metropolitan Holdings
Limited                       1433 Grandview Ave                                       Columbus                    OH           43212       $           181.50 Customer Contract

MEYER, JULIE                  2508 MAPLEWOOD LANE                                      SEDALIA                     MO           65301       $      1,050.06 Employee                    Unliquidated

MEYER, KENDALL JOE            3054 N 1ST ST                                            MILWAUKEE                   WI           53212       $      1,004.85 Employee                    Unliquidated

MEZZACASA, JENNIFER           11315 HIGHRIDGE DR                                       INDEPENDENCE                MO           64052       $      5,179.30 Employee                    Unliquidated

Michael Biddinger Real Estate 12020 N Pennsylvania Ave                                 Oklahoma City               OK           73120       $           175.00 Customer Contract

Michael Bloom Realty          300 S. Jackson St                   Suite 440            Denver                      CO           80209       $           192.00 Customer Contract

Michael Lightman Realty Co    5100 Poplar Avenue                  Suite 2602           Memphis                     TN           38137       $      1,650.00 Customer Contract

MidAmerica Industrial Park 4075 Sanders Mitchell St                                    Pryor Creek                 OK           74361       $      2,100.00 Customer Contract
Middleton Area Development
Corporation                7426 Hubbard Avenue                                         Middleton                   WI           53562       $      2,500.00 Customer Contract

MIDDLETON, CAITLIN            309 SW WEBSTER DR                                        BLUE SPRINGS                MO           64014       $      2,300.64 Employee                    Unliquidated
Midwest Shredding Service,
LLC                           501 N Atlantic                                           Kansas City                 MO           64116       $           60.00 Trade

Miguel Rosales, REALTOR       5210 Spruce St                                           Bellaire                    TX           77401       $           170.00 Customer Contract

Mike Novak                    1499 Blake St.                      Suite 1-F            Denver                      CO           80202       $           285.75 Customer Contract

Mikkelson Builders            1025 W Glen Oaks Lane #202                               Mequon                      WI           53092       $      1,050.00 Customer Contract
Mile High Commercial
Advisors                      181 E. 56th Ave Suite 600                                Denver                      CO           80216       $           531.90 Customer Contract

Miller Development            122 Cherokee Rd                                          Charlotte                   NC           28207       $           275.00 Customer Contract

Miller Properties             15426 W Center Road                                      Omaha                       NE           68144       $           329.30 Customer Contract

Miller Wilkins & Associates   7770 Cooper Rd                      2nd floor, Suite 9   Cincinnati                  OH           45242       $           300.00 Customer Contract

MILLER, ALANA                 10814 DERRYRUSH DRIVE                                    CHARLOTTE                   NC           28213       $               -   Employee                Unliquidated

MILLER, ALEXANDER             16001 E 29TH ST                                          INDEPENDENCE                MO           640553212   $           407.84 Employee                 Unliquidated




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          Creditor                             Address              Address2                  City           State   Zip Code         Total                      Claim Type        Disputed

MILLER, ARIANE N            212 SW NELSON DRIVE                                GRAIN VALLEY                 MO       64029        $           309.76 Employee                 Unliquidated

MILLER, AUDREY              1405 LEXINGTON ST                                  HOLDEN                       MO       64040        $               -   Employee                Unliquidated

MILLER, CHRISTOPHER S       1805 NW 56TH CT                                    KANSAS CITY                  MO       64151        $               -   Employee                Unliquidated

MILLER, JEREMY D            7341 N SHANNON AVE                                 KANSAS CITY                  MO       64152        $      3,400.34 Employee                    Unliquidated

MILLER, JULIE               1619 W 16th St                                     Sedalia                      MO       653016530    $      2,955.57 Employee                    Unliquidated

MILLER, MARISSA             37107 E 179 ST                                     PLEASANT HILL                MO       64080        $           695.52 Employee                 Unliquidated

MILLER, NICOLE MARIE        2550 E. WARD TERRACE #84                           ANAHEIM                      CA       92806        $               -   Employee                Unliquidated
Miller-Valentine Group RE
Serv                        137 N Main Street                Suite 900         Dayton                       OH       45402        $      1,362.75 Customer Contract

MILLIKEN, BOB               1202 PAPAW LN                                      PLEASANT HILL                MO       64080        $      6,185.82 Employee                    Unliquidated
Milwaukee Development
Corp                        756 N Milwaukee                  #400              Milwaukee                    WI       53202        $      3,500.00 Customer Contract
Milwaukee Executive
Realty,LLC                  2266 N Prospect Ave              #600              Milwaukee                    WI       53202        $           343.50 Customer Contract

MINIMAN, MARC JORDAN        126 MANOR STREET                                   PLAINVIEW                    NY       11803        $      1,758.30 Employee                    Unliquidated
Minnesota Commercial Asso
Real                        6600 France Avenue               Suite 485         Edina                        MN       55435        $      1,500.00 Trade

MIRALLES, TABATHA A-M       9816 E 67TH TERRACE APT A                          RAYTOWN                      MO       64133        $               -   Employee                Unliquidated

Mirowitz R.E. Investments   11500 Olive Blvd                 Ste 240           St. Louis                    MO       63141        $           340.00 Customer Contract

MITCHELL, RACHEL            6312 RAYTOWN RD                                    RAYTOWN                      MO       64133        $               -   Employee                Unliquidated
MITCHELL-HOUK, GENEVA
ELAINE                      812 SW STONEHENGE ST                               BLUE SPRINGS                 MO       64015        $           69.60 Employee                  Unliquidated

MJM Enterprises             3647 S. Chase Ave                                  Milwaukee                    WI       53207        $           210.00 Customer Contract

MMIC                        756 Ridge Lake Blvd              Suite 212         Memphis                      TN       38120        $           110.00 Customer Contract

MMS Properties              904 Autumn Rd                                      Little Rock                  AR       72211        $      1,296.00 Customer Contract

Moaqua Ltd-Culligan Water   1220 West Main                                     Sedalia                      MO       65301        $           333.17 Trade

Mock Properties Inc.     P.O. Box 528                                          Denver                       NC       28037        $           275.00 Customer Contract
Mock Property Management
Co.                      P.O. Box 3126                                         Boulder                      CO       80307-3126   $           63.50 Customer Contract




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          Creditor                               Address             Address2                 City               State   Zip Code         Total                      Claim Type        Disputed

MOE, ALICIA                 4415 RAKU COURT                                     CHARLOTTE                   NC           28269        $           95.72 Employee                  Unliquidated

Mohr Partners, Inc.         14643 Dallas Parkway               Suite 1000       Dallas                      TX           75254        $      1,440.60 Customer Contract
Momentum Commercial
Realty Inc                  16610 Dallas Parkway               Xuite 2300       Dallas                      TX           75248        $           142.55 Customer Contract

MONACO, HALEY M             1309 W 30TH STREET S                                INDEPENDENCE                MO           64052        $               -   Employee                Unliquidated

MONEY, KERIN                1116 N INDIAN LANE                                  INDEPENDENCE                MO           64056        $               -   Employee                Unliquidated

MONKS, MONIKA               1420 S Ohio                                         SEDALIA                     MO           65301        $           313.93 Employee                 Unliquidated

Monte L Tinkham Properties 4055 Westheimer Rd                  Ste 370          Houston                     TX           77027        $           875.00 Customer Contract

Moody Holdings, Inc         6201 Fairview Rd., Ste 200                          Charlotte                   NC           28210        $           180.00 Customer Contract
Moore County Tax
Department                  Po Box 457                                          Carthage                    NC           28327        $      3,200.00 Customer Contract

MOORE, JAMES                4265 LOCH HIGHLAND PASS NE                          ROSWELL                     GA           30075        $      3,326.40 Employee                    Unliquidated

MOORE, SARAH GAYLE          11805 LAWNDALE AVE                                  KANSAS CITY                 MO           64137        $           241.65 Employee                 Unliquidated
Mooresville-South Iredell
Economic Dev                151 E Iredell Ave.                                  Mooresville                 NC           28115        $           750.00 Customer Contract

MOREY, LAURA                402 E 13TH                                          SEDALIA                     MO           65301        $           207.73 Employee                 Unliquidated

Morgan Realty Co.           4 Pennsylvania St                                   Denver                      CO           80203-4115   $           63.50 Customer Contract

MORGAN, ALTHEA              2731 NE KENDALLWOOD PKWY #4                         GLADSTONE                   MO           64119        $           287.36 Employee                 Unliquidated

MORGAN, CARLA               3203 SW IRON CREEK DR                               BLUE SPRINGS                MO           64051        $      3,988.38 Employee                    Unliquidated

MORGAN, KOREE ALLYN         1725 SE CARDINAL DRIVE                              BLUE SPRINGS                MO           64014        $           379.50 Employee                 Unliquidated

Morris Auction Group        2133 Whitten Road                                   Memphis                     TN           38133        $           60.50 Customer Contract

MORRIS, DAVID               3 YORK HILLS DRIVE                                  BRENTWOOD                   MO           63144        $      5,291.80 Employee                    Unliquidated

MORRIS, JEAN MARIE          1953 FOX COURT                                      WELLINGTON                  FL           33414        $           826.44 Employee                 Unliquidated

MORRIS, MARCUS A.           582 WEST 183RD STREET APT 4R                        NEW YORK                    NY           10033        $      1,465.48 Employee                    Unliquidated

MORRIS, PETER               1953 FOX COURT                                      WELLINGTON                  FL           33414        $      4,832.19 Employee                    Unliquidated

MORRISET, EMYLI LYNN        908 E 2ND SR                                        HOLDEN                      MO           64040        $               -   Employee                Unliquidated




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                                                                                                                                                                                                 Unliquidated,
          Creditor                                Address                         Address2                  City             State   Zip Code         Total                      Claim Type        Disputed

Morrison Appraisal            613 Euclind Street                                             Monroe                     NC           28110        $           180.00 Customer Contract

MORRISON, MERCEDES            31176 PACIFIC SCHOOL RD                                        MORA                       MO           65345        $               -   Employee                Unliquidated

MORRISON, TOBIAS              1705 YALE PL                                                   ROCKVILLE                  MD           20850        $               -   Employee                Unliquidated

Morrissey Appraisal Services 20645 Roundup Circle                                            Omaha                      NE           68022-2116   $           317.20 Customer Contract
Morton Commercial Real
Estate Services              3663 Grand Ave                                 Ste 708          Des Moines                 IA           50312        $           275.00 Customer Contract

Moses Tucker Real Estate      200 River Market Ave                          Suite 501        Little Rock                AR           72201        $      2,015.00 Customer Contract
Mountain Mngmt & Real Est,
Inc                           20148 Royal Troon Dr                                           Monument                   CO           80132        $           63.00 Customer Contract
Mountain View Bank of
Commerce                      12365 Huron St Ste 1600                                        Westminster                CO           80234        $           425.00 Customer Contract
Mountain View Properties
Realty LLC                    11150 Huron St., Ste 100                                       Northglenn                 CO           80234        $           127.00 Customer Contract
Mountain West Commercial
Real Estate - Jeff Mitchell   241 W. Charlston Blvd, Suite 103                               Las Vegas                  NV           89103        $      1,170.00 Customer Contract

Mountains-n-Plains, Inc.      375 E. Horsetooth Rd. Building 3, Suite 100                    Fort Collins               CO           80525        $           255.00 Customer Contract

MPI Services, LLC             1043 East Morehead Street                     Ste 301          Charlotte                  NC           28204        $           180.00 Customer Contract

MPV Properties                2400 South Blvd                               Suite 300        Charlotte                  NC           28203        $      7,525.00 Customer Contract

MULLER, LISA                  2901 NE WESTON CIRCLE                                          BLUE SPRINGS               MO           64014        $           848.12 Employee                 Unliquidated

Mullins Group LLC             401 N Carroll St                                               Madison                    WI           53703        $      1,340.00 Customer Contract

MUMM, TRENT                   9553 WILLOW BRANCH ROAD                                        HIGGINSVILLE               MO           64037        $           178.09 Employee                 Unliquidated

MUNDEN, RANDALL JAMES         7807 E 68TH ST                                                 KANSAS CITY                MO           64133        $               -   Employee                Unliquidated

Murphy Properties, Inc.       11188 E Skelly Dr                                              Tulsa                      OK           74129        $           300.00 Customer Contract

MURPHY, KAYLA                 1213 NE APPLEWOOD ST                                           LEES SUMMIT                MO           64086        $               -   Employee                Unliquidated

Murray Realties, Inc.         7520 NW 5th St. Ste. 102                                       Plantation                 FL           33317        $      3,240.00 Customer Contract

MYERS, CRYSTAL                905 N APACHE DR                                                INDEPENDENCE               MO           64056        $           466.60 Employee                 Unliquidated

MYERS, JAMIE                  5108 NW MARINER CIRCLE                                         BLUE SPRINGS               MO           64015        $           149.25 Employee                 Unliquidated

MYERS, MARK                   602 S BARRETT                                                  SEDALIA                    MO           65301        $           505.80 Employee                 Unliquidated




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                                                                                                                                                                                         Unliquidated,
            Creditor                                Address             Address2                 City                State   Zip Code         Total                      Claim Type        Disputed

N.R. Milian & Associates      PO Box 673                                           Carrboro                     NC           27510        $           800.00 Customer Contract

NA, ISAAC                     6741 LINCOLN AVE, SPACE 74                           BUENA PARK                   CA           90620        $      1,981.98 Employee                    Unliquidated

NADAL, ANDREW AMABLE          343 MAJORCA AVE #TH1                                 CORAL GABLES                 FL           33134        $               -   Employee                Unliquidated

NAI Bergman                   4695 Lake Forest Drive                               Blue Ash                     OH           45242        $      6,000.00 Customer Contract

NAI Capstone                  214 S. First Street                 Suite 202        Rogers                       AR           72756        $           832.50 Customer Contract

NAI Carolantic Realty         5121 Kingdom Way                    Ste 200          Raleigh                      NC           27607        $      8,160.00 Customer Contract

NAI Cummins Real Estate       787 White Pond Drive, Ste C                          Akron                        OH           44320        $      1,400.00 Customer Contract

NAI Daus - Cleveland          23240 Chagrin Blvd                  Ste 250          Cleveland                    OH           44122        $      1,980.00 Customer Contract

NAI NP Dodge Real Estate      12915 West Dodge Road                                Omaha                        NE           68154        $      1,620.00 Customer Contract

NAI Optimum                   3737 Woodland Avenue                Suite 100        West Des Moines              IA           50266        $      1,917.85 Customer Contract

NAI Shames Makovsky           1400 Glenarm                        Suite 100        Denver                       CO           80202        $      3,175.00 Customer Contract

Naifco Realty Co              605 N Tulsa                                          Oklahoma City                OK           73107        $      1,575.00 Customer Contract
NAIOP Central Florida
Chapter                       P.O. Box 530048                                      Orlando                      FL           32853        $           600.00 Trade
Nashville Downtown
Partnership                   150 4th Ave. N                      Suite G150       Nashville                    TN           37219        $      1,100.00 Customer Contract

National Assoc of Realtors    430 N Michigan Ave                                   Chicago                      IL           60611-4087   $      5,970.00 Trade
National Real Estate
Management Corp.              9986 Manchester Road                                 St Louis                     MO           63122        $           237.50 Customer Contract
National Realty of Brevard,
Inc. - Alan King              1331 S. Harbor City Blvd                             Melbourne                    FL           32901        $      1,440.00 Customer Contract
National Realty of Brevard,
Inc. - Jack Ryals             1331 S. Harbor City Blvd                             Melbourne                    FL           32901        $      1,440.00 Customer Contract
National Realty of Brevard,
Inc. - Mel Howard             1331 S. Harbor City Blvd                             Melbourne                    FL           32901        $      1,440.00 Customer Contract

NAUMANN, ASHLEY               608 SAINT CHARLES ST                                 HOLDEN                       MO           64040        $           619.50 Employee                 Unliquidated

NavPoint RE Grp - John Witt   5225 Summerville Cit                                 Castle Rock                  CO           80109        $           94.50 Customer Contract

NavPoint Real Estate Group    3740 Dacoro Lane                    Suite 200        Castle Rock                  CO           80109        $           171.45 Customer Contract

NBKC Bank                     10700 Nall Ave                                       Leawood                      KS           66211        $      1,125.00 Customer Contract




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          Creditor                               Address               Address2                  City               State   Zip Code         Total                      Claim Type        Disputed

NBR-Services Inc             191 E Orchard Rd #A                                  Littleton                    CO           80121        $           98.50 Customer Contract

NEEL, MIRANDA                405 E WEBSTER ST                                     SMITHTON                     MO           65350        $           311.89 Employee                 Unliquidated

NELSON, EBE                  8817 E 85TH STREET                                   RAYTOWN                      MO           64138        $               -   Employee                Unliquidated

NELSON, JACOB REED           20470 BUTTERBAUGH FORD RD                            SEDALIA                      MO           65301        $               -   Employee                Unliquidated

NELSON, MATTHEW              2528 SALERNO                                         NEWPORT BEACH                CA           92660        $      5,605.25 Employee                    Unliquidated

NELSON, SARAH                1906 NW WILLOW DR                                    GRAIN VALLEY                 MO           64029        $               -   Employee                Unliquidated

NERAD, THOMAS                582 NW VALLEYBROOK RD                                BLUE SPRINGS                 MO           64014        $               -   Employee                Unliquidated

NESBITT, ERICA LYNN          826 SW VV HWY                                        CENTERVIEW                   MO           64019        $               -   Employee                Unliquidated

NEVILLE, DYLAN               198 N 25TH ST                                        LEXINGTON                    MO           64067        $               -   Employee                Unliquidated

New Braunfels EDC            390 S. Seguin Ave                                    New Braunfels                TX           78130        $      3,500.00 Customer Contract

New Forum Inc                9224 Kings Parade Blvd            #2101              Charlotte                    NC           28273        $      1,075.00 Customer Contract

New Frontier Bank - Zumbehl 1771 Zumbehl Rd                                       Saint Charles                MO           63303        $           990.00 Customer Contract
New Miami Realty
Commercial                  10950 N Kendall Dr                 Ste 200            Miami                        FL           33176        $           355.14 Customer Contract
New York City Department of
Finance                     PO Box 3933                                           New York                     NY           10008-3933   $     10,764.54 Trade
Newcor Commercial Real
Estate                       10200 Grogans Mill Rd             Ste 175            The Woodlands                TX           77380        $           390.00 Customer Contract
NewHeight Real Estate
Services                     7015 S. Cook Way                                     Littleton                    CO           80122        $           354.60 Customer Contract

Newland Communities          4790 Eastgate Mall                Ste 150            San Diego                    CA           92121        $           260.00 Customer Contract
Newmark Grubb Arkansas -
North                        805 S Walton Blvd                 Suite 690          Bentonville                  AR           72712        $           551.00 Customer Contract

NewOption Partners           1007 Pearl St                     Suite 290          Boulder                      CO           80302        $           137.00 Customer Contract

Newport Leasing              8338 Corporate Drive              Suite 300          Racine                       WI           53406        $           156.00 Customer Contract
Newport Properties -
Commercial Division - John   542 -2 Williamson Road                               Mooresville                  NC           28117        $           450.00 Customer Contract
Newport Properties -
Commercial Division -        PO Box 57                                            Cornelius                    NC           28031        $           180.00 Customer Contract
Newport Properties -
Commercial Division - Mark   542 -2 Williamson Road                               Mooresville                  NC           28117        $           180.00 Customer Contract




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         Creditor                               Address              Address2                City                State   Zip Code        Total                      Claim Type        Disputed
Newton County Office of
Economic Development          2101 Clark St                                     Covington                   GA           30014       $      4,550.00 Customer Contract

Neyer Properties              2135 Dana Ave                    Suite 200        Cincinnati                  OH           45207       $           405.00 Customer Contract

NGO, KENNY TU                 8211 19TH STREET                                  WESTMINSTER                 CA           92683       $      1,127.61 Employee                    Unliquidated

NGUYEN, KEVIN                 3 lorenzo                                         Irvine                      CA           926149261   $               -   Employee                Unliquidated

NGUYEN, NHUKIM                9614 TIMBER MEADOWS DR                            LEES SUMMIT                 MO           64086       $               -   Employee                Unliquidated

Nichols Appraisal Associates 6504 NW 115th                                      Oklahoma City               OK           73162       $           225.00 Customer Contract

NICOLAISEN, NICOLE            2513 NW KINGSRIDGE DR                             BLUE SPRINGS                MO           64015       $               -   Employee                Unliquidated

NIELD, RACHEL                 1700 SE ROYAL STREET                              OAK GROVE                   MO           64075       $               -   Employee                Unliquidated

NILES, ELISABETH              9202 BRIGADOON                                    SAN ANTONIO                 TX           78254       $      3,485.04 Employee                    Unliquidated
Nix & Associates Real Estate,
LLC                           403 Sullivan Street              Suite 114        Punta Gorda                 FL           33950       $           504.00 Customer Contract

NIX, ABIGAIL S                10306 S CORN RD                                   LONE JACK                   MO           64070       $               -   Employee                Unliquidated

Njikam Properties             12416 Saratoga Rd                                 Oklahoma City               OK           73142       $               -   Customer Contract
NMKT Commercial - Jason
McAuliffe                     1308 Morningside Dr                               Charlotte                   NC           28205       $           90.00 Customer Contract

Noble Properties              4280 Professional Center Drive                    Palm Beach Gardens          FL           33410       $               -   Customer Contract

Noble, LLC                    10318 Olde Ivy Way                                Charlotte                   NC           28262       $           450.00 Customer Contract

NOBLE, ROXANNE                28619 VOTING HOUSE RD                             GREEN RIDGE                 MO           65332       $               -   Employee                Unliquidated

NOFFSINGER, JULIE             4711 N HUNTER ROAD                                SIBLEY                      MO           64088       $           961.29 Employee                 Unliquidated
North By Northwest
Properties, LLC               260 Union Square, Suite 206                       Hickory                     NC           28601       $           360.00 Customer Contract

North Ridge Realty Group      5430 West Chester Rd                              West Chester                OH           45069       $           350.00 Customer Contract

NorthPoint Development        4825 NW 41st Street              Suite 500        Riverside                   MO           64150       $      1,980.00 Customer Contract
Northstar Commercial
Partners                      1999 Broadway Ste 770                             Denver                      CO           80202       $           295.50 Customer Contract

NORWOOD, TAMELA               300 E MORGAN                                      SEDALIA                     MO           65301       $           806.90 Employee                 Unliquidated

NOTTINGHAM, BENJAMIN J        110 SAGAMORE TRAIL                                NEW CANAAN                  CT           06840       $      2,342.91 Employee                    Unliquidated




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            Creditor                             Address             Address2                City                State   Zip Code        Total                      Claim Type        Disputed

Nova Property Management 767 S Nova Rd                                          Ormond Beach                FL           32174       $      2,600.00 Customer Contract

NOVAKOVIC, PAVLE              900 N KINGSBURY ST. #1117                         CHICAGO                     IL           60610       $      1,503.31 Employee                    Unliquidated
Novus Commercial Real
Estate                        6000 Fairview Rd                 Ste 1200         Charlotte                   NC           28210       $           275.00 Customer Contract

NOWAK, ANDREW JOHN            5012 SPARKLING SKY AVE                            LAS VEGAS                   NV           89130       $           238.50 Employee                 Unliquidated

NTCAR-P                       600 N Pearl St                   Suite 1900       Dallas                      TX           75201       $           585.00 Trade

NTCDX                         600 N Pearl St                   Suite 1900       Dallas                      TX           75201       $      6,069.50 Trade

Nussbaum Properties           1572 Two Place                                    Memphis                     TN           38116       $           440.00 Customer Contract

NUSSBAUM, DONNA               40005 E NEVINS RD                                 OAK GROVE                   MO           640759113   $           488.72 Employee                 Unliquidated

NWA Council                   4100 Corporate Dr                Suite 205        Springdale                  AR           72762       $      6,875.00 Customer Contract

NYHAN, SARAH                  13030 BLANCO RD, APT 925                          SAN ANTONIO                 TX           78216       $            1.43 Employee                  Unliquidated

O.P. Inc.                     5546 E Hinsdale Cr                                Centennial                  CO           80122       $           98.50 Customer Contract

Oberer Realty Services, LTD   3445 Newmark Dr                                   Miamisburg                  OH           45342       $      3,060.00 Customer Contract

OBERG, ERIKA A                8401 40TH ST NW                                   GIG HARBOR                  WA           98335       $      7,327.30 Employee                    Unliquidated

OBRIEN, MOLLY                 4715 MEADOWVIEW CIRCLE                            SARASOTA                    FL           34233       $               -   Employee                Unliquidated

OCONNELL, MICHAEL             8904 W 127TH PL                                   OVERLAND PARK               KS           66213       $               -   Employee                Unliquidated

OCONNOR, DAIN                 7 S STOLP AVE                                     AURORA                      IL           60506       $           590.53 Employee                 Unliquidated

Oconomowoc Realty             156 E. Wisconsin                                  Oconomowoc                  WI           53066       $           312.50 Customer Contract

O'Dell service Co. Inc.       PO Box 34410                                      North Kansas City           MO           64116       $           685.00 Trade

ODELL, KYLA                   301 NE BROOKWOOD DR                               BLUE SPRINGS                MO           64014       $           337.84 Employee                 Unliquidated

Office Furniture Source       2920 E Kemper Rd                                  Cincinnati                  OH           45241       $           275.00 Customer Contract

OGE Energy Corp               PO Box 25230                                      Oklahoma City               OK           73125       $           875.00 Customer Contract

Ogletree Deakins              PO Box 89                                         Columbia                    SC           29202       $      4,704.23 Trade
O'Hara & Company Real
Estate                        15855 Mueschke                                    Cypress                     TX           77433       $           140.00 Customer Contract




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           Creditor                             Address                Address2                  City             State   Zip Code         Total                      Claim Type        Disputed
Ohio Bureau of Worker's
Comp                         PO Box 89492                                         Cleveland                  OH           44101-6492   $           118.95 Trade

Ohio Department of Taxation PO Box 27                                             Columbus                   OH           43216-0027   $      6,759.77 Trade

OKANE, MEGHAN                8017 N HICKORY ST STE 8215                           KANSAS CITY                MO           64118        $               -   Employee                Unliquidated
Oklahoma Departmnt of
Commerce                     900 N Stiles Ave                                     Oklahoma City              OK           73104-3234   $     11,550.00 Customer Contract

Ola Tax & Ola Realty         1256 Main St., Ste 248                               Southlake                  TX           76092        $      1,125.25 Customer Contract

Old Town Square Properties   5 Old Towne Square suite #216                        Fort Collins               CO           80524        $           180.00 Customer Contract

OLDS, KRYSTAL ELIZABETH      3807 SW 8TH TERRACE                                  BLUE SPRINGS               MO           64015        $               -   Employee                Unliquidated

OLINYK, ROBIN                326 ATLANTIC AVE APT 3                               BROOKLYN                   NY           11201        $      1,195.98 Employee                    Unliquidated

Olson Enterprises LLC        3866 Whitaker Lane                                   Lithia Springs             GA           30122        $      1,347.50 Customer Contract

OLSON, SCOTT                 1410 SW CROSS CREEK DR                               GRAIN VALLEY               MO           64029        $               -   Employee                Unliquidated

OMNE Partners                5465 Mills Civic Parkway           #210              West Des Moines            IA           50266        $           200.00 Customer Contract

One Banc                     300 W. Capitol Ave                                   Little Rock                AR           72201        $      1,093.75 Customer Contract

OnSite Retail Group          9545 Kenwood Rd                    Ste 202           Cincinnati                 OH           45242        $      3,200.00 Customer Contract

Opes Commercial Real Estate 6051 N Chestnut                     Suite B           Gladstone                  MO           64119        $           535.00 Customer Contract

Opitz Realty, Inc.           502 N Eau Claire Ave                                 Madison                    WI           53705        $           390.00 Customer Contract

Optima Chicago Center        200 East Illinois Street           Unit 3204         Chicago                    IL           60611        $      5,517.00 Trade
Orange County Economic
Development                  131 W Margaret Lane                Ste 205           Hillsborough               NC           27278        $      1,750.00 Customer Contract
Orange County Real Estate
Management                   400 E South St.                    5th Floor         Orlando                    FL           32801        $      4,100.00 Customer Contract

ORELL, DAVID                 20 W 66TH TERRACE                                    KANSAS CITY                MO           64113        $     12,048.39 Employee                    Unliquidated
Orlando Economic
Partnership                  301 E Pine St                      Ste 900           Orlando                    FL           32801        $      8,400.00 Customer Contract

ORSCHELN, ROBERT N           11400 W 114TH TERRACE                                OVERLAND PARK              KS           66210        $               -   Employee                Unliquidated

ORTOLANO, CHRISTOPHER        401 69TH STREET #1112                                MIAMI BEACH                FL           331413125    $               -   Employee                Unliquidated

OSBORNE, CHRISTOPHER         3148 W THUNDERBIRD RD                                PHOENIX                    AZ           85053        $           98.90 Employee                  Unliquidated




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          Creditor                                Address                 Address2                  City               State   Zip Code         Total                      Claim Type        Disputed
Osceola County Property
Appraiser                     2505 E Irlo Bronson Memorial Hwy                       Kissimmee                    FL           34744        $      1,170.00 Customer Contract
O'Shaughnessy Realty and
Development                   P.O. Box 2111                                          Cornelius                    NC           28031        $           180.00 Customer Contract
Our Corporate Real Estate
Dept                          82 Remick Boulevard                                    Springboro                   OH           45066        $      1,409.15 Customer Contract

Outlook Management Group 6495 S. 27th Street                                         Franklin                     WI           53132        $           312.50 Customer Contract

Overland Park EDC             9001 West 110th Street              Suite 150          Overland Park                KS           66210        $           278.00 Customer Contract

Owasso Land Trust             12150 E 96th St N                   Suite 200          Owasso                       OK           74055        $      1,173.00 Customer Contract
Ozaukee County Economic
Development Corporation       121 West Main Street                                   Port Washington              WI           53074        $      2,160.00 Customer Contract

OZIER, ANN                    2819 HAZELWOOD DR                                      NASHVILLE                    TN           37212        $               -   Employee                Unliquidated

Ozona Bank                    14100 San Pedro Ave                 Suite 100          San Antonio                  TX           78232        $      1,435.00 Customer Contract

P. H. Lewis & Company, Inc.   2265 Roswell Rd.. Ste 100                              Marietta                     GA           30062        $           202.50 Customer Contract

P.N. Eklund Interests, Inc    1942 Broadway                                          Boulder                      CO           80302        $           127.00 Customer Contract

P.R.I.S.M. Partners, Inc.     802 North Thistle Lane                                 Maitland                     FL           32751        $      2,310.00 Customer Contract

Pace Properties               1401 S Brentwood Blvd               Ste 900            St. Louis                    MO           63144        $           680.00 Customer Contract

PADGET, DAVID SCOTT           100 IROQUOIS DR                                        LAKE WINNEBAGO               MO           64034        $               -   Employee                Unliquidated

Page Southerland Page         1800 Main St                        # 123              Dallas                       TX           75201        $           370.10 Customer Contract

Page2Studio                   2429 Shenandoah Ave.                                   Charlotte                    NC           28205-6118   $      3,525.00 Trade

Palisades One, LLC            8117 Ebenezer Church Rd                                Raleigh                      NC           27612        $      1,170.00 Customer Contract

PALMER, KELLY                 2301 S GLENWOOD AVE                                    INDEPENDENCE                 MO           64052        $               -   Employee                Unliquidated

Palmos Development            2775 Iris Ave.                                         Boulder                      CO           80304        $           63.50 Customer Contract

Pam McDowell Properties       pmp1@conwaycorp.net                 Ste B              Conway                       AR           72034        $           675.00 Customer Contract

PANICO, DAVID                 7612 N CALDWELL AVE                                    KANSAS CITY                  MO           64152        $      7,059.31 Employee                    Unliquidated

Pappas Properties LLC         4777 Sharon Road                    Suite 550          Charlotte                    NC           282210       $           450.00 Customer Contract
Paradise Bank - Kevin
Rafferty                      2420 North Federal Highway                             Boca Raton                   FL           33431        $           275.00 Customer Contract




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          Creditor                            Address                    Address2                 City               State   Zip Code         Total                      Claim Type        Disputed
Paramark Real Estate
Services                     7392 Airport View Dr. SW                               Rochester                   MN           55902        $           400.00 Customer Contract
Paramount Comm.
Properties LLC               6666 S. Sheridan Road               Suite 106          Tulsa                       OK           74133        $           150.00 Customer Contract

Park Avenue of Wayzata Inc   15210 Wayzata Blvd                                     Wayzata                     MN           55391        $           165.00 Customer Contract

Park Bank                    7540 W Capitol Dr                                      Milwaukee                   WI           53216        $      3,781.25 Customer Contract
Park Towne Development
Corp.                        402 Gammon Place                                       Madison                     WI           53179        $           585.00 Customer Contract

PARK, PATRICK HYUNSUP        1043 CARMEL CIRCLE                                     FULLERTON                   CA           928332076    $      1,882.24 Employee                    Unliquidated

PARK, RICHARD J              1914 E. CANTERBURY                                     ARLINGTON HEIGHTS           IL           60004        $      3,835.45 Employee                    Unliquidated
Parkland Health & Hospital
Sys                          5200 Harry Hines Blvd                                  Dallas                      TX           75235        $      1,935.45 Customer Contract

PARKS, BRADLEY               15801 E 20TH ST S UNIT B                               INDEPENDENCE                MO           64050        $           252.38 Employee                 Unliquidated

Parkway Properties - Tampa 2202 N. Westshore Blvd                Suite 140          Tampa                       FL           33607        $           800.00 Customer Contract

Parkway Real Estate          6333 Long                           Suite 301          Shawnee                     KS           66216        $           385.00 Customer Contract

Parmenter Realty Partners    2711 N. Haskell Ave.                Suite 1400         Dallas                      TX           75204        $      1,125.25 Customer Contract

Parrish Company              2720 N Hemlock Ct                   Ste C              Broken Arrow                OK           74012        $           640.00 Customer Contract

PARRISH, JOSHUA LEE          5811 SANDVIEW LN                                       CALEDONIA                   WI           53406        $           895.00 Employee                 Unliquidated
Pasadena Second Century
Corporation                  1149 Ellsworth Dr, Ste 548                             Pasadena                    TX           77506        $      4,920.00 Customer Contract
Pasco Economic
Development Cou              16506 Point Village Drive                              Lutz                        FL           33558        $           640.00 Customer Contract

PASKON, SHAUNA A             10921 W. 64TH TERRACE                                  SHAWNEE                     KS           66203        $           937.50 Employee                 Unliquidated

Patrick Realty               16708 W 69th Circle                                    Arvada                      CO           80007        $           63.50 Customer Contract

PATTI, MARY JO               PO BOX 480556                                          KANSAS CITY                 MO           64148        $               -   Employee                Unliquidated

Paul Howe Realty Inc         327 Skyland Dr                                         Bellbrook                   OH           45305        $           297.50 Customer Contract

PAULSON, KAITLYN SERENE      1010 STAYNOR WAY                                       NORCO                       CA           92860        $           924.54 Employee                 Unliquidated

PCM Leasing Corp.            2727 Cherry Street                                     Kansas City                 MO           64108-3107   $     62,158.87 Trade

Peachtree Brokerage Group    200 Westpark Drive                  Suite 235          Peachtree City              GA           30269        $           600.00 Customer Contract




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          Creditor                         Address                   Address2                  City               State   Zip Code       Total                      Claim Type        Disputed
Pearce Commercial Prop Co,
LLC                        4311 Belmont Ave                                     Dallas                       TX           75204      $           430.10 Customer Contract
Pedernales Electric
Cooperativ                 PO Box 1                                             Johnson City                 TX           78636      $     10,500.00 Customer Contract

PEELER, NICOLE LASHELLE       927 SW ROBIN CIR                                  BLUE SPRINGS                 MO           64015      $           82.15 Employee                  Unliquidated

Pegasus Realty Corp.          3989 E. Arapahoe Rd.             Suite 300        Littleton                    CO           80121      $           63.50 Customer Contract

Pembrooke Real Estate         13200 W 43rd Dr #207                              Golden                       CO           80403      $           127.00 Customer Contract

Peoples Bank                  837 N Wisconsin St                                Elkhorn                      WI           53121      $           500.00 Customer Contract

Peoples Company               12119 Stratford Drive            Suite B          Clive                        IA           50325      $           720.00 Customer Contract

Perfect Realty Partners       13359 Grayhawk Blvd                               Frisco                       TX           75033      $           604.65 Customer Contract

Perron & Campbell             3707 N St Mary's St Ste 201                       San Antonio                  TX           78212      $      1,245.60 Customer Contract
Peter A Brown Commercial
RE                            3101 Ingersoll Avenue                             Des Moines                   IA           50312      $           288.00 Customer Contract

Peter Lu, PC                  619 Radford Drive                                 St. Louis                    MO           63132      $           170.00 Customer Contract

PETER, KAREN                  1743 SINNOT CIRCLE                                INDPENDENCE                  MO           64050      $               -   Employee                Unliquidated

PETERSON, HORACE              720 SE CLAREMONT CIR                              LEES SUMMIT                  MO           64063      $               -   Employee                Unliquidated

PETERSON, JEANNIE             8061 SW 3RD ST                                    BLUE SPRINGS                 MO           64014      $               -   Employee                Unliquidated

Peyco Southwest Realty, Inc   1703 N Peyco Dr                                   Arlington                    TX           76001      $      2,202.60 Customer Contract

PFEIFER, PETER                402 ANDOVER LANE                                  BALLWIN                      MO           63011      $               -   Employee                Unliquidated

PFLUEGER, TRAE                6001 TOSCANA DR APT 931                           DAVIE                        FL           33314      $               -   Employee                Unliquidated

Phil Day                      954 Pearl Street                 Suite A          Boulder                      CO           80302      $           63.50 Customer Contract
Philip M Barlow & Associates,
LLC                           343 N Gilbert Rd                                  Gilbert                      AZ           85234      $           880.00 Customer Contract

Phill Foster & Company        8811 East Hampden Ave            Suite 104        Denver                       CO           80231      $           138.50 Customer Contract

Phill Foster & Company        8811 E Hampden Ave               Suite 104        Denver                       CO           80231      $           317.50 Customer Contract

Phill Foster and Company      57 Garfield St.                  Unit 101         Denver                       CO           80206      $           127.00 Customer Contract

PHILLIPS, C.E. JAYNE          408 SW RUSSELL ST                                 OAK GROVE                    MO           64075      $           249.08 Employee                 Unliquidated




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          Creditor                                Address               Address2                  City               State   Zip Code        Total                      Claim Type        Disputed

PHILLIPS, GABRIELLE           819 E 24TH ST                                        SEDALIA                      MO           65301       $               -   Employee                Unliquidated

PHILLIPS, JENNIE              36450 BENNETT ROAD                                   GREEN RIDGE                  MO           65332       $      1,017.54 Employee                    Unliquidated

PHILLIPS, SONJA MICHELLE      149 SW OXFORD PL                                     LEES SUMMIT                  MO           64063       $           175.52 Employee                 Unliquidated
Phoenix Commercial
Properties-Rex Thomas         309 West Millbrook Road             Ste 191          Raleigh                      NC           27624       $           390.00 Customer Contract

Phoenix Real Estate           PO Box 858                                           Platte City                  MO           64079       $           288.00 Customer Contract

Pillar Commercial             7920 Belt Line Rd                   Ste 900          Dallas                       TX           75254       $           489.90 Customer Contract

Pine Street/RPS               2650-2 Rosselle St                                   Jacksonville                 FL           32204       $      1,925.00 Customer Contract

Pinnacle Bank Commercial      14287 N 87th St., Ste 120                            Scottsdale                   AZ           85260       $           792.00 Customer Contract

Pinnacle Real Estate Advisors 1 Broadway Ste A300                                  Denver                       CO           80203       $      6,096.00 Customer Contract

Pinnacle Valuation            3186 S Pierce St                                     Lakewood                     CO           80227       $           127.00 Customer Contract

Pinpoint Properties, LLC      5310 NC Highway 55                  Ste 101          Durham                       NC           27713       $           324.00 Customer Contract

Pippin Properties             5653 N Pennsylvania Ave                              Oklahoma City                OK           73112       $           700.00 Customer Contract

PITTMAN, NATALIE DAWN         405 SE WESTMINISTER ROAD                             BLUE SPRINGS                 MO           64014       $           403.25 Employee                 Unliquidated

Pizzuti Companies             2 Miranova, Suite 800                                Columbus                     OH           43215       $           50.00 Customer Contract

PJ Morgan Real Estate         7801 Wakeley Plaza                                   Omaha                        NE           68114       $      1,639.44 Customer Contract

Place Value, LLC              2733 N Southport #3                                  Chicago                      IL           60614       $           255.00 Customer Contract

PLATZ, KIMBERLY               609 SE ALGER DR                                      BLUE SPRINGS                 MO           640145873   $      2,530.01 Employee                    Unliquidated

PLUMB, BROOKE                 2013 NE AVANIT DR                                    BLUE SPRINGS                 MO           64029       $           425.85 Employee                 Unliquidated

PM Realty Group               2828 Routh St                       Ste 700          Dallas                       TX           75201       $           582.65 Customer Contract

Point Real Estate - D Scardino 13400 Bishop's Lane                Ste 270          Brookfield                   WI           53005       $      1,050.00 Customer Contract
Pointer Appraisal Services
LLC                            3867 W. Market St, Suite 224                        Akron                        OH           44333       $      4,400.00 Customer Contract

Points West, Inc              PO Box 99                                            Livermore                    CO           80536       $           400.05 Customer Contract

POLEN, LAURA                  1103 SW BLUE BRANCH DR                               GRAIN VALLEY                 MO           64029       $           608.14 Employee                 Unliquidated




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            Creditor                             Address               Address2                 City                State   Zip Code         Total                      Claim Type        Disputed

POLINA, DARLENE                4120 S UNION                                       INDEPENDENCE                 MO           64055        $      1,207.65 Employee                    Unliquidated

Polk County Assessors Office 111 Court Avenue                    Room 195         Des Moines                   IA           50309        $      1,680.00 Customer Contract

POLLEY, BRET WAYNE             1205 SKYLINE DR                                    GRANDVIEW                    MO           64030        $           157.48 Employee                 Unliquidated

POLLEY, DEVIN J               6431 STICHTER AVE                                   DALLAS                       TX           75230        $      4,901.97 Employee                    Unliquidated
Ponder Properties
Commercial Real Estate L.L.C. 850 Corporate Parkway, Suite 106                    Birmingham                   AL           35242        $      1,500.00 Customer Contract

POOL, JENNIFER                 337 FRONT ST B                                     GRAIN VALLEY                 MO           64029        $               -   Employee                Unliquidated
Popular Community Bank-
New York                       85 Broad Street                   10th Floor       New York                     NY           10004        $           990.00 Customer Contract

Port San Antonio               907 Billy Mitchell Blvd                            San Antonio                  TX           78226        $           877.50 Customer Contract

Portage Development Board 217 S Chestnut St                                       Ravenna                      OH           44266        $           500.00 Customer Contract

Portfolio Luxery Real Estate   5409 Pinnacle Point Dr                             Rogers                       AR           72758        $           295.00 Customer Contract

POTA JV, LLC                   PO Box 748271                                      Los Angeles                  CA           90074-8271   $      5,410.02 Trade

POTTER, MICHAEL L              PO BOX 292                                         PALOS VERDES ESTATES         CA           90274        $               -   Employee                Unliquidated

Powell Property Group          PO Box 3184                                        Cumming                      GA           30028        $           957.00 Customer Contract

POWELL, BRIAN                  3501 CLARK LN LOT 144                              COLUMBIA                     MO           65202        $      1,324.39 Employee                    Unliquidated
POWELL, CHRISTOPHER
NATHANIEL                      3401 SOUTHERN HILLS DRIVE                          KANSAS CITY                  MO           64137        $           351.00 Employee                 Unliquidated

POWELL, JUSTIN A               804 NE SUNNYSIDE LN APT H                          BLUE SPRINGS                 MO           640146401    $               -

POWELL, KARI L                 3401 SOUTHERN HILLS DR                             KANSAS CITY                  MO           64137        $           725.82 Employee                 Unliquidated

Powerhouse Moving, Inc         1311 SW 40 Hwy                                     Blue Springs                 MO           64105        $           408.00 Trade

PREF, LLC                      1270 Westminster Walk                              Atlanta                      GA           30327        $      1,822.50 Customer Contract

Premier Brokers International 5 Via Sorrento                                      Palm Beach Gardens           FL           33418        $           185.00 Customer Contract

Premier Real Estate Services 2540 73rd St                                         Urbandale                    IA           50322        $           750.00 Customer Contract

Premiere Properties            2211 Avenue Z                                      Brooklyn                     NY           11235        $      3,150.00 Customer Contract

PRESLAR, JOE                   740 NORTH SPRING ST                                MURFREESBORO                 TN           37130        $               -   Employee                Unliquidated




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           Creditor                                Address             Address2                  City               State   Zip Code         Total                      Claim Type        Disputed

Preston Development           100 Weston Estates Way                              Cary                         NC           27513        $           130.00 Customer Contract

PREWETT, LAURA                202 NORTHBROOKE CT                                  WOODSTOCK                    GA           30188        $      6,625.00 Employee                    Unliquidated

Price Commercial Real Estate 7324 Gaston Ave                     Ste 124-379      Dallas                       TX           75214        $           215.05 Customer Contract

Price Edwards                 210 Park Ave                       Suite 1000       Oklahoma City                OK           73102        $     29,925.00 Customer Contract

Price Family Properties       15 East 5th Street                 Suite 1600       Tulsa                        OK           74103        $           750.00 Customer Contract

PRIDE, LATRICE M            329 NE ADAMS DAIRY PARKWAY                            BLUE SPRINGS                 MO           64014        $               -   Employee                Unliquidated
Pridemore Properties - Mike
Hege                        10224 Hickorywood Hill Ave           Ste 101B         Huntersville                 NC           28078        $           90.00 Customer Contract

PRIEM, LISA G                 209 SE CROMWELL STREET                              BLUE SPRINGS                 MO           64014        $               -   Employee                Unliquidated

Prime Real Estate Services    2919 W. 17th Ave.                                   Longmont                     CO           80503        $           63.50 Customer Contract

Primera Partners              111 Soledad                        Suite 1250       San Antonio                  TX           78205        $      2,000.00 Customer Contract
Prism Commercial Real
Estate LLC                    1301 N Center Street               PO Box 729       Hickory                      NC           28603        $      1,025.00 Customer Contract
Professional Office
Environments                  222 Millwell Drive                                  Maryland Heights             MO           63043        $           675.00 Customer Contract

Professional Valuation Corp   Po Box 1935                                         Fort Collins                 CO           80521        $           170.00 Customer Contract
Progress Plus/River Heights
Ch                            5782 Blackshire Path                                Inver Grove Heights          MN           55077        $      1,375.00 Customer Contract

Prologis                      999 Shady Grove Rd                 Suite 105        Memphis                      TN           38120        $           160.00 Customer Contract

ProLogis                      PO Box 982155                                       El Paso                      TX           79998-2155   $           170.00 Customer Contract
ProMaker Commercial Real
Estate                        504 Telfair Parkway                                 Peachtree City               GA           30269        $           455.00 Trade

Properties of Colorado        4285 McPherson Ave                                  Colorado Springs             CO           80909        $           770.00 Customer Contract

Properties South, LLC         7330 Westcott Terrace                               Charlotte                    NC           28270        $           275.00 Customer Contract

Property Advisers Realty, Inc 6012 W Campus Circle Dr            Suite 210        Irving                       TX           75063        $           938.20 Customer Contract
Property Development
Associate                     6405 Branch Hill - Guinea Road                      Loveland                     OH           45140        $           300.00 Customer Contract

Property Technica, Inc        1719 9th Street                                     Greeley                      CO           80631        $           85.00 Customer Contract

Property Valuation Specialists 551 9th Street N                                   St Petersburg                FL           33701        $           400.00 Customer Contract




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          Creditor                                  Address             Address2                 City               State   Zip Code       Total                      Claim Type        Disputed
Propp Realty Management,
LLC                            12600 W. Colfax Ave.               Suite B-130      Lakewood                    CO           80215      $           698.50 Customer Contract

PROPST, VIRGINIA               4800 NE 46TH TERRACE                                KANSAS CITY                 MO           64117      $           583.72 Employee                 Unliquidated

Proterra Properties            8214 Westchester Dr                Suite 730        Dallas                      TX           75225      $           381.60 Customer Contract
Providence Commercial RE
Serv                           100 NE Loop 410 Ste 950                             San Antonio                 TX           78216      $      1,006.25 Customer Contract

Proxymity                      1557 Beaver Ave                                     Des Moines                  IA           50310      $               -   Customer Contract

PRUETT, SUMMER JEWELL          606 SW 37TH ST                                      BLUE SPRINGS                MO           64015      $           208.80 Employee                 Unliquidated

PSI                            21214 Schofield Dr.                                 Gretna                      NE           68028      $      1,232.55 Trade
Public Service Company of
OK                             212 E Sixth Street                                  Tulsa                       OK           74119      $      1,925.00 Customer Contract

PULLIN, SEAN                   1010 W. 21ST ST                                     SANTA ANA                   CA           92706      $      6,097.19 Employee                    Unliquidated
Purser Industrial Properties
LLC                            14311 Reese Blvd                   Suite A2 #333    Huntersville                NC           28078      $           450.00 Customer Contract

Putman Properties              4065 Fulton Dr NW                                   Canton                      OH           44718      $      2,690.00 Customer Contract
Q10 | Daisley Ruff Financl
Cor                            440 Regency Parkway                Suite 200        Omaha                       NE           68114      $           195.00 Customer Contract

Quantum Commercial Group 101 N Cascade Ave                        Ste 200          Colorado Springs            CO           80903      $           280.00 Customer Contract
Quantum Investments &
Mngmt                    10015 Wisner Hwy.                                         Tipton                      MI           49287      $           390.00 Customer Contract

Queen Creek EDC                22358 S Ellsworth Rd                                Queen Creek                 AZ           85142      $      3,000.00 Customer Contract
Quick & Company Comm.
Reality                        606 W 12th St                                       Austin                      TX           78701      $           273.00 Customer Contract

QUIGLEY, JENELL                8012 NE 109TH TER                                   KANSAS CITY                 MO           64157      $               -   Employee                Unliquidated
Quinlevan Commercial RE,
Inc                            828 N Broadway                     Suite 210        Milwaukee                   WI           53202      $           538.80 Customer Contract

QUINN, DIANA                   1113 N INDAIN LN                                    INDEPENDENCE                MO           64056      $               -   Employee                Unliquidated

R B Murray Company             2225 S Blackman Rd                                  Springfield                 MO           65809      $           687.25 Customer Contract

R L Worth and Assoc            7373 Broadway Ste 201                               San Antonio                 TX           78209      $           490.00 Customer Contract

R&R Investments                13416 Watertown Plank Road         Suite 255        Elm Grove                   WI           53122      $           340.00 Customer Contract

R.D. Scinto, Inc.              1 Corporate Dr                                      Shelton                     CT           06484      $      1,325.00 Customer Contract




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R.G. Real Estate Services    36 Marionet Lane                                       Bella Vista                  AR           72714      $           512.00 Customer Contract

R.H. Johnson Company         4520 Madison Ave                   Ste 300             Kansas City                  MO           64111      $      1,125.00 Customer Contract
Racine County Economic
Development Corporation      2320 Renaissance Boulevard                             Sturtevant                   WI           53177      $           650.00 Customer Contract

Raintree Commercial, LLC     3535 Wilcrest #1A                                      Houston                      TX           77042      $           140.00 Customer Contract

Rainwater Development        310 Kelson Dr                                          Atlanta                      GA           30327      $           450.00 Customer Contract

Ralston Industries           600 N Casady Ave.                                      Columbus                     OH           43219      $           220.00 Customer Contract

RALSTON, ANDREA LEE          900 SW ROBIN CIRCLE                                    BLUE SPRINGS                 MO           64014      $               -   Employee                Unliquidated

RAMIREZ, RYAN                6907 LUCKEY PATH                                       SAN ANTONIO                  TX           78252      $               -   Employee                Unliquidated

RAMOS, DEBRA                 4604 NW PENNINGTON LN                                  BLUE SPRINGS                 MO           64015      $               -   Employee                Unliquidated

Rampart Realty, Inc.         P.O. Box 977                                           Monument                     CO           80132      $           63.50 Customer Contract

Randall Smith & Associates   5428 Lake Victoria Court                               Flower Mound                 TX           75022      $           215.05 Customer Contract

RANEY, CAMRYN                500 SW JOY COURT                                       BLUE SPRINGS                 MO           64014      $               -   Employee                Unliquidated

RANGEL, AUNDRE               328 N LEE ST                                           FULLERTON                    CA           92833      $           371.50 Employee                 Unliquidated

RANGEL, CLAUDIA J            700 W LA JOLLA ST. #48                                 PLACENTIA                    CA           92870      $      3,070.26 Employee                    Unliquidated

RANGEL, MAURICIO             700 W LA JOLLA ST. APT. #16                            PLACENTIA                    CA           92870      $               -   Employee                Unliquidated

Rangeview Tech Center, LLC   1117 W. Enclave Circle                                 Louisville                   CO           80027      $           114.30 Customer Contract
Rasberry CRE - James
Rasberry                     163 N Evergreen                    Unit 1              Memphis                      TN           38104      $           700.00 Customer Contract
RATTERREE, ELAINA
ELIZABETH                    1103 SW BLUE BRANCH DR                                 GRAIN VALLEY                 MO           64029      $           444.70 Employee                 Unliquidated

RAU, SHAUNA                  807 SPRUCE DRIVE                                       GREENWOOD                    MO           64034      $           469.44 Employee                 Unliquidated
Ray Wilkerson Companies,
Inc.                         8015 Shoal Creek Blvd              Ste 207             Austin                       TX           78757      $      1,365.00 Customer Contract

RCF Properties               5797 Far Hills Ave                                     Dayton                       OH           45429      $           192.50 Customer Contract

RDC Properties, LLC          P.O. Box 370327                                        Denver                       CO           80237      $           63.50 Customer Contract

RE/MAX - Optima              7250 Red Bug Lake Rd               Ste 1000            Oviedo                       FL           32765      $           160.00 Customer Contract




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Re/Max Professionals-
Commerc                      15811 W Dodge Rd                 Ste 151            Omaha                       NE           68118      $           369.70 Customer Contract

Re/Max 100, Inc.             710 Kipling St.                  Suite 110          Lakewood                    CO           80215      $           254.00 Customer Contract
RE/MAX Advantage Plus -
Commercial Division          601 S Federal Hwy                Ste 100            Boca Raton                  FL           33432      $           660.00 Customer Contract
RE/MAX Alliance -
Commercial - Jim Neufeld     1275 58th Ave, Ste A                                Greeley                     CO           80634      $           170.00 Customer Contract
Re/Max Alliance -
Commercial Division - Ben    6397 Tuxedo Park Rd                                 Timnath                     CO           80647      $           120.00 Customer Contract
Re/Max Alliance -
Commercial Division - Bob    750 W. Eisenhower Blvd. #100                        Loveland                    CO           80537      $           340.00 Customer Contract
Re/Max Alliance -
Commercial Division - Ron    5133 Eagle Lake Dr                                  Fort Collins                CO           80524      $           170.00 Customer Contract

Re/Max Alliance Boulder      1513 Terra Rosa Avenue                              Longmont                    CO           80501      $           342.90 Customer Contract

RE/MAX Alliance on Walnut    1911 11th St. #107                                  Boulder                     CO           80302      $           98.50 Customer Contract
Re/Max Alliance, Inc.-
Commercial Division -        1020 Braidwood Ct                                   Fort Collins                CO           80524      $           170.00 Customer Contract
Re/Max Alliance-Fran
Schneider                    1019 8th St                                         Golden                      CO           80401      $           63.50 Customer Contract
Re/Max Best Choice
Commercial                   4568 Meramec Bottom Rd                              St Louis                    MO           63128      $           170.00 Customer Contract
RE/MAX -Capital City-Sally
Decelis                      2007 Sam Bass Road               # 200              Round Rock                  TX           78681      $           187.50 Customer Contract

Re/Max Commercial Alliance 1873 S Bellaire St                 Suite 700          Denver                      CO           80222      $           317.50 Customer Contract

Re/Max Commercial Alliance 1873 S Bellaire St                 Suite 700          Denver                      CO           80222      $           400.05 Customer Contract

Re/Max Commerical Alliance 1873 S Bellaire St                 Suite 700          Denver                      CO           80222      $           285.75 Customer Contract
Re/Max Excel - Joe
Comparato                  1420 Wakarusa                      Suite 203          Lawrence                    KS           66049      $      1,000.00 Customer Contract

RE/MAX Leaders               6855 S Havana Street             Suite 150          Centennial                  CO           80112      $           197.00 Customer Contract

Re/Max of Boulder, Inc.      2425 Canyon Blvd                 Suite 110          Boulder                     CO           80302      $           886.50 Customer Contract

Re/Max Southeast, Inc.       7555 E. Hampden Avenue           Suite 103          Denver                      CO           80231      $           63.50 Customer Contract

Re/Max Southeast, Inc.       7555 E Hamden Ave Suite 103                         Denver                      CO           80231      $           63.50 Customer Contract

RE/MAX Stateline             11251 Nail Ave                                      Leawood                     KS           66211      $               -   Customer Contract
RE/MAX Town & Country -
Gary Maggi                   PO Box 1859                                         Berthoud                    CO           80513      $           170.00 Customer Contract




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RE/MAX Town and Country       3559 Woodshire Trl                                   Marietta                     GA           30066      $           540.00 Customer Contract
Re/Max Traditions Inc.
Comm.                         2204 18th Ave                                        Longmont                     CO           80501      $           63.50 Customer Contract
Re/Max Traditions Inc.
Commercial Division - Kurt    2204 18th Ave                                        Longmont                     CO           80501      $           394.00 Customer Contract

Re/Max Traditions, Inc        2204 18th Avenue                                     Longmont                     CO           80501      $           63.50 Customer Contract

RE/Max United                 W63 N647 Washington Avenue                           Cedarburg                    WI           53012      $           205.00 Customer Contract
READ, Inc - Schmook
Appraisal Company             3555 NW 58th St Ste 300                              Oklahoma City                OK           73112      $      1,525.00 Customer Contract
Real Estate Development
Partners                      711 Central Ave                                      Charlotte                    NC           28204      $      3,500.00 Customer Contract
Real Estate Economics |
Metrostudy - San Clemente     One Thomas Cir NW                  Ste 600           Washington                   DC           20005      $      5,000.00 Customer Contract

Real Estate Revolution        Suite 207                                            Denver                       CO           80202      $           63.50 Customer Contract
Real Living Pittman
Properties                    10224 Durant Road                  #107              Raleigh                      NC           27614      $           240.00 Customer Contract

Real Living Properties        480 S Holly St                                       Denver                       CO           80246      $           197.00 Customer Contract

Real Property Assoc., Inc.    8131 E Colorado Ave., Ste H-104                      Denver                       CO           80231      $           394.00 Customer Contract

Real Space/Air Space          3990 East Side Avenue                                Dallas                       TX           75226      $           962.75 Customer Contract

Realnet Realty                2511 Mt Royal Dr                                     Castle Rock                  CO           80104      $           63.50 Customer Contract

Realnex,LLC                   2525 Box Canyon Dr.                                  Las Vegas                    NV           89128      $      8,000.00 Trade

Realspace Commercial RE LLC 1250 Humboldt St.                    Suite 901         Denver                       CO           80218      $           63.50 Customer Contract

Realtec - Fort Collins        400 E. Horsetooth Rd. Ste. 200                       Fort Collins                 CO           80525      $      2,210.00 Customer Contract

Realty Atlanta - Alpharetta   PO Box 3928                                          Alpharetta                   GA           30023      $           570.00 Customer Contract

Realty LLC                    9085 E. Mineral Circle             Suite 270         Centennial                   CO           80112      $           514.35 Customer Contract

Realty Nova of Colorado       6897 Paiute Ave                    #1                Niwot                        CO           80503      $           257.00 Customer Contract

Realty One Colorado LLC       316 Wright St, Ste 203                               Lakewood                     CO           80228      $           127.00 Customer Contract

Realty ONE Group - Nisley     10750 W. Charleston Blvd           180               Las Vegas                    NV           89135      $           130.00 Customer Contract

Realty Professionals          26016 Detroit Road                 Suite 1           Cleveland                    OH           44145      $           290.00 Customer Contract




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Realty Service Group, LLC     PO Box 151                                              Valley Park                 MO           63088      $           153.00 Customer Contract
Realty South Shelby
Commercial                    1916 Hwy 70                       Suite 3               Columbiana                  AL           35051      $           150.00 Customer Contract
RealtySouth - Shelby
Commercial Office - Carson    404 Old Stage Coach Rd                                  Woodstock                   AL           35188      $           300.00 Customer Contract
Reata Real Estate Services,
L.P. - David Ballard          1100 NE Loop 410 Ste 400                                San Antonio                 TX           78209      $           437.52 Customer Contract
REATA Real Estate Services,
LP                            1100 N.E. Loop 410                Suite 400             San Antonio                 TX           78209      $           340.00 Customer Contract

RECO Enterprises              4645 S 83rd E Ave                                       Tulsa                       OK           74145      $           225.00 Customer Contract

Rector Phillips Morse, Inc.   1501 W University Ave             Suite 800             Little Rock                 AR           72207      $      1,700.00 Customer Contract

Red Chair Realty Advisors LLC 4383 Tennyson Street              # 1B                  Denver                      CO           80212      $           63.50 Customer Contract

Red Oak Realty                500 W 7th St                      Suite 1212, Unit 44   Fort Worth                  TX           76102      $           800.20 Customer Contract

Red Realty, LLC - Smyrna      1574 Medical Center Pwky          Suite 202             Murfreesboro                TN           37129      $      1,050.00 Customer Contract

REDDIS, SEPTEMBER             4063 HIGHWAY HH                                         ODESSA                      MO           64076      $           292.80 Employee                 Unliquidated

REDDOCK, RYAN                 310 NW YENNIE ST                                        GRAIN VALLEY                MO           64029      $      6,204.67 Employee                    Unliquidated

RedElk Land Co.               2102 West Platt Street            Ste 107               Tampa                       FL           33606      $           336.00 Customer Contract

REDI Cincinnati               3 E 4th St                        Ste 301               Cincinnati                  OH           45202      $      1,180.00 Customer Contract

Redstone Properties           P.O. Box 116223                                         Carrollton                  TX           75011      $           225.05 Customer Contract

Reece & Nichols - Roberts     2100 Hutton Rd                    Suite C               Kansas City                 KS           66109      $      1,980.00 Customer Contract

Reece Commercial              1153 NE Rice Rd                                         Lee's Summit                MO           64086      $      1,250.00 Customer Contract

REECE, BRIAN                  27 INNISFREE DR                                         DURHAM                      NC           27707      $      9,001.48 Employee                    Unliquidated

REED, CARRIE                  539 NE SUMMIT DRIVE                                     BLUE SPRINGS                MO           64014      $               -   Employee                Unliquidated

Rees Commercial               11719 Hinson Rd                   Suite 130             Little Rock                 AR           72212      $           256.00 Customer Contract

REEVES, BRENDA                2131 N MAIN ST APT 6203                                 ELKHORN                     NE           68022      $               -   Employee                Unliquidated

REEVES, DESMOND               920 N NOLAND RD                                         INDEPENDENCE                MO           64050      $               -   Employee                Unliquidated

Regis Realty                  9799A Princeton Glendale Road                           Cincinnati                  OH           45246      $           750.00 Customer Contract




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REGISTER, MICHAEL            400 ANDREA LANE                                       HARRISONVILLE                MO           64701      $     12,738.03 Employee                    Unliquidated

Rehkow Realty                1777 Larimer St #810                                  Denver                       CO           80202      $           63.50 Customer Contract

REHMER, TONALEA              33041 RINGEN SCHOOL RD                                SMITHTON                     MO           65350      $           525.05 Employee                 Unliquidated

Reisch Haley Properties      PO BOX 118                                            Cattleville                  MO           63368      $           170.00 Customer Contract

Relyance Bank                912 S Poplar St                                       Pine Bluff                   AR           71601      $      1,400.00 Customer Contract
ReMax Advantage-Patrick
Lawson                       410 Glenwood Ave.                   Ste 130           Raleigh                      NC           27603      $           240.00 Customer Contract

ReMax Alliance               5350 S Roslyn St                    #150              Greenwood Village            CO           80111      $           127.00 Customer Contract
ReMax Commercial
Opportunit                   114 NW 5th St                       Suite 201         Ankeny                       IA           50023      $           300.00 Customer Contract

ReMax Traditions - Sue Haley 14491 WCR 5                                           Longmont                     CO           80504      $           317.50 Customer Contract
ReMax Traditions Comm
Division                     2204 18th Avenue                                      Longmont                     CO           80501      $           63.50 Customer Contract
ReMax Traditions Inc. Comm
Div                          2204 18th Ave                                         Longmont                     CO           80501      $           63.50 Customer Contract

Remington Realty             PO Box 865112                                         Plano                        TX           75086      $           962.75 Customer Contract

RENO, COLE                   500 NW MANOR DR                                       BLUE SPRINGS                 MO           64014      $               -   Employee                Unliquidated
Republic Commercial Real
Estat                        7209 Dixie Highway                                    Fairfield                    OH           45014      $           187.50 Customer Contract

Resolvit Resources           8000 Towers Crescent Drive          Suite 1100        Vienna                       VA           22182      $      9,903.75 Trade
Resource Development
Investment Properties, Inc   719 Peachtree Road, Suite 220                         Orlando                      FL           32804      $           380.00 Customer Contract

RES-Real Estate Services     1833 W Hunt Street                                    McKinney                     TX           75069      $           248.55 Customer Contract

Retail Specialists, LLC      120 18th Street S                   Suite 201         Birmingham                   AL           35233      $           150.00 Customer Contract

REV Birmingham               505 20th Street North               Suite 150         Birmingham                   AL           35203      $           700.00 Customer Contract

Reva Holdings                595 Madison Ave                                       New York                     NY           10022      $      1,500.00 Customer Contract

RG Properties                10050 Innovation Drive, Suite 100                     Dayton                       OH           45342      $      1,000.00 Customer Contract

RHODELANDER, REBECCA E       514 NE GRAND AVE                                      LEES SUMMIT                  MO           64063      $               -   Employee                Unliquidated

RICE, DANIEL                 3525 COUNTRY LAKES DR                                 BELLE ISLE                   FL           32812      $     12,001.13 Employee                    Unliquidated




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            Creditor                             Address             Address2                 City               State   Zip Code         Total                      Claim Type        Disputed

Rich Young Company            17480 N Dallas Pkwy                               Dallas                      TX           75287        $      3,168.90 Customer Contract

RICH, DANA MADISON            702 E. BRIARDALE AVE                              ORANGE                      CA           92865        $               -   Employee                Unliquidated

Richard W. Hadley             1350 Claire Lane                                  Northglenn                  CO           80234        $           63.50 Customer Contract

Richards Properties Inc.      4643 Curraghmore Road                             Charlotte                   NC           28210        $           450.00 Customer Contract

RICHARDS, MICHAEL T           4325 SE LARIAT DR                                 LEES SUMMIT                 MO           64082        $               -   Employee                Unliquidated

RICHARDS, SHELLEY BAILEY      4248 COUNTRY SQUIRE RD                            OAK GROVE                   MO           64075        $           76.59 Employee                  Unliquidated

Richardson & Associates       932 Walnut St                                     Louisville                  CO           80027        $           127.00 Customer Contract

Richardson Properties, LLC    9800 Maumelle Boulevard                           North Little Rock           AR           72113        $           487.00 Customer Contract

RICHARDSON, NIA MARIE         1217 NE MAGNOLIA ST                               LEES SUMMIT                 MO           64086        $           593.55 Employee                 Unliquidated

RICHEY, MACKENZIE             1400 NE IVORY LANE                                LEES SUMMIT                 MO           64086        $               -   Employee                Unliquidated

Richter Realty & Investment   18650 W. Corporate Dr            Suite 103        Brookfield                  WI           53045        $      1,889.25 Customer Contract

RICKHEERAM, DENNIS            13233 MANDALAY PLACE                              SPRING HILL                 FL           34609        $               -   Employee                Unliquidated

Ricoh USA, Inc                PO Box 660342                                     Dallas                      TX           75266-0342   $           974.82 Trade

RIDGE, SHELLY                 1601 N LAZY BRANCH RD APT B                       INDEPENDENCE                MO           64058        $               -   Employee                Unliquidated

RIELY, MICHAEL                15379 E 45TH ST S                                 INDEPENDENCE                MO           64055        $      3,336.13 Employee                    Unliquidated

RILEY, CRYSTAL DAWN           405 E. MONTGOMERY PL                              ODESSA                      MO           64076        $               -   Employee                Unliquidated

RILEY, FRANK THEODORE         414 CENTRAL AVENUE                                NORTH CALDWELL              NJ           07006        $      3,197.50 Employee                    Unliquidated

Ringsby Realty Corp.        1336 Glenarm Pl                    Ste 200          Denver                      CO           80204        $           254.00 Customer Contract
RISE Commercial Real Estate
Advisors                    188 Inverness Drive W              Suite 150        Englewood                   CO           80112        $           585.75 Customer Contract

River City Development, LLC 427 S. Boston #915                                  Tulsa                       OK           74103        $           157.50 Customer Contract
Riverside Real Estate-P
Kuyper                      3902 Maizeland Road                                 Colorado Springs            CO           80909        $           70.00 Customer Contract

RJ Real Estate, LLC           1227 W Brooks Street                              Norman                      OK           73069        $      1,417.50 Customer Contract

RJ Realty                     3730 Ottawa Lane                                  Cooper City                 FL           33026        $           527.25 Customer Contract




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RJW Investments               10900 Manchester Rd               Ste 210          St. Louis                    MO           63122        $           170.00 Customer Contract

RKS Group                     445 East FM 1382                  Ste 3-345        Cedar Hill                   TX           75104        $      1,007.75 Customer Contract

RL West                       401 Langtree Rd                                    Mooresville                  NC           28117        $           280.00 Customer Contract

RMC - Jason Aprile            8902 N. Dale Mabry Highway #200                    Tampa                        FL           33614        $           504.00 Customer Contract

RMC Leason LLC                5944 Luther Lane                  Ste 1000         Dallas                       TX           75225        $           795.15 Customer Contract

Roalson Interests, Inc.       18618 Tuscany Stone               Suite 200        San Antonio                  TX           78258        $           675.00 Customer Contract

Robert Alan Properties        4240 Rea Road                     Suite 250        Charlotte                    NC           28226        $           180.00 Customer Contract

Robert H. Burns Company       40 Burton Hills Blvd              Suite 200        Nashville                    TN           37215        $           406.08 Customer Contract

Robert Hara                   6300 S Syracuse Way               Suite 150        Englewood                    CO           80111        $           197.00 Customer Contract

Robert L. Naiman Company      910 16th St.                      Suite 500        Denver                       CO           80202        $           285.75 Customer Contract

Robert Weiler Co. Realtors    10 North High Street              Suite 401        Columbus                     OH           43215        $           250.00 Customer Contract

Roberts & Associates          1300 W Poplar                                      Springfield                  MO           65804        $           273.10 Customer Contract

ROBERTSON, STEPHEN            23644 REAL COURT                                   VALENCIA                     CA           91355        $               -   Employee                Unliquidated

Robinson & Cole LLP           280 Trumbull Street                                Hartford                     CT           06103-3597   $      2,228.00 Trade

ROBINSON, MELISSA ANN         420 NE STONEWALL DR                                BLUE SPRINGS                 MO           64014        $      1,225.65 Employee                    Unliquidated

Robuck Homes, Inc             6131 Falls of Neusse Road         Ste 200          Raleigh                      NC           27609        $           240.00 Customer Contract
Rochester Area Economic
Development Inc.              220 South Broadway, Ste. 100                       Rochester                    MN           55904        $           620.00 Customer Contract
Rockwall Economic
Development                   2610 Observation Trail                             Rockwall                     TX           75032        $      1,130.10 Customer Contract

Rocky Mountain REALTORS       1900 S Shields St                                  Fort Collins                 CO           80526        $           170.00 Customer Contract

RODRIGUEZ, CESAR              3331 QUARTZ LN APT D20                             FULLERTON                    CA           92831        $      2,430.79 Employee                    Unliquidated

ROGERS, CHARLES               22808 E 28TH TERRACE CT                            BLUE SPRINGS                 MO           64015        $      6,006.56 Employee                    Unliquidated

ROI Realty Services, Inc.     941 Chatham Lance                 Suite 103        Columbus                     OH           43221        $           185.00 Customer Contract

Rollert Avery Companies, Inc. 17757 E. Crestridge Pl.                            Aurora                       CO           80015        $           63.50 Customer Contract




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          Creditor                                 Address             Address2                 City                State   Zip Code       Total                      Claim Type        Disputed

RON, JONATHAN                 316 WEST 101ST STREET APT 5A                        NEW YORK                     NY           10025      $      6,206.52 Employee                    Unliquidated

Ronald J. Garofalo            6940 S. Steele St.                                  Littleton                    CO           80122      $           63.50 Customer Contract

Rooker                        445 Bishop Street                  Suite 200        Atlanta                      GA           30318      $      1,480.00 Customer Contract

RORIE, DAVID                11644 LITTLE PATUXENT PARKWAY #203                    COLUMBIA                     MD           21044      $      1,767.83 Employee                    Unliquidated
Rose & Associates Southeast
Inc.                        PO Box 910                                            Davidson                     NC           28036      $           180.00 Customer Contract

ROSE, CYNTHIA                 1216 SW CREEKSIDE DRIVE                             LEES SUMMIT                  MO           64081      $      1,733.42 Employee                    Unliquidated

ROSENA, JOSEPH                29012 IRONWOOD LN                                   SANTA CLARITA                CA           91390      $      2,045.44 Employee                    Unliquidated
ROSENLOW, PETER
ALEXANDER                     94 DANBURY ROAD APT.7                               RIDGEFIELD                   CT           06877      $               -   Employee                Unliquidated
Rosewood Property
Company                       2101 Cedar Springs Rd Suite 1600                    Dallas                       TX           75201      $      1,290.30 Customer Contract

ROSS, WENDY                   18482 TAFT AVE                                      VILLA PARK                   CA           92861      $               -   Employee                Unliquidated

Roswell Inc.                  617 Atlanta Street                 Ste 100          Roswell                      GA           33075      $      3,800.00 Customer Contract

Round Rock Chamber            212 E Main Street                                   Round Rock                   TX           78664      $           468.00 Customer Contract

ROUTLEDGE, CANDY DENISE 8807 EVANSTON WAY                                         RAYTOWN                      MO           64138      $               -   Employee                Unliquidated

ROZZO, NICHOLAS RYAN          151 NW 1121 RD                                      HOLDEN                       MO           64040      $               -   Employee                Unliquidated
Rubenstein Real Estate Co.,
LC                            6310 Lamar                         Suite 220        Overland Park                KS           66202      $           567.50 Customer Contract
Ruedebusch Commercial
Investmt                      4605 Dovetail Dr                                    Madison                      WI           53704      $           492.00 Customer Contract

Rueters                       2425 NE 126th Ave                                   Elkhart                      IA           50073      $           750.00 Customer Contract

RUFF, AZARIAH                 4402 E 112TH TERR                                   KANSAS CITY                  MO           64137      $               -   Employee                Unliquidated

Russ Russell Commercial RE    923-C Merchants Walk                                Huntsville                   AL           35801      $           297.00 Customer Contract

Russ Wehner Realty Co         280 S. Madison St.                                  Denver                       CO           80209      $           177.00 Customer Contract

Russell Gay & Associates      9208 Falls of Neuse Rd             Suite 111        Raleigh                      NC           27615      $           130.00 Customer Contract

Russell Maas Inc              1031 West Rahn Road                                 Dayton                       OH           45429      $           400.00 Customer Contract

RUSSELL, MARCUS               8408 WILEY POST AVE                                 LOS ANGELES                  CA           90045      $               -   Employee                Unliquidated




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RUSSO, JACQUELYN MARIE       904 35TH ST SW                                   BONDURANT                    IA           50035        $               -   Employee                Unliquidated

Rutherford County Assessor   319 N Maple St                  Suite 200        Murfreesboro                 TN           37130        $      1,351.00 Customer Contract

Rutherford County Chamber 3050 Medical Center Prkwy                           Murfreesboro                 TN           37129        $      2,800.00 Customer Contract
Rutledge Commercial Real
Estate                    18024 Upper Bay Rd                                  Houston                      TX           77058        $           195.00 Customer Contract

Rybo Properties LLC          7225 Manchester Rd              Floor 2          St Louis                     MO           63143        $           85.00 Customer Contract

S & K Worldwide Realty       15188 Park of Commerce Blvd     Suite 6          Juniper                      FL           33478        $      1,075.00 Customer Contract

Sabal Properties, LLC        514 Providence Rd                                Charlotte                    NC           28207        $           180.00 Customer Contract

SADDLER, JUDY                800 NE LOCUST DR                                 BLUE SPRINGS                 MO           64014        $               -   Employee                Unliquidated

Safeguard Business Systems PO Box 1749                                        Ft Washington                PA           19034-8749   $           180.72 Trade

SAITO, CYNTHIA               14902 EAST 49TH TERRACE                          KANSAS CITY                  MO           64136        $               -   Employee                Unliquidated

SALADINO, AGNESA             2524 SW WINTERVIEW RIDGE                         LEES SUMMIT                  MO           64081        $               -   Employee                Unliquidated

Salient Realty Group         101 Mitchell St                                  Kirkwood                     MO           63122        $               -   Customer Contract

SALLARD, BRYTON             111 NW CANDLETREE DRIVE                           BLUE SPRINGS                 MO           64015        $               -   Employee                Unliquidated
San Antonio Economic Dev.
Fnd.                        602 E Commerce                                    San Antonioi                 TX           78205        $           715.00 Customer Contract
San Gabriel Valley Economic
Partnership                 4900 Rivergrade Rd Ste B130                       Irwindale                    CA           91706        $           525.00 Customer Contract

SANCHEZ, ALEKSANDR F         25748 WORDSWORTH LANE                            STEVENSON RANCH              CA           91381        $           296.48 Employee                 Unliquidated

SANCHEZ, JULIO               4724 E 39TH ST                                   KANSAS CITY                  MO           64128        $      4,572.65 Employee                    Unliquidated

SANDERS, ANNA B              713 SW 37 STREET                                 BLUE SPRINGS                 MO           64015        $           689.40 Employee                 Unliquidated

SANDERS, LAKESHIA            1540 E 97TH ST APT A                             KANSAS CITY                  MO           64131        $               -   Employee                Unliquidated

Sansone Group                120 S Central Ave.              Suite 500        St. Louis                    MO           63105        $           165.00 Customer Contract

Santa Fe Fidelity            11931 Wickchester Ln, Ste 400                    Houston                      TX           77043        $           195.00 Customer Contract

SARA Investment LLC          1955 Atwood Avenue                               Madison                      WI           53704        $           499.50 Customer Contract
Sarasota County Property
Appraiser                    2001 Adams Ln                                    Sarasota                     FL           34237        $      7,000.00 Customer Contract




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Sarbaugh Realty Group     2738 Pine St                                        Boulder                      CO           80302      $           63.50 Customer Contract

SAUER, ASHLEY             3712 S NORWOOD AVE                                  INDEPENDENCE                 MO           64052      $           161.43 Employee                 Unliquidated

Saunders Commercial       1330 Baur Blvd                                      St. Louis                    MO           63132      $           850.00 Customer Contract

SAVALA, CECILIA SUNDINA   1114 SW SANDY LANE                                  GRAIN VALLEY                 MO           64029      $           521.55 Employee                 Unliquidated

Savills Studley Inc.      227 W. Trade Street               Ste 305           Charlotte                    NC           28202      $      4,500.00 Customer Contract

SCHAEFER, FORREST CRAIG   520 NE JOHNSTON DRIVE                               BLUE SPRINGS                 MO           64014      $      2,318.03 Employee                    Unliquidated
Schertz Economic
Development               1400 Schertz Parkway, Bldg 4                        Schertz                      TX           78154      $      1,500.00 Customer Contract

SCHIFFMAN, SETH           110 FIRST STREET, APARTMENT 26A                     JERSEY CITY                  NJ           07302      $               -   Employee                Unliquidated

Schlafly Corporation      2 Meramec Ave                     Fl 3              St Louis                     MO           63105      $           306.00 Customer Contract

SCHLENGER, CHRISTIE MARIE 13320 BENNINGTON AVE                                GRANDVIEW                    MO           64030      $           226.72 Employee                 Unliquidated

Schlitz Park              1555 N RiverCenter Dr             Suite 100         Milwaukee                    WI           53212      $           101.55 Customer Contract

SCHLUP, LIBBY             28271 STEVENS RD                                    SEDALIA                      MO           65301      $           365.26 Employee                 Unliquidated

SCHNURR, JONNA            803 SW HILLTOP CT                                   GRAIN VALLEY                 MO           64029      $           614.96 Employee                 Unliquidated
Schumacher Dugan
Construction Inc          6355 Centre Park Dr                                 West Chester                 OH           45069      $      1,250.00 Customer Contract

Schuman Companies, Inc    736 Whalers Way                   Bldg G #200       Fort Collins                 CO           80525      $           163.50 Customer Contract

Scott A Johnson PC        9759 E Charter Oak Road                             Scottsdale                   AZ           85260      $               -   Customer Contract

Scott Cofer               242 Oakridge Ln                                     Lake St Louis                MO           63367      $           76.50 Customer Contract

Scott County Assessors    200 4th Ave W                                       Shakopee                     MN           55379      $           544.50 Customer Contract

Scott Properties          1065 Executive Parkway            Ste 300           St Louis                     MO           63141      $           133.00 Customer Contract

Scott Spencer, MAI        439 Spring St.                                      Davidson                     NC           28036      $           750.00 Customer Contract

SCOTT, HANNAH R           1327 N PLEASANT ST                                  INDEPENDENCE                 MO           64050      $               -   Employee                Unliquidated

Scottsdale Properties     504 Marine St.                                      Boulder                      CO           80302      $           280.71 Customer Contract

SCZERBA, BRENDA           560 TIMBER RIDGE DR                                 TROPHY CLUB                  TX           76262      $               -   Employee                Unliquidated




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Seagoville EDC                 105 N. Kaufman Street                                Seagoville                   TX           75159        $      1,960.20 Customer Contract

SEAWARD, STEIG                 142 BAXTER FARM LANE                                 ERIE                         CO           80516        $     13,614.84 Employee                    Unliquidated

SEAWOOD, DAJUAN A              163 NORTHEAST ADAMS DAIRY PARKWAY                    BLUE SPRINGS                 MO           64014        $           173.10 Employee                 Unliquidated

SEBASTIAN, DONALD              1213 MELODY LANE                                     LEXINGTON                    KY           40514        $               -   Employee                Unliquidated

Security Bank of Kansas City   701 Minnesota Ave                                    Kansas City                  KS           66101        $      4,025.00 Customer Contract

Sedalia Water Dept             111 W. Fourth Street                PO Box 806       Sedalia                      MO           65302-0806   $           95.20 Trade

Segelke Real Estate, LLC       5570 E Bates                                         Denver                       CO           80222        $           63.50 Customer Contract

SEIFNER, RHONDA                PO BOX 1911                                          SEDALIA                      MO           65302        $           195.37 Employee                 Unliquidated

Selwyn Property Group, Inc.    4310 Park Road, Suite 101                            Charlotte                    NC           28209        $      3,500.00 Customer Contract

Shader Realty, Inc             201 Vulcan Rd                                        Birmingham                   AL           35209        $           300.00 Customer Contract

SHAH, DEEPA                    5146 E HUNSFORD DR. UNIT C                           ORANGE                       CA           92867        $           784.11 Employee                 Unliquidated

Shai Commercial Real Estate 4009 Columbus Rd                       Suite 333        Granville                    OH           43023        $           385.00 Customer Contract

Shannon Waltchack, LLC         1616 2nd Ave S                      Suite 100        Birmingham                   AL           35233        $      1,350.00 Customer Contract

SHANNON, MINEKO                136 SOULSHINE CT                                     ASHEVILLE                    NC           28806        $               -   Employee                Unliquidated

SHARP, SARAH                   606 BROADWAY                                         GRAIN VALLEY                 MO           64029        $      1,540.83 Employee                    Unliquidated

SHAVER, KRISTIE                9612 E 31ST ST SOUTH                                 INDEPENDENCE                 MO           64052        $           334.13 Employee                 Unliquidated

SHAW, DENNIS L                 7520 GLADSTONE DRIVE # 208                           NAPERVILLE                   IL           60565        $               -   Employee                Unliquidated

SHAW, NEAL                     6148 OGG RD                                          SHAWNEE                      KS           66218        $               -   Employee                Unliquidated

Shawnee EDC                    15100 W. 67th Street                                 Shawnee                      KS           66217        $           214.00 Customer Contract

Sheboygan County EDC           508 New York Ave.                   Room 209         Sheboygan                    WI           53081-4665   $      2,200.00 Customer Contract

SHELLEY, DONALD                1274 NW PHELPS DR                                    GRAIN VALLEY                 MO           64029        $               -   Employee                Unliquidated

SHELTON, ELIZABETH             1217 NE CARDINAL CIR                                 LEES SUMMIT                  MO           64064        $           156.15 Employee                 Unliquidated

SHEPPARD, CHRISTINE            314 E ORCHARD STREET                                 ODESSA                       MO           64076        $               -   Employee                Unliquidated




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SHERIDAN, CHRISTOPHER         6126 WILLOW PINE DRIVE                              SPRING                       TX           77379      $               -   Employee                Unliquidated

SHERRY, MARK                  2053 HARTVILLE RD                                   MOGADORE                     OH           44260      $      4,375.00 Employee                    Unliquidated
Sherwood Development
Group                         1151 Biscayne Dr                                    Concord                      NC           28027      $           90.00 Customer Contract

SHIRLEY, CHARLES FRANCIS      521 NW 29TH ST. APT 3                               OKLAHOMA CITY                OK           73103      $      3,421.53 Employee                    Unliquidated

Shockcor, Inc.                P.O. Box 389                                        Denver                       CO           80201      $           63.50 Customer Contract

Shockley Commercial           501 1st Capitol Dr                 Suite 5          St.Charles                   MO           63301      $      1,605.50 Customer Contract

SHORES, SHELLEY               149 OAKLYN HILLS DRIVE                              CHELSEA                      AL           35043      $               -   Employee                Unliquidated

Shred-It USA, LLC             1000 Lackman Rd                                     Lenexa                       KS           66219      $           92.76 Trade
Sibcy Cline - Comisar &
Meyer                         8040 Montgomery Rd                                  Cincinnati                   OH           45236      $           330.00 Customer Contract

SIEGERT, MICHELLE L           PO BOX 175                                          BATES CITY                   MO           64011      $      2,737.74 Employee                    Unliquidated

Sierra Real Estate Services   1244 Mallard Ct                                     Boulder                      CO           80303      $           444.50 Customer Contract

Sight Commercial Realty       8100 High Dr                                        Leawood                      KS           66206      $           168.00 Customer Contract

Signature Bank of Arkansas    3878 N Crossover Rd                Suite 20         Fayetteville                 AR           72703      $      2,200.00 Customer Contract
Signature Real Estate
Services                      8585 E Hartford Dr                 Suite 300        Scottsdale                   AZ           85255      $           236.50 Trade
Silk Road Properties -
Houston                       13630 Beamer Rd                    Ste 107          Houston                      TX           77089      $           900.00 Customer Contract

Silver Investments Limited    1805 Sardis Road North, Ste 120                     Charlotte                    NC           28270      $           180.00 Customer Contract

Simha Investment Corp.        5690 DTC Blvd                      Suite 285 W      Greenwood Village            CO           80111      $           127.00 Customer Contract
Simpson Commercial Real
Estate                        1401- B Sunset Dr                                   Greensboro                   NC           27408      $           540.00 Customer Contract

SIMPSON, KYLIE                1112 SE 11TH TERR                                   LEES SUMMIT                  MO           64081      $           251.25 Employee                 Unliquidated

Sineath Real Estate Solutions 9650 Strickland Rd                 Ste 103-145      Raleigh                      NC           27615      $           130.00 Customer Contract

SIROKY, MICHAEL BRIAN       10512 W 73RD ST                                       SHAWNEE                      KS           66203      $               -   Employee                Unliquidated
Sitzman-Mitchell Commercial
Brokerage, Inc.             3500 JFK Parkway Ste 220                              Fort Collins                 CO           80525      $           170.00 Customer Contract

SK Goodman Real Estate Inc. 13400 Broadwell Court                                 Huntersville                 NC           28078      $           900.00 Customer Contract




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SKILES, LEANN MARIA         816 SW LEEANN DRIVE                              GRAIN VALLEY                 MO           64029        $           179.65 Employee                 Unliquidated

SKLD Title Services, Inc    9540 E Jewell Ave Suite A                        Denver                       CO           80247-5714   $      6,666.00 Trade

SLICER, JESSE C             1303 N ANNE SHIRLEY DR                           OLATHE                       KS           660616737    $               -   Employee                Unliquidated

Slosburg Company            10040 Regency Circle            Suite 200        Omaha                        NE           68114        $           500.00 Customer Contract

Sloss Real Estate Group     1130 S 22nd St                                   Birmingham                   AL           35205        $           125.00 Customer Contract

SMALL, KEVIN                2651 MONTEREY ST                                 TORRANCE                     CA           90503        $               -   Employee                Unliquidated

Smith Commercial Valuations 401 1st Ave South                                Tierra Verde                 FL           33715        $      1,344.00 Customer Contract

Smith Jordan Realty         19015 River Falls Dr.                            Davidson                     NC           28036        $           360.00 Customer Contract

SMITH, BRIAN                4266 SW AVERIO LANE                              LEES SUMMIT                  MO           64082        $               -   Employee                Unliquidated

SMITH, CASSANDRA            509 NW DELWOOD DRIVE                             BLUE SPRINGS                 MO           64015        $           431.46 Employee                 Unliquidated

SMITH, DAWN                 230 S OSAGE ST                                   BUCKNER                      MO           64016        $           177.50 Employee                 Unliquidated

SMITH, JESSICA LEIGH        1201 NE 10TH STREET                              BLUE SPRINGS                 MO           64014        $           321.47 Employee                 Unliquidated

SMITH, JULIA                436 NW 701 RD                                    CENTERVIEW                   MO           64019        $           86.87 Employee                  Unliquidated

SMITH, KATHLEEN             808 N MOHAWK AVE                                 INDEPENDENCE                 MO           64056        $            7.49 Employee                  Unliquidated

SMITH, KEITH J              308 NE KNOX ST                                   BLUE SPRINGS                 MO           64014        $      2,422.98 Employee                    Unliquidated

SMITH, SPENCER M            105 LEONARD STREET APT 4C                        BROOKLYN                     NY           11206        $               -   Employee                Unliquidated

Snapfinger Woods LLC        4151 Ashford Dunwoody Rd        STE 165          Atlanta                      GA           30319        $           720.00 Customer Contract

SOENDKER, GLENN             225 NE MISTY MEADOW DR.                          LEES SUMMIT                  MO           64064        $     23,556.40 Employee                    Unliquidated

SOENDKER, MICHAEL GLENN 225 NE MISTY MEADOW DR.                              LEES SUMMIT                  MO           64064        $               -   Employee                Unliquidated

SOENDKER, SALLY ANN         225 NE MISTY MEADOW DR                           LEES SUMMIT                  MO           64064        $               -   Employee                Unliquidated

SOLARI, WENDI S             1430 S. DUFF AVENUE                              WEST COVINA                  CA           91790                            Employee                Unliquidated

Sold By George, Inc         5228 Hidden Brooklane                            League City                  TX           77573        $           150.00 Customer Contract

Solender /Hall, Inc.        PO Box 670009                                    Dallas                       TX           75229        $      2,365.55 Customer Contract




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SOLOMON, EDWIN                1200 NE CARDINAL DR                                  LEES SUMMIT                 MO           64064        $           612.67 Employee                 Unliquidated

SOLOMON, HAILEY               1200 NE CARDINAL DRIVE                               LEES SUMMIT                 MO           64064        $      1,653.40 Employee                    Unliquidated

SOLUM, BENJAMIN ROY           6351 HAGAN ST                                        SHAWNEE                     KS           66216        $               -   Employee                Unliquidated

Somerstone LLC                19035 W Capitol Driver              Suite 108        Brookfield                  WI           53045        $           350.00 Customer Contract

Sonenreich                    2 Adams St.                         Suite 601        Denver                      CO           80206        $           63.50 Customer Contract

SORAH, CASSANDRA              917 NW 13th St                                       Blue Springs                MO           64015        $      4,543.11 Employee                    Unliquidated

Sorensen & Black                5812 N 12th St                    Suite 28         Phoenix                     AZ           85014        $      1,496.00 Customer Contract
South Central Properties, LLC -
Thomas Propst                   845 Church St N                   Ste 203          Concord                     NC           28025        $           320.00 Customer Contract

South Texas Realty Services   7718 Broadway                                        San Antonio                 TX           78209        $           700.00 Customer Contract

Southeast Commercial          714 29th Street South                                Birmingham                  AL           35233        $      1,800.00 Customer Contract
Southern CO Commercial
Brokers                       1720 Bellaire St.                   Suite 110        Denver                      CO           80222-4303   $      2,000.00 Trade

Southlake EDC                 1400 Main St.                       Suite 300        Southlake                   TX           76092        $      3,285.45 Customer Contract
Southland PropTax
Consultant                    421 W 3rd St                        Ste 920          Fort Worth                  TX           76102        $           370.10 Customer Contract

Southpace Properties          300 Richard Arrington Jr Blvd       Suite 900        Birmingham                  AL           35203        $      3,500.00 Customer Contract

Southpointe Realty Inc.       PO Box 199                                           Huntersville                NC           28070        $           180.00 Customer Contract

SouthStone Properties         PO Box 78738                                         Charlotte                   NC           28271        $           180.00 Customer Contract

SOUVENIR, MIREILLE ANNA       90-18 216TH STREET                                   QUEENS VILLAGE              NY           11428        $           622.73 Employee                 Unliquidated
Space Commercial Real
Estate                        4155 E Jewell Ave                   Suite 707        Denver                      CO           80222        $           127.00 Customer Contract

Sparig and Company            4531 E Batavia Place                                 Denver                      CO           80220        $           127.00 Customer Contract

SPEARS, VALLERIE              9208 CARDWELL ST                                     HOUSTON                     TX           77055        $      5,199.06 Employee                    Unliquidated
Spectrum Commercial RE
serv.                         1873 S. Bellaire St                 STE 300          Denver                      CO           80222        $           127.00 Customer Contract

Speridian Technologies LLC    2400 Louisiana NE Bldg 3                             Albuquerque                 NM           87110        $     75,320.00 Trade

Sperry Commercial             18881 Von Karman Ave                Ste 800          Irvine                      CA           92867        $           63.50 Customer Contract




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Sperry Properties Inc.         2871 N. Speer Blvd.                                      Denver                       CO           80211      $           327.00 Customer Contract

Sperry Van Ness - Huntsville   2225 Drake Ave                      Ste 2                Huntsville                   AL           35805      $           297.00 Customer Contract

Sperry Van Ness - Lake Mary 174 W Comstock Ave                                          Winter Park                  FL           32789      $      1,440.00 Customer Contract
Sperry Van Ness Ark Best
Realy                       724 Garland                                                 Little Rock                  AR           72201      $           606.25 Customer Contract
Sperry Van Ness Commercial
Real Estate Advisors -      19901 W Catawba Ave                    Ste 102              Charlotte                    NC           28031      $           900.00 Customer Contract

Spire                          Drawer 2                                                 St. Louis                    MO           63171      $           42.50 Trade

SPRADLING, JOHN                6827 ROWLAND AVE                                         KANSAS CITY                  KS           66109      $           243.62 Employee                 Unliquidated
Springfield Chamber of
Commerc                        202 S John Q Hammons Pkwy                                Springfield                  MO           65806      $      1,500.00 Customer Contract

St Elizabeth Healthcare        One Medical Village Drive                                Edgewood                     KY           41017      $           708.75 Customer Contract
St Louis City Recorder of
Deed                           1200 Market Street                  City Hall Room 126   St Louis                     MO           63103      $           337.50 Trade

St. John Properties, Inc.      420 Corporate Circle                Suite A              Golden                       CO           80401      $           128.50 Customer Contract
St. Joseph Area Chamber of
Com                            3003 Frederick Ave                                       St. Joseph                   MO           64506      $           165.00 Customer Contract
Stabler Commercial Real
Estate                         PO Box 14736                                             Atlanta                      GA           30324      $           270.00 Customer Contract

STANART, KAYLA                 628 NORTH PLEASANT STREET                                INDEPENDENCE                 MO           64050      $               -   Employee                Unliquidated

Stanbrough Realty Company 10888 Hickman Rd.                        Suite 3B             Clive                        IA           50325      $      1,965.00 Customer Contract

Standout Properties            8502-203 Six Forks Road                                  Raleigh                      NC           27615      $           130.00 Customer Contract

STANGLE, HANNA                 8902 E GREGORY BLVD                                      RAYTOWN                      MO           64133      $           178.08 Employee                 Unliquidated

STANISLAUS, AMY J              1207 NW CEDAR LANE                                       GRAIN VALLEY                 MO           64029      $               -   Employee                Unliquidated
Stanly County Economic
Development Commission         1000 N First St                     Ste 11               Albemarle                    NC           28001      $           200.00 Customer Contract

Staples Advantage              500 Staples Dr                                           Framingham                   MA           01702      $           440.25 Trade

STAPLETON, PAUL                444 EAST 82ND STREET APT 23F                             NEW YORK                     NY           10028      $      2,921.05 Employee                    Unliquidated

Star Commercial Realty         2227 Michigan Ave                                        Arlington                    TX           76013      $           225.05 Customer Contract
Stark Development Board,
Inc.                           116 Cleveland Ave NW, Suite 600                          Canton                       OH           44072      $           600.00 Customer Contract




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STARLING, RICO                2407 CROWN FLAIR DR.                                 WEST DES MOINES              IA           50265        $      4,174.69 Employee                    Unliquidated

State Comptroller - Texas     111 E 17th St                                        Austin                       TX           78774-0100   $     14,914.39 Trade

State of Connecticut DOR      450 Columbus Blvd                   Suite 1          Hartford                     CT           06103        $           280.00 Trade
State of Minnesota, Dept
Admin                         50 Sherburne Ave                    Rm 309           St Paul                      MN           55155        $           363.00 Customer Contract
State of Wisconsin - Division
of Facilities Management      101 East Wilson, 7th Floor                           Madison                      WI           53707        $           369.00 Customer Contract

State Street Capital Realty   191 West Nationwide Blvd            Suite 200        Columbus                     OH           43215        $           150.00 Customer Contract

Staufer Team                 833 LaFarge Ave                                       Louisville                   CO           80027        $           127.00 Customer Contract
STC Consolidated Operations,
LLC                          101 Catalog Dr                                        Elizabethtown                KY           42701        $      3,575.00 Customer Contract

Steele & Associates           14300 N Northsight Blvd., Ste 212                    Scottsdale                   AZ           85295        $      1,440.00 Customer Contract

STEELE, DIANA                 1914 N YORK ST.                                      INDEPENDENCE                 MO           64058        $           228.48 Employee                 Unliquidated

STEELE, SARA L                1200 MCVEY RD                                        SEDALIA                      MO           65301        $           229.48 Employee                 Unliquidated

STEELE, THEA R                1707 S SPEAS DRIVE                                   BLUE SPRINGS                 MO           64014        $               -   Employee                Unliquidated

Steelwood, Inc.               2907 Providence Road                Suite 304        Charlotte                    NC           28211        $           180.00 Customer Contract

STEIL, BRET                   9005 SW 10TH STREET                                  LEES SUMMIT                  MO           64064        $     11,471.96 Employee                    Unliquidated

STEINBACH, ABIGAIL            43 G STREET                                          LAKE LOTAWANA                MO           64086        $               -   Employee                Unliquidated

STEINBERG, ALAN JAY          1987 SW PANTHER TRACE                                 STUART                       FL           34997        $      2,314.31 Employee                    Unliquidated
Stephen Frank Associates,
LLC                          9 East brentmoor Park                                 St Louis                     MO           63105        $           640.00 Customer Contract
Stephens Appraisal Services,
LLC                          203 East Side Square #2                               Huntsville                   AL           35801        $           450.00 Customer Contract

STEPS Real Estate LLC         1500 28th Street                                     Boulder                      CO           80303        $           98.50 Customer Contract

Sterling Fox Group LLC        1636 Windy Ridge Road                                Charlotte                    NC           28270        $           110.00 Customer Contract

Sterling Real Estate Group    9164 W Warren Dr                                     Lakewood                     CO           80227        $           63.50 Customer Contract

Stevens Group                 6005 Nolensville Pike               Suite 201        Nashville                    TN           37211        $           195.00 Customer Contract

STEVENS, DYLAN                254 S FRANKLIN ST                                    RICHWOOD                     OH           43344        $               -   Employee                Unliquidated




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STEVENS, MARAH               9172 QUANTUM SQUARE DR                                   COLUMBUS                     OH           43240        $               -   Employee                Unliquidated

STEVENS, TRICIA              16001 E 29TH ST S                                        INDEPENDENCE                 MO           64055        $               -   Employee                Unliquidated

Stewart & Associates Inc.    4800 Mills Civic Parkway           #205                  West Des Moines              IA           50265        $           288.00 Customer Contract

STEWART, SARA                1006 N 7 HWY APT 8                                       PLEASANT HILL                MO           64080        $               -   Employee                Unliquidated

STILL, SARAH                 404 SW PARKWOOD DR                                       BLUE SPRINGS                 MO           64014        $           487.67 Employee                 Unliquidated

STOCKSTILL, RACHEL           3143 ELSIE DR                                            SEDALIA                      MO           65301        $           75.93 Employee                  Unliquidated

STOKES, ALLEN D              5318 HYDE PARK AVE                                       ORLANDO                      FL           32808        $               -   Employee                Unliquidated

STONE, CHRIS                 920 SW SPEAS DR                                          BLUE SPRINGS                 MO           64014        $           860.86 Employee                 Unliquidated

Stout Risius Ross, Inc       4000 Town Center, 20th Floor                             Southfield                   MI           48075        $           645.15 Customer Contract

Stowers & Company            257 Lawrence St NE                 Unit 5236             Marietta                     GA           30061        $           270.00 Customer Contract

STRAUSS, TIMOTHY             3825 QUEEN RIDGE DR                                      INDEPENDENCE                 MO           64055        $      3,182.13 Employee                    Unliquidated

Streetwise Realty            155 E Boardwalk Dr Ste 450                               Fort Collins                 CO           80525        $           57.15 Customer Contract

STROBLE, FRANKLIN            1714 MARTY AVE                                           KANSAS CITY                  KS           66103        $               -   Employee                Unliquidated
STROHMEIER, ELIZABETH
MARION                       12 BRADY LANE                                            NEW YORK                     NY           10589        $      4,398.17 Employee                    Unliquidated

Structure Commercial         12740 Hillcrest Road               Suite 205             Dallas                       TX           75230        $     10,506.86 Customer Contract

Sue Clark Real Estate Services 1820 NW 118th St.                Ste 110               Des Moines                   IA           50325        $           150.00 Customer Contract

SUMMERS, CHRISTOPHER         1906 JESSE WAY                                           CORINTH                      TX           76210        $     11,617.80 Employee                    Unliquidated
Summit 200 South Tryon,                                         721 Emerson Rd, Ste
LLC                          c/o Cushman & Wakefield            300                   St. Louis                    MO           63141        $      3,121.54 Trade

Summit City Realty, LLC      6737 W. Washington St              Suite 2220            West Allis                   WI           53214        $           478.50 Customer Contract

Summit Commercial Brokers 263 Second Ave Suite 106B, PO Box 9                         Niwot                        CO           80544        $           63.50 Customer Contract

Summit Commercial Brokers 263 2nd Ave                                                 Niwot                        CO           80544        $           98.50 Customer Contract

Sun Control of Minnesota     2425 Rice St                                             St Paul                      MN           55113        $           200.00 Customer Contract

Sun Life Financial           PO Box 843300                                            Kansas City                  MO           64184-3300   $      1,047.20 Trade




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Sundance Square
Management                   201 Main St                        Suite 700          Fort Worth                   TX           76102        $           610.15 Customer Contract

Sunizo, LLC                  12481 Brantley Commons Ct                             Fort Myers                   FL           33907        $           306.00 Customer Contract

Sunset Bank                  521 W. Sunset Drive                                   Waukesha                     WI           53189        $           500.00 Customer Contract

Superior Building Group      2350 South 7th ST STE 200                             St Louis                     MO           63104        $           550.00 Customer Contract

Suretly Realty Inc           13651 Stuart St                                       Broomfield                   CO           80023        $           98.50 Customer Contract

Surety Bank - Lake Mary      990 Woodland Blvd. Ste 1           PO Box 819         Deland                       FL           32720        $      1,045.00 Customer Contract
Suwanee Economic
Development                  330 Town Center Ave                                   Suwanee                      GA           30024        $      2,000.00 Customer Contract
SVN - Tar Heel Commercial
Real                         7424 Chapel Hill Rd                                   Raleigh                      NC           27607        $           720.00 Customer Contract

SVN / The Genesis Group      718 Thompson Ln, Ste 108                              Nashville                    TN           37204        $           492.00 Customer Contract

SVN Investec - Shane Giles 1616 Westgate Cir                                       Brentwood                    TN           37027        $           925.00 Customer Contract
SVN Summit Commercial
Real Estate Group, LLC     3045 Smith Road, Suite 200                              Akron                        OH           44333        $           895.00 Customer Contract
SVN/Denver Commercial, LLC
- Corey Murray             2032 Lowe St                                            Fort Collins                 CO           80525        $           889.00 Customer Contract

SWAFFORD, PAULA              15503 E 42ND TERR SO                                  INDEPENDENCE                 MO           64055        $               -   Employee                Unliquidated

Swanson Properties           P.O. Box 720                                          Denver                       CO           80201-0720   $           63.50 Customer Contract

SWANSON, DOUGLAS             534 BLACKBIRD DRIVE                                   SPRING BRANCH                TX           78070        $      1,514.25 Employee                    Unliquidated
Swearingen Realty Group,
LLC                          5950 Berkshire Lane                Suite 500          Dallas                       TX           75225        $      1,734.15 Customer Contract

Syndicate Real Estate Inc.   613 Euclid Street                                     Monroe                       NC           28110        $           800.00 Customer Contract

SZPAK, KATHRYN               10504 E 33RD TER S                                    INDEPENDENCE                 MO           64052        $           375.25 Employee                 Unliquidated

T Stacy & Associates         823 Congress                       Suite 1111         Austin                       TX           78701        $           440.00 Customer Contract

T.L. Gowin & Company, Inc.   90 Kelli Clark Ct SE               Ste A              Cartersville                 GA           30121        $           450.00 Customer Contract

TA, JOHN K                   11717 176TH ST                                        ARTESIA                      CA           90701        $               -   Employee                Unliquidated

TALBOT, KEVIN                601 N HOME AVE                                        PARK RIDGE                   IL           60068        $     14,019.05 Employee                    Unliquidated

TANNER, VIRGINIA ANN         2500 NW LEANN DR                                      BLUE SPRINGS                 MO           64014        $               -   Employee                Unliquidated




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TAO Interests, Inc.           770 S Post Oak Lane                Ste 540           Houston                      TX           77056      $           130.00 Customer Contract

Tarantino Properties          12770 Cimarron Path                Ste 122           San Antonio                  TX           78249      $           780.00 Customer Contract
Target Management &
Leasing                       110 Boggs Lane                     Suite 165         Cincinnati                   OH           45246      $           600.00 Customer Contract

TARTAGLIA, DANIEL MICHAEL 308 N PECK DR                                            INDEPENDENCE                 MO           64056      $           200.90 Employee                 Unliquidated

Taylor & Mathis               400 Interstate North Pkwy          Suite 850         Atlanta                      GA           30339      $      3,250.00 Customer Contract

Taylor Real Estate Group      1901 Brandon Cir                                     Charlotte                    NC           28211      $           275.00 Customer Contract

TAYLOR, REBECCA               1410 NE NOLAN DRIVE                                  GRAIN VALLEY                 MO           64029      $               -   Employee                Unliquidated

TCRG Properties               5201 Camp Bowie Blvd., #200                          Fort Worth                   TX           76107      $           700.25 Customer Contract
Team Volusia Economic
Development Corporation       One Daytona Blvd                   Ste 240           Daytona Beach                FL           32114      $      3,375.00 Customer Contract

Tebo Development              P.O. Box T                                           Boulder                      CO           80306      $           63.50 Customer Contract

Ted Blank and Associates      14 Inverness Dr East               G100              Englewood                    CO           80112      $           197.00 Customer Contract

Telhio Credit Union           96 N 4th St                                          Columbus                     OH           43215      $           600.00 Customer Contract

TELU, SURESH                  7881 W 155TH PL                                      OVERLAND PARK                KS           66223      $      6,695.67 Employee                    Unliquidated
Temple Economic
Development Corporation -     1 South 1st Street                                   Temple                       TX           76501      $      3,500.00 Customer Contract

Tenant Real Estate Advisors   4445 Northpark Dr                  #208              Colorado Springs             CO           80907      $           63.50 Customer Contract

TenantWisdom LLC              3801 Arapahoe Ave                  #303              Boulder                      CO           80303      $           241.28 Customer Contract

TENG, DANNY                   2236 CALLE PUEBLA                                    WEST COVINA                  CA           91792      $      4,914.38 Employee                    Unliquidated
Terra Firma Management,
LTD                           1460 S McCall Rd Ste 2G                              Englewood                    FL           34223      $      1,396.50 Customer Contract

Terrus Real Estate Group      100 Court Avenue                   Suite 400         Des Moines                   IA           50309      $           630.00 Customer Contract
Terry Moore & Associates,
Inc                           320 Executive Court                                  Little Rock                  AR           72205      $           128.00 Customer Contract

TESFAYE, DAWIT                7515 CODY STREET APT 8                               SHAWNEE                      KS           66214      $               -   Employee                Unliquidated

Testa Realty                 2335 2nd St                                           Cuyahoga Falls               OH           44221      $           375.00 Customer Contract
Texas Commercial Real Estate
Services                     11020 Saathoff Dr                                     Cypress                      TX           77429      $      3,880.00 Customer Contract




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Texas Department of
Transportation - Austin    125 E 11th St.                                        Austin                       TX           78701      $      7,750.00 Customer Contract
The Appraisal Resource
Group, Inc.                225 E Mason St., Ste 402                              Milwaukee                    WI           53202      $           187.50 Customer Contract
The Ashley Company - Roger
Cole                       2851 Lakewood Village Dr                              North Little Rock            AR           72116      $           480.00 Customer Contract

The Augustin Companies, Inc. 3700 W. 104th Ave.                                  Westminster                  CO           80031      $           197.00 Customer Contract

The Avocat Company            511 W. Bay Street                 Ste 320          Tampa                        FL           33606      $      6,336.00 Customer Contract

The Berry Companies           11111 Carmel Commons Blvd         Ste 207          Charlotte                    NC           28226      $           360.00 Customer Contract

The Boerke Company            731 N Jackson Street              Suite 700        Milwaukee                    WI           53202      $      6,720.00 Customer Contract

The Brennan Company           17330 Preston Road                Suite 200-D      Dallas                       TX           75252      $           714.10 Customer Contract

The Brennan Group             12221 Big Bend Blvd                                St Louis                     MO           63122      $           726.75 Customer Contract

The Business Bank             8000 Maryland Ave 14th Floor                       St Louis                     MO           63105      $           500.00 Customer Contract

The C Chase Company           5353 Gamble Drive, Suite 108                       Minneapolis                  MN           55416      $           200.00 Customer Contract
The Carey Group R.E. Svcs,
LLC                           N8428 Marty Road                                   New Glarus                   WI           53574      $           195.00 Customer Contract

The City of Oklahoma City     420 W Main, Suite 500                              Oklahoma City                OK           73102      $           225.00 Customer Contract

The Colorado Group, Inc.      3434 47th St STE 220                               Boulder                      CO           80301      $      1,652.50 Customer Contract

The D.E. Chase Group, Inc.    200 Violet St                     Ste 100          Golden                       CO           80401      $           254.00 Customer Contract

The Gary Myers Company        4711 Poplar Ave.                  Suite 200        Memphis                      TN           38117      $           300.00 Customer Contract

The Gialamas Company Inc      8040 Excelsior Drive              Suite 200        Madison                      WI           53717      $      1,265.00 Customer Contract

The Grant Group               113 S. Broadway                                    Edmond                       OK           73034      $           320.00 Customer Contract

The Group Inc. - Chris Hau   123 East Mountain Avenue                            Fort Collins                 CO           80524      $           85.00 Customer Contract
The Group Inc. - Christopher
Reilly                       121 E Mountain Ave                                  Fort Collins                 CO           80524      $           85.00 Customer Contract

The Group Inc. - Craig Hau    121 East Mountain Avenue                           Fort Collins                 CO           80524      $           85.00 Customer Contract

The Group Inc. - Jason Billings 121 East Mountain Ave                            Fort Collins                 CO           80524      $           85.00 Customer Contract

The Group Inc. - John Peden 121 East Mountain Avenue                             Fort Collins                 CO           80524      $           340.00 Customer Contract




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The Group Inc. - Kevin
Anstett                     121 East Mountain Ave                                Fort Collins                 CO           80524        $           85.00 Customer Contract

The Group Inc. - Rhett Strom 121 East Mountain Avenue                            Fort Collins                 CO           80524        $           85.00 Customer Contract

The Group, Inc.- Vern Milton 3285 Gunnison Dr                                    Fort Collins                 CO           80526        $           170.00 Customer Contract
The Iris Realty Group, Inc. -
David Heller                  820 S Monaco Pkwy Ste 278                          Denver                       CO           80224        $           63.50 Customer Contract

The Jackson Company         8216 Tanglerose Drive                                Frisco                       TX           75034-6262   $           356.10 Customer Contract

The Keith Corporation       4500 Cameron Valley Pkwy            Suite 400        Charlotte                    NC           28211        $      4,625.00 Customer Contract

The Knox Group, Inc.        16740 Birkdale Commons Pkwy         Suite 202        Huntersville                 NC           28078        $      1,700.00 Customer Contract
The Krauss Organization -
Tampa                       711 North Sherrill Street                            Tampa                        FL           33609        $      2,772.00 Customer Contract

The Lam Group               2060 N Collins Blvd                 Ste 110          Richardson                   TX           75080        $           962.75 Customer Contract

The Liberty Solution LLC    6130 Harris Technology Blvd.                         Charlotte                    NC           28269        $           450.00 Customer Contract

The Ligon Company           P.O. Box 4815                                        Rock Hill                    SC           29732        $           800.00 Customer Contract

The Margolis Team, Inc.     410 Strong St                                        Brighton                     CO           80601        $           244.14 Customer Contract

The Memory Company          3582 Brookhill Cir                                   Marietta                     GA           30062        $           270.00 Customer Contract

The Moser Group Inc         231-B8 Post Office Drive                             Indian Trail                 NC           28079        $      3,275.00 Customer Contract
The Muntzing - Sattele
Company                     121 Perimeter Center West           310              Atlanta                      GA           30346        $      2,310.00 Customer Contract

The Nova Group              7300 Blanco Rd, Ste. 603                             San Antonio                  TX           78216        $           195.00 Customer Contract

The Paske Group             100 Wilburn Road                    Suite 209        Sun Prairie                  WI           53590        $           156.25 Customer Contract

The Pauls Corporation       270 St. Paul St.                    Suite 300        Denver                       CO           80206        $           228.60 Customer Contract

The Quin Group              5855 Jimmy Carter Blvd              Suite 210        Norcross                     GA           30071-2929   $           675.00 Customer Contract

The Ruthvens - Lakeland     41 Lake Morton Drive                                 Lakeland                     FL           33801        $           900.00 Customer Contract

The Sanders Trust           1000 Urban Center, Ste 675                           Birmingham                   AL           35242        $      4,800.00 Customer Contract

The Sherman Agency Inc.     910 W 8th Ave                                        Denver                       CO           80204        $           228.60 Customer Contract

The Siedenburg Group        1350 NW 138th Street                Suite 450        Clive                        IA           50325        $           128.00 Customer Contract




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The Simpson Company of
Georgia                      40 Technology Pkwy South              Suite 202        Peachtree Corners            GA           30092      $      2,160.00 Customer Contract
The Simpson Organization
Inc.                         112 S Tryon St                        Suite 1700       Charlotte                    NC           28284      $           450.00 Customer Contract

The Spectrum Companies       150 Fayetteville Street, Suite 590                     Raleigh                      NC           27614      $      1,350.00 Customer Contract

The Spectrum Companies       150 Fayetteville St                   Ste 590          Raleigh                      NC           27601      $           600.00 Customer Contract

The Summit Group Inc         574 Santa Fe Dr                       Suite 300        Denver                       CO           80204      $           514.00 Customer Contract

The Talarico Company, LLC    1001 W. 120th Ave                     Suite 215        Westminister                 CO           80234      $           98.50 Customer Contract

The Turner Group             410 Lakestone Dr                                       Raleigh                      NC           27609      $           600.00 Customer Contract

The Tuttle Company           3014 Southcross Blvd                                   Rock Hill                    SC           29730      $      3,475.00 Customer Contract

The Union Bank Company       105 Progressive Drive                                  Columbus Grove               OH           45830      $      2,250.00 Customer Contract

The Vertex Companies, Inc.   6012 W. Campus Circle Dr., Ste #220                    Irving                       TX           75063      $           450.10 Customer Contract

The Village of Waunakee      100 E. Main Street                    P.O. Box 41      Waunakee                     WI           53597      $           250.00 Customer Contract

The Weitzman Group           3120 Maple Avenue                     Suite 350        Dallas                       TX           75201      $      1,890.00 Customer Contract

The Whitfield Company        1101 S. Capital of Texas Highway      Suite A101       Austin                       TX           78746      $           742.50 Customer Contract

The Wittmann Companies       303 W. Spring Street                  Suite 550        Columbus                     OH           43215      $           50.00 Customer Contract

The Zall Company             4725 S. Monaco St.                    Suite 330        Denver                       CO           80237      $           294.30 Customer Contract

The Zepp Company             5401 Settlement Way                                    McKinney                     TX           75070      $      1,590.50 Customer Contract

THEISEN, TANITA              207 N PINE ST                                          COLE CAMP                    MO           65325      $      1,449.08 Employee                    Unliquidated

THIELE, CASSANDRA            3838 SW HARBOR DRIVE                                   LEES SUMMIT                  MO           64082      $               -   Employee                Unliquidated

Third Man Development        6926 Waterman Ave                                      St Louis                     MO           63130      $           85.00 Customer Contract

Thomas Jefferson Kerr        1249 Mansfield Ave NE                                  Atlanta                      GA           30307      $      1,125.00 Trade

Thomas Lay Realtors          5500 NW Expressway                    Suite C          Oklahoma City                OK           73132      $      1,732.50 Customer Contract

Thomas Realty Group          300 South Second Street                                St Charles                   MO           63301      $           150.00 Customer Contract

THOMAS, DAVID                29127 ERICA LEE CT                                     KATY                         TX           77494      $      3,497.58 Employee                    Unliquidated




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THOMAS, DAVID BRIAN          857 SW HARVEST DR.                                        GRAIN VALLEY                MO           64029      $           227.84 Employee                 Unliquidated

THOMAS, KAREN                7724 CLEVELAND AVE                                        KANSAS CITY                 KS           66109      $               -   Employee                Unliquidated

THOMAS, KELSIE               2112 N 6 MILE CHURCH RD                                   INDEPENDENCE                MO           64058      $      4,357.49 Employee                    Unliquidated

THOMAS, LISA                 1501 N. BLUE MILLS RD,                                    INDEPENDENCE                MO           64056      $               -   Employee                Unliquidated

THOMAS, MICKIE W             710 BARLIN CT                                             NASHVILLE                   TN           37221      $      1,209.82 Employee                    Unliquidated

THOMAS, TARA N               610 NW Yennie St. Apt 123                                 Grain Valley                MO           64029      $           417.23 Employee                 Unliquidated

THOMAS, VEECYNTHIA           1711 SW SUNSET ST                                         INDEPENDENCE                MO           64015      $               -   Employee                Unliquidated

Thompson Realty Capital, LLC 1600 N. Collins Blvd              Suite 1500              Richardson                  TX           75080      $      2,000.50 Customer Contract

THOMPSON, CASSANDRA          5209 NW PENNINGTON LANE                                   BLUE SPRINGS                MO           64015      $               -   Employee                Unliquidated

Thomson Realty of WI Inc.    N28 W23000 Roundy Drive           #204                    Pewaukee                    WI           53072      $           372.50 Customer Contract
THORNBURG, JESSIE
DANIELLE                     1017 WEST 16TH STREET                                     SEDALIA                     MO           65301      $           471.11 Employee                 Unliquidated

THORSELL, JAMES              1128 CREE DR                                              COLORADO SPRINGS            CO           80915      $           153.88 Employee                 Unliquidated

Ticon Properties             5836 Fayetteville Rd              Suite 201               Durham                      NC           27713      $      1,188.00 Customer Contract
                                                               Barton Oaks Plaza IV,
TIG Real Estate Services     901 S Mopac                       Suite 28                Austin                      TX           78746      $      1,950.00 Customer Contract

Tin Eye                      223 Queen Street East             Toronto                 Ontario                     Canada       M5A 1S2    $     27,400.00 Trade

Titan Real Estate Service LLC 1200 East Morehead St.                                   Charlotte                   NC           28204      $           180.00 Customer Contract

TITUS, TIMOTHY               704 NW EAGLE DR                                           GRAIN VALLEY                MO           64029      $      1,643.64 Employee                    Unliquidated
TMV Partners, LLC / Vandiver
Property Group, LLC          1960 Overhill Rd                                          Charlotte                   NC           28211      $           165.00 Customer Contract

Todd Tilghman                6855 S Havana St                  Suite 150               Centennial                  CO           80112      $           63.50 Customer Contract

TODD, SHAMMAH                1555 SANDPIPER CT                                         JONESBORO                   GA           30238      $               -   Employee                Unliquidated

TOMBLINSON, APRIL            19007 E 6TH ST N                                          INDEPENDENCE                MO           64056      $               -   Employee                Unliquidated

Top Gun Sales Performance    5155 Financial Way                                        Mason                       OH           45040      $           390.00 Customer Contract

TORRES, KALI                 3409 NW DUNCAN RD APT 10                                  BLUE SPRINGS                MO           64015      $               -   Employee                Unliquidated




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           Creditor                             Address              Address2                  City               State   Zip Code       Total                   Claim Type     Disputed

Tortorigi Properties Inc.    122 N. Clarkville Road            Suite 201        Trussville                   AL           35173      $           490.00 Customer Contract
Total Concepts RE Services
LLC                          3620 S Galapago                                    Englewood                    CO           80110      $           63.50 Customer Contract

Total Home Analysis            2012 E Phelps Ste B                              Springfield                  MO           65802      $           150.00 Customer Contract
Total Real Estate Consultants,
Inc                            11760 W Sample Rd               Ste 104          Coral Springs                FL           33065      $           247.50 Customer Contract
Total Real Estate Consultants,
Inc - Edith Gomez              11760 W Sample Rd., Ste 104                      Coral Springs                FL           33065      $           166.25 Customer Contract

Town of Berthoud             807 Mountain Ave                                   Berthoud                     CO           80513      $           170.00 Customer Contract

Town of Chapel Hill          405 Martin Luther King Jr. Blv                     Chapel Hill                  NC           27514      $           305.00 Customer Contract

Town of Collierville         500 Poplar View Parkway                            Collierville                 TN           38017      $      1,724.00 Customer Contract

Town of Fountain Hills       16705 E Avenue of the Fountains                    Fountain Hills               AZ           85268      $           300.00 Customer Contract
Town of Fuquay-Varina
Economic                     401 Old Honeycutt Road                             Fuquay-Varina                NC           27526      $           170.00 Customer Contract

Town of Garner               900 7th Ave.                                       Garner                       NC           27529      $           510.00 Customer Contract

Town of Harrisburg           4100 Main Street, Ste 101                          Harrisburg                   NC           28075      $           750.00 Customer Contract

Town of Rolesville           PO Box 250                                         Rolesville                   NC           27571      $           500.00 Customer Contract

Town of Sunnyvale            127 N Collins Rd                                   Sunnvale                     TX           75182      $           390.05 Customer Contract

Town of Wake Forest          301 S Brooks St                                    Wake Forest                  NC           27587      $           305.00 Customer Contract

Town of Windsor              301 Walnut St                                      Windsor                      CO           80550      $           120.00 Customer Contract

Tradd Commercial             6201 Fairview Road                Suite 200        Charlotte                    NC           28210      $           450.00 Customer Contract
Tradd Commercial Real
Estate                       P.O. Box 472665                                    Charlotte                    NC           28247      $           180.00 Customer Contract

Trajan Investments           350 S. Miami Avenue Suite 3112                     Miami                        FL           33130      $      1,633.50 Customer Contract

Transwestern - Milwaukee     100 E Wisconsin Ave #1630                          Milwaukee                    WI           53202      $      2,100.00 Customer Contract
Transwestern Comm.
Services                     4643 Ulster St.                   Suite 300        Denver                       CO           80237      $      1,206.50 Customer Contract

Travis & Associates          3334 Peachtree Road               Suite 805        Atlanta                      GA           30326      $      1,425.00 Customer Contract

Treasured Real Estate        2690 E Milky Way                                   Phoenix                      AZ           85295      $      1,320.00 Customer Contract




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          Creditor                          Address                          Address2                 City                State   Zip Code       Total                      Claim Type        Disputed
Trevey Land and Commercial
Prp                        4013 N. Bayou Hills Ln                                       Parker                       CO           80134      $           914.40 Customer Contract

Trezevant Realty Corporation 9062 Valley Crest Lane                                     Germantown                   TN           38138      $           560.00 Customer Contract

Tri Properties Inc            4309 Emporer Blvd                       Ste 110           Durham                       NC           27703      $           880.00 Customer Contract

Triad Bank                    10375 Clayton Rd                                          St Louis                     MO           63131      $      2,500.00 Customer Contract

Triad Properties Co - J Kaplan 100 Church St. SW                      #100              Huntsville                   AL           35802      $           297.00 Customer Contract
Triangle Comm'l Assc of
Realt                         260 Town Hall Dr., Ste. A                                 Morrisville                  NC           27560      $      1,692.46 Trade
                              800 NE SUNNYSIDE SCHOOL RD. APT E,
TRIBBLE, TAYLOR LEEANN        BLUE SPRING                                               BLUE SPRINGS                 MO           64014      $               -   Employee                Unliquidated

Tri-County EDC                300 Buttermilk Pike Ste 332                               Covington                    KY           41017      $      2,537.25 Customer Contract

Trident Group                 17998 Chesterfield Airport              200               Chesterfield                 MO           63005      $           340.00 Customer Contract
Tri-Land Properties - Paul
Sevenichl                     1 East Oak Hill Dr                      Ste 302           Westmont                     IL           60559      $           495.00 Customer Contract

Trinity Corporate RE Advisors 2488 E 81st Street                      Suite 188         Tulsa                        OK           74137      $           150.00 Customer Contract

Trinity Interests             12740 Hillcrest Road                    Ste 101           Dallas                       TX           75230      $      1,720.40 Customer Contract

TRIOLET, STEVEN MICHAEL       2301 PERFORMANCE DR. #417                                 RICHARDSON                   TX           75082      $      3,313.02 Employee                    Unliquidated

TRIPP Commercial LLC          8318 Pineville-Matthews Rd, Suite 291                     Charlotte                    NC           28226      $      2,300.00 Customer Contract

Tri-State Realty              P.O. Box 502                                              Gurnee                       IL           60031      $           205.00 Customer Contract

Trolley Realty                12081 W Alameda Pwky #450                                 Lakewood                     CO           80228      $           63.50 Customer Contract

TROTTER, BRITTANY L           1302 NW GOLFVIEW CT                                       GRAIN VALLEY                 MO           64029      $           147.04 Employee                 Unliquidated

TROY, JENNIFER                618 NW VALLEYBROOK RD                                     BLUE SPRINGS                 MO           64014      $           846.30 Employee                 Unliquidated

True Title Company            21 North Meramec                                          Clayton                      MO           63105      $           990.00 Customer Contract

Tulsa Airports Improvements PO Box 581838                                               Tulsa                        OK           74158      $           320.00 Customer Contract

Tulsa Regional Chamber        One West Third Street                   #100              Tulsa                        OK           74103      $      5,960.00 Customer Contract
Turner & Associates Realty
Inc                           P.O. Box 150326                                           Nashville                    TN           37215      $           375.00 Customer Contract

TURNER, RONALD                223 E 33RD PL                                             TULSA                        OK           74105      $      5,206.25 Employee                    Unliquidated




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           Creditor                              Address                       Address2                    City               State   Zip Code         Total                      Claim Type        Disputed

TURNEY, AMBER                  633 SW 2001 RD                                                HOLDEN                      MO           64040        $           427.33 Employee                 Unliquidated

TUSHA, BRENDAN J               5820 VALLEY CIRCLE                                            OMAHA                       NE           68106        $               -   Employee                Unliquidated

TW Development, LLC            5533 Fair Lane                                                Cincinnati                  OH           45227        $           500.00 Customer Contract

Twenty First Properties Inc    2121 S Columbia Ave                      Suite 650            Tulsa                       OK           74114        $           300.00 Customer Contract

TXRE Properties, LLC           PO Box 631191                                                 Irving                      TX           75063        $      2,400.50 Customer Contract
Ty Commercial Group -
Conrad Petersen                5930 LBJ Fwy                             Ste 400              Dallas                      TX           75240        $           675.15 Customer Contract

Tyler & Tyler Inc.             P.O. Box 535                                                  Greeley                     CO           80632-0918   $           63.50 Customer Contract

Tyler Technologies             736 Whitlock Ave, Suite 200                                   Marietta                    GA           30064        $      2,700.00 Customer Contract

TYLER, BOBBI                   940 NW 1251ST STREET                                          ODESSA                      MO           64076        $           260.55 Employee                 Unliquidated

Ty-Par Realty                  2593 W Roosevelt Blvd                    #201                 Monroe                      NC           28111        $      2,560.00 Customer Contract
Union County Tax
Administration                 500 N Main St, Suite 236                                      Monroe                      NC           28111        $      1,750.00 Customer Contract

Unique Properties, INC         400 S Broadway                                                Denver                      CO           80209        $      5,257.80 Customer Contract

Unite Private Networks         7200 NW 86th St                          Suite M              Kansas city                 MO           64153        $      2,327.00 Trade
United Real Estate - Maria
Saldana                        12019 Isle Vista Dr                                           Houston                     TX           77042        $           140.00 Customer Contract

United Southern Bank           2701 South Bay Street                                         Eustis                      FL           32726        $      1,430.00 Customer Contract
Univ of Alabama at                                                      330 Administration
Birmingham                     701 20th St S                            Building             Birmingham                  AL           35205        $           130.00 Customer Contract
Universal Commercial Real
Estate LLC                     119 S Main St. #110                                           Memphis                     TN           38103        $           218.00 Customer Contract

University City                6801 Delmar                                                   St. Louis                   MO           63130        $      1,320.00 Customer Contract

University City Partners       8335 IBM Drive                           Suite 110            Charlotte                   NC           28262        $           500.00 Customer Contract
University of North Carolina
at Charlotte                   9201 University City Boulevard FM Bldg #55 Room 214           Charlotte                   NC           28223        $           450.00 Customer Contract

University Research Park       510 Charmany Dr                          Suite 250            Madison                     WI           53719        $           175.50 Customer Contract

Unlimited Realty Co.           PO Box 511448                                                 Milwaukee                   WI           53203        $           390.00 Customer Contract

UNRUH, MARY                    410 SE BENT TREE DRIVE                                        BLUE SPRINGS                MO           64014        $           559.47 Employee                 Unliquidated




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Upstate Colorado EDC           822 7th Street                        Suite 550          Greeley                      CO           80631      $           900.00 Customer Contract

Urban Grout                    615 Main St Suite 102                                    Nashville                    TN           37206      $           740.00 Customer Contract

Urban Land Interests, LLC      10 East Doty Street                   Suite 300          Madison                      WI           53703      $           312.50 Customer Contract

Urban Luxe Real Estate         525 E Center Ave                                         Denver                       CO           80209      $           709.20 Customer Contract
                                                                                        Montevideo, Uruguay
UruIT                          TECHNOLIV SA, dba UruIT               Avda Brasil 2697   11300                                                $     26,460.00 Trade

UruIT SAS                                                                                                                                    $     18,122.00 Trade

US 1 Realty                    PO Box 1715                                              Southern Pines               NC           28387      $      1,100.00 Customer Contract

US Commercial Real Estate      1 N Commerce Park Drive Ste 103                          Cincinnati                   OH           45215      $           265.00 Customer Contract

US Steel Corporation           610 Preserve Parkway                  Suite 200          Birmingham                   AL           35226      $           750.00 Customer Contract

US Title Search Network Srv    1197 Hazelwood Drive                  Suite 101          Smyrna                       TN           37167      $           70.00 Trade

UT Southwestern                5323 Harry Hines Blvd                                    Dallas                       TX           75390      $      5,006.10 Customer Contract

VADEN, DAVID                   110 PORTOFINO BLVD                                       NEW SMYRNA BEACH             FL           32168      $      4,459.69 Employee                    Unliquidated

VADEN, SAMUEL                  110 PORTOFINO BLVD                                       NEW SMYRNA BEACH             FL           32168      $      1,774.69 Employee                    Unliquidated

Valentiner & Associates        4735 Walnut                           Suite 150          Boulder                      CO           80301      $           693.20 Customer Contract

Valuation Advisors             1545 Fishing Lake Drive                                  Tampa                        FL           33556      $      1,665.00 Customer Contract

VAN DYNE, PAUL                 15112 WOODSON ST.                                        OVERLAND PARK                KS           66223      $               -   Employee                Unliquidated

Van Hull Commercial, LLC       2961 Skimmerhorn St                                      Fort Collins                 CO           80526      $           120.00 Customer Contract

VANARSDALE, JODY               3112 SW MUIR DRIVE                                       LEES SUMMIT                  MO           64081      $      8,586.20 Employee                    Unliquidated

VANCE, BRENT                   3908 NE BEECHWOOD DR                                     LEES SUMMIT                  MO           64064      $      7,375.00 Employee                    Unliquidated

Vanderbilt Office Properties   540 Maryville Centre Drive, Ste 210                      St Louis                     MO           63141      $      1,000.00 Customer Contract

VANDYGRIFF, SEAN               2024 MONTANA AVE                                         SANTA MONICA                 CA           90403      $      5,264.40 Employee                    Unliquidated
VANTRUMP, EDWARD
JOSEPH                         303 NW LEANN DRIVE                                       BLUE SPRINGS                 MO           64014      $               -   Employee                Unliquidated

VAR Resouces, Inc              2330 Interstate 30                                       Mesquite                     TX           75150      $           892.42 Trade




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VARNEY, BRETT ALAN            4906 MARSH AVE                                       KANSAS CITY                  MO           641292111   $               -   Employee                Unliquidated
Vasseur Commercial Real
Estate                        2931 Oak Park Circle                                 Fort Worth                   TX           76109       $      1,640.80 Customer Contract
Vector Commercial Real
Estate Services LLC           125 Fifth Street South, Ste 201   2nd Floor          St Petersburg                FL           33701       $      8,277.50 Customer Contract

Vector Property Services      5600 S. Quebec Street             #156B              Greenwood Village            CO           80111       $           63.50 Customer Contract

VEGA, CHRISTIAN ONEAL         7 HEATH ROAD                                         EASTON                       MA           02375       $               -   Employee                Unliquidated

VELDER, NANCY                 18008 DAKOTA DR                                      INDEPENDENCE                 MO           64056       $           470.01 Employee                 Unliquidated

VELDER, PILOT                 18008 DAKOTA DR                                      INDEPENDENCE                 MO           64056       $               -   Employee                Unliquidated

Veris Properties              11200-D Nations Ford Rd                              Pineville                    NC           28134       $           480.00 Customer Contract

VERWER, DAVID G               7550 E IRONWOOD COURT                                SCOTTSDALE                   AZ           85258       $               -   Employee                Unliquidated

VIA, DANIEL                   4002 SW 15TH CT                                      BLUE SPRINGS                 MO           64015       $      1,904.89 Employee                    Unliquidated

Village of Canal Winchester   36 S. High St.                                       Canal Winchester             OH           43110       $           61.88 Customer Contract

Village of DeForest           306 DeForest St                                      DeForest                     WI           53532       $           590.00 Customer Contract

Village of Groveport          655 Blacklick Street                                 Groveport                    OH           43125       $      1,089.03 Customer Contract

Village of Pleasant Prairie   9915 39th Ave                                        Pleasant Prairie             WI           53158       $      1,225.00 Customer Contract

Vision Brokerage Group LLC    PO Box 36938                                         Charlotte                    NC           28236       $           275.00 Customer Contract

Vision Properties, LLC        PO Box 630412                                        Littleton                    CO           80163       $           63.50 Customer Contract

Vista Commercial Advisors     12303 Airport Way                 Suite 200          Broomfield                   CO           80021       $           127.00 Customer Contract

Vista Commercial Advisors     PO Box 11287                                         Boulder                      CO           80301       $           197.00 Customer Contract

Vista Commercial Advisors     2690 Ironwood Pl                                     Erie                         CO           80516       $           571.50 Customer Contract
Vista Commercial Advisors,
Inc                           12303 Airport Way                 Suite 200          Broomfield                   CO           80021       $           127.00 Customer Contract
Vista Properties &
Investments                   5649 Hillcamp                                        St Louis                     MO           63128       $           161.50 Customer Contract

VNR Enterprises, Inc          1367 Ragley Hall Rd NE                               Atlanta                      GA           30319       $           306.00 Customer Contract
Vogt Santer Insights
Appraisal                     1310 Dublin Rd                                       Columbus                     douglas      43215       $           180.47 Customer Contract




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Voss Properties Corporation 11555 Concord Village Ave                            Saint Louis                  MO           63128      $           425.00 Customer Contract

VOVK, OLHA                    8800 PENROSE ST, APT 321                           LENEXA                       KS           66219      $               -   Employee                Unliquidated

VUNCANNON, KELLI              807 N PAWNEE AVE                                   INDEPENDENCE                 MO           64056      $           188.40 Employee                 Unliquidated

W.A.H-Tex. Realty Services P.O. Box 820905                                       Dallas                       TX           75382      $           214.00 Customer Contract
W.W. Reynolds Companies -
Ft. Collins                1600 Specht Point Rd. #123                            Fort Collins                 CO           80525      $           340.00 Customer Contract

WACKER, PATRICIA              204 GREGG STREET                                   GRAIN VALLEY                 MO           64029      $           385.36 Employee                 Unliquidated

Waco Title Company            6815 Isaac's Orchard Road         Suite D          Springdale                   AR           72762      $           300.00 Customer Contract

WADE, PAMELA                  1108 NW SAWGRASS DR                                GRAIN VALLEY                 MO           64029      $      2,758.09 Employee                    Unliquidated

WAGNER, LARRA ELAINE          3745 BUCKINGHAM TERRACE                            SPRINGDALE                   AR           72764      $           837.75 Employee                 Unliquidated

Wake County EDC               800 S. Salisbury Street                            Raleigh                      NC           27602      $           330.00 Customer Contract
Wake County Revenue
Department                    PO Box 2331                                        Raleigh                      NC           27602      $           650.00 Customer Contract

WakeMed Health & Hospitals PO Box 14549                                          Raleigh                      NC           27620      $           130.00 Customer Contract

WALKER, ARLINE                16657 E 23RD ST #189                               INDEPENDENCE                 MO           64055      $           181.00 Employee                 Unliquidated

WALKER, NICOLE                8503 BOOTH AVE                                     RAYTOWN                      MO           64138      $           268.33 Employee                 Unliquidated

Walnut Street Partners, LLC   19605 SW US 40 Hwy. E                              Blue Springs                 MO           64015      $     37,690.00 Trade
Walpin & Co LLC. - Taylor
Fenn                          1355 S Colorado Blvd              Ste 506          Denver                       CO           80222      $           490.50 Customer Contract

Walt Danley Realty            6720 N Scottsdale Rd              Ste 140          Paradise Valley              AZ           85253      $           277.20 Customer Contract
Walton Property Services,
LLC                           6666 S Sheridan Rd #104                            Tulsa                        OK           74133      $           128.00 Customer Contract

Wangard Partners, Inc.        1200 North Mayfair Road           Suite 220        Mikwaukee                    WI           53226      $           700.00 Customer Contract

WARD, STEPHEN                 1857 WALTHALL DR                                   ATLANTA                      GA           30318      $               -   Employee                Unliquidated
Warehouse Associates
Development                   707 N. Shepherd Dr, Ste. 700                       Houston                      TX           77007      $      1,560.00 Customer Contract

Warehouse Properties          2607 Walnut Hill Lane             Suite 101        Dallas                       TX           75229      $           550.70 Customer Contract

Warm Realty + Development 1125 W 8th St                         Ste 100          Cincinnati                   OH           45203      $           585.00 Customer Contract




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WARNER, TONY                  4911 MOUNTAIN VIEW DRIVE                            PALMDALE                    CA           93552       $               -   Employee                Unliquidated

Warren County Ofc Econ Dev 416 S East Street                                      Lebanon                     OH           45063       $      1,875.00 Customer Contract

Warren Place                  6100 S Yale                       Suite 390         Tulsa                       OK           74136       $           480.00 Customer Contract
Washington County
Economic Development          7645 Currell Blvd                                   Woodbury                    MN           55125       $      1,400.00 Customer Contract

WASHINGTON, JONATHAN          29320 HIGHWAY U                                     SEDALIA                     MO           65301       $           576.20 Employee                 Unliquidated

Wasson Properties, Inc.       332 W Bijou St                    #104              Colorado Springs            CO           80905       $           70.00 Customer Contract

Water Street Partner LLC      400 Water St, Suite 200                             Excelsior                   MN           55331       $      1,485.00 Customer Contract
Watermark Commercial
Propertie                     4527 E 91st Street                                  Tulsa                       OK           74137       $           256.00 Customer Contract

WaterStone Bank               21505 E Moreland Blvd                               Wauwatosa                   WI           53186       $           760.00 Customer Contract

WATSON, CHELSEY               1308 W 29TH TERR S                                  INDEPENDENCE                MO           64052       $           417.37 Employee                 Unliquidated

WATSON, KELSIE REBECCA        463 MIDWAY AVE                                      MASCOTTE                    FL           347533475   $           215.10 Employee                 Unliquidated

Watts Realty Co Inc.          PO Box 11425                                        Birmingham                  AL           35202       $      1,200.00 Customer Contract

WATTS, CARYN               7002 E 132ND ST                                        GRANDVIEW                   MO           64030       $               -   Employee                Unliquidated
Waukesha County Center for
Growth, Inc.               2717 N Grandview Blvd., Ste 300                        Waukesha                    WI           53188       $      1,450.00 Customer Contract

Way Cool Properties, LLC      2560 28th Street                  Suite 200         Boulder                     CO           80301       $           98.50 Customer Contract
Waypoint Real Estate, LLC -
Joshua Guernsey               120 W Olive St #220                                 Fort Collins                CO           80524       $           120.00 Customer Contract

WC Johnson, LLC               747 Sheridad Blvd                 #7d               Lakewood                    CO           80214       $           63.50 Customer Contract

Weatherford EDA               202 W Oak St                                        Weatherford                 TX           76086       $      1,136.20 Customer Contract

Weaver Commercial RE          2901 Corporate Circle                               Flowe Mound                 TX           75028       $           430.10 Customer Contract

Webb Commercial Realty Inc. 1300 NW 167th St Suite 2                              Miami                       FL           33169       $      2,145.00 Customer Contract

WEBB, CERROME                 329 NE ADAMS DAIRY PKWY                             BLUE SPRINGS                MO           64014       $           555.43 Employee                 Unliquidated

Webfurther LLC                19200 Von Karman Ave.             6th Floor         Irvine                      CA           92612       $      2,358.24 Trade

Webpage FX, Inc.              1705 N. Front Street                                Harrisburg                  PA           17102       $      3,650.00 Trade




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           Creditor                             Address               Address2                 City                State   Zip Code         Total                      Claim Type        Disputed

WEEKS, JERRI NICHOLE        3115 S CLAREMONT AVE                                 INDEPENDENCE                 MO           64052        $           816.59 Employee                 Unliquidated

WEFLEN, ANDREW              621 E NICOLET                                        PHOENIX                      AZ           85020        $               -   Employee                Unliquidated

WEHMEYER, MARY              2002 S Kentucky Ave                                  SEDALIA                      MO           65301        $      2,389.89 Employee                    Unliquidated
Weichert Comm-Weldon
Shaver                      411 S. Tejon St.                                     Colorado Springs             CO           80903        $           70.00 Customer Contract

Weichert Realtors - Downum 3418 W Sunset                        Suite C          Springdale                   AR           72762        $           324.00 Customer Contract
Weichert Realtors Best Beach
Real Estate                  3933 Biscayne Blvd                                  Miami                        FL           33137        $           330.00 Customer Contract
Weight Watchers N. America
Inc                        300 Jericho Quadrangle               Suite 350        Jericho                      NY           11753-2720   $      1,922.70 Trade

WEIS, KATHERINE MARIE       3905 NE WOODRIDGE DRIVE                              LEES SUMMIT                  MO           64064        $           364.10 Employee                 Unliquidated

Weitzman                    3102 Maple                          Suite 350        Dallas                       TX           75201        $      2,296.00 Customer Contract

Weitzman                    3102 Maple                          Suite 350        Dallas                       TX           75201        $      6,502.60 Customer Contract

WELLER, BLAKE               PO BOX 282                                           OAK GROVE                    MO           64075        $      8,020.96 Employee                    Unliquidated

WELLER, JAMES R             24239 W HADLEY ST                                    BUCKEYE                      AZ           85326        $               -   Employee                Unliquidated
Wells Fargo Vendor Financial
Services, LLC                PO Box 650016                                       Dallas                       TX           75265-0016   $           527.15 Trade

WELLS, STEPHANIE            240 E TAFT AVE, 33                                   ORANGE                       CA           928659286    $               -   Employee                Unliquidated

West Chester Township, Ohio 9577 Beckett Rd                     Suite 100        West Chester                 OH           45069        $           275.00 Customer Contract

West Group LLC              5507 Ranch Dr                       Ste 201          Little Rock                  AR           72223        $           165.00 Customer Contract

West Valley National Bank   2440 N Critchfield Rd               Suite 100        Goodyear                     AZ           85395        $           585.00 Customer Contract

West, Lane & Schlager       1155 Connecticut Ave, NW, Ste 700                    Washington                   DC           20036        $      1,280.00 Customer Contract

Westar Management Corp.     6795 E. Tennessee                   Suite 601        Denver                       CO           80224        $           642.50 Customer Contract
Westar Real Property
Services                    1600 Jackson St                     Suite 240        Golden                       CO           80401        $           163.50 Customer Contract

Westbrook Realty Associates 916 S Main Street                   Ste 206          Longmont                     CO           80501        $           127.00 Customer Contract

Westbrook Realty, Inc.      2401 15th Street                    suite 310        Denver                       CO           80202        $           63.50 Customer Contract

Westcore Denver, LLC        PO Box 82504                                         Goleta                       CA           93118-2504   $           366.21 Customer Contract




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                                                                                                                                                                                         Contingent,
                                                                                                                                                                                        Unliquidated,
          Creditor                               Address               Address2                  City               State   Zip Code         Total                      Claim Type        Disputed

Western Centers, Inc.        10555 E Dartmouth Ave               Suite 360        Aurora                       CO           80014        $           364.00 Customer Contract
Western Investor Network
LLC                          2935 Clairton Dr                                     Highlands Ranch              CO           80126        $           127.00 Customer Contract

Western Land and Water LLC 3555 Stranford Rd                                      Fort Collins                 CO           80525        $           765.00 Customer Contract

Wetherill Real Estate        8070 Tabor Street                                    Arvada                       CO           80005        $           228.60 Customer Contract
Wheeler Management
Group, Inc.                  1130 38th Ave Suite B                                Greeley                      CO           80634        $           255.00 Customer Contract

WHEELER, FRANCES             17408 E 21ST STREET N                                INDEPENDENCE                 MO           64058        $               -   Employee                Unliquidated

Whisinvest Realty, LLC       1400 Kirk Road                      Suite 110        Little Rock                  AR           72223        $           256.00 Customer Contract

White Oak Commercial         403 East Six Forks Road                              Raleigh                      NC           27609        $      1,040.00 Customer Contract

WHITE, ROBERT                689 OXFORD DR                                        BROADVIEW HEIGHTS            OH           44147        $      1,794.47 Employee                    Unliquidated

Whiteside & Grant            1120 W 26th St                                       Tulsa                        OK           74114        $           128.00 Customer Contract

WHITTLESEY, LORETTA J        13700 SPRUCE                                         GRANDVIEW                    MO           64030        $           216.82 Employee                 Unliquidated

Wiedmayer Brokerage          1777 Northeast Expressway Ste 275                    Atlanta                      GA           30345        $           999.00 Customer Contract
Wilco Economic
Development                  212 E Main St                                        Round Rock                   TX           78726        $      3,750.00 Customer Contract

WILEY, TRACY L               1405 NE 20TH ST                                      BLUE SPRINGS                 MO           64029        $               -   Employee                Unliquidated

WILKINS, BRANDON             8805 S INDIANA AVE                                   OKLAHOMA CITY                OK           73159        $      1,798.15 Employee                    Unliquidated

WILKINS, GLENN E             501 NE SUMMIT DRIVE                                  BLUE SPRINGS                 MO           64014        $           287.37 Employee                 Unliquidated

Wilkinson ERA - Lee Peterson 19701-A W. Catawba Ave.                              Cornelius                    NC           28031        $           180.00 Customer Contract
Wilkinson ERA - Vernon
Jackson                      5970 Fairview Rd., Suite 110                         Charlotte                    NC           28210        $           275.00 Customer Contract

WILKINSON, MICHAEL           109 S. WILLIS AVE                                    INDEPENDENCE                 MO           64050        $           257.88 Employee                 Unliquidated

WILLESEN, MANDI              11704 W 105TH TERR #66                               OVERLAND PARK                KS           66214        $      4,115.56 Employee                    Unliquidated

William C. Jennings Co.      2525 Ridgmar Blvd                   Suite 420        Ft. Worth                    TX           76116-4584   $           381.60 Customer Contract

William Carl, REALTORS       5207 Kiam St.                                        Houston                      TX           770077       $           150.00 Customer Contract

William Feinberg Co's Ltd.   3900 E Mexico Ave                   Suite 614        Denver                       CO           80210        $           98.50 Customer Contract




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                                                                                                                                                                                     Contingent,
                                                                                                                                                                                    Unliquidated,
          Creditor                              Address             Address2                City                State   Zip Code         Total                      Claim Type        Disputed

Williams Property Group     8300 Health Park                  Ste 217          Fuquay - Varina             NC           27615        $           130.00 Customer Contract

WILLIAMS, HANNAH RENEE      1909 Southwest Keystone Drive                      Blue Springs                MO           640146401    $           164.10 Employee                 Unliquidated

WILLIAMS, JARED             417 SW HIGHLAND ST                                 LEES SUMMIT                 MO           64063        $      3,140.06 Employee                    Unliquidated

WILLIAMS, JUSTIN            283 NE ADAMS DAIRY PKWY                            BLUE SPRINGS                MO           64014        $      6,504.16 Employee                    Unliquidated
WILLIAMS, KATHERINE
MARIE                       1602 NW SAMANTHA CT                                KANSAS CITY                 MO           64015        $               -   Employee                Unliquidated

WILLIAMS, MARK              109 N WHEELER ST                                   ORANGE                      CA           92869        $               -   Employee                Unliquidated

WILLIAMS, TARA              411 COLLEGE TERR                                   ODESSA                      MO           64076        $           760.18 Employee                 Unliquidated

WILLIS, ANNE                12918 E 49TH TERR S                                INDEPENDENCE                MO           64055        $               -   Employee                Unliquidated
Wilson County Register of
Deeds                       PO Box 176                                         Lebanon                     TN           37088-0176   $           25.00 Trade
Wilson County Tax
Department                  113 Nash St E                                      Wilson                      NC           27893        $      1,750.00 Customer Contract
Wilson Hutchinson Realty,
ILLC                        5755 N Point Pkwy                 Ste 219          Alpharetta                  GA           30022-1171   $           960.00 Customer Contract

Wilson Office Interiors     1444 Oak Lawn Ave., Ste. 105                       Dallas                      TX           75207        $           385.05 Customer Contract

Wilson Real Estate          PO Box 2363                                        Lakeland                    FL           33806        $           333.00 Customer Contract

Wilson Valuation, LLC       11850 Nicholas St                 Suite 200        Omaha                       NE           68154        $           697.48 Customer Contract

WILSON, BENJAMIN            6251 ANITA                                         DALLAS                      TX           75214        $      8,884.00 Employee                    Unliquidated

WILSON, CRYSTAL             22049 STEWART ROAD                                 SEDALIA                     MO           65301        $      2,140.62 Employee                    Unliquidated

WILSON, FREDERICK           372 DRYAD LANE                                     WOODBURY                    TN           37190        $               -   Employee                Unliquidated

WILSON, LOGAN               3235 E. ROMA AVENUE                                PHOENIX                     AZ           85018        $               -   Employee                Unliquidated

Wirehomes LLC               4718 W 68th Ave                                    Westminster                 CO           80030        $           190.50 Customer Contract
Wisconsin Department of
Transp                      141 NW Barstow Street                              Waukesha                    WI           53187        $           585.00 Customer Contract
Wisconsin Economic Dev
Corp                        201 W Washington Avenue                            Madison                     WI           53703        $      3,150.00 Customer Contract

Wisconsin Property Tax      10206 N. Port Washington Rd.                       Mequon                      WI           53092        $      1,687.50 Customer Contract

WISNIEWSKI, MARTHA E        159 FORD ROAD                                      ODESSA                      MO           64076        $               -   Employee                Unliquidated




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                                                                                                                                                                                     Contingent,
                                                                                                                                                                                    Unliquidated,
          Creditor                             Address                Address2                 City               State   Zip Code       Total                      Claim Type        Disputed

Withrow Capital, Inc.       1341 East Morehead St., Suite 201                    Charlotte                   NC           28204      $           450.00 Customer Contract

WLK Commercial Realty, LLC 6409 La Manga Dr.                                     Dallas                      TX           75248      $           215.05 Customer Contract

WOHRMAN, ELIZABETH          254 GARDENIA DRIVE                                   MEMPHIS                     TN           38117      $      3,749.60 Employee                    Unliquidated

Wolf Real Estate LLC        31450 Jackson Road                                   Chagrin Falls               OH           44022      $           725.00 Customer Contract

Wolf Realty                 14021 N 51st Ave                    Ste 114          Glendale                    AZ           85306      $           693.00 Customer Contract

WOLF, JULIANNA              10504 CORRINGTON AVE                                 KANSAS CITY                 MO           64134      $           267.82 Employee                 Unliquidated

WOLFE DUTRO, ERIN ANN       17311 E US HWY 40 LOT B9                             INDEPENDENCE                MO           64055      $               -   Employee                Unliquidated
Wolfer Commercial Realty
Corp - Hackensack           15 Warren St., Ste 34                                Hackensack                  NJ           07601      $      4,277.52 Customer Contract

WOODALL, ROBERT C           5808 NORTH CYPRESS AVE                               KANSAS CITY                 MO           64119      $               -   Employee                Unliquidated

WOODARD, HANNAH F           920 NE SUNNYSIDE SCHOOL RD APT B                     BLUE SPRINGS                MO           64015      $           615.66 Employee                 Unliquidated

WOODARD, KATHRYN            909 NW HEATHERWOOD DRIVE                             BLUE SPRINGS                MO           64015      $      5,899.08 Employee                    Unliquidated

WOODARD, NATHAN             909 NW HEATHERWOOD DR                                BLUE SPRINGS                MO           64015      $               -   Employee                Unliquidated

WOODS, TESIA                26005 E BLUE MILLS RD                                SIBLEY                      MO           64088      $           78.50 Employee                  Unliquidated

WOODWARD, PHILLIP           12918 E 49TH TERR S                                  INDEPENDENCE                MO           64055      $      2,222.06 Employee                    Unliquidated

WOOLERY, KRISTEN ELISE      1813 S SPEAS DR                                      BLUE SPRINGS                MO           64014      $           77.50 Employee                  Unliquidated

WOOLERY, RACHEL             19090 THIRD ROAD                                     SEDALIA                     MO           65301      $           228.85 Employee                 Unliquidated

WORKMAN, KATHERYN           1600 NW WEATHERSTONE DR                              BLUE SPRINGS                MO           64015      $           729.50 Employee                 Unliquidated

Wotka Realty, LLC           929 DeMun Ave                                        St. Louis                   MO           63105      $           85.00 Customer Contract

Wray & Associates           1225 Leyden Street                                   Denver                      CO           80220      $           63.50 Customer Contract

WRIGHT, NATHANIEL           4405 STERLING AVE                                    KANSAS CITY                 MO           64133      $               -   Employee                Unliquidated

Wright-Kingdom Inc.         4875 Pearl E. Circle                Suite 100        Boulder                     CO           80301      $      2,800.35 Customer Contract
WWR Real Estate Services,
LLC                         1375 Walnut St                      Suite 10         Boulder                     CO           80302      $      5,917.50 Customer Contract

Wyandotte EDC               727 Minnesota Avenue                                 Kansas City                 KS           66101      $           527.00 Customer Contract




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                                                                                                                                                                                        Contingent,
                                                                                                                                                                                       Unliquidated,
          Creditor                                Address             Address2                 City                State   Zip Code         Total                      Claim Type        Disputed
Wylie Economic
Development Corporation        250 South Hwy 78                                  Wylie                        TX           75098        $      4,400.50 Customer Contract

Yaklich & Associates           9135 Woodland Dr                                  Highlands Ranch              CO           80126        $           140.00 Customer Contract
Yeargan Commercial Realty,
Inc                            2008 Prescott Pl                                  Raleigh                      NC           27615        $           130.00 Customer Contract

YODER, RHONDA                  801 BURNINGTREE CIRCLE                            INDEPENDENCE                 MO           64055        $           39.59 Employee                  Unliquidated
York County Economic
Development                    1830 Second Baxter Crossing                       Fort Mill                    SC           29708        $           750.00 Customer Contract

YOUNG, JENNIFER                9707 E 79TH PLACE                                 RAYTOWN                      MO           64138        $               -   Employee                Unliquidated

YOUNG, KAYLEE                  1903 N YORK                                       INDEPENDENCE                 MO           64058        $               -   Employee                Unliquidated

YOUNGER, BARBARA               PO BOX 1954                                       BLUE SPRINGS                 MO           64013        $           254.51 Employee                 Unliquidated

YOUNGMAN, LINDSIE ELISSA 5000 RIVERDALE RD, APT 112                              RIVERDALE                    NJ           07457        $           571.03 Employee                 Unliquidated

YOUNGSTROM, FRAN               3644 TIMBERSIDE CIRCLE                            HOUSTON                      TX           77025        $      3,206.25 Employee                    Unliquidated

Your Castle Real Estate, LLC   9085 E Mineral Cir               Suite 360        Centennial                   CO           80112        $           342.90 Customer Contract

YRC Freight                    PO Box 504135                                     St. Louis                    MO           63150-4135   $     28,402.51 Trade

Zadel Realty                   P.O. Box 90                                       Firestone                    CO           80520        $           183.50 Customer Contract

Zeman Realty Partners          1801 Broadway                    Ste 903          Denver                       CO           80202        $           197.00 Customer Contract

ZENNER, KYLE                   408 SE FARRIER DR                                 LEES SUMMIT                  MO           64082        $      3,647.47 Employee                    Unliquidated

ZEPEDA, DAN                    1538 NORTH AVE 46                                 LOS ANGELES                  CA           90041        $           991.36 Employee                 Unliquidated

ZIMMER, COURTNEY NICOLE 188 AMITY ST APT 2A                                      BROOKLYN                     NY           11201        $      2,836.78 Employee                    Unliquidated

ZIN, VANESSA M                 3240 BIGHORN CIRCLE                               CORONA                       CA           92881        $               -   Employee                Unliquidated

ZIN, VERONICA K                3240 BIGHORN CIRCLE                               CORONA                       CA           92881        $           290.05 Employee                 Unliquidated

ZORNES, ZEBADIA                14410 HWY 24                                      LEXINGTON                    MO           64067        $           160.58 Employee                 Unliquidated

Zuvers Real Estate             1200 S Outer Rd                                   Blue Springs                 MO           64015        $           400.00 Customer Contract




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          Contract Counterparty                Address1                  Address2               City     State     Zip         Description      Status

                                    3300 Chimney Rock Rd., Ste 301                       Houston        TX       77056   Customer Contract   Current
1st Advantage Bank                  240 Salt Lick Rd                                     St. Peters     MO       63376   Customer Contract   Current
2000 Development Corporation        17280 W North Ave              Suite 101             Brookfield     WI       53045   Customer Contract   Current
210 E. Methvin, LLC                 210 E. Methvin                                       Longview       TX       75601   Customer Contract   Current
620 Corporation                     620 E. Smith Rd                                      Medina         OH       44256   Customer Contract   Current
A Better Way Realty                 1720 S Bellaire St             Suite 1100            Denver         CO       80222   Customer Contract   Current
A Perfect Location Realty           730 East Bridge Street                               Brighton       CO       80601   Customer Contract   Current
A2 Real Estate, LLC                 621 17th St Suite 1777                               Denver         CO       80293   Customer Contract   Current
Accent Properties                   2291 Arapahoe Ave.                                   Boulder        CO       80302   Customer Contract   Current
Accent Realtors                     4625 S Harvard #100                                  Tulsa          OK       74135   Customer Contract   Current
Access Commercial Real Estate       N3589 Peters Rd                                      La Crosse      WI       54601   Customer Contract   Current
Acre Source Realty                  21280 County Rd 29                                   Platteville    CO       80651   Customer Contract   Current
Acree Development                   812 Forest Hills Dr                                  Nashville      TN       37220   Customer Contract   Current

ACREG International LLC             21750 Hardy Blvd Suite 102-104                       San Antonio    TX       78258   Customer Contract   Current

Adams & Company Real Estate, LLC    411 5th Ave                                          New York       NY       10016   Customer Contract   Current

ADEVCO Realty Group, LLC            400 Northridge Rd Ste 620                            Atlanta        GA       30350   Customer Contract   Current
Admiral Realty LLC                  6000 Fairview Rd                 Ste 620             Charlotte      NC       28210   Customer Contract   Current
Advantis Appraisal Group Inc.       1802 Kings Manor Court                               Matthews       NC       28105   Customer Contract   Current
Advisor Commercial Realty LLC       9085 E. Mineral Circle           Suite 270           Centennial     CO       80112   Customer Contract   Current
Adwon Properties                    PO Box 52808                                         Tulsa          OK       74152   Customer Contract   Current
Adwon Realty                        2526 E 71st - C                                      Tulsa          OK       74136   Customer Contract   Current
AFA Protective Systems, Inc.        5119 8th Ave                                         New York       NY       10018   Customer Contract   Current

AFT Real Estate                     1324 West Clairemont Ave         Suite 4             Eau Claire     WI       54701   Customer Contract   Current
AK Commercial Properties            801 S Price Rd                   Ste 206             Mesa           AZ       85206   Customer Contract   Current
Albemarle Properties                10320 Durant Road                Ste 113             Raleigh        NC       27614   Customer Contract   Current
Albert House, Sole Proprietor       210 S. Caswell, Suite B                              Charlotte      NC       28207   Customer Contract   Current
Albrecht Incorporated               17 S Main St., Ste 401                               Akron          OH       44308   Customer Contract   Current
Alexander Company                   145 East Badger Rd               Suite 200           Madison        WI       53713   Customer Contract   Current
Alexis Investments Corp.            11930 W. 44th Ave.               Suite 200           Wheat Ridge    CO       80033   Customer Contract   Current
All Pro Realty of Denver            11 Federal Blvd.                 Suite 5             Denver         CO       80219   Customer Contract   Current
Allen Tate Company - Frank Alfero   13526 Johnston Road                                  Charlotte      NC       28277   Customer Contract   Current




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          Contract Counterparty                       Address1                 Address2                 City         State     Zip         Description      Status

Alliance Commercial Real Estate            1307 Pelican Watch Villas                             Sea Brook Island SC         29455   Customer Contract   Current
Alliance Group of NC, LLC                  7208 Falls of Neuse Rd          Ste 101               Raleigh          NC         27615   Customer Contract   Current
Allied Realty Group, LLC                   2932 State Road 83                                    Hartford         WI         53027   Customer Contract   Current

Alpha Real Estate Group                    5988 Mid Rivers Mall Drive                            St. Charles        MO       63304   Customer Contract   Current
Alpha Terra Real Estate Group              3411 W. Leona St                                      Tampa              FL       33629   Customer Contract   Current
Alpharetta Realty Inc.                     1304 Bombay Ln                                        Roswell            GA       30076   Customer Contract   Current
Alterra Real Estate Advisors               300 Spruce St Ste 110                                 Columbus           OH       43215   Customer Contract   Current
Altus Commercial Real Estate,              6527 Normandy Ln                Suite 201             Madison            WI       53719   Customer Contract   Current
Altus Properties, LLC                      231 S Bemiston Ave              Suite 650             St. Louis          MO       63105   Customer Contract   Current
Ambassador Real Estate, LLC                4444 West 89th Street                                 Prairie Village    KS       66207   Customer Contract   Current
American Asset Corporation                 5950 Fairview Rd                Suite 800             Charlotte          NC       28210   Customer Contract   Current
American Capital Properties, LLC           P.O. Box 920                                          Lake Oswego        OR       97034   Customer Contract   Current

American Property Group of Sarasota, Inc   7750 S Tamiami Trail                                  Sarasota           FL       34231   Customer Contract   Current
American Synergy Management                1105 Colorado Ln, A3                                  Arlington          TX       76015   Customer Contract   Current
America's Central Port                     1635 W First Street                                   Granite City       IL       62040   Customer Contract   Current
Anderson Appraisal Associates              PO Box 450233                                         Marietta           GA       31145   Customer Contract   Current
Anderson Bell                              5 Concourse Parkway             Suite 3000            Atlanta            GA       30328   Customer Contract   Current
Anderson Realty Advisors                   5805 State Bridge Road          Suite G406            Duluth             GA       30097   Customer Contract   Current
Anderson Valuation Group                   1601 S Rainbow Blvd             Ste 230               Las Vegas          NV       89146   Customer Contract   Current
Andrews Realty Advisors                    36 Narragansett Dr                                    St. Louis          MO       63124   Customer Contract   Current
Angmar Realty                              2301 FM Hwy, 1187, Suite 203                          Mansfield          TX       76063   Customer Contract   Current
Anthem Community Council                   3701 W. Anthem Way              Ste 201               Anthem             AZ       85086   Customer Contract   Current
Antonoff & Company Brokerage               1528 Wazee St.                                        Denver             CO       80202   Customer Contract   Current
Apex Economic Development                  PO Box 250                                            Apex`              NC       27502   Customer Contract   Current
Applied Underwriters                       950 Tower Ln., Ste 1400                               Foster City        CA       94404   Customer Contract   Current
Appraisal Data, LLC                        4132 Stafford Place Ct                                Saint Charles      MO       63304   Customer Contract   Current
Appraisal Source, Inc                      7080 Camp Bowie, Ste 300                              Fort Worth         TX       76116   Customer Contract   Current
AppraisalFirst Real Estate Appraisers      1444 Biscayne Blvd Suite 211                          Miami              FL       33132   Customer Contract   Current
April J. Carlton                           5777 Old Wadsworth Blvd.        R200                  Arvada             CO       80002   Customer Contract   Current
Arbor Land Company                         300 Hunter Ave Suite 101                              St Louis           MO       63124   Customer Contract   Current
Arc Advisors, Inc                          228 E 45th St                                         New York           NY       10017   Customer Contract   Current
Arcis Investments, Inc.                    2908 Bay to Bay Blvd                                  Tampa              FL       33629   Customer Contract   Current
ARK Commercial                             415 N McKinley                  Suite 280N            Little Rock        AR       72205   Customer Contract   Current
Arnold J. Eisenberg, Inc.                  24500 Chagrin Blvd              Suite 120             Beachwood          OH       44122   Customer Contract   Current



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           Contract Counterparty                          Address1                    Address2                 City       State      Zip         Description       Status
Arnold R. Engelberg                           588 Harwood                                                Memphis         TN       38120    Customer Contract   Current
Art Belefonte                                 1853 E Lake Dr.                                            Centennial      CO       80121    Customer Contract   Current
Arvest Bank                                   201 NE A St                                                Bentonville     AR       72712    Customer Contract   Current
Aspen Gold Realty                             2870 N Speer Blvd                                          Denver          CO       80211    Customer Contract   Current
Asset Commercial Real Estate                  8235 Forsyth Blvd                   Suite 300              St. Louis       MO       63105    Customer Contract   Current
Asset Insight of Nevada                       1933 Park Shadows Lane                                     Las Vegas       NV       89137    Customer Contract   Current
                                                                                                         Greenwood                80121-
Asset Realty Advisors Inc.                    5 Belleview Drive                                          Village         CO       1217     Customer Contract   Current
                                                                                                         Palm Beach
Asset Specialists, Inc.                       3710 Buckeye St, Ste 100                                   Gardens         FL       33410    Customer Contract   Current
Associated Value Consultants                  333 W Hampden Ave                   Ste 1005               Englewood       CO       80110    Customer Contract   Current
Atkins Commercial Advisors                    144-I South Steele Street                                  Sanford         NC       27330    Customer Contract   Current
Atkins Properties LLC                         421 Penman Street                   Ste 110                Charlotte       NC       28203    Customer Contract   Current

ATL Property Holdings, LLC - Doug Steverson   3099 Coloniel Way, Apt D                                   Atlanta         GA       30341    Customer Contract   Current
Atlantic Commercial Concepts                  312 W. 3rd Avenue                                          Gastonia        NC       28052    Customer Contract   Current
Aubrey Municipal Development District         107 S. Main St.                                            Aubrey          TX       76227    Customer Contract   Current
Aurora Health Care                            750 W Virginia                                             Milwaukee       WI       73204    Customer Contract   Current
Austin & Austin                               1823 65th Ave, Ste. 2                                      Greeley         CO       80634    Customer Contract   Current
Austin Commercial Partners RE                 6405 Lakewood Dr                                           Austin          TX       78731    Customer Contract   Current
Austin McGuire Company                        64 Walll Street                                            Norwalk         CT       06850    Customer Contract   Current
Avaluations, LLC                              PO BOX 2991                                                Fayetteville    AR       72702    Customer Contract   Current
Avangard Real Estate Services                 2501 Oak Lawn Ave.                  Suite 110              Dallas          TX       75219    Customer Contract   Current
Averbuch Realty                               7500 Memorial Parkway S             #122                   Huntsville      AL       35802    Customer Contract   Current
Avison Young                                  5440 Wade Park Blvd, Ste 200                               Raleigh         NC       27607    Customer Contract   Current
                                                                                                                                  30308-
Avison Young - Atlanta                        30 Ivan Allen Jr. Blvd Suite 900                           Atlanta         GA       3035     Customer Contract   Current
Avison Young - Charlotte                      440 South Church Street                                    Charlotte       NC       28202    Customer Contract   Current
Avison Young - Denver                         1801 California St, Ste 3750                               Denver          CO       80202    Customer Contract   Current
Avison Young - Joella Rodarte                 1801 California St, Ste 3750                               Denver          CO       80202    Customer Contract   Current
Avison Young - Minneapolis                    333 S 7th St, #1370                                        Minneapolis     MN       55402    Customer Contract   Current
AX Madison Greenway L.P.                      708 Heartland Trail                 Suite 1600             Madison         WI       53717    Customer Contract   Current
Axiom Equities                                7357 Holiday Dr                     Ste 200                Kansas City     KS       66106    Customer Contract   Current
B & L Investments LLC                         1505 S. Howard Avenue                                      Tampa           FL       33606    Customer Contract   Current
B.V. Belk Properties, Inc.                    204 West Woodlawn Road              Ste C                  Charlotte       NC       28217    Customer Contract   Current
BA Johnson Properties, LLC                    PO Box 1739                                                Indian Trail    NC       28079    Customer Contract   Current
Baird-Alexander Comm. Prop LLC                6391 S Blackhawk Way                                       Aurora          CO       80016    Customer Contract   Current



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          Contract Counterparty                  Address1                   Address2              City          State     Zip         Description       Status
Baker Realty Advisors, Inc.           6750 W 93rd St                                        Overland Park      KS       66212   Customer Contract   Current
Baker Smith Commercial RE             5690 Webster Street                                   Arvada             CO       80002   Customer Contract   Current
Baker Storey McDonald                 3001 Armory Drive                 Suite 250           Nashville          TN       37204   Customer Contract   Current
Baker Valuation, Inc.                 PO Box 531154                                         Birmingham         AL       35253   Customer Contract   Current
Bane-Fisher Capital Advisors          PO Box 1511                                           Denver             NC       28037   Customer Contract   Current

Bank of America - Merrill Lynch       100 N. Tryon St. NC1-007-11-15                        Charlotte          NC       28255   Customer Contract   Current
BankLiberty                           9200 NE Barry Road                                    Kansas City        MO       64157   Customer Contract   Current
Bannister Properties, LLC             PO Box 769                                            Garner             NC       27529   Customer Contract   Current
Banyan Real Estate, LLC               10480 Mossrock Run                                    Littleton          CO       80125   Customer Contract   Current
Barbara Brown Commercial Properties   17801 Sedona Way                                      Cornelius          NC       28031   Customer Contract   Current
Barbara Mickelson                     3360 S Wadsworth Blvd                                 Lakewood           CO       80227   Customer Contract   Current
Barnhart Realty Group                 801 S. Highway 78, Suite 307                          Wylie              TX       75098   Customer Contract   Current
Barrett Nabors Commercial             630 New Rd                                            Raleigh            NC       27608   Customer Contract   Current

Barry B. Bounds                       200 W Plaza Dr                    Ste 200             Highlands Ranch    CO       80129   Customer Contract   Current
Bartell & Co.                         600 South Cherry Street           # 1125              Denver             CO       80246   Customer Contract   Current
Bastrop Economic Development Corp     301Hwy 71 W, Suite 214                                Bastrop            TX       78602   Customer Contract   Current
Bates & Myers Company                 2415 Converse St                                      Dallas             TX       75207   Customer Contract   Current
Baxley-Penfield-Moudy Realtors        3304 Commonwealth                                     Bryant             AR       72022   Customer Contract   Current
Bay Tree Real Estate Group Inc        6601 Grand Teton Plaza                                Madison            WI       53719   Customer Contract   Current
BCB Investments                       16930 W. Catawba Ave                                  Cornelius          NC       28031   Customer Contract   Current
bdh+young interiors - architecture    7001 France Ave                   Ste 200             Edina              MN       55435   Customer Contract   Current
Beacon Partners                       500 East Morehead St              Suite 200           Charlotte          NC       28202   Customer Contract   Current
Bear Realty of Kenosha, Inc.          4011 80th Street                                      Kenosha            WI       53142   Customer Contract   Current
Beard Commercial Proprties LLC        PO Box 9528                                           Austin             TX       78766   Customer Contract   Current
Beasley Real Estate Services          6126 Indian Meadow St                                 Orlando            FL       32819   Customer Contract   Current

Beaver Properties, Inc.               290 SW 12th Ave                                       Deerfield Beach    FL       33442   Customer Contract   Current
Beckerle Preferred Properties         2260 Bluestone                                        St Charles         MO       63303   Customer Contract   Current
Becky Lyall Real Estate               P.O. Box 1057                                         Federick           CO       80530   Customer Contract   Current
Belclaire Brokerage Inc               4011 Commerce St                                      Dallas             TX       75226   Customer Contract   Current
Bell Moore Group Inc.                 5200 Park Road                    Ste 120             Charlotte          NC       28209   Customer Contract   Current
Bell Propeties                        8545 Cordes Circle                                    Germantown         TN       38139   Customer Contract   Current
Belote Appraisal Services             3538 NW Hwy 112                                       Fayetteville       AR       72704   Customer Contract   Current
Beltway Commercial Real Estate        15280 Addison Rd.                 Suite 301           Addison            TX       75001   Customer Contract   Current




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           Contract Counterparty                          Address1                Address2              City        State      Zip         Description      Status
Benbrook Economic Development
Corporation                                    911 Winscott Rd                                    Benbrook         TX       76126    Customer Contract   Current
Benchmark Commercial Realty - Craig
Dowling                                        199 Riverwood Dr                                   Frankilin        TN       37069    Customer Contract   Current
Benchmark Enterprises                          2266 Fairburn Rd                                   Douglasville     GA       30135    Customer Contract   Current

Benchmark Realty - Mt Juliet - Jennifer Bell   75 Industrial Drive                                Mt. Juliet       TN       37122    Customer Contract   Current
Benchmark Valuation LLC                        2205 Martin Road, Unit 4                           Dover            FL       33527    Customer Contract   Current
Benton County Assessor                         215 E Central Ave                                  Bentonville      AR       72712    Customer Contract   Current
Berkeley Partners - Property Management -
Dallas                                         One Sansome St., 15th Floor                        San Francisco    CA       94104    Customer Contract   Current
Berkshire Hathaway / Epic Real                 6040 39th Ave                  Suite 4             Kenosha          WI       53142    Customer Contract   Current
Berkshire Hathaway Home Services - Jack
Trethewey                                      2903 Aspen Dr                                      Loveland         CO       80537    Customer Contract   Current
Berkshire Hathaway HomeServices                1007 E. St. Maartens Dr                            St Joseph        MO       64056    Customer Contract   Current

Berkshire Hathaway Innovative Real Estate      9785 Maroon Circle             Suite 150           Engelwood        CO       80112    Customer Contract   Current
Berkshire Hathaway Professional Realty -
Anthony Varone                                 6263 Wagtail Rd                                    Columbus         OH       43230    Customer Contract   Current
Berkshire Hathaway Professional Realty -
Damir Paulic                                   7395 Center St                                     Mentor           OH       44060    Customer Contract   Current
Berry Realty, Inc.                             1241 E Washington ST           Ste 201             Phoenix          AZ       85034    Customer Contract   Current
Bertolina Commercial Real Estate Services
INC                                            1850 East Third St             Ste 310             Charlotte        NC       28204    Customer Contract   Current
                                                                                                                            65808-
Beyer Commercial, REALTORS                     PO Box 10191                                       Springfield      MO       0191     Customer Contract   Current
Beyond Commercial                              PO Box 7                                           Winter Park      FL       32790    Customer Contract   Current
BHHS Stein & Summers Real Esta                 1007 E. St. Maartens Drive                         St Joseph        MO       64506    Customer Contract   Current
BHHS-Rocky Mountain Realtors                   1678 Parkdale Cir S                                Erie             CO       80516    Customer Contract   Current
Bieck Management, Inc.                         5205 N Ironwood Ln                                 Glendale         WI       53217    Customer Contract   Current
Big Horn Development                           128 Racquette Drive                                Fort Collins     CO       80524    Customer Contract   Current
Bill Burrows                                   205 Barry Ave S. Apt 212                           Wayzata          MN       55391    Customer Contract   Current
Bill Foose Company                             5622 Dyer St                   Suite 200           Dallas           TX       75206    Customer Contract   Current
Bill McCann & Associates                       PO Box 492035                                      Lawrenceville    GA       30049    Customer Contract   Current
Biltmore Realty, Ltd.                          5655 S. Yosemite St            Suite 201           Englewood        CO       80111    Customer Contract   Current
Birmingham Business Alliance                   505 20th Street North          Suite 200           Birmingham       AL       35203    Customer Contract   Current
BishopBeale                                    250 N Orange Ave., Ste 1500                        Orlando          FL       32801    Customer Contract   Current



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           Contract Counterparty                         Address1                  Address2              City        State     Zip         Description      Status
                                              13860 Ballantyne Corporate
Bissell Companies Inc.                        Place                            Suite 300           Charlotte        NC       28277   Customer Contract   Current

Bi-State Development Agency                   211 North Broadway, Suite 700                        St Louis         MO       63102   Customer Contract   Current
BKB LLC                                       1350 South Boulder               Suite 100           Tulsa            OK       74119   Customer Contract   Current
BlackAcre Advisors                            200 S Wacker Dr. 31st Floor                          Chicago          IL       60606   Customer Contract   Current
Blackacre Iowa                                9943 Hickman Rd, Ste 105                             Urbandale        IA       50322   Customer Contract   Current
Blackacre Realty, LLC                         2400 86th Street                 Suite 23            Urbandale        IA       50322   Customer Contract   Current
Blake & Pulsifer                              2177 E Warner Rd Ste 107                             Tempe            AZ       85284   Customer Contract   Current
Blanton Property Company                      1033 NW Grand Blvd                                   Oklahoma City    OK       73118   Customer Contract   Current
Bldg Commercial                               4242 Medical Dr., Suite 7325                         San Antonio      TX       78229   Customer Contract   Current
BLGCRE, INC.                                  5905 Klinger Rd                                      Arlington        TX       76016   Customer Contract   Current
Blissard Management & Realty                  10310 W Markham                  Suite 193           Little Rock      AR       72205   Customer Contract   Current

BLOC Global Real Estate Markets Group, LLC    505 North 20th Street, Suite 900                     Birmingham       AL       35203   Customer Contract   Current
Block Hawley Commercial RE                    16253 Swingley Ridge Rd                              Chesterfield     MO       63017   Customer Contract   Current
Block Real Estate Services LLC                700 W 47th St                    Ste 200             Kansas City      MO       64112   Customer Contract   Current
Blue Ridge Bank & Trust Co.                   4200 Little Blue Parkway                             Independence     MO       64057   Customer Contract   Current
Bodin Realty International                    1805 29th Street                 Suite # 1140        Boulder          CO       80301   Customer Contract   Current
Boom Properties                               840 Pearl St #3                                      Boulder          CO       80302   Customer Contract   Current
Boren Brothers / Grass Groomers               7017 Americana Parkway Dr                            Reynoldsburg     OH       43068   Customer Contract   Current

Boswell Properties, LLC - Graham Groseclose   788 Prince Ave                                       Athens           GA       30606   Customer Contract   Current
Botwin Commercial Development                 7441A Broadway                                       Kansas City      MO       64114   Customer Contract   Current
Boulder County Assessor                       1325 Pearl St, 2nd Floor                             Boulder          CO       80302   Customer Contract   Current
Boulder Valley Real Estate                    P.O. Box 2077                                        Boulder          CO       80306   Customer Contract   Current
Boxer Property Management Corp                2727 LBJ Freeway                 Suite 610           Dallas           TX       75247   Customer Contract   Current
Boyle Investment Company                      5900 Poplar Ave                  Suite 100           Memphis          TN       38119   Customer Contract   Current
BPG Management Company-NC, LTD                2700 Sumner Blvd                 Suite 178           Raleigh          NC       27616   Customer Contract   Current
Brad Johnson Investments                      3329 109th Street                                    Urbandale        IA       50322   Customer Contract   Current
Bradford Pech                                 1873 S Bellaire St               Suite 700           Denver           CO       80222   Customer Contract   Current
                                                                                                   Greenwood
Bradley & Associates Real Esta                8301 Prentice Ave                Suite 303           Village          CO       80111   Customer Contract   Current
                                                                                                   Menomonee
Bradley Realty                                N88 W16733 Appleton Avenue                           Falls            WI       53051   Customer Contract   Current
Brandywine Realty Trust                       111 Congress                     Ste 3000            Austin           TX       78701   Customer Contract   Current
Brannon Properties, LLC                       PO Box 14101                                         Durham           NC       27709   Customer Contract   Current



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Braun Management                            160 Broadway, Second Floor                            New York        NY       10038   Customer Contract   Current

BRC Real Estate                             9331 Commerce Center St      Unit A1                  Highlands Ranch CO       80129   Customer Contract   Current
Brent Elzinga                               8909 Hillview Rd                                      Morrison        CO       80465   Customer Contract   Current
Brentwood Properties                        2320 Highland Avenue S.                               Birmingham      AL       35205   Customer Contract   Current
                                            S33 W26771 Hawthorne Hollow
Brentwood Realty                            Dr                                                    Waukesha        WI       53189   Customer Contract   Current
Brien Slawik                                1880 Livingston Ave.         Suite 100                West St Paul    MN       55118   Customer Contract   Current
Brighton Economic Development               22 S. Fourth Ave., Suite 305                          Brighton        CO       80601   Customer Contract   Current
Brisky Commercial                           100 Washington Avenue S      Ste 1330                 Minneapolis     MN       55401   Customer Contract   Current
                                            2632 Broadway St. Suite 401
Broadway Developments                       South                                                 San Antonio     TX       78215   Customer Contract   Current
Brokers Guild                               7995 E Hampden Avenue                                 Denver          CO       80231   Customer Contract   Current
Brokers Guild                               5533 S Prince St                                      Littleton       CO       80120   Customer Contract   Current
Brokers Guild                               3360 S Wadsworth Blvd.                                Lakewood        CO       80222   Customer Contract   Current
Brokers Guild Cherry Creek, Ltd - Manijeh
Saeidi                                      7995 E Hampden Ave                                    Denver          CO       80231   Customer Contract   Current
Brookmont Realty Group                      800 Shades Creek Parkway          Suite 450           Birmingham      AL       35209   Customer Contract   Current
Brookstone Realty & Investment              3214 6th St                                           Boulder         CO       80304   Customer Contract   Current
Brothers Company                            3456 Hardee Ave                                       Atlanta         GA       30341   Customer Contract   Current

Browder Group Real Estate - Brandon Brown 1440 South Tryon Street,            Suite 104           Charlotte       NC       28203   Customer Contract   Current

Browder Group Real Estate - Matt Browder    1440 South Tryon Street,          Suite 104           Charlotte       NC       28203   Customer Contract   Current
Brown & Associates                          9035 Wadsworth Pkwy               Suite 1300          Westminster     CO       80021   Customer Contract   Current

Brown & Brown Insurance                     240 S Pineapple Ave, Suite 301                       Sarasota         FL       34236   Customer Contract   Current
                                                                              Building 600 Suite
Brown Edwards & Associates                  1200 Abernathy Road               1700               Atlanta          GA       30328   Customer Contract   Current
Bruce Strumpf, Inc.                         2120 Drew Street                                     Clearwater       FL       33765   Customer Contract   Current
Brumley Realty, Inc.                        8 Mesa Oak                                           Littleton        CO       80127   Customer Contract   Current
Bruns Realty Group                          3050 Hyattsville Rd                                  Tipp City        OH       45371   Customer Contract   Current
Brunson - Jui, LLC                          10161 Park Run Drive              #150               Las Vegas        NV       89145   Customer Contract   Current
Buckhead Advisory Group                     PO Box 12463                                         Atlanta          GA       30355   Customer Contract   Current
Builders Realty Group LLC                   PO Box 111194                                        Aurora           CO       80042   Customer Contract   Current
Building Interests, Inc.                    2201 Buena Vista SE #315                             Albuquerque      NM       87106   Customer Contract   Current
Bull Realty Inc                             50 Glenlake Pkwy                  Ste 600            Atlanta          GA       30328   Customer Contract   Current



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           Contract Counterparty                         Address1                Address2               City         State     Zip         Description       Status
Bullard Realty                                2325 Ulmerton Rd, Suite 20                         St. Petersburg     FL       33762   Customer Contract   Current
Buls Hodge Consulting                         1300 West Lynn Street          Suite 104           Austin             TX       78703   Customer Contract   Current
Bulverde Spring Branch - Economic
Development Foundation                        36101 FM 3159                                      Spring Branch      TX       78070   Customer Contract   Current
Burd & Mitchell Appr Serv, In.                7788 Lee Street                                    Arvada             CO       80005   Customer Contract   Current
Burden Incorporated                           203 2nd Avenue #101            P.O. Box 490        Niwot              CO       80544   Customer Contract   Current
Burger Investments                            801 W. Mineral Ave.            Suite 102           Littleton          CO       80120   Customer Contract   Current
Burke Hansen LLC                              1601 North 7th Street          Ste 340             Phoenix            AZ       85006   Customer Contract   Current
Burke Holding, Inc.                           2591 Orchard Knob                                  Atlanta            GA       30339   Customer Contract   Current
Business Brokers of Colorado                  14201 E 4th Ave, Bldg. 4       Suite 215           Aurora             CO       80011   Customer Contract   Current
Bussen Company                                2001 W Beltline Hwy            Suite 101           Madison            WI       53713   Customer Contract   Current
Butler Burgher Group                          8300 Douglas Avenue            Suite 600           Dallas             TX       75225   Customer Contract   Current

Butler Burgher Group                          5901-B Peachtree Dunwoody Rd Suite 405             Atlanta            GA       30328   Customer Contract   Current
Byram Properties LLC                          510 S Congress Ave           Suite 400             Austin             TX       78704   Customer Contract   Current
C&I Appraisal Services Inc.                   6750 Poplar Avenue           Suite 706             Memphis            TN       38138   Customer Contract   Current

C3 Real Estate Solutions - John Simmons       200 S College Ave Ste 160                          Fort Collins       CO       80524   Customer Contract   Current
C3 Real Estate Solutions - Lissa Johnson      200 S College Ave #160                             Fort Collins       CO       80524   Customer Contract   Current

C3 Real Estate Solutions, LLC - Ben Cornali   200 S College Ave Ste 160                          Fort Collins       CO       80524   Customer Contract   Current
C3 Real Estate Solutions, LLC - Travis
Annameier                                     2720 Council Tree, Ste 178                         Fort Collins       CO       80524   Customer Contract   Current
Cabarrus Economic Development                 3003 Dale Earnhardt Blvd       Suite 2             Kannapolis         NC       28083   Customer Contract   Current
Cactus Realty Consultants                     3032 N Sawyer                                      Mesa               AZ       85207   Customer Contract   Current
Caddis Healthcare Real Estate                 5910 N Central Expressway      Suite 1400          Dallas             TX       75206   Customer Contract   Current
                                              7904 N Sam Houston Pkwy Ste
Caldwell Companies - Houston                  400                                                Houston            TX       77064   Customer Contract   Current
Caliber Companies                             16074 N 78th St                Ste B-104           Scottsdale         AZ       85260   Customer Contract   Current
CAM, Inc - Mike Mockbee                       1525 Corporate Woods Pkwy      Ste 100             Uniontown          OH       44685   Customer Contract   Current

Cameron Butcher Commercial RE                 421 S. Tejon St.               Suite 250           Colorado Springs   CO       80903   Customer Contract   Current
Campney Commercial, LLC                       1444 NW 124th Ct.                                  Des Moines         IA       50325   Customer Contract   Current
Candace Rubin Real Estate                     5850 Maple Avenue                                  Dallas             TX       75235   Customer Contract   Current
Capital City Partners, Inc                    1717 W 6th St                  Ste 445             Austin             TX       78703   Customer Contract   Current
Capital Commercial                            153 Park Ave                   Suite 201           Pewaukee           WI       53072   Customer Contract   Current
Capital Commercial OKC RE LLC                 4401 N Classen Blvd            Suite 400           Oklahoma City      OK       73118   Customer Contract   Current



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           Contract Counterparty                 Address1                   Address2              City         State     Zip         Description       Status
Capital Commercial OKC RE LLC         4401 N Classen Blvd               Suite 400           Oklahoma          OK       73118   Customer Contract   Current
Capital Real Estate Partners          312 Walnut St                     Suite: 1600         Cincinnati        OH       45202   Customer Contract   Current
Capital Realty Services, LLC          6077 Primacy Pkwy                 Suite 102           Memphis           TN       38119   Customer Contract   Current
Capitol Market Research               1102 West Avenue                  Suite 100           Austin            TX       78701   Customer Contract   Current
Capstone Commercial                   4300 Sigma Rd                     Suite 100           Dallas            TX       75244   Customer Contract   Current
Capstone Commercial Real Estat        4401 Northside Pkwy               Suite 711           Atlanta           GA       30327   Customer Contract   Current
Cardinal Point Management, LLC        11300 4th St N                    Ste 250             St Petersburg     FL       33716   Customer Contract   Current
Carlen Realty LLC                     PO Box 1879                                           Tarpon Springs    FL       34688   Customer Contract   Current
Carlisle Interests, Inc               7979 Inwood Rd                    Suite 225           Dallas            TX       75209   Customer Contract   Current
Carmel Realty Company                 P.O. Box 6413                                         Denver            CO       80206   Customer Contract   Current
Carol Davis                           3314 WCR 36                                           Mead              CO       80542   Customer Contract   Current
Carol High Commercial Real Est        1667 S Rosemary St                                    Denver            CO       80231   Customer Contract   Current
Carolina Landmark Realty LLC          P.O. Box 6603                                         Statesville       NC       28687   Customer Contract   Current
Carolina Realty Advisors              1001 East Blvd                    Suite B             Charlotte         NC       28203   Customer Contract   Current
Carolinas International Real Estate   15008 Deville Ct                                      Indian Land       SC       29707   Customer Contract   Current
Carr & Co Realty                      3395 S Jericho Ct                                     Auruora           CO       80013   Customer Contract   Current
Carruth Properties Company            10106 West San Juan Way           Ste 205             Littleton         CO       80127   Customer Contract   Current
Carver County CDA                     705 N Walnut St                                       Chaska            MN       55318   Customer Contract   Current
Cary Economic Development             307 North Academy Street                              Cary              NC       27513   Customer Contract   Current
Case & Associates                     4200 E Skelly Dr                  Suite 800           Tulsa             OK       74135   Customer Contract   Current
Casemark Realty Advisors, LLC         1243 Water Tower Place            #394                St Louis          MO       63010   Customer Contract   Current
Cashen Brothers Properties            701 Southwest Blvd                                    Kansas City       KS       66103   Customer Contract   Current
Cass Bank                             12412 Powerscourt Drive                               St. Louis         MO       63131   Customer Contract   Current
Cass County EDC                       102 E Wall St                                         Harrisonville     MO       64701   Customer Contract   Current
Castle Keep Developments              7927 S Kittredge St                                   Englewood         CO       80112   Customer Contract   Current

Castlebrook Management, Inc.          10711 Preston Road - Suite 200                        Dallas            TX       75230   Customer Contract   Current
Castlebrook Realty Group              10711 Preston Rd                  Ste 200             Dallas            TX       75230   Customer Contract   Current
Cavender Hill                         7373 Broadway                     Suite 501           San Antonio       TX       78209   Customer Contract   Current
Cawley Partners RE Investors          16400 Dallas Parkway              Suite 150           Dallas            TX       75248   Customer Contract   Current
CB Commercial NRT R Dave Drahn        600 Grant St                      Suite 925           Denver            CO       80203   Customer Contract   Current
CB Commercial-Hocker & Assoc.         4323 N Classen Blvd                                   Oklahoma City     OK       73118   Customer Contract   Current
CB Ragland Company                    P O Box 40587                                         Nashville         TN       37204   Customer Contract   Current
CB Richard Ellis / MEGA               11213 Davenport St                Suite 300           Omaha             NE       68154   Customer Contract   Current

CB Richard Ellis/Hubbell Comm         6900 Westown Parkway                                  West Des Moines IA         50266   Customer Contract   Current
CBC- Tom Martinez                     9088 S. Ridgeline Blvd            # 200               Littleton       CO         80129   Customer Contract   Current


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CBRE - Cleveland                              950 Main Ave Ste 200                                  Cleveland        OH       44113    Customer Contract   Current

CCS Investments, LLC                          13610 N Scottsdale Rd, Ste 101                        Scottsdale       AZ       75254    Customer Contract   Current
CEAH Realtors                                 3170 NE Carnegie Drive            Suite 400           Lee's Summit     MO       64064    Customer Contract   Current
Cedar Hill EDC                                285 Uptown Blvd.                  Bldg. 100           Cedar Hill       TX       75104    Customer Contract   Current
CenterState Bank Central Florida, N.A.        349 West Oak St                                       Kissimmee        FL       34741    Customer Contract   Current
Centra Properties                             PO Box 323                                            Cramerton        NC       28032    Customer Contract   Current
Central Bank of St. Louis                     7707 Forsyth Blvd                                     Clayton          MO       63105    Customer Contract   Current

Central Bank of the Midwest - Blue Springs    1330A N 7 Highway                                     Blue Springs     MO       64014    Customer Contract   Current
Century 21 All Pro - Jen Enderson             8620 Prairie View Rd                                  Kansas City      MO       64153    Customer Contract   Current
Century 21 Judge Fite                         6959 Lebanon Rd                   Suite 201           Frisco           TX       75034    Customer Contract   Current
CFV Commercial Properties Inc.                10449 St Charles Rock Rd          Suite 316           St Ann           MO       63074    Customer Contract   Current

Chamberlin Roofing & Waterproofing - DFW 7510 Langtry St                                            Houston          TX       77040    Customer Contract   Current
Chamberlin Roofing & Waterproofing -
Houston                                  7510 Langtry                                               Houston          TX       77040    Customer Contract   Current
Champions DFW Commrcl Rlty, LC           327 Drexel Dr.                                             Grapevine        TX       76051    Customer Contract   Current

Champions Real Estate Group - Hany Elqutub    22907 Arbor Cove Ln                                   Richmond         TX       77407    Customer Contract   Current
Champions Real Estate Group - Ramin
Almassi                                       5 Farther Pt                                          Houston          TX       77024    Customer Contract   Current
Chapman Commercial Realty, LLC                2310 Whitesburg Dr               Ste 7                Huntsville       AL       35801    Customer Contract   Current
Charlotte Chamber of Commerce                 PO Box 32785                                          Charlotte        NC       28232    Customer Contract   Current
Charlotte Commercial Partners                 8111 Sealy Court                                      Charlotte        NC       28277    Customer Contract   Current
                                              550 South Caldwell Street, Suite
Charlotte Regional Partnership                760                                                   Charlotte        NC       28202    Customer Contract   Current
                                                                                                                              37133-
Charter Development Company                   PO Box 2511                                           Murfreesboro     TN       2511     Customer Contract   Current
Chelepis & Associates                         8300 College Blvd                 Ste 300             Overland Park    KS       66210    Customer Contract   Current

Cherokee Nation Property Management           777 West Cherokee Street                              Catoosa          OK       74015    Customer Contract   Current

Cherry Creek Partners, LLC - Charles Wellso   815 Vine Street                                       Denver           CO       80206    Customer Contract   Current
Cherry Creek Place IV                         3300 S Parker Rd #212                                 Aurora           CO       80014    Customer Contract   Current
Cherry Creek Properties                       18646 E Garden Pl                                     Aurora           CO       80015    Customer Contract   Current
Childress Klein - Charlotte                   301 S. College St. #28202                             Charlotte        NC       28202    Customer Contract   Current



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           Contract Counterparty                       Address1                Address2              City        State     Zip         Description       Status
Chinowth & Cohen, REALTORS                  7510 E 111th St S                                  Bixby            OK       74008   Customer Contract   Current
Chisago County HRA-EDA                      PO Box 815                                         North Branch     MN       55056   Customer Contract   Current
Chris Johnson Realty                        P.O. Box 7213                                      Statesville      NC       28687   Customer Contract   Current
Chrisman Commercial                         864 W South Boulder Rd                             Louisville       CO       80027   Customer Contract   Current
Christensen Development                     506 3rd St                     Ste 300             Des Moines       IA       50309   Customer Contract   Current
Chyrch Realty, LLC                          3826 S. New Hope Rd            Ste 4               Gastonia         NC       28056   Customer Contract   Current
CIP Real Estate Property Services - North
Carolina                                    3801 Beam Rd                   Suite G             Charlotte        NC       28217   Customer Contract   Current
Cissell Mueller Company LLC                 5530 Salt River Road                               St Peters        MO       63376   Customer Contract   Current
                                            13850 Ballantyne Corporate
Citi South Commercial Real Estate           Place                          Suite 500           Charlotte        NC       28277   Customer Contract   Current
City and County of Broomfield               One Descombes Dr                                   Broomfield       CO       80020   Customer Contract   Current
City Cottage Grove                          12800 Ravin Pkwy S                                 Cottage Grove    MN       55016   Customer Contract   Current
City of Akron                               166 S High Street, Ste 202                         Akron            OH       44308   Customer Contract   Current
City of Alvin                               216 West Sealy                                     Alvin            TX       77511   Customer Contract   Current
City of Ankeny - EDC                        410 W 1st St                                       Ankeny           IA       50023   Customer Contract   Current
City of Anna                                111 N. Powell Pkwy             PO BOX 776          Anna             TX       75409   Customer Contract   Current
City of Avon                                36080 Chester Rd                                   Avon             OH       44011   Customer Contract   Current
City of Avon Lake                           150 Avon Belden Road                               Avon Lake        OH       44012   Customer Contract   Current
City of Balch Springs EDC                   13503 Alexander Rd                                 Balch Springs    TX       75181   Customer Contract   Current
City of Beachwood                           25325 Fairmount Blvd                               Beachwood        OH       44122   Customer Contract   Current
City of Bentonville                         305 SW A Street                                    Bentonville      AR       72712   Customer Contract   Current
City of Berea                               11 Berea Commons                                   Berea            OH       44017   Customer Contract   Current
City of Big Lake                            160 Lake Street North                              Big Lake         MN       55309   Customer Contract   Current
City of Blaine - Economic Development       10801 Town Square Drive NE                         Blaine           MN       55449   Customer Contract   Current
                                                                                               Broadview
City of Broadview Heights                   9543 Broadview Rd                                  Heights          OH       44147   Customer Contract   Current
City of Brook Park                          6161 Engle Rd                                      Brook Park       OH       44142   Customer Contract   Current
City of Brooklyn Park                       5200 85th Avenue North                             Brooklyn Park    MN       55443   Customer Contract   Current
City of Brunswick                           4095 Center Road                                   Brunswick        OH       44212   Customer Contract   Current
City of Buckeye - Economic Dev              530 East Monroe Aveune                             Buckeye          AZ       85326   Customer Contract   Current
City of Burleson                            141 West Renfro St                                 Burleson         TX       76028   Customer Contract   Current
City of Cambridge                           300 3rd Ave NE                                     Cambridge        MN       55008   Customer Contract   Current
City of Casselberry                         95 Triplet Lake Dr                                 Casselberry      FL       32707   Customer Contract   Current
City of Chardon                             111 Water St.                                      Chardon          OH       44024   Customer Contract   Current
                                            Charlotte Mecklenburg Gov't    600 E 4th St, 14th
City of Charlotte Real Estate Division      Center                         Floor.             Charlotte         NC       28202   Customer Contract   Current



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           Contract Counterparty                     Address1               Address2              City          State     Zip         Description       Status
City of Chesterfield EDC                  690 Chesterfield Pkwy West                        Chesterfield       MO       63017   Customer Contract   Current
City of Cibolo EDC                        200 S Main St                                     Cibolo             TX       78108   Customer Contract   Current
City of Cleveland                         601 Lakeside Avenue E         RM 210              Cleveland          OH       44114   Customer Contract   Current
City of Columbus                          90 W Broad St                 Room 425            Columbus           OH       43215   Customer Contract   Current
City of Converse EDC                      403 S. Seguin                                     Converse           TX       78109   Customer Contract   Current
City of Coon Rapids                       11155 Robinson Dr                                 Coon Rapids        MN       55433   Customer Contract   Current
City of Corinth EDC                       3300 Corinth Pkwy                                 Corinth            TX       76208   Customer Contract   Current
City of Corsicana                         200 N. 12th Street                                Corsicana          TX       75110   Customer Contract   Current
City of Covington CDD                     20 W Pike St                                      Covington          KY       41011   Customer Contract   Current
City of Dania Beach CRA                   100 W Dania Beach Blvd                            Dania Beach        FL       33004   Customer Contract   Current
City of Dublin                            5200 Emerald Parkway                              Dublin             OH       43017   Customer Contract   Current
City of Edina                             4801 W 50th St                                    Edina              MN       55424   Customer Contract   Current
City of Elyria                            131 Court St Suite 301                            Elyria             OH       44035   Customer Contract   Current
City of Englewood                         1000 Englewood Parkway                            Englewood          CO       80110   Customer Contract   Current
City of Erlanger EDC                      505 Commonwealth Ave                              Erlanger           KY       41018   Customer Contract   Current
City of Fairborn                          44 W Hebble Ave                                   Fairborn           OH       45324   Customer Contract   Current
City of Fairview Park                     20777 Lorain Road                                 Fairview Park      OH       44126   Customer Contract   Current
City of Fayetteville - Dept. Economic &
Business Dev.                             433 Hay St                                        Fayetteville       NC       28301   Customer Contract   Current
City of Florence                          8100 Ewing Blvd                                   Florence           KY       41042   Customer Contract   Current
City of Flower Mound                      2121 Cross Timbers Rd.                            Flower Mound       TX       75028   Customer Contract   Current
City of Forest Park                       1201 West Kemper Road                             Forest Park        OH       45240   Customer Contract   Current
City of Fort Worth                        900 Monroe St, Suite 404                          Fort Worth         TX       76102   Customer Contract   Current

City of Fountain Valley                   10200 Slater Avenue                               Fountain Valley    CA       92708   Customer Contract   Current
City of Franklin, Ohio                    1 Benjamin Franklin Way                           Franklin           OH       45005   Customer Contract   Current
City of Gahanna                           200 South Hamilton Rd                             Gahanna            OH       43230   Customer Contract   Current
City of Gardendale                        PO Box 889                                        Gardendale         AL       35071   Customer Contract   Current
City of Germantown EDC                    1930 Germantown Rd S                              Germantown         TN       38138   Customer Contract   Current
City of Glendale, EDC                     5850 W Glendale Ave                               Glendale           AZ       85301   Customer Contract   Current
City of Grandview Heights                 1016 Grandview Ave                                Grandview          OH       43212   Customer Contract   Current
City of Grapevine                         200 South Main Street                             Grapevile          TX       76099   Customer Contract   Current
City of Grove City                        4035 Broadway                                     Grove City         OH       43123   Customer Contract   Current
City of Hamilton EDC                      345 High Street               Ste 780             Hamilton           OH       45011   Customer Contract   Current
City of Hilliard                          3800 Municipal Way                                Hilliard           OH       43026   Customer Contract   Current
                                                                                            Huntington
City of Huntington Beach                  2000 Main Street                                  Beach              CA       92648   Customer Contract   Current



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           Contract Counterparty               Address1                Address2              City           State      Zip         Description       Status
City of Independence                5409 Madison Pike                                  Independence        KY       41051    Customer Contract   Current
City of Independence - Cleveld      6800 Brecksville Road                              Independence        OH       44131    Customer Contract   Current
City of Johnston                    6221 Merle Hay Rd.             PO Box 410          Johnston            IA       50131    Customer Contract   Current
City of Keller                      PO Box 770                                         Keller              TX       76244    Customer Contract   Current
City of Kenosha                     625 52nd Street                                    Kenosha             WI       53140    Customer Contract   Current
City of La Habra                    110 E La Habra Blvd                                La Habra            CA       90633    Customer Contract   Current
City of Lake Forest                 25550 Commercentre Drive       #100                Lake Forest         CA       92630    Customer Contract   Current
City of Lake Mary                   100 N. Country Club Road                           Lake Mary           FL       32746    Customer Contract   Current
City of Lakeville                   20195 Holyoke Avenue                               Lakeville           MN       55044    Customer Contract   Current
City of Lakewood                    12650 Detroit Road                                 Lakewood            OH       44107    Customer Contract   Current
                                                                                                                    43130-
City of Lancaster                   1424 Campground Road                               Lancaster           OH       9503     Customer Contract   Current
City of Lancaster EDC               211 N Henry St                                     Lancaster           TX       75146    Customer Contract   Current
City of League City                 300 West Walker St                                 League City         TX       77573    Customer Contract   Current
City of Leander Economic Dev        P.O. Box 319                                       Leander             TX       78641    Customer Contract   Current
City of Lebanon EDC                 50 South Broadway                                  Lebanon             OH       45036    Customer Contract   Current
City of Lewisville                  151 W. Church St                                   Lewisville          TX       75029    Customer Contract   Current
City of Long Beach                  4801 Airport Plaza Dr                              Long Beach          CA       90815    Customer Contract   Current
City of Longwood                    175 W Warren Avenue                                Longwood            FL       32750    Customer Contract   Current
City of Louisville                  215 South Mill Street                              Louisville          OH       44641    Customer Contract   Current
City of Maple Heights               5353 Lee Road                                      Maple Heights       OH       44137    Customer Contract   Current
City of Mason EDC                   6000 Mason-Montgomery Rd                           Mason               OH       45040    Customer Contract   Current

City of Mayfield Heights            6154 Mayfield Road                                 Mayfield Heights OH          44124    Customer Contract   Current
City of Melissa                     3411 Barker Ave                                    Melissa          TX          75454    Customer Contract   Current
City of Mentor                      8500 Civic Center Blvd                             Mentor           OH          44060    Customer Contract   Current
City of Mesa - Office of Economic
Development                         20 East Main                   Ste 200             Mesa                AZ       85211    Customer Contract   Current
City of Mesquite                    1515 North Galloway Ave                            Mesquite            TX       75149    Customer Contract   Current
City of Middletown Ohio             One Donham Plaza, 4th Floor                        Middletown          OH       45042    Customer Contract   Current
City of Minnetonka                  14600 Minnetonka Blvd                              Minnetonka          MN       55345    Customer Contract   Current
City of Moreno Valley               14177 Frederick Street                             Moreno Valley       CA       92552    Customer Contract   Current
City of New Berlin Assessor's       3805 S Casper Dr               2nd Floor           New Berlin          WI       53151    Customer Contract   Current

City of North Ridgeville            7307 Avon Belden Road                              North Ridgeville    OH       44039    Customer Contract   Current
City of North Royalton              11545 Royalton rd                                  North Royalton      OH       44133    Customer Contract   Current
City of Oconomowoc                  174 E Wisconsin Avenue                             Oconomowoc          WI       53066    Customer Contract   Current



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          Contract Counterparty                        Address1                 Address2              City         State     Zip         Description       Status
City of O'Fallon MO                         100 N. Main Street                                  O'Fallon          MO       63366   Customer Contract   Current
City of Olmsted Falls                       26100 Bagley Road                                   Olmsted Falls     OH       44138   Customer Contract   Current
City of Oxford                              101 East High Street                                Oxford            OH       45056   Customer Contract   Current
City of Painesville                         7 Richmond St                                       Painesville       OH       44077   Customer Contract   Current
City of Parma                               5517 State Road                                     Parma             OH       44134   Customer Contract   Current
City of Pataskala                           621 West Broad Street                               Pataskala         OH       43062   Customer Contract   Current
City of Pickerington                        100 Lockville Rd                                    Pickerington      OH       43147   Customer Contract   Current
City of Plymouth                            3400 Plymouth Blvd                                  Plymouth          MN       55447   Customer Contract   Current
City of Powder Springs                      4484 Marietta St                                    Powder Springs    GA       30127   Customer Contract   Current
City of Powell Ohio                         47 Hall Street                                      Powell            OH       43065   Customer Contract   Current
City of Racine-Assesor's Offce              730 Washington Ave                                  Racine            WI       53403   Customer Contract   Current
City of Raleigh                             1 Exchange Plaza Ste 707                            Raleigh           NC       27601   Customer Contract   Current
City of Reynoldsburg                        7232 East Main Street                               Reynoldsburg      OH       43068   Customer Contract   Current
City of Rock Hill Economic and Urban
Development                                 155 Johnston Street                                 Rock Hill         SC       29730   Customer Contract   Current
City of San Bernardino                      300 N. D Street                                     San Bernardino    CA       92418   Customer Contract   Current
City of Sanford - CRA                       300 N Park Ave                                      Sanford           FL       32772   Customer Contract   Current
City of Sanford - EDC                       300 N Park Ave                                      Sanford           FL       32771   Customer Contract   Current
City of Scottsdale - Ec Dev                 3839 N Drinkwater Blvd          2nd Floor           Scottsdale        AZ       85251   Customer Contract   Current
City of Scottsdale - RE Dept                7447 East Indian School Road    Ste 205             Scottsdale        AZ       85251   Customer Contract   Current
City of Seguin EDC                          205 N. River                                        Seguin            TX       78155   Customer Contract   Current
City of Sharonville EDC                     10900 Reading Road                                  Sharonville       OH       45241   Customer Contract   Current
City of Shoreview                           4600 Victoria St N                                  Shoreview         MN       55126   Customer Contract   Current
City of South Euclid                        1349 South Green Road                               South Euclid      OH       44121   Customer Contract   Current
City of Springboro                          320 West Central Avenue                             Springboro        OH       45066   Customer Contract   Current
                                                                            Ste 1000 City Hall
City of St Paul                             25 West 4th St.                 Annex              St. Paul           MN       55102   Customer Contract   Current
City of St. Cloud Economic Dev              400 2nd St. S.                                     St Cloud           MN       56301   Customer Contract   Current
City of Stow                                3760 Darrow Rd                                     Stow               OH       44224   Customer Contract   Current
City of Strongsville                        16099 Foltz Parkway                                Strongsville       OH       44149   Customer Contract   Current
City of Tallmadge                           46 North Avenue                                    Tallmadge          OH       44278   Customer Contract   Current
City of Tavares                             201 E. Main St                  PO Box 1068        Tavares            FL       32778   Customer Contract   Current
City of the Colony - EDC                    6800 Main Street                                   The Colony         TX       75056   Customer Contract   Current
City of Titusville - Economic Development
Department                                  555 S Washington Ave            Second Floor        Titusville        FL       32780   Customer Contract   Current
City of Trenton EDC                         11 East State Street                                Trenton           OH       45067   Customer Contract   Current
City of Twinsburg                           10075 Ravenna Road                                  Twinsburg         OH       44087   Customer Contract   Current



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City of Upper Arlington                 3600 Tremont Rd                                      Upper Arlington OH       43221    Customer Contract   Current
City of Verona                          111 Lincoln St                                       Verona          WI       53593    Customer Contract   Current
City of Wadsworth                       120 Maple St                                         Wadsworth       OH       44281    Customer Contract   Current
                                                                                                                      91788-
City of Walnut                          P.O. Box 682                                         Walnut          CA       0682     Customer Contract   Current
                                                                                             Warrensville
City of Warrensville Heights            4301 Warrensville Center Road                        Heights         OH       44128    Customer Contract   Current
City of Wauwatosa                       7725 W North Ave                                     Wauwatosa       WI       53213    Customer Contract   Current
City of Wauwatosa                       7725 W North Avenue                                  Wauwatosa       WI       53213    Customer Contract   Current
City of Waxahachie EDC                  401 S. Rogers                                        Waxahachie      TX       75165    Customer Contract   Current
City of Wentzville                      5 W Pearce Blvd                                      Wentzville      MO       63385    Customer Contract   Current
City of Westerville                     21 S State St                                        Westerville     OH       43081    Customer Contract   Current
City of Westminister                    4800 West 92nd Ave                                   Westminister    CO       80031    Customer Contract   Current

City of Wildwood Economic Development   16860 Main Street                                    Wildwood        MO       63040    Customer Contract   Current
City of Willoughby                      1 Public Square                                      Willoughby      OH       44094    Customer Contract   Current
City of Worthington                     6550 N. High St.                                     Worthington     OH       43085    Customer Contract   Current
City View Industrial Park               5800 Franklin St                 Suite 100           Denver          CO       80216    Customer Contract   Current
Civil Technology                        2413 Washington Street                               Denver          CO       80205    Customer Contract   Current
Claire Sinclair Properties, LLC         700 Rollingbrook Dr.             Suite E             Baytown         TX       77521    Customer Contract   Current
Clarion Partners                        230 Park Avenue                  12th Fl             New York        NY       10169    Customer Contract   Current
Clark Gaines Properties                 10497 Town & Country Way         Ste 700             Houston         TX       77024    Customer Contract   Current
                                                                                                                      63115-
Clark Properties                        3901 Union Blvd                  Suite 104-A         St Louis        MO       1107     Customer Contract   Current
Clay County EDC                         1251 NW Briarcliff Parkway       Suite 25            Kansas City     MO       64116    Customer Contract   Current
Clayton County Economic Development     1588 Westwood Way                                    Morrow          GA       30260    Customer Contract   Current
Clayton Jones & Associates              305 Jefferson Street             Suite D             Huntsville      AL       35801    Customer Contract   Current
Clear Springs Development, LLC          951 Market Street, Suite 203                         Fort Mill       SC       29708    Customer Contract   Current
Clermont County Auditor                 101 E Main St                                        Batavia         OH       45103    Customer Contract   Current

Co Sprgs Downtn Dev Authorit            111 S Tejon St                   Ste 404             Colorado Springs CO      80903    Customer Contract   Current
Coastal Properties Group Florida, LLC   600 Cleveland St                 Suite 710           Clearwater       FL      33755    Customer Contract   Current
Coldwell Banker                         7581 Nuthatch Cir                                    Parker           CO      80134    Customer Contract   Current

Coldwell Banker - Colorado Springs      2075 Research Pkwy Suite B                           Colorado Springs CO      80920    Customer Contract   Current
Coldwell Banker West Shell              9321 Montgomery Road                                 Cincinnati       OH      45242    Customer Contract   Current



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           Contract Counterparty                       Address1                   Address2               City       State      Zip         Description       Status
Coldwell Banker Comm Adv -Cary              2128 High House Road                                  Cary             NC       27519    Customer Contract   Current
                                                                                                                            72203-
Coldwell Banker Comm Hathaway               P.O. Box 3730                                         Little Rock      AR       3730     Customer Contract   Current
Coldwell Banker Comm. Reliant               1125 W 8th St                     Ste 200             Cincinnati       OH       45203    Customer Contract   Current
Coldwell Banker Comm. Select                8990 Sheridan Rd                                      Tulsa            OK       74133    Customer Contract   Current

Coldwell Banker Commercial - Ackley Realty 22 W Monument Ave                  Ste 1               Kissimmee        FL       34741    Customer Contract   Current
Coldwell Banker Commercial - Atlanta - Will                                   Bldg 1300 Ste
MacArthur                                   5591 Chamblee Dunwoody Rd         100                 Atlanta          GA       30338    Customer Contract   Current

Coldwell Banker Commercial Crown Group      131 E 19th St                                         Mount Dora       FL       32757    Customer Contract   Current

Coldwell Banker Commercial NRT              500 N Westshore Blvd Suite 850                        Tampa            FL       33609    Customer Contract   Current
Coldwell Banker Commercial Select -
Edmond                                      3209 S Broadway                   Suite 213           Edmond           OK       73013    Customer Contract   Current
Coldwell Banker Gundaker SC1                2101 Bluestone Dr                 Suite 106           St Charles       MO       63303    Customer Contract   Current
Coldwell Banker Schmidt Family of
Companies                                   522 E. Front Street                                   Traverse City    MI       49686    Customer Contract   Current
Coldwell Banker Select                      5125 e 92nd St                                        Tulsa            OK       74137    Customer Contract   Current
Colglazier Properties                       1000 E. Basse Road                Suite 100           San Antonio      TX       78209    Customer Contract   Current
Colhoun Real Estate, LLC                    PO Box 322                                            Apex             NC       27502    Customer Contract   Current
Collateral Properties, LLC                  1900 Crestwood Blvd               Suite 300           Birmingham       AL       35210    Customer Contract   Current
Collier & Associates                        2894 N McKee Cir                                      Fayetteville     AR       72703    Customer Contract   Current

Colliers International                      4204 S. Pinnacle Hills Parkway    Suite 102           Rogers           AR       72758    Customer Contract   Current
Colliers International Wisconsin - Ashley
Stilwell                                    833 E Michigan St, Ste 500                            Milwaukee        WI       53202    Customer Contract   Current
Collis Roofing                              485 Commerce Way                                      Longwood         FL       32750    Customer Contract   Current
Colorado Broker LLC                         1690 South Arbutus Place                              Lakewood         CO       80228    Customer Contract   Current
Colorado Commercial Companies               383 Corona Street                 Suite 322           Denver           CO       80218    Customer Contract   Current
Colorado Equities, Inc.                     1120 Redbud Cir                                       Longmont         CO       80503    Customer Contract   Current
Colorado Valuation Consultants              9590 W. 14th Ave.                                     Lakewood         CO       80215    Customer Contract   Current
Colton Commercial                           2206 S Priest Dr                                      Tempe            AZ       85282    Customer Contract   Current
Columbus 2020                               150 South Front Street                                Columbus         OH       43215    Customer Contract   Current
Commerce City EDC                           7887 East 60th Ave                                    Commerce City    CO       80022    Customer Contract   Current
Commercial 1 Brokers                        500 W Main St                     Suite 302-A         Branson          MO       65616    Customer Contract   Current
Commercial Advisors Asset Serv              5101 Wheelis Dr.                  # 320               Memphis          TN       38117    Customer Contract   Current



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          Contract Counterparty                           Address1                 Address2              City          State     Zip         Description       Status
Commercial Advisors LLC                        8024 W Kentucky Ave                                 Lakewood           CO       80226   Customer Contract   Current
Commercial Advisors LLC                        5101 Wheelis Dr                 Suite 300           Memphis            TN       38117   Customer Contract   Current
Commercial Appraisal Network                   8012 Bonhomme                   Suite 300           St. Louis          MO       63105   Customer Contract   Current
Commercial Associates                          PO Box 464                                          Raleigh            NC       27602   Customer Contract   Current
Commercial Brokers Alliance NoCo, LLC          1295 Main St. Unit 5                                Windsor            CO       80550   Customer Contract   Current
Commercial Carolina                            8508 Park Road #174                                 Charlotte          NC       28210   Customer Contract   Current
Commercial Executives Real Estate Services -
Bobbie Miracle                                 7219 W Sahara Ave               Suite 100           Las Vegas          NV       89117   Customer Contract   Current
Commercial First Real Estate                   3031 N. Center Street                               Hickory            NC       28601   Customer Contract   Current

Commercial Investment Realty                   4730 Brady Rd                                       Colorado Springs   CO       80915   Customer Contract   Current
Commercial Mngmt & Investments                 3855 West Ray Rd                Ste 3               Chandler           AZ       85226   Customer Contract   Current
Commercial Partners Realty Inc                 299 Dr Martin Luther King Jr    St N                St Petersburg      FL       33701   Customer Contract   Current
Commercial Property Advisors                   PO Box 271748                                       Littleton          CO       80127   Customer Contract   Current
Commercial Property Group                      10 Inverness Drive EA5          Suite 160           Englewood          CO       80112   Customer Contract   Current
Commercial Real Estate Services Inc            85 E. 7th Pl #200                                   St Paul            MN       55101   Customer Contract   Current
Commercial Real Estate Solutio                 611 Rocky Ledge                                     Austin             TX       78746   Customer Contract   Current
Commercial Realty Advisors Houston             170 Golden Autumn Pl                                The Woodlands      TX       77384   Customer Contract   Current
Commercial Realty Advisors LLC                 7434 N. Lannon Road                                 Lannon             WI       53046   Customer Contract   Current
Commercial Realty Partners                     2820 Columbiana Road            Suite 210           Birmingham         AL       35216   Customer Contract   Current
Commercial Tulsa, Inc.                         PO Box 140026                                       Broken Arrow       OK       74014   Customer Contract   Current
Commercial United LLC                          150 N. Sunnyslope Rd.           Suite 240           Brookfield         WI       53005   Customer Contract   Current
Commercial West Real Estate                    14143 Denver West Parkway       Suite 100           Golden             CO       80401   Customer Contract   Current
Community State Bank                           1640 SW White Birch Circle                          Ankeny             IA       50023   Customer Contract   Current
Company One, Inc.                              20800 Center Ridge Road                             Rocky River        OH       44116   Customer Contract   Current
Compass Properties                             735 N. Water Street -           Suite M180          Milwaukee          WI       53202   Customer Contract   Current
Compass Property Advisors LLC                  909 S. Meridian Ave             Suite 500           Oklahoma City      OK       73108   Customer Contract   Current
Compass Real Estate Consulting                 120 East Pine Street            Ste 1               Lakeland           FL       33801   Customer Contract   Current
Component Realty, LLC                          3131 Turtle Creek Blvd          Suite 900           Dallas             TX       75219   Customer Contract   Current
Concord Development                            10580 N Port Washington                             Mequon             WI       53092   Customer Contract   Current
Congress Holdings Group                        1005 Congress Avenue            Suite 150           Austin             TX       78701   Customer Contract   Current
Conscience Bay Company LLC                     929 Pearl St                    Ste 300             Boulder            CO       80302   Customer Contract   Current
Conti Warehouses                               1905 Windsor Pl                                     Fort Worth         TX       76110   Customer Contract   Current
Continental Realty, Ltd                        150 E Broad Street                                  Columbus           OH       43215   Customer Contract   Current
Cook Appraisal                                 1580 Mail Drive                                     Iowa City          IA       52240   Customer Contract   Current
Cooper Commercial, Inc.                        6238 Prestoncrest Lane                              Dallas             TX       75230   Customer Contract   Current
Cooper Realty Investments                      3100 West End Ave               Suite 100           Nashville          TN       37203   Customer Contract   Current


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          Contract Counterparty                        Address1                   Address2               City       State      Zip         Description       Status
Cooper Realty Investments, Inc              200 N Bowman                      Ste 8               Little Rock      AR       72211    Customer Contract   Current
COPT                                        310 The Bridge Street             Ste 610             Huntsville       AL       35806    Customer Contract   Current
                                                                                                  Greenwood
Cordes & Company Realty Asso.               5299 DTC Blvd.                    #815                Village          CO       80111    Customer Contract   Current
Core Brookfield Lakes                       325 N Corporate Drive             Suite 200           Brookfield       WI       53045    Customer Contract   Current
CORE Realty Advisors                        11049 W 44th Ave                  Ste 101             Wheat Ridge      CO       80033    Customer Contract   Current
CORE Realty Partners                        8165 East Indian Bend Road        #103                Scottsdale       AZ       85250    Customer Contract   Current
Corn Enterprises, Inc.                      PO Box 3184                                           Marietta         GA       30061    Customer Contract   Current
Cornelius and Associates                    1608 N Hwy 161                                        Grand Prairie    TX       75050    Customer Contract   Current
Cornerstone Commercial AsscLLC              561 Spring Lake Dr                                    Melbourne        FL       32955    Customer Contract   Current
Cornerstone Commercial Associates, LLC -
Todd Rosborough                             561 Spring Lake Dr                                    Melbourne        FL       32955    Customer Contract   Current
                                            8000 Maryland Avenue, Suite
Cornerstone Commercial Realty, Inc          1120                                                  St Louis         MO       63105    Customer Contract   Current
Cornerstone Commercial Rty Inc              8000 Maryland Ave                 Ste 1120            St. Louis        MO       63105    Customer Contract   Current
Cornerstone Investors                       102 Jonathan Blvd N #200                              Chaska           MN       55318    Customer Contract   Current
Corporate Realty Advisors                   3150 East 41st Street             Suite 102           Tulsa            OK       74105    Customer Contract   Current
Corporate USA Real Estate Ser               1420 W Mockingbird Ln             Suite 210           Dallas           TX       75247    Customer Contract   Current
Country Manor                               4277 Marks Rd                                         Medina           OH       44256    Customer Contract   Current
Covenant Commercial Realty                  Po Box 20333                                          Raleigh          NC       27619    Customer Contract   Current
Cowles Commercial                           1616 Miramont Dr                                      Fort Collins     CO       80524    Customer Contract   Current
                                                                                                                            63143-
Cozad Commercial RE Group                   16 Sunmen Dr                      Suite 164           St Louis         MO       3815     Customer Contract   Current

CPG Real Estate Inc. - Paisley Gordon Jr CCIM 9032 Crump Rd                                       Pineville        NC       28134    Customer Contract   Current

Craddock Commercial RE, LLC                 337 E Pikes Peak Ave              Ste 200             Colorado Springs CO       80903    Customer Contract   Current
Craft Commercial                            7300 Six Forks Rd                                     Raleigh          NC       27615    Customer Contract   Current
                                            4122 Keaton Crossing Blvd. Ste
Craven Properties LLC                       106                                                   O'Fallon         MO       63368    Customer Contract   Current
Crawford Hoying Real Estate                 6640 Riverside Drive              Suite 500           Dublin           OH       43017    Customer Contract   Current
CRE Advisors                                1801 Lee Rd                       Ste 215             Winter Park      FL       32789    Customer Contract   Current
CRESA Cincinnati                            646 Main St                       Ste 300             Cincinnati       OH       45202    Customer Contract   Current
Crossroads Real Estate                      3509 E Shea Blvd                  Suite 102           Phoenix          AZ       85028    Customer Contract   Current
CROWN Corporate Realty Advisors             9935-D Rea Road                   #231                Charlotte        NC       28277    Customer Contract   Current
Crown Realty                                102 S Silver                                          Paola            KS       66071    Customer Contract   Current
Crump Commercial, LLC                       700 Colonial Rd                   Suite 260           Memphis          TN       38117    Customer Contract   Current



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          Contract Counterparty                       Address1                   Address2              City        State      Zip         Description       Status
Crunkleton & Associates                    515 Fountain Row                  Ste 1100            Huntsville       AL       35801    Customer Contract   Current

Crye-Leike Cordova Property Management     890 Willow Tree Circle #1                             Cordova          TN       38018    Customer Contract   Current
CSA Commercial                             555 W. Wells - Suite 1630                             Milwaukee        WI       53202    Customer Contract   Current
CTR Partners                               1490 Distribution Dr.             Suite 125           Duluth           GA       30024    Customer Contract   Current
Cuningham Group                            201 Main Street SE                Suite 325           Minneapolis      MN       55414    Customer Contract   Current
                                                                                                                           80202-
Cushman & Wakefield                        1515 Arapahoe St                  Suite 1200          Denver           CO       2112     Customer Contract   Current
Cushman & Wakefield - Charlotte, NC        550 S Tryon Street, Suite 3400                        Charlotte        NC       28202    Customer Contract   Current
Cushman & Wakefield - Cincinnati           201 East 4th St., Ste 1800                            Cincinnati       OH       45202    Customer Contract   Current
Cushman & Wakefield - Dayton               221 East 4th St                   26th Floor          Cincinnati       OH       45202    Customer Contract   Current
                                           100 N. Broadway Avenue, Suite
Cushman & Wakefield - Evaluation Group     3130                                                  Oklahoma City    OK       73102    Customer Contract   Current

Cushman & Wakefield - Northern Colorado    1515 Arapahoe St Ste 1200                             Denver           CO       80202    Customer Contract   Current
Cushman & Wakefield - St Louis             7700 Forsyth Blvd                 Ste 1210            St Louis         MO       63105    Customer Contract   Current

Cushman & Wakefield | Cresco Real Estate   3 Summit Park Drive               Suite 200           Cleveland        OH       44131    Customer Contract   Current
Cushman &Wakefield, Comm. OK               4111 S Darlington                                     Tulsa            OK       74135    Customer Contract   Current
                                                                                                                           68114-
Cushman&Wakefield| The Lund Co             450 Regency Parkway               Suite 200           Omaha            NE       3764     Customer Contract   Current
Cushman&Wakefield-Commerce RE              3500 American Way W               Suite 200           Minneapolis      MN       55431    Customer Contract   Current
Cygnet Properties, LLC                     1467 Highway 124                  Suite 200           Auburn           GA       30011    Customer Contract   Current
D.R. Haneklau, Inc                         114 Ladue Pine Woods Pl                               Saint Louis      MO       63141    Customer Contract   Current
Dan Robinson & Associates                  323 Center St.                    Sutie 1295          Little Rock      AR       72201    Customer Contract   Current
Daniclies Land and Acquisition             4234 Nathaniel Glen Court                             Matthews         NC       28105    Customer Contract   Current
Daniel & Associates                        1609 Milan Road                                       Greensboro       NC       27410    Customer Contract   Current
Daniel Realty Services, LLC                505 20th STreet North             Suite 1000          Birmingham       AL       35203    Customer Contract   Current
Darland Properties                         4115 South 133rd Street                               Omaha            NE       68137    Customer Contract   Current
David Faria                                558 E. Castle Pines Pkwy          B4-191              Castle Rock      CO       80108    Customer Contract   Current
David Rouble Brokerage                     5445 Caruth Haven                 #126                Dallas           TX       75225    Customer Contract   Current
David Yedidsion                            3075 Smith Rd, Ste 101                                Fairlawn         OH       44333    Customer Contract   Current
Davidson Webster Associates                9965 Farmbrook Ln                                     Johns Creek      GA       30022    Customer Contract   Current
Dayton Development Coalition               40 N Main St                      Ste 900             Dayton           OH       45423    Customer Contract   Current
DBSI Real Estate                           6950 W Morelos Pl                                     Chandler         AZ       85226    Customer Contract   Current
                                                                                                                           63144-
DCM Group                                  8300 Eager Rd                     Ste 601             St Louis         MO       1419     Customer Contract   Current



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           Contract Counterparty                        Address1                  Address2                City      State      Zip         Description       Status
DCT Industrial                               9025 Boggy Creek Rd Unit 1                           Orlando          FL       32824    Customer Contract   Current
DDI Commercial Incorporated                  7200 W 132nd St                  Ste 300             Overland Park    KS       66213    Customer Contract   Current
Dean Callan & Company                        1510 28th St.                    Suite 200           Boulder          CO       80303    Customer Contract   Current
Dean Realty                                  1201 W 31st Street               Suite 2             Kansas City      MO       64108    Customer Contract   Current
Deca Realty Comm Div                         9630 Gravois Rd                  Suite 101           St. Louis        MO       63123    Customer Contract   Current
Decatur Development Authority                509 North McDonough Street                           Decatur          GA       30030    Customer Contract   Current
Decide DeKalb Development Authority          125 Clairemont Ave               Ste 150             Decatur          GA       30030    Customer Contract   Current
Decker Associates, Inc.                      1950 W Littleton Blvd            Suite 115           Littleton        CO       80120    Customer Contract   Current
                                                                                                  Deerfield
Deerfield Township                           4900 Parkway Drive               Ste 150             Township         OH       45040    Customer Contract   Current
Delaney Realty Group                         2855 16th Street                                     Boulder          CO       80304    Customer Contract   Current
Delaware County                              101 North Sandusky Street                            Delaware         OH       43015    Customer Contract   Current
Delta Realty Researchers                     700 Mill Springs Lane                                Hoover           AL       35244    Customer Contract   Current
Deltic Timer Corp (Chenal)                   7 Chenal Club Blvd                                   Little Rock      AR       72223    Customer Contract   Current
Denison Development Alliance                 311 W Woodard St                                     Denison          TX       75020    Customer Contract   Current
Denny Elwell Company                         PO Box 187                                           Ankeny           IA       50021    Customer Contract   Current
                                                                                                                            76202-
Denton Central Appraisal District            PO Box 2816                                          Denton           TX       2816     Customer Contract   Current
Denver Equities                              299 Milwaukee Street             Suite 203           Denver           CO       80206    Customer Contract   Current
Denver Water                                 1600 W. 12th Ave                                     Denver           CO       80204    Customer Contract   Current
Department of Community & Economic
Development - County of S                    175 S Main St                                        Akron            OH       44308    Customer Contract   Current
Department of Economic Security - State of                                    First Floor
Arizona                                      1789 W Jefferson Street          Northwest           Phoenix          AZ       85007    Customer Contract   Current

DePaul Real Estate Advisors                  4500 Cherry Creek South Drive    Suite 860           Denver           CO       80246    Customer Contract   Current
DeRango, Best and Associates                 1601 East Amelia Street                              Orlando          FL       32803    Customer Contract   Current
DeSoto Economic Development                  211 E. Pleasant Run Rd                               DeSoto           TX       75115    Customer Contract   Current
Development Advisors, LLC                    2000S. Colorado Blvd.            Suite 250           Denver           CO       80222    Customer Contract   Current

Development Authority of Cherokee County One Innovation Way                                       Woodstock        GA       30188    Customer Contract   Current

Devitt Real Estate Services, Inc.            8280 Montgomery Rd, Suite 210                        Cincinnati       OH       45236    Customer Contract   Current
Diagnostic Ventures, LLC                     10 Palisades Rd NE                                   Atlanta          GA       30309    Customer Contract   Current
Dickey Property Company, LLC                 4515 Prentice Street          Ste 112                Dallas           TX       75206    Customer Contract   Current
Dickinson Financial Corporation; dba.
Academy Bank                                 1111 Main St., Ste 1600                              Kansas City      MO       64105    Customer Contract   Current



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          Contract Counterparty                           Address1                   Address2               City        State      Zip         Description       Status
Dillard Group Real Estate                      3550 W Robinson                   #200                Norman            OK       73075    Customer Contract   Current
Distinctive Properties Ltd.                    49 W 11th Ave                                         Denver            CO       80204    Customer Contract   Current
Divaris Real Estate Inc.                       4525 Main Street                  Suite 900           Virginia Beach    VA       23462    Customer Contract   Current
Dixon Commercial Realty LLC                    301 West Main                     PO Box 4428         Frisco            CO       80443    Customer Contract   Current
Doberstein Lemburg Commercial, Inc.            1401 Riverside Avenue Ste A                           Fort Collins      CO       80524    Customer Contract   Current
Dodge Appraisal Company                        202 Clarkson Executive Park                           Ellisville        MO       63011    Customer Contract   Current
Dolan Realtors - Union                         210 Hwy 50 West                                       Union             MO       63084    Customer Contract   Current

Domain Realty Inc                              5755 North Point Pkwy Suite 200                       Alpharetta        GA       30022    Customer Contract   Current
Donald R Kenney & Co Realtors                  470 Old Worthington Rd            Suite 101           Westerville       OH       43082    Customer Contract   Current
Doran Companies                                7803 Glenroy Road                 Ste 200             Bloomington       MN       55439    Customer Contract   Current
Douglas County Economic Develp                 100 Third St                                          Castle Rock       CO       80104    Customer Contract   Current
Douglas County EDA                             8512 Bowden Street                                    Douglasville      GA       30134    Customer Contract   Current
Douglas Elliman Commercial                     205 East 42nd Street, 6th                             New York          NY       10016    Customer Contract   Current
Douglas Elliman Real Estate - Dix Hills        1772 E Jericho TPK, Ste 1A                            Huntington        NY       11743    Customer Contract   Current
Dowell Properties, Inc.                        1932 W Lindsey                                        Norman            OK       73069    Customer Contract   Current
Downtown Cincinnati, Inc.                      35 East Seventh St                Suite 202           Cincinnati        OH       45202    Customer Contract   Current
Downtown Dallas, Inc.                          901 Main Street                   Ste 7100            Dallas            TX       75202    Customer Contract   Current
Downtown Phoenix                               1 E Washington St Ste 230                             Phoenix           AZ       85004    Customer Contract   Current
Downtown Property Services                     2660 Walnut St                                        Denver            CO       80205    Customer Contract   Current
Downtown Raleigh Alliance                      120 S Wilmington St               Ste 103             Raleigh           NC       27601    Customer Contract   Current
Downtown St. Louis - Community
Improvement District                           720 Olive Street Ste 450                              St Louis          MO       63101    Customer Contract   Current
Doyle Rogers Company                           111 Center Street                 Suite 150           Little Rock       AR       72201    Customer Contract   Current
DP Management, LLC                             11506 Nicholas St                 Suite 100           Omaha             NE       68154    Customer Contract   Current
Dreyer & Associates Real Estate Group - Scot
Marschang                                      6030 Newbury Circle                                   Melbourne         FL       32940    Customer Contract   Current
Driscoll Co, LLC                               613 Belson Court                                      Kirkwood          MO       63122    Customer Contract   Current
DRW Investments, LLC                           105 Springwater Ct                                    Cary              NC       27513    Customer Contract   Current
Duffy Realty, Inc.                             7500 E. Arapahoe Rd               Suite 345           Centennial        CO       80112    Customer Contract   Current
Duke Commercial RE Svcs LLC                    PO Box 700228                                         San Antonio       TX       78270    Customer Contract   Current

Duke Energy                                    4121 St Lawrence Dr                                   New Port Richey FL         33653    Customer Contract   Current
Duke Realty Corporation                        520 Maryville Centre Dr           Suite 200           St Louis        MO         63141    Customer Contract   Current
                                                                                                                                75138-
Duncanville Comm. Econ. Dev.Co                 PO Box 380280                                         Duncanville       TX       0280     Customer Contract   Current
Dunham Commercial Real Estate                  6355-B E 41st St                                      Tulsa             OK       74135    Customer Contract   Current



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           Contract Counterparty                         Address1                   Address2              City          State     Zip         Description       Status
Dunn Real Estate                              3900 Messer Airport Highway                           Birmingham         AL       3522    Customer Contract   Current
                                                                                                    Greenwood
Dunton Realty Company                         5570 DTC Parkway                  Suite 150           Village            CO       80111   Customer Contract   Current
Durham County Tax Administration              200 E Main St                                         Durham             NC       27617   Customer Contract   Current
Durrance & Associates                         300 South Hyde Park Avenue        #201                Tampa              FL       33606   Customer Contract   Current
Dwyer Commercial                              2928 Coleraine Ave                Suite 1             Cincinnati         OH       45225   Customer Contract   Current
DYCO Diversified Inc.                         795 McIntyre Street               Suite 205           Golden             CO       80401   Customer Contract   Current
E. Roth & Company                             6025 S. Quebec Street             Suite 100           Centennial         CO       80111   Customer Contract   Current
E/MAX Platinum Living - Commercial Division
- Garry Lipko                                 37223 N 12th Street                                   Phoenix            AZ       85086   Customer Contract   Current
Eagle Business Brokers                        3650 S Yosemite St                Ste 204             Denver             CO       80237   Customer Contract   Current
Eakin Partners                                1201 Demonbreun Street            Suite 1400          Nashville          TN       37203   Customer Contract   Current
Ebby Halliday - Plano/Willow B                1627 Silverleaf Dr                                    Carrollton         TX       75007   Customer Contract   Current
Ebby Halliday Realtors                        4455 Sigma Rd                                         Dallas             TX       75244   Customer Contract   Current
Economic Development Corporation - Los
Angeles County                                444 South Flower Street           37th Floor          Los Angeles        CA       90071   Customer Contract   Current
Economic Development Corporation Kansas
City                                          1100 Walnut                       Suite 1700          Kansas City        MO       64106   Customer Contract   Current
Economic Development Partnership of North
Carolina                                      15000 Weston Parkway                                  Cary               NC       27513   Customer Contract   Current
EDG 18 Commercial Realty Grp                  700 W. Virginia Street            Suite 302           Milwaukee          WI       53204   Customer Contract   Current
Edgar Roman Properties                        14677 E Easter Ave, Unit H                            Centennial         CO       80112   Customer Contract   Current
Education Facility Solutions, LLC             14142 Denver West Parkway         Suite 280           Lakewood           CO       80401   Customer Contract   Current
Edwin B. Raskin Company                       5210 Maryland Way                 Suite 300           Brentwood          TN       37027   Customer Contract   Current

Elipsis Properties                            1400 Hillsboro Blvd Suite 200E                        Deerfield Beach    FL       33441   Customer Contract   Current
Ellis & Tinsley                               6421 Camp Bowie Blvd              Suite 302           Fort Worth         TX       76116   Customer Contract   Current
Elms Real Property Assets Grp.                6825 E. Tennessee Ave.            Suite 235           Denver             CO       80224   Customer Contract   Current

Elrod Real Estate                             11219 Financial Center Parkway #314                   Little Rock        AR       72211   Customer Contract   Current
                                                                                                    Altamonte
Emerson International, Inc.                   370 Center Pointe Cir             Ste 1136            Springs            FL       32701   Customer Contract   Current
Eminent Valuations                            14365 E. Colonial Drive           Ste B1              Orlando            FL       32826   Customer Contract   Current
Empire Properties                             133 Fayetteville St               6th Floor           Raleigh            NC       27601   Customer Contract   Current
Empire South Commercial RE LLC                6710 Chesapeake Point                                 Atlanta            GA       30328   Customer Contract   Current
enCodePlus, LLC                               1415 Highway 6 South #D100                            Sugar Land         TX       77478   Customer Contract   Current
Engel & Voelkers                              PO Box 92712                                          Southlake          TX       76092   Customer Contract   Current



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           Contract Counterparty                          Address1                     Address2              City       State     Zip           Description         Status
Enterprise Fleet Services                     P.O. Box 800089                                          Kansas City     MO          64180 Master Vehicle Lease   Various
Entrust One Facility Services, Inc.           11142 Shady Trl                                          Dallas          TX       75229    Customer Contract      Current
Environmental Management, Inc.                8200 Industrial Pkwy                                     Plain City      OH       43064    Customer Contract      Current
Envision Cinemas                              4780 Cornell Road                                        Cincinnati      OH       45241    Customer Contract      Current
Envoy Commercial Real Estate                  9909 Manchester Rd                   Suite 303           St Louis        MO       63122    Customer Contract      Current
Epic Realty                                   2440 W. Caithness Place                                  Denver          CO       80211    Customer Contract      Current
EpiCity Real Estate Services                  PO Box 660066                                            Atlanta         GA       30366    Customer Contract      Current
Equitable Commerce & Land Co.                 6740 E Hampden Ave                   Suite 106           Denver          CO       80224    Customer Contract      Current
Equitas Realty Advisors LLC                   5801 E 41st                          #101                Tulsa           OK       74135    Customer Contract      Current
Equitas Realty Advisors, LLC                  5801 E 41st                          Suite 101           Tulsa           OK       74135    Customer Contract      Current

Equity Commercial Properties - John Kindley   114 Morlake Dr                       Ste 201             Mooresville     NC       28117    Customer Contract      Current
Equity Commercial Realty II, LLC              PO Box 1763                                              Norman          OK       73070    Customer Contract      Current
Equity, LLC - Dayton                          445 Hutchinson Ave                   Ste 800             Columbus        OH       43235    Customer Contract      Current
ERA Real Solutions Realty                     8103 Beckett Center Dr.                                  West Chester    OH       45069    Customer Contract      Current
Ernest Soble Commercial Prop.                 P.O. Box 790885                                          San Antonio     TX       78279    Customer Contract      Current
Etkin Johnson RE Partners                     1512 Larimer Street                  Suite 325           Denver          CO       80202    Customer Contract      Current
E-Value Real Estate Services                  3333 S. Wadsworth Blvd               Suite 200           Denver          CO       80227    Customer Contract      Current
Evans Realty, Inc.                            6349 S. Netherland Cir.                                  Aurora          CO       80016    Customer Contract      Current
EVCO Properties, LLC                          2520 Sardis Rd N                                         Charlotte       NC       28227    Customer Contract      Current
Evergreen Commercial Group LLC - Ron          30403 Kings Valley Drive, Suite 2-
Catterson                                     110                                                      Conifer         CO       80433    Customer Contract      Current
Evergreen Commercial Properties               2100 Crescent Ave                    Suite 250           Charlotte       NC       28207    Customer Contract      Current
Evergreen Realty                              1281 White Rd                                            Chesterfield    MO       63017    Customer Contract      Current
Evolve Bank & Trust - Tampa                   6070 Poplar Ave, Ste 200                                 Memphis         TN       38119    Customer Contract      Current
Excalibur Homes Real Estate                   383 Inverness Pkwy                   Suite 140           Englewood       CO       80112    Customer Contract      Current
Excell Fund Brokerage                         3400 E Bayaud Ave                    Ste 290             Denver          CO       80209    Customer Contract      Current
Excelon Commercial Services                   6510 Abrams Rd                       Suite 515           Dallas          TX       75231    Customer Contract      Current
EXDO Property Management                      3535 Larimer Street                                      Denver          CO       80205    Customer Contract      Current
Executive Property Mgmt Grp                   1991 Main St                         Ste 283             Sarasota        FL       34236    Customer Contract      Current
Executive R.E. Commercial Div                 4680 Mexico Rd                                           St. Peters      MO       63366    Customer Contract      Current
Exeter Property Group - Southeast             1097 Tennyson Place NE                                   Atlanta         GA       30319    Customer Contract      Current
Experimental Holdings                         PO Box 8189                                              Cincinnati      OH       45208    Customer Contract      Current
Expert Realty Inc.                            3081 Lorna Road                      Suite 102           Birmingham      AL       35216    Customer Contract      Current
Fairchild Partners                            6705 Red Road                        PH 604              Coral Gables    FL       33143    Customer Contract      Current
Fairfield County                              210 E. Main St.                                          Lancaster       OH       43130    Customer Contract      Current




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           Contract Counterparty                        Address1                   Address2              City        State     Zip         Description      Status

Falcon Appraisals, LLC                       9832 Chadwick Way                                     Highlands Ranch CO        80129   Customer Contract   Current
Farnsworth Holdings                          101 W Chickasaw Parkway                               Memphis         TN        38111   Customer Contract   Current
Fartaj Real Estate and Business
Development, LLC                             1115 W. Randol Mill Rd., #100                         Arlington        TX       76012   Customer Contract   Current
                                             140 Stonewall Ave. West, Ste
Fayette County Tax Assessors Office          108                                                   Fayetteville     GA       30214   Customer Contract   Current
FBX Commercial, Inc.                         1540 International Pkwy          Ste 200              Orlando          FL       32746   Customer Contract   Current
Feder Commercial Realty Advsrs               1170 S Fairfax St                                     Denver           CO       80246   Customer Contract   Current
Felder Property                              P.O Box 543033                                        Dallas           TX       75354   Customer Contract   Current
Feldman Equities                             351 Mill River Rd                                     Oyster Bay       NY       11771   Customer Contract   Current
Ferguson Commercial RE Svcs                  1840 NW 118th St                 Suite 100            Clive            IA       50325   Customer Contract   Current
Ferrari & Associates, Inc.                   P.O. Box 1356                                         Duluth           GA       30328   Customer Contract   Current
Ferstl Valuation Services                    5905 Forest Place                Suite 100            Little Rock      AR       72207   Customer Contract   Current
Ferstl Valuation Services                    5905 Forest Place                Suite 100            Little Rock      AR       72207   Customer Contract   Current
Fidelis Realty Partners - Dallas             5207 McKinney Ave                Ste 22               Dallas           TX       75205   Customer Contract   Current
Fidelity Bank - Kansas City                  14435 Metcalf Avenue                                  Overland Park    KS       66223   Customer Contract   Current
Fidelity National Financial -Chicago Title
Insurance Company                            601 Riverside Ave , Bldg V 7th Fl                     Jacksonville     FL       32204   Customer Contract   Current
Fidelity National Title Group                8363 W Sunset Road                Suite 100           Las Vegas        NV       89113   Customer Contract   Current
Field Brothers Commercial Properties         101 Merritt Blvd                                      Trumbull         CT       06611   Customer Contract   Current
Financial Centre Corporation                 6020 Ranch Dr                     Ste C-7             Little Rock      AR       72223   Customer Contract   Current
Fire & Ice Realty, Inc.                      1000 Lake Vista Rd                                    Edmond           OK       73034   Customer Contract   Current
First & First                                105 North First St.                                   Minneapolis      MN       55401   Customer Contract   Current
First Carolina Properties                    1036 Branchview Dr Ste 102                            Concord          NC       28025   Customer Contract   Current
First Cherokee Realty                        2800 Marietta Hwy                                     Canton           GA       30188   Customer Contract   Current
First Commercial RE Services                 PO Box 20805                                          Tampa            FL       33622   Customer Contract   Current
First Fidelity Bank                          5100 N Classen Blvd               Ste 500             Oklahoma City    OK       73118   Customer Contract   Current
First Industrial Realty Trust (USA) - Ohio   1425 Sadlier Circle West                              Indianapolis     IN       46239   Customer Contract   Current
First Weber Commercial - Madison - Bob
Caprenter                                    5250 E. Terrace Drive            Suite 1              Madison          WI       53718   Customer Contract   Current
                                                                                                   Menomonee
First Weber Grp Menomonee Fall               N80 W14808 Appleton Ave          Suite 100            Falls            WI       53051   Customer Contract   Current
First Weber Realtors-Devin Piehl             5250 E. Terrace                  Suite 1              Madison          WI       53718   Customer Contract   Current

FirstBank - Colorado Springs                 817 Village Center Dr                                 Colorado Springs CO       80919   Customer Contract   Current
FirstEnergy Corp                             76 S Main Street                                      Akron            OH       44308   Customer Contract   Current



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          Contract Counterparty                    Address1                   Address2              City          State      Zip         Description      Status

Five Stone Tax Advisors                 11211 Taylor raper Ln, STe 300                        Austin             TX       78759    Customer Contract   Current
Flagship                                1190 Business Center Drive        Suite 2000          Lake Mary          FL       32746    Customer Contract   Current
Flagstaff Properties                    1007 Pearl St.                    Suite 260           Boulder            CO       80302    Customer Contract   Current
Flake & Kelley Commercial               425 W Capital Ave                 Suite 300           Little Rock        AR       72201    Customer Contract   Current
Flake & Kelley Commercial               4100 Corporate Center Dr          Suite 203           Springdale         AR       72762    Customer Contract   Current
Fleetwood International                 1444 NW 124th Court                                   Des Moines         IA       50325    Customer Contract   Current
Florida Commercial Group                7211 N. Dale Mabry Hwy            Ste 101             Tampa              FL       33614    Customer Contract   Current
Focus Group Realty                      PO Box 5363                                           Englewood          CO       80155    Customer Contract   Current
Follow Real Estate, Inc                 1449 W Littleton Blvd             Suite 201           Littleton          CO       80120    Customer Contract   Current
Ford Realty                             628 Griffith Rd., Ste B                               Charlotte          NC       28217    Customer Contract   Current
Fort Worth Chamber                      777 Taylor Street                 Suite 900           Fort Worth         TX       76102    Customer Contract   Current
Forward Commercial Real Estate, LLC     1292 Wildcliff Parkway                                Atlanta            GA       30329    Customer Contract   Current
                                                                                                                          37077-
Forward Sumner EconomicCouncil          P.O. Box 1071                                         Hendersonville     TN       1071     Customer Contract   Current
Foster Commercial Real Estate           PO Box 278                                            Oakwood            GA       30566    Customer Contract   Current
Foster Commercial Realty                1457 Holland St                                       Lakewood           CO       80215    Customer Contract   Current
Foster Valuation Company LLC            910 54th Ave #210                                     Greeley            CO       80634    Customer Contract   Current
Founders 3 Real Estate Services         330 E. Kilbourn Avenue            Suite 838           Milwaukee          WI       53202    Customer Contract   Current

Fountain Colony LLC                     105 East Moreno                   Suite 200           Colorado Springs   CO       80903    Customer Contract   Current
Fourteen West, Realtors                 1411 North Highland Avenue                            Atlanta            GA       30306    Customer Contract   Current
Fox Cities Reional Partership           125 N Superior Street                                 Appleton           WI       54911    Customer Contract   Current
Fox Co Commercial RE & Dev              1200 17th St.                     Suite 3000          Denver             CO       80202    Customer Contract   Current
FPR Development, LLC                    5876 S Orchard Creek Circle                           Boulder            CO       80301    Customer Contract   Current
Frank A Macchione Construction          141 Central Ave                                       Rochelle Park      NJ       07662    Customer Contract   Current
Frank Poe Real Esate Inc.               6283 Park South Dr                                    Bessemer           AL       35022    Customer Contract   Current
Frazier Commercial & Ind. Properties    PO Box 1420                                           Conover            NC       28613    Customer Contract   Current
Freedom Real Estate & Capital           4090 Memorial Pkwy SW                                 Huntsville         AL       35802    Customer Contract   Current
Friedman Group, LTD                     3948 Lindell Suite 201                                St Louis           MO       63108    Customer Contract   Current

Fulkerson Land Services                 10444 Greenbriar Place, Suite B                       Oklahoma City      OK       73159    Customer Contract   Current
Furniture Solutions for the Workplace   1329 E. Kemper Road                                   Cincinnati         OH       45246    Customer Contract   Current
Fushing Business Improvement District   135-20 39th Ave                                       Flushing           NY       11354    Customer Contract   Current
FWS Land Strategies                     325 N Kirkwood Rd               Ste 210               St Louis           MO       63122    Customer Contract   Current
Gaines Real Estate Company              P.O. Box 670573                                       Dallas             TX       75367    Customer Contract   Current




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          Contract Counterparty                         Address1                   Address2              City          State      Zip         Description      Status

Gallagher Commercial Group,LLC               1832 London Carriage Grove                            Colorado Springs   CO       80920    Customer Contract   Current
Gart Properties LLC                          P.O. Box 63185                                        Irvine             CA       92602    Customer Contract   Current
Gaston County Tax                            128 W Main Ave                                        Gastonia           NC       28052    Customer Contract   Current
Gateway Advisors                             1013 Willow Ct.                                       Longmont           CO       80503    Customer Contract   Current

Gatto Group                                  29010 Chardon Road                                    Willoughby Hills OH         44092    Customer Contract   Current
GBR Properties - Tulsa                       3114 E 81st St                                        Tulsa            OK         74137    Customer Contract   Current
Geauga County Community & Economic
Development                                  470 Center Street, Building #4                        Chardon            OH       44024    Customer Contract   Current
Gehrki Commercial Real Estate                835 Central Avenue                Suite 200           Hot Springs        AR       71901    Customer Contract   Current
Gemini Residential LLC                       299 Park Ave                                          New York           NY       10171    Customer Contract   Current
Genesee Commercial Group                     710 Kipling                       Suite 403           Lakewood           CO       80215    Customer Contract   Current
                                                                                                   Palm Beach
Genesis Commercial Real Estate Group, Inc.   654 Castle Dr.                                        Gardens            FL       33410    Customer Contract   Current
Genessee Commercial Group LLC                6333 So. Annapurna Dr.                                Evergreen          CO       80439    Customer Contract   Current
Geoff Campbell Realty, Inc.                  10801 Johnston Rd. Suite 223                          Charlotte          NC       28226    Customer Contract   Current
Georgetown EDC                               PO Box 409                                            Georgetown         TX       78627    Customer Contract   Current
Georgia Dept of Economic Dev                 75 Fifth Street NW                Ste 1200            Atlanta            GA       30308    Customer Contract   Current
Georgia EMC                                  75 Fifth Street NW, Suite 710                         Atlanta            GA       30308    Customer Contract   Current
Gerald L. Gamble Co Inc                      204 N Robinson                    Suite 625           Oklahoma City      OK       73102    Customer Contract   Current
Gerspacher Real Estate Group                 5164 Normandy Park Drive          Ste 285             Medina             OH       44256    Customer Contract   Current
GFD Management, Inc.                         6350 Quadrangle Dr. Ste 205                           Chapel Hill        NC       27517    Customer Contract   Current
Gibbons-White, Inc.                          2305 Canyon Blvd.                 Suite 200           Boulder            CO       80302    Customer Contract   Current
Gilbert EDC                                  90 E Civic Center Dr                                  Gilbert            AZ       85296    Customer Contract   Current
Gill Johnson Appraisals                      3372 Altaloma Dr                                      Vestavia Hills     AL       35216    Customer Contract   Current
Gillis Thomas Company                        8333 Douglas Avenue               Suite 1414          Dallas             TX       75225    Customer Contract   Current
Gillis Thomas Company                        8333 Douglas Avenue, #1414                            Dallas             TX       75225    Customer Contract   Current
                                                                                                                               27512-
Gillooly & Associates Rlty,LLC               PO Box 1866                                           Cary               NC       1866     Customer Contract   Current
GLD Commercial Real Estate Advisors          500 1st Ave NE #301                                   Cedar Rapids       IA       52401    Customer Contract   Current
Glenwood Asset Management LLC                3111 Glenwood Ave                                     Raleigh            NC       27612    Customer Contract   Current
Gold Star Realty                             510 McCright                                          Benton             AR       72015    Customer Contract   Current
Golden West Realty & Associates              4022 E Main Street                                    Mesa               AZ       85205    Customer Contract   Current
Goodacre & Company LLC                       2450 Broadway                                         Boulder            CO       80304    Customer Contract   Current

Gordman Properties                           444 Regency Parkway Dr # 202                          Omaha              NE       68114    Customer Contract   Current



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           Contract Counterparty                    Address1                  Address2              City        State     Zip         Description       Status
Gorney Realty Companies                  118 30th Ave N                                       Nashville        TN       37203   Customer Contract   Current
Gottsacker Commercial                    909 N. 8th Street                Suite 115           Sheboygan        WI       53081   Customer Contract   Current
Gourmet Real Estate                      9033 E. Easter Pl                Suite 200           Centennial       CO       80112   Customer Contract   Current
GR Properties                            545 Delaney Avenue, Suite 4                          Orlando          FL       32801   Customer Contract   Current
Graham & Arthur, LLC                     PO Box 11568                                         Atlanta          GA       30355   Customer Contract   Current
Graham & Company, Inc                    355 Quality Cir                  Ste E               Huntsville       AL       35806   Customer Contract   Current
Grand American Inc.                      1610 Wynkoop St                  Ste 110             Denver           CO       80202   Customer Contract   Current
Grand Boulevard Development Co           6801 N Classen Bvld              Suite A             Oklahoma City    OK       73116   Customer Contract   Current
Great Bridge Properties                  900 S Las Vegas Blvd             #810                Las Vegas        NV       89101   Customer Contract   Current
Great Properties International           260 Crandon Blvd                 Ste 53              Key Biscayne     FL       33149   Customer Contract   Current
Great Way Real Estate                    9669 Huron St                    Suite 200           Thornton         CO       80260   Customer Contract   Current
Great West Real Estate Co Inc            120 S. Wilcox                    Suite 100           Castle Rock      CO       80104   Customer Contract   Current
Greater Cleveland Partnership            1240 Huron Rd                                        Cleveland        OH       44115   Customer Contract   Current
Greater Conroe Economic Development
Council                                  505 W. Davis St                  PO Box 97           Conroe           TX       77305   Customer Contract   Current
Greater Mankato Growth                   1961 Premier Drive, Ste 100                          Mankato          MN       56001   Customer Contract   Current
Greater Memphis Chamber                  22 N Front St                    #200                Memphis          TN       38103   Customer Contract   Current
Greater MSP Reg. Ecom Dev Part           400 Robert St N                  Ste 1600            St Paul          MN       55101   Customer Contract   Current
Greater Omaha Econ Dev Partner           1301 Harney Street                                   Omaha            NE       68102   Customer Contract   Current
Greater San Marcos Partnership           1340 Wonder World Dr             Suite 108           San Marcos       TX       78666   Customer Contract   Current
Greater St Cloud Development Corp        1010 W St Germain St                                 St Cloud         MN       56301   Customer Contract   Current
Greeley Economic Development             1100 10th St                     Ste 201             Greeley          CO       80631   Customer Contract   Current
Green & Little LP                        1175 Nashville Pike                                  Gallatin         TN       37066   Customer Contract   Current
                                                                          6303 Harrison
Green Township Ohio                      P.O. # 1700001380                Avenue              Cincinnati       OH       45247   Customer Contract   Current
Greenberg Development Company            15563 Manchester Rd                                  Ballwin          MO       63011   Customer Contract   Current
Greene County - Auditor's Office         69 Greene St                                         Xenia            OH       45385   Customer Contract   Current
Greenleaf Capital                        5300 W. Cypress St.              Suite 100           Tampa            FL       33607   Customer Contract   Current
Griffin Associates Realtors              1816 Front St                    Ste 110             Durham           NC       27705   Customer Contract   Current
Griffin Company Realtors                 5100 S Thompson                                      Springdale       AR       72764   Customer Contract   Current
Griffin Company Realtors - Rick Oliver   5100 S. Thompson                                     Springdale       AR       72764   Customer Contract   Current
Griffith Realty Advisors                 2630 Wapiti Rd                                       Fort Collins     CO       80525   Customer Contract   Current
Grizzard Commercial Real Estat           9800 US Hwy 441                  Suite 103,104       Leesburg         FL       34788   Customer Contract   Current
                                                                                              Greenwood
Group One Ventures                       8547 E Arapahoe Rd Unit J-309                        Village          CO       80112   Customer Contract   Current
Group Real Estate Development            1401 W 13th St.                                      Kansas City      MO       64102   Customer Contract   Current
Grow Licking County                      50 W. Locust Street                                  Newak            OH       43055   Customer Contract   Current



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           Contract Counterparty                 Address1                   Address2              City         State     Zip          Description        Status
Grubb Properties, Inc. - Charlotte   4601 Park Rd                       Ste 450             Charlotte         NC       28209   Customer Contract     Current
Gudgel Properties, Inc.              13131 S. Yorktown Avenue                               Bixby             OK       74008   Customer Contract     Current
                                                                                                                                                     Terminates
Guesa USA LLC                        Liberty Park Plaza, 150 S Limit                        Sedalia           MO       65301   Real Property Lease   12/31/2018
Guidance Corporate Realty Adv        521 Valley View Dr                                     Boulder           CO       80304   Customer Contract     Current
H. G. Hill Realty Company LLC        3011 Armory Dr.                    Suite 130           Nashville         TN       37204   Customer Contract     Current
                                                                        NW Bldg 400 Ste
Hailey Realty Company                3715 Northside Parkway             350             Atlanta               GA       30327   Customer Contract     Current
Halcyon Realty, LLC                  5624 S Datura St.                                  Littleton             CO       80120   Customer Contract     Current
Hall Emery                           6100 Tower Circle                  Suite 150       Franklin              TN       37067   Customer Contract     Current

Hall Group                           6801 Gaylord Parkway Ste 100                           Frisco            TX       75034   Customer Contract     Current
Hamilton Appraisal Services, LLC     1648 Taylor Rd, PMB 463                                Port Orange       FL       32128   Customer Contract     Current
Hamilton County Dev. Co.             1776 Mentor Ave                                        Cincinnati        OH       45212   Customer Contract     Current
Hamilton Merritt Inc                 104 Lake Cliff Ct                                      Cary              NC       27513   Customer Contract     Current
Hammes Realty Services, LLC          18000 West Sarah Lane              Suite 250           Brookfield        WI       53045   Customer Contract     Current
Hanover Commercial                   1030 Johnson Road                  Suite 340           Golden            CO       80401   Customer Contract     Current
Hansen Real Estate Services Ic       5665 Greendale Rd                  Suite A             Johnston          IA       50131   Customer Contract     Current
Hansen Storage                       2880 N. 112th St                                       Milwaukee         WI       53222   Customer Contract     Current
Harbour Realty Corp                  4400 Arcady Ave                                        Dallas            TX       75205   Customer Contract     Current
Harding and Carbone                  3903 Bellaire Blvd                                     Houston           TX       77025   Customer Contract     Current
Harnett County EDC                   PO Box 1270                                            Lillington        NC       27546   Customer Contract     Current
Harrispark Properties                3901 Barrett Dr Ste 102                                Raleigh           NC       27609   Customer Contract     Current
Harsch Investment Prop LLC           3111 S Valley View Blvd            Ste K101            Las Vegas         NV       89102   Customer Contract     Current
Hart Properties Group                165 N Main St                      Ste 108             Collierville      TN       38017   Customer Contract     Current
Hartman Income REIT                  2909 Hillcroft                     Ste 420             Houston           TX       77057   Customer Contract     Current
Hartman Income REIT - Houston        8111 LBJ Freeway                   Suite 130           Dallas            TX       75251   Customer Contract     Current
Hartman Income REIT - San Antonio    8111 LBJ Freeway                   Ste. 13             Dallas            TX       75251   Customer Contract     Current
Hartwell Realty                      1027 Highway 70 W                  Ste 106             Garner            NC       27529   Customer Contract     Current
Haslet Texas Economic Development    101 Main St                                            Haslet            TX       76052   Customer Contract     Current
Hawthorn Bank                        300 SW Longview Blvd                                   Lee's Summit      MO       64081   Customer Contract     Current
Health Connect Properties Inc.       3400 E. Bayaud                     Suite 240           Denver            CO       80209   Customer Contract     Current
Healthcare Realty Services,Inc       6029 Walnut Groove Rd              Suite 400           Memphis           TN       38120   Customer Contract     Current
HEARN                                875 N. Michigan Ave Ste 4010                           Chicago           IL       60611   Customer Contract     Current
Heartland Properties, Inc.           535 W Broadway                     Suite 100           Council Bluffs    IA       51503   Customer Contract     Current
Hellenic Brothers                    27715 Bering Crossing Dr                               Katy              TX       77494   Customer Contract     Current
Helm Commercial Real Estate          7818 Big Sky Drive                 Suite 209           Madison           WI       53719   Customer Contract     Current



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           Contract Counterparty                     Address1                  Address2              City           State     Zip         Description       Status
Helsan Development Co. LLC                N112 W18518 Mequon Rd            Suite A             Germantown          WI       53022   Customer Contract   Current
Henkle Schueler & Associates              3000G Henkle Drive                                   Lebanon             OH       45036   Customer Contract   Current
Henry & Company                           Po Box 694                                           Grover              MO       63040   Customer Contract   Current
Henry County Development Auth             125 Westridge Industrial Blvd                        McDonough           GA       30253   Customer Contract   Current
Henry S Miller Brokerage LLC              14001 Dallas Parkway             11th Floor          Dallas              TX       75240   Customer Contract   Current
HER Realtors - South Dayton               7625 Paragon Rd Ste E                                Dayton              OH       45459   Customer Contract   Current
Herman Miller - c/o John A Marshall Co.   10930 Lackman Rd                                     Lenexa              KS       66219   Customer Contract   Current
Herndon and Kelley                        Box 13008                                            Oklahoma City       OK       73113   Customer Contract   Current

Hershewe Real Estate Co                   103 NW Pointe LN                                     North Kansas City   MO       64116   Customer Contract   Current
Heyle Realtors & Counseling               309 S National Ave                                   Springfield         MO       65802   Customer Contract   Current
Higdon Development, LLC                   P.O. Box 3307                                        Cedar Park          TX       78630   Customer Contract   Current
High Associates Ltd.                      6497 Parkland Drive              Ste E               Sarasota            FL       34243   Customer Contract   Current
High Associates, Ltd                      11020 David Taylor Dr            Ste 130             Charlotte           NC       28262   Customer Contract   Current
High Street Real Estate & Dev, LLC        2821 Alliance Pl Ste 1                               Springdale          AR       72764   Customer Contract   Current
Highland Realty & Development - Lynette
Glenn                                     8419 Prince Valiant                                  Waxhaw              NC       28277   Customer Contract   Current
Highwoods Properties Inc                  201 S Orange Ave                 Ste 400             Orlando             FL       32801   Customer Contract   Current
Hilvin Properties                         PO Box 29125                                         St Louis            MO       63126   Customer Contract   Current
Hines Interest LP                         255 E 5th St                     Suite 2110          Cincinnati          OH       45202   Customer Contract   Current
HND Realty, LLC - Will Hostettler         421 E Iris Dr, Ste 300                               Nashville           TN       37204   Customer Contract   Current
Hobbs Properties                          343 E Six Forks Rd               Ste 300             Raleigh             NC       27609   Customer Contract   Current
Hobby Area District                       8121 Broadway, Suite 199                             Houston             TX       77061   Customer Contract   Current
Hobby Properties                          PO Box 18526                                         Raleigh             NC       27619   Customer Contract   Current

Hoff & Leigh, Inc.                        1257 Lake Plaza Dr               #225                Colorado Springs CO          80906   Customer Contract   Current

Hoff & Leigh, Inc.                        PO Box 63411                                         Colorado Springs CO          80962   Customer Contract   Current
Hofmann Consulting Services               5709 Mangrove Ct                                     Loveland         CO          80538   Customer Contract   Current

Holly Springs, NC Economic Development    PO Box 9                                             Holly Springs       NC       27540   Customer Contract   Current

HomeSmart Realty Group - Holly Tierney    7368 S Kit Carson St                                 Centennial          CO       80122   Customer Contract   Current
Hospitality Industry Brokerage            3308 W 38th Ave                                      Denver              CO       80211   Customer Contract   Current
Hottle Appraisal Commercial               11720 Old Ballas Rd                                  St Louis            MO       63141   Customer Contract   Current
                                          11700 Space Center Blvd. Ste
Houston Partners Realty LLC               104                                                  Houston             TX       77059   Customer Contract   Current



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                                            3700 N. Capital of TX Hwy Suite
HPI Corporate Services                      420                                                    Austin           TX       78746    Customer Contract   Current
HRI Commercial Realty                       2288 Grange Hall Rd                                    Beavercreek      OH       45431    Customer Contract   Current
Hudson Appraisals, Inc.                     3606 W Southern Hills Blvd         Suite 100           Rogers           AR       72758    Customer Contract   Current
Huff Commercial Group                       334 Beechwood Rd                   Ste 200             Ft. Mitchell     KY       41017    Customer Contract   Current
Huffman Builders                            5880 Ashmill Drive                 Suite 100           Plano            TX       75024    Customer Contract   Current
Hull & Company                              111 N 2nd St                                           Rogers           AR       72756    Customer Contract   Current
Hulse Commercial Real Estate                901 Washington Ave                 #708                St Louis         MO       63101    Customer Contract   Current
Hunt Investments, LLC                       609 Loughmoor Pass                                     St Charles       MO       63304    Customer Contract   Current
Huntsman Real Estate                        35 Horseshoe Lane                                      Carbondale       CO       81623    Customer Contract   Current
Huntsville/Madison County Chamber           225 Church Street                                      Huntsville       AL       35801    Customer Contract   Current

Hurd Real Estate Services                   2000 Fuller Road                                       West Des Moines IA        50265    Customer Contract   Current
                                                                                                                             63141-
Hutkin Development                          10829 Olive Blvd                                       St Louis         MO       7668     Customer Contract   Current
Hutto EDC                                   321 Ed Schmidt Blvd                Suite 200           Hutto            TX       78634    Customer Contract   Current
Hydinger Steward & Chew Commer              2200 Woodcrest Place               Suite 330           Birmingham       AL       35209    Customer Contract   Current
Icon Commercial Inc.                        1121 Golden Grain Rd                                   Garner           NC       27529    Customer Contract   Current
IDI Gazeley                                 1000 Ridgeway Loop Rd.                                 Memphis          TN       38120    Customer Contract   Current
IFF - Minnesota                             333 South Wabash Ave                                   Chicago          IL       60604    Customer Contract   Current
IFF - Wisconsin                             333 South Wabash                   Suite 2800          Chicago          IL       60604    Customer Contract   Current
Imperial Properties, Inc                    6130 E 32nd Street                 #108                Tulsa            OK       74135    Customer Contract   Current
Income Prop of Raleigh, Inc                 1049 Dresser Ct                                        Raleigh          NC       27609    Customer Contract   Current

Independence Real Estate LLC - Leigh Finn   4801 E. Independence Boulevard #404                    Charlotte        NC       28212    Customer Contract   Current

Independence Title Company                  5900 Shepherd Mountain Cove        II-200              Austin           TX       78730    Customer Contract   Current
Industrial Appraisal                        1312 1/2 31st South                                    Birmingham       AL       35205    Customer Contract   Current
Industrial Properties of South              9668 Madison Blvd                  Suite 100           Madison          AL       35758    Customer Contract   Current
Industrial Realty Solutions                 P.O. Box 1485                                          Safety Harbor    FL       34695    Customer Contract   Current
Insight Commercial REBrokerage              622 SW D Ave                       Suite 1             Lawton           OK       73501    Customer Contract   Current
Insite Properties LLC                       1435 W. Morehead St                Ste 125             Charlotte        NC       28208    Customer Contract   Current
INTCO                                       14855 Blanco Rd                    Ste 305             San Antonio      TX       78216    Customer Contract   Current
Integrated Property Services                1400 S. Colorado                   Suite 410           Denver           CO       80222    Customer Contract   Current
Integrated Real Estate                      3944 JFK Pkwy 12E                                      Fort Collins     CO       80525    Customer Contract   Current
International Network                       3586 S Elkhart St                                      Aurora           CO       80014    Customer Contract   Current
Interra Management Company                  2400 Augusta Dr.                   Suite 330           Houston          TX       77057    Customer Contract   Current



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Interstate Properties             PO Box 2519                                      Muskogee          OK       74402    Customer Contract   Current
Investment Partners, LLC          P.O. Box 669                                     McMinnville       TN       37111    Customer Contract   Current
                                                                                                              78232-
Investment Realty Company, LLC    16350 Blanco Rd              Suite 114           San Antonio       TX       3338     Customer Contract   Current
Investments Limited               215 North Federal Highway                        Boca Raton        FL       33432    Customer Contract   Current
Investor Research Associates      5730 SW 74 St., Ste. 100                         South Miami       FL       33143    Customer Contract   Current
Ion Real Estate                   1127 Auraria Parkway         #601                Denver            CO       80209    Customer Contract   Current
                                                                                                              50309-
Iowa Appraisal & Research Corp    1707 High Street                                 Des Moines        IA       3313     Customer Contract   Current
Iowa Dept of Admin Services       109 SE 13th Street                               Des Moines        IA       50319    Customer Contract   Current

Iowa Realty Commercial            3501 Westown                                     West Des Moines   IA       50266    Customer Contract   Current
IPA Commercial - Roderick Gee     1600 Camden Rd.                                  Charlotte         NC       28203    Customer Contract   Current
Iremco, Inc                       15510 Olive Blvd             Ste 200             Chesterfield      MO       63017    Customer Contract   Current
IRG Realty Advisors               4020 Kinross Lakes Pkwy      Ste 200             Richfield         OH       44286    Customer Contract   Current
Irgens Partners, LLC              833 East Michigan Street     Suite 400           Milwaukee         WI       53202    Customer Contract   Current
Irwin & Hendrick                  2299 Pearl St.               Suite 400           Boulder           CO       80302    Customer Contract   Current
Irwin & Hendrick East             720 Austin Avenue            Suite 200           Erie              CO       80516    Customer Contract   Current
Irwin Partners                    1701 Centerview Dr           Suite 201           Little Rock       AR       72211    Customer Contract   Current
J R Fulton & Associates LLC       4334 NW Expressway St        Suite 100           Oklahoma City     OK       73116    Customer Contract   Current
J&B Realty                        8933 E. Union Ave.           Suite 216           Englewood         CO       80111    Customer Contract   Current
J. Key Properties, LLC            300 Vestavia Parkway         Suite 2300          Vestavia Hills    AL       35216    Customer Contract   Current
J. Michael Easterwood & Co.       2915 E. Ponce de Leon                            Decatur           GA       30030    Customer Contract   Current
J.A.Kennedy RE- Matthew Nelson    7155 S Rainbow Blvd          Ste 200             Las Vegas         NV       89118    Customer Contract   Current
J.T. Couch Appraisals             7027 Old Madison Pike        Suite 108 # B57     Huntsville        AL       35806    Customer Contract   Current
JA Commercial                     7265 Kenwood Road                                Cincinnati        OH       45236    Customer Contract   Current
Jack Fine Properties              210 St. Paul Street          Suite 205           Denver            CO       80206    Customer Contract   Current
Jackson Corporate Real Estate     800 Mt. Vernon Hwy           Ste 425             Atlanta           GA       30328    Customer Contract   Current
Jackson County MO Assessor        415 E 12th St, 1M                                Kansas City       MO       64106    Customer Contract   Current
James C. Karo & Associates        1750 Lafayette St                                Denver            CO       80218    Customer Contract   Current
Jamie White Commercial RE, LLC    307 W 7th St                 Suite 1900          Fort Worth        TX       76102    Customer Contract   Current
Japhet Real Estate                3602 Paesano Pkwy            Suite 106           San Antonio       TX       78231    Customer Contract   Current
Jared Properties LLC              2870 S Ingram Mill Rd                            Springfield       MO       65804    Customer Contract   Current
Javernick Property Services       3131 S. Vaughn Way           Suite 224           Aurora            CO       80014    Customer Contract   Current
Jaybird Realty                    6025 S Quebec St.            #100                Centennial        CO       80111    Customer Contract   Current
Jeff Justis                       21784 Chinquapin Rd                              Springdale        AR       72764    Customer Contract   Current
Jeff Laures                       1211 E. 15th Street                              Plano             TX       75074    Customer Contract   Current



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Jeff Wolf and Partners RE                   11138 Reading Road                                    Sharronville     OH       45241   Customer Contract   Current
Jefferson Economic Council                  1667 cole Blvd                    #400                Golden           CO       80401   Customer Contract   Current
Jenkins Property Advisors, Inc              2808 W Price Ave                                      Tampa            FL       33611   Customer Contract   Current
Jim Derr                                    P.O. Box 36272                                        Denver           CO       80236   Customer Contract   Current
Jimmy Bell Real Estate Company              1031 Fayetteville Rd                                  Van Buren        AR       72956   Customer Contract   Current
JKJ Realty Company                          7910 S 101st E Ave                                    Tulsa            OK       74133   Customer Contract   Current
JM Pacific                                  510 E 51st Avenue                 #205                Denver           CO       80216   Customer Contract   Current
JobsOhio                                    41 S High St, Ste 1500                                Columbus         OH       43215   Customer Contract   Current
Joe M. Kboudi Real Estate Inc               7300 Blanco Rd                    Suite 706           San Antonio      TX       78216   Customer Contract   Current
John Blue Realty                            218 Randolph Ave                  Ste B               Huntsville       AL       35801   Customer Contract   Current
John Green & Co. Commercial                 108 East Mulberry                                     Collierville     TN       38017   Customer Contract   Current
John J. Locke Broker                        1811 Woodberry Road                                   Charlotte        NC       28212   Customer Contract   Current
John Propp Commercial Group                 6565 S Dayton St.                 Suite 3000          Greenwood        CO       80111   Customer Contract   Current

John S Kesselman Real Estate                10620 N Port Washington Road                          Mequon           WI       53092   Customer Contract   Current
Johnny Williams                             1104 Peable Beach Dr                                  Mansfield        TX       76063   Customer Contract   Current
Johnson County Appraiser Offic              11811 S Sunset Dr                 Suite 2100          Olathe           KS       66061   Customer Contract   Current

Johnson Realty Group                        2701 Kavanaugh Blvd., Suite 300                       Little Rock      AR       72205   Customer Contract   Current
Jonas Builders                              3939 W McKinley Ave                                   Milwaukee        WI       53208   Customer Contract   Current
Jordan Realty Advisors (JRA)                16475 Dallas Pkwy                 Ste 540             Addison          TX       75001   Customer Contract   Current
Joseph Realty, Inc.                         43 Chelsea Point Dr                                   Chelsea          AL       35043   Customer Contract   Current
Josey,Young & Brady Realty,LLC              75 Jackson St                     Ste 200             Newman           GA       30263   Customer Contract   Current
Jowers, Inc.                                PO Box 1870                                           Rockwall         TX       75087   Customer Contract   Current
JP & Associates - Southlake                 566 N Kimball Ave., Ste. 120                          Southlake        TX       76092   Customer Contract   Current
JP & Associates REALTORS                    6175 Main St                                          Frisco           TX       75034   Customer Contract   Current
JRD Broker, LLC                             P.O. Box 150200                                       Lakewood         CO       80215   Customer Contract   Current
JS Ferguson                                 1300 S MacArthur Blvd.                                Oklahoma City    OK       73128   Customer Contract   Current
Judd Properties Corporation                 2222 S. Albion St.                Suite 100           Denver           CO       80222   Customer Contract   Current
JWB Realty Services, LLC                    2771 Lawrenceville Highway        Suite 206           Decatur          GA       30033   Customer Contract   Current
K & E Properties                            35 Vikina Dr                                          Englewood        CO       80113   Customer Contract   Current
KAI Design & Build                          2060 Craigshire Rd                                    St Louis         MO       63146   Customer Contract   Current
Kaizen Realty                               2076 West Street                  Suite 200           Germantown       TN       38138   Customer Contract   Current
Kang Kim                                    16561 Red Cliff Cir                                   Morrison         CO       80465   Customer Contract   Current
Kansas City Area Dev Council                30 W Pershing Rd                  Suite 200           Kansas City      MO       64108   Customer Contract   Current

Kansas City Area Transportation Authority   1350 E 17th St.                                       Kansas City      MO       64108   Customer Contract   Current



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          Contract Counterparty                           Address1                   Address2              City        State     Zip         Description       Status
Kansas City Aviation Department                601 Brasilia Avenue                                   Kansas City      MO       64153   Customer Contract   Current
Kasten Long Commercial Group                   5110 N. 40th Street               #110                Phoenix          AZ       85018   Customer Contract   Current
Katchen & Co.                                  7111 W. Alameda Parkway           Suite O             Lakewood         CO       80226   Customer Contract   Current
Kaufman County Appraisal District              3950 S Houston St                                     Kaufman          TX       75142   Customer Contract   Current
Kay Real Estate LLC                            10940 S Parker Rd                                     Parker           CO       80134   Customer Contract   Current

Kearney Commercial Realty                      3017 Exchange Ct                  Ste D               West Palm Beach FL        33409   Customer Contract   Current
Keat Properties, LLC                           9200 Olive Blvd.                  Ste 200             St Louis        MO        63132   Customer Contract   Current
Keenan Properties                              1509 Ocello Dr                    Ste 201             St. Louis       MO        63026   Customer Contract   Current
Keller Willaims Realty Downtown, LLC           901 Auraria Pwy Suite 301                             Denver                    80204   Customer Contract   Current
Keller Williams - Greater Cleveland - Thomas
Seaman                                         8150 Sherman Rd                                       Chesterland      OH       44026   Customer Contract   Current
Keller Williams - Mike Shultz                  3430 Toringdon Way Ste 200                            Charlotte        NC       28226   Customer Contract   Current
Keller Williams - Premier Realty - Jimbo
Homeyer                                        22762 Westheimer Parkway          Suite 430           Katy             TX       77450   Customer Contract   Current
Keller Williams Advantage                      14437 W Elsworth Pl                                   Golden           CO       80401   Customer Contract   Current
Keller Williams Commercial - OK - Mark
McKee                                          1624 SW 122nd St                                      Oklahoma City    OK       73170   Customer Contract   Current
Keller Williams Downtown                       P.O. Box 741325                                       Arvada           CO       80006   Customer Contract   Current
Keller Williams Preferred Rlty                 11859 Pecos St.                   #200                Westminster      CO       80234   Customer Contract   Current
Keller Williams Realty                         10026-A S Mingo Rd #282                               Tulsa            OK       74133   Customer Contract   Current
Keller Williams Realty - Greater Cleveland
West - Martz                                   2001 Crocker Rd, Suite 200                            Westlake         OH       44145   Customer Contract   Current
Keller Williams Realty Downtown LLC            901 Avria Pkwy #301                                   Denver           CO       80204   Customer Contract   Current

Ken Perry Realty                               4135 Alexandria Pike Suite 108                        Cold Spring      KY       41076   Customer Contract   Current
Kennedy Wilson                                 9442 N. Captital TX Highway       II 140              Austin           TX       78759   Customer Contract   Current
Kentwood City Properties                       1660 17th Street                  Suite 100           Denver           CO       80202   Customer Contract   Current
Kentwood Commercial                            1660 17th St                      Suite 100           Denver           CO       80202   Customer Contract   Current
KenWheel Inc.                                  470 Orleans St. 12th Floor                            Beaumont         TX       77701   Customer Contract   Current
Ketcham and Company                            P.O Box 271348                                        Littleton        CO       80127   Customer Contract   Current
Kevin W Anderson & Associates                  2510 E 26th St                    PO Box 4255         Tulsa            OK       74159   Customer Contract   Current
Kew Realty Corporation                         300 S Jackson St                  Suite 550           Denver           CO       80209   Customer Contract   Current
Key Real Estate Group                          7600 E. Arapahoe Rd               Suite 200           Englewood        CO       80112   Customer Contract   Current
Keys Commercial                                1048 Pearl Street Suite 440                           Boulder          CO       80302   Customer Contract   Current
Keystone Marketing, Inc.                       PO Box 7766                                           Moore            OK       73153   Customer Contract   Current
Kim King Associates                            1819 Peachtree Road               Ste 575             Atlanta          GA       30308   Customer Contract   Current



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          Contract Counterparty                      Address1                   Address2               City        State     Zip         Description       Status
Kim Tran Le Realty                        1654 Webb Gin House Road                              Snellville        GA       30078   Customer Contract   Current
Kimley-Horn and Associates                200 S Tryon Street                Suite 200           Charlotte         NC       28202   Customer Contract   Current
King Commercial Real Estate               1624 Market St                    Suite 202           Denver            CO       80202   Customer Contract   Current
Kingston Commercial Real Estat            5887 Glenridge Dr                 Ste 250             Atlanta           GA       30328   Customer Contract   Current
Kinzli & Co.                              4006 Cleveland Ave                PO Box 1260         Wellington        CO       80549   Customer Contract   Current
KMR Real Estate, LLC                      1407 Neffwold Lane                                    Kirkwood          MO       63122   Customer Contract   Current

Knapp Properties, Inc.                    5000 Westown Pkwy                 Suite 400           West Des Moines   IA       50266   Customer Contract   Current
Knollmeyer Appraisal Services Inc         PO Box 1221                                           Concord           NC       28026   Customer Contract   Current
Kolding Comm. Brokerage & Inv.            8850 Selly Rd.                                        Parker            CO       80134   Customer Contract   Current
Kosmos Real Estate, Inc.                  2480 Chama Ct                                         Loveland          CO       80538   Customer Contract   Current
Kothe Real Estate Partners                615 E. Washington Ave             Suite 214            Madison          WI       53701   Customer Contract   Current
Kovac Real Estate                         255 Cone Road                     Ste 1               Merritt Island    FL       32952   Customer Contract   Current

Kowit & Company Real Estate Group         6009 B Landerhaven Dr                                 Mayfield Heights OH        44124   Customer Contract   Current

Kramer Commercial Realty LLC              100 Chesterfield Business Pkwy    Ste 200             St Louis          MO       63005   Customer Contract   Current
Krtek Real Estate Service                 4050 Pennsylvania Av              Suite 215           Kansas City       MO       64111   Customer Contract   Current
Kruegel Commercial                        6392 Bluebird Ct                                      Longmont          CO       80503   Customer Contract   Current

Kurz Group, Inc                           8333 Douglas Ave                  Suite 1370, LB-21 Dallas              TX       75225   Customer Contract   Current
Kuyrkendall & Company RE Svcs             12040 Colwick                                       San Antonio         TX       78216   Customer Contract   Current
KW Com N Raleigh- Bright South            4700 Homewood Ct                  Ste 200           Raleigh             NC       27609   Customer Contract   Current
KW Commercial                             4732 Coker Ave                                      Castle Rock         CO       80134   Customer Contract   Current
KW Commercial                             12150 E 96th St N Ste 100                           Owasso              OK       74055   Customer Contract   Current
KW Commercial - Advantage II - Dione'     12301 Lake Underhill Rd., Ste
Tamayo-Brady                              111                                                   Orlando           FL       32828   Customer Contract   Current
KW Commercial - Baxter - Chris Hogan      1030 Assembly Drive                                   Fort Mills        NC       29708   Customer Contract   Current

KW Commercial - Charlotte - Jonathan Lowe 8520 Cliff Cameron Dr             Ste 100             Charlotte         NC       28269   Customer Contract   Current
KW Commercial - Kima Commercial           1743 S Main St                                        Wake Forest       NC       27587   Customer Contract   Current

KW Commercial - Madson Corp               PO Box 26141                                          Colorado Springs CO        80936   Customer Contract   Current
KW Commercial - Matthew Hagler            3430 Toringdon Way                Ste 101             Charlotte        NC        28277   Customer Contract   Current

KW Commercial - South Park - Todd Akers   5925 Carnegie Blvd                Ste. 250            Charlotte         NC       28209   Customer Contract   Current
KW Commercial - Southlake                 1570 Nightingale Clr                                  Roanoke           TX       76262   Customer Contract   Current



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KW Commercial - Southwest - Robbie Jensky      10827 Fletcher Bridge Ln                          Sugar Land        TX       77498    Customer Contract   Current
KW Commercial - Steve Bamsch                   823 S. Austin Ave,                                Georgetown        TX       78626    Customer Contract   Current
KW Commercial - The Osborne Group              7001 Center Street                                Mentor            OH       44060    Customer Contract   Current
KW Commercial Atlanta Partners                 710 Newnan Crossing Bypass                        Newnan            GA       30263    Customer Contract   Current

KW Commercial Mooresville - Chuck Young        118 Morlake Road                                  Mooresville       NC       28117    Customer Contract   Current

KW Commercial Real Estate, LLC                 2324 E Weatherstone Cir                           Highlands Ranch   CO       80126    Customer Contract   Current
KW Commercial-Dallas Preston                   18383 Preston Rd              Suite 150           Dallas            TX       75252    Customer Contract   Current
KW Realty Commercial Cary                      201 Shannon Oaks Circle       Suite 101           Cary              NC       27511    Customer Contract   Current
KW Realty-Greater Cleveland W                  30400 Detroit Rd              Suite 100           Westlake          OH       44145    Customer Contract   Current
KWC - Atlanta Land Group                       804 Town Boulevard            Ste A2040           Atlanta           GA       30319    Customer Contract   Current
L.H. Layne Company                             404 W. Powell Lane            Suite 202           Austin            TX       78753    Customer Contract   Current
Ladd Real Estate Management Co                 6 Office Park Circle,         Suite 111           Birmingham        AL       35223    Customer Contract   Current
Lafayette Land Company                         1005 S. 120th St.                                 Lafayette         CO       80026    Customer Contract   Current
LaGree Associates, LLC                         3000 United Founders Blvd     Suite 200           Oklahoma City     OK       73112    Customer Contract   Current
Lake County Property Appraiser                 320 W. Main St, Suite A                           Tavares           FL       32778    Customer Contract   Current
Lake Norman Regional EDC                       13801 Reese Blvd              Ste 170             Huntersville      NC       28078    Customer Contract   Current
Lakeside Development Company                   1500 West Market Street       Suite 200           Mequon            WI       53092    Customer Contract   Current
Lambert Realty                                 155 East Bridge Street                            Brighton          CO       80601    Customer Contract   Current
Land Concepts, Ltd                             17350 Morningview Ct                              Brookfield        WI       53045    Customer Contract   Current
Land Run Commercial Real Estate                114 NW 6th St Suite 206                           Oklahoma City     OK       73102    Customer Contract   Current
Landmark Brokerage Services                    9550 Hickman Road             Suite 100           Clive             IA       50325    Customer Contract   Current
Landmark Comm & Res Properties                 3490 Shallowford Rd NE        Ste 310             Atlanta           GA       30341    Customer Contract   Current
Landmark Western                               257 Pearl                     Suite 102           Denver            CO       80203    Customer Contract   Current
Landmark Western II                            7537 S.. Ivanhoe Circle                           Englewood         CO       80112    Customer Contract   Current
Landvestors Group LLC                          6141 Lawson Ln                                    Charlotte         NC       28215    Customer Contract   Current
Langer Real Estate                             1549 Livingston Avenue        #105                St. Paul          MN       55118    Customer Contract   Current
Langley Enterprises, Inc dba Pizel &                                                                                        75379-
Associates                                     PO Box 797503                                     Dallas            TX       7503     Customer Contract   Current
                                                                                                                            72205-
Larrison & Co.                                 10016 W Markham                                   Little Rock       AR       2130     Customer Contract   Current
LaSeven, Inc. - dba - Torri Associates         301 W57th St, Apt 35D                             New York          NY       10019    Customer Contract   Current

Lat Purser & Associates, Inc - Charlotte, NC   4530 Park Rd                  Ste 410             Charlotte         NC       28209    Customer Contract   Current
Laton Ltd.                                     9242 E. Evans                                     Denver            CO       80231    Customer Contract   Current



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           Contract Counterparty                       Address1                Address2              City             State      Zip         Description       Status
Latta Realty Inc.                           20009 Verlaine Dr              PO Box 2561         Davidson           NC          28036    Customer Contract   Current
Law and Evans Associates, Inc.              721 Cottonwood Dr.                                 Broomfield         CO          80020    Customer Contract   Current
LawMark Capital Inc.                        Six Sixty-Six Walnut, #1540                        Des Moines         IA          50309    Customer Contract   Current
LC Real Estate Group, LLC                   1712 Topaz Dr                                      Loveland           CO          80537    Customer Contract   Current
LDA, Inc                                    5784 Lake Forrest Dr           Ste 231             Atlanta            GA          30328    Customer Contract   Current
Lead 2 Real Estate Group                    7168 Weddington Rd Ste 148                         Concord            NC          28027    Customer Contract   Current
Lead Bank                                   9019 S Highway 7                                   Lee's Summit       MO          64064    Customer Contract   Current
Lead Commercial, LLC                        2007 South 1st Street          Suite 102           Austin             TX          78704    Customer Contract   Current
Leavenworth County Development              1294 Eisenhower Rd                                 Leavenworth        KS          66048    Customer Contract   Current
Leawood Chamber of Commerce                 13451 Briar                    Suite 201           Leawood            KS          66209    Customer Contract   Current
Lechner Realty Group                        13421 Manchester Rd            Ste 101             St Louis           MO          63131    Customer Contract   Current
Lee & Associates                            999 18th Street                Suite 901           Denver             CO          80202    Customer Contract   Current
Lee & Associates - Boise, ID                802 W. Bannock Street          12th Floor          Boise              ID          83702    Customer Contract   Current

Lee & Associates - Madison - Blake George   6430 Bridge Road               Suite 230           Madison            WI          53713    Customer Contract   Current
Leitman Perlman, Inc.                       2856 18th Street S.                                Homewood           AL          35209    Customer Contract   Current
Lenexa Chamber of Commerce                  11180 Lackman Rd                                   Lenexa             KS          66219    Customer Contract   Current
Leuthold Commercial Properties              111 Gilpin St.                                     Denver             CO          80218    Customer Contract   Current
Levstik & Associates LLC                    7726 Torrey Court                                  Arvada             CO          80007    Customer Contract   Current
                                                                                                                              38183-
Levy Commercial Realty, LLC                 P.O. Box 38466                                     Germantown         TN          0466     Customer Contract   Current
Levy Realty Advisors                        4901 NW 17th Way, Suite 103                        Ft. Lauderdale     FL          33309    Customer Contract   Current
Liberty Property Limited Partnership        16479 N. Dallas Parkway        Ste 360             Addison            TX          75001    Customer Contract   Current
Liberty Property Trust                      1900 South Blvd, Suite 302                         Charlotte          NC          28203    Customer Contract   Current

Liberty Property Trust                      25 NW Point Blvd, Ste 550                          Elk Grove Village IL           60007    Customer Contract   Current

Liberty Township EDC                        7162 Liberty Centre Dr         Ste A               Liberty Township   OH          45069    Customer Contract   Current
                                                                                               Palm Beach
Lighthouse Realty Services                  4440 PGA Blvd                  Suite 600           Gardens            FL          33410    Customer Contract   Current
Lillibridge Healthcare Service              3545 Olentangy River Rd.       Suite 16            Columbus           OH          43214    Customer Contract   Current
Lillibridge Healthcare Services             200 Medical Park Drive         Suite 240           Concord            NC          28025    Customer Contract   Current
Lincoln County Economic Development
Association                                 502 East Main Street                               Lincolnton         NC          28092    Customer Contract   Current
Lincoln Harris                              4725 Piedmont Row Dr           Ste 800             Charlotte          NC          28210    Customer Contract   Current
Lincoln Harris                              5400 Trinity Rd Suite 200                          Raleigh            NC          27607    Customer Contract   Current
Lincoln Harris CSG                          5400 LBJ Freeway               Suite 700           Dallas             TX          75240    Customer Contract   Current



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           Contract Counterparty                      Address1                 Address2                 City     State      Zip         Description      Status

Lincoln Property Company                  2000 S Colorado Blvd             Annex, Suite 300 Denver              CO       80222    Customer Contract   Current
Lindsey & Associates-Rogers               3801 W Walnut                                     Rogers              AR       72756    Customer Contract   Current
Lindsey & Associates-See Notes            1200 E Joyce Blvd                                 Fayetteville        AR       72703    Customer Contract   Current
Linville Real Estate Services LLC         10925 Winterbourne Ct                             Charlotte           NC       28277    Customer Contract   Current
                                                                                                                         78746-
Live Oak                                  2705 Bee Caves Road              Suite 230           Austin           TX       5685     Customer Contract   Current
                                          736 Whalers Way, Building G,
Livingston Real Estate & Development      Ste 201                                              Fort Collins     CO       80525    Customer Contract   Current
Local-n-Global Realty                     5225 Warrensville Center Rd                          Maple Heights    OH       44137    Customer Contract   Current
Lockwood Realty                           12910 Pierce Street              Suite 110           Omaha            NE       68144    Customer Contract   Current
Locus Real Estate Advisors - Ed McAfee    3 Union Street S                 Ste 210             Concord          NC       28025    Customer Contract   Current
Loeb Properties, Inc.                     825 Valleybrook Dr                                   Memphis          TN       38120    Customer Contract   Current
Logan Capital                             14800 Quorum Dr                  Suite 330           Dallas           TX       75254    Customer Contract   Current
Lolyn Financial dba Community Bank of
Raymore                                   801 W Foxwood Drive              PO Box 200          Raymore          MO       64083    Customer Contract   Current

London Commercial Group                   20445 Soaring Wing Drive                             Colorado Springs CO       80908    Customer Contract   Current
Lone Star College - PO#0000042988         5000 Research Forest Drive                           The Woodlands TX          77381    Customer Contract   Current
Longbow Real Estate Group                 11701 Bee Caves Road             Suite 250           Austin           TX       78738    Customer Contract   Current
Longbow Real Estate Group - Kunal
Someshawar                                11701 Bee Caves Rd               #250                Austin           TX       78738    Customer Contract   Current
Longmont Partners                         1067 S Hover St                  Suite E-113         Longmont         CO       80501    Customer Contract   Current
Lorain County Auditor                     226 Middle Ave Second Floor                          Elyria           OH       44035    Customer Contract   Current

Lorain County Community Development       226 Middle Ave                                       Elyria           OH       44035    Customer Contract   Current
Los Angeles County c/o GIS Planning       One Hallidie Plaza, Suite 760                        San Francisco    CA       94102    Customer Contract   Current
Love your Hood                            3080 Larimer Street                                  Denver           CO       80205    Customer Contract   Current
LSI commercial Real Estate - Earl Amaya   8026 Vantage Dr                  Suite 229           San Antonio      TX       78230    Customer Contract   Current
Lucero & Company                          2195 Decatur Street                                  Denver           CO       80211    Customer Contract   Current
Luetkenhaus Properties                    210 Silent Meadow Dr                                 Lake St Louis    MO       63367    Customer Contract   Current
Luetkenhaus Properties                    410 Crestview Dr                                     O'Fallon         MO       63366    Customer Contract   Current
Lumpkin Development                       100 Metro Pkwy                                       Birmingham       AL       35124    Customer Contract   Current
Luterbach                                 2880 S 171st St                                      New Berlin       WI       53151    Customer Contract   Current
Luxemberg Realty                          3614 Reavis Barracks Rd                              St Louis         MO       63125    Customer Contract   Current
M. David Properties                       6707-C Fairview Road                                 Charlotte        NC       28210    Customer Contract   Current




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           Contract Counterparty                           Address1                 Address2              City        State      Zip         Description      Status
                                                                                                                              80124-
MacLaurin Williams, LLC                         9233 Park Meadows Drive         Suite 155           Lone Tree        CO       5426     Customer Contract   Current
MacTaggart & Mosier, Inc.                       40 S. Allison St                                    Lakewood         CO       80226    Customer Contract   Current
Maddux and Company - Joseph Weston              7250 SW 39th Terrace                                Miami            FL       33155    Customer Contract   Current
Madison County Tax Assessor                     100 Northside Square                                Huntsville       AL       35801    Customer Contract   Current
Magnolia Hotels                                 818 17th St                                         Denver           CO       80202    Customer Contract   Current
Magnum Properties                               1703 Glenmere Blvd.                                 Greeley          CO       80631    Customer Contract   Current
Magnum Realty, Inc.                             11550 I Street                  Suite 200           Omaha            NE       68137    Customer Contract   Current
Majestic Realty Co -Rod Martin                  4050 W Sunset Road              Ste H               Las Vegas        NV       89118    Customer Contract   Current
Majestic Realty Co.                             20100 E. 32nd Parkway           Suite 150           Aurora           CO       80011    Customer Contract   Current
Manning Properties                              26 Powder Springs St                                Marietta         GA       30061    Customer Contract   Current
Manor Brokerage, LLC                            3270 Hampton Ave                Ste 100             St Louis         MO       63139    Customer Contract   Current
Marcum Commercial Advisors                      4860 Robb St                    Suite 207           Wheat Ridge      CO       80033    Customer Contract   Current
Maricopa Association of Governments             302 North 1st Ave               Ste 300             Phoenix          AZ       85003    Customer Contract   Current
Mark F. Taggart                                 942A Freeway Drive N                                Columbus         OH       43229    Customer Contract   Current
Mark V. Commercial, Inc.                        1320 Village Creek              Suite 200           Plano            TX       75093    Customer Contract   Current
Marketing Directions, Inc (City of Middleburg
Heights)                                        28005 Clemens Road                                  Cleveland        OH       44145    Customer Contract   Current
Martine Properties                              315 S Congress Ave              Ste 200             Austin           TX       78704    Customer Contract   Current
Marty McCabe                                    1790 S Brentwood Blvd                               St Louis         MO       63144    Customer Contract   Current
Masters-Hall Appraisal                          P.O. Box 620298                                     Middleton        WI       53562    Customer Contract   Current
Matrix Group, Inc.                              1805 S Bellaire St              Ste 400             Denver           CO       80222    Customer Contract   Current
Matrix Holdings                                 3814 West St., Ste100                               Cincinnati       OH       45227    Customer Contract   Current
Matthew Kyle Winters                            1127 Willhaven Dr.                                  Charlotte        NC       28211    Customer Contract   Current
Maury L. Carter & Associates, Inc.              3333 S Orange Ave, Suite 200                        Orlando          FL       32806    Customer Contract   Current
Maverick Commercial RE                          1110 East Collins Blvd          Ste 138             Richardson       TX       75081    Customer Contract   Current
Maxfield Research Inc.                          7575 Golden Valley Road         Suite 385           Golden Valley    MN       55427    Customer Contract   Current
Maxwell Realty Consulting Serv                  8301 Lodgepole Trail                                Littleton        CO       80124    Customer Contract   Current
MB Basham & Associates                          1499 Blake St.                  Suite 1F            Denver           CO       80202    Customer Contract   Current
MB Basham Investments                           1499 Blake St.                  Suite 1F            Denver           CO       80202    Customer Contract   Current
MB Ledingham & Company                          4266 S Cole St                                      Morrison         CO       80465    Customer Contract   Current
MB Metroplex                                    10660 E. Bethany Dr.            Building 2          Aurora           CO       80014    Customer Contract   Current
MB Moore Properties                             2549 S Fundy Circle                                 Aurora           CO       80013    Customer Contract   Current
MB Park Place Brokers                           11150 Huron Street              Suite 100           Northglenn       CO       80234    Customer Contract   Current
MB Real West Properties                         7828 Vanc Drive                 Suite 201           Arvada           CO       80003    Customer Contract   Current
MB Shaddox & Co.                                11941 W 48th Ave                Ste 100             Wheatridge       CO       80033    Customer Contract   Current
MB- VP & Associates                             17061 Moorside Dr                                   Parker           CO       80134    Customer Contract   Current


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           Contract Counterparty                       Address1                  Address2               City          State      Zip         Description       Status
MC Commercial Real Estate                   4155 E Jewell Ave              Ste 607               Denver              CO       80222    Customer Contract   Current
McArthur-Sanders Real Estate                1619 Galleria Blvd                                   Brentwood           TN       37027    Customer Contract   Current
McCloud and Associates                      20440 Oakbrook Lane                                  Parker              CO       80138    Customer Contract   Current
McClure Partners                            PO Box 802047                                        Dallas              TX       75380    Customer Contract   Current
                                            3715 Northside Pky NW Bldg 200
McDonald Development Co.                    Ste 700                                              Atlanta             GA       30327    Customer Contract   Current
McGill Company, Inc.                        1404 Cornell Rd                                      Atlanta             GA       30306    Customer Contract   Current
McGraw Commercial Properties - Cara Leigh
Ingram                                      4105 S Rockford Ave                                  Tulsa               OK       74105    Customer Contract   Current
McGraw, REALTORS                            PO Box 425                                           Bixby               OK       74008    Customer Contract   Current
McGregor Interests, Inc.                    11750 Stonegate Circle                               Omaha               NE       68164    Customer Contract   Current
McIntyre Commercial                         1966 W 139th Terr                                    Leawood             KS       66224    Customer Contract   Current

McKimmey Associates, Realtors               5317 John F. Kennedy                                 North Little Rock   AR       72116    Customer Contract   Current
McKinney EDC                                5900 S Lake Forest Dr #110                           McKinney            TX       75070    Customer Contract   Current
McLoud & Company, LLC                       1949 E Sunshine St                                   Springfield         MO       65804    Customer Contract   Current
McNiel & Company                            2319 Crestmoor Rd, Suite 202                         Nashville           TN       37215    Customer Contract   Current
McWaters & Associates                       2851 Stage Village Lane          Suite 2             Bartlett            TN       38134    Customer Contract   Current
                                                                                                                              63143-
MD Real Estate Advisors                     16 Sunnen Dr                     Suite 164           St Louis            MO       3815     Customer Contract   Current
MDL Group                                   3065 S Jones Blvd                Ste 201             Las Vegas           NV       89146    Customer Contract   Current
MDLCO LLC - Medallion Mgmnt                 1500 Guilford                                        Nichols Hills       OK       73120    Customer Contract   Current
Mecklenburg County Tax                      600 East Fourth Street                               Charlotte           NC       28202    Customer Contract   Current
Medina County Auditor                       144 N Broadway St                                    Medina              OH       44256    Customer Contract   Current
Medoc Properties, Inc.                      4949 Broadway                    Suite 205           Boulder             CO       80304    Customer Contract   Current
MedSouth Healthcare Properties              5950 Fairview Road               Ste 405             Charlotte           NC       28210    Customer Contract   Current
                                                                                                 Streamboat
Meissner Associates                         P.O. Box 880502                                      Springs             CO       80488    Customer Contract   Current
Melo Real Estate                            605 W Flagler Street                                 Miami               FL       33130    Customer Contract   Current
Merchants & Farmers Bank                    P.O. Box 187                                         Dumas               AR       71639    Customer Contract   Current
Meridian Development Group                  3450 Buschwood Park Dr                               Tampa               FL       33618    Customer Contract   Current
Merit Properties                            417 East Boulevard, Suite 405                        Charlotte           NC       28203    Customer Contract   Current
Met Center NYCTEX Phase II Ltd              901 Rio Grande                   Suite 200           Austin              TX       78701    Customer Contract   Current
Metier LLC                                  PO Box 648                                           Milwaukee           WI       53202    Customer Contract   Current
                                                                                                                              72201-
Metro Little Rock Alliance                  One Chamber Plaza                                    Little Rock         AR       1618     Customer Contract   Current
Metroplex Realtors, Inc.                    10660 E. Bethany Drive           Bldg. 2             Aurora              CO       80014    Customer Contract   Current



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          Contract Counterparty                      Address1              Address2               City        State      Zip          Description        Status
Metropolitan Appraisers                  3534 S. Lincoln Street                             Englewood        CO       80113    Customer Contract     Current
                                                                                            Greenwood
Metropolitan Capital Advisors            8490 E Crescent Parkway       Suite 210            Village          CO       80111    Customer Contract     Current
Metropolitan Holdings Limited            1433 Grandview Ave                                 Columbus         OH       43212    Customer Contract     Current
Michael Biddinger Real Estate            12020 N Pennsylvania Ave                           Oklahoma City    OK       73120    Customer Contract     Current
Michael Bloom Realty                     300 S. Jackson St             Suite 440            Denver           CO       80209    Customer Contract     Current
Michael Lightman Realty Co               5100 Poplar Avenue            Suite 2602           Memphis          TN       38137    Customer Contract     Current
MidAmerica Industrial Park               4075 Sanders Mitchell St                           Pryor Creek      OK       74361    Customer Contract     Current

Middleton Area Development Corporation   7426 Hubbard Avenue                                Middleton        WI       53562    Customer Contract     Current
Miguel Rosales, REALTOR                  5210 Spruce St                                     Bellaire         TX       77401    Customer Contract     Current
Mike Novak                               1499 Blake St.                Suite 1-F            Denver           CO       80202    Customer Contract     Current
Mikkelson Builders                       1025 W Glen Oaks Lane #202                         Mequon           WI       53092    Customer Contract     Current
Mile High Commercial Advisors            181 E. 56th Ave Suite 600                          Denver           CO       80216    Customer Contract     Current
Miller Development                       122 Cherokee Rd                                    Charlotte        NC       28207    Customer Contract     Current
Miller Properties                        15426 W Center Road                                Omaha            NE       68144    Customer Contract     Current

Miller Wilkins & Associates              7770 Cooper Rd                2nd floor, Suite 9   Cincinnati       OH       45242    Customer Contract     Current
Miller-Valentine Group RE Serv           137 N Main Street             Suite 900            Dayton           OH       45402    Customer Contract     Current
Milwaukee Development Corp               756 N Milwaukee               #400                 Milwaukee        WI       53202    Customer Contract     Current
Milwaukee Executive Realty,LLC           2266 N Prospect Ave           #600                 Milwaukee        WI       53202    Customer Contract     Current
Mirowitz R.E. Investments                11500 Olive Blvd              Ste 240              St. Louis        MO       63141    Customer Contract     Current
MJM Enterprises                          3647 S. Chase Ave                                  Milwaukee        WI       53207    Customer Contract     Current
MMIC                                     756 Ridge Lake Blvd           Suite 212            Memphis          TN       38120    Customer Contract     Current
MMS Properties                           904 Autumn Rd                                      Little Rock      AR       72211    Customer Contract     Current
                                                                                                                                                     Terminates
MNCAR                                    6600 France Ave, Ste 485                           Edina            MN       55435    Real Property Lease   3/31/2019
Mock Properties Inc.                     P.O. Box 528                                       Denver           NC       28037    Customer Contract     Current
                                                                                                                      80307-
Mock Property Management Co.             P.O. Box 3126                                      Boulder          CO       3126     Customer Contract     Current
Mohr Partners, Inc.                      14643 Dallas Parkway          Suite 1000           Dallas           TX       75254    Customer Contract     Current
Momentum Commercial Realty Inc           16610 Dallas Parkway          Xuite 2300           Dallas           TX       75248    Customer Contract     Current
Monte L Tinkham Properties               4055 Westheimer Rd            Ste 370              Houston          TX       77027    Customer Contract     Current
Moody Holdings, Inc                      6201 Fairview Rd., Ste 200                         Charlotte        NC       28210    Customer Contract     Current
Moore County Tax Department              Po Box 457                                         Carthage         NC       28327    Customer Contract     Current

Mooresville-South Iredell Economic Dev   151 E Iredell Ave.                                 Mooresville      NC       28115    Customer Contract     Current



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           Contract Counterparty                          Address1                     Address2               City        State      Zip         Description      Status
                                                                                                                                  80203-
Morgan Realty Co.                              4 Pennsylvania St                                       Denver            CO       4115     Customer Contract   Current
Morris Auction Group                           2133 Whitten Road                                       Memphis           TN       38133    Customer Contract   Current
Morrison Appraisal                             613 Euclind Street                                      Monroe            NC       28110    Customer Contract   Current
                                                                                                                                  68022-
Morrissey Appraisal Services                   20645 Roundup Circle                                    Omaha             NE       2116     Customer Contract   Current

Morton Commercial Real Estate Services         3663 Grand Ave                      Ste 708             Des Moines        IA       50312    Customer Contract   Current
Moses Tucker Real Estate                       200 River Market Ave                Suite 501           Little Rock       AR       72201    Customer Contract   Current
Mountain Mngmt & Real Est, Inc                 20148 Royal Troon Dr                                    Monument          CO       80132    Customer Contract   Current
Mountain View Bank of Commerce                 12365 Huron St Ste 1600                                 Westminster       CO       80234    Customer Contract   Current
Mountain View Properties Realty LLC            11150 Huron St., Ste 100                                Northglenn        CO       80234    Customer Contract   Current
Mountain West Commercial Real Estate -
Jeff Mitchell                                  241 W. Charlston Blvd, Suite 103                        Las Vegas         NV       89103    Customer Contract   Current
                                               375 E. Horsetooth Rd. Building 3,
Mountains-n-Plains, Inc.                       Suite 100                                               Fort Collins      CO       80525    Customer Contract   Current
MPI Services, LLC                              1043 East Morehead Street           Ste 301             Charlotte         NC       28204    Customer Contract   Current
MPV Properties                                 2400 South Blvd                     Suite 300           Charlotte         NC       28203    Customer Contract   Current
Mullins Group LLC                              401 N Carroll St                                        Madison           WI       53703    Customer Contract   Current
Murphy Properties, Inc.                        11188 E Skelly Dr                                       Tulsa             OK       74129    Customer Contract   Current
Murray Realties, Inc.                          7520 NW 5th St. Ste. 102                                Plantation        FL       33317    Customer Contract   Current
N.R. Milian & Associates                       PO Box 673                                              Carrboro          NC       27510    Customer Contract   Current
NAI Bergman                                    4695 Lake Forest Drive                                  Blue Ash          OH       45242    Customer Contract   Current
NAI Capstone                                   214 S. First Street                 Suite 202           Rogers            AR       72756    Customer Contract   Current
NAI Carolantic Realty                          5121 Kingdom Way                    Ste 200             Raleigh           NC       27607    Customer Contract   Current
NAI Cummins Real Estate                        787 White Pond Drive, Ste C                             Akron             OH       44320    Customer Contract   Current
NAI Daus - Cleveland                           23240 Chagrin Blvd                  Ste 250             Cleveland         OH       44122    Customer Contract   Current
NAI NP Dodge Real Estate                       12915 West Dodge Road                                   Omaha             NE       68154    Customer Contract   Current

NAI Optimum                                    3737 Woodland Avenue                Suite 100           West Des Moines   IA       50266    Customer Contract   Current
NAI Shames Makovsky                            1400 Glenarm                        Suite 100           Denver            CO       80202    Customer Contract   Current
Naifco Realty Co                               605 N Tulsa                                             Oklahoma City     OK       73107    Customer Contract   Current
Nashville Downtown Partnership                 150 4th Ave. N                      Suite G150          Nashville         TN       37219    Customer Contract   Current
National Real Estate Management Corp.          9986 Manchester Road                                    St Louis          MO       63122    Customer Contract   Current

National Realty of Brevard, Inc. - Alan King   1331 S. Harbor City Blvd                                Melbourne         FL       32901    Customer Contract   Current




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           Contract Counterparty                            Address1                  Address2              City        State     Zip         Description      Status

National Realty of Brevard, Inc. - Jack Ryals   1331 S. Harbor City Blvd                              Melbourne        FL       32901   Customer Contract   Current
National Realty of Brevard, Inc. - Mel
Howard                                          1331 S. Harbor City Blvd                              Melbourne        FL       32901   Customer Contract   Current
NavPoint RE Grp - John Witt                     5225 Summerville Cit                                  Castle Rock      CO       80109   Customer Contract   Current
NavPoint Real Estate Group                      3740 Dacoro Lane                  Suite 200           Castle Rock      CO       80109   Customer Contract   Current
NBKC Bank                                       10700 Nall Ave                                        Leawood          KS       66211   Customer Contract   Current
NBR-Services Inc                                191 E Orchard Rd #A                                   Littleton        CO       80121   Customer Contract   Current
New Braunfels EDC                               390 S. Seguin Ave                                     New Braunfels    TX       78130   Customer Contract   Current
New Forum Inc                                   9224 Kings Parade Blvd            #2101               Charlotte        NC       28273   Customer Contract   Current
New Frontier Bank - Zumbehl                     1771 Zumbehl Rd                                       Saint Charles    MO       63303   Customer Contract   Current
New Miami Realty Commercial                     10950 N Kendall Dr                Ste 200             Miami            FL       33176   Customer Contract   Current
Newcor Commercial Real Estate                   10200 Grogans Mill Rd             Ste 175             The Woodlands    TX       77380   Customer Contract   Current
NewHeight Real Estate Services                  7015 S. Cook Way                                      Littleton        CO       80122   Customer Contract   Current
Newland Communities                             4790 Eastgate Mall                Ste 150             San Diego        CA       92121   Customer Contract   Current
Newmark Grubb Arkansas - North                  805 S Walton Blvd                 Suite 690           Bentonville      AR       72712   Customer Contract   Current
NewOption Partners                              1007 Pearl St                     Suite 290           Boulder          CO       80302   Customer Contract   Current
Newport Leasing                                 8338 Corporate Drive              Suite 300           Racine           WI       53406   Customer Contract   Current
Newport Properties - Commercial Division -
John Bayne                                      542 -2 Williamson Road                                Mooresville      NC       28117   Customer Contract   Current
Newport Properties - Commercial Division -
Kimberly Thaxton                                PO Box 57                                             Cornelius        NC       28031   Customer Contract   Current
Newport Properties - Commercial Division -
Mark Claussner                                  542 -2 Williamson Road                                Mooresville      NC       28117   Customer Contract   Current
Newton County Office of Economic
Development                                     2101 Clark St                                         Covington        GA       30014   Customer Contract   Current
Neyer Properties                                2135 Dana Ave                     Suite 200           Cincinnati       OH       45207   Customer Contract   Current
Nichols Appraisal Associates                    6504 NW 115th                                         Oklahoma City    OK       73162   Customer Contract   Current
Nix & Associates Real Estate, LLC               403 Sullivan Street               Suite 114           Punta Gorda      FL       33950   Customer Contract   Current
Njikam Properties                               12416 Saratoga Rd                                     Oklahoma City    OK       73142   Customer Contract   Current
NMKT Commercial - Jason McAuliffe               1308 Morningside Dr                                   Charlotte        NC       28205   Customer Contract   Current
                                                                                                      Palm Beach
Noble Properties                                4280 Professional Center Drive                        Gardens          FL       33410   Customer Contract   Current
Noble, LLC                                      10318 Olde Ivy Way                                    Charlotte        NC       28262   Customer Contract   Current
North By Northwest Properties, LLC              260 Union Square, Suite 206                           Hickory          NC       28601   Customer Contract   Current
North Ridge Realty Group                        5430 West Chester Rd                                  West Chester     OH       45069   Customer Contract   Current
NorthPoint Development                          4825 NW 41st Street               Suite 500           Riverside        MO       64150   Customer Contract   Current



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          Contract Counterparty                    Address1                 Address2               City        State      Zip          Description           Status
Northstar Commercial Partners          1999 Broadway Ste 770                                Denver            CO       80202    Customer Contract        Current
Nova Property Management               767 S Nova Rd                                        Ormond Beach      FL       32174    Customer Contract        Current
Novus Commercial Real Estate           6000 Fairview Rd                 Ste 1200            Charlotte         NC       28210    Customer Contract        Current
                                                                                                                                                         Terminates
NTCAR                                                                                                                           Real Property SubLease   9/30/2020
Nussbaum Properties                    1572 Two Place                                       Memphis           TN       38116    Customer Contract        Current
NWA Council                            4100 Corporate Dr                Suite 205           Springdale        AR       72762    Customer Contract        Current
O.P. Inc.                              5546 E Hinsdale Cr                                   Centennial        CO       80122    Customer Contract        Current
Oberer Realty Services, LTD            3445 Newmark Dr                                      Miamisburg        OH       45342    Customer Contract        Current
Oconomowoc Realty                      156 E. Wisconsin                                     Oconomowoc        WI       53066    Customer Contract        Current
Office Furniture Source                2920 E Kemper Rd                                     Cincinnati        OH       45241    Customer Contract        Current
OGE Energy Corp                        PO Box 25230                                         Oklahoma City     OK       73125    Customer Contract        Current
O'Hara & Company Real Estate           15855 Mueschke                                       Cypress           TX       77433    Customer Contract        Current
                                                                                                                       73104-
Oklahoma Departmnt of Commerce         900 N Stiles Ave                                     Oklahoma City     OK       3234     Customer Contract        Current
Ola Tax & Ola Realty                   1256 Main St., Ste 248                               Southlake         TX       76092    Customer Contract        Current

Old Town Square Properties             5 Old Towne Square suite #216                        Fort Collins      CO       80524    Customer Contract        Current
Olson Enterprises LLC                  3866 Whitaker Lane                                   Lithia Springs    GA       30122    Customer Contract        Current

OMNE Partners                          5465 Mills Civic Parkway         #210                West Des Moines   IA       50266    Customer Contract        Current
One Banc                               300 W. Capitol Ave                                   Little Rock       AR       72201    Customer Contract        Current
OnSite Retail Group                    9545 Kenwood Rd                  Ste 202             Cincinnati        OH       45242    Customer Contract        Current
Opes Commercial Real Estate            6051 N Chestnut                  Suite B             Gladstone         MO       64119    Customer Contract        Current
Opitz Realty, Inc.                     502 N Eau Claire Ave                                 Madison           WI       53705    Customer Contract        Current
                                                                                                                                                         Terminates
Optima Center Chicago LLC              200 E Illinois, Ste 3611                             Chicago           IL       60611    Real Property Lease      6/1/2018
Orange County Economic Development     131 W Margaret Lane              Ste 205             Hillsborough      NC       27278    Customer Contract        Current

Orange County Real Estate Management   400 E South St.                  5th Floor           Orlando           FL       32801    Customer Contract        Current
Orlando Economic Partnership           301 E Pine St                    Ste 900             Orlando           FL       32801    Customer Contract        Current
                                       2505 E Irlo Bronson Memorial
Osceola County Property Appraiser      Hwy                                                  Kissimmee         FL       34744    Customer Contract        Current

O'Shaughnessy Realty and Development   P.O. Box 2111                                        Cornelius         NC       28031    Customer Contract        Current
Our Corporate Real Estate Dept         82 Remick Boulevard                                  Springboro        OH       45066    Customer Contract        Current
Outlook Management Group               6495 S. 27th Street                                  Franklin          WI       53132    Customer Contract        Current



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          Contract Counterparty                 Address1                Address2              City         State     Zip           Description             Status
Overland Park EDC                     9001 West 110th Street        Suite 150           Overland Park     KS       66210    Customer Contract          Current
Owasso Land Trust                     12150 E 96th St N             Suite 200           Owasso            OK       74055    Customer Contract          Current
Ozaukee County Economic Development
Corporation                           121 West Main Street                              Port Washington   WI       53074    Customer Contract          Current
Ozona Bank                            14100 San Pedro Ave           Suite 100           San Antonio       TX       78232    Customer Contract          Current
P. H. Lewis & Company, Inc.           2265 Roswell Rd.. Ste 100                         Marietta          GA       30062    Customer Contract          Current
P.N. Eklund Interests, Inc            1942 Broadway                                     Boulder           CO       80302    Customer Contract          Current
P.R.I.S.M. Partners, Inc.             802 North Thistle Lane                            Maitland          FL       32751    Customer Contract          Current
Pace Properties                       1401 S Brentwood Blvd         Ste 900             St. Louis         MO       63144    Customer Contract          Current
Page Southerland Page                 1800 Main St                  # 123               Dallas            TX       75201    Customer Contract          Current
Palisades One, LLC                    8117 Ebenezer Church Rd                           Raleigh           NC       27612    Customer Contract          Current
Palmos Development                    2775 Iris Ave.                                    Boulder           CO       80304    Customer Contract          Current
Pam McDowell Properties               pmp1@conwaycorp.net           Ste B               Conway            AR       72034    Customer Contract          Current
Pappas Properties LLC                 4777 Sharon Road              Suite 550           Charlotte         NC       282210   Customer Contract          Current
Paradise Bank - Kevin Rafferty        2420 North Federal Highway                        Boca Raton        FL       33431    Customer Contract          Current
Paramark Real Estate Services         7392 Airport View Dr. SW                          Rochester         MN       55902    Customer Contract          Current
Paramount Comm. Properties LLC        6666 S. Sheridan Road         Suite 106           Tulsa             OK       74133    Customer Contract          Current
Park Avenue of Wayzata Inc            15210 Wayzata Blvd                                Wayzata           MN       55391    Customer Contract          Current
Park Bank                             7540 W Capitol Dr                                 Milwaukee         WI       53216    Customer Contract          Current
Park Towne Development Corp.          402 Gammon Place                                  Madison           WI       53179    Customer Contract          Current
Parkland Health & Hospital Sys        5200 Harry Hines Blvd                             Dallas            TX       75235    Customer Contract          Current
Parkway Properties - Tampa            2202 N. Westshore Blvd        Suite 140           Tampa             FL       33607    Customer Contract          Current
Parkway Real Estate                   6333 Long                     Suite 301           Shawnee           KS       66216    Customer Contract          Current
Parmenter Realty Partners             2711 N. Haskell Ave.          Suite 1400          Dallas            TX       75204    Customer Contract          Current
Parrish Company                       2720 N Hemlock Ct             Ste C               Broken Arrow      OK       74012    Customer Contract          Current
Pasadena Second Century Corporation   1149 Ellsworth Dr, Ste 548                        Pasadena          TX       77506    Customer Contract          Current
Pasco Economic Development Cou        16506 Point Village Drive                         Lutz              FL       33558    Customer Contract          Current
Patrick Realty                        16708 W 69th Circle                               Arvada            CO       80007    Customer Contract          Current
Paul Howe Realty Inc                  327 Skyland Dr                                    Bellbrook         OH       45305    Customer Contract          Current
                                                                                                                             Master Office Equipment
PCM Leasing Corp                      2727 Cherry Street                                Kansas City       MO           64108 Lease                     Various
Peachtree Brokerage Group             200 Westpark Drive            Suite 235           Peachtree City    GA       30269    Customer Contract          Current
Pearce Commercial Prop Co, LLC        4311 Belmont Ave                                  Dallas            TX       75204    Customer Contract          Current
Pedernales Electric Cooperativ        PO Box 1                                          Johnson City      TX       78636    Customer Contract          Current
Pegasus Realty Corp.                  3989 E. Arapahoe Rd.          Suite 300           Littleton         CO       80121    Customer Contract          Current
Pembrooke Real Estate                 13200 W 43rd Dr #207                              Golden            CO       80403    Customer Contract          Current
Peoples Bank                          837 N Wisconsin St                                Elkhorn           WI       53121    Customer Contract          Current



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          Contract Counterparty                       Address1                 Address2              City        State     Zip          Description        Status
Peoples Company                            12119 Stratford Drive           Suite B             Clive            IA       50325   Customer Contract     Current
Perfect Realty Partners                    13359 Grayhawk Blvd                                 Frisco           TX       75033   Customer Contract     Current
Perron & Campbell                          3707 N St Mary's St Ste 201                         San Antonio      TX       78212   Customer Contract     Current
Peter A Brown Commercial RE                3101 Ingersoll Avenue                               Des Moines       IA       50312   Customer Contract     Current
Peter Lu, PC                               619 Radford Drive                                   St. Louis        MO       63132   Customer Contract     Current
Peyco Southwest Realty, Inc                1703 N Peyco Dr                                     Arlington        TX       76001   Customer Contract     Current
Phil Day                                   954 Pearl Street                Suite A             Boulder          CO       80302   Customer Contract     Current
Philip M Barlow & Associates, LLC          343 N Gilbert Rd                                    Gilbert          AZ       85234   Customer Contract     Current
Phill Foster & Company                     8811 East Hampden Ave           Suite 104           Denver           CO       80231   Customer Contract     Current
Phill Foster & Company                     8811 E Hampden Ave              Suite 104           Denver           CO       80231   Customer Contract     Current
Phill Foster and Company                   57 Garfield St.                 Unit 101            Denver           CO       80206   Customer Contract     Current

Phoenix Commercial Properties-Rex Thomas   309 West Millbrook Road         Ste 191             Raleigh          NC       27624   Customer Contract     Current
Phoenix Real Estate                        PO Box 858                                          Platte City      MO       64079   Customer Contract     Current
Pillar Commercial                          7920 Belt Line Rd               Ste 900             Dallas           TX       75254   Customer Contract     Current
Pine Street/RPS                            2650-2 Rosselle St                                  Jacksonville     FL       32204   Customer Contract     Current
Pinnacle Bank Commercial                   14287 N 87th St., Ste 120                           Scottsdale       AZ       85260   Customer Contract     Current
Pinnacle Real Estate Advisors              1 Broadway Ste A300                                 Denver           CO       80203   Customer Contract     Current
Pinnacle Valuation                         3186 S Pierce St                                    Lakewood         CO       80227   Customer Contract     Current
Pinpoint Properties, LLC                   5310 NC Highway 55              Ste 101             Durham           NC       27713   Customer Contract     Current
Pippin Properties                          5653 N Pennsylvania Ave                             Oklahoma City    OK       73112   Customer Contract     Current
Pizzuti Companies                          2 Miranova, Suite 800                               Columbus         OH       43215   Customer Contract     Current
PJ Morgan Real Estate                      7801 Wakeley Plaza                                  Omaha            NE       68114   Customer Contract     Current
Place Value, LLC                           2733 N Southport #3                                 Chicago          IL       60614   Customer Contract     Current
                                                                                                                                                       Terminates
Plaza of the Americas                      600-700 N. Pearl Street                             Dallas           TX       75201   Real Property Lease   9/30/2020
PM Realty Group                            2828 Routh St                   Ste 700             Dallas           TX       75201   Customer Contract     Current
Point Real Estate - D Scardino             13400 Bishop's Lane             Ste 270             Brookfield       WI       53005   Customer Contract     Current
Pointer Appraisal Services LLC             3867 W. Market St, Suite 224                        Akron            OH       44333   Customer Contract     Current
Points West, Inc                           PO Box 99                                           Livermore        CO       80536   Customer Contract     Current
Polk County Assessors Office               111 Court Avenue                Room 195            Des Moines       IA       50309   Customer Contract     Current
Ponder Properties Commercial Real Estate   850 Corporate Parkway, Suite
L.L.C.                                     106                                                 Birmingham       AL       35242   Customer Contract     Current
Popular Community Bank- New York           85 Broad Street                 10th Floor          New York         NY       10004   Customer Contract     Current
Port San Antonio                           907 Billy Mitchell Blvd                             San Antonio      TX       78226   Customer Contract     Current
Portage Development Board                  217 S Chestnut St                                   Ravenna          OH       44266   Customer Contract     Current
Portfolio Luxery Real Estate               5409 Pinnacle Point Dr                              Rogers           AR       72758   Customer Contract     Current



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           Contract Counterparty              Address1                   Address2              City          State      Zip         Description       Status
Powell Property Group              PO Box 3184                                           Cumming            GA       30028    Customer Contract   Current
PREF, LLC                          1270 Westminster Walk                                 Atlanta            GA       30327    Customer Contract   Current
                                                                                         Palm Beach
Premier Brokers International      5 Via Sorrento                                        Gardens            FL       33418    Customer Contract   Current
Premier Real Estate Services       2540 73rd St                                          Urbandale          IA       50322    Customer Contract   Current
Premiere Properties                2211 Avenue Z                                         Brooklyn           NY       11235    Customer Contract   Current
Preston Development                100 Weston Estates Way                                Cary               NC       27513    Customer Contract   Current
Price Commercial Real Estate       7324 Gaston Ave                   Ste 124-379         Dallas             TX       75214    Customer Contract   Current
Price Edwards                      210 Park Ave                      Suite 1000          Oklahoma City      OK       73102    Customer Contract   Current
Price Family Properties            15 East 5th Street                Suite 1600          Tulsa              OK       74103    Customer Contract   Current
Pridemore Properties - Mike Hege   10224 Hickorywood Hill Ave        Ste 101B            Huntersville       NC       28078    Customer Contract   Current
Prime Real Estate Services         2919 W. 17th Ave.                                     Longmont           CO       80503    Customer Contract   Current
Primera Partners                   111 Soledad                       Suite 1250          San Antonio        TX       78205    Customer Contract   Current
Prism Commercial Real Estate LLC   1301 N Center Street              PO Box 729          Hickory            NC       28603    Customer Contract   Current

Professional Office Environments   222 Millwell Drive                                    Maryland Heights   MO       63043    Customer Contract   Current
Professional Valuation Corp        Po Box 1935                                           Fort Collins       CO       80521    Customer Contract   Current
                                                                                         Inver Grove
Progress Plus/River Heights Ch     5782 Blackshire Path                                  Heights            MN       55077    Customer Contract   Current
Prologis                           999 Shady Grove Rd                Suite 105           Memphis            TN       38120    Customer Contract   Current
                                                                                                                     79998-
ProLogis                           PO Box 982155                                         El Paso            TX       2155     Customer Contract   Current

Properties of Colorado             4285 McPherson Ave                                    Colorado Springs CO         80909    Customer Contract   Current
Properties South, LLC              7330 Westcott Terrace                                 Charlotte        NC         28270    Customer Contract   Current
Property Advisers Realty, Inc      6012 W Campus Circle Dr           Suite 210           Irving           TX         75063    Customer Contract   Current

Property Development Associate     6405 Branch Hill - Guinea Road                        Loveland           OH       45140    Customer Contract   Current
Property Technica, Inc             1719 9th Street                                       Greeley            CO       80631    Customer Contract   Current
Property Valuation Specialists     551 9th Street N                                      St Petersburg      FL       33701    Customer Contract   Current
Propp Realty Management, LLC       12600 W. Colfax Ave.              Suite B-130         Lakewood           CO       80215    Customer Contract   Current
Proterra Properties                8214 Westchester Dr               Suite 730           Dallas             TX       75225    Customer Contract   Current
Providence Commercial RE Serv      100 NE Loop 410 Ste 950                               San Antonio        TX       78216    Customer Contract   Current
Proxymity                          1557 Beaver Ave                                       Des Moines         IA       50310    Customer Contract   Current
Public Service Company of OK       212 E Sixth Street                                    Tulsa              OK       74119    Customer Contract   Current
Purser Industrial Properties LLC   14311 Reese Blvd                  Suite A2 #333       Huntersville       NC       28078    Customer Contract   Current
Putman Properties                  4065 Fulton Dr NW                                     Canton             OH       44718    Customer Contract   Current



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           Contract Counterparty                      Address1                  Address2              City          State     Zip         Description       Status
Q10 | Daisley Ruff Financl Cor             440 Regency Parkway              Suite 200           Omaha              NE       68114   Customer Contract   Current

Quantum Commercial Group                   101 N Cascade Ave                Ste 200             Colorado Springs   CO       80903   Customer Contract   Current
Quantum Investments & Mngmt                10015 Wisner Hwy.                                    Tipton             MI       49287   Customer Contract   Current
Queen Creek EDC                            22358 S Ellsworth Rd                                 Queen Creek        AZ       85142   Customer Contract   Current
Quick & Company Comm. Reality              606 W 12th St                                        Austin             TX       78701   Customer Contract   Current
Quinlevan Commercial RE, Inc               828 N Broadway                   Suite 210           Milwaukee          WI       53202   Customer Contract   Current
R B Murray Company                         2225 S Blackman Rd                                   Springfield        MO       65809   Customer Contract   Current
R L Worth and Assoc                        7373 Broadway Ste 201                                San Antonio        TX       78209   Customer Contract   Current
R&R Investments                            13416 Watertown Plank Road       Suite 255           Elm Grove          WI       53122   Customer Contract   Current
R.D. Scinto, Inc.                          1 Corporate Dr                                       Shelton            CT       06484   Customer Contract   Current
R.G. Real Estate Services                  36 Marionet Lane                                     Bella Vista        AR       72714   Customer Contract   Current
R.H. Johnson Company                       4520 Madison Ave                 Ste 300             Kansas City        MO       64111   Customer Contract   Current
Racine County Economic Development
Corporation                                2320 Renaissance Boulevard                           Sturtevant         WI       53177   Customer Contract   Current
Raintree Commercial, LLC                   3535 Wilcrest #1A                                    Houston            TX       77042   Customer Contract   Current
Rainwater Development                      310 Kelson Dr                                        Atlanta            GA       30327   Customer Contract   Current
Ralston Industries                         600 N Casady Ave.                                    Columbus           OH       43219   Customer Contract   Current
Rampart Realty, Inc.                       P.O. Box 977                                         Monument           CO       80132   Customer Contract   Current
Randall Smith & Associates                 5428 Lake Victoria Court                             Flower Mound       TX       75022   Customer Contract   Current
Rangeview Tech Center, LLC                 1117 W. Enclave Circle                               Louisville         CO       80027   Customer Contract   Current
Rasberry CRE - James Rasberry              163 N Evergreen                  Unit 1              Memphis            TN       38104   Customer Contract   Current
Ray Wilkerson Companies, Inc.              8015 Shoal Creek Blvd            Ste 207             Austin             TX       78757   Customer Contract   Current
RCF Properties                             5797 Far Hills Ave                                   Dayton             OH       45429   Customer Contract   Current
RDC Properties, LLC                        P.O. Box 370327                                      Denver             CO       80237   Customer Contract   Current
RE/MAX - Optima                            7250 Red Bug Lake Rd             Ste 1000            Oviedo             FL       32765   Customer Contract   Current
Re/Max Professionals-Commerc               15811 W Dodge Rd                 Ste 151             Omaha              NE       68118   Customer Contract   Current
Re/Max 100, Inc.                           710 Kipling St.                  Suite 110           Lakewood           CO       80215   Customer Contract   Current
RE/MAX Advantage Plus - Commercial
Division                                   601 S Federal Hwy                Ste 100             Boca Raton         FL       33432   Customer Contract   Current

RE/MAX Alliance - Commercial - Jim Neufeld 1275 58th Ave, Ste A                                 Greeley            CO       80634   Customer Contract   Current
Re/Max Alliance - Commercial Division - Ben
Emslie                                      6397 Tuxedo Park Rd                                 Timnath            CO       80647   Customer Contract   Current
Re/Max Alliance - Commercial Division - Bob
McConnell                                   750 W. Eisenhower Blvd. #100                        Loveland           CO       80537   Customer Contract   Current




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           Contract Counterparty                          Address1                   Address2               City       State     Zip         Description      Status
Re/Max Alliance - Commercial Division - Ron
Young, CCIM                                    5133 Eagle Lake Dr                                    Fort Collins     CO       80524   Customer Contract   Current
Re/Max Alliance Boulder                        1513 Terra Rosa Avenue                                Longmont         CO       80501   Customer Contract   Current
RE/MAX Alliance on Walnut                      1911 11th St. #107                                    Boulder          CO       80302   Customer Contract   Current
Re/Max Alliance, Inc.-Commercial Division -
Downtown Office                                1020 Braidwood Ct                                     Fort Collins     CO       80524   Customer Contract   Current
Re/Max Alliance-Fran Schneider                 1019 8th St                                           Golden           CO       80401   Customer Contract   Current
Re/Max Best Choice Commercial                  4568 Meramec Bottom Rd                                St Louis         MO       63128   Customer Contract   Current
RE/MAX -Capital City-Sally Decelis             2007 Sam Bass Road                # 200               Round Rock       TX       78681   Customer Contract   Current
Re/Max Commercial Alliance                     1873 S Bellaire St                Suite 700           Denver           CO       80222   Customer Contract   Current
Re/Max Commercial Alliance                     1873 S Bellaire St                Suite 700           Denver           CO       80222   Customer Contract   Current
Re/Max Commerical Alliance                     1873 S Bellaire St                Suite 700           Denver           CO       80222   Customer Contract   Current
Re/Max Excel - Joe Comparato                   1420 Wakarusa                     Suite 203           Lawrence         KS       66049   Customer Contract   Current
RE/MAX Leaders                                 6855 S Havana Street              Suite 150           Centennial       CO       80112   Customer Contract   Current
Re/Max of Boulder, Inc.                        2425 Canyon Blvd                  Suite 110           Boulder          CO       80302   Customer Contract   Current
Re/Max Southeast, Inc.                         7555 E. Hampden Avenue            Suite 103           Denver           CO       80231   Customer Contract   Current
Re/Max Southeast, Inc.                         7555 E Hamden Ave Suite 103                           Denver           CO       80231   Customer Contract   Current
RE/MAX Stateline                               11251 Nail Ave                                        Leawood          KS       66211   Customer Contract   Current
RE/MAX Town & Country - Gary Maggi             PO Box 1859                                           Berthoud         CO       80513   Customer Contract   Current
RE/MAX Town and Country                        3559 Woodshire Trl                                    Marietta         GA       30066   Customer Contract   Current
Re/Max Traditions Inc. Comm.                   2204 18th Ave                                         Longmont         CO       80501   Customer Contract   Current
Re/Max Traditions Inc. Commercial Division -
Kurt Finley                                    2204 18th Ave                                         Longmont         CO       80501   Customer Contract   Current
Re/Max Traditions, Inc                         2204 18th Avenue                                      Longmont         CO       80501   Customer Contract   Current

RE/Max United                                  W63 N647 Washington Avenue                            Cedarburg        WI       53012   Customer Contract   Current

READ, Inc - Schmook Appraisal Company          3555 NW 58th St Ste 300                               Oklahoma City    OK       73112   Customer Contract   Current
Real Estate Development Partners               711 Central Ave                                       Charlotte        NC       28204   Customer Contract   Current
Real Estate Economics | Metrostudy - San
Clemente                                       One Thomas Cir NW                 Ste 600             Washington       DC       20005   Customer Contract   Current
Real Estate Revolution                         Suite 207                                             Denver           CO       80202   Customer Contract   Current
Real Living Pittman Properties                 10224 Durant Road                 #107                Raleigh          NC       27614   Customer Contract   Current
Real Living Properties                         480 S Holly St                                        Denver           CO       80246   Customer Contract   Current

Real Property Assoc., Inc.                     8131 E Colorado Ave., Ste H-104                       Denver           CO       80231   Customer Contract   Current
Real Space/Air Space                           3990 East Side Avenue                                 Dallas           TX       75226   Customer Contract   Current



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          Contract Counterparty                       Address1                   Address2              City       State     Zip         Description       Status
Realnet Realty                             2511 Mt Royal Dr                                      Castle Rock     CO       80104   Customer Contract   Current
Realspace Commercial RE LLC                1250 Humboldt St.                 Suite 901           Denver          CO       80218   Customer Contract   Current

Realtec - Fort Collins                     400 E. Horsetooth Rd. Ste. 200                        Fort Collins    CO       80525   Customer Contract   Current
Realty Atlanta - Alpharetta                PO Box 3928                                           Alpharetta      GA       30023   Customer Contract   Current
Realty LLC                                 9085 E. Mineral Circle            Suite 270           Centennial      CO       80112   Customer Contract   Current
Realty Nova of Colorado                    6897 Paiute Ave                   #1                  Niwot           CO       80503   Customer Contract   Current
Realty One Colorado LLC                    316 Wright St, Ste 203                                Lakewood        CO       80228   Customer Contract   Current
Realty ONE Group - Nisley                  10750 W. Charleston Blvd          180                 Las Vegas       NV       89135   Customer Contract   Current
Realty Professionals                       26016 Detroit Road                Suite 1             Cleveland       OH       44145   Customer Contract   Current
Realty Service Group, LLC                  PO Box 151                                            Valley Park     MO       63088   Customer Contract   Current
Realty South Shelby Commercial             1916 Hwy 70                       Suite 3             Columbiana      AL       35051   Customer Contract   Current
RealtySouth - Shelby Commercial Office -
Carson                                     404 Old Stage Coach Rd                                Woodstock       AL       35188   Customer Contract   Current
Reata Real Estate Services, L.P. - David
Ballard                                    1100 NE Loop 410 Ste 400                              San Antonio     TX       78209   Customer Contract   Current
REATA Real Estate Services, LP             1100 N.E. Loop 410                Suite 400           San Antonio     TX       78209   Customer Contract   Current
RECO Enterprises                           4645 S 83rd E Ave                                     Tulsa           OK       74145   Customer Contract   Current
Rector Phillips Morse, Inc.                1501 W University Ave             Suite 800           Little Rock     AR       72207   Customer Contract   Current
Red Chair Realty Advisors LLC              4383 Tennyson Street              # 1B                Denver          CO       80212   Customer Contract   Current
                                                                             Suite 1212, Unit
Red Oak Realty                             500 W 7th St                      44                  Fort Worth      TX       76102   Customer Contract   Current
Red Realty, LLC - Smyrna                   1574 Medical Center Pwky          Suite 202           Murfreesboro    TN       37129   Customer Contract   Current
RedElk Land Co.                            2102 West Platt Street            Ste 107             Tampa           FL       33606   Customer Contract   Current
REDI Cincinnati                            3 E 4th St                        Ste 301             Cincinnati      OH       45202   Customer Contract   Current
Redstone Properties                        P.O. Box 116223                                       Carrollton      TX       75011   Customer Contract   Current
Reece & Nichols - Roberts                  2100 Hutton Rd                    Suite C             Kansas City     KS       66109   Customer Contract   Current
Reece Commercial                           1153 NE Rice Rd                                       Lee's Summit    MO       64086   Customer Contract   Current
Rees Commercial                            11719 Hinson Rd                   Suite 130           Little Rock     AR       72212   Customer Contract   Current

Regis Realty                               9799A Princeton Glendale Road                         Cincinnati      OH       45246   Customer Contract   Current
Rehkow Realty                              1777 Larimer St #810                                  Denver          CO       80202   Customer Contract   Current
Reisch Haley Properties                    PO BOX 118                                            Cattleville     MO       63368   Customer Contract   Current
Relyance Bank                              912 S Poplar St                                       Pine Bluff      AR       71601   Customer Contract   Current
ReMax Advantage-Patrick Lawson             410 Glenwood Ave.             Ste 130                 Raleigh         NC       27603   Customer Contract   Current
                                                                                                 Greenwood
ReMax Alliance                             5350 S Roslyn St                  #150                Village         CO       80111   Customer Contract   Current



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          Contract Counterparty                   Address1                  Address2              City           State     Zip         Description       Status
ReMax Commercial Opportunit            114 NW 5th St                    Suite 201           Ankeny              IA       50023   Customer Contract   Current
ReMax Traditions - Sue Haley           14491 WCR 5                                          Longmont            CO       80504   Customer Contract   Current
ReMax Traditions Comm Division         2204 18th Avenue                                     Longmont            CO       80501   Customer Contract   Current
ReMax Traditions Inc. Comm Div         2204 18th Ave                                        Longmont            CO       80501   Customer Contract   Current
Remington Realty                       PO Box 865112                                        Plano               TX       75086   Customer Contract   Current
Republic Commercial Real Estat         7209 Dixie Highway                                   Fairfield           OH       45014   Customer Contract   Current
Resource Development Investment
Properties, Inc                        719 Peachtree Road, Suite 220                        Orlando             FL       32804   Customer Contract   Current
RES-Real Estate Services               1833 W Hunt Street                                   McKinney            TX       75069   Customer Contract   Current
Retail Specialists, LLC                120 18th Street S                Suite 201           Birmingham          AL       35233   Customer Contract   Current
REV Birmingham                         505 20th Street North            Suite 150           Birmingham          AL       35203   Customer Contract   Current
Reva Holdings                          595 Madison Ave                                      New York            NY       10022   Customer Contract   Current
                                       10050 Innovation Drive, Suite
RG Properties                          100                                                  Dayton              OH       45342   Customer Contract   Current
Rich Young Company                     17480 N Dallas Pkwy                                  Dallas              TX       75287   Customer Contract   Current
Richard W. Hadley                      1350 Claire Lane                                     Northglenn          CO       80234   Customer Contract   Current
Richards Properties Inc.               4643 Curraghmore Road                                Charlotte           NC       28210   Customer Contract   Current
Richardson & Associates                932 Walnut St                                        Louisville          CO       80027   Customer Contract   Current

Richardson Properties, LLC             9800 Maumelle Boulevard                              North Little Rock   AR       72113   Customer Contract   Current
Richter Realty & Investment            18650 W. Corporate Dr            Suite 103           Brookfield          WI       53045   Customer Contract   Current
Ringsby Realty Corp.                   1336 Glenarm Pl                  Ste 200             Denver              CO       80204   Customer Contract   Current
RISE Commercial Real Estate Advisors   188 Inverness Drive W            Suite 150           Englewood           CO       80112   Customer Contract   Current
River City Development, LLC            427 S. Boston #915                                   Tulsa               OK       74103   Customer Contract   Current

Riverside Real Estate-P Kuyper         3902 Maizeland Road                                  Colorado Springs    CO       80909   Customer Contract   Current
RJ Real Estate, LLC                    1227 W Brooks Street                                 Norman              OK       73069   Customer Contract   Current
RJ Realty                              3730 Ottawa Lane                                     Cooper City         FL       33026   Customer Contract   Current
RJW Investments                        10900 Manchester Rd              Ste 210             St. Louis           MO       63122   Customer Contract   Current
RKS Group                              445 East FM 1382                 Ste 3-345           Cedar Hill          TX       75104   Customer Contract   Current
RL West                                401 Langtree Rd                                      Mooresville         NC       28117   Customer Contract   Current
                                       8902 N. Dale Mabry Highway
RMC - Jason Aprile                     #200                                                 Tampa               FL       33614   Customer Contract   Current
RMC Leason LLC                         5944 Luther Lane                 Ste 1000            Dallas              TX       75225   Customer Contract   Current
Roalson Interests, Inc.                18618 Tuscany Stone              Suite 200           San Antonio         TX       78258   Customer Contract   Current
Robert Alan Properties                 4240 Rea Road                    Suite 250           Charlotte           NC       28226   Customer Contract   Current
Robert H. Burns Company                40 Burton Hills Blvd             Suite 200           Nashville           TN       37215   Customer Contract   Current



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          Contract Counterparty                       Address1                 Address2               City       State     Zip         Description       Status
Robert Hara                                6300 S Syracuse Way             Suite 150           Englewood        CO       80111   Customer Contract   Current
Robert L. Naiman Company                   910 16th St.                    Suite 500           Denver           CO       80202   Customer Contract   Current
Robert Weiler Co. Realtors                 10 North High Street            Suite 401           Columbus         OH       43215   Customer Contract   Current
Roberts & Associates                       1300 W Poplar                                       Springfield      MO       65804   Customer Contract   Current
Robuck Homes, Inc                          6131 Falls of Neusse Road       Ste 200             Raleigh          NC       27609   Customer Contract   Current

Rochester Area Economic Development Inc.   220 South Broadway, Ste. 100                        Rochester        MN       55904   Customer Contract   Current
Rockwall Economic Development              2610 Observation Trail                              Rockwall         TX       75032   Customer Contract   Current
Rocky Mountain REALTORS                    1900 S Shields St                                   Fort Collins     CO       80526   Customer Contract   Current
ROI Realty Services, Inc.                  941 Chatham Lance               Suite 103           Columbus         OH       43221   Customer Contract   Current
Rollert Avery Companies, Inc.              17757 E. Crestridge Pl.                             Aurora           CO       80015   Customer Contract   Current
Ronald J. Garofalo                         6940 S. Steele St.                                  Littleton        CO       80122   Customer Contract   Current
Rooker                                     445 Bishop Street               Suite 200           Atlanta          GA       30318   Customer Contract   Current
Rose & Associates Southeast Inc.           PO Box 910                                          Davidson         NC       28036   Customer Contract   Current
                                           2101 Cedar Springs Rd Suite
Rosewood Property Company                  1600                                                Dallas           TX       75201   Customer Contract   Current
Roswell Inc.                               617 Atlanta Street              Ste 100             Roswell          GA       33075   Customer Contract   Current
Round Rock Chamber                         212 E Main Street                                   Round Rock       TX       78664   Customer Contract   Current
Rubenstein Real Estate Co., LC             6310 Lamar                      Suite 220           Overland Park    KS       66202   Customer Contract   Current
Ruedebusch Commercial Investmt             4605 Dovetail Dr                                    Madison          WI       53704   Customer Contract   Current
Rueters                                    2425 NE 126th Ave                                   Elkhart          IA       50073   Customer Contract   Current
Russ Russell Commercial RE                 923-C Merchants Walk                                Huntsville       AL       35801   Customer Contract   Current
Russ Wehner Realty Co                      280 S. Madison St.                                  Denver           CO       80209   Customer Contract   Current
Russell Gay & Associates                   9208 Falls of Neuse Rd          Suite 111           Raleigh          NC       27615   Customer Contract   Current
Russell Maas Inc                           1031 West Rahn Road                                 Dayton           OH       45429   Customer Contract   Current
Rutherford County Assessor                 319 N Maple St                  Suite 200           Murfreesboro     TN       37130   Customer Contract   Current
Rutherford County Chamber                  3050 Medical Center Prkwy                           Murfreesboro     TN       37129   Customer Contract   Current
Rutledge Commercial Real Estate            18024 Upper Bay Rd                                  Houston          TX       77058   Customer Contract   Current
Rybo Properties LLC                        7225 Manchester Rd              Floor 2             St Louis         MO       63143   Customer Contract   Current

S & K Worldwide Realty                     15188 Park of Commerce Blvd     Suite 6             Juniper          FL       33478   Customer Contract   Current
Sabal Properties, LLC                      514 Providence Rd                                   Charlotte        NC       28207   Customer Contract   Current
Salient Realty Group                       101 Mitchell St                                     Kirkwood         MO       63122   Customer Contract   Current
San Antonio Economic Dev. Fnd.             602 E Commerce                                      San Antonioi     TX       78205   Customer Contract   Current

San Gabriel Valley Economic Partnership    4900 Rivergrade Rd Ste B130                         Irwindale        CA       91706   Customer Contract   Current
Sansone Group                              120 S Central Ave.              Suite 500           St. Louis        MO       63105   Customer Contract   Current



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          Contract Counterparty                    Address1                  Address2              City        State      Zip         Description      Status

Santa Fe Fidelity                       11931 Wickchester Ln, Ste 400                        Houston          TX       77043    Customer Contract   Current
SARA Investment LLC                     1955 Atwood Avenue                                   Madison          WI       53704    Customer Contract   Current
Sarasota County Property Appraiser      2001 Adams Ln                                        Sarasota         FL       34237    Customer Contract   Current
Sarbaugh Realty Group                   2738 Pine St                                         Boulder          CO       80302    Customer Contract   Current
Saunders Commercial                     1330 Baur Blvd                                       St. Louis        MO       63132    Customer Contract   Current
Savills Studley Inc.                    227 W. Trade Street              Ste 305             Charlotte        NC       28202    Customer Contract   Current
     Scheduke G - Executory Contracts
Schertz Economic Development            1400 Schertz Parkway, Bldg 4                         Schertz          TX       78154    Customer Contract   Current
Schlafly Corporation                    2 Meramec Ave                    Fl 3                St Louis         MO       63105    Customer Contract   Current
Schlitz Park                            1555 N RiverCenter Dr            Suite 100           Milwaukee        WI       53212    Customer Contract   Current
Schumacher Dugan Construction Inc       6355 Centre Park Dr                                  West Chester     OH       45069    Customer Contract   Current
Schuman Companies, Inc                  736 Whalers Way                  Bldg G #200         Fort Collins     CO       80525    Customer Contract   Current
Scott A Johnson PC                      9759 E Charter Oak Road                              Scottsdale       AZ       85260    Customer Contract   Current
Scott Cofer                             242 Oakridge Ln                                      Lake St Louis    MO       63367    Customer Contract   Current
Scott County Assessors                  200 4th Ave W                                        Shakopee         MN       55379    Customer Contract   Current
Scott Properties                        1065 Executive Parkway           Ste 300             St Louis         MO       63141    Customer Contract   Current
Scott Spencer, MAI                      439 Spring St.                                       Davidson         NC       28036    Customer Contract   Current
Scottsdale Properties                   504 Marine St.                                       Boulder          CO       80302    Customer Contract   Current
Seagoville EDC                          105 N. Kaufman Street                                Seagoville       TX       75159    Customer Contract   Current
Security Bank of Kansas City            701 Minnesota Ave                                    Kansas City      KS       66101    Customer Contract   Current
Segelke Real Estate, LLC                5570 E Bates                                         Denver           CO       80222    Customer Contract   Current
Selwyn Property Group, Inc.             4310 Park Road, Suite 101                            Charlotte        NC       28209    Customer Contract   Current
Shader Realty, Inc                      201 Vulcan Rd                                        Birmingham       AL       35209    Customer Contract   Current
Shai Commercial Real Estate             4009 Columbus Rd                 Suite 333           Granville        OH       43023    Customer Contract   Current
Shannon Waltchack, LLC                  1616 2nd Ave S                   Suite 100           Birmingham       AL       35233    Customer Contract   Current
Shawnee EDC                             15100 W. 67th Street                                 Shawnee          KS       66217    Customer Contract   Current
                                                                                                                       53081-
Sheboygan County EDC                    508 New York Ave.                Room 209            Sheboygan        WI       4665     Customer Contract   Current
Sherwood Development Group              1151 Biscayne Dr                                     Concord          NC       28027    Customer Contract   Current
Shockcor, Inc.                          P.O. Box 389                                         Denver           CO       80201    Customer Contract   Current
Shockley Commercial                     501 1st Capitol Dr               Suite 5             St.Charles       MO       63301    Customer Contract   Current
Sibcy Cline - Comisar & Meyer           8040 Montgomery Rd                                   Cincinnati       OH       45236    Customer Contract   Current
Sierra Real Estate Services             1244 Mallard Ct                                      Boulder          CO       80303    Customer Contract   Current
Sight Commercial Realty                 8100 High Dr                                         Leawood          KS       66206    Customer Contract   Current
Signature Bank of Arkansas              3878 N Crossover Rd              Suite 20            Fayetteville     AR       72703    Customer Contract   Current
Silk Road Properties - Houston          13630 Beamer Rd                  Ste 107             Houston          TX       77089    Customer Contract   Current


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          Contract Counterparty                          Address1                   Address2              City       State     Zip         Description      Status

Silver Investments Limited                    1805 Sardis Road North, Ste 120                       Charlotte       NC       28270   Customer Contract   Current
                                                                                                    Greenwood
Simha Investment Corp.                        5690 DTC Blvd                     Suite 285 W         Village         CO       80111   Customer Contract   Current
Simpson Commercial Real Estate                1401- B Sunset Dr                                     Greensboro      NC       27408   Customer Contract   Current
Sineath Real Estate Solutions                 9650 Strickland Rd                Ste 103-145         Raleigh         NC       27615   Customer Contract   Current

Sitzman-Mitchell Commercial Brokerage, Inc.   3500 JFK Parkway Ste 220                              Fort Collins    CO       80525   Customer Contract   Current
SK Goodman Real Estate Inc.                   13400 Broadwell Court                                 Huntersville    NC       28078   Customer Contract   Current
Slosburg Company                              10040 Regency Circle              Suite 200           Omaha           NE       68114   Customer Contract   Current
Sloss Real Estate Group                       1130 S 22nd St                                        Birmingham      AL       35205   Customer Contract   Current
Smith Commercial Valuations                   401 1st Ave South                                     Tierra Verde    FL       33715   Customer Contract   Current
Smith Jordan Realty                           19015 River Falls Dr.                                 Davidson        NC       28036   Customer Contract   Current
Snapfinger Woods LLC                          4151 Ashford Dunwoody Rd          STE 165             Atlanta         GA       30319   Customer Contract   Current
Sold By George, Inc                           5228 Hidden Brooklane                                 League City     TX       77573   Customer Contract   Current
Solender /Hall, Inc.                          PO Box 670009                                         Dallas          TX       75229   Customer Contract   Current
Somerstone LLC                                19035 W Capitol Driver            Suite 108           Brookfield      WI       53045   Customer Contract   Current
Sonenreich                                    2 Adams St.                       Suite 601           Denver          CO       80206   Customer Contract   Current
Sorensen & Black                              5812 N 12th St                    Suite 28            Phoenix         AZ       85014   Customer Contract   Current
South Central Properties, LLC - Thomas
Propst                                        845 Church St N                   Ste 203             Concord         NC       28025   Customer Contract   Current
South Texas Realty Services                   7718 Broadway                                         San Antonio     TX       78209   Customer Contract   Current
Southeast Commercial                          714 29th Street South                                 Birmingham      AL       35233   Customer Contract   Current
Southlake EDC                                 1400 Main St.                     Suite 300           Southlake       TX       76092   Customer Contract   Current
Southland PropTax Consultant                  421 W 3rd St                      Ste 920             Fort Worth      TX       76102   Customer Contract   Current
Southpace Properties                          300 Richard Arrington Jr Blvd     Suite 900           Birmingham      AL       35203   Customer Contract   Current
Southpointe Realty Inc.                       PO Box 199                                            Huntersville    NC       28070   Customer Contract   Current
SouthStone Properties                         PO Box 78738                                          Charlotte       NC       28271   Customer Contract   Current
Space Commercial Real Estate                  4155 E Jewell Ave                 Suite 707           Denver          CO       80222   Customer Contract   Current
Sparig and Company                            4531 E Batavia Place                                  Denver          CO       80220   Customer Contract   Current
Spectrum Commercial RE serv.                  1873 S. Bellaire St               STE 300             Denver          CO       80222   Customer Contract   Current
Sperry Commercial                             18881 Von Karman Ave              Ste 800             Irvine          CA       92867   Customer Contract   Current
Sperry Properties Inc.                        2871 N. Speer Blvd.                                   Denver          CO       80211   Customer Contract   Current
Sperry Van Ness - Huntsville                  2225 Drake Ave                    Ste 2               Huntsville      AL       35805   Customer Contract   Current
Sperry Van Ness - Lake Mary                   174 W Comstock Ave                                    Winter Park     FL       32789   Customer Contract   Current
Sperry Van Ness Ark Best Realy                724 Garland                                           Little Rock     AR       72201   Customer Contract   Current




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           Contract Counterparty                         Address1                  Address2              City         State     Zip         Description      Status
Sperry Van Ness Commercial Real Estate
Advisors - Cornelius                          19901 W Catawba Ave              Ste 102             Charlotte         NC       28031   Customer Contract   Current
Springfield Chamber of Commerc                202 S John Q Hammons Pkwy                            Springfield       MO       65806   Customer Contract   Current
St Elizabeth Healthcare                       One Medical Village Drive                            Edgewood          KY       41017   Customer Contract   Current
St. John Properties, Inc.                     420 Corporate Circle             Suite A             Golden            CO       80401   Customer Contract   Current
St. Joseph Area Chamber of Com                3003 Frederick Ave                                   St. Joseph        MO       64506   Customer Contract   Current
Stabler Commercial Real Estate                PO Box 14736                                         Atlanta           GA       30324   Customer Contract   Current
Stanbrough Realty Company                     10888 Hickman Rd.                Suite 3B            Clive             IA       50325   Customer Contract   Current
Standout Properties                           8502-203 Six Forks Road                              Raleigh           NC       27615   Customer Contract   Current
Stanly County Economic Development
Commission                                    1000 N First St                  Ste 11              Albemarle         NC       28001   Customer Contract   Current
Star Commercial Realty                        2227 Michigan Ave                                    Arlington         TX       76013   Customer Contract   Current

Stark Development Board, Inc.                 116 Cleveland Ave NW, Suite 600                      Canton            OH       44072   Customer Contract   Current
State of Minnesota, Dept Admin                50 Sherburne Ave                Rm 309               St Paul           MN       55155   Customer Contract   Current
State of Wisconsin - Division of Facilities
Management                                    101 East Wilson, 7th Floor                           Madison           WI       53707   Customer Contract   Current
State Street Capital Realty                   191 West Nationwide Blvd         Suite 200           Columbus          OH       43215   Customer Contract   Current
Staufer Team                                  833 LaFarge Ave                                      Louisville        CO       80027   Customer Contract   Current
STC Consolidated Operations, LLC              101 Catalog Dr                                       Elizabethtown     KY       42701   Customer Contract   Current
                                              14300 N Northsight Blvd., Ste
Steele & Associates                           212                                                  Scottsdale        AZ       85295   Customer Contract   Current
Steelwood, Inc.                               2907 Providence Road             Suite 304           Charlotte         NC       28211   Customer Contract   Current
Stephen Frank Associates, LLC                 9 East brentmoor Park                                St Louis          MO       63105   Customer Contract   Current
Stephens Appraisal Services, LLC              203 East Side Square #2                              Huntsville        AL       35801   Customer Contract   Current
STEPS Real Estate LLC                         1500 28th Street                                     Boulder           CO       80303   Customer Contract   Current
Sterling Fox Group LLC                        1636 Windy Ridge Road                                Charlotte         NC       28270   Customer Contract   Current
Sterling Real Estate Group                    9164 W Warren Dr                                     Lakewood          CO       80227   Customer Contract   Current
Stevens Group                                 6005 Nolensville Pike            Suite 201           Nashville         TN       37211   Customer Contract   Current

Stewart & Associates Inc.                     4800 Mills Civic Parkway         #205                West Des Moines   IA       50265   Customer Contract   Current
Stout Risius Ross, Inc                        4000 Town Center, 20th Floor                         Southfield        MI       48075   Customer Contract   Current
Stowers & Company                             257 Lawrence St NE               Unit 5236           Marietta          GA       30061   Customer Contract   Current
Streetwise Realty                             155 E Boardwalk Dr Ste 450                           Fort Collins      CO       80525   Customer Contract   Current
Structure Commercial                          12740 Hillcrest Road             Suite 205           Dallas            TX       75230   Customer Contract   Current
Sue Clark Real Estate Services                1820 NW 118th St.                Ste 110             Des Moines        IA       50325   Customer Contract   Current
Summit City Realty, LLC                       6737 W. Washington St            Suite 2220          West Allis        WI       53214   Customer Contract   Current



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          Contract Counterparty                     Address1                  Address2                City      State      Zip         Description      Status
                                         263 Second Ave Suite 106B, PO
Summit Commercial Brokers                Box 9                                                Niwot            CO       80544    Customer Contract   Current
Summit Commercial Brokers                263 2nd Ave                                          Niwot            CO       80544    Customer Contract   Current
Sun Control of Minnesota                 2425 Rice St                                         St Paul          MN       55113    Customer Contract   Current
Sundance Square Management               201 Main St                      Suite 700           Fort Worth       TX       76102    Customer Contract   Current
Sunizo, LLC                              12481 Brantley Commons Ct                            Fort Myers       FL       33907    Customer Contract   Current
Sunset Bank                              521 W. Sunset Drive                                  Waukesha         WI       53189    Customer Contract   Current
Superior Building Group                  2350 South 7th ST STE 200                            St Louis         MO       63104    Customer Contract   Current
Suretly Realty Inc                       13651 Stuart St                                      Broomfield       CO       80023    Customer Contract   Current
Surety Bank - Lake Mary                  990 Woodland Blvd. Ste 1         PO Box 819          Deland           FL       32720    Customer Contract   Current
Suwanee Economic Development             330 Town Center Ave                                  Suwanee          GA       30024    Customer Contract   Current
SVN - Tar Heel Commercial Real           7424 Chapel Hill Rd                                  Raleigh          NC       27607    Customer Contract   Current
SVN / The Genesis Group                  718 Thompson Ln, Ste 108                             Nashville        TN       37204    Customer Contract   Current
SVN Investec - Shane Giles               1616 Westgate Cir                                    Brentwood        TN       37027    Customer Contract   Current
SVN Summit Commercial Real Estate Group,
LLC                                      3045 Smith Road, Suite 200                           Akron            OH       44333    Customer Contract   Current

SVN/Denver Commercial, LLC - Corey Murray 2032 Lowe St                                        Fort Collins     CO       80525    Customer Contract   Current
                                                                                                                        80201-
Swanson Properties                        P.O. Box 720                                        Denver           CO       0720     Customer Contract   Current
Swearingen Realty Group, LLC              5950 Berkshire Lane             Suite 500           Dallas           TX       75225    Customer Contract   Current
Syndicate Real Estate Inc.                613 Euclid Street                                   Monroe           NC       28110    Customer Contract   Current
T Stacy & Associates                      823 Congress                    Suite 1111          Austin           TX       78701    Customer Contract   Current
T.L. Gowin & Company, Inc.                90 Kelli Clark Ct SE            Ste A               Cartersville     GA       30121    Customer Contract   Current
TAO Interests, Inc.                       770 S Post Oak Lane             Ste 540             Houston          TX       77056    Customer Contract   Current
Tarantino Properties                      12770 Cimarron Path             Ste 122             San Antonio      TX       78249    Customer Contract   Current
Target Management & Leasing               110 Boggs Lane                  Suite 165           Cincinnati       OH       45246    Customer Contract   Current
Taylor & Mathis                           400 Interstate North Pkwy       Suite 850           Atlanta          GA       30339    Customer Contract   Current
Taylor Real Estate Group                  1901 Brandon Cir                                    Charlotte        NC       28211    Customer Contract   Current
TCRG Properties                           5201 Camp Bowie Blvd., #200                         Fort Worth       TX       76107    Customer Contract   Current
Team Volusia Economic Development
Corporation                               One Daytona Blvd                Ste 240             Daytona Beach    FL       32114    Customer Contract   Current
Tebo Development                          P.O. Box T                                          Boulder          CO       80306    Customer Contract   Current
Ted Blank and Associates                  14 Inverness Dr East            G100                Englewood        CO       80112    Customer Contract   Current
Telhio Credit Union                       96 N 4th St                                         Columbus         OH       43215    Customer Contract   Current
Temple Economic Development Corporation -
Temple EDC                                1 South 1st Street                                  Temple           TX       76501    Customer Contract   Current



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           Contract Counterparty                       Address1                 Address2              City           State     Zip         Description      Status

Tenant Real Estate Advisors                 4445 Northpark Dr               #208                Colorado Springs    CO       80907   Customer Contract   Current
TenantWisdom LLC                            3801 Arapahoe Ave               #303                Boulder             CO       80303   Customer Contract   Current
Terra Firma Management, LTD                 1460 S McCall Rd Ste 2G                             Englewood           FL       34223   Customer Contract   Current
Terrus Real Estate Group                    100 Court Avenue                Suite 400           Des Moines          IA       50309   Customer Contract   Current
Terry Moore & Associates, Inc               320 Executive Court                                 Little Rock         AR       72205   Customer Contract   Current
Testa Realty                                2335 2nd St                                         Cuyahoga Falls      OH       44221   Customer Contract   Current
Texas Commercial Real Estate Services       11020 Saathoff Dr                                   Cypress             TX       77429   Customer Contract   Current

Texas Department of Transportation - Austin 125 E 11th St.                                      Austin              TX       78701   Customer Contract   Current
The Appraisal Resource Group, Inc.          225 E Mason St., Ste 402                            Milwaukee           WI       53202   Customer Contract   Current

The Ashley Company - Roger Cole             2851 Lakewood Village Dr                            North Little Rock   AR       72116   Customer Contract   Current
The Augustin Companies, Inc.                3700 W. 104th Ave.                                  Westminster         CO       80031   Customer Contract   Current
The Avocat Company                          511 W. Bay Street               Ste 320             Tampa               FL       33606   Customer Contract   Current
The Berry Companies                         11111 Carmel Commons Blvd       Ste 207             Charlotte           NC       28226   Customer Contract   Current
The Boerke Company                          731 N Jackson Street            Suite 700           Milwaukee           WI       53202   Customer Contract   Current
The Brennan Company                         17330 Preston Road              Suite 200-D         Dallas              TX       75252   Customer Contract   Current
The Brennan Group                           12221 Big Bend Blvd                                 St Louis            MO       63122   Customer Contract   Current

The Business Bank                           8000 Maryland Ave 14th Floor                        St Louis            MO       63105   Customer Contract   Current
The C Chase Company                         5353 Gamble Drive, Suite 108                        Minneapolis         MN       55416   Customer Contract   Current
The Carey Group R.E. Svcs, LLC              N8428 Marty Road                                    New Glarus          WI       53574   Customer Contract   Current
The City of Oklahoma City                   420 W Main, Suite 500                               Oklahoma City       OK       73102   Customer Contract   Current
The Colorado Group, Inc.                    3434 47th St STE 220                                Boulder             CO       80301   Customer Contract   Current
The D.E. Chase Group, Inc.                  200 Violet St                   Ste 100             Golden              CO       80401   Customer Contract   Current
The Gary Myers Company                      4711 Poplar Ave.                Suite 200           Memphis             TN       38117   Customer Contract   Current
The Gialamas Company Inc                    8040 Excelsior Drive            Suite 200           Madison             WI       53717   Customer Contract   Current
The Grant Group                             113 S. Broadway                                     Edmond              OK       73034   Customer Contract   Current
The Group Inc. - Chris Hau                  123 East Mountain Avenue                            Fort Collins        CO       80524   Customer Contract   Current
The Group Inc. - Christopher Reilly         121 E Mountain Ave                                  Fort Collins        CO       80524   Customer Contract   Current
The Group Inc. - Craig Hau                  121 East Mountain Avenue                            Fort Collins        CO       80524   Customer Contract   Current
The Group Inc. - Jason Billings             121 East Mountain Ave                               Fort Collins        CO       80524   Customer Contract   Current
The Group Inc. - John Peden                 121 East Mountain Avenue                            Fort Collins        CO       80524   Customer Contract   Current
The Group Inc. - Kevin Anstett              121 East Mountain Ave                               Fort Collins        CO       80524   Customer Contract   Current
The Group Inc. - Rhett Strom                121 East Mountain Avenue                            Fort Collins        CO       80524   Customer Contract   Current
The Group, Inc.- Vern Milton                3285 Gunnison Dr                                    Fort Collins        CO       80526   Customer Contract   Current



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           Contract Counterparty                         Address1                    Address2                 City     State      Zip         Description       Status
The Iris Realty Group, Inc. - David Heller   820 S Monaco Pkwy Ste 278                               Denver           CO       80224    Customer Contract   Current
                                                                                                                               75034-
The Jackson Company                          8216 Tanglerose Drive                                   Frisco           TX       6262     Customer Contract   Current
The Keith Corporation                        4500 Cameron Valley Pkwy          Suite 400             Charlotte        NC       28211    Customer Contract   Current

The Knox Group, Inc.                         16740 Birkdale Commons Pkwy       Suite 202             Huntersville     NC       28078    Customer Contract   Current
The Krauss Organization - Tampa              711 North Sherrill Street                               Tampa            FL       33609    Customer Contract   Current
The Lam Group                                2060 N Collins Blvd               Ste 110               Richardson       TX       75080    Customer Contract   Current
The Liberty Solution LLC                     6130 Harris Technology Blvd.                            Charlotte        NC       28269    Customer Contract   Current
The Ligon Company                            P.O. Box 4815                                           Rock Hill        SC       29732    Customer Contract   Current
The Margolis Team, Inc.                      410 Strong St                                           Brighton         CO       80601    Customer Contract   Current
The Memory Company                           3582 Brookhill Cir                                      Marietta         GA       30062    Customer Contract   Current
The Moser Group Inc                          231-B8 Post Office Drive                                Indian Trail     NC       28079    Customer Contract   Current
The Muntzing - Sattele Company               121 Perimeter Center West         310                   Atlanta          GA       30346    Customer Contract   Current
The Nova Group                               7300 Blanco Rd, Ste. 603                                San Antonio      TX       78216    Customer Contract   Current
The Paske Group                              100 Wilburn Road                  Suite 209             Sun Prairie      WI       53590    Customer Contract   Current
The Pauls Corporation                        270 St. Paul St.                  Suite 300             Denver           CO       80206    Customer Contract   Current
                                                                                                                               30071-
The Quin Group                               5855 Jimmy Carter Blvd            Suite 210             Norcross         GA       2929     Customer Contract   Current
The Ruthvens - Lakeland                      41 Lake Morton Drive                                    Lakeland         FL       33801    Customer Contract   Current
The Sanders Trust                            1000 Urban Center, Ste 675                              Birmingham       AL       35242    Customer Contract   Current
The Sherman Agency Inc.                      910 W 8th Ave                                           Denver           CO       80204    Customer Contract   Current
The Siedenburg Group                         1350 NW 138th Street              Suite 450             Clive            IA       50325    Customer Contract   Current
                                                                                                     Peachtree
The Simpson Company of Georgia               40 Technology Pkwy South          Suite 202             Corners          GA       30092    Customer Contract   Current
The Simpson Organization Inc.                112 S Tryon St                    Suite 1700            Charlotte        NC       28284    Customer Contract   Current

The Spectrum Companies                       150 Fayetteville Street, Suite 590                      Raleigh          NC       27614    Customer Contract   Current
The Spectrum Companies                       150 Fayetteville St                Ste 590              Raleigh          NC       27601    Customer Contract   Current
The Summit Group Inc                         574 Santa Fe Dr                    Suite 300            Denver           CO       80204    Customer Contract   Current
The Talarico Company, LLC                    1001 W. 120th Ave                  Suite 215            Westminister     CO       80234    Customer Contract   Current
The Turner Group                             410 Lakestone Dr                                        Raleigh          NC       27609    Customer Contract   Current
The Tuttle Company                           3014 Southcross Blvd                                    Rock Hill        SC       29730    Customer Contract   Current

The Union Bank Company                       105 Progressive Drive                                   Columbus Grove OH         45830    Customer Contract   Current
                                             6012 W. Campus Circle Dr., Ste
The Vertex Companies, Inc.                   #220                                                    Irving           TX       75063    Customer Contract   Current



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           Contract Counterparty                         Address1                   Address2              City         State     Zip         Description       Status
The Village of Waunakee                      100 E. Main Street                 P.O. Box 41         Waunakee          WI       53597   Customer Contract   Current
The Weitzman Group                           3120 Maple Avenue                  Suite 350           Dallas            TX       75201   Customer Contract   Current

The Whitfield Company                        1101 S. Capital of Texas Highway   Suite A101          Austin            TX       78746   Customer Contract   Current
The Wittmann Companies                       303 W. Spring Street               Suite 550           Columbus          OH       43215   Customer Contract   Current
The Zall Company                             4725 S. Monaco St.                 Suite 330           Denver            CO       80237   Customer Contract   Current
The Zepp Company                             5401 Settlement Way                                    McKinney          TX       75070   Customer Contract   Current
Third Man Development                        6926 Waterman Ave                                      St Louis          MO       63130   Customer Contract   Current
Thomas Lay Realtors                          5500 NW Expressway                 Suite C             Oklahoma City     OK       73132   Customer Contract   Current
Thomas Realty Group                          300 South Second Street                                St Charles        MO       63301   Customer Contract   Current
Thompson Realty Capital, LLC                 1600 N. Collins Blvd               Suite 1500          Richardson        TX       75080   Customer Contract   Current
Thomson Realty of WI Inc.                    N28 W23000 Roundy Drive            #204                Pewaukee          WI       53072   Customer Contract   Current
Ticon Properties                             5836 Fayetteville Rd               Suite 201           Durham            NC       27713   Customer Contract   Current

                                                                                Barton Oaks Plaza
TIG Real Estate Services                     901 S Mopac                        IV, Suite 28      Austin              TX       78746   Customer Contract   Current
Titan Real Estate Service LLC                1200 East Morehead St.                               Charlotte           NC       28204   Customer Contract   Current
TMV Partners, LLC / Vandiver Property
Group, LLC                                   1960 Overhill Rd                                       Charlotte         NC       28211   Customer Contract   Current
Todd Tilghman                                6855 S Havana St                   Suite 150           Centennial        CO       80112   Customer Contract   Current
Top Gun Sales Performance                    5155 Financial Way                                     Mason             OH       45040   Customer Contract   Current
Tortorigi Properties Inc.                    122 N. Clarkville Road             Suite 201           Trussville        AL       35173   Customer Contract   Current
Total Concepts RE Services LLC               3620 S Galapago                                        Englewood         CO       80110   Customer Contract   Current
Total Home Analysis                          2012 E Phelps Ste B                                    Springfield       MO       65802   Customer Contract   Current
Total Real Estate Consultants, Inc           11760 W Sample Rd                  Ste 104             Coral Springs     FL       33065   Customer Contract   Current
Total Real Estate Consultants, Inc - Edith
Gomez                                        11760 W Sample Rd., Ste 104                            Coral Springs     FL       33065   Customer Contract   Current
Town of Berthoud                             807 Mountain Ave                                       Berthoud          CO       80513   Customer Contract   Current
Town of Chapel Hill                          405 Martin Luther King Jr. Blv                         Chapel Hill       NC       27514   Customer Contract   Current
Town of Collierville                         500 Poplar View Parkway                                Collierville      TN       38017   Customer Contract   Current

Town of Fountain Hills                       16705 E Avenue of the Fountains                        Fountain Hills    AZ       85268   Customer Contract   Current
Town of Fuquay-Varina Economic               401 Old Honeycutt Road                                 Fuquay-Varina     NC       27526   Customer Contract   Current
Town of Garner                               900 7th Ave.                                           Garner            NC       27529   Customer Contract   Current
Town of Harrisburg                           4100 Main Street, Ste 101                              Harrisburg        NC       28075   Customer Contract   Current
Town of Rolesville                           PO Box 250                                             Rolesville        NC       27571   Customer Contract   Current
Town of Sunnyvale                            127 N Collins Rd                                       Sunnvale          TX       75182   Customer Contract   Current



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           Contract Counterparty                   Address1                  Address2                 City     State      Zip         Description       Status
Town of Wake Forest                     301 S Brooks St                                      Wake Forest      NC       27587    Customer Contract   Current
Town of Windsor                         301 Walnut St                                        Windsor          CO       80550    Customer Contract   Current
Tradd Commercial                        6201 Fairview Road               Suite 200           Charlotte        NC       28210    Customer Contract   Current
Tradd Commercial Real Estate            P.O. Box 472665                                      Charlotte        NC       28247    Customer Contract   Current

Trajan Investments                      350 S. Miami Avenue Suite 3112                       Miami            FL       33130    Customer Contract   Current
Transwestern - Milwaukee                100 E Wisconsin Ave #1630                            Milwaukee        WI       53202    Customer Contract   Current
Transwestern Comm. Services             4643 Ulster St.                  Suite 300           Denver           CO       80237    Customer Contract   Current
Travis & Associates                     3334 Peachtree Road              Suite 805           Atlanta          GA       30326    Customer Contract   Current
Treasured Real Estate                   2690 E Milky Way                                     Phoenix          AZ       85295    Customer Contract   Current
Trevey Land and Commercial Prp          4013 N. Bayou Hills Ln                               Parker           CO       80134    Customer Contract   Current
Trezevant Realty Corporation            9062 Valley Crest Lane                               Germantown       TN       38138    Customer Contract   Current
Tri Properties Inc                      4309 Emporer Blvd                Ste 110             Durham           NC       27703    Customer Contract   Current
Triad Bank                              10375 Clayton Rd                                     St Louis         MO       63131    Customer Contract   Current
Triad Properties Co - J Kaplan          100 Church St. SW                #100                Huntsville       AL       35802    Customer Contract   Current
Tri-County EDC                          300 Buttermilk Pike Ste 332                          Covington        KY       41017    Customer Contract   Current
Trident Group                           17998 Chesterfield Airport       200                 Chesterfield     MO       63005    Customer Contract   Current
Tri-Land Properties - Paul Sevenichl    1 East Oak Hill Dr               Ste 302             Westmont         IL       60559    Customer Contract   Current
Trinity Corporate RE Advisors           2488 E 81st Street               Suite 188           Tulsa            OK       74137    Customer Contract   Current
Trinity Interests                       12740 Hillcrest Road             Ste 101             Dallas           TX       75230    Customer Contract   Current
                                        8318 Pineville-Matthews Rd,
TRIPP Commercial LLC                    Suite 291                                            Charlotte        NC       28226    Customer Contract   Current
Tri-State Realty                        P.O. Box 502                                         Gurnee           IL       60031    Customer Contract   Current
Trolley Realty                          12081 W Alameda Pwky #450                            Lakewood         CO       80228    Customer Contract   Current
True Title Company                      21 North Meramec                                     Clayton          MO       63105    Customer Contract   Current
Tulsa Airports Improvements             PO Box 581838                                        Tulsa            OK       74158    Customer Contract   Current
Tulsa Regional Chamber                  One West Third Street            #100                Tulsa            OK       74103    Customer Contract   Current
Turner & Associates Realty Inc          P.O. Box 150326                                      Nashville        TN       37215    Customer Contract   Current
TW Development, LLC                     5533 Fair Lane                                       Cincinnati       OH       45227    Customer Contract   Current
Twenty First Properties Inc             2121 S Columbia Ave              Suite 650           Tulsa            OK       74114    Customer Contract   Current
TXRE Properties, LLC                    PO Box 631191                                        Irving           TX       75063    Customer Contract   Current

Ty Commercial Group - Conrad Petersen   5930 LBJ Fwy                     Ste 400             Dallas           TX       75240    Customer Contract   Current
                                                                                                                       80632-
Tyler & Tyler Inc.                      P.O. Box 535                                         Greeley          CO       0918     Customer Contract   Current
Tyler Technologies                      736 Whitlock Ave, Suite 200                          Marietta         GA       30064    Customer Contract   Current
Ty-Par Realty                           2593 W Roosevelt Blvd            #201                Monroe           NC       28111    Customer Contract   Current



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           Contract Counterparty                         Address1                   Address2              City         State     Zip           Description           Status
Union County Tax Administration              500 N Main St, Suite 236                               Monroe            NC       28111    Customer Contract        Current
Unique Properties, INC                       400 S Broadway                                         Denver            CO       80209    Customer Contract        Current
United Real Estate - Maria Saldana           12019 Isle Vista Dr                                    Houston           TX       77042    Customer Contract        Current
United Southern Bank                         2701 South Bay Street                                  Eustis            FL       32726    Customer Contract        Current
                                                                                330
                                                                                Administration
Univ of Alabama at Birmingham                701 20th St S                      Building            Birmingham        AL       35205    Customer Contract        Current
Universal Commercial Real Estate LLC         119 S Main St. #110                                    Memphis           TN       38103    Customer Contract        Current
University City                              6801 Delmar                                            St. Louis         MO       63130    Customer Contract        Current
University City Partners                     8335 IBM Drive                     Suite 110           Charlotte         NC       28262    Customer Contract        Current
                                             9201 University City Boulevard
University of North Carolina at Charlotte    FM Bldg #55                        Room 214            Charlotte         NC       28223    Customer Contract        Current
University Research Park                     510 Charmany Dr                    Suite 250           Madison           WI       53719    Customer Contract        Current
Unlimited Realty Co.                         PO Box 511448                                          Milwaukee         WI       53203    Customer Contract        Current
Upstate Colorado EDC                         822 7th Street                     Suite 550           Greeley           CO       80631    Customer Contract        Current
Urban Grout                                  615 Main St Suite 102                                  Nashville         TN       37206    Customer Contract        Current
Urban Land Interests, LLC                    10 East Doty Street                Suite 300           Madison           WI       53703    Customer Contract        Current
Urban Luxe Real Estate                       525 E Center Ave                                       Denver            CO       80209    Customer Contract        Current
US 1 Realty                                  PO Box 1715                                            Southern Pines    NC       28387    Customer Contract        Current
                                             1 N Commerce Park Drive Ste
US Commercial Real Estate                    103                                                    Cincinnati        OH       45215    Customer Contract        Current
US Steel Corporation                         610 Preserve Parkway               Suite 200           Birmingham        AL       35226    Customer Contract        Current
UT Southwestern                              5323 Harry Hines Blvd                                  Dallas            TX       75390    Customer Contract        Current
Valentiner & Associates                      4735 Walnut                        Suite 150           Boulder           CO       80301    Customer Contract        Current
Valuation Advisors                           1545 Fishing Lake Drive                                Tampa             FL       33556    Customer Contract        Current
Van Hull Commercial, LLC                     2961 Skimmerhorn St                                    Fort Collins      CO       80526    Customer Contract        Current
                                             540 Maryville Centre Drive, Ste
Vanderbilt Office Properties                 210                                                    St Louis          MO       63141    Customer Contract        Current
VAR Technology Finance                       1310 Madrid St. Suite 101                              Marshall          MN           56258 Master Software Lease   Various
Vasseur Commercial Real Estate               2931 Oak Park Circle                                   Fort Worth        TX       76109    Customer Contract        Current

Vector Commercial Real Estate Services LLC   125 Fifth Street South, Ste 201    2nd Floor           St Petersburg     FL       33701    Customer Contract        Current
                                                                                                    Greenwood
Vector Property Services                     5600 S. Quebec Street              #156B               Village           CO       80111    Customer Contract        Current
Veris Properties                             11200-D Nations Ford Rd                                Pineville         NC       28134    Customer Contract        Current

Village of Canal Winchester                  36 S. High St.                                         Canal Winchester OH        43110    Customer Contract        Current



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           Contract Counterparty                    Address1                Address2              City           State     Zip          Description        Status
Village of DeForest                     306 DeForest St                                     DeForest            WI       53532   Customer Contract     Current
Village of Groveport                    655 Blacklick Street                                Groveport           OH       43125   Customer Contract     Current

Village of Pleasant Prairie             9915 39th Ave                                       Pleasant Prairie    WI       53158   Customer Contract     Current
Vision Brokerage Group LLC              PO Box 36938                                        Charlotte           NC       28236   Customer Contract     Current
Vision Properties, LLC                  PO Box 630412                                       Littleton           CO       80163   Customer Contract     Current
Vista Commercial Advisors               12303 Airport Way               Suite 200           Broomfield          CO       80021   Customer Contract     Current
Vista Commercial Advisors               PO Box 11287                                        Boulder             CO       80301   Customer Contract     Current
Vista Commercial Advisors               2690 Ironwood Pl                                    Erie                CO       80516   Customer Contract     Current
Vista Commercial Advisors, Inc          12303 Airport Way               Suite 200           Broomfield          CO       80021   Customer Contract     Current
Vista Properties & Investments          5649 Hillcamp                                       St Louis            MO       63128   Customer Contract     Current
VNR Enterprises, Inc                    1367 Ragley Hall Rd NE                              Atlanta             GA       30319   Customer Contract     Current
Vogt Santer Insights Appraisal          1310 Dublin Rd                                      Columbus            OH       43215   Customer Contract     Current
Voss Properties Corporation             11555 Concord Village Ave                           Saint Louis         MO       63128   Customer Contract     Current
W.A.H-Tex. Realty Services              P.O. Box 820905                                     Dallas              TX       75382   Customer Contract     Current
W.W. Reynolds Companies - Ft. Collins   1600 Specht Point Rd. #123                          Fort Collins        CO       80525   Customer Contract     Current
Waco Title Company                      6815 Isaac's Orchard Road       Suite D             Springdale          AR       72762   Customer Contract     Current
Wake County EDC                         800 S. Salisbury Street                             Raleigh             NC       27602   Customer Contract     Current
Wake County Revenue Department          PO Box 2331                                         Raleigh             NC       27602   Customer Contract     Current
WakeMed Health & Hospitals              PO Box 14549                                        Raleigh             NC       27620   Customer Contract     Current
                                                                                                                                                       Terminates
Walnut Street Partners, LLC             Suites 101 - 105 SE Magellan                        Blue Springs        MO       64014   Real Property Lease   11/30/2020
Walpin & Co LLC. - Taylor Fenn          1355 S Colorado Blvd            Ste 506             Denver              CO       80222   Customer Contract     Current
Walt Danley Realty                      6720 N Scottsdale Rd            Ste 140             Paradise Valley     AZ       85253   Customer Contract     Current
Walton Property Services, LLC           6666 S Sheridan Rd #104                             Tulsa               OK       74133   Customer Contract     Current
Wangard Partners, Inc.                  1200 North Mayfair Road         Suite 220           Mikwaukee           WI       53226   Customer Contract     Current
Warehouse Associates Development        707 N. Shepherd Dr, Ste. 700                        Houston             TX       77007   Customer Contract     Current
Warehouse Properties                    2607 Walnut Hill Lane           Suite 101           Dallas              TX       75229   Customer Contract     Current
Warm Realty + Development               1125 W 8th St                   Ste 100             Cincinnati          OH       45203   Customer Contract     Current
Warren County Ofc Econ Dev              416 S East Street                                   Lebanon             OH       45063   Customer Contract     Current
Warren Place                            6100 S Yale                     Suite 390           Tulsa               OK       74136   Customer Contract     Current

Washington County Economic Development 7645 Currell Blvd                                    Woodbury            MN       55125   Customer Contract     Current

Wasson Properties, Inc.                 332 W Bijou St                  #104                Colorado Springs CO          80905   Customer Contract     Current
Water Street Partner LLC                400 Water St, Suite 200                             Excelsior        MN          55331   Customer Contract     Current
Watermark Commercial Propertie          4527 E 91st Street                                  Tulsa            OK          74137   Customer Contract     Current



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           Contract Counterparty                         Address1                   Address2                 City     State      Zip          Description         Status
WaterStone Bank                              21505 E Moreland Blvd                                  Wauwatosa        WI       53186    Customer Contract      Current
Watts Realty Co Inc.                         PO Box 11425                                           Birmingham       AL       35202    Customer Contract      Current

Waukesha County Center for Growth, Inc.      2717 N Grandview Blvd., Ste 300                        Waukesha         WI       53188    Customer Contract      Current
Way Cool Properties, LLC                     2560 28th Street                Suite 200              Boulder          CO       80301    Customer Contract      Current

Waypoint Real Estate, LLC - Joshua Guernsey 120 W Olive St #220                                     Fort Collins     CO       80524    Customer Contract      Current
                                                                                                                                                              Terminates
WBCMT                                        200 S Tryon, Ste 1525                                  Charlotte        NC       28202    Real Property Lease    10/31/2019
WC Johnson, LLC                              747 Sheridad Blvd                #7d                   Lakewood         CO       80214    Customer Contract      Current
Weatherford EDA                              202 W Oak St                                           Weatherford      TX       76086    Customer Contract      Current
Weaver Commercial RE                         2901 Corporate Circle                                  Flowe Mound      TX       75028    Customer Contract      Current
Webb Commercial Realty Inc.                  1300 NW 167th St Suite 2                               Miami            FL       33169    Customer Contract      Current

Weichert Comm-Weldon Shaver                  411 S. Tejon St.                                       Colorado Springs CO       80903    Customer Contract      Current
Weichert Realtors - Downum                   3418 W Sunset                    Suite C               Springdale       AR       72762    Customer Contract      Current

Weichert Realtors Best Beach Real Estate     3933 Biscayne Blvd                                     Miami            FL       33137    Customer Contract      Current
Weitzman                                     3102 Maple                       Suite 350             Dallas           TX       75201    Customer Contract      Current
Weitzman                                     3102 Maple                       Suite 350             Dallas           TX       75201    Customer Contract      Current

Wells Fargo Vendor Financial Services, LLC   PO Box 650016                                          Dallas           TX           75265 Master Copier Lease   Various
West Chester Township, Ohio                  9577 Beckett Rd                  Suite 100             West Chester     OH       45069    Customer Contract      Current
West Group LLC                               5507 Ranch Dr                    Ste 201               Little Rock      AR       72223    Customer Contract      Current
West Valley National Bank                    2440 N Critchfield Rd            Suite 100             Goodyear         AZ       85395    Customer Contract      Current
                                             1155 Connecticut Ave, NW, Ste
West, Lane & Schlager                        700                                                    Washington       DC       20036    Customer Contract      Current
Westar Management Corp.                      6795 E. Tennessee                Suite 601             Denver           CO       80224    Customer Contract      Current
Westar Real Property Services                1600 Jackson St                  Suite 240             Golden           CO       80401    Customer Contract      Current
Westbrook Realty Associates                  916 S Main Street                Ste 206               Longmont         CO       80501    Customer Contract      Current
Westbrook Realty, Inc.                       2401 15th Street                 suite 310             Denver           CO       80202    Customer Contract      Current
                                                                                                                              93118-
Westcore Denver, LLC                         PO Box 82504                                           Goleta           CA       2504     Customer Contract      Current
Western Centers, Inc.                        10555 E Dartmouth Ave            Suite 360             Aurora           CO       80014    Customer Contract      Current

Western Investor Network LLC                 2935 Clairton Dr                                       Highlands Ranch CO        80126    Customer Contract      Current
Western Land and Water LLC                   3555 Stranford Rd                                      Fort Collins    CO        80525    Customer Contract      Current



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          Contract Counterparty              Address1                  Address2               City         State     Zip          Description       Status
Wetherill Real Estate             8070 Tabor Street                                    Arvada             CO       80005    Customer Contract   Current
Wheeler Management Group, Inc.    1130 38th Ave Suite B                                Greeley            CO       80634    Customer Contract   Current
Whisinvest Realty, LLC            1400 Kirk Road                   Suite 110           Little Rock        AR       72223    Customer Contract   Current
White Oak Commercial              403 East Six Forks Road                              Raleigh            NC       27609    Customer Contract   Current
Whiteside & Grant                 1120 W 26th St                                       Tulsa              OK       74114    Customer Contract   Current
                                  1777 Northeast Expressway Ste
Wiedmayer Brokerage               275                                                  Atlanta            GA       30345    Customer Contract   Current
Wilco Economic Development        212 E Main St                                        Round Rock         TX       78726    Customer Contract   Current
Wilkinson ERA - Lee Peterson      19701-A W. Catawba Ave.                              Cornelius          NC       28031    Customer Contract   Current
Wilkinson ERA - Vernon Jackson    5970 Fairview Rd., Suite 110                         Charlotte          NC       28210    Customer Contract   Current
                                                                                                                   76116-
William C. Jennings Co.           2525 Ridgmar Blvd                Suite 420           Ft. Worth          TX       4584     Customer Contract   Current
William Carl, REALTORS            5207 Kiam St.                                        Houston            TX       770077   Customer Contract   Current
William Feinberg Co's Ltd.        3900 E Mexico Ave                Suite 614           Denver             CO       80210    Customer Contract   Current
Williams Property Group           8300 Health Park                 Ste 217             Fuquay - Varina    NC       27615    Customer Contract   Current
Wilson County Tax Department      113 Nash St E                                        Wilson             NC       27893    Customer Contract   Current
                                                                                                                   30022-
Wilson Hutchinson Realty, ILLC    5755 N Point Pkwy                Ste 219             Alpharetta         GA       1171     Customer Contract   Current
Wilson Office Interiors           1444 Oak Lawn Ave., Ste. 105                         Dallas             TX       75207    Customer Contract   Current
Wilson Real Estate                PO Box 2363                                          Lakeland           FL       33806    Customer Contract   Current
Wilson Valuation, LLC             11850 Nicholas St                Suite 200           Omaha              NE       68154    Customer Contract   Current
Wirehomes LLC                     4718 W 68th Ave                                      Westminster        CO       80030    Customer Contract   Current
Wisconsin Department of Transp    141 NW Barstow Street                                Waukesha           WI       53187    Customer Contract   Current
Wisconsin Economic Dev Corp       201 W Washington Avenue                              Madison            WI       53703    Customer Contract   Current

Wisconsin Property Tax            10206 N. Port Washington Rd.                         Mequon             WI       53092    Customer Contract   Current
                                  1341 East Morehead St., Suite
Withrow Capital, Inc.             201                                                  Charlotte          NC       28204    Customer Contract   Current
WLK Commercial Realty, LLC        6409 La Manga Dr.                                    Dallas             TX       75248    Customer Contract   Current
Wolf Real Estate LLC              31450 Jackson Road                                   Chagrin Falls      OH       44022    Customer Contract   Current
Wolf Realty                       14021 N 51st Ave                 Ste 114             Glendale           AZ       85306    Customer Contract   Current
Wolfer Commercial Realty Corp -
Hackensack                        15 Warren St., Ste 34                                Hackensack         NJ       07601    Customer Contract   Current
Wotka Realty, LLC                 929 DeMun Ave                                        St. Louis          MO       63105    Customer Contract   Current
Wray & Associates                 1225 Leyden Street                                   Denver             CO       80220    Customer Contract   Current
Wright-Kingdom Inc.               4875 Pearl E. Circle             Suite 100           Boulder            CO       80301    Customer Contract   Current
WWR Real Estate Services, LLC     1375 Walnut St                   Suite 10            Boulder            CO       80302    Customer Contract   Current



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          Contract Counterparty                     Address1                Address2                City       State     Zip          Description        Status
Wyandotte EDC                            727 Minnesota Avenue                               Kansas City       KS       66101   Customer Contract     Current

Wylie Economic Development Corporation   250 South Hwy 78                                   Wylie             TX       75098   Customer Contract     Current

Yaklich & Associates                     9135 Woodland Dr                                   Highlands Ranch   CO       80126   Customer Contract     Current
Yeargan Commercial Realty, Inc           2008 Prescott Pl                                   Raleigh           NC       27615   Customer Contract     Current
York County Economic Development         1830 Second Baxter Crossing                        Fort Mill         SC       29708   Customer Contract     Current
Your Castle Real Estate, LLC             9085 E Mineral Cir             Suite 360           Centennial        CO       80112   Customer Contract     Current
                                                                                                                                                     Terminates
YRC                                      5200 W 110th St                                    Overland Park     KS       66211   Real Property Lease   12/31/2020
Zadel Realty                             P.O. Box 90                                        Firestone         CO       80520   Customer Contract     Current
Zeman Realty Partners                    1801 Broadway                  Ste 903             Denver            CO       80202   Customer Contract     Current
Zuvers Real Estate                       1200 S Outer Rd                                    Blue Springs      MO       64015   Customer Contract     Current




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 Fill in this information to identify the case:

 Debtor name         Xceligent, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         17-12937 (CSS)
                                                                                                                                     Check if this is an
                                                                                                                                     amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                            12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 2, 2018                         X /s/ Glenn Soendker
                                                                       Signature of individual signing on behalf of debtor

                                                                       Glenn Soendker
                                                                       Printed name

                                                                       Designated Representative
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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